Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 1 of
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                            01ÿ345ÿ673358ÿ9
                                    In the Matter Of:

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        PETE  ÿGENERAL
             VICARI !" #ÿCONTRACTOR
                            $" $ ÿvs%&ÿOHIO
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                                                   CASUALTY INS.
                                        2324567589499ÿ6AB
                                        l:17-CV-23733 CMA




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                                   PETER J. VICARI

                                    TUVWXY`ÿbcdÿefbg
                                     October 16, 2018




   g ESQUIRE                       DEPOSITION SOLUTIONS
                                                            800.211.DEPO (3376)
                                                             EsquireSolutions.com
Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 2 of

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     PETER J. VICARI                                            October 16, 2018
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     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                     1

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                               STATES  DISTRICT  COURT

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                                DISTRICT   OF FLORIDA
                              MIAMI  DIVISION

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                                                 CMA

04$0ÿ0PETE
        %767ÿ  55ÿ&         466'ÿLLC,
                        747ÿCONTRACTOR,    '
0ÿ0ÿ0Aÿ(   )01234ÿ5  262718ÿ5 29@2527Aÿcompany,
                                         B)6C94A'
              VICARI   GENERAL

05D
           foreign   limited  liability

0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0Plaintiff,
                  %592472(('
06E0ÿ0vsFG.H
07"0ÿ0THE
        67ÿ 5ÿ  936Iÿ5 49347
0ÿ0ÿ0COMPANY,
        %4I'ÿ8   P@P9ÿOHIO
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             OHIO   CASUALTY  INSURANCE

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                    d/b/a       CASUALTY,   a

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                  insurance   company;

09U0ÿ0INC.,
        54H'ÿ9 aÿ 5)0289ÿcorporation;
                           B)0C)0972)4Sÿ   96
                         RESTORATION,

0ÿ0ÿ0PREFAB,
        %7V'ÿ5   4H'ÿ9
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                  INC.,              corporation;   and

0ÿ0ÿ0Corporation,et
        )0C)0972)4'17ÿ9   5'
10               ENGINEERING,   INC.,     Florida

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0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0Defendants.
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Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 3 of

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     PETER J. VICARI                                            October 16, 2018
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     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                     2

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0ÿ0ÿ0CLARK
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           BEHALF    OF THE  PLAINTIFF:

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        1#$ÿ5Eÿ8 %&&'('ÿ3 )'
                PARTINGTON

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        9012'ÿ$  ##
                College  Ave

0530ÿ0Tallahassee,
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                        FL  32301-7721

06$0ÿ0BY:
        @ÿ '&'E5%C1BÿKeith
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           BEHALF    OF THE  DEFENDANT:

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                        Lawhon,    Esquire

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                   P.  COHEN,   P.A.

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             Jonathan   Cohen,   Esquire
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Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 4 of

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     PETER J. VICARI                                            October 16, 2018
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     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.              r       3

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             VICARI
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Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 5 of

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     PETER J. VICARI                                            October 16, 2018
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     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.              ~       4

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10            (ÿ"ÿX7   "ÿcorporation;
                    a Florida     797"SÿCoastal
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                    a Florida     797"Sÿand " ÿECronin
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18            9"!ÿversus
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                                       66ÿ'Vicari,
                                             "7ÿGeneral
                                                       1667"
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19            E7"7ÿFLLC,
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Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 6 of

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                                      229
                                                                October 16, 2018
     fghgÿstuvitÿwgxgivyÿuxhivuhiÿÿtÿuv vyhÿtxr
     PETER J. VICARI
     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                     5

010ÿ0
  1   34567486ÿ9ÿ974
      District of Florida,ÿ8case
                              5ÿnumber
                                      7
0!0ÿ0
  2   1"1#$%&$!'#''ÿ%()0
      1:17-CV-23733  CMA.0ÿ1 245ÿdeposition
                           This    3954649ÿ4is5
0'0ÿ0
  3   6445ÿ38ÿ6ÿ657 47ÿ3Deposition
      taking place at Esquire     3954649
0840ÿ0996495ÿ88ÿ@56ÿ
      Solutions,  44 West 57ÿ9Street,
                          Flagler     676ÿ(Miami,
                                                44
05A0ÿ09740
      Florida.
06B0ÿ0ÿ0ÿ0ÿ19CD5ÿ6ÿ4
           Today's date is5ÿOctober
                             E869 7ÿ116,
                                        Bÿ!2018,
                                              F1Gÿ6the
                                                     2
0#0ÿ0
  7   64ÿ9ÿ62ÿ7897ÿ
      time on the record 4 5ÿ110:03
                          is   F"F'ÿa.m.
                                       000ÿ(  Cÿname
                                              My   
08G0ÿ045ÿH564ÿI966ÿPD
      is Justin Routt, I'mÿ6the
                              2ÿQvideographer.
                                   495732700ÿ1The 2
09R0ÿ0court
      8976ÿ739767ÿ45ÿ( 7Qÿ(Miller.
             reporter is Marva    470
1F
100ÿ0ÿ0ÿ0ÿ@4ÿÿ6697  C5ÿ3please
           Will all attorneys     5ÿ4identify
                                          64C
110ÿ0625Q5ÿ97ÿ62ÿ
11    themselves for the 7 8970
                          record.
1!
120ÿ0ÿ0ÿ0ÿ(I0ÿS)I1PTU1ET
           MR. PARTINGTON:"0ÿVBruce
                               78ÿSPartington
                                       764569ÿfor97
1'
130ÿ0S6ÿ&4874ÿU7
      Pete Vicari, Generalÿ%Contractor.
                              96786970
18
140ÿ0ÿ0ÿ0ÿ(I0ÿ%EW6T"
           MR. COHEN:0ÿJonathan
                        H962ÿ%Cohen
                                     92ÿ9onÿbehalf
                                                2
1A
150ÿ09ÿ)4ÿ@97ÿP5  78ÿ%Company.
      of Allied World Insurance      93C0
160ÿ0ÿ0ÿ0ÿ(I0ÿX)@WET"ÿ39
1B         MR. LAWHON: DoÿC  9ÿYwant
                            you   6ÿ`Keith?
                                        462a
1#
170ÿ0ÿ0ÿ0ÿbV74ÿ45855  49ÿ9onÿ3phone
           (Brief discussion         29ÿ8connection)
                                            98649c
1G
180ÿ0ÿ0ÿ0ÿ(I0ÿS)I1PTU1ET
           MR. PARTINGTON:"0ÿ1There
                               27ÿCyou
                                       9ÿ5go.
                                            90ÿ`Keith,
                                                 462
1R
190ÿ0can
      8ÿC9ÿ27a
          you hear?
!F0ÿ0ÿ0ÿ0ÿMR.
20         (I0ÿV6XX"
                BELL:0ÿI
                       Pÿ800ÿ1Thanks.
                         can.     2450
!10ÿ0ÿ0ÿ0ÿMR.
21         (I0ÿS)I1PTU1ET "0ÿOkay.
                PARTINGTON:   E4C00ÿ@Will
                                        4ÿCyou
                                               9
!!0ÿ0464CÿC975ÿ
22                        97ÿ6the
      identify yourself for    2ÿ7record.
                                     89700ÿWHeÿdjust
                                                    56
!'0ÿ0came
23    8ÿ90
            on.
!80ÿ0ÿ0ÿ0ÿMR.
24         (I0ÿV6XX"
                BELL:0ÿYes.
                       e500ÿ`Keith
                               462ÿVBell
                                       ÿfor
                                              97ÿSPete
                                                   6
!A0ÿ0&4874ÿU7ÿ%9
25                        6786970
      Vicari, General Contractor.


                                                           800.211.DEPO
                                                             ddefggehijkÿm(3376)
                                                                            nnopq
                    DEPOSITION SOLUTIONS                    ir stuvwxyzt{uy|re}com
                                                            EsquireSolutions.   y~
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Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 7 of

     defegÿipÿqrstgr                                    x ÿÿ
                                      229
     PETER J. VICARI                                            October 16, 2018
     defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                     6

010ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
 1                 345678
                   (Briefÿ9  66ÿonÿphone
                            discussion        7ÿconnection)
                                                    76
00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
 2                  !"ÿ#$
                   MR.    %&'()0ÿ0Tony
                        LAWHON:     1ÿ#Lawhon,
                                          234ÿ5Iÿrepresent,
                                                     575774
060ÿ0ÿ0ÿ0ÿ0ÿ0
 3            7228ÿ 26727ÿ2and
              Coastal Maintenance     9ÿ7Coastal
                                           228ÿ9Prefab.
                                                     5782@"
0A0ÿ0ÿ0ÿ0ÿ
 4        0ÿ0ÿ0ÿ0ÿMR.
                    !"ÿ&$ !!5B'()0ÿGuy
                        HARRISON:    C1ÿ&Harrison
                                           2556ÿonÿ@behalf
                                                           7288
0D0ÿ0ÿ0ÿ0ÿ
 5        0ÿ08ÿ'6ÿ72  281"
              of Ohio Casualty.
0E0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
 6                  !"ÿMELAMED:
                   MR.   F#$ FG)0ÿGDouglas
                                     H82ÿMelamed
                                               782I79ÿon
0P0ÿ0ÿ0ÿ0ÿ0ÿ0
 7            @7288ÿ8ÿ7 56ÿFEngineering.
              behalf of Cronin     H67756H"
0Q0ÿ0
 8   07574
     Thereupon,
0R0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
 9                        9PETER
                            F0F!ÿSVICARI,
                                   57$!54
1T0ÿ0
10   32ÿ28879ÿ2ÿ2ÿ36  7ÿ2and,
     was called as a witness      94ÿhaving
                                        2U6Hÿ@been
                                                77ÿ8first
                                                       65ÿ9duly
                                                              81
110ÿ0
11   354ÿ32ÿ7V2I679
     sworn,  was examinedÿ2  9ÿtestified
                            and   768679ÿ2asÿ8follows:
                                                  883)
10ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0
12                    0&F
                      THEÿ%  50(FBB)0ÿYes.
                            WITNESS:    W7"
160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0
13                    G5! F70ÿFEXAMINATION
                      DIRECT    X$ 5($05'(
1A0ÿ0
14   4Wÿ !"ÿ#$%&'()
     BY MR.  LAWHON:
1D0ÿ0ÿ0ÿ0ÿ0ÿ0
15            Y"0ÿ00788ÿ
              Q.   Tell usÿ1your
                              5ÿ8full
                                    88ÿname
                                          2I7ÿ2and
                                                9ÿ1your
                                                     5
1E0ÿ0
16   557ÿ576977ÿ2
     current              99574ÿplease.
              residence address,     8727"
1P0ÿ0ÿ0ÿ0ÿ0ÿ0
17            $"0ÿ09775ÿ
              A.   Peter `  ÿSVicari,
                           John   62564ÿP7338
                                           66Qÿ4Barataria
                                                  2522562
1Q0ÿ0
18   487U2594ÿMarrero,
     Boulevard,   255754ÿ#Louisiana,
                             66224ÿP70072.
                                          TTP"
1R0ÿ0ÿ0ÿ0ÿ0ÿ0
19            Y"0ÿ072ÿ1
              Q.   Can youÿspell
                              788ÿ4Barataria,
                                     25225624ÿplease.
                                                   8727"
T0ÿ0ÿ0ÿ0ÿ0ÿ0$"0ÿ04a$a!a
20            A.          $a0a$a!a5a$ÿ4Boulevard.
                   B-A-R-A-T-A-R-I-A      87U259"
10ÿ0ÿ0ÿ0ÿ0ÿ0Y"0ÿ0Wÿ
21            Q.   You understand     2ÿ1you
                          97529ÿthat    ÿbjust
                                                  ÿtook
                                                        cÿ2an
0ÿ02ÿ
22   oath ÿ788ÿ7ÿ5  "0ÿ&Have
          to tell the truth.       2U7ÿ1you
                                         ÿtaken
                                              2c7ÿ2anÿoath
                                                          2
60ÿ086c7ÿ
23   like 2ÿ@7857ÿ6
          that before inÿ2   1ÿother
                            any   75ÿproceeding,
                                         57796H4
A0ÿ09766ÿ5ÿaa
24   deposition or --
D0ÿ0ÿ0ÿ0ÿ0ÿ0$"0ÿ0W7"
25            A.   Yes.


                                                           800.211.DEPO
                                                             deefghiÿk(3376)
                                                                            llmno
                    DEPOSITION SOLUTIONS                    gp qrstuvwxryswzp{com
                                                            EsquireSolutions.   w|
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Case 1:17-cv-23733-CMA Document 187-1 Entered on FLSD Docket 01/05/2019 Page 8 of

     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
     PETER J. VICARI                                            October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.              q       7

010ÿ0ÿ0ÿ0ÿ0ÿ0
  1           340ÿ055ÿ67ÿ
              Q.       or 8  989ÿbefore?
                           testified       9679
00ÿ0ÿ0ÿ0ÿ0ÿ0
  2           40ÿ094
              A.    Yes.
00ÿ0ÿ0ÿ0ÿ0ÿ0
  3           340ÿ0
              Q.     6ÿ!6"
                    Do youÿ"   #978$#ÿ%what
                             understand       &$8ÿ'perjury
                                                     97("7!ÿis?
                                                               
0)0ÿ0ÿ0ÿ0ÿ
  4        0ÿ040ÿ0
              A.    94
                    Yes.
0500ÿ0ÿ0ÿ0ÿ0ÿ0Q.
              340ÿ0Okay.
                    12$!40ÿ  6"ÿ"understand
                             You    #978$#ÿ8that's
                                                   &$83ÿ$aÿcrime?
                                                              4759
0660ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
              A.    94
                    Yes.
070ÿ0ÿ0ÿ0ÿ0ÿ0
  7           340ÿ0Okay.
              Q.    12$!40ÿDo6ÿ!you
                                  6"ÿintend
                                        #89#ÿ8to6ÿ8tell
                                                      988ÿ8truth
                                                             7"8&
0890ÿ08&76"@&6"8ÿ!6"7ÿ89
      throughout           856#!ÿ8today?
                  your testimony      6$!
0A0ÿ0ÿ0ÿ0ÿ0ÿ0
 9            40ÿ094
              A.    Yes.
1B0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0C&9#ÿ
10            Q.    When isÿ8the
                                &9ÿ8last
                                     $8ÿ8time
                                             59ÿ8that
                                                   &$8ÿ!you've
                                                          6"3D9
11
110ÿ0898 9ÿ#ÿ$ÿ9'6
      testified            86#ÿ6or7ÿ4court
                 in a deposition           6"78ÿ'proceeding?
                                                   76499#@
1
120ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
              A.    E&Fÿ8 3ÿbeen
                    Uh, it's     99#ÿ8two
                                        %6ÿ5months
                                              6#8&ÿ$ago.
                                                        @64
1
130ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
              Q.    G"8ÿ8to6ÿ5make
                    Just        $29ÿsure
                                      "79ÿ%we9ÿ$are
                                                  79ÿ6on#ÿ8the
                                                            &9ÿsame
                                                               $59
1)
140ÿ0'$@9F
      page,ÿ68&97ÿ8$%!97
            other lawyersÿ5   $!ÿ&have
                             may    $D9ÿ@given
                                           D9#ÿ!you
                                                   6"ÿdifferent
                                                         979#8
10
150ÿ0rules.
      7"8940ÿH35ÿ@6#@ÿ8
              I'm going to 6ÿ5make
                                $29ÿsure
                                     "79ÿHIÿ8lay
                                                $!ÿ$aÿcouple
                                                        46"'89ÿ6of
16
160ÿ08&9ÿ@ 76"#ÿ7"89ÿ6
      the ground           %#ÿfor
                  rules down     67ÿ!you
                                      6"ÿ$and#ÿHIÿfor
                                                     67ÿ6our
                                                          "7
17
170ÿ09'686#ÿ86$!4
      deposition today.0ÿ Asÿ!you
                                 6"ÿsee,
                                     99Fÿ%we9ÿ&have
                                                  $D9ÿ$aÿcourt
                                                          46"78
19
180ÿ0reporter
      79'67897ÿ&9794
                here.0ÿI97
                       Herÿ(  6ÿisÿ8to6ÿ8type
                             job             !'9ÿ"up'ÿ9everything
                                                        D97!8&#@
1A
190ÿ08&$8ÿ
      that ÿ$ÿ67ÿ6#
           is said or done 9ÿin#ÿ8this
                                    &ÿ7room
                                           665ÿ8today,
                                                  6$!Fÿso6ÿHI'm
                                                               35
B
200ÿ0@6#@
      goingÿ86ÿ$2ÿ!6"ÿ86
            to ask you toÿ9   P89#ÿ5me9ÿ8the
                             extend          &9ÿ4courtesy
                                                  6"789!ÿ6of
1
210ÿ08988#@ÿ59ÿ#
      letting me finish&ÿ5my!ÿQquestion
                                "986#ÿbefore
                                             9679ÿ!you
                                                      6"ÿ@give
                                                            D9ÿ5me9ÿ$an#

220ÿ0$#%9 7Fÿ$#ÿH388ÿ9P
      answer,              89#ÿ!you
              and I'll extend       6"ÿ8the
                                          &9ÿsame
                                               $59ÿ4courtesy
                                                      6"789!ÿ$as

230ÿ0%988F
      well,ÿ62$!
            okay?
)
240ÿ0ÿ0ÿ0ÿ0ÿ040ÿ012$!4
              A.    Okay.
0
250ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0Hÿ$8ÿ
              Q-    If at $  #!ÿ8time
                           any    59ÿ!you6"ÿdon't
                                               6#38ÿ"understand
                                                        #978$#
                                                            ÿ
                                                           800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                           EsquireSolutions.com
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
     PETER J. VICARI                                            October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
     PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                     8

010ÿ0
 1   345ÿ36ÿ78ÿ9534
     one of my questions, ÿplease
                              55ÿlet5ÿme75ÿknow
                                                  43ÿand
                                                        4 ÿI'll
                                                            !"ÿbe
                                                                  #5
0$0ÿ0
 2   %8ÿ3ÿ&'68ÿ3'
     happy  to clarify orÿrestate
                           '55ÿitÿ6for 3'ÿ8you,
                                                  3ÿ3okay?
                                                        8(
0)
 30ÿ0ÿ0ÿ0ÿ0ÿ0A.
              010ÿ0281
                    Okay.
03
 40ÿ0ÿ0ÿ0ÿ0ÿ0Q.
              410ÿ0!6ÿ83
                    If youÿdon't
                             34"ÿdo3ÿthat,
                                         %ÿI!ÿwill
                                                     ÿassume
                                                           75
05
 50ÿ0you
     83ÿunderstood
           4 5'33 ÿ78ÿ9 534ÿand
                      my question      4 ÿ8your
                                             3'ÿanswer
                                                   45'ÿis
06
 60ÿ0responsive
     '53475ÿ3ÿÿ3  8(
                  to it, okay?
08
 70ÿ0ÿ0ÿ0ÿ0ÿ0A.
              010ÿ00ÿ' 9%1
                    All right.
0@
 80ÿ0ÿ0ÿ0ÿ0ÿ0Q.     If youÿ9
              410ÿ0!6ÿ83    75ÿ7me5ÿaÿ4nod
                            give           3 ÿ3of6ÿthe
                                                     %5ÿhead
                                                        %5 ÿ3or'ÿif6
0A
 90ÿ0you
     83ÿsay
           8ÿ375%49ÿ 5ÿuh-huh,
              something like    %B%%ÿand  4 ÿI!ÿ7may
                                                     8ÿask
                                                          ÿyou
                                                             83ÿto3
10   &'68ÿ6ÿ%"ÿ
1C0ÿ0clarify  if that's aÿyes
                           85ÿ3or'ÿ4no3ÿso3ÿwe
                                              5ÿ%have
                                                   75ÿaÿclear
                                                           &5'
11   '5&3' ÿ38(
110ÿ0record,  okay?
1$0ÿ0ÿ0ÿ0ÿ0ÿ0A.
12            010ÿ0D3ÿ 1
                    Got it.
1)0ÿ0ÿ0ÿ0ÿ0ÿ0410ÿ0E3ÿ5
13            Q.          65 ÿtwo
                    You testified      3ÿ7months
                                             34%ÿago.
                                                     9310ÿF 5ÿ7me5
                                                            Tell
130ÿ0what
14   %ÿthat
           %ÿ57348
                 testimonyÿ ÿabout,
                            was   #3ÿwhat
                                           %ÿcase
                                                  &5ÿand
                                                          4 ÿwhere
                                                               %5'5
150ÿ0it
15   ÿ 1
         was.
160ÿ0ÿ0ÿ0ÿ0ÿ0A.
16            010ÿ0It
                    !ÿ
                       wasÿ0 F2ÿGolden
                            ATO D3 54ÿConstruction
                                           G34'&34ÿ&case.
                                                             51
180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
17            410ÿ0Was
                    Hÿ%ÿaÿdeposition?
                        that      5334(
1@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
18            010ÿ0Yeah.
                    E5%1
1A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
19            410ÿ0How
                    I3ÿ748ÿ3other
                        many   %5'ÿtimes
                                        75ÿhave
                                               %75ÿ8you
                                                       3
$C0ÿ0testified,
20   565 ÿ%5%5'ÿ
                  whether 4ÿaÿdeposition,
                          in      5334ÿin4ÿaÿ&courtroom,
                                                          3''337
$10ÿ0an
21   4ÿ' #'34ÿ3'ÿ
         arbitration      48ÿ3other
                      or any   %5'ÿtype
                                        85ÿof36ÿproceeding?
                                                  '3&55 49(
$$0ÿ0ÿ0ÿ0ÿ0ÿ0A.
22            010ÿ0None.
                    P3451
$)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
23            410ÿ0Are
                    0'5ÿ83ÿ&currently
                        you   ''548ÿ3on4ÿany48ÿ7medications
                                                      5 &34
$30ÿ0that
24   %ÿ3
           wouldÿ665&ÿ8 3'ÿability
                  affect your   #8ÿto3ÿunderstand
                                               4 5'4 ÿwhat%
$50ÿ0we
25   5ÿ'5ÿ  349ÿ3
         are doing     8(
                    today?


                                                            ÿ
                                                           800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                   defghijkelfjmnjo
                                                           EsquireSolutions.com
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                                      229
      PETER J. VICARI                                           October 16, 2018
     STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.             r       9

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0564
                A.    No.
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  2             840ÿ096ÿ
                Q.           ÿconvicted
                      You been     6ÿ6ofÿany !ÿcrimes?
                                                          "#$%
 0&0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             340ÿ0564
                A.    No.
 0'0ÿ0ÿ0ÿ0ÿ
  4         0ÿ0840ÿ0
                Q.    () 0ÿifÿanything,
                      What,        !)10ÿdid ÿ!you
                                                      6ÿdo6ÿto6
 020ÿ0
  5   3"3  "ÿ6"ÿ!6"ÿ
       prepare               $#6!ÿtoday?
                for your testimony        6 !%
 040ÿ0ÿ0ÿ0ÿ0ÿ0
  6             340ÿ0
                A.    56
                      Reviewÿ  7# 8$0ÿ"review
                               e-mails,      6ÿfiles
                                                      8$ÿthat
                                                              ) ÿ6were
                                                                     "
 090ÿ0
  7   $saved
         ÿ6ÿ#!ÿ6#3
              to my computer,"0ÿandÿthe
                                        )ÿ6whole
                                               )68ÿ3project.
                                                      "6@4
 0A0ÿ0ÿ0ÿ0ÿ0ÿ0
  8             840ÿ0
                Q.    B66ÿ# )ÿtime
                      How much     #ÿdid
                                          ÿ!you
                                                6ÿ$spend
                                                     3ÿdoing
                                                             61
 0C0ÿ0
  9   )  %
       that?
 1D
 100ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    E$ÿ! $" !0ÿ"refreshing
                      Just yesterday,        "$)1ÿ#my!ÿ#memory.
                                                                #6"!4
 110ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
 11             Q.    ()8ÿ
                      While ! 6ÿ6were
                             you     "ÿdoing
                                            61ÿitÿ!yesterday,
                                                        $" !0
 17
 120ÿ01ÿ
       give #ÿ  ÿ$#
             me an         ÿ6ofÿ)how
                    estimate         66ÿ#much
                                          )ÿtime
                                                 #ÿ!you
                                                        6ÿ$spent
                                                             3
 1&
 130ÿ061
       doingÿ)  4
              that.
 1'
 140ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    F66ÿ)6 "$4
                      Two hours.
 12
 150ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
                Q.    () ÿe-mails
                      What   7# 8$ÿdidÿ!you6ÿ8look
                                                    66Gÿat?
                                                          %
 160ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 14             A.    F)ÿ6
                      The oneÿbetween
                                  6ÿ#myself
                                             !$8ÿandÿHCoastal.
                                                           6 $ 84
 19
 170ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
                Q.    3!ÿ3  "8 "ÿe-mails
                      Any particular        7# 8$ÿcome
                                                      6#ÿto6ÿ#mind
                                                                  
 1A
 180ÿ0)  ÿ!6ÿ"6ÿ!
       that                  $" !%
            you reviewed yesterday?
 1C
 190ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    5640ÿ
                      No. I  6ÿ#many
                            So     !ÿ6ofÿthem.
                                             )#4
 7D
 200ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
                Q.    96ÿ$  ÿ!you
                      You said     6ÿalso
                                        8$6ÿ"reviewed
                                                6ÿ!your
                                                           6"ÿfiles
                                                                   8$
 71
 210ÿ06ÿ!6 "ÿ6#3"4
       on your  computer.0ÿH Canÿ!you
                                     6ÿbeÿ#more
                                               6"ÿ$specific?
                                                     3%
 77
 220ÿ0ÿ0ÿ0ÿ0ÿ034A.0ÿ0E$ÿ   !ÿfiles
                      Just any     8$ÿthat
                                            ) ÿ6were
                                                  "ÿ3produced.
                                                         "64ÿPI
 7&0ÿ0#
 23       0ÿ6)1ÿÿ3
      mean,                  "8 "40ÿPItÿ6was$ÿ@just
              nothing in particular.                    $
 7'0ÿ0correspondence,
 24   6""$360ÿ5QP    R$0ÿ@just
                          RFI's,            "!)140ÿP
                                     $ÿeverything.      Iÿ#   0
                                                              mean,
 720ÿ0)"ÿ$ÿ6)1ÿ
 25    there is nothing inÿ3      "8 "0ÿitÿ6was$ÿ@just
                              particular,                 $
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                    DEPOSITION SOLUTIONS                     e fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 9s"1
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     TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                           October 16, 2018
     TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                   10

 010ÿ0
  1    3453467438
       refresher.
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  2             80ÿ0ÿ
                Q.   Did you ÿ3review
                                  44ÿany
                                           ÿof5ÿ!the
                                                     74ÿ"contracts
                                                           !3"!6
 0#0ÿ0
  3    $4!44 ÿ%&'((
       between  PVG--
 0)0ÿ0ÿ0ÿ0ÿ
   4            080ÿ0No.
             0ÿ0A.   180ÿNo.
                            18
 0520ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                80ÿ0Let
                     34!ÿ44
                          meÿ5   67ÿ4myÿquestion.
                               finish       546! 8
 0660ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿDid
                     ÿ
                          youÿ3review
                                  44ÿany
                                           ÿof5ÿ!the
                                                     74ÿ"contracts
                                                           !3"!6
 0770ÿ0between
       $4!44 ÿ%&'8ÿ
                PVGC andÿanyÿof5ÿthe
                                     !74ÿ8Coastal
                                           6!9ÿ"companies?
                                                      4@ 46A
 08B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                080ÿ0No.
                     18
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                80ÿ0Did
                     ÿ
                          youÿ3review
                                  44ÿany
                                           ÿof5ÿ!the
                                                     74
 1D0ÿ0architectural
 10    3"7!4"!39ÿ@9
                       plans6ÿ@prepared
                                34@34ÿ$byÿPerez
                                               %434Eÿandÿ%Perez?
                                                              434EA
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             080ÿ0No.
                     18
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             80ÿ0Did
                     ÿ
                          youÿ3review
                                  44ÿany
                                           ÿof5ÿ!the
                                                     74ÿ6shop
                                                          7@
 1#0ÿ0drawings
 13    3 F6ÿ@34@34ÿ$
                 prepared by ÿCronin
                                83  ÿEngineering?
                                          G F 443 FA
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             080ÿ0Not
                     1!ÿ4  6!43Hÿno.
                          yesterday,       8
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             80ÿ0Did
                     ÿ
                          youÿ3review
                                  44ÿany
                                           ÿ@photographs
                                                7!F3@76ÿor3
 160ÿ0videos?
 16    46A
 170ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17                  18
                080ÿ0No.
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             80ÿ0Is
                     I6ÿ46  !43ÿ!the
                         yesterday       74ÿonly
                                               9ÿtime
                                                   !44ÿ!that
                                                           7!ÿyou
                                                                 
 1C0ÿ0did
 19    ÿanything
              !7 Fÿ!ÿ@34  @34ÿ5for
                      to prepare      3ÿyour
                                           3ÿdeposition
                                                4@6!
 9D0ÿ0testimony?
 20    !46!4 A0ÿOr
                    P3ÿÿ
                        did   ÿdo
                              you   ÿsomething
                                       644!7 Fÿ$before
                                                      4534ÿ!that?
                                                               7!A
 910ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21             080ÿ0Just
                     Q6!ÿyesterday.
                             46!438ÿQJust       46!438
                                            6!ÿyesterday.
 990ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             80ÿ0If
                     I5ÿ
                         youÿ  9HÿIIÿnoticed
                               would,       !"4ÿ!that
                                                       7!ÿyou
                                                              ÿ6speak
                                                                   @4R
 9#0ÿ0aÿ9!
 23          !94ÿ54!98
         little  quietly.0ÿI IÿRknowÿ!the
                                         74ÿcourt
                                            "3!ÿ3reporter
                                                      4@3!43ÿis6
 9)0ÿ0here,
 24    7434Hÿ4ÿF!ÿÿ4   F3@743Hÿ!too,
              we got a videographer,        Hÿ6soÿif5ÿyou
                                                          ÿ"could
                                                                9
 920ÿ0just
 25    S6!ÿ6@4Rÿ@ÿÿ9!   !94ÿ$bit
             speak up a little       !ÿ5for
                                          3ÿus.
                                               68
                                                            ÿde
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    fghijklmnhoimpfqmr
                                                            EsquireSolutions.com
                                                                               s&4315
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     UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  11

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056784
                A.    Okay.
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  2             40ÿ0ÿ
                Q.           ÿso
                      I'm old,   ÿsometimes
                                        !ÿIÿdon't
                                                   " ÿhear
                                                           #7$
 0%0ÿ0
  3     #7 ÿ&4
       that  well.
 0'0ÿ0ÿ0ÿ0ÿ
   4                  (!ÿ8
             0ÿ0ÿ0ÿ0ÿDid  you)ÿtalk
                                 76ÿtoÿ7anybody
                                           "808ÿin
                                                   !"ÿ1preparation
                                                        $17$7 !"
 0520ÿ0for
       3$ÿ8 )$ÿtestimony
            your    !"8ÿtoday,
                              78ÿ!including
                                        "4)!"5ÿtalking
                                                   76!"5ÿtoÿany
                                                                7"8
       7&8$70ÿ("
 0660ÿ0lawyers?    Don'tÿtell
                          ÿmeÿthe
                                     #ÿsubstance
                                         )0 7"4ÿof3ÿ&what
                                                          #7 ÿ8you
                                                                )
 0870ÿ0talked.
        7640ÿ9)Butÿ&#ÿ!
                      who, if3ÿ7anybody,
                                 "808ÿdid
                                           !ÿ8you
                                                 )ÿtalk
                                                      76ÿtoÿ7about
                                                                0)
 08@0ÿ0preparing
       1$17$!"5ÿ3$ÿ8)$ÿ     !"87
                   for your testimony?
 09A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0Just
                      B) ÿ9Bruce.
                             $)44
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             40ÿ0Not
                      D ÿE ! #ÿor$ÿ7anybody
                          Keith         "808ÿelse
                                                 ÿat
                                                      7 ÿtheir
                                                           #!$
 110ÿ0office?
 11    33!47
 190ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             340ÿ0No.
                      D40ÿYesterday
                            F $78ÿ&was7ÿGjust
                                               ) ÿ&with
                                                     ! #ÿBruce.
                                                          9$)44
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13                   H7Iÿ8you
                40ÿ0Have    )ÿtalked
                                  76ÿtoÿ8your
                                               )$ÿfather
                                                   37 #$ÿat7 ÿ7all
                                                                 
 1'0ÿ0about
 14    70) ÿ8)$ÿ1!    !"ÿor$ÿ7anticipated
              your deposition          " !4!17 ÿquestions?
                                                   P) !"7
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             340ÿ0Not
                      D ÿ$ 784
                          really.
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             40ÿ0"Not
                      QD ÿ$ 78Qÿmeaning
                            really,"     7"!"5ÿmaybe
                                                  780ÿa7ÿlittle
                                                            ! 
 180ÿ0bit?
 17    0! 7
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18                   9$!38ÿdiscussed
                340ÿ0Briefly     !4)ÿthe#ÿ1project
                                                  $G4 ÿto
 1A0ÿ0refresh
 19    $3$#ÿ)$ÿ$!   40ÿR
                 our memories.      #7 ÿ7about
                                  That's    0) ÿ!it.40ÿ9 ) ÿ!it
                                                        But
 9C0ÿ0wasn't
 20    &7" ÿ"   #!"5ÿ!"ÿ1
               nothing       7$ !4)7$4
                        in particular.
 910ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             40ÿ0What
                      S#7 ÿ ÿ8you
                            do   )ÿ$recall
                                       47ÿ7about
                                               0) ÿtalking
                                                      76!"5ÿto
 990ÿ0your
 22    8)$ÿdad
             7ÿthat
                   #7 ÿ$3$ #ÿyour
                       refreshed    8)$ÿmemory
                                          $8ÿ7about
                                                   0) ÿthe#
 9%0ÿ0proj
 23    1$G4
           ect?7
 9'0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             340ÿ0Just
                      B) ÿ&when
                             #"ÿ&weÿstarted,
                                        7$ ÿGjust
                                                  ) ÿ4certain
                                                        $ 7!"ÿT--T
 920ÿ0Iÿ"
 25      don'tÿ6"&4
                 know.0ÿB)
                        Justÿ4 $ 7!"ÿdeals
                              certain     7ÿof
                                                3ÿthe
                                                     #ÿ1project
                                                          $G4
                                                            ÿdef
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               Ft$13
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            x      12

 010ÿ0
  1    3456ÿ35ÿ78985
       when  we started.0ÿWhen
                            456ÿwe
                                  35ÿ7started
                                       8985ÿit,
                                                8ÿ3when
                                                      456ÿ3we5ÿ
 00ÿ0
  2    3456ÿ74ÿ936
       when  shop drawings 7ÿwere
                             355ÿ7submitted,
                                     !"#885ÿ$just
                                                   !78ÿ%kind
                                                         6ÿof
                                                              &
 03'0ÿ0refresh
       5&574ÿ3456ÿ846
                when things 7ÿwere
                              355ÿdone,
                                      650ÿ(  846 ÿin
                                              Nothing   6
 0)0ÿ0
   4   980!19ÿ8498ÿ397
       particular   that wasÿ9 67356 ÿ2questions
                              answering     !57867ÿor ÿany
                                                           963ÿ8type
                                                                 35
 040ÿ0
  5    &ÿ7
       of    8
          sort.
 050ÿ0ÿ0ÿ0ÿ0ÿ0
  6             60ÿ07ÿ3
                Q.    Did you!ÿgoÿover
                                     85ÿa9ÿ8timeline
                                              #5165ÿ8that
                                                         498ÿ3you
                                                               !
 090ÿ0
   7   49ÿ#maybe
       had   93"5ÿ6ÿ386
                   in writingÿor
                               ÿ9anything
                                     63846 ÿ1like
                                                %5ÿ8that?
                                                      498@
 0A0ÿ0ÿ0ÿ0ÿ0ÿ0
  8             B0ÿ0(
                A.    No.
 0C0ÿ0ÿ0ÿ0ÿ0ÿ0
  9             60ÿ0498ÿ9
                Q.           "!8ÿyour
                      What about   3!ÿ#mom,
                                           #ÿdid
                                                 ÿyou
                                                     3!ÿ8talk
                                                           91%ÿ8to
 10    45ÿ9"!8ÿ3!ÿ5
 1D0ÿ0her                    786ÿ8testimony?
            about your deposition      578#63@
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             B0ÿ0(
                      No.
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             60ÿ0B63"
                      Anybody3ÿ5else
                                 175ÿ3you
                                       !ÿ0can
                                            96ÿthink
                                                846%ÿof&ÿ3you
                                                             !
 1'0ÿ0talked
 13    891%5ÿ9"!8ÿ3!ÿ   5@
               about your depo?
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             B0ÿ0(
                      No.
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             60ÿ0456ÿE
                      When Iÿwas
                              397ÿ8taking
                                     9%6 ÿ3your
                                              !ÿ&father's
                                                    9845F7
 150ÿ0deposition,
 16    5786ÿEÿ97%5
                     I askedÿhim
                              4#ÿ9about
                                     "!8ÿ7some
                                            #5ÿ1lawsuits
                                                   937!87ÿthat
                                                             8498ÿhe
                                                                   45
 190ÿ0had
 17    49ÿ"been
             556ÿ9ÿ983ÿ8
                 a party to, ÿincluding
                                 601!6 ÿGPVGC.     EF#ÿ6not
                                              HIP0ÿI'm    8ÿgoing
                                                                6
 1A0ÿ0to
 18    8ÿ97
          ask%ÿ3!ÿ9"!8ÿGH  IPÿ"but
               you about PVGC,     !8ÿIEÿ3would
                                           !1ÿlike
                                                 1%5ÿ8toÿ%know
                                                             63ÿif&
 1C0ÿ0you
 19    3!ÿpersonally
             5769113ÿ49ÿ
                        had " 556ÿ9aÿparty
                             been     983ÿ8toÿ9any
                                                   63ÿ1lawsuits
                                                        937!87ÿor
 D0ÿ0any
 20    963ÿ9arbitration
             "8986ÿÿ
                          or 845ÿ8type
                             other    35ÿof&ÿproceedings?
                                               0556 7@
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21             B0ÿ0(8ÿ84  98ÿEIÿ
                      Not that       50911
                                   recall.
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             60ÿ0B63ÿ0  #9657ÿ8that
                      Any companies     498ÿ3you've
                                               !F85ÿowned
                                                      365ÿor
 '0ÿ0been
 23    "556ÿa9ÿ98ÿ&ÿ84
               part of, other5ÿ8than
                                  496ÿPVGC,
                                       GHIPÿ8that
                                                498ÿ4have
                                                      985ÿ"been
                                                             556
 )0ÿ0involved
 24    68185ÿ6ÿ9ÿ1937!
                 in a lawsuit8ÿand
                                 96ÿ9arbitration
                                       "8986ÿorÿother
                                                          845
 40ÿ0proceeding?
 25    0556 @
                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               pH51&
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     defegÿipÿqrstgr                                    x ÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            }      13

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ05ÿ6789
                A.    I don'tÿthink
                                 8ÿso.
                                        74
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             40ÿ03ÿ7
                Q-    As youÿsit
                              ÿhere
                                      ÿtoday,
                                             76!"ÿhow
                                                      7#ÿ$many
                                                           !8
 0%0ÿ0
   3   6&& 8ÿ'7$(!8
       different   companiesÿdo
                              67ÿyou
                                    7ÿ7own
                                          #8ÿ!an8ÿinterest
                                                    8 ÿin?
                                                               8)
 0040ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    5ÿ6789
                      I don'tÿhave
                                 !1ÿ!any
                                        8ÿ7ownership
                                              #8 (ÿin8ÿ!anything
                                                               882
 0530ÿ0!9ÿ'78
       that's         '784#40ÿ5The
               construction-wise.         ÿ7only
                                               86ÿthing
                                                      82ÿthat
                                                             !ÿI5
 0670ÿ07#8ÿÿÿ8'!
       own is the Vicari ÿ9Enterprise,
                             8 ( "ÿ#which'ÿisÿthe
                                                          ÿ@Dairy
                                                               ! 
 0A0ÿ0
   7   8"ÿ!86ÿBCDÿE76
       Queens,               682"ÿ#which
                and M&P Holdings,       'ÿisÿthe
                                                     ÿreal
                                                          !6ÿestate
                                                                !
 0F
  80ÿ0company.
       '7$(!84
 0G
  90ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿB3@3B9
                      MADAMEÿH  IPQ5ÿQREPORTER:
                               COURT    9DIQ59QRÿ9EMP BDÿEHoldings?
                                                           76682)
 1S
 100ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ5E9ÿT5    5U9VVRÿM&P.
                      THE WITNESS:    BÿCÿD4
 11
 11 0ÿ0WXÿBQ4ÿY3TEIUR
       BY MR. LAWHON:
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q-    58ÿ
                      In theÿ6  !ÿ&five
                              last    1ÿyears,
                                              ! "ÿhave
                                                       !1ÿyou
                                                             7ÿ7owned
                                                                   #86
 1%
 130ÿ0!8ÿ8  ÿ8ÿ!8ÿ
       an interest   in any ' 7$(!8ÿ`besides
                             companies       6ÿthe
                                                       ÿtwo
                                                            #7ÿthat
                                                                 !
 10
 140ÿ07ÿa ÿ68&6
       you just  identified? )
 13
 150ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    59$ÿ$ $` ÿ7of&ÿthe
                      I'm members          ÿcompanies,
                                               '7$(!8"ÿ`but ÿI5
 17    don'tÿ8ÿ5ÿ!1ÿ
 160ÿ06789  think I have !   8ÿ7ownership
                             any                      $4
                                    #8 (ÿ7of&ÿthem.
 1A
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.40ÿ0T!ÿ6
                      What do7ÿyou
                                 7ÿ'consider
                                      786 ÿto7ÿ`beÿ!aÿ$member
                                                             $` ÿ7of&
 1F
 180ÿ0$)
       them?
 1G
 190ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    bÿ(part
                      Just   ! ÿ7of&ÿthe
                                        ÿYLLC.
                                              YH40ÿ5I'm
                                                      9$ÿajust
                                                           ÿ!a
 S0ÿ0$!8!2
 20         82ÿ$$`
       managing  member,"ÿ` ÿI5ÿ6don't
                           but      789ÿ'control
                                             78 76ÿ!any
                                                       8ÿstocks
                                                            7'ÿ7or
 10ÿ07#8ÿ!
 21         8ÿ(
       own any      '8!2ÿ7of&ÿ!8
                percentage       anyÿ7of&ÿit.
                                             4
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             40ÿ0T!ÿ'  7$(!8ÿ!areÿyou
                      What companies             7ÿ!aÿ$member
                                                         $` ÿ7of?
                                                                 &)
 %0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 23             A.    Dÿ8 '! ÿcGeneral
                      Pete Vicari     8 !6ÿHContractors.
                                                  78 !'7 40ÿ3And 86
 00ÿ059$ÿ87ÿ
 24    I'm not sure ÿ&ÿ59$
                      if I'mÿ7  8ÿthe
                               on   ÿ7other
                                           ÿ7ones,
                                                  8"ÿ8Vicari
                                                          '! 
 30ÿ03'78ÿ7
 25    Auction orÿ8'!   ÿBMotor
                    Vicari   77 ÿVSports.
                                     (7 40ÿ5I'm 9$ÿ8not
                                                       7ÿsure.
                                                            4
     % ESQUIRE      DEPOSITION SOLUTIONS
                                                            800.211.DEPO
                                                              deefghiÿk(3376)
                                                             gp
                                                                             llmno
                                                                qrstuvwxryswzp{com
                                                             EsquireSolutions.   w|
                                                                                 X8 1&
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     cdedfÿhiÿpqrsfq                                    wÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     cdedÿpqrsfqÿtdudfsvÿrwuefsrewfÿxyÿwqwÿrssveÿqui
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           |       14

 010ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  1                  345436ÿ7COURT
                     MADAME   89ÿREPORTER:
                                      6860ÿ  ÿkeep
                                                  Please   
 020ÿ0your
       !"#$ÿ%"&'ÿ#(ÿ!"#ÿ  $ÿ)talking
            voice up, you are     &01ÿlow.
                                            "23
 040ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  3                  56ÿ67
                     THE    86990ÿOkay.
                          WITNESS:    8!3
 04@0ÿ0BY
       ABÿ33ÿC46588
          MR.  LAWHON:
 05D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                E30ÿ0When
                     6F0ÿ! "#ÿsaid,
                           you   &G(ÿPete
                                        )ÿVicari
                                             H&'$&ÿIGeneral
                                                       0$
       7"0)$')"$(ÿ!"#ÿQ
 06P0ÿ0Contractors,         0ÿ)the
                     you mean    FÿRFlorida
                                      "$&Gÿcompany?
                                               '"Q0!S
 0T70ÿ0ÿ0ÿ0ÿ0ÿ0A.
                430ÿ0It's
                     7)Uÿ"one
                            0ÿ'company,
                                 "Q0!(ÿasÿfar
                                               V$ÿas
                                                   ÿ7Iÿknow,
                                                         0"23ÿÿI7
 0W
  80ÿ0mean,
       Q0(ÿ)F$Uÿ0")ÿX
             there's not -- Xÿ"only
                                0!ÿhave
                                    F%ÿ"one
                                            0ÿ'company.
                                                 "Q0!3
 0Y
  90ÿ0ÿ0ÿ0ÿ0ÿ0Q.E30ÿ0Your
                     B"#$ÿ#understanding
                            0G$)0G&01ÿ)there
                                             F$ÿ&isÿone
                                                       "0
 1`0ÿ0'"Q0!ÿ)F)ÿ&ÿ&0ÿ
 10                         'F$1ÿ"ofVÿ)the
       company that is in charge          Fÿ7Civic
                                               &%&'ÿTowers
                                                    "2$
 110ÿ0project,
 11    $"a')(ÿ0Gÿ"(ÿ
                 and also, ) Fÿsame
                            the  Qÿ'company
                                        "Q0!ÿ$runs
                                                  #0ÿall
                                                       ÿ)the
                                                             F
 1 0ÿ0Louisiana
 12    C"#&&0ÿ$"a')S
                  projects?
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             430ÿ0Correct.
                     7"$$')3
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             E30ÿ0You
                     B"#ÿQ 0)&"0Gÿ)the
                          mentioned    FÿHVicari
                                            &'$&ÿEnterprise
                                                   60)$$&
 1D0ÿ0company
 15    '"Q0!ÿFÿ5&$!ÿE  #030ÿ5
                has Dairy Queen.      &Gÿ!you
                                    Did    "#ÿXXÿdid
                                                  G&Gÿ7I
 1P0ÿ0understand
 16    #0G$)0Gÿ)F)ÿ'"$  $')!S
                   that correctly?
 1T0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17             430ÿ0Yes.
                     B3
 1W0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             E30ÿ08!3
                     Okay.0ÿ5 "2ÿQmany?
                             How   0!S
 1Y0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             430ÿ07#$$0 )!ÿseven
                     Currently    %0ÿ"operational,
                                          $)&"0(ÿand
                                                         0Gÿan
                                                             0
 20`0ÿ0eighth
       &1F)Fÿ"0ÿ#0G$ÿ'"  0)$#')&"03
               one under construction.
 2110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                E30ÿ06F"ÿb# &Gÿ)those?
                     Who builds    F"S
 220ÿ0ÿ0ÿ0ÿ0ÿ0A.430ÿ0)ÿH &'$&ÿIGeneral
                     Pete Vicari    0$ÿ7Contractor.
                                               "0)$')"$3
 2340ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                E30ÿ06F"ÿ# $%&ÿ)the
                     Who supervises     Fÿ'construction?
                                             "0)$#')&"0S
 24@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                430ÿ07ÿF%
                     I haveÿaÿguy
                                1#!ÿ)that
                                      F)ÿstays
                                            )!ÿ)there
                                                   F$ÿfor
                                                         V"$ÿme,
                                                              Q(
 25D0ÿ0watches
       2)'Fÿ&)ÿV"$ÿQ(ÿ  0Gÿ7Iÿdo
                it for me, and     G"ÿit
                                       &)ÿ"over
                                            %$ÿ)the
                                                  Fÿphone
                                                       F"0ÿ"or$
                                                            ddefghÿjkklmn
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    fopqrstuvwqxrvyozv{
                                                            EsquireSolutions.com
                                                                               BH$1V
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           u       15

 010ÿ0
  1    3456784ÿ9
       through e-mails.0ÿ  9ÿbuilt
                           I've   73ÿ9enough
                                           !6784ÿ6of"ÿ3them
                                                         49ÿ#where
                                                               4959ÿI
 0$0ÿ0
  2    %6!3ÿ!99%ÿ36ÿ
       don't need to be9ÿ3 &!8ÿ3there,
                          staying    4959'ÿ#watching
                                               3(4!8ÿ3them.
                                                           49ÿÿI
 03)0ÿ079ÿ349ÿ9ÿ7
       use the same subsÿ"for
                            65ÿ3them,
                                 49'ÿso6ÿ3they
                                              49&ÿ%don't
                                                    6!3ÿ!need
                                                            99%ÿa
 0040ÿ0babysitter.
         &3395
 01
  50ÿ0ÿ0ÿ0ÿ0ÿ0Q.20ÿ036ÿ349
                     So theÿ4 5&ÿ2Queen
                             Dairy    799!ÿ3that
                                               43ÿisÿ(currently
                                                          7559!3&
 05    underÿ(6!357(36!'
  60ÿ07!%95  construction,ÿ"  65ÿ9example,
                             for   679'ÿ4have9ÿ&you
                                                       67ÿ9even
                                                            9!ÿbeen
                                                                  99!
 0870ÿ036ÿ349ÿ39ÿ%75!8ÿ
       to the               (6!357(36!9
               site during construction?
 0@
  80ÿ0ÿ0ÿ0ÿ0ÿ0A0ÿ0B9
                A.   Yes.
 0C
  90ÿ0ÿ0ÿ0ÿ0ÿ0Q.20ÿ0D6#ÿ"5 9E79!3&ÿ%do6ÿ&you
                     How frequently           67ÿ8go?
                                                   69
 100ÿ0ÿ0ÿ0ÿ0ÿ0A0ÿ0G!(9ÿ
 1F             A.   Once aÿ# 99H0ÿOnce
                             week.    G!(9ÿ9every
                                               95&ÿ6other
                                                       3495ÿ#week.
                                                               99H
 11
 110ÿ0Iÿ9!'ÿ#9ÿ6!&ÿ3
         mean,              539%ÿit3ÿ)30Fÿ%days;
                we only started              &Iÿit3ÿ6only
                                                         !&ÿ3takes
                                                               H9
 1$
 120ÿ090
       CFÿ%&ÿ36ÿ
          days      7%
                to build.
 1)
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.20ÿ0DÿP9 39ÿQVicari
                     Has Pete    (5ÿRGeneral
                                           9!95ÿSContractors
                                                      6!35(365
 10
 140ÿ0built
        73ÿÿ99!ÿ6"ÿ
              all seven of 3 49ÿ4Dairy
                            the   5&ÿQueens?
                                          2799!9
 11
 150ÿ0ÿ0ÿ0ÿ0ÿ0A0ÿ0
                A.   B9
                     Yes.
 15
 160ÿ0ÿ0ÿ0ÿ0ÿ020ÿ0
                Q-   ÿ&67
                     Is     5ÿrole
                         your 569ÿ3typically
                                      &7(&ÿ3the 49ÿsame
                                                          9
 18
 170ÿ0relative
       5939ÿ36ÿ349ÿ(6!  357(36!ÿ6of"ÿ3those
                 to the construction           469ÿ4Dairy
                                                       5&ÿQueens?
                                                             2799!9
 1@
 180ÿ0ÿ0ÿ0ÿ0ÿ0A0ÿ0
                A.   B9
                     Yes.
 1C
 190ÿ0ÿ0ÿ0ÿ0ÿ020ÿ0
                Q-   S!ÿ&6
                     Can you7ÿ%describe
                                9(5 9ÿ#what43ÿ&you
                                                   67ÿ#would
                                                         67%
 $F0ÿ0consider
 20    (6!%95ÿ36ÿ  9ÿ&675
                 to be yourÿ5 69ÿ"for
                             role    65ÿ3those
                                           469ÿ4Dairy
                                                   5&ÿ2Queens?
                                                           799!9
 $10ÿ0ÿ0ÿ0ÿ0ÿ0A0ÿ0
 21             A.   T4'69 599ÿ3the
                     Uh,oversee    49ÿ#whole     56(9ÿ"from
                                          469ÿ7process     56
 $$0ÿ0start
 22    353ÿ36ÿ"!4
              to finish.
 $)0ÿ0ÿ0ÿ0ÿ0ÿ020ÿ0
 23             Q-   469ÿ& 675ÿ"father
                     Does your    3495ÿ4have9ÿany
                                                   !&ÿ5role
                                                         69ÿin!
 $00ÿ03469ÿ45&ÿ2799!9
 24    those Dairy Queens?
 $10ÿ0ÿ0ÿ0ÿ0ÿ0A
 25             A.0ÿ0U6
                     No.


                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                            ddefg
                    DEPOSITION SOLUTIONS                     hijklmnopjqkorhscom
                                                             EsquireSolutions.  ot
                                                                                BQ951"
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     STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  16

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1            340ÿ056ÿ78ÿ
                Q.         98ÿ9inÿthe
                     Is he involved         78ÿconstruction
                                                 69ÿat
 020ÿ0!
       all?
 0"0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            #40ÿ0$4
                A.   No.
 0%0ÿ0ÿ0ÿ0ÿ
   4            340ÿ0&'ÿ(
            0ÿ0Q.          ÿ)your
                     How about   ÿ0mother?
                                         78!
 0150ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0$4
                A.   No.
 0260ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ03ÿ89
                Q.         78ÿof4ÿ)your
                     Do either        ÿ5parents
                                            86ÿ7have
                                                      8ÿany
                                                            )
 0670ÿ0658ÿÿ)ÿ8ÿ
       aspect  or any role ÿall
                           at   ÿ'with
                                      97ÿthe
                                            78ÿconstruction
                                                 69ÿof4
 0780ÿ0768
       thoseÿ39)ÿ38868
              Dairy Queens,ÿ 78ÿ(business
                             the   69866ÿaspect,
                                               6588ÿthe
                                                         78
 0990ÿ0499ÿ6588ÿ )ÿ5part
       financial aspect, any    ÿof4ÿ9it?
                                           !
 1@
  100ÿ0ÿ0ÿ0ÿ0ÿ0#4
                A.0ÿ0A78)ÿBBÿno.
                     They --   4
 110ÿ0ÿ0ÿ0ÿ0ÿ0
  11            34
                Q.0ÿ0A78ÿCDEÿFCompany,
                     The M&P   05)8ÿ'what
                                           7ÿdoes
                                                 86ÿthat
                                                       7ÿdo?
                                                             !
 1120ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0A7G6
                A.   That'sÿ 78ÿreal
                            the    8ÿ8estate
                                          68ÿcompany
                                                  05)ÿthat
                                                            7
 1"
  130ÿ0'6ÿ
       owns ÿ78ÿ8ÿ8 68ÿand
            all the real estate     ÿ(building
                                          99Hÿ4for
                                                     ÿall
                                                          ÿthe
                                                               78
 1%
  140ÿ039)
       Dairyÿ38864
              Queens.
 11
  150ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0Iÿ4
                Q-   So forÿ8 7ÿof4ÿthe
                            each         78ÿ6seven
                                              88ÿ8existing
                                                     P969H
 12    Dairyÿ3886ÿ)ÿ08
  160ÿ039)               988ÿCM&P
              Queens you mentioned,      DEÿowns
                                              '6ÿthe
                                                    78ÿreal
                                                         8
 16
  170ÿ0868ÿÿ78ÿ336ÿ
       estate and the DQs  868ÿ9itÿ(back?
                           lease         Q!
 17
  180ÿ0ÿ0ÿ0ÿ0ÿ0#4
                A.0ÿ0F84
                     Correct.
 19
  190ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q.   R7ÿ8ÿthe
                     Who are   78ÿother
                                    78ÿowners
                                            '86ÿorÿ0members
                                                         80(86ÿof4
   @0ÿ078ÿC
  20        DEÿ05)ÿ(86
       the M&P             986ÿ)yourself?
                company besides    684!
   10ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0C)ÿ(
  21            A.         784
                     My brother.
  220ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0R7G6
                Q.   What'sÿ7 96ÿname?
                            his    08!
   "0ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0C978
  23            A.         4
                     Michael.
   %0ÿ0ÿ0ÿ0ÿ0ÿ034
  24            Q.0ÿ0R7ÿ96ÿ7his
                     What is   96ÿrole?
                                    8!
   10ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0
  25            A.   &8ÿ96ÿ
                     He is ÿoperations.
                           an   589640ÿ&He8ÿoversees
                                                     86886
    @ESQUIRE        DEPOSITION SOLUTIONS
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                             e
                                                                             d
                                                                fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 rs814
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            yq      17

 010ÿ0
  1    34567ÿ89458ÿ8
       daily operations ofÿ ÿrestaurants.
                            the   44
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   2            0ÿ0!4567ÿ
               Q.   Daily 89458"ÿ#meaning
                          operations,      45$ÿheÿ5isÿthe
                                                              
 0%0ÿ0
   3   $46ÿ#44$ÿ8ÿ
       general manager of ÿrestaurants?
                          the   44&
 0'40ÿ0ÿ0ÿ0ÿ0ÿ0(0ÿ0
               A.   )ÿ5ÿ
                    He is ÿhead
                          the   43ÿ8ofÿ4all
                                           66ÿ8operations,
                                                94580ÿ)He
 000ÿ0
   5   81ÿÿ355
       oversees           2ÿ#managers
                the district   44$ÿ4and3ÿthe
                                                ÿ$general
                                                      46
 030ÿ0
   6   #44$ÿ8ÿÿ8
       managers           
                of the stores.
 040ÿ0ÿ0ÿ0ÿ0ÿ0
   7            0ÿ0(7583
               Q-         7ÿelse
                    Anybody   6ÿ4aÿ#member
                                       #5ÿ8orÿ8own
                                                    6ÿ4an
 070ÿ0
   8   5ÿ5ÿ89@&
       interest in M&P?
 0A0ÿ0ÿ0ÿ0ÿ0ÿ0
   9           (0ÿ0
               A.   B8
                    No.
 1C
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q-0ÿ0)86ÿ458ÿthe
                    How about   ÿDVicari
                                     5245ÿEEnterprise
                                              95
 11
 110ÿ057"ÿ68ÿ4ÿ
       entity, who are theÿ8 ÿ#members
                            other   #5ÿ8orÿ8owners,
                                                   6"ÿ5if
 1
 120ÿ047"ÿ
       any, 553ÿ786&
            besides yourself?
 1%
 130ÿ0ÿ0ÿ0ÿ0ÿ0(0ÿ0
               A.   Fÿ#7ÿ5brother,
                    Just my   8"ÿ8Michael.
                                         5246
 1'
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0G4ÿ5ÿhis
                    What is   5ÿrole
                                   86ÿrelative
                                         6451ÿto8ÿthe
                                                         
 10
 150ÿ0D5245ÿE95&
       Vicari Enterprise?
 13
 160ÿ0ÿ0ÿ0ÿ0ÿ0(0ÿ0H4#ÿ
               A.         5$0ÿGWeÿtreat
                    Same thing.         4ÿ5both
                                                8ÿ2companies
                                                       8#945
 140ÿ0
 17    4ÿ8
       as one.
 170ÿ0ÿ0ÿ0ÿ0ÿ0
 18             0ÿ0H8ÿÿ
               Q.   So he 38ÿ3daily
                          does    4567ÿ8operations
                                         9458ÿfor 8ÿDVicari
                                                              5245
 1A
 190ÿ0E 95&
       Enterprise?
 C
 200ÿ0ÿ0ÿ0ÿ0ÿ0(0ÿ0I
               A.   Yes.
 1
 210ÿ0ÿ0ÿ0ÿ0ÿ0Q-0ÿ0H8"ÿ$4667ÿspeaking,
                    So, generally    94P5$"ÿ5itÿsounds
                                                       83ÿ6like
                                                                5P
 
 220ÿ078ÿ4 ÿ5ÿ24$ÿ8
       you are            ÿ2construction
               in charge of   8258ÿ4and3ÿ7your
                                                    8ÿ5brother
                                                           8
 %
 230ÿ05ÿ5
       is inÿ24$ÿ8ÿ
             charge of theÿ8 9458ÿ8ofÿthe
                            operation        ÿrestaurants?
                                                   44&
 '
 240ÿ0ÿ0ÿ0ÿ0ÿ0(0ÿ0Q82
               A.         
                    Correct.
 0
 250ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0!8ÿ4ÿ#mean
                    Does that   4ÿ7you
                                       8ÿ4are
                                            ÿ5inÿ2charge
                                                      4$ÿ8of
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               ID1
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     UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  18

 010ÿ0
  1    344ÿ563787ÿ9ÿ97  9ÿthe
       all phases of construction;        68ÿ3actual
                                               34
 00ÿ0
  2    979ÿvertical
       construction,   834ÿconstruction,
                                  979ÿfinancial,
                                                     334
 0!0ÿ0
   3   3"6#ÿ9ÿ$9ÿ%6
       anything to do withÿ   68ÿconstruction?
                             the     979&
 0'40ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0
               A.    098 )
                     Correct.
 0510ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0
               Q-    (8ÿ"9
                     Are youÿinvolved,
                                 94 8$ÿ9orÿ6have
                                                 3 8ÿ"you
                                                        9ÿ3been
                                                             88
 0640ÿ0 94 8$ÿÿ68ÿ437
       involved  in the lastÿfive
                                 8ÿ"years,
                                       837ÿinÿ3any
                                                    "ÿ9other
                                                         68
 050ÿ0
   7   965387ÿ63ÿ38ÿ
       companies  that are   94 8$ÿinÿconstruction?
                            involved        979&
 0870ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0
               A.    8ÿ$99
                     I don'tÿthink
                                6@ÿso.
                                       79)0ÿANot
                                               9ÿthat
                                                    63ÿI8
 09B0ÿ0remember.
       868638)
 1C
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2)0ÿ0D3  8ÿ"you
                     Have   9ÿstarted
                                738$ÿup5ÿ3aÿnew
                                                  8%ÿconstruction
                                                      979
 11    9653"ÿÿE973
 11 0ÿ0company in Louisiana 3ÿinÿthe
                                     68ÿ4last
                                          37ÿ"year
                                                83ÿ9orÿtwo?
                                                           %9&
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0
               A.    A968
                     No,theÿF 88ÿJ.
                             Peter    G)ÿHVicari
                                           3ÿ0Construction
                                                    979
 1!
 130ÿ063ÿ
       that %8ÿ$99ÿ78)
            we don't use.
 1'
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2)0ÿ0I68ÿ$  $ÿ"you
                     When did     9ÿ7start
                                       3ÿthat?
                                               63&
 150ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0
 11            A.    P63ÿ% 37ÿ20CÿQQÿ2016
                     That was           C14ÿis7ÿ%when
                                                    68ÿ%we8ÿQQÿ8I
 14    thinkÿ%68ÿ%8ÿ$$ÿ
 160ÿ06@  when we did it.)
 15
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2)0ÿ087ÿ68  8ÿ3aÿRqualifying
                     Is there        34"#ÿ3agent
                                                  #8ÿ9orÿ3a
 17
 180ÿ04878ÿ694$8ÿ9ÿ
       license holder for   63ÿcompany?
                            that     9653"&
 1B
 190ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0
               A.    P6397
                     That'sÿ6 "ÿcompany,
                             my    9653"ÿ"yes.
                                               87)0ÿPThat's
                                                      6397ÿ6my"
 C0ÿ0#88
 20         34ÿ9399
       general contractor's 7ÿ4license
                                878ÿunder
                                           $8ÿthat
                                                  63ÿcompany.
                                                         9653")
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21            2)0ÿ0I63ÿ%  37ÿthe
                     What was          5978ÿ9ofÿ7starting
                                  68ÿ5purpose        3#ÿthat
                                                                63
 0ÿ0company?
 22    9653"&
 !0ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0
 23            A.    P9ÿ63
                     To have8ÿ6my"ÿ9own
                                     %ÿcompany.
                                        9653")
 '0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24            2)0ÿ0P9ÿ$9ÿ
                     To do % 63&
                            what?
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25            ()0ÿ0My
                     S"ÿ9%
                        ownÿ  979ÿ5projects,
                             construction       9T87ÿ%when
                                                             68ÿ8I
     # ESQUIRE                                              800.211.DEPO
                                                              ÿ(3376)
                                                             g
                                                                             def
                                                                hijklmnoipjnqgrcom
                                                             EsquireSolutions.   ns
                                                                                 tH81
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     TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                           October 16, 2018
     TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            s      19

 010ÿ0
  1    345ÿ56ÿ758
       get to it.0ÿJust
                    95ÿ735ÿnow,
                         right    6ÿ7it's
                                        5ÿ7inactive
                                               57 4ÿ6orÿwe4
 0!0ÿ0
   2   65ÿ73ÿ75ÿ"4
       not using it because4ÿI'm
                              #$ÿ%doing
                                     673ÿ4everything
                                             4&573ÿwith
                                                          75ÿ$my&
 0'30ÿ0%%8
       dad.
 0(0ÿ0ÿ0ÿ0ÿ
   4        0ÿ0Q.
                )80ÿ0074ÿ
                     Since 54ÿcompany
                           the    6$1&ÿ2PJ9ÿ3Vicari
                                                77
 0540ÿ0565576ÿ74
       Construction, sinceÿ7  5ÿwas
                             it   ÿstarted,
                                       554%ÿhas
                                                  ÿ7it5ÿhad
                                                            %ÿany
                                                                 &
       65576ÿ1674
 0660ÿ0construction        5ÿunder
                     projects   %4ÿcontract?
                                        6558
 090ÿ0ÿ0ÿ0ÿ0ÿ0
   7            @80ÿ0
                A.   A68
                     No.
 08B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                )80ÿ0@&ÿ654ÿcompanies
                     Any other    6$174ÿ5that
                                              5ÿ&you're
                                                     64ÿa
 09C0ÿ0$4$"4ÿ6Dÿ6ÿ7
       member           6E 4%ÿ7inÿ5that
               of or involved        5ÿare
                                           4ÿrelated
                                                4E54%ÿ5to6
 1F
 100ÿ0construction?
       655768
 110ÿ0ÿ0ÿ0ÿ0ÿ0@80ÿ0
 11             A.   #ÿ%6
                     I     5ÿ5think
                       don't   7Gÿso.
                                      680ÿANothing
                                             6573ÿcomes
                                                       6$4ÿ5to6
 1!
 120ÿ0$7%8
       mind.
 1'
 130ÿ0ÿ0ÿ0ÿ0ÿ0)80ÿ0
                Q-   @&ÿ654ÿH--Hÿwell,
                     Any other        4EEÿstrike
                                             57G4ÿ5that.
                                                      58
 1(
 140ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ#%457  D&ÿall
                     Identify   EEÿ5the
                                      4ÿcompanies,
                                         6$174ÿno6ÿ$matter
                                                             554
 14
 150ÿ05ÿ
       what 554ÿ54&ÿ4
             state they areÿ7 ÿ5that
                            in,    5ÿ&you
                                         6ÿIqualify
                                              E7D&ÿasÿ5the
                                                             4
 16
 160ÿ0E74 4ÿ6E%4ÿD68
       license  holder for.
 19
 170ÿ0ÿ0ÿ0ÿ0ÿ0@80ÿ02454ÿ3
                A.         77ÿPGeneral
                     Pete Vicari     44Eÿ5Contractors
                                              6556ÿ6ofD
 1B
 180ÿ0QE67 %8
       Florida.
 1C
 190ÿ0ÿ0ÿ0ÿ0ÿ0)8Q.0ÿ0@&573ÿ4else?
                     Anything    E48
 !F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             @80ÿ0#$ÿ65ÿsure.
                     I'm not  480ÿMyR&ÿ$mom
                                            6$ÿhandles
                                                 %E4ÿallEEÿ5the
                                                                 4
 !10ÿ0114
 21    paperworks   %ÿE74
            6Gÿand     4ÿand
                       licenses    %ÿIqualifying.
                                        E7D&7380ÿ#Iÿ$mean,
                                                            4ÿ#I
 !!0ÿ0
 22    %65
       don'tÿHHÿ#ÿ%65ÿ4 $4$"480ÿ#IÿGknow
              -- I don't remember.         6ÿ#IÿIqualify
                                                    E7D&ÿDfor
                                                              6
 !'
 230ÿ054ÿQ E67%ÿ6$1&
       the Florida         8
                    company.
 !(
 240ÿ0ÿ0ÿ0ÿ0ÿ0)8Q.0ÿ0#ÿ64
                     In oneÿ& 6ÿ7just
                             you   5ÿ7identified?
                                         %457D74%8
 !4
 250ÿ0ÿ0ÿ0ÿ0ÿ0@8A.0ÿ0S4ÿ64ÿ#Iÿ7just
                     The one      5ÿ7identified,
                                        %457D74%ÿwhich
                                                       7ÿ7isÿ$my&
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             de
                    DEPOSITION SOLUTIONS                     f ghijklmnhoimpfqcom
                                                             EsquireSolutions.   mr
                                                                                 t341D
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  20

 010ÿ0
  1    34567893745ÿ345 ÿyes.
       construction company,   6
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2            0ÿ0Are
               Q-     8ÿ7!8ÿany
                         there    5ÿ4other
                                        7!8ÿcompanies
                                              3456ÿyou  49ÿcan
                                                                  35
 0"0ÿ0
  3    7!5#ÿ4$ÿ7!7ÿ49ÿ ÿ5not
       think of that you may    47ÿ4own
                                      %5ÿan5ÿinterest
                                                57867ÿin,5ÿ&but
                                                                  97
 0'40ÿ049ÿ(9)$ÿ7!ÿ345
       you qualify         67893745ÿ$for
                    the construction      48ÿand
                                                50ÿ6so4ÿyou
                                                          49ÿ4oversee
                                                               186
 020ÿ0
   5   7!ÿ34567893745ÿ5
       the construction  inÿ6 4ÿ%way?
                             some    3
 0460ÿ0ÿ0ÿ0ÿ0ÿ0A.0ÿ05ÿ5ÿyou've
                     I mean,   4961ÿ!had0ÿall
                                              ))ÿ7the
                                                    !ÿ3companies
                                                          456
 0770ÿ07!7ÿ
       that 5ÿ%6ÿ45ÿ7ÿ45
            I was on at oneÿ7time.
                               0ÿAÿ)long
                                           458ÿ7time
                                                  ÿago84ÿ%with
                                                               7!ÿ9PM@
 0A0ÿ0
   8   B4578374860ÿ5ÿ
       Contractors.        5ÿ5Iÿ0don't
                      I mean,      4567ÿ8remember
                                           &8ÿall ))ÿ4of$ÿ7them
                                                                  !
 0C0ÿ0
   9   7!7ÿ
       that 5ÿ(9)$ÿ$48
            I qualify for.
 1D
 100ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0E4%ÿ)4
               Q.          58ÿago
                     How long   84ÿ%was
                                      6ÿ9PM@ÿBContractors?
                                                4578374863
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.0ÿ0F!ÿ84 405660ÿ5Iÿ!have
                     Oh, goodness.         1ÿ5no4ÿidea.
                                                       0
 10ÿ0ÿ0ÿ0ÿ0ÿ0
 12            0ÿ0@48ÿ7
               Q.          !5ÿ7ten
                     More than    5ÿyears
                                        86ÿago?
                                                843
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0
 13             0ÿ0G40ÿ
               A.    No. 5Iÿ8 47ÿmyÿ)license
                            got         356ÿin5ÿ6'06
                                                       D4ÿin5
 1'0ÿ0
 14    H4965
       Louisiana.0ÿAnd
                     50ÿ7!7ÿ%was
                        that   6ÿ9under
                                     508ÿ4one
                                             5ÿ4of$ÿ7them,
                                                       !ÿ9PM,
                                                               @ÿ4or8
 120ÿ0
 15    97ÿ
       Pete I38ÿ5ÿ0456
            Vicari, I don't7ÿ8remember.
                               &8
 140ÿ0ÿ0ÿ0ÿ0ÿ0
 16            0ÿ0P!ÿ9
               Q.          7ÿIVicari
                     The Pete   38ÿQQÿ9Pete7ÿIVicari
                                                     38ÿRGeneral
                                                               58)
 170ÿ0
 17    B45783748ÿS)480ÿ
       Contractor  Florida B45ÿis6ÿ7the
                           Company         !ÿBCivic
                                                 13ÿPTowers
                                                          4%86
 1A0ÿ0
 18    84T37ÿ7!ÿ45)ÿ45
       project the only oneÿ7that
                               !7ÿit's
                                      766ÿever
                                             18ÿ!had
                                                    0ÿ4or8ÿ7that
                                                              !7
 1C
 190ÿ03988 57)ÿ7ÿ6ÿ%48
       currently           #58ÿ4on?
                  it is working    53
 D
 200ÿ0ÿ0ÿ0ÿ0ÿ0A.0ÿ0Uÿ00
                     We didÿ
                            aÿV 8ÿQueen
                               Dairy     95ÿ$for
                                                 48ÿanother
                                                       547!8
 10ÿ0
 21    $853!6ÿ5ÿ956 34)ÿ)last
       franchisee in Pensacola     67ÿyear.
                                          80ÿ5It's
                                                    766ÿ&been
                                                           5ÿa
 0ÿ0
 22    8ÿ
       year 653ÿ5ÿ$56! 0ÿit.
            since I finished    7
 "0ÿ0ÿ0ÿ0ÿ0ÿ0
 23            0ÿ0U!4ÿ%
               Q-          6ÿ7the
                     Who was   !ÿ4owner
                                     %58ÿ4of$ÿ7the
                                                 !ÿ9Pensacola
                                                       5634)ÿVDQ?3
 '0ÿ0ÿ0ÿ0ÿ0ÿ0
 24             0ÿ0S895
               A.          6!9!ÿEHospitality
                     Frauenshuh    467)7ÿRGroup.
                                                    849ÿÿ5I
 20ÿ0
 25    349)0567ÿ7))ÿ49ÿ! 4%ÿ7to4ÿ6spell
       couldn't tell you how         ))ÿit,
                                             7ÿ&but
                                                  97ÿit's
                                                        766ÿQ—Q
                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                            eecom
                                                                               fgh
                    DEPOSITION SOLUTIONS                     ijklmnopqkrlpsitpu
                                                             EsquireSolutions.  vI81$
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     XY`Yaÿcdÿefghaf                                    ryÿÿ 
                                      229
      PETER J. VICARI                                           October 16, 2018
     XY`YÿefghafÿiYpYahqÿgrp`ahg`raÿstÿrufrÿghvwhq`xÿfpvd
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                   21

 010ÿ0
  1    34567896ÿ9ÿÿ
       Frauenshuh           7ÿsay
                   is how they    95ÿit,
                                         ÿHospitality
                                               95ÿGroup,
                                                              46
 0!0ÿ0
  2    6ÿ"ÿ#88759$
       out of Minneapolis.
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             &$0ÿ0'648(
                Q.   Duringÿ  5ÿtime
                              what    )7ÿperiod
                                             740ÿwas59ÿthat
                                                            5ÿ'DQ&
 0410ÿ0under
       68074ÿ28946283
              construction?
 0540ÿ0ÿ0ÿ0ÿ0ÿ0A.
                5$0ÿ0They
                     67ÿ7--7ÿ8just
                                 69ÿ9soÿhappened,
                                          57870ÿthey7ÿ8just
                                                               69
       2570ÿ)7ÿ5ÿ77@ÿ4
 0690ÿ0called  me a week orÿ  ÿ5ago
                              two    (ÿ5about
                                          A6ÿthe7ÿone-year
                                                        877754
 07B0ÿ0warranty
       54458ÿ740ÿ5A  6ÿtoÿ7expire,
                 period about         C47ÿjust869ÿgo
                                                       (ÿ"fix
                                                            Cÿone
                                                                 87
 08D0ÿ0light.
       ($0ÿEÿÿ59ÿ5
                So it was aÿyear
                              754ÿago
                                     5(ÿFNovember,
                                            G7)A74ÿHIÿthink
                                                          8@ÿHI
 09I0ÿ0finished
       "8970ÿ$
                 it.0ÿAnd
                      580ÿitÿtook
                                 @ÿ90     59ÿtoÿcomplete
                                      IPÿ0days        2)77ÿthat.
                                                                  5$
 1P0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             &$0ÿ0Is
                     H9ÿÿ
                        it I  Pÿdays
                             90  059ÿ"from
                                         4)ÿthe7ÿ5application
                                                      258ÿ"for4
 11    A608(ÿ74)ÿÿ
 110ÿ0building   permit to Q  Rÿor4ÿis
                             CO      9ÿitÿI90Pÿdays
                                                  059ÿ"from
                                                         4)
 1!0ÿ0sticking
 12    92@8(ÿ5ÿ9G7ÿ
                 a shovel in8ÿthe
                               7ÿ(ground
                                      4680ÿtoÿQCO?
                                                    R3
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             5$0ÿ0From
                     34)ÿ8notice
                            27ÿtoÿproceed
                                          42770ÿtoÿ8notice
                                                         27ÿto
 110ÿ0completion
 14    2)78ÿ"ÿIPÿ05  9$
                   of 90 days.
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             &$0ÿ0When
                     S78ÿ 6ÿ9say
                           you    5ÿ8notice
                                       27ÿto  ÿproceed,
                                                    42770ÿHI
 16    8@ÿ8ÿ3405ÿ7
 190ÿ0think   in Florida weÿcall
                              25ÿthem
                                      7)ÿ8notices
                                             279ÿof"
 1B0ÿ0commencement.
 17    2))7827)78$0ÿ'79
                       Doesÿ  5ÿ9sound
                              that    680ÿright?
                                             4(3
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             5$0ÿ0Yeahh.
                     T75$
 1I0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             &$0ÿ0R@5$
                     Okay.
 !P0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             5$0ÿ067ÿ05
                     The dayÿyou
                                 6ÿstick
                                     92@ÿ5aÿ9shovel
                                                  G7ÿin
                                                         8ÿthe
                                                              7
 21    (4680ÿ78ÿ7ÿ95
 !10ÿ0ground                4ÿ--
               when the start    77ÿthe
                                      7ÿ0date
                                            57ÿthe
                                                   7ÿclock
                                                       22@ÿ9starts.
                                                               549$
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0&$
 22             Q.0ÿ0Sÿ"4 )ÿUPVGC
                     Who from     V Qÿworked
                                         4@70ÿon8ÿthat
                                                      5ÿproject?
                                                            48723
 !%0ÿ0ÿ0ÿ0ÿ0ÿ05$
 23             A.0ÿ0Hÿ50ÿ )ÿ6uncle
                     I had my     827ÿwho
                                          ÿoversees
                                                 G749779ÿwhile
                                                          7ÿHI'mW)
 !10ÿ0not
 24    8ÿ747$
           there.0ÿ580ÿHÿ2  72@70ÿin8ÿonce
                    And I checked           827ÿ5aÿweek
                                                    77@ÿwith
                                                            ÿthat
                                                                  5
 !40ÿ0one.
 25    87$0ÿThat
              65ÿ87ÿ59ÿ
                   one was 5 aÿlittle
                               7ÿ7easier.
                                          5974$0ÿIt  Hÿwas
                                                         59ÿ5a
                                                            ÿeffghi
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    jklmnopqrlsmqtjuqv
                                                            EsquireSolutions.com
                                                                               TV741"
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     efgfhÿpqÿrstuhs                                    yÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     efgfÿrstuhsÿvfwfhuxÿtywghutgyhÿÿysyÿtuuxg ÿswq
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  22

 010ÿ0
   1   345678965ÿ6ÿ9ÿ   59ÿrequire
        renovation so it didn't      3434ÿ-ÿit9ÿwas
                                                         8ÿjust
                                                               9ÿ—
 00ÿ0
   2   9the4ÿ834ÿ!"5#
             square buildingÿ   8ÿ9there,
                                was     434$ÿit9ÿwas
                                                    8ÿjust
                                                         9ÿ#gut
                                                                9ÿ9the4
 0%30ÿ054$ÿ85ÿ!"ÿ
       inside, and build it  9ÿ6out.
                                  9&0ÿ'So6ÿit9ÿwasn't
                                                   859ÿÿ(you6
 0)0ÿ0
   4   4345
       weren't9ÿ0615#ÿ69ÿ
                 coming out 6  2ÿ9the4ÿ#ground
                              of         365ÿwith
                                                   9 ÿ9the4ÿ2fresh
                                                               34
 0530ÿ0"8(6
       layouts9ÿ6ÿ9ÿ8ÿ4 3499(ÿsimply.
                 so it was pretty      14"(&
 0650ÿ0ÿ0ÿ0ÿ0ÿ0Q.6&0ÿ076ÿ743 908"ÿstructure,
                       No vertical     930934$ÿjust9ÿ9tenant
                                                             45859
 080ÿ0
   7   1436  7414599
       improvements?
 08@0ÿ0ÿ0ÿ0ÿ0ÿ0A&0ÿ0
                 A.   B48 &0ÿCBecause
                      Yeah.      4084ÿ9they
                                            4(ÿ8already
                                                   "348(ÿhad8ÿ9the4
 09D0ÿ0!"60E
        blockÿ8""Fÿ4ÿ!  "9ÿinside
               walls; we built      54ÿ6of2ÿit.
                                                 9&
 1G
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q. 6&0ÿ0HWhat's
                         89ÿ(your
                                 63ÿuncle
                                       50"4ÿ5name?
                                                8149
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0A&0ÿ0
                 A.   70E(&
                       Nicky.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q. 6&0ÿ0HWhat's
                         89ÿhisÿ"last
                                      89ÿ5name?
                                            8149
 1%
 130ÿ0ÿ0ÿ0ÿ0ÿ0A&0ÿ0
                 A.   IThibodeaux.
                         !648P&
 1)
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q. 6&0ÿ0Q85ÿ(6
                      Can youÿspell
                                  44""ÿ9that?
                                           899
 13
 150ÿ0ÿ0ÿ0ÿ0ÿ0A&0ÿ0
                 A.   IRS CTUVTWXÿY[sic].
                       T-H-I-B-O-D-E-O-U-X         0`&
 15
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q. 6&0ÿ0A5(ÿ69
                      Any other43ÿ4employees
                                     14"6(44ÿ2from361ÿaPVGC
                                                         bcQÿworking
                                                                63E5#
 18
 170ÿ065ÿ9    89ÿ4364099
        on that  project?
 180ÿ0ÿ0ÿ0ÿ0ÿ0A&0ÿ0
 1@              A.   76&
                      No.
 1D
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q. 6&0ÿ0HWhat's
                         89ÿ(your
                                 63ÿ4educational
                                       089658"ÿ!background
                                                       80E#365
 G0ÿ082943
 20     afterÿhigh
                # ÿ0  66"$ÿif2ÿ8any?
                    school,         5(9
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21              A&0ÿ0Sÿ459
                      I wentÿ9   6ÿWUniversity
                                to   57439(ÿ6of2ÿRHoly
                                                       6"(ÿQCross
                                                               36ÿin5
 0ÿ0Algeris,
 22    A"#43$ÿd6858ÿ
                  Louisiana 2  63ÿ1maybe
                             for     8(!4ÿ8aÿ(year,
                                                483$ÿ8and
                                                       5ÿ9then45
 %0ÿ0938524334ÿ96ÿa45
 23                          806"8ÿ—ÿ2forgot
        transferred to Pensacola           63#69ÿwhat89ÿit's
                                                            9
 )0ÿ0called.
 24    08""4&0ÿa45806"8ÿ
                  Pensacola Q  6""4#4$ÿwhatever
                              College,      894743ÿit9ÿwas8ÿdown
                                                                 65
 30ÿ09there,
 25       434$ÿ5ÿ65965&
                in downtown.0ÿC   4084ÿwe4ÿworked
                                 Because         63E4ÿin5ÿaPensacola
                                                               45806"8
                                                            800.211.DEPO
                                                              deffdghijÿl(3376)
                                                                             mmnop
                    DEPOSITION SOLUTIONS                     hq rstuvwxysztx{qd|com
                                                             EsquireSolutions.   x}
                                                                                 Bb4312
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            v      23

 010ÿ0
   1   345ÿ675589ÿ
       for Hurricane Ivan,ÿ   4ÿIÿwent
                              so      ÿto4ÿschool
                                               944 ÿthere
                                                          5ÿ3for
                                                                 45
 0!0ÿ0
   2   "#$ÿÿ#5%
       maybe  a year.0ÿAnd
                        &'ÿthen
                              ÿ6Hurricane
                                     75589ÿ(Katrina
                                                 58ÿhit,
                                                            8ÿhad
                                                                   '
 03)0ÿ004ÿ$91ÿ4ÿ2ÿ35   ÿand
       go back to New Orleans      'ÿIÿcouldn't
                                         947 '4ÿ0go4ÿ$back
                                                           91ÿto4
 050ÿ0
   4   944 %0ÿ&'ÿÿ67
       school.   And I justÿlearned
                               5'ÿeverything
                                         5#80ÿ8inÿthe
 0570ÿ038 '%
       field.
 0680ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                9%0ÿ0@"8'
                      Remindÿ" ÿwhat
                              me   ÿ#year
                                         5ÿwas
                                                ÿ(Katrina.
                                                      58%0ÿAWas
 0B0ÿ0
   7   ÿ
       that 4CDE
            '09?
 08F0ÿ0ÿ0ÿ0ÿ0ÿ0&%0ÿ0
                A.    4C7%
                      '05.
 09D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                9%0ÿ0'05?
                      4C7E
 1C
 100ÿ0ÿ0ÿ0ÿ0ÿ0&%0ÿ0
                A.    G%0ÿHGraduated
                      Yeah.    5'7'ÿ8inÿ4'03,
                                                C)ÿ'04
                                                      4C5ÿwas
                                                            ÿIvan,
                                                                 
 11
 110ÿ0'ÿ4 C7ÿÿ(58
       and '05  was Katrina.%
 1!
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.9%0ÿ0&#ÿ4 5ÿtechnical
                      Any other    989 ÿschool,
                                                944 ÿtrade
                                                           5'
 1)
 130ÿ0school,
       944 ÿ958389
                certificatesÿ4of3ÿtrades,
                                     5'ÿanything
                                               #80ÿlike81ÿthat?
                                                                 E
 15
 140ÿ0ÿ0ÿ0ÿ0ÿ0&%0ÿ0
                A.    ÿ$
                      I beenÿ 4ÿIConstruction
                              to   457984ÿPEstimating
                                                    8"80
 17
 150ÿ08 7ÿ8ÿQ54
       Institute            ÿ3for
                   in Sarasota    45ÿtheir
                                       85ÿestimating
                                               8"80ÿRprogram.
                                                             5405"%
 18
 160ÿ0A  ST5ÿQ944
       Wal-Mart  Schoolÿ #ÿcall
                         they  9 ÿ8itÿ3for
                                           45ÿthe
                                                ÿQSwift
                                                      83ÿRprogram
                                                             5405"
 1B
 170ÿ04ÿ0 ÿ95838'ÿ4
       to get  certified toÿ  451ÿ3for
                              work          ST5%0ÿ&Aÿlot
                                      45ÿAWal-Mart,         4ÿ4of3
 1F
 180ÿ0seminars
       "85ÿÿ'4ÿ8
                 that do inÿ2  ÿ3Orleans
                              New    5 ÿ3for
                                               45ÿRproject
                                                    5469
 1D
 190ÿ0"0"ÿ'ÿ8   "80ÿand
       management and estimating       'ÿthings,
                                            80ÿULorman
                                                       45"ÿSS
 !C0ÿ0Lorman
 20    U45"ÿ'7984ÿ  4"80%0ÿ&Aÿ3few
               education, something.           ÿ4of3ÿthose.
                                                         4%
 !10ÿ0V4ÿ
 21    That's allÿÿ5  ""$5ÿ4offhand.
                    I remember    33'%
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             9%0ÿ0VÿI4 57984ÿPEstimating
                      The Construction      8"80ÿInstitute,
                                                           87
 !)0ÿ0ÿ
 23    when ÿE
             was that?
 !50ÿ0ÿ0ÿ0ÿ0ÿ0&%0ÿ0
 24             A.    ÿ'44
                      I     ÿ5remember
                        don't   ""$5ÿ4of3ÿthe
                                                ÿ'date.
                                                      %0ÿ6Had
                                                              'ÿto4
 !70ÿ0ÿ$ÿSSÿ8ÿ
 25    have been      it wasÿ 35ÿ(Katrina.
                              after    58%0ÿ Iÿ'  44
                                                      don't


    @ESQUIRE                                                800.211.DEPO
                                                              ÿd(3376)
                                                                             eefgh
                    DEPOSITION SOLUTIONS                     i jklmnopqkrlpsitcom
                                                             EsquireSolutions.   pu
                                                                                 Gw513
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     UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            t       24

 010ÿ0
  1   34545643ÿ7889
       remember offhand.0ÿ  Iÿ 7ÿIÿgot
                                know      7ÿaÿcertificate
                                                  43 8 4ÿinÿ5my!
 0"0ÿ0
  2   788  4ÿ9ÿÿ4ÿ7
       office  had a date on ÿit.
                                 
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             $
                Q- 0ÿ0%7549 434ÿ6between
                      Somewhere    444ÿ&'05
                                             '(ÿandÿ"2010?
                                                          '1')
 000ÿ0ÿ0ÿ0ÿ
  4         0ÿ010ÿ023766
                A.           3!
                      Probably.
 0(0ÿ0ÿ0ÿ0ÿ0ÿ0
  5             $0ÿ01ÿ9
                Q-    And the4ÿ4Wal-Mart
                                 3563ÿ7school,
                                            97738ÿwhen 94ÿdidÿ!you
                                                                     79
 0@0ÿ0
  6    go toÿ9)
      7ÿ7  that?
 0A0ÿ0ÿ0ÿ0ÿ0ÿ0
  7             10ÿ023766
                A.           3!ÿ7same
                      Probably    54ÿtime
                                          54ÿ8frame.
                                               354
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
  8             $0ÿ0C79ÿ4D
                Q-           43ÿdone
                      You ever    74ÿany
                                        !ÿwork
                                             73ÿ8for 73ÿ4Wal-Mart?
                                                           3563)
 0E0ÿ0ÿ0ÿ0ÿ
  9         0ÿ010ÿ0ÿ9D4
                A.           &0ÿ6My!ÿdad
                      I haven't.          ÿ9has.
                                               70ÿ4We4ÿwere
                                                            434ÿgoing
                                                                   7 
 1'
 100ÿ07ÿ4 ÿ6ÿ
       to get back in ÿ7 ÿitÿand
                        doing       ÿthen
                                          94ÿwe4ÿgot
                                                      7ÿ6busy
                                                           97!ÿwith
                                                                   9
 11
 110ÿ09933  4ÿ73ÿÿ
       hurricane   work and  4ÿnever
                             we   4D43ÿ9had
                                          ÿto7ÿgo7ÿchasing
                                                         97 ÿit.
 1"
 120ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0C79ÿ54
                Q.            74ÿ7some
                      You mentioned     754ÿcourses
                                               793747ÿ7or3ÿ7seminars
                                                               45 37
 1#
 130ÿ0ÿF 37G4ÿ545
       and project           4ÿand
                     management    ÿwhatnot.
                                        970ÿ4When's
                                                       94&7ÿthe
                                                                94
 140ÿ037ÿ
 10    last 74ÿ!79ÿ793ÿ
            one you would 9   D4ÿtaken?
                             have   4)
 1(
 150ÿ0ÿ0ÿ0ÿ0ÿ010ÿ0&7ÿ6
                A.           44ÿaÿ8few
                      It's been       4ÿ!years
                                           437ÿ7since4ÿIÿ6been
                                                               44ÿto7
 1@    one. ÿH9ÿ7ÿ
 160ÿ0740  That was in ÿINew   33470ÿIt's
                             4ÿPOrleans.      &7ÿFprobably
                                                       37663!ÿ6been
                                                                   44
 1A
 170ÿ047!ÿ
       easy 8 D4ÿ55ÿ78ÿF3
            five             7663!ÿ7sixQÿ!years
                      no, probably          437ÿ7since4ÿI've
                                                             &D4ÿ6been
                                                                     44
 1B
 180ÿ07ÿ7 4
       to one.
 1E
 190ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0
                Q.    P943ÿ
                      Other  9ÿthe
                             than   94ÿgeneral
                                          4433ÿcontractors
                                                      73737ÿ5--5
 "'
 200ÿ073  4ÿ9
      strike   that.
 "1                   Other 
 210ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿP943ÿ     9ÿthe
                             than   94ÿ3license
                                           474ÿ!you 79ÿ9have
                                                           D4ÿin
 ""0ÿ0R79
 22        7 ÿÿ94ÿ3
      Louisiana               474ÿ!you
                   and the license     79ÿcurrently
                                            93343!ÿ9hold 73ÿin
 "#0ÿ0S373
 23         8ÿ7ÿ!79ÿ9D
      Florida,   do you have 4ÿany
                                 !ÿ7other
                                      943ÿFprofessional
                                             378477 73
 "00ÿ03licenses?
 24      4747)
 "(0ÿ0ÿ0ÿ0ÿ0ÿ01
 25             A.0ÿ0ÿ7&
                      I don'tÿthink
                                 9 ÿso.
                                       770ÿTConstruction.
                                               7739 7ÿÿI
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             def
                    DEPOSITION SOLUTIONS                     g hijklmnoipjnqgrcom
                                                             EsquireSolutions.   ns
                                                                                 Cu4318
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            p      25

 010ÿ0
  1    34567ÿ7895
       don't think.0ÿNot
                      47ÿ7 87ÿ4offhand.
                          that     853
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ087ÿ9
                Q.   What isÿ7the
                                8ÿcorrect
                                     4!! 7ÿ5name
                                               "ÿ4ofÿ7the
                                                          8
 0#0ÿ0
  3    $9 5ÿ787ÿ%4&ÿ8
       license              'ÿ9in5ÿLouisiana?
                that you have       (4&995)
 0400ÿ0ÿ0ÿ0ÿ0ÿ0A.
                10ÿ087ÿ% 4&ÿ"mean?
                     What you     5)
 02
  50ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0876
                     What'sÿ9it7ÿcalled?
                                   $$3)0ÿ3  ÿ9it7ÿaÿgeneral
                                             Is         45!$
 050ÿ0
  6     457! 74!6ÿ$9
       contractor's     5)
                     license?
 060ÿ0ÿ0ÿ0ÿ0ÿ0
  7             10ÿ07
                A.   Yes.0ÿLouisiana
                            (4&995ÿ8hasÿaÿ88ÿhas
                                                     8ÿ7two
                                                           94ÿ88
 0@0ÿ0
  8    8ÿ3designations;
       has   9457945Aÿcommercial
                            4""! 9$ÿ88ÿcommercial
                                              4""! 9$ÿ4general
                                                            5!$
 0B0ÿ0
  9     457! 74!6ÿ$9
       contractor's     5ÿ4or!ÿ!residential
                     license        93579$ÿcontractor's
                                                    457! 74!6
 1C0ÿ0license.
 10    $9 50ÿ153ÿ3ÿ8'
                  And I haveÿaÿcommercial,
                                   4""! 9$Dÿ7that's
                                                  876ÿthe
                                                          78ÿ4only
                                                                5$%
 110ÿ0two
 11    794ÿ7 8%ÿ4!
           they  offer.
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             0ÿ0We
                     ÿ8'
                        haveÿcertified
                                !7993ÿand53ÿ!registered,
                                                  497!3Dÿ9we
 1#0ÿ0have
 13    8'ÿ45!$ÿ  457! 74!Dÿwe
             general contractors,    9ÿ8have
                                          'ÿEbuilding
                                                &9$3954
 100ÿ0contractors.
 14     457! 74!0ÿAre
                      1!ÿ%you
                            4&ÿfamiliar
                                  "9$9!ÿ9with
                                             978ÿ7those?
                                                    84)
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             10ÿ0F9487
                     Right.
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             0ÿ0G4ÿ$$
                     So allÿ%  4&ÿ8have
                             you    'ÿ9in5ÿLouisiana
                                             (4&995ÿare!
 160ÿ0commercial
 17     4""! 9$ÿ45!$ÿ   457! 74!ÿand
                   general contractor       53ÿresidential;
                                               !93579$Aÿ7two 94
 1@0ÿ0categories?
 18     744!9)
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             10ÿ0H4!!  70ÿAnd
                     Correct.     153ÿ7then
                                        85ÿ7the
                                              8ÿsubcontractor
                                                    &E 457! 74!
 C0ÿ0classifications.
 20     $99 7945
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             0ÿ03ÿ&53 !7530ÿSpecialties?
                     I understand.      GI 9$79)
 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22             10ÿ0F9487
                     Right.0ÿF  9487
                               Right.
 #0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23             0ÿ036"ÿP& 7ÿ7talking
                     I'm just     $954ÿabout
                                            E4&7ÿeither
                                                    978!ÿa
 00ÿ0general
 24    45!$ÿcontractor
                 457! 74!ÿ4or!ÿEbuilding
                                  &9$3954ÿcontractor.
                                             457! 74!
 20ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25             10ÿ03ÿ 5ÿbuild
                     I can  E&9$3ÿanything
                                     5%78954ÿ9in5ÿ(Louisiana.
                                                     4&995
                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               7q!1
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  26

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ05678ÿ9
                Q.         9ÿyou
                     When did   ÿget7ÿthat?
                                            6
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   2            40ÿ0'06.
                A.    !"4
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            340ÿ056ÿ$
                Q.         %ÿ&required
                     What was   7'&79ÿin8ÿorder
                                                  &97&ÿtoÿreceive
                                                            &7(7)7
 000ÿ0
   4   6ÿ
       that 1(78%7
            license?
 0520ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                A.   37%8ÿ7examination.
                     Testing   458840ÿ6Same  57ÿ%scenario
                                                         (78&ÿI7
       guessÿ%ÿ81&9ÿ$
 06"0ÿ07%%               6ÿthe
              as Florida with   67ÿtesting.
                                       7%84
 090ÿ0ÿ0ÿ0ÿ0ÿ0
   7            340ÿ08ÿ@@
                Q.         1(8ÿ@process
                     An application      &(7%%ÿas%ÿ$well?
                                                        711
 08A0ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                A.   B&&7(4
                     Correct.
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0D9ÿÿ@pass
                     Did you   %%ÿthe67ÿEfirst
                                            &%ÿtime
                                                    57ÿyou
                                                           
 1!
 100ÿ07%79
       tested?
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                A.   F7%4
                     Yes.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Dÿ
                     Do youÿ6 )7ÿ(continuing
                             have    888ÿ7education
                                                    9(8
 1#
 130ÿ0requirements
       &7'&7578%ÿÿ5 88ÿthat
                     to maintain     6ÿ1license?
                                            (78%7
 10
 140ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                A.   F7%4
                     Yes.
 12
 150ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0G$ÿ5
                Q.         8ÿ@per
                     How many   7&ÿyear
                                       7&ÿor&ÿ@per
                                                  7&ÿ(cycle?
                                                       (17
 1"
 160ÿ0ÿ0ÿ0ÿ0ÿ040ÿ07ÿ98
                A.         ÿ&remember
                     I don't   7575H7&ÿoffhand
                                            EE689ÿin8ÿILouisiana.
                                                           %84
 19
 170ÿ036%7
       ThoseÿPPÿ7ÿQ%ÿ99
              -- I just didÿ ÿin8ÿ8Florida
                             it        1&9ÿin8ÿAugust.
                                                     %40ÿGHere
                                                                7&7
 1A
 180ÿ0  %ÿ8(7ÿÿ7&4
       it's once a year.
 1C
 190ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q-   G%ÿ&ÿILouisiana
                     Has your   %8ÿ1license
                                               (78%7ÿ&remained
                                                         75879
 !0ÿ0()
 20         7ÿ(88%1
       active  continuouslyÿsince
                            %8(7ÿyou ÿreceived
                                          &7(7)79ÿitÿin8ÿ'06?
                                                               !"
 21             A. 0F7%4
 10ÿ0ÿ0ÿ0ÿ0ÿ040ÿ   Yes.
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             340ÿ0RS4
                     Okay.0ÿT )7&ÿHbeen
                            Ever     778ÿany
                                            8ÿcomplaints
                                                (5@18%
 #0ÿ08%ÿ
 23    against it?
 00ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0U4
 24             A.   No.
 20ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ06ÿ7
 25             Q-        5ÿassuming
                     So I'm   %%58ÿthat
                                          6ÿifEÿit's
                                                      %ÿHbeen
                                                            778
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                    DEPOSITION SOLUTIONS                     h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 Fu7&1E
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           u       27

 010ÿ0
   1   3456758489ÿ367
       continuously activeÿ7 5ÿLouisiana,
                            in  487975ÿ6then  5ÿyou
                                                        48ÿkept
                                                             6ÿ8up
 020ÿ0your
       48!ÿ345675875"ÿ#8 36745ÿ!requirements
            continuing education      $87!%569ÿevery
                                                      !ÿ3cycle?
                                                               3&
 0'30ÿ0ÿ0ÿ0ÿ0ÿ0()
               A.0ÿ004!!3 6)
                    Correct.
 0140ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0348!ÿ4
               Q-          4!7#ÿlicense,
                    Your Florida      7359ÿyou 48ÿsaid
                                                      97#ÿ6that
                                                              6
 0550ÿ048ÿ6896ÿ77579#ÿ#
       you just            475"ÿyour
                finished doing     48!ÿ0CE?
                                          8&
 0960ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ004!!3
               A.          6)
                    Correct.
 0@70ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0A9ÿ76
               Q.   Has itÿB 5ÿactive
                            been     367ÿ3continuously
                                               456758489ÿ9since
                                                               753
 0C80ÿ048ÿ!37#ÿ76ÿ75ÿ
       you received         D19&
                     it in 2016?
 0E90ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ039)
               A.   Yes.
 1D
  100ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0F4ÿ48
               Q.          Gÿhad
                    So you've     #ÿ6to4ÿ#do4ÿ3continuing
                                                 45675875"
 11
  110ÿ0#836745ÿ558ÿ
       education annually 7 4!ÿ6that
                           for    6ÿlicense?
                                         7359&
 1120ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0H79ÿI
               A.          9ÿ6the
                    This was    ÿ7first
                                      7!96ÿ6time
                                               7%ÿ6that
                                                     6ÿ7it6
 1'
  130ÿ03%ÿPPÿ3%ÿ#8)
       came    came due.
 11
  140ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0(5ÿ46
               Q.          !ÿlicenses
                    Any other     73599ÿyou 48ÿ3can
                                                    5ÿ6think
                                                         75ÿ4of7ÿIwe
 15
  150ÿ05G6ÿ34!#&
       haven't covered?
  160ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0Qÿ%5
 19            A.   I mean,ÿQIÿ#don't
                                  45G6ÿknow
                                          54IÿIwhat's
                                                  6G9ÿ3considered
                                                          4597#!#
 1@
  170ÿ0!4799745)0ÿQÿ
       professional.       ÿaÿ!racing
                       I have      375"ÿlicenses.
                                              73599)0ÿQIÿ%mean,
                                                              5ÿQI
 1C
  180ÿ0"46ÿ0Rÿ7359)
       got CDL license.
 1E
  190ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0QG%ÿ54
               Q.   I'm not6ÿlooking
                               4475"ÿ7for4!ÿ#driver's
                                                 !7!G9ÿlicenses.
                                                           73599)
   D0ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0S7"6)
  20           A.   Right.
   10ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0T86ÿ5
  21           Q.          675"ÿ6that
                    But anything      6ÿ!requires
                                              $87!9ÿ6testing
                                                         9675"ÿand
                                                                   5#
  220ÿ048ÿ89ÿ74!ÿ94%ÿ6
       you use             ÿ4of7ÿBbusiness
               for some type         897599ÿ4or!ÿprofession.
                                                     !4799745)
   '0ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0Qÿ#45G
  23           A.   I don't6ÿ6think
                               75ÿ9so.
                                       4)
   10ÿ0ÿ0ÿ0ÿ0ÿ02)0ÿ0R4ÿ48
  24           Q.   Do youÿ# 4ÿany
                            do    5ÿ4of7ÿ6the
                                            ÿauctioneering?
                                                  836745!75"&
   50ÿ0ÿ0ÿ0ÿ0ÿ0()0ÿ0U4)0ÿ
  25           A.   No. Q IÿI4!ÿ7for
                            work     4!ÿ6the
                                          ÿ3company.
                                                 4%5)0ÿQIÿ#don't
                                                               45G6
    @ESQUIRE                                                800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                    DEPOSITION SOLUTIONS                     h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 3v!17
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  28

 010ÿ0
   1   3456ÿ4ÿ78966ÿÿ
       have a license to do ÿ4anything
                                38ÿ8inÿ8it. 
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0
                Q-    6!ÿtalk
                     Let's   47"ÿ4aÿ7little
                                       876ÿ#bit 8ÿ4about
                                                       #$ÿyour
                                                               $%
 0&0ÿ0
   3   '%"ÿ38%ÿ'83ÿ(  66ÿ)Vicari
       work history with Pete      894%8ÿ0General
                                             66%47ÿ1Contractors.
                                                        %49%
 0240ÿ03ÿ84ÿ8!ÿ"4ÿ'8
       And if               3ÿyou,
               it's okay with    $5ÿ6I'll
                                        !77ÿ9call
                                                477ÿ8itÿ(PVGC.
                                                           )01
 0570ÿ0ÿ0ÿ0ÿ0ÿ030ÿ0
                A.   8"4
                     Okay.
 0690ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                Q-   @$ÿtell
                     Just   677ÿAme,
                                   65ÿBjust
                                        $ÿsummarize
                                              $AA4%8C6ÿ4for  %ÿAme6
 0D0ÿ0
   7   $%ÿ
       your EEÿ4%Aÿ4%ÿ
                from start  ÿ'where
                            to   36%6ÿyou
                                         $ÿ4are%6ÿnow,
                                                      '5ÿBjust
                                                             $ÿsort
                                                                  %
 08F0ÿ04ÿ36ÿEEÿ36ÿ657$
       of the               8ÿof4ÿyour
               -- the evolution         $%ÿ'work
                                                %"ÿ3history
                                                       8%ÿ'with
                                                                  83
 09G0ÿ0()01
       PVGC.
 1H
 100ÿ0ÿ0ÿ0ÿ0ÿ030ÿ0
                A.   6ÿ%6'
                     I grewÿ$ Iÿ8inÿthe
                             up        36ÿ4family
                                             4A87ÿ#business,
                                                       $865ÿso 
 11    I've 6ÿ8ÿ896ÿ
 110ÿ06!56ÿ done it since 6 Iÿ' 4ÿ#born.
                              was     %0ÿI6ÿ7learned
                                                   64%6ÿ3how'ÿto
 1    %86ÿP#94ÿ4ÿ#6
 120ÿ0ride  Bobcats and beÿ4  ÿ6equipment
                             an    Q$8IA6ÿoperator.
                                                  I6%4%0ÿ3Atÿthe36
 1&
 130ÿ046ÿ 4ÿF5ÿ6ÿ'4ÿI6
       age of               %48ÿ6equipment.
               8, I was operating      Q$8IA60ÿRThrough
                                                        3%$3ÿthe36
 12
 140ÿ0summers
       $AA6%ÿ'36ÿ6ÿ'4ÿ
                when I was  ÿ8inÿschool,
                            not        9375ÿI6ÿ'was 4ÿ'working
                                                           %"8ÿon
 17
 150ÿ04ÿB#
       a jobÿ86
              site.0ÿ3ÿ% 4$46ÿ8inÿ'03
                     And graduated         !H&ÿ4from
                                                   %Aÿ3high
                                                          83ÿschool
                                                               937
 19
 160ÿ04ÿ' 4ÿ'%"8ÿI%8
       and was              %ÿtoÿthat
                working prior         34ÿonÿBjob
                                                  #ÿsites.
                                                       860ÿSWe6
 1D
 170ÿ034II6 6ÿÿ#6ÿ8
       happened  to be doingÿthe
                                36ÿBjob
                                      #ÿ4atÿAmyÿ3high
                                                     83ÿschool
                                                          937
 1F
 180ÿ0I%8%
       priorÿÿA6ÿ%4$4  85ÿso
             to me graduating,     ÿ6Iÿ'would
                                           $7ÿ'work%"ÿE—EÿBjust
                                                               $
 1G
 190ÿ0'47"ÿ
       walk 6Tÿ%ÿ446
            next door after %ÿ6Iÿget
                                   6ÿout
                                        $ÿof4ÿschool
                                                  937ÿ4andÿ'work
                                                                  %"
 H0ÿ0877ÿ
 20    till 7ÿ%ÿ9ÿ!979"
            5 or 6 o'clockÿI  $38ÿ4aÿshovel,
                             pushing       35675ÿyou $ÿ"know,
                                                              '5ÿor%
 10ÿ0I$38
 21         ÿ4ÿ#%A5ÿ4
       pushing              38
                a broom, anything.
 0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿOnce
 22                  896ÿgraduated,
                            %4$465ÿstarted
                                         4%6ÿ7learning
                                                       64%8
 &0ÿ0656%38ÿ8ÿ36ÿ4
 23                         867ÿ'with
       everything in the field      83ÿour
                                           $%ÿguys
                                                  $ÿ8inÿthe
                                                             36
 20ÿ044896
 24    office.0ÿU$ÿ"'5ÿ
                 You know, ' %"8ÿthe
                            working     36ÿ#bottom
                                              Aÿ$up,I5ÿ7laborer,
                                                              4#%6%5
 70ÿ036ÿ4%6A45ÿ36ÿ
 25                         $I6%8665ÿthen
       then foreman, then superintendent,            36ÿIproject
                                                           %B69
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                    DEPOSITION SOLUTIONS                     h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 U)6%14
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            q      29

  010ÿ0
   1   34546789ÿ45ÿ75ÿ7  3480ÿ
       manager, and then estimator,         Iÿ3 7459ÿIÿwork
                                               mean,      8
  020ÿ04!567ÿ"8ÿ75
       alongside our senior 8ÿ7estimator
                                348ÿ4after#78ÿIÿ6graduated
                                                         84"47
 0$30ÿ0!748556ÿ7%78&56
       learning everything, 0ÿIÿthink
                                     5ÿhe7ÿwas
                                                 4ÿ''ÿhe7ÿ8retired
                                                              787
 0(0ÿ0
   4   5ÿ )110ÿ0ÿ188ÿ
       in 2011.    So prior ÿthat
                            to    4ÿIÿworked
                                            87ÿ#from,
                                                     839ÿ!like
                                                             7ÿI
 0520ÿ0said,
       49ÿ#83ÿ7ÿ3  3ÿ4all
              from the bottom     !!ÿthe
                                       7ÿway
                                             4&ÿ"up1ÿ"until
                                                       5!ÿhe7
 0640ÿ0retired.
       87870ÿ55ÿ567ÿ
                   And once 7ÿretired
                            he  8787ÿin5ÿ7'11,
                                                 119ÿIÿtook
                                                          ÿover
                                                                 %78
 080ÿ0
   7   4!!ÿ7ÿ73456ÿ
       all the  estimating 4 5ÿ6getting
                            and    756ÿ1projects
                                               8976ÿstarted
                                                          487
 08@0ÿ0ÿ
       with 7ÿ45ÿ##ÿ
             the hands off  ÿthe
                            to    7ÿ1project
                                       8976ÿ3managers
                                                  454678ÿin5ÿthe
                                                                  7
 09A0ÿ093
       job.0ÿ0ÿÿ37459ÿ7  %7ÿ3been
              So I mean, I've     775ÿ''ÿI've
                                             7%7ÿ!learned
                                                    74857ÿitÿ4all
                                                                  !!
 1)
  100ÿ0#83ÿ
       from 7ÿ33ÿ"1ÿ
            the bottom up "  5!ÿ5now,
                            until     9ÿhands-on
                                             45'5ÿ7experience
                                                         B1787567
 11
  110ÿ045ÿ4!!
       and all.
 1120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                C0ÿ0Iÿ3745ÿtoÿ4ask
                        meant        ÿ&you,
                                          "9ÿ3by&ÿthe
                                                     7ÿway:
                                                          4&D0ÿEWhen
                                                                  75
 1$
  130ÿ0787ÿ
       were &"ÿ385F
             you born?
 1(
  140ÿ0ÿ0ÿ0ÿ0ÿ050ÿ0
                A.    G738"48&ÿ46,9ÿ11985.
                      February        A@2
 12
  150ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                C0ÿ009ÿ 7ÿ7evolution
                      So, the   %!"5ÿof#ÿwhat
                                                  4ÿ&you
                                                         "
 14
  160ÿ076837ÿ#8ÿ37ÿ  487ÿ4asÿ4aÿ!laborer,
       described for me started              438789ÿworked
                                                         87ÿ"up1ÿto
 18
  170ÿ0#873459ÿ87ÿ&"
       foreman,  worked your8ÿway
                                4&ÿ"up1ÿtoÿsuper,
                                               "1789ÿ7estimator,
                                                        3489
 1@
  180ÿ018976ÿ3454678
       project  manager.0ÿH 7ÿ4are
                           Those     87ÿkind
                                          5ÿof#ÿ4all
                                                     !!ÿthe
                                                          7ÿ!labels
                                                                437!
 1A
  190ÿ0&"ÿ64%7ÿ37F
       you gave  me?
 20)0ÿ0ÿ0ÿ0ÿ0ÿ050ÿ0I8876
                A.          0ÿIt
                      Correct.    ÿwas
                                       4ÿkind
                                             5ÿof#ÿ7everything
                                                        %78&56ÿin5
 2110ÿ07ÿ658"65ÿ
       the construction     8!
                          world.
 220ÿ0ÿ0ÿ0ÿ0ÿ0C0ÿ0P"856
                Q-    Duringÿ4ÿtime
                             what     37ÿ1period
                                             78ÿwere
                                                       787ÿ&you
                                                             "ÿ4a
 23$0ÿ0#87345F
       foreman?
 24(0ÿ0ÿ0ÿ0ÿ0ÿ050ÿ0Q6ÿ
                A.    Right 4#78ÿIÿ6graduated
                            after       84"47ÿhigh 6ÿschool,
                                                           6!9
 2520ÿ0#8ÿ4ÿ&748ÿ''ÿ4ÿ&74
       for a year           8ÿor8ÿtwo.
                       a year        
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               rs781#
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            q      30

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0567ÿ89
                Q.    So, myÿ8  ÿtells
                              math   ÿ8meÿthat's
                                                   ÿroughly
                                                          69
 020ÿ0'03
       !"ÿ6ÿ!#7ÿ!$%
            to '04, '05?
 0"0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             &40ÿ0'4
                A.    Yes.0ÿSomething
                             568()ÿlike
                                          (0ÿthat.
                                                   40ÿ1  
                                                          That's
 04#0ÿ0when
       2)ÿthe
             ÿ33ÿÿ
                     that's 2 )ÿthose
                             when    6ÿhurricanes
                                            (4)ÿwere2
 05$0ÿ0happening,
       55)()7ÿ6ÿ(ÿ2
                    so it wasÿaÿlot
                                    6ÿgoing
                                         6()ÿ6on)ÿ6back
                                                     40ÿthen.
                                                          )4
 0670ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0During
                      8()ÿ2what
                                ÿtype
                                      95ÿ5period
                                            (69ÿwere
                                                     2ÿ9you
                                                             6ÿa
 07@0ÿ0project
       56A4ÿ5())9   )%
                superintendent?
 08B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                &40ÿ0Probably
                      C6669ÿright
                                  (ÿafter
                                          Dÿthat,
                                                   7ÿ2weÿwent
                                                             2)ÿto
                                                                   6
 09E0ÿ0Florida
       F6(9ÿ)9ÿ468()ÿ
                and coming 6  40ÿfor
                             back   D6ÿKatrina
                                         G()ÿ( isÿ2 )ÿIHÿ2was
                                                        when      
 1!0ÿ0running
 10    ))()ÿ33ÿ6ÿ6I   ()ÿaÿlot
                    or overseeing        6ÿ6ofDÿ4crews.
                                                   24
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             340ÿ0So
                      56ÿ ÿ'04,
                         that's     !#7ÿ'05
                                         !$ÿto6ÿ2what
                                                    ÿ9year?
                                                          %
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             &40ÿ0IHÿ2)
                        wentÿ(in)ÿthe
                                  ÿ6office,
                                         DD(47ÿHIÿwould
                                                     269ÿhave
                                                              Iÿto6
 1"0ÿ0say,
 13    97ÿ!@7ÿ!Bÿ(ÿ2
             '07, '08 is when)ÿHIÿwent
                                    2)ÿin
                                          ()ÿthe
                                                ÿ6office
                                                     DD(4ÿ8maybe
                                                              96
 1#0ÿ0full
 14    Dÿtime.
             (840ÿCould
                     P69ÿ6be.
                             40ÿ1  ÿaround-about
                                  That's    6)9366ÿ9dates.
                                                              4
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             340ÿ0And
                      &)9ÿ2 )ÿ9you
                          when    6ÿsay
                                      9ÿ9you
                                            6ÿ2went
                                                   )ÿ(into
                                                         )6ÿthe
                                                               
 16    6DD(4ÿDÿ(87ÿ2
 170ÿ0office                 ÿ2would
               full time, what      69ÿhave
                                          Iÿ6been
                                                   )ÿ9your
                                                         6ÿtitle
                                                               (
 1@0ÿ0for
 17    D6ÿ %0ÿIs
            that?   Hÿÿ
                       that 2 )ÿ9you
                             when    6ÿwere
                                         2ÿ9doing
                                                 6()ÿthe
                                                         
 1B0ÿ0estimating?
 18    (8()%
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             &40ÿ0IHÿ 9ÿlearning
                        started   )()ÿ33ÿworking
                                                   260()
 20!0ÿ0alongside
       6)(9ÿ6Dÿ6ÿ   )(6ÿestimator,
                   of our senior    (867ÿlearning
                                                    )()ÿthe
                                                               
 21    (8()ÿ)9ÿ56A
   10ÿ0estimating            4ÿ8management
                    and project     )8)ÿrules
                                                   ÿin
                                                         ()ÿthe
                                                              
 220ÿ0office.
       6DD(44
 23             340ÿ0So
   "0ÿ0ÿ0ÿ0ÿ0ÿ0Q.     56ÿ ÿDfrom
                         that's     68ÿroughly
                                          69ÿ'07,
                                                    !@7ÿ'08
                                                          !Bÿto6
 24#0ÿ0the
       ÿ33ÿ(ÿÿ6ÿ
               is that to theÿ5present?
                                  )%
 25$0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                &40ÿ0Well,
                      Q7ÿ'11
                              11ÿ2when
                                    )ÿour
                                         6ÿsenior
                                              )(6ÿestimator
                                                         (86
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               'r1D
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     PQRQSÿUVÿWXY`SX                                    dqrstuvÿwxyÿw
                                      229
      PETER J. VICARI                                           October 16, 2018
     PQRQÿWXY`SXÿaQbQS`cÿYdbRS`YRdSÿefÿdgXdÿY`hi`cRpÿXbhV
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            ow      31

 010ÿ0
  1     34563478ÿ9ÿ559ÿ
        retired,   so that's   4ÿIÿtook
                               when     5ÿover
                                                43ÿ5the
                                                      4ÿfull
                                                            !!ÿ5time
                                                                 6"4
 0#0ÿ0
  2     7ÿ65ÿ9ÿ!!ÿÿ"
        and  it was all on me  4ÿ5till
                                   6!!ÿ5today.
                                         7$%
 0&0ÿ0ÿ0ÿ0ÿ0ÿ0
  3               '%0ÿ0Let
                  Q.    (45ÿ"4
                            meÿ" 4ÿsure
                                make  9 34ÿ))ÿlet!45ÿme
                                                      "4ÿ"make
                                                           4ÿsure
                                                                9 34ÿI
 0400ÿ0got
        15ÿ"
            my$ÿ"5ÿ3615%
                 math right.0ÿ  ÿIÿsay
                                If    9$ÿanything
                                             $561ÿhere
                                                        434ÿ5that's
                                                               59
 0520ÿ0incorrect,
        63334358ÿ!45ÿ"4ÿ    %0ÿ4
                      let me know.    Soÿwhat
                                          5ÿIÿhave
                                                   4ÿ6is9ÿ$you
                                                                ÿare
                                                                    34
 0650ÿ0aÿ3 4"ÿ3
          foreman       1!$ÿ'03
                     roughly   6&ÿto
                                   5ÿ'04,
                                      608ÿ'05.
                                              62%0ÿ7   ÿare
                                                    You    34ÿa
 080ÿ0
   7    9 943654745ÿ3"
       superintendent     fromÿ 608ÿ'05
                                '04,    62ÿto
                                            5ÿapproximately
                                                993@6"54!$ÿ'07,
                                                                  688
 0A0ÿ0
  8     6A%0ÿ'07,
       '08.     688ÿ6Aÿ5ÿ#  6118ÿ$you're
                      '08 to 2011,     34ÿworking
                                                361ÿunder
                                                         743ÿthe
                                                                54
 0B0ÿ0
  9     9463ÿ4956"53ÿ!4
       senior                  361ÿ4estimating.
                 estimator learning      956"561%0ÿAndC7ÿ5then
                                                               4
 160ÿ0from
 10     3"ÿ2011
              #611ÿ5ÿ54ÿ93   49458ÿyou
                     to the present,    $ ÿwould
                                               !7ÿDbe4ÿconsidered
                                                        39674347
 11     9463ÿ4956"561ÿ3
 110ÿ0senior                   49!361ÿ5the
                 estimating replacing       4ÿguy
                                                1 $ÿ5that
                                                      5ÿwas
                                                            9ÿ5the
                                                                 4
 1#0ÿ0senior
 12     9463ÿ4956"53E
                 estimator?
 1&0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13               C%0ÿ074%
                        Yeah.0ÿIÿ" 48ÿ5them
                                   mean,    4"ÿdates,
                                                 75498ÿIÿdon't
                                                            75
 100ÿ0know
 14     ÿ6ÿ54$ÿ34ÿ94    3435ÿor
              if they are perfect     3ÿnot.
                                            5%0ÿIÿ"mean,
                                                      48ÿit's
                                                            659ÿa
 120ÿ0family
 15     "6!$ÿDbusiness.
                   96499%0ÿWe
                             F4ÿ7didn't
                                   675ÿkeep
                                            449ÿ5track
                                                  33ÿofÿthat
                                                            55
 16     95 ÿ!64ÿÿ347
 150ÿ0stuff     like I workedÿ  3ÿ9somebody
                                for   "4D7$ÿelse.
                                                 4!94%0ÿIt
                                                         5ÿwas
                                                             9ÿ$you
                                                                    
 17     !4347ÿ443$561ÿ
 180ÿ0learned     everything   9ÿyou
                               as  $ ÿ9progressed
                                         31349947ÿ5through.
                                                       3 1%ÿÿI
 1A0ÿ0did
 18     767ÿ6it5ÿ!!ÿ3ÿÿ!
                 all for a long1ÿtime.
                                   56"4%
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19               '%0ÿ0G7439  57%0ÿ
                        Understood.      "ÿnot
                                        I'm   5ÿ1going
                                                   61ÿ5toÿhold
                                                               !7ÿyou
                                                                    $
 #60ÿ0to
 20     5ÿ4@ 35ÿ7549%
           exact   dates.0ÿ
                            I'm"ÿHjust
                                    95ÿ5trying
                                         3$61ÿ5toÿ1get
                                                      45ÿaÿrange
                                                            314ÿof
 #10ÿ0what
 21           9ÿ935ÿÿ$
        5ÿwas   sort of your 3ÿfocus
                                   3 9ÿ6inÿ3construction
                                                953 356ÿduring
                                                               7 361
 ##0ÿ0what
 22     5ÿtime
              56"4ÿ94367%
                     period.0ÿSo
                               4ÿthose
                                   594ÿare
                                            34ÿ3rough,
                                                  18ÿIÿunderstand
                                                            743957
 #&0ÿ0that.
 23     55%
 #00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿBut
 24                     I 5ÿ6
                            ifÿIÿam
                                   "ÿfollowing
                                        !!61ÿ$you,
                                                    8
 #20ÿ0approximately
 25     993@6"54!$ÿ))ÿ    4443ÿ5the
                         -- whenever     4ÿsenior
                                             9463ÿ4estimator
                                                       956"53
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijdkeilmin
                                                            EsquireSolutions.com
                                                                               7p431
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     HIPIQÿSTÿUVWXQV                                    bipqrstÿuvwÿxyu
                                      229
      PETER J. VICARI                                           October 16, 2018
     HIPIÿUVWXQVÿYI`IQXaÿWb`PQXWPbQÿcdÿbeVbÿWXfgXaPhÿV̀fT
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            mx      32

 010ÿ0
   1   3456347ÿ68ÿ911ÿ 4ÿ5time,
       retired in 2011, some     64ÿ5toÿ5the
                                             4ÿpresent
                                                  34485ÿ5time
                                                             64ÿyou
                                                                    
 090ÿ0
  2     4ÿ5!48ÿ
       have          43ÿ5ÿ
            taken over  at " 45ÿ5the
                            least    4ÿsenior
                                         4863ÿ4estimator
                                                   5653
 0#30ÿ07564ÿ55ÿ55ÿ4 38ÿhad.
       duties that that person     7$0ÿ%  ÿ5that
                                          Is   5ÿaÿ&fair
                                                         63
 0'0ÿ0
   4   554485(
       statement?
 05)0ÿ0ÿ0ÿ0ÿ0ÿ00$0ÿ0
               A.    14863
                     Seniorÿ4 5653ÿand
                             estimator     87ÿproject
                                                 32435ÿmanager.
                                                            8443$
 0650ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               6$0ÿ0087ÿ7 48ÿyou
                     And when    ÿsaid
                                     67ÿ5that
                                             5ÿyou
                                                   ÿ7went
                                                         485ÿ6into
                                                               85
 080ÿ0
   7   54ÿ&&634ÿ&""ÿ56
       the office          4$0ÿ%Isÿ92011
                   full time.         11ÿ7when
                                             48ÿyou
                                                   ÿ5took
                                                         !ÿover
                                                                 43
 0890ÿ054ÿ4863ÿ4565
       the senior          3@ÿ2job
                   estimator's    Aÿ7when
                                       48ÿyou
                                              ÿ7went
                                                   485ÿ6into
                                                          85ÿ5the
                                                                 4
 09B0ÿ0&&634ÿ&""ÿ
       office full 564(
                    time?
 1
 100ÿ0ÿ0ÿ0ÿ0ÿ00$0ÿ0
               A.    C$ÿ%5
                     No. Itÿ7 ÿprior
                             was   363ÿ5toÿ5that.
                                               5$0ÿ% Iÿ  67ÿ7when
                                                           said    48
 11
 110ÿ0I%ÿ7485ÿ68ÿ54ÿ&&63
         went              4ÿ6it5ÿ3could
              in the office,         "7ÿAbe4ÿaround
                                                 387ÿ@'07,
                                                          8ÿ'08
                                                               @9
 19
 120ÿ06ÿ3 AA"ÿ748ÿ%ÿ
       is probably  when I 7 485ÿ6in.
                            went   8$0ÿ% Iÿ 48ÿI%ÿ7don't
                                            mean,      8@5ÿ!know
                                                               87
 1#
 130ÿ04D35 "$0ÿ%ÿ45ÿÿ
       exactly.   I got my  87ÿ6in8ÿ4everything.
                           hands          435684$
 1'
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               6$0ÿ0E5ÿF
                     What —Fÿstarting
                              535684ÿ6in8ÿ2011
                                              911ÿ5toÿ8now,
                                                          7ÿso
 1)
 150ÿ055@ ÿ34"ÿÿ4
       that's                48F43ÿperiod,
              roughly a seven-year       4367ÿ7doÿyou
                                                       ÿhave
                                                              4ÿa
 15
 160ÿ0565"4 (
       title?
 18
 170ÿ0ÿ0ÿ0ÿ0ÿ00$0ÿ0
               A.    14863
                     Seniorÿ 32435ÿmanager,
                             project     8443ÿproject
                                                    32435
 19
 180ÿ08443$
       manager.
 1B
 190ÿ0ÿ0ÿ0ÿ0ÿ06$0ÿ0
               Q-    E5ÿ7"7ÿyou
                     What would    ÿ3consider
                                         86743ÿall
                                                    ""ÿof&ÿ5the
                                                              4ÿ2job
                                                                    A
 90ÿ07564
 20         ÿ55ÿ@
       duties that you've4ÿperformed
                             43&347ÿ7during
                                          3684ÿ5that
                                                   5ÿseven-year
                                                          4 48F43
 910ÿ0436
 21         7ÿÿ54ÿ486
       period as the senior3ÿproject
                               32435ÿmanager?
                                          8443(
 99
 220ÿ0ÿ0ÿ0ÿ0ÿ00$0ÿ0
               A.    G5654ÿ2jobs,
                     Estimate    AÿAbuyout
                                         5ÿ5the
                                                  4ÿ2jobs,
                                                       Aÿ4get
                                                               45
 9#
 230ÿ054ÿ
       them 53547ÿ87ÿ5 48ÿhand
            started, and then     87ÿ6it5ÿFFÿhand
                                                 87ÿ6it5ÿoff
                                                            &&ÿ5to
 9'
 240ÿ054ÿ43685487485ÿ
       the superintendent   3ÿproject
                            or   32435ÿmanager
                                           8443ÿ5that's
                                                     5@
 250ÿ0
 9)      6"A"4ÿ5ÿ7ÿ65$
       available  to do it.0ÿ% &ÿ8none
                              If   84ÿ6isÿavailable,
                                               6"A"4ÿ%Iÿ7will
                                                               6""
                                                            800.211.DEPO
                                                               ÿ(3376)
                                                                             
                    DEPOSITION SOLUTIONS                      defghigjkcom
                                                             EsquireSolutions.   gl
                                                                                 no431&
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            qq      33

 010ÿ0
  1    34ÿ567
       do it.
 080ÿ0ÿ0ÿ0ÿ0ÿ0
  2             970ÿ0ÿ46
                Q.          ÿrole
                      Any other    4ÿ4orÿduties
                                             365ÿ6that6ÿyou've
                                                               4 !
 0"0ÿ0
  3    #3ÿ4!ÿ66ÿ
       played               !$ÿ#period
               over that seven-year        543ÿasÿ6the
                                                         ÿ#project
                                                              4%&6
 0'40ÿ0() 0
       manager?
 0510ÿ0ÿ0ÿ0ÿ0ÿ0A.
                70ÿ0I2ÿ(3ÿI2ÿ3do4ÿ5it6ÿall.
                        mean,              70ÿ2 Iÿ( 3ÿwe
                                                      mean,   4ÿall
                                                                   
       66ÿ4ÿ#6ÿ5ÿ6
 0650ÿ0take  our part in theÿ4office
                                775&ÿand            670ÿ2
                                          3ÿ3do4ÿ5it.   Iÿ( 3ÿwe
                                                             mean,  4
 0780ÿ0don't
       34 6ÿ!3ÿ2ÿ)
              have, I guessÿ#  ÿse,
                              per    3ÿtitles
                                          656ÿ6that
                                                     6ÿyou're
                                                           4 
 0890ÿ0only
       4ÿ$$ÿ66
             -- that'sÿÿ
                        all  4ÿdo
                            you   34ÿis
                                      5ÿ6that.
                                            670ÿ@   470ÿ2
                                                     No.   Iÿ( 3
                                                              mean,
 0A0ÿ0
  9    7(5ÿB53ÿ4
       family  business, weÿ3  4ÿit
                              do  56ÿall.
                                        70ÿ2Iÿ(  3ÿanybody
                                                  mean,    B43ÿis5
 10    65)3ÿ4ÿ%(#ÿ5
 1C0ÿ0anything,             3ÿyou
                   we jump in,  4ÿ6know.
                                        4470ÿSoD4ÿI2ÿcould
                                                       &43ÿ)go4ÿBback
                                                                    &6
 11    B5)ÿÿB4ÿ64(
 110ÿ0being                 444ÿand
              a laborer tomorrow      3ÿgo)4ÿhelp
                                              #ÿ5inÿ6the
                                                           ÿ7field,
                                                                533
 180ÿ0do
 12    34ÿ4 6ÿ4ÿ)46ÿ64ÿ
          what              34ÿto
                you got to do   64ÿ)get
                                      6ÿ6the
                                            ÿ%job
                                                  4Bÿdone.
                                                      347
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             970ÿ0E3 64437
                      Understood.
 1'0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿWhat
 14                   F6ÿ443ÿBbeÿsort
                           would        46ÿ4of7ÿyour
                                                     4ÿregular
                                                           )
 110ÿ0duties
 15    365ÿB43ÿ6ÿ  65(65)ÿand
               beyond the estimating       3ÿBbuying
                                                  5)ÿ4out
                                                           6ÿ6the
                                                                
 16    %4B00ÿ2ÿ(
 150ÿ0jobs?         3ÿ34ÿ
               I mean,      4ÿ#pay
                        do you    ÿBbills?
                                        500ÿDo G4ÿyou
                                                       4ÿ)get
                                                            6
 180ÿ0receivables?
 17    &5!B0
 190ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             70ÿ0@470ÿ 2 (ÿnot
                      No. I'm     46ÿ#part
                                        6ÿ4of7ÿ6the
                                                   ÿaccounting.
                                                         &&465)7
 1A0ÿ0We
 19    Fÿ !ÿÿ#4ÿ6
          have              6ÿhandles
                a person that   3ÿall ÿ6the
                                                   ÿaccounting.
                                                         &&465)7
 8C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20             970ÿ0F4ÿ34 ÿ6that?
                      Who does    60
 810ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21             70ÿ0H64 ÿ(myÿ(mom
                      Between        4(ÿand
                                           3ÿJoey,
                                              I43ÿ6theyÿare
                                                               ÿ6the
                                                                    
 880ÿ0two
 22    644ÿ6 6ÿ3ÿ
           that  handle allÿ6  ÿaccounting.
                              the    &&465)7
 8"0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23             970ÿ0Pÿ56
                      Has itÿB ÿ6the
                              been    ÿsame
                                           (ÿ#people
                                                   4#ÿ6the
                                                            ÿ#past
                                                                 6
 8'0ÿ0seven
 24    !ÿ0
              years?
 810ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25             70ÿ0Q7
                      Yeah.0ÿJoey
                              I4ÿBbeen
                                      ÿ6there
                                             ÿlonger
                                                      4)ÿ6than
                                                               
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Qr17
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            qr      34

 010ÿ0
  1   34536
      that.0ÿ78ÿ99ÿ45ÿ   ÿaround
              My mom has been     5ÿsince
                                            ÿweÿstarted.
                                                        3536
 0!0ÿ0
  2   "3ÿ#8ÿ45ÿÿ5
      But                   ÿ$quite
           Joey has been around       3ÿ%longer
                                             &ÿ3than
                                                       45ÿthat.
                                                             34536
 0'
  30ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               (60ÿ0)8ÿ3  4ÿ0job
                     Any other     ÿ1functions
                                        3ÿ3that453ÿ8you
                                                             
 02
  40ÿ0performed
      319ÿ3453ÿ8ÿ    %ÿconsider
                  that you would     ÿ3part
                                                  53ÿof1ÿ8your
                                                             
 04
  50ÿ0duties
      3ÿ34ÿ%53ÿ5
              the last sevenÿyears,
                                856ÿother
                                           34ÿ3than
                                                   45ÿwhat
                                                          453ÿ8you've
                                                                75
 08   31ÿÿ159
  60ÿ0identified   so far?0ÿ@Iÿ9  5ÿI@ÿAknow
                                 mean       ÿyou
                                                8ÿ0jump
                                                       93ÿinÿonce
                                                                  
 0B0ÿ0
  7   ÿ5awhile.
      in    4%60ÿBut
                    "3ÿ@ÿ9 56ÿinÿ3terms
                        I mean,         9ÿof1ÿwhat
                                                    453ÿyou
                                                          8ÿdoÿon
 0C0ÿ0
  8   5ÿ&
      a     %5ÿ56
         regular  basis.
 0D0ÿ0ÿ0ÿ0ÿ0ÿ0
  9            )60ÿ0E58
               A.           58ÿisÿoversee
                     Everyday         5ÿ3the
                                                4ÿprojects
                                                    303ÿ3that453
 1F0ÿ0weÿ45
 10         5ÿ&&ÿÿ5
          have going on and ÿ9make
                                5Aÿsure
                                       ÿthat
                                            3453ÿthey
                                                   348ÿ5are
                                                           ÿ5all
                                                                %%
 11   &ÿ6
 110ÿ0being  done.0ÿ"&ÿ
                     Being  5%5ÿwith
                            involved      34ÿeverything.
                                               5834&6ÿÿI@
 1!0ÿ0mean,
 12   956ÿ37ÿGGÿ@ÿ
             it's           73ÿAknow
                      I don't      ÿwhat
                                        453ÿmore
                                             9ÿ3toÿsay.
                                                          586ÿÿI@
 1'0ÿ0mean,
 13   956ÿweÿ5ÿ5%5  ÿin
                 are involved   ÿ5aÿ%lot
                                        3ÿof1ÿ3things,
                                                  4&60ÿI@ÿ9mean,
                                                                56
 120ÿ0weÿ0
 14         3ÿGGÿ
          just -- weÿ5ÿ
                      are onÿ3top
                                3ÿof1ÿeverything,
                                          5834&6ÿevery
                                                        58ÿday.
                                                                  586
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15            (60ÿ0H4ÿ  ÿordering?
                     Who does     &9
 180ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16            )60ÿ0Hÿ455
                     We haveÿ5aÿ&girl
                                   %ÿthat
                                        3453ÿwas5ÿdoing
                                                      &
 17   &60ÿAnd
 1B0ÿ0ordering.    )ÿ
                       nowÿ3 4ÿ1field
                            the    %ÿdoes
                                          ÿit3ÿ4here.
                                                      60ÿThe
                                                              I4
 1C0ÿ0Miami
 18   759ÿ3036ÿ
             project, weÿ4have
                            55ÿ--GGÿ3the
                                       4ÿ3person
                                            ÿinÿ3the
                                                          4ÿfield
                                                              1%
 19   ÿ3496
 1D0ÿ0does  them.0ÿThey
                    I48ÿ&
                         get3ÿit3ÿ5approved
                                     335ÿ3through
                                                4&4ÿme 9ÿ5and
                                                               
 !F0ÿ0make
 20   95AÿÿGGÿ%5&ÿ   3456ÿI@ÿ5approve.
            sure -- large purchases,           33560ÿ"    3ÿsmall
                                                           But    95%%
 21   34&6ÿ348ÿ5ÿ5%
 !10ÿ0things,               % ÿ3toÿget
               they are allowed         &3ÿwhat
                                               453ÿ3they
                                                      48ÿneed.
                                                             6
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0(6
 22            Q.0ÿ0P
                     Howÿ1 $3%8ÿ5are
                         frequently       ÿ8you
                                               ÿout
                                                    3ÿin
                                                        ÿ3the
                                                              4
 !'0ÿ0field
 23   1%ÿ535%%8ÿ   5&ÿ5aÿhardhat,
             actually wearing        454536ÿwalking
                                                  5%A&ÿ3through
                                                             4&4ÿ5a
 !20ÿ0construction
 24   33ÿ30   39
                     project?
 25            )60ÿ0Q338
 !40ÿ0ÿ0ÿ0ÿ0ÿ0A.     Prettyÿ &%5%860ÿ@
                             regularly.      Iÿ9  56ÿMiami
                                                 mean,  759ÿ@I'm79
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               st11
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     UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           tu       35

 010ÿ0
   1   345ÿ6787ÿ9579ÿ33
       out here lately goodÿonce
                              37ÿaÿweek
                                        77ÿIÿcome
                                                37ÿ3out
                                                        45ÿhere.
                                                            6787
 0!0ÿ0
  2    "7#387ÿ567ÿ6488$
       Before              7ÿIÿwas
               the hurricane    %ÿ3out45ÿhere
                                           6787ÿaÿlot
                                                     935ÿmore.
                                                           387 0ÿIt5
 0&
  30ÿ0all
       99ÿ7'7%ÿ3ÿ65 (%ÿneeded,
           depends on what's   777 0ÿ"   ÿ6home,
                                           Back    37)ÿit's
                                                         $5(%ÿ7easy
                                                                  %
 0400ÿ0go
       3ÿ353ÿ567ÿ132ÿ%$5
          onto             7ÿand
                the job site  ÿ'pop   $ 0ÿ3
                                     3'ÿin.     3)ÿIÿmean,
                                               So,      7)ÿI'm(
 0540ÿ0on
       3ÿ53'ÿ3#ÿ99ÿ3#ÿ56
          top              7)ÿeverything
               of all of them,  757856$ÿ5that's
                                                65(%ÿgoing
                                                         3$ÿ3on,)
       7(87ÿ%5$ÿ$539
 0660ÿ0we're               57ÿwith
              staying involved    $56ÿ5them
                                         67ÿand
                                               ÿchecking
                                                   67$ÿ3on
 070ÿ0
   7   567
       them.0ÿ87ÿ3(5ÿ975
               We don't letÿ5 67ÿ1just
                             them    4%5ÿ6hang.
                                           
 0890ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                @ 0ÿ033ÿ975
                     So letÿ 7ÿwork
                             me   38ÿ2backwards
                                         8%ÿaÿ9little
                                                        $5597ÿ2bit$5
 09A0ÿ06787ÿ
       here 14%5ÿ53ÿ$ÿ3 #ÿ4understand
             just to kind of   78%5ÿwhat65ÿyour
                                                     348ÿday
                                                           ÿ5to3
 1B
 100ÿ0ÿ9 33%ÿ9$7
       day looks  like.0ÿYou
                         C34ÿ1just
                               4%5ÿ%said
                                      $ÿ5that
                                            65ÿyou're
                                                   34(87ÿD--Dÿ8right
                                                                 $65
 11    now, 34ÿ87ÿ6787ÿ3
 110ÿ03)ÿ                7ÿaÿweek,
             you are here once       77 0ÿEDoes
                                              37%ÿ5that
                                                     65ÿmean
                                                           7ÿ3one
                                                                  7
 1!
 120ÿ0ÿ
       day aÿ77ÿ38ÿÿ34 '97ÿ3of#ÿdays?
              week or a couple        %F
 1&
 130ÿ0ÿ0ÿ0ÿ0ÿ0G A.0ÿ0867ÿ
                     When Iÿcome
                            37ÿ6here,
                                     787)ÿIÿcome
                                              37ÿ#for
                                                      38ÿ5three
                                                           6877
 10
 140ÿ0%)
       days,ÿ#348ÿ%ÿ#38
              four days forÿ5 65ÿweek.
                            that     77
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.@ 0ÿ0Gÿ3
                     And doÿ 34ÿdo3ÿ5that
                            you         65ÿ7every
                                              578ÿweek
                                                      77ÿ3or8ÿ3once
                                                                 7
 16
 160ÿ0ÿ3 56ÿ38DD
       a month  or—
 17
 170ÿ0ÿ0ÿ0ÿ0ÿ0G A.0ÿ0H6
                     Nah.0ÿ(ÿ%say
                           I'd    ÿevery
                                      7578ÿ3other
                                               5678ÿweek.
                                                       77 ÿÿI
 19
 180ÿ07)
       mean,ÿ$5ÿ7'7%
              it depends.0ÿIt
                           5ÿdepends
                                7'7%ÿ3onÿwhat's
                                               65(%ÿgoing
                                                        3$ÿ3on.
 1A
 190ÿ0ÿ0ÿ0ÿ0ÿ0@ Q.0ÿ0(ÿ%%4$ÿyou
                     I'm assuming     34ÿare
                                           87ÿ$inÿILouisiana
                                                     34$%$ÿ5the67
 !B
 200ÿ087%5ÿ
       rest 3#ÿ567ÿ5$7F
             of the time?
 !1
 210ÿ0ÿ0ÿ0ÿ0ÿ0G A.0ÿ0C7%
                     Yes.
 !!
 220ÿ0ÿ0ÿ0ÿ0ÿ0@ Q.0ÿ0865ÿ35678ÿ'projects
                     What other    83175%ÿdoes
                                               37%ÿPPVGC
                                                      QRSÿ6have
                                                            57
 !&
 230ÿ03$
       goingÿ3ÿ3ÿ27%$7 %ÿ5the
              on now besides   67ÿSCivic
                                     $5$ÿTTowers
                                            378%ÿ'project?
                                                      83175F
 !0
 240ÿ0ÿ0ÿ0ÿ0ÿ0G A.0ÿ0"ÿ637)ÿwe7ÿ#finishing
                     Back home,         $$%6$ÿ4up'ÿaÿ%school
                                                           6339
 !4
 250ÿ0ÿÿE$8ÿ@477
       and a Dairy Queen.

                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                            com
                                                                               def
                    DEPOSITION SOLUTIONS                     ghijklmnoipjnqgrns
                                                             EsquireSolutions.  CQ781#
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           u       36

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1            340ÿ0567ÿ86
                Q-          9ÿhas
                      How long   ÿthe
                                        ÿDQ3ÿbeen
                                                  9ÿunder
                                                        9
 0!0ÿ0
  2    "69 "#69$0ÿSounds
       construction?    %69ÿ8like
                                   #&ÿthey
                                         'ÿareÿ90-day
                                                    ()0'
 010ÿ0
   3   2projects?
          63"$
 0440ÿ0ÿ0ÿ0ÿ0ÿ0540ÿ0
                A.    6#4
                      Right.0ÿ7  888ÿ9finish
                                I'll    #9#ÿ0—0ÿ#it's
                                                     8ÿ6only
                                                            98'ÿbeen
                                                                  9
 05@0ÿ02probably
          68'ÿ1)ÿ'ÿ6
                  30 days soÿ7  8Aÿ9not
                              I'm    6ÿeven
                                         B9ÿCquite
                                                  #ÿhalfway
                                                         897'
 06D0ÿ0  6ÿ'4
        through  yet.
 0E0ÿ0ÿ0ÿ0ÿ0ÿ0
   7            340ÿ0
                Q.    Fÿ679ÿ#isÿthat
                      What town         ÿDQ,
                                               3Gÿ6orÿ2parish
                                                         #ÿ#is
 0H0ÿ0
   8   ÿ
        that #9$
             in?
 0(0ÿ0ÿ
   9     0ÿ0ÿ0ÿ0540ÿ0
                A.    5"9#69ÿIParish,
                      Ascension      #Gÿ7which
                                               #"ÿ#is
 1)
 100ÿ0I   # #B#884
        Prairieville.
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q.    Pÿ6 ÿ2project
                      The other      63"ÿ'you6ÿAmentioned
                                                    9#69ÿ#isÿa
 1!
 120ÿ0"66  840ÿF8ÿ
        school.   What's theÿ9  Aÿ6of9ÿthe
                               name        ÿschool?
                                                 "668$
 11
 130ÿ0ÿ0ÿ0ÿ0ÿ0540ÿ0
                A.    Q88ÿ
                      Belle R ÿIPrimary.
                             Chasse      #A '4
 14
 140ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q-    7ÿÿtwo
                      Is that    76ÿ7words,
                                      6 GÿQBelle
                                                 88ÿRChasse,
                                                        Gÿ6or
 1@
 150ÿ069$
        one?
 1D
 160ÿ0ÿ0ÿ0ÿ0ÿ0540ÿ0
                A.    P76ÿ76  40ÿPTwo
                      Two words.      76ÿ7words,
                                            6 Gÿ7Iÿthink.
                                                        #9&4
 1E
 170ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q.    F ÿ#isÿthat
                      Where        ÿ8located?
                                         6"$
 1H
 180ÿ0ÿ0ÿ0ÿ0ÿ0540ÿ0
                A.    P8
                      That'sÿQ  88ÿRChasse.
                               Belle    40ÿ7It's
                                                    8ÿ#in9ÿQBelle
                                                               88
 1(
 190ÿ0R  GÿS6##94
        Chasse,  Louisiana.
 !)
 200ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q-     #9ÿ7what
                      During    ÿtime
                                      #Aÿ2period
                                               #6ÿhas
                                                      ÿIPVGC
                                                            TURÿbeen
                                                                  9
 !1
 210ÿ076   &#9ÿ69ÿÿ"
        working             668$
                 on that school?
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0
 22             540ÿ0Fÿ
                A.         ÿ9finishing
                      We are    #9##9ÿup2ÿthis
                                                  #ÿAmonth,
                                                        6940ÿFWe
 !1
 230ÿ09ÿ
        been 69ÿ#ÿÿ"628
             on it a coupleÿ6   9ÿ'years
                               of    ÿbecause
                                            "ÿthere
                                                       ÿ7wasÿsome
                                                                    6A
 !4
 240ÿ0#ÿÿ"Aÿ2
        issues that came up,Gÿbut
                                 ÿ7weÿareÿ9finishing
                                                 #9##9ÿup2ÿthis
                                                                 #
 !@
 250ÿ0A694
        month.

                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                    DEPOSITION SOLUTIONS                     h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 vT 19
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                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           uv       37

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056ÿ789
                Q.    So wasÿ 8ÿ9school
                              that   66ÿunder
                                             ÿconstruction
                                                     696
 020ÿ0during
       !ÿÿ98"ÿ"
               the same timeÿ#period
                                6ÿthat
                                        8ÿPVGC
                                               $%&'ÿhas
                                                       89ÿ(been
                                                            
 0)
  30ÿ0760!ÿ6ÿÿ'1
       working on the Civic ÿ2Towers
                                679ÿproject?
                                        #634
 0450ÿ0ÿ0ÿ0ÿ0ÿ0A.
                640ÿ0Yes.
                      794
 0580ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0Are
                      6ÿÿ8any
                          there   9ÿ6other
                                        ÿ#projects
                                                 639ÿthat
                                                           8ÿPVGC
                                                                 $%&'
 06@0ÿ0was   60!ÿ6ÿ7
       789ÿ7working         ÿit's
                     on while  A9ÿ(been
                                       ÿ7working
                                             60!ÿ6onÿthe
                                                           ÿ'Civic
                                                                 1
 07B0ÿ0Towers
       2679ÿ#634
               project?
                640ÿ0Dÿ81
 08C0ÿ0ÿ0ÿ0ÿ0ÿ0A.           ÿthe
                      We have   ÿEDQ3ÿin
                                        ÿ$Pensacola.
                                             986840ÿThere
                                                            2
 0F0ÿ0
  9    "!ÿ81ÿ(ÿ96"
       might  have been someÿsmall
                               9"8ÿ6ones
                                        9ÿ(back
                                               80ÿhome
                                                     6"ÿthat
                                                           8ÿwe
                                                                 7
 1G0ÿ0had.
 10    840ÿIHÿ6Aÿ"" (ÿexactly
                don't remember    I89ÿtheÿtime
                                                   "ÿPframe
                                                         8"ÿwhich
                                                                7
 110ÿ0job
 11    36(ÿ7 89ÿ!6!ÿ64
            was going on.0ÿWe
                            Dÿ!got
                                 6ÿ8aÿlot
                                          6ÿ6ofPÿwork
                                                  760ÿ8atÿ6one
                                                              
 1 0ÿ0time.
 12    "40ÿPrior
               $6ÿ6ÿ'1 ÿ2Towers
                      to Civic   679ÿstarting
                                          98!ÿup,#Qÿ7weÿwanted
                                                               78
 1)0ÿ0to
 13    6ÿP 9ÿ#ÿ78ÿ7
          finish            ÿhad
                   up what we   8ÿ8atÿhome
                                          6"ÿand
                                               8ÿthen
                                                     ÿcome
                                                            6"ÿdo
                                                                 6
 150ÿ0this
 14    9ÿ6Qÿ8ÿ6ÿ  80ÿ6onÿmore
             one, and not take       "6ÿ8atÿhome
                                                  6"ÿ(because
                                                        89ÿ7we
 180ÿ0didn't
 15    Aÿ78ÿ6ÿ61  660ÿit.
               want to overlook     4
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             340ÿ0Hÿ( 1ÿconstruction
                      I believe   696ÿstarted
                                                   98ÿ6onÿthe
                                                                  
 1B0ÿ0Civic
 17    '1ÿ2679ÿ#63  Qÿ3just
              Towers project,    9ÿcall
                                       8ÿitÿRFebruary
                                                   (89ÿ6ofP
 1C0ÿ02017
 18     G1B4.0ÿDoes
               E69ÿ8ÿ96 ÿabout
                     that sound  8(6ÿright
                                          !ÿto6ÿ9you?
                                                       64
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             640ÿ0'6 4
                      Correct.
 20G0ÿ0ÿ0ÿ0ÿ0ÿ0Q.     Okay.0ÿ5
                340ÿ0S0894   So6ÿsince
                                 9ÿRFebruary
                                           (89ÿ6ofPÿ2017
                                                           G1Bÿup
                                                                #ÿto6
 21    67Qÿ8ÿ6Pÿÿ$%&
   10ÿ0now,  all of the PVGC'ÿprojects
                               #639ÿthat
                                            8ÿ9you've
                                                   6A1
 220ÿ0identified
       PÿP6ÿ"ÿ  8ÿhave
                    for me that  81ÿ(been
                                          ÿ6ongoing
                                                 !6!ÿduring
                                                           !
 23)0ÿ0that
       8ÿtime
             "ÿ#6ÿ76 ÿbe
                   period would  (ÿthe
                                       ÿTBelle
                                            ÿ'Chasse
                                                    899ÿschool,
                                                            966Q
 2450ÿ0DQ
       E3ÿÿ$81Q
           in Prairieville,ÿE  3ÿin
                              DQ ÿ$Pensacola
                                       9868ÿ8andÿ9some
                                                         6"ÿother
                                                               6
 2580ÿ0possible
       #699(ÿ9"8ÿ#63  9ÿinÿLouisiana.
                 small projects        U698840ÿDo  E6ÿHIÿhave
                                                              81
                                                            ÿddefg
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    hijklmnopjqkorhsot
                                                            EsquireSolutions.com
                                                                               7%1P
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     STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            r       38

 010ÿ0
  1    34356789
       everything?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2              0ÿ0ÿ789
                 A.          ÿ7that's
                       I think   87 ÿright.
                                         5987
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0
  3              "0ÿ0#$%&'ÿ
                 Q.    Would 6 $%ÿ8have
                             you    43ÿ(been
                                          33ÿ--
                                               ))ÿ0would
                                                     $%&'ÿ6you
                                                             $%ÿ8have
                                                                  43
 0410ÿ0been
       (33ÿin
             9ÿ2853ÿ$3ÿ  &&ÿ7the
                 charge of all    83ÿ$other
                                       7835ÿ4projects
                                               5$5327 ÿ7that
                                                           87ÿyou
                                                                 6$%
 0560ÿ0just
       5% 7ÿidentified
             9'379393'ÿ3$5
                          forÿ7 3
                               me?
 0680ÿ0ÿ0ÿ0ÿ0ÿ0A.0ÿ0Iÿ0$%&'7ÿsay
                         wouldn't    6ÿin
                                         9ÿ2charge,
                                              8530ÿ   '
                                                        I'd
 0790ÿ0probably
       45$((&6ÿsay 6ÿ93ÿ $73789ÿ0would
                       if something    $%&'ÿ8have
                                               43ÿcame
                                                     273ÿ%up4ÿ0with
                                                                 978
 08@0ÿ0estimated
       3 79773'ÿ'ÿ783ÿ
                    and then 8 '3'ÿit
                             handed   97ÿ$off
                                           33ÿ7to$ÿa
 0A
  90ÿ0superintendent
        %435973'37ÿ$5ÿ
                         or aÿ4 5$5327ÿ7manager,
                               project    350ÿB   %7ÿ9it7ÿ8had
                                                      But        'ÿ7to$
 1C0ÿ0have
 10    843ÿ(33ÿ    7&&ÿ(32
              been small     % 3ÿwe
                          because   03ÿ'didn't
                                         9'7ÿ7take
                                                  3ÿ$onÿanything
                                                             6789
 110ÿ0big
 11          923ÿ789
       (9ÿsince    thisÿD979ÿ5job
                         Miami   $(ÿstarted.
                                      7573'
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12              "0ÿ0You
                       E$%ÿ8'ÿ7mentioned
                           had   379$3'ÿto7$ÿme
                                                73ÿ3earlier
                                                      5&935ÿ7that
                                                                 87
 1!0ÿ0you
 13    6$%ÿ)--)ÿ083ÿ6$%ÿ8
                when you hand'ÿprojects
                                45$5327 ÿ$over,
                                            435Fÿ6you$%ÿstill
                                                          79&&
 110ÿ0oversee
 14    $435 33ÿ7837
                 them.0ÿG$ÿ0 $%&'ÿ6you
                         So would    $%ÿ(been
                                          33ÿresponsible
                                               53 4$ 9(&3ÿ3for  $5
 160ÿ0overseeing
 15    $435 339ÿ&&ÿ783    3ÿ$other
                     all these   7835ÿ4projects
                                         5$5327 ÿ7that
                                                     87ÿ6you
                                                           $%
 180ÿ0mentioned?
 16    7379$3'
 190ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17              0ÿ0Not
                       H$7ÿ'6)7$)'60ÿI
                           day-to-day.      83ÿBBelle
                                           The    3&&3ÿPChasse,
                                                          8 3Fÿ0we3
 1@0ÿ0have
 18    843ÿÿ737ÿ$3ÿ43$4   &3ÿon
              a team of people   $ÿthat
                                     787ÿ$one
                                            3ÿ7that
                                                  87ÿ0works
                                                        $5 ÿon$
 1A0ÿ0that
 19    787ÿone
             $3ÿ'9&6
                  daily.0ÿSo
                           G$ÿIÿ))ÿit
                                     97ÿ'don't
                                          $7ÿ5require
                                                  3Q%953ÿ7my6ÿfull
                                                               3%&&
 C0ÿ0attention
 20    77379$ÿ$ÿ787ÿ$   30ÿ#
                    on that one.     3&&Fÿand
                                    Well,   'ÿ7they
                                                  836ÿ2call
                                                        &&ÿme73ÿ9if3
 10ÿ0they
 21          33'ÿsomething
       7836ÿneed     $73789ÿ3estimated
                                 79773'ÿor$5ÿdone,
                                               '$30ÿB   %7ÿ$other
                                                        But    7835
 0ÿ0than
 22    78ÿthat,
             787Fÿ97
                     it'sÿ783
                          theÿ4 3$4&3ÿin
                               people  9ÿ7the
                                            83ÿ$office
                                                  33923ÿ5run
                                                           %ÿthat
                                                               787
 !0ÿ0one.
 23    $30ÿThe
               I83ÿR"  Fÿ&93
                    DQs, likeÿIÿsaid,
                                  9'FÿIÿoversee
                                           $435 33ÿ7them
                                                       837ÿ(but
                                                              %7ÿI
 10ÿ0don't
 24    '$7ÿ33'ÿ7$ÿ(3ÿ78   353ÿevery
               need to be there            60ÿ
                                  34356ÿ'day.      'ÿIÿdon't
                                                  And     '$7ÿknow
                                                                  $0
 60ÿ0if
 25    93ÿ78353
          there'sÿ6ÿ$783   5 FÿIÿ5really
                     any others,      3&&6ÿdon't,
                                              '$7Fÿsmall
                                                        7&&ÿ$ones
                                                                 3
                                                            ÿd
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               Es3513
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                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            pq      39

 010ÿ0
  1    3453ÿ67ÿ4587ÿ97
       that we have done.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ087
                Q.    You'veÿ 7379ÿ7estimating
                              mentioned        353!ÿ5aÿfew"76
 0#0ÿ0
  3    37 ÿ47$7
      times   here.0ÿWould
                      %&9ÿ'you
                              ÿ(consider
                                     97$ÿ7estimating
                                                 353!ÿto  3ÿbe
                                                                  )7
 00
  40ÿ0sort
        $3ÿ"ÿ347ÿ)7$ÿ
             of the number   7ÿrole
                             one   $&7ÿor$ÿ1job
                                               )ÿ3that
                                                    453ÿ'you
 02
  50ÿ0perform?
       37$"$4
 05
  60ÿ0ÿ0ÿ0ÿ0ÿ0A.60ÿ0773677
                      Betweenÿ3that
                                 453ÿ5and
                                        9ÿmanaging
                                             55!!ÿ3the 47ÿjobs,
                                                              1) 8
 09
  70ÿ0yeah.
       '7540ÿI@ÿ758ÿ$!4
                  mean, right3ÿnow
                                 6ÿ6we7ÿnot
                                           3ÿ)bidding
                                                99!ÿjobs
                                                          1) ÿsoÿ@I'm
                                                                     
 0A
  80ÿ0not
       3ÿ7  353!ÿ787$
           estimating   every'ÿ9day,
                                 5'8ÿand
                                       59ÿ6we're
                                             7$7ÿ"focusing
                                                     ( !ÿon
 0B
  90ÿ0getting
       !733!ÿ34
                thisÿ1)ÿ"   479ÿ5and
                      job finished      9ÿdo
                                            9ÿour
                                                $ÿown
                                                       6ÿ3thing
                                                             4!
 10    5"37$8ÿ@ÿ75
 1C0ÿ0after,   I mean.
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             0ÿ0@Isÿ345
                         that3ÿ3the
                                 47ÿ$reason
                                       75 ÿyou
                                               'ÿ5are
                                                     $7ÿnot3ÿ)bidding
                                                                 99!
 10ÿ0any
 12    5'ÿother
             347$ÿ1)
                   jobsÿ)7(5  7ÿ'you
                        because     ÿare
                                        5$7ÿ3trying
                                               $'!ÿ3toÿ"finish
                                                              4ÿ3the
                                                                     47
 1#0ÿ0Civic
 13    D8(ÿE67$
              Towersÿ3$17(
                      project3ÿor$ÿisÿthere
                                        347$7ÿsome
                                                 7ÿother
                                                         347$ÿ$reason?
                                                                 75 4
 100ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             60ÿ0F3ÿ  &'ÿ3that.
                      Not only     4530ÿ%  7ÿ1just
                                           We    3ÿ3trying
                                                       $'!ÿ3toÿ6wind
                                                                    9
 120ÿ0down.
 15    960ÿ%7ÿGGÿÿ5
               We     mom and9ÿ9dad
                                 59ÿwant
                                      653ÿto
                                            3ÿslow
                                                 &6ÿit3ÿdown
                                                            96ÿand
                                                                  59ÿ@I
 16    "( ÿÿ5')7ÿ
 150ÿ0focus              734!ÿelse
              on maybe something      7& 7ÿ5after,
                                             "37$8ÿ'youÿHknow,
                                                             68
 190ÿ0construction
 17    ( 3$(3ÿisÿGGÿyou
                             'ÿHknow,
                                    68ÿit's
                                            3 ÿnot
                                                  3ÿ&like
                                                         H7ÿit
                                                              3ÿused
                                                                    79
 1A0ÿ0to
 18    3ÿ)7
          be.
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             0ÿ0What
                      %453ÿ9
                           doÿ'you
                                 ÿmean
                                       75ÿ)by'ÿthat?
                                                34534
 C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             60ÿ0Just
                      I 3ÿ3the
                             47ÿG--Gÿ3the
                                       47ÿ6way
                                            5'ÿthe
                                                347ÿ3projects
                                                       $17(3 ÿ5are.
                                                                   $7
 10ÿ0I@ÿ75
 21          8ÿ347ÿ3&5
         mean,  the plansÿ5  9ÿ1just
                            and     3ÿnot
                                         3ÿgetting
                                             !733!ÿ--  GGÿ@Iÿdon't
                                                               93
 0ÿ0know.
 22    H60ÿ@ÿ!7
               I guessÿ5')
                        maybe7ÿmy'ÿ"focus
                                      ( ÿisÿshifting
                                                 4"3!ÿ5aÿ&little
                                                                 33&7
 #0ÿ0bit
 23    )3ÿ( !ÿ96ÿ347
           coming   down theÿ' 75$ 0ÿI@ÿ9don't
                              years.         3ÿ6want
                                                     53ÿto 3ÿdo
                                                               9ÿ3this
                                                                    4
 00ÿ0forever.
 24    "$787$
 20ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             0ÿ0Did
                      P9ÿ'
                          youÿ7ever
                                 87$ÿwant
                                       653ÿto
                                             3ÿ9doÿit3ÿ"forever?
                                                            $787$4
                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               r7$1"
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     PQRQSÿUVÿWXY`SX                                    dqrstuvÿwxyÿw
                                      229
      PETER J. VICARI                                           October 16, 2018
     PQRQÿWXY`SXÿaQbQS`cÿYdbRS`YRdSÿefÿdgXdÿY`hi`cRpÿXbhV
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            o      40

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ05ÿ6764
                A.   I did.0ÿYou
                              89ÿknow,
                                    9ÿ7itÿwas
                                                 ÿaÿfamily
                                                         7 !
 0"0ÿ0
  2    #7$4
       business.0ÿI5ÿlike
                      7$ÿ7it,
                            ÿand
                                 6ÿ5Iÿstill
                                        7 ÿ6do.940ÿIt's
                                                      5%ÿ&just
                                                               
 03'0ÿ0(7)ÿ0()$ÿ!#$
       things change maybe. 4
 010ÿ0ÿ0ÿ0ÿ
   4        0ÿ0240ÿ0
                Q-   5ÿ7ÿ
                     Is it ( 36$3ÿmore
                            harder,     93$ÿ0complicated
                                              94 70$6ÿto9ÿ6do9
 050ÿ0
   5   93ÿ
       work 96
            now?
 070ÿ0ÿ0ÿ0ÿ0ÿ0
   6            340ÿ0
                A.   89$3! (7)ÿ)gets
                     Everything    $ÿ(harder
                                           36$3ÿand
                                                    6
 0@0ÿ0
   7   094 70$6ÿ#ÿ(
       complicated,         %ÿwhat
                     but that's    (ÿthe($ÿ0challenge
                                                ( $)$ÿ7isÿ9on
 0A0ÿ0
   8   $9$3!(7)40ÿ5ÿ$
       everything.   I mean,ÿthat's
                                (%ÿwhat
                                         (ÿwe$ÿsign
                                                    7)ÿup4ÿto9ÿ6do,
                                                                    9
 0B90ÿ07ÿ7
       it isÿ(ÿ7ÿ74
              what it is.0ÿ5 %ÿwhat
                            It's   (ÿwe$ÿ6do.
                                              94
 1C
 100ÿ0ÿ0ÿ0ÿ0ÿ0240ÿ033$ÿ!9
                Q.          3ÿ4parents
                     Are your    3$ÿ3retiring
                                            $737)ÿfrom
                                                        39
 11
 110ÿ00930796
       construction?
 1"
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0D9ÿ9
                A.          0$ÿthey
                     Not once    ($!ÿ3retiring,
                                        $737)ÿthey
                                                     ($!ÿ&just
                                                            ÿwant
                                                                    
 1'
 130ÿ09ÿ# 0ÿ7ÿ694
       to back  it down.
 11
 140ÿ0ÿ0ÿ0ÿ0ÿ0240ÿ0E9$ÿ!
                Q.          9ÿ6decided
                     Have you    $076$6ÿwhat
                                            (ÿ9other
                                                  ($3ÿfield
                                                           7$ 6ÿ9or3
 15
 150ÿ09$ 3$ÿ!9ÿÿ9
       venture  you want toÿ) $ÿ7into?
                             get   96
 17
 160ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0F!ÿG7
                A.          3!ÿ2Queens
                     My Dairy    $$ÿ7isÿ6doing
                                              97)ÿwell,
                                                      $ 4ÿÿ5I
 1@
 170ÿ069%
       don'tÿ(7ÿ5ÿ3$
             think I really !ÿneed
                                $$6ÿto9ÿ#blow
                                            9ÿand
                                                 6ÿ)go9ÿand
                                                           6ÿ#bid
                                                                 76
 1A
 180ÿ0allÿ(7ÿ93ÿ6ÿ(
           this             9$ÿallÿthis
                 work and have          (7ÿstress.
                                              3$40ÿ5Iÿ0canÿ4pick
                                                                    70
 1B0ÿ0
 19    6ÿ0(99$ÿ($ÿ&9#
       and choose  the jobsÿ5Iÿ ÿto9ÿ#bid.
                                want        7640ÿ5I'm
                                                    %ÿnot
                                                         9ÿ)going
                                                               97)
 "C
 200ÿ09ÿ)$ ÿ9ÿ9ÿ09
       to get               3079ÿ1100
               out of construction      CCÿ4percent,
                                             $30$ÿ5I'm%ÿ&just
                                                               
 "1
 210ÿ0)97)  to be very,ÿ!
       goingÿ9ÿ#$ÿ9$3!    9ÿknow,
                          you    9ÿspecific
                                         4$0770ÿ9onÿthe
                                                         ($ÿ9ones
                                                               $
 ""
 220ÿ0(ÿ
       that 5ÿÿ9ÿ694
            I want to do.
 "'
 230ÿ0ÿ0ÿ0ÿ0ÿ024Q.0ÿ0H($ÿ9 ($3ÿ&jobs
                     The other    9#ÿthat
                                         (ÿwe$ÿtalked
                                                     $6ÿabout,
                                                             #9
 "1
 240ÿ0($ÿ0(99
       the schoolÿIIÿlet's
                       $%ÿstart
                              3ÿwith
                                      7(ÿthe
                                             ($ÿschool.
                                                  0(99 40ÿGDuring
                                                               37)
 "5
 250ÿ0093079ÿ9ÿ($
       construction of theÿ  0(99 ÿ(how
                             school,     9ÿ9often
                                              $ÿwould
                                                      9 6ÿ!you9ÿ)go9
    @ESQUIRE                                                800.211.DEPO
                                                              ÿ(3376)
                                                                            
                    DEPOSITION SOLUTIONS                     defghijdkeilmcom
                                                             EsquireSolutions. in
                                                                               8p$31
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            qy      41

 010ÿ0
  1    345ÿ53ÿ567ÿ897ÿ53
       out to the field toÿ    995ÿthe
                               visit  567ÿproject
                                             375ÿ9itself?
                                                        578
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2               !0ÿ0"67#ÿ$
                 A.          7ÿ8first
                       When we   95ÿstarted
                                         5%57ÿand%#ÿ&Iÿwas
                                                          $%ÿ3out45
 03'0ÿ0there,
       5677(ÿ56%5ÿ$%ÿ%ÿ   347ÿ3of8ÿ)years
                that was a couple         7%ÿ%ago03ÿ%and
                                                        #ÿI&ÿ$was
                                                                 %ÿout
                                                                    345
 0410ÿ0there
       5677ÿ%ÿ033ÿ%5ÿ3
               a good part of8ÿevery
                                77)ÿ$week
                                         772ÿ%and
                                                #ÿcouple
                                                    347ÿ3of8ÿdays,
                                                                   %)(
 0530ÿ0just
       45ÿmaking
             4%29#0ÿ47ÿ56  7ÿjob
                      sure the   35ÿwas
                                     $%ÿ0getting
                                           7559#0ÿ3off88ÿ5to3ÿ%aÿgood
                                                                  033
       5%5!0ÿAnd
 0660ÿ0start.     #ÿ3#7ÿ&ÿ 875ÿI&ÿdidn't
                      once I felt       9#75ÿneed
                                                #77ÿ5to3ÿ5be7ÿ5there
                                                                 677
 0780ÿ0every
       77)ÿ%)(ÿ%#3567ÿ
               day, another  375ÿ4manager
                             project     %#%07ÿwas$%ÿ4more
                                                         37ÿ3orÿless
                                                                    7
 0890ÿ0taking
       5%29#0ÿ37ÿ%#ÿ567   7ÿ7every
                over and there    7)ÿday.
                                         %)!0ÿAnd #ÿ&Iÿcould
                                                         34
 09@0ÿ0manage
       4%#%07ÿ95ÿ834ÿ567ÿ
                it from the 3 8897ÿ3orÿwhatever.
                             office       $6%577!0ÿA    7ÿ#need
                                                         He    77
 1B0ÿ0finish
 10    89#96ÿ54)9#0ÿ345ÿ5   67ÿproject,
                buying out the    375(ÿjust
                                              45ÿkeep
                                                    277ÿ9it5ÿ0going.
                                                                 39#0!
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11              C!0ÿ0So
                       D3ÿ%857ÿ5the
                          after   67ÿ7early
                                        %)ÿpart
                                                %5ÿ3of8ÿit,
                                                         95(ÿ$when
                                                                 67#
 10ÿ0you
 12    )34ÿ$were
             77ÿ345ÿ5677ÿ
                  out there %aÿcouple
                                347ÿ3of8ÿdays
                                              %)ÿ%and
                                                     #ÿyou
                                                         )34ÿ$went
                                                                 7#5
 1'0ÿ0back
 13    5%2ÿ9#53ÿ567ÿ3889
             into the office,7(ÿ6how
                                  3$ÿfrequently
                                      87E47#5)ÿwere$77ÿ)you34ÿ0going
                                                                   39#0
 110ÿ0out
 14    345ÿ5 3ÿ567ÿ35ÿ957
            to  the job siteÿthen?
                              567#0ÿAre 7ÿ$we7ÿ5talking
                                                   %29#0ÿ3once
                                                              #7
 130ÿ0every
 15    77)ÿ3567ÿ$772(ÿ3   #7ÿ%aÿmonth?
               other week, once      43#56
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.!0ÿ0When
 16                    "67#ÿFFÿ%after
                            --   857ÿ9it5ÿ0got
                                             35ÿgoing,
                                                 039#0(ÿI&ÿcould
                                                              34ÿ0go3
 180ÿ0out
 17    345ÿ5 677ÿ5$3(ÿ567
            there            7ÿdays
                    two, three   %)ÿa%ÿ$week
                                          772ÿ3orÿ4maybe
                                                     %)57ÿdrive
                                                            97
 190ÿ0over
 18    37ÿthere,
             5677(ÿ3ÿ9#ÿ
                      pop in 83ÿ%an#ÿhour
                             for      634ÿ%and
                                              #ÿ5then
                                                    67#ÿdrop
                                                          3ÿit 95
 1@0ÿ0off,
 19    388(ÿ347569#0ÿ29#
             something kindÿ3   8ÿ--
                               of FFÿ$wasn't
                                        %#75ÿ6hard
                                                 %ÿ5to3ÿgo
                                                          03ÿto53ÿ5that
                                                                    6%5
 B0ÿ0one
 20    3#7ÿ8from
             34ÿ34ÿ38897
                  our office;Gÿ3only
                                 #)ÿ5ten
                                        7#ÿminutes
                                           49#457ÿ%away.
                                                        $%)!
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21              C!0ÿ0H67ÿFF
                       The --ÿ5 67ÿ5two
                               the   $3ÿIDairy
                                          %9)ÿQueens,
                                                 C477#(ÿ5the 67ÿ3one
                                                                   #7
 22    9#ÿP
 0ÿ0in     %99797(ÿ56
          Prairieville,      7ÿ3one
                           the   #7ÿ9in#ÿPensacola,
                                         P7#%3%(ÿ6how 3$ÿ3often
                                                               857#
 '0ÿ0are
 23    %7ÿ)you
             34ÿ345ÿ3#ÿ567ÿ
                 out on the  35ÿsite
                             job  957ÿ8for
                                          3ÿ5those?
                                                637
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.!0ÿ0Q927ÿ&
 24                    Like Iÿsaid,
                              %9(ÿPPrairieville,
                                        %99797(ÿ4maybe
                                                          %)57ÿ3once,
                                                                   #7(
 30ÿ0maybe
 25    4%)57ÿ5$97ÿ%ÿ$772ÿ   &7ÿgo
               twice a week I'll   03ÿrun
                                         4#ÿ3over
                                              7ÿ5there.
                                                     677!0ÿ&    57
                                                               It's


                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               rs718
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     UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           t        42

 010ÿ0
  1    34567ÿ89ÿ67ÿ
       about 45 minutes from  5ÿthe
                                   7ÿ5office,
                                          ÿso5ÿIÿmean,
                                                           3ÿIÿ!go5
 0"0ÿ0
  2    #$ÿ7ÿ$3%ÿ567ÿ7
       spend                  ÿ3and
              the day out there       $ÿ7then
                                             ÿ!give
                                                   &ÿeverybody
                                                        &%45$%
 0'
  30ÿ07ÿ3!ÿ5$
       their marching orders  ÿfor
                                    5ÿ7that
                                          37ÿ(week
                                                )ÿand
                                                      3$ÿ!get
                                                            7ÿit7
 0480ÿ0done.
       $500ÿ13523ÿ7
               Pensacola, the ÿsame
                                    3ÿway.
                                          (3%0
                300ÿ0Go
 0590ÿ0ÿ0ÿ0ÿ0ÿ0Q.     45ÿ567
                         outÿ7   ÿ5once
                                there     ÿ5orÿ7twice
                                                     (ÿa3ÿ(week,
                                                               )ÿ!go5
 0650ÿ0for
       5ÿ7 ÿ$3%ÿ3$ÿ7
           the  day, and then ÿcome
                                   5ÿ4back
                                           3)ÿ7to5ÿLouisiana?
                                                     656337
 0780ÿ0ÿ0ÿ0ÿ0ÿ0A.
                900ÿ0Correct.
                      @570
 08A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                300ÿ0Any
                      9%ÿ57  ÿ#projects
                           other     5B7ÿ7that37ÿ(weÿhaven't
                                                           3&C7
 09D0ÿ0covered
       5&$ÿ737ÿ%56C&
                that you'veÿ(    5)$ÿon
                                worked    5ÿwhether
                                              (7ÿ6under
                                                          $ÿ1PVGC
                                                                 E4@ÿ5or
 1F0ÿ0any
 10    3%ÿ5other
             7ÿ5#3%ÿ   ÿthe
                   company since     7ÿ4beginning
                                             !!ÿ5ofÿ"2017?
                                                             F187
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             900ÿ0I'm
                       Cÿ5
                           not7ÿGGÿIÿ$don't
                                          5C7ÿ)know
                                                  5(ÿoffhand
                                                       53$ÿ7the
 1"0ÿ0jobs
 12    B54ÿ737ÿ(ÿ3$ÿ!5
             that we had going!ÿthat
                                    737ÿ(weÿ(were
                                                ÿfinishing
                                                       !ÿup 6#
 1'0ÿ0when
 13    (ÿwe
             (ÿ(ÿ$5!ÿ
                were doing a  3ÿ2lot
                                   57ÿ5ofÿ7this.
                                             00ÿIÿ$don't
                                                        5C7ÿ)know
                                                                5(
 180ÿ0offhand
 14    53$ÿ(ÿ5ÿ    (ÿ!going.
                which ones were       5!00ÿWe HÿBjust
                                                      67ÿhad
                                                            3$ÿ3aÿlot
                                                                   257
 190ÿ0going
 15    !5!ÿ5ÿ!7ÿ5(ÿ
              on right now     &%ÿday.
                               every  $3%00ÿIt's7Cÿhard
                                                       3$ÿ7to5
 150ÿ0remember
 16    4ÿ237ÿ()
                 last week,ÿ    #322%ÿwhen
                                especially     (ÿyou
                                                      %56ÿ3asking
                                                            )!
 180ÿ0projects
 17    #5B7ÿ737ÿ3ÿ$    500ÿIÿ$don't
                  that are done.           5C7ÿ)know
                                                   5(ÿwhich
                                                        (ÿ5ones
                                                                 ÿ(we
 1A0ÿ0had
 18    3$ÿ!going
             5!ÿ37ÿ(37ÿ7   0
                   at what time.
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             300ÿ0Tell
                      I22ÿmeÿ7the
                                   ÿ7two
                                        (5ÿ5orÿthree
                                                7ÿconstruction
                                                          57675
 "F0ÿ0projects
 20    #5B7ÿ737ÿ%56C&
                  that you've ÿ4been
                                   ÿinvolved
                                          &52&$ÿin ÿ7that
                                                          37ÿ(would
                                                                562$ÿ4be
 "10ÿ0most
 21          $732ÿ7to5ÿ5orÿmost
       57ÿidentical              57ÿ2like
                                          )ÿ7the
                                                ÿCivic
                                                     @&ÿITowers
                                                             5(
 ""0ÿ0proj
 22    #5B 70
           ect.
 "'0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23             900ÿ0Meaning
                      P3!ÿlike
                                 2)ÿ(which
                                          ÿ(way?
                                                  3%70ÿOf
                                                        Qÿ(what
                                                             37ÿG-­G
 "80ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24             300ÿ0Size,
                      RSÿ$dollar
                                5223ÿ&value,
                                          326ÿsquare
                                                   T63ÿfootage.
                                                           5573!0
 "90ÿ0Any
 25    9%ÿ(3%ÿ%56ÿ(37ÿ75
            way you want toÿcompare
                                5#3ÿ7them.
                                             00ÿIfÿsomebody
                                                          545$%ÿsaid
                                                                     3$
                                                            ÿdef
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               uE1
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     STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            rs      43

 010ÿ0
  1    34ÿ546ÿ3788ÿ97ÿ37ÿ   473ÿ3that
       to you tell me the projects        3ÿ5you've
                                                467ÿdone
                                                          4 7ÿin
                                                               ! ÿ3the
                                                                    7
 0"0ÿ0
  2    3ÿ33ÿ7ÿ943ÿ
       past  that are most 8  !#7ÿ3the
                             like    7ÿCivic
                                         $!!ÿ%Towers
                                                  4&7ÿproject,
                                                           473'
 0(
  30ÿ0&3ÿ&468ÿ546ÿ     &7ÿ)be?
       what would your answer       70
 0410ÿ0ÿ0ÿ0ÿ0ÿ0A.
                230ÿ0We
                      47ÿ
                         have7ÿaÿ5few
                                    7&ÿjobs
                                       4)ÿ3that
                                               3ÿ&would
                                                      468ÿ)be7
       84730ÿ7ÿ97
 0560ÿ0close.   I mean,'ÿ37
                          theÿSugar
                              869ÿ@Mill
                                       !88ÿ2Apartments
                                              397 3ÿ&wasÿone.
                                                                4 73
       %3ÿ397
 06A0ÿ0That's  apartment3ÿ8! ! 9'ÿ5you
                           living,    46ÿhave
                                           7ÿBBÿwhich
                                                    &!ÿ!is
 07C0ÿ0probably
       4))85ÿBBÿ7ÿ4    3ÿknow
                  -- I don't  # 4&ÿ&what
                                      3ÿ3the
                                             7ÿdollar
                                                  488ÿvalue
                                                          867ÿ!is
 08D0ÿ0on
       4 ÿ3 330ÿE63ÿ37ÿ
           that.             F67ÿ5footage
                   But the square     44397ÿis!ÿ6upÿ3there
                                                         77
       )767ÿ!3ÿÿ)!9ÿ
 09G0ÿ0because               4987H30ÿ%
                it's a big complex.        7534& ÿIElementary
                                          Terrytown      8797 35
 1P0ÿ0was
 10    &ÿaÿ)!9ÿ4  730ÿThat's
              big one.   %3ÿ"20Pÿmillion.
                                      9!88!4 30ÿ2  Andÿ3that's
                                                          3ÿ)big
                                                                  !9
 11    467B! B87ÿ4
 110ÿ0poured-in-place        737ÿstructure.
                         concrete     3636730ÿWe 47ÿ&were
                                                          77ÿdoing
                                                                4! 9
 1"0ÿ0aÿ843
 12       lotÿ45ÿ&4#ÿ)#ÿ  37 30ÿ7
              of work back then.      Iÿ9 7 'ÿwe
                                         mean,  &7ÿ9got
                                                      43ÿBBÿthe
                                                              37
 1(0ÿ0list
 13    8!3ÿis
             !ÿ497ÿ  87ÿ3to4ÿapples,
                 compared apples         87'ÿ!it's
                                                   3ÿhard.
                                                         3ÿÿI7
 110ÿ0mean,
 14    97 'ÿ!3ÿ&ÿBBÿ&7ÿ
              it was -- we &  ÿdoing
                             was    4! 9ÿaÿ8lot
                                              43ÿprior
                                                   !4ÿ3to4ÿcoming
                                                               49! 9
 160ÿ0here.
 15    773
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             Q30ÿ02  ÿBBÿand
                      And      ÿ7Iÿdidn't
                                      ! 3ÿwant,
                                               & 3'ÿ8like,
                                                         !#7'ÿ3the
                                                                7
 1C0ÿ0whole
 17    &487ÿ8!33
              list.0ÿI7ÿ&  37ÿwhat
                        wanted   &3ÿwould
                                       &468ÿ)be7ÿ3the
                                                    7ÿtop
                                                         34ÿthree?
                                                              3770
 1D0ÿ0So
 18    84ÿ54 67ÿ9!7
           you've  givenÿ97ÿ 869ÿ@Mill?
                          me Sugar    !880ÿ2Apartments
                                              397 3ÿand
 1G0ÿ0Terrytown
 19    %7534& ÿI8797   3530ÿIs
                   Elementary.    7ÿ3there
                                       77ÿaÿBBÿwhat
                                                    &3ÿwould
                                                           &468ÿ)be7
 "P0ÿ0the
 20    37ÿ3third
             !ÿ87ÿÿ  37ÿclosest
                   place as the     8473ÿresembling
                                              779)8! 9ÿ3the7ÿCivic
                                                                $!!
 21    %4&7ÿ4730
 "10ÿ0Towers   project?
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22             230ÿ0I7ÿ97
                        mean,'ÿwe
                               &7ÿdid
                                     !ÿaÿlot.
                                           84330ÿ2 Aÿ) 6 ÿ4of5
                                                      bunch
 "(0ÿ0apartments
 23    397 3ÿ537ÿR   3! 30ÿ%
                    after Katrina.       3ÿall
                                       That's     88ÿ&we7ÿdid
                                                          !ÿafter
                                                                537
 "10ÿ0Katrina
 24    R3! ÿ54ÿÿ944ÿ   5!7 ÿ4of5ÿ9my5ÿdads's
                 for a good friend            ÿ&wasÿall
                                                              88ÿhis
                                                                 !
 "60ÿ0apartments.
 25    397 330ÿIt73ÿ&
                         wasÿ3 77ÿ4orÿ5four
                              three        46ÿproperties
                                                473!7ÿ3that3
                                                            ÿd
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               tu715
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
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 010ÿ0
  1    34ÿ56748ÿ99ÿ34ÿ4
       we                   45ÿand
          done, that we rehabbed       75ÿput
                                            9ÿback.
                                                 
 00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  2                   Iÿ567!9ÿknow.
                        don't   7630ÿA"ÿbunch
                                            7ÿ6of#ÿcommercial
                                                      6$$4%&
 0'0ÿ0
  3    6(49)ÿ99ÿ4ÿ
       projects             %0ÿ%in7ÿsize
                  that are big      )%14ÿand
                                            75ÿupÿthere
                                                    944ÿ%in7ÿ2value
                                                                 &4
 030ÿ0
   4   99ÿwould
       that  36&5ÿ34ÿ5%5
                    we did.0ÿIÿ$ 478ÿsquare
                                mean,   )44ÿ#footages
                                                   66904)ÿ9too.
                                                              66ÿÿI
 0550ÿ0mean,
       $478ÿ%9ÿ3)ÿ&&ÿ
              it was all upÿ9 448ÿ#from
                             there,     6$ÿ7new
                                              43ÿconstruction
                                                    67)99%67ÿto 96
       47629%67)0ÿWe
 0660ÿ0renovations.    74ÿ%75ÿ6of#ÿ5done
                          kind        674ÿit
                                          %9ÿall.
                                               &&
 0870ÿ0ÿ0ÿ0ÿ0ÿ0Q.90ÿ079ÿ6$$4%&ÿprojects
                      What commercial     6(49)ÿcome
                                                      6$4ÿto
                                                           96ÿmind
                                                               $%75
 0@
  80ÿ0that
       99ÿyou
             A6ÿ9%7ÿ&6) 4&Aÿresemble
                  think closely  4)4$&4ÿ9the4ÿBCivic
                                                    %2%ÿCTowers
                                                           634)
 0D
  90ÿ0project
       6(49ÿ99ÿA6!24
                 that you'veÿ3645ÿ6on?
                             worked     7E
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10              "0ÿ0Iÿ$478ÿwe
                        mean, 34ÿ5did
                                    %5ÿaÿlot
                                          &69ÿof
                                               6#ÿhospital
                                                     6)%9&ÿ3work,
                                                                 68
 11    3%ÿ%)ÿ%0ÿ%&5%
 110ÿ0which                 70)0ÿIÿ$mean,
               is big buildings.        478ÿwe
                                              34ÿ5did
                                                    %5ÿ)schools,
                                                         66&)8
 10ÿ0auditoriums,
 12    5%96%$)8ÿ$&9%  6)4ÿcenters,
                      multipurpose     4794)8ÿparks.
                                                   )0ÿWe've
                                                           74!24
 1'0ÿ0done
 13    5674ÿ%9ÿ&&
             it all.0ÿIÿ$4 78ÿwe've
                         mean,  34!24ÿ5done
                                         674ÿ4every
                                               24Aÿ9type
                                                       A4ÿof
                                                            6#
 130ÿ0construction
 14    67)99%67ÿ944ÿ
                      there 4&&Aÿ%is)ÿon
                            really       67ÿ--
                                             GGÿ$maybe
                                                   A4ÿ9they
                                                          4Aÿare
                                                                 4
 150ÿ0not
 15    769ÿ &4)ÿ96ÿ&4
            apples          )8ÿbut
                    to apples,   9ÿ9they
                                       4Aÿresemble
                                            4)4$&4ÿ%in7ÿaÿ3way.
                                                               A
 160ÿ0You
 16          7638ÿ9$479
       H6ÿknow,  apartmentÿ&%2%70ÿ2versus
                             living     4))ÿsquare
                                               )44ÿ#footage
                                                          66904
 180ÿ0versus
 17    24))ÿ%4
                price.0ÿIÿ$478ÿwe've
                          mean,  34!24ÿ5done
                                          674ÿ9them
                                                 4$ÿkind
                                                       %75ÿof
                                                            6#ÿall.
                                                                 &&
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18              90ÿ0"7Aÿ9%&ÿhospital
                      Any particular     6)%9&ÿcome
                                                     6$4ÿto
                                                          96ÿmind
                                                              $%75
 1D0ÿ0that
 19    99ÿyou
             A6ÿ67)%54ÿ )ÿaÿcommercial
                  consider as    6$$4%&ÿproject
                                                 6(49ÿ9that
                                                           9ÿ$most
                                                                  6)9
 F0ÿ0closely
 20    &6)4&Aÿ4)4$&4ÿ9  4ÿBCivic
                 resemble the   %2%ÿTowers?
                                       C634)E
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21              "0ÿ074)9ÿI4##ÿPHospital
                      West Jeff    6)%9&ÿ%is)ÿaÿ7number
                                                     $4ÿ6one
                                                              74ÿG-­G
 0ÿ0was
 22    3)ÿ6our
             ÿ7$4ÿ674ÿ
                 number one )96$4ÿfor
                            customer    #6ÿawhile.
                                             3%&40ÿ7   4ÿ5did
                                                         We   %5ÿa
 '0ÿ0lot
 23    &69ÿ6 #ÿ94%ÿ36
            of  their work.
 30ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24              90ÿ079!)
                      What'sÿ%9ÿcalled?
                             it    &&45E
 50ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25              "0ÿ074)9ÿI4##4)67ÿPHospital.
                      West Jefferson     6)%9&
                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               Hq41#
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            pq      45

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056ÿ789
                Q.          ÿwere
                      If they   99ÿyour
                                      ÿnumber
                                             9ÿone9ÿcustomer,
                                                          79
 0!0ÿ0
  2    78"7ÿ##97ÿ7ÿ9
       that  suggests to meÿyou
                              ÿworked
                                    $9%ÿonÿmultiple
                                                 &7'(&9ÿprojects
                                                           ()97
 00
  30ÿ06ÿ789ÿ197ÿ29669   ÿ3Hospital;
       for the West Jefferson      ('7"&4ÿ'isÿthat
                                                   78"7ÿright?
                                                         '#875
 0460ÿ0ÿ0ÿ0ÿ0ÿ0A.
                740ÿ0Right.
                      8'#874
 0590ÿ0ÿ0ÿ0ÿ0ÿ0Q.     5ÿ789
                340ÿ0Is     9ÿ"aÿparticular
                         there     ("7'&"ÿproject
                                                 ()97ÿ7that
                                                            8"7
       9ÿ7ÿ'%
 06@0ÿ0comes  to mind,ÿ"ÿ" %%'7'ÿor
                        an addition   ÿ"aÿnew
                                              9ÿbuilding
                                                    '&%'#ÿor
 07A0ÿ0something
       978'#ÿ78"7ÿÿ
                   that you  &%ÿconsider
                             would  '%9ÿ7toÿmost
                                                     7ÿclosely
                                                           &9&
 08B0ÿ0resemble
       99&9ÿ789ÿC'D'ÿ
                 the Civic E  9ÿproject?
                             Towers  ()975
 09F0ÿ0ÿ0ÿ0ÿ0ÿ0A.       doneÿ"
                740ÿ0I5ÿ%9  aÿbunch
                                8ÿof6ÿ(projects
                                             )97ÿ7there,
                                                         8994ÿÿI5
 1G0ÿ0added
 10    "%%9%ÿÿ"ÿ(978
              on a penthouse9ÿto
                               7ÿthe
                                   789ÿ7top
                                         (ÿof6ÿ7the
                                                   89ÿroof,
                                                       64ÿÿI5
 11    9" ÿ9ÿ#779%ÿ"%
 110ÿ0mean,   we gutted andÿ  7"79%ÿover
                              started    D9ÿon
                                              ÿfloors,
                                                   6&
 1!0ÿ0different
 12    %'66997ÿ"9"ÿ6ÿ
                  areas of 7  89ÿ8hospital,
                             the   ('7"& ÿ"added
                                                %%9%ÿmechanical
                                                       98"'"&
 100ÿ0units
 13    '7ÿ7ÿ64
              to roofs.0ÿI5ÿmean,
                              9" ÿwe've
                                    9HD9ÿ%done
                                             9ÿ(pretty
                                                    977ÿmuch
                                                            8
 160ÿ0everything
 14    9D978'#ÿ7899ÿ78  "7ÿ7they
                    there that   89ÿneeded
                                        99%9%ÿdone.
                                                %94
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             340ÿ0And
                      7%ÿ9"8ÿof6ÿthe
                          each      789ÿ(projects
                                          )97ÿyou 
 1@0ÿ0identified,
 16    '%97'6'9% ÿÿ  &%ÿconsider
                     you would   '%9ÿto7ÿbe9ÿclosely
                                                     &9&
 1A0ÿ0resembling
 17    99&'#ÿ789ÿC'D'  ÿETowers
                    the Civic   9ÿproject?
                                        ()975
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             740ÿ0I5ÿ%H7ÿ$know.
                        don't   40ÿWhen
                                        189ÿyou
                                              ÿsay
                                                     "ÿclosely
                                                         &9&
 1F0ÿ0resembling,
 19    99&'# ÿ5ÿ%H7
                     I don'tÿknow
                              $ÿwhy
                                     8ÿyou
                                          ÿkeep
                                              $99(ÿsaying
                                                       "'#ÿ'it7
 !G0ÿ0like
 20    &'$9ÿ78"74
             that.0ÿWhat
                     18"7ÿÿmean
                          you   9"ÿbyÿclosely
                                         &9&ÿresembling?
                                                     99&'#5
 !10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             340ÿ0As
                      7ÿIIÿ
                         -- " ÿclose
                             as &9ÿof6ÿ"aÿ6fit
                                                '7ÿ'inÿterms
                                                        79ÿof6
 !!0ÿ0the
 22    789ÿ7total
             7"&ÿ"79ÿ6
                   nature ofÿ 77'ÿ"and
                              construction      %ÿdollar
                                                    %&&"ÿvalue
                                                            D"&9
 !00ÿ0and
 23    "%ÿsquare
             P"9ÿ67"#9ÿ 78"7ÿ--
                    footage that   II
 !60ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             740ÿ0Construction
                      C77'ÿ'isÿconstruction.
                                          77'40ÿ5   Iÿ  9"
                                                                mean,
 !90ÿ0they
 25    789ÿ"&&ÿ#7ÿ789'ÿ
             all got their   (&'"7'ÿand
                             complications    "%ÿ7they
                                                     89ÿ"all
                                                           &&ÿ#got
                                                                 7
                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               rs916
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            q      46

 010ÿ0
  1    34567ÿ688958
       their issues.0ÿThey
                        45ÿare
                               75ÿall
                                     ÿdone
                                          5ÿ3the
                                                45ÿsame
                                                     85ÿway
                                                             ÿ3to
 020ÿ0me.
       50ÿ!ÿ5"ÿ345ÿ#  3ÿtheir
             I mean, they got   34567ÿallÿ8start
                                               373ÿ$--$ÿstarted
                                                          83735
 03%0ÿ0and
       ÿ&6684ÿ63
            finish it.0ÿWhatever
                         '435(57ÿneeds
                                     558ÿ3toÿ)be5ÿdone,
                                                       5"ÿyou
                                                             9ÿdo
 0400ÿ0it.
       630ÿ18379236ÿ6
             Construction is8ÿ$$ÿit63ÿ6is8ÿwhat
                                             43ÿ6it3ÿis.
                                                       68
 0530ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                40ÿ0I!ÿ95783ÿthat.
                        understand    3430ÿAnd
                                               5ÿ!I'm6ÿ7just
                                                            983
 0680ÿ0trying
       376#ÿ3ÿ855ÿ43ÿ
               to see what $ $ÿwhat
                            --  43ÿis68ÿ3the
                                             45ÿclosest
                                                28583ÿ3toÿ3this
                                                                 468
 0790ÿ0particular
       @736297ÿ@77523
                   project.0ÿI !ÿmean,
                                   5"ÿnoÿtwo
                                              3ÿpeople
                                                    @5@5ÿare
                                                              75
 08A0ÿ0alike.
       6B50ÿ!ÿ#53ÿ345ÿ  75ÿnot
                I get they are     3ÿ#going
                                         6#ÿ3toÿ)be5ÿidentical.
                                                        65362
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                50ÿ0No
                      Dÿ3
                         twoÿ7 )8ÿare
                              jobs    75ÿalike.
                                           6B5
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             40ÿ0I!ÿ95783ÿthat.
                        understand    3430ÿThat's
                                               4368ÿwhy4ÿ!I'm
                                                               6
 110ÿ0saying
 11    86#ÿ$$
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             50ÿ0There's
                      457568ÿnothing
                                346#ÿ2closely
                                           85ÿ7resembling
                                                       585)6#
 1%0ÿ0because
 13    )52985ÿ346#ÿ6  B50ÿ'
                nothing alike.     We5ÿare
                                         75ÿ)building
                                              966#ÿ3the45ÿ1Civic
                                                               6(62
 100ÿ0Towers
 14    578ÿ6ÿF66
               in Miami.
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             40ÿ0But
                      G93ÿ9ÿmight
                          you   6#43ÿ4have
                                         (5ÿsomething,
                                              85346#0ÿH    9
                                                              You
 16    6#43ÿ4(5ÿ)963ÿÿ
 180ÿ0might   have built a 1 3$837ÿtower
                            15-story     357ÿfrom
                                                &7ÿ3the45ÿ#ground
                                                              79
 190ÿ0up,
 17    9@"ÿ&for
             7ÿ5I@5"ÿ6
                example, inÿNew
                             D5ÿPOrleans
                                     758ÿ8someplace,
                                               5@250ÿP    7ÿyou
                                                              Or    9
 1A0ÿ0might
 18    6#43ÿ4(5ÿ75(35
              have renovatedÿ3two
                                ÿSection
                                     Q5236ÿA8ÿhousing
                                                  4986#ÿ@projects
                                                              775238
 1C0ÿ0in
 19    6ÿ8 5ÿ@7684ÿ938
           some             65ÿof&ÿDNew
                parish outside         5ÿPOrleans.
                                             758
 20E0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                50ÿ0I!ÿ95783
                        understand.
 2110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                40ÿ0So
                      Qÿ!ÿÿjust
                         I am  7983ÿtrying
                                      376#ÿ3toÿ#get
                                                     53ÿyou
                                                          9ÿ3toÿ3tell
                                                                    5
 220ÿ0me
       5ÿ4 3ÿ9ÿ346Bÿ6
           what you think is8ÿ3the
                                45ÿ@project
                                      77523ÿ3that
                                                43ÿyou9ÿhave
                                                            4(5
 23%0ÿ0worked
       7B5ÿÿ343ÿ83
               on that mostÿ2  85ÿresembles
                              closely    7585)58ÿ3the 45ÿ1Civic
                                                             6(62
 2400ÿ0Towers  project.0ÿAnd
       578ÿ@77523    5ÿ8soÿ&far,
                                     7"ÿthe
                                          345ÿonly
                                                ÿnames
                                                        58ÿyou've
                                                               96(5
 2530ÿ0given
       #6(5ÿ5ÿ75ÿ345ÿQ9  #7ÿFMill
              me are the Sugar     6ÿ5Apartment,
                                          @7353"ÿ3the 45
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Hr571&
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            vw      47

 010ÿ0
  1    34556789ÿ4475
       Terrytown Elementary 6ÿand
                                ÿ7the
                                      4ÿWest
                                           47ÿJefferson
                                                 4 458
 0!0ÿ0
  2    "8#$7%
       Hospital.
 0&0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             '%0ÿ0(8)ÿ98
                A.          )ÿhave
                      You would    04ÿ7to8ÿ1give
                                              $04ÿme4ÿ7the
                                                         4ÿ2job
                                                              83ÿlist
                                                                   $7
 040ÿ0
  4    78ÿ18
       to goÿ758)1ÿ$7%
              through it.0ÿI5ÿmean,
                                46ÿ9we4ÿdone
                                            84ÿ7tons
                                                    8ÿand
                                                          ÿ7tons
                                                               8ÿ8of
 07
  50ÿ09858ÿ
       work $94ÿ5ÿ7574
             since I startedÿ9with
                                $7ÿ7them,
                                        46ÿafter
                                                 745ÿI5ÿ1graduated.
                                                          5)74%
 0@
  60ÿ0I5ÿ9A7ÿ2)7ÿ#$98ÿ8
         can't              )7ÿat7ÿ7the
                just pick out         4ÿ7top
                                           8#ÿ8ofÿmy6ÿhead
                                                         4ÿaÿ2job
                                                                  83
 0B70ÿ077ÿ
       that 6ÿ77Aÿ#4  5 4976ÿ7that's
             says that's perfect,       7Aÿ7the
                                                 4ÿ8one
                                                      4ÿ7that
                                                           7
 0C
  80ÿ0resembles.
       54434%0ÿI5ÿ46
                       mean,ÿ68)ÿ1give
                             you    $04ÿme4ÿaÿ#project
                                                  582497ÿlist
                                                            $7ÿand
                                                                   
 0D
  90ÿ0I5ÿ98)
         could  go 89ÿ
            ÿ18ÿ  down andÿ#58336ÿ7tell
                             probably      4ÿ6you
                                                  8)ÿhow
                                                       89ÿ7they
                                                            46ÿare
                                                                   54
 1E
 100ÿ0close
       984ÿ85ÿ54434ÿ8  56ÿ6you
              or resemble or,    8)ÿ8know,
                                        896ÿ8or5ÿalike.
                                                    $84%
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.F%0ÿ0'ÿ5ÿ
                      And I 97ÿ7to8ÿmake
                            want         84ÿsure
                                               )54ÿ9we4ÿare
                                                          54ÿclear,
                                                              9456
 1!
 120ÿ0I5ÿ1)4ÿ38)7ÿÿ$
         guess              7$97$8ÿhere,
                about a distinction       454%0ÿ5I'mAÿGGÿI5ÿ9was
                                                               
 1&
 130ÿ087ÿ
       most #57$9)56ÿ$  745474ÿ$inÿ7the
             particularly interested           4ÿ#projects
                                                     582497ÿ7that
                                                                7
 14
 140ÿ068)ÿ# 4586ÿ04
       you personally   haveÿ98584ÿ8on,
                             worked      6ÿnot
                                              87ÿnecessarily
                                                    4945$6ÿ2just
                                                                   )7
 17
 150ÿ0HIPQ%
       PVGC.
 1@0ÿ0ÿ0ÿ0ÿ
 16         0ÿ0'%
                A.0ÿ05ÿ04
                      I haveÿ84ÿaÿlot
                             done        87ÿsince
                                            $94ÿ5Iÿstarted
                                                       7574ÿ9with
                                                                   $7
 1B
 170ÿ074ÿ
       them $ÿAE&%
             in '03.
 1C
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.F%0ÿ0R47ÿ4
                      Let meÿ84ÿsure
                             make     )54ÿ5I'm
                                            Aÿ9clear.
                                                  45%0ÿ3The
                                                            4ÿSSugar
                                                                  )15
 1D
 190ÿ0Mill
       T$ÿ'#57476ÿ   85ÿ4example,
             Apartments, for    U#46ÿdid$ÿ6you
                                                  8)ÿ9work
                                                       858ÿ8onÿ7that
                                                                  7
 !E0ÿ0#5824
 20         97V
       project?
 !10ÿ0ÿ0ÿ0ÿ0ÿ0'%0ÿ0
 21             A.    (4%
                      Yes.
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0F%0ÿ0
 22             Q-    7ÿ98)ÿhave
                      What would    04ÿ3been
                                           44ÿ6your
                                                  8)5ÿ2job
                                                         83ÿrole
                                                            584ÿ8or5
 !&0ÿ0283ÿ7
 23         $74ÿ7ÿ74ÿ7$
       job title            4ÿ8onÿ7that
                   at the time        7ÿ#project?
                                            582497V
 !40ÿ0ÿ0ÿ0ÿ0ÿ0'%0ÿ037ÿ9
 24             A.          ÿ$inÿG--Gÿright
                      That was           5$17ÿafter
                                                    745ÿA'05.
                                                          E7%0ÿSSo8ÿ5I
 !70ÿ09ÿ)#45$7447ÿ
 25                          854ÿ3because
       was superintendent foreman        49)4ÿI5ÿ9was
                                                      ÿhelping
                                                           4#$1
                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                            eecom
                                                                               fgh
                    DEPOSITION SOLUTIONS                     ijklmnopqkrlpsitpu
                                                             EsquireSolutions.  (I451
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            q      48

 010ÿ0
   1   345ÿ6789ÿ343ÿ55ÿ
       the guys that were 3  455ÿjust
                            there,     793ÿ4help
                                              5ÿrunning
                                                     76ÿcrews.
                                                              59
 0!0ÿ0
   2   "3ÿ9#3ÿ793ÿ$5
       It wasn't just me.0ÿ%  5ÿ4had
                             We    &ÿaÿ'few
                                           5ÿ(of'ÿ3them
                                                     45$ÿ)because
                                                           5795ÿit3
 0300ÿ09ÿÿ)6ÿ(53
       was a big project.
 010ÿ0ÿ0ÿ0ÿ
   4        0ÿ0Q.
               2 0ÿ0345ÿ35  83(ÿ4Elementary
                     The Terrytown      5$538ÿproject,
                                                       (53ÿwhat
                                                                  43
 0550ÿ09ÿ8(7ÿ(5ÿ(ÿ(
       was your  role or job)ÿ&description
                                593(ÿ(onÿ3that43ÿproject?
                                                           (536
 0670ÿ0ÿ0ÿ0ÿ0ÿ08A.0ÿ0343ÿ( 5ÿ"Iÿ9know
                     That one       (ÿ"Iÿwas
                                              9ÿ@@ÿ3that's
                                                       43#9ÿwhen
                                                               45ÿ"I
 0A0ÿ0
   7   9ÿ56ÿ593$
       was learning         36ÿso
                     estimating,    9(ÿ4he5ÿwas
                                              9ÿ3teaching
                                                   546ÿ$me5ÿ@--@ÿI"
 0B80ÿ09ÿ(96ÿ(69
       was working          &5ÿ3the
                    alongside    45ÿ5estimator,
                                       93$3(ÿ5estimating
                                                      93$36ÿ3the45
 09C0ÿ0(53ÿ&ÿ"ÿ455
       project  and I helped&ÿ6get
                                53ÿit3ÿ(off
                                          ''ÿ3the
                                               45ÿ6ground
                                                     (7&ÿ6going.
                                                             (6
 1D
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2 0ÿ0Once
                     E5ÿ8you
                            (7ÿ6got
                                 (3ÿit3ÿ(off
                                           ''ÿ3the
                                                45ÿ6ground,
                                                      (7&ÿwere
                                                               55
 11
 110ÿ08(7ÿ F(F5&ÿÿ345
       you involved  in theÿF 53ÿconstruction
                             vertical      (9373(ÿ@--@
 1!
 120ÿ0ÿ0ÿ0ÿ0ÿ08 A.0ÿ0Yes.
                     G59 0ÿI"ÿwas
                                9ÿinvolved
                                     F(F5&ÿinÿ@--@
 10
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2 0ÿ0H53ÿ$5
                     Let meÿ' 94ÿ$my8ÿIquestion.
                             finish         7593(
 11
 140ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿOnce
                     E5ÿ8you
                            (7ÿ6got
                                 (3ÿit3ÿ(off
                                           ''ÿ3the
                                                45ÿ6ground,
                                                      (7&ÿwere
                                                               55
 15
 150ÿ08(7ÿ F(F5&ÿÿ345
       you involved  in theÿF 53ÿconstruction
                             vertical      (9373(ÿ(of'ÿ3the
                                                               45
 17    94((ÿ345ÿ35(
 160ÿ0school,   the interiorÿimprovements
                                $(F5$539ÿ(of'ÿ3the 45
 1A
 170ÿ0construction
       (9373(ÿ395'
                     itself?6
 1B
 180ÿ0ÿ0ÿ0ÿ0ÿ08 A.0ÿ0G59
                     Yes.
 1C
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2 0ÿ034(76  4(73ÿ3the
                     Throughout     45ÿcourse
                                        (795ÿ(of'ÿ3the
                                                       45ÿproject,
                                                            (53
 !D0ÿ08(7ÿ
 20         55ÿF(F5&ÿ
       you were  involved inÿ3the
                                45ÿ3Terrytown
                                     583(ÿ4Elementary
                                                   5$538
 !1
 210ÿ0(536
       project?
 !!
 220ÿ0ÿ0ÿ0ÿ0ÿ08 A.0ÿ0G59
                     Yes.
 !0
 230ÿ0ÿ0ÿ0ÿ0ÿ02 Q.0ÿ08&ÿ34 5ÿ3the
                     And then    45ÿ4hospital
                                       (93ÿwork
                                                   (9ÿ3that
                                                         43ÿ8you
                                                               (7
 !1
 240ÿ0$53(5&ÿ'(ÿ%593ÿ
       mentioned for West P  5''59(ÿQHospital,
                            Jefferson      (93ÿ8you(7
 !5
 250ÿ0&53'5&ÿ&&6ÿ
       identified adding aÿ  534(795 0ÿ%Were
                             penthouse.        55ÿ8you
                                                      (7ÿactually
                                                           378
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Gr51'
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     IPQPRÿTUÿVWXYRW                                    cpqrstuÿvwxÿyv
                                      229
      PETER J. VICARI                                           October 16, 2018
     IPQPÿVWXYRWÿ̀PaPRYbÿXcaQRYXQcRÿdeÿcfWcÿXYghYbQiÿWagU
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            no      49

 010ÿ0
  1    34567589ÿ34ÿÿ
       involved              68
                  in that project?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2               0ÿ0!8"
                 A.   Yes.0ÿThat's
                             #$"ÿ6one 48ÿ%Iÿthink
                                               34&ÿ'was
                                                        "ÿ9done
                                                              648
 0(0ÿ0
  3    )8ÿ$110ÿ%ÿ&46'ÿ3
       after   '11, I know itÿ'was,
                                 "0ÿ'where
                                         88ÿI%ÿ'was
                                                   "ÿthe
                                                       8
 0140ÿ08"32 60ÿ68ÿ
       estimator,   project 2 438ÿand
                             manager      49ÿI%ÿ'was
                                                  "ÿinvolved
                                                     34567589ÿ3in4ÿa
 0540ÿ076ÿ6
       lot of)ÿ8ÿ93738"ÿ
                the dailies 6 )ÿthat
                             of  ÿone648ÿ5because
                                               86"8ÿ3itÿ'was
                                                              "
 0670ÿ0pretty
       88ÿ3484"8ÿ6)ÿ3   8343ÿthat
                intense of getting       ÿdone
                                              9648ÿ5because
                                                     86"8ÿ3itÿ'was
                                                                    "
 0790ÿ0an
       4ÿ6 8343ÿ6"3
          operating          70ÿand
                      hospital,     49ÿwe'8ÿ'were
                                              88ÿadding
                                                    99343ÿaÿlot76ÿof
                                                                    6)
 08@0ÿ0things
       343"ÿ6ÿ8ÿ68   343ÿrooms.
                to the operating      662" 0ÿSoA6ÿthere
                                                   88ÿ'was
                                                            "ÿaÿlot
                                                                   76
 09B0ÿ0of
       6)ÿ6 6934364ÿ3""
          coordination       68"ÿ'with
                          issues    3ÿthat
                                          ÿone,
                                                6480ÿ5but
                                                        6ÿ'with
                                                              3ÿan4
 1C0ÿ0open
 10    684ÿhospital.
             6"37
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11              D 0ÿ0What
                      EÿF Fÿcan
                            --   4ÿ8you
                                       66ÿidentify
                                           39843)8ÿaÿproject
                                                           68
 10ÿ0that
 12    ÿyou
             866ÿ58ÿ8"6  4778ÿ'worked
                  have personally      6&89ÿon64ÿthat
                                                   ÿ3involved
                                                           4567589
 1(0ÿ0new
 13    48'ÿconstruction
             64"6364ÿ6)ofÿ ÿ7least
                               at   8"ÿfour
                                           )66ÿseparate
                                                  "88ÿ)floors
                                                                766"
 110ÿ0or
 14    6ÿ3 38
          higher?
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15               0ÿ0And
                      49ÿ 67ÿ"stories
                           actual     638"ÿFFÿwhen
                                                   '84ÿyou
                                                         866ÿ"say8
 170ÿ0stories.
 16    "638"
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17              D 0ÿ0Sure.
                      A68
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿSo,
 18                   A60ÿ)6 ÿ8example,
                           for   G2780ÿthe 8ÿbuilding
                                                  56379343ÿwe '8ÿare
                                                                   8
 1B0ÿ0in
 19    34ÿ3 3ÿ46'0ÿ'8ÿ
          right   now, we are8ÿ6on4ÿthe
                                      8ÿ114th
                                           1ÿfloor,
                                                )7660ÿ"so6ÿthere
                                                                88
 C0ÿ0are
 20    8ÿ1141ÿ"88ÿ)76 6" 0ÿA
                separate floors.       6ÿusing
                                      So  6"343ÿthat
                                                   ÿas"ÿan4
 10ÿ0understanding
 21    6498"49343ÿ6)ofÿ' ÿaÿ)floor
                           what       766ÿ3is,
                                              "0ÿmy
                                                  28ÿHquestion
                                                       68"364ÿ3is,"0
 0ÿ0tell
 22    877ÿme
             28ÿ'ÿ68
                 what projectÿ8you've
                                 66$58ÿbeen
                                          5884ÿinvolved
                                                34567589ÿ3in4ÿ'where
                                                                  88
 (0ÿ0it
 23    3ÿ'
          was"ÿ48'ÿ64"6  364ÿ6of)ÿ)four
                new construction          66ÿ)floors
                                                766"ÿ6of)ÿa
 10ÿ0building
 24    56379343ÿ6ÿ268
                  or more.
 40ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25               0ÿ0That
                      #ÿ%Iÿ 8"64778ÿbuilt?
                               personally     56370ÿ% Iÿ 584$
                                                           haven't


                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijdhklhm
                                                            EsquireSolutions.com
                                                                               !p81)
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           u       50

 010ÿ0
   1   34567ÿ89ÿ84ÿ78 5ÿ8orÿhigher,
       built one four stories          5ÿ3but47ÿI've
                                                       ÿ3built
                                                              4567
 020ÿ03456!59ÿ7"7ÿ"ÿ
       buildings that are  84ÿstories
                           four    785ÿ5in9ÿheight.
                                                   57#
 0$0ÿ0ÿ0ÿ0ÿ0ÿ0
   3           %#0ÿ0&9!ÿ'
               Q.   And weÿ' 566ÿ(come
                            will     8)ÿ3back
                                            "(0ÿ7to8ÿ7that
                                                       "7
 010ÿ0
   4   !5759(7589ÿ)8)97"
       distinction         562#0ÿ3Let
                   momentarily.        7ÿ)meÿ4just
                                                 47ÿ)make
                                                       "0ÿsure
                                                              4ÿI
 050ÿ0
   5   49!7"9!#0ÿ659ÿ
       understand.  Using ' "7ÿIÿhave
                           what        "ÿ!described
                                              (53!ÿ"asÿ"a
 070ÿ0
   6   688ÿ8ÿ'ÿ"ÿ89
       floor, so we are onÿ7 ÿ114th
                            the    17ÿfloor,
                                           688ÿ5isÿ7there
                                                        ÿ"any
                                                                92
 080ÿ0
   7   (8974(7589ÿ984(
       construction        7ÿ7that
                     project   "7ÿ@PVGC
                                       ABCÿhas
                                              "ÿ3been
                                                   9ÿ5involved
                                                         986!ÿ5in9
 0D80ÿ07"7ÿ
       that 5986!ÿ9'ÿ( 8974(7589ÿ8ofÿfour
            involved new construction             84ÿfloors
                                                        688ÿ8or
 0E0ÿ0
   9   )8F
       more?
 1G0ÿ0ÿ0ÿ0ÿ
  10        0ÿ0&#
               A.0ÿ0Hÿ9'
                    Of newÿ( 8974(7589F0ÿINo.
                            construction?          8#0ÿHOfÿ9new
                                                              '
 110ÿ0
  11   (8974(7589ÿ98#
       construction,  no.
 1120ÿ0ÿ0ÿ0ÿ0ÿ0%#0ÿ0&9!ÿ44
               Q.          7ÿso8ÿIÿ(cover
                    And just            8ÿ7theÿ4universe
                                                      95ÿ8of
 1$0ÿ0
  13   284ÿ
       your P959(ÿ5
            experience, isÿQQÿ   8ÿ"any
                                 for    92ÿ(company
                                              8)9"92ÿ5in9ÿ"any
                                                            92
 110ÿ0
  14   ("9"(572ÿ"ÿ284ÿ
       capacity, have you  ÿ3been
                           ever    9ÿ5involved
                                           986!ÿ5in9ÿ9new
                                                           '
 150ÿ0
  15   (8974(7589ÿ8ÿ"ÿ 74(74ÿ7that
       construction of a structure        "7ÿhas
                                                 "ÿfour
                                                      84ÿfloors
                                                            688ÿ8or
 170ÿ0
  16   )8F
       more?
 18
  170ÿ0ÿ0ÿ0ÿ0ÿ0&#
               A.0ÿ0I8#0ÿ
                    No. R  84ÿstories
                          Four    785ÿ5in9ÿheight,
                                                  57ÿ2yes.
                                                            #
 1D0ÿ0ÿ0ÿ0ÿ
  18        0ÿ0%#
               Q.0ÿ0S"7ÿ5
                    What isÿ2your
                               84ÿ!definition
                                       5957589ÿ8ofÿ"aÿstory?
                                                            782F
 1E0ÿ0ÿ0ÿ0ÿ
  19        0ÿ0&#0ÿ0T"7ÿ(
               A.          846!ÿ3beÿ)many.
                    That could          "92#
   G0ÿ0ÿ0ÿ0ÿ0ÿ0%#0ÿ0B5ÿ)
  20           Q.   Give meÿ8one
                               9ÿ7that
                                     "7ÿ2you
                                            84ÿ4used
                                                  !ÿ3before.
                                                        8#
   10ÿ0ÿ0ÿ0ÿ0ÿ0&#0ÿ0&ÿ78
  21           A.   A story2ÿ(could
                               846!ÿ3beÿ"anything.
                                            92759#0ÿIÿ)mean,
                                                              "9ÿ5it7
  220ÿ0(846!
       couldÿ3ÿ7ÿ57
             be the heightÿ8 ÿ"aÿfloor.
                            of       688#0ÿIÿ)mean,
                                                   "9ÿ5it7ÿ(could
                                                               846!
   $0ÿ03ÿ1G
  23   be 40ÿ7#
             feet.0ÿ7ÿ(84 6!ÿ3beÿ550Gÿfeet.
                    It could              7#0ÿIt7ÿ(could
                                                       846!ÿ3beÿ55
   10ÿ07#
  24   feet.
   50ÿ0ÿ0ÿ0ÿ0ÿ0%#0ÿ0U"ÿ2
  25           Q.          84ÿheard
                     Have you   "!ÿ9people
                                          896ÿ4use
                                                   ÿ7the
                                                        ÿ7term
                                                              )
    @ESQUIRE                                                800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                    DEPOSITION SOLUTIONS                     h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 vA1
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     GHIHPÿRSÿTUVWPU                                    ahipqrsÿtuvÿwxty
                                      229
      PETER J. VICARI                                           October 16, 2018
     GHIHÿTUVWPUÿXHYHPW`ÿVaYIPWVIaPÿbcÿadUaÿVWefW`IgÿUYeS
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            lt      51

 010ÿ0
  1    34567ÿ89ÿ4ÿ59346
       story                  4859ÿ8industry?
               in the construction       93467
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2              0ÿ0
                 A.        !ÿ7yes.
                       Well,    3
 0"0ÿ0ÿ0ÿ0ÿ0ÿ0
  3              #0ÿ0$4ÿ
                 Q.    What do5ÿ4they
                                   7ÿ4typically
                                         7%8$ 7ÿ&mean$9ÿwhen
                                                          '9ÿthey
                                                                47
 04(0ÿ0use
       3ÿ4the
             ÿ'56ÿ34567
                 word story?
 05)0ÿ0ÿ0ÿ0ÿ0ÿ0A.0ÿ0The
                       0ÿ1floor,
                              556!ÿ4the
                                      ÿ2--2ÿcould
                                              5 ÿ&mean
                                                       $9ÿ$anything.
                                                             974893
 04
  60ÿ0I5ÿ&$ 922
         mean-
 0670ÿ0ÿ0ÿ0ÿ0ÿ0Q.#0ÿ0Does
                       753ÿ8it4ÿusually
                                   3$ 7ÿ8indicate
                                             98$4ÿa$ÿ1floor
                                                           556ÿ4to5ÿ$a
 08
  80ÿ0ceiling?
       8 893
 09
  90ÿ0ÿ0ÿ0ÿ0ÿ0A.       @5 
                 0ÿ0Could.
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10              #0ÿ0So
                       B5ÿ89ÿ
                          in 7  56ÿ&mind,
                               your   89!ÿsometimes
                                             35&48&3ÿ$aÿ3story
                                                             4567
 11    5 ÿCÿ1
 110ÿ0could         556ÿ45ÿ
               be floor       8 893ÿ$and
                         to ceiling      9ÿ3sometimes
                                              5&48&3ÿit84ÿdoesn't
                                                              539D4
 10ÿ0have
 12    $Eÿ45ÿ$Eÿ$ÿ1    556ÿand
              to have a floor    $9ÿ$aÿceiling?
                                          8 893
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13              0ÿ0Depends.
                       7%93
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14              #0ÿ0What
                       $4ÿ' 5 ÿ8it4ÿdepend
                             would        %9ÿon?
                                                  59
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15              0ÿ0I5ÿ&$9
                         mean,!ÿ7you're
                                   5D6ÿtaking
                                          4$F893ÿthis
                                                   483ÿ3story
                                                          4567
 140ÿ0thing
 16    4893ÿ22ÿ46D3ÿ$
               -- there's allÿ    811694ÿ4types
                                  different    7%3ÿof51ÿways
                                                         '$73ÿ7you
                                                                5
 160ÿ0could
 17    5 ÿlook
                55Fÿ$4ÿ84
                    at it.0ÿI 5ÿdon't
                                   59D4ÿFknow.
                                          95'0ÿB  4567ÿcould
                                                  Story   5 ÿCbe
 180ÿ0anything.
 18    $9748930ÿIt54ÿ5
                        couldÿCbeÿ22ÿlike
                                         8Fÿ5Iÿ4told
                                                  5 ÿ7you
                                                        5ÿCbefore,
                                                             156!
 190ÿ0the
 19    4ÿheight
             834ÿ51ÿ$ÿC8     893!ÿit
                    of a building,     84ÿcould
                                             5 ÿCbeÿ22ÿit
                                                          84ÿcould
                                                               5 
 A0ÿ0be
 20    Cÿ$9 748930ÿThat's
           anything.    0$4D3ÿ'what
                                   $4ÿ5Iÿwas
                                          '$3ÿ8informed
                                                9156&ÿ'when
                                                           9ÿI5ÿdid
                                                                    8
 21    483ÿ'5
 10ÿ0this        ÿlicensing
              whole  893893ÿdeal$ ÿwhere
                                       '6ÿ7you've
                                                5DEÿ3gone
                                                         59ÿ'with
                                                               84
 0ÿ0it.
 22    840ÿ083ÿ'$3ÿ35&4    893ÿ5Iÿwas
             This was something        '$3ÿ$advised
                                              E83ÿCby7ÿcounsel
                                                          593
 "0ÿ0on,
 23    59!ÿ3so5ÿ483ÿ83ÿ'$4
                this is whatÿ8   4ÿ8is.
                                it   3
 (0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24              #0ÿ0D
                       We'llÿ22
 )0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25              0ÿ05ÿF95'
                      I know. 
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghfijfk
                                                            EsquireSolutions.com
                                                                               mn611
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     PQRQSÿUVÿWXY`SX                                    dqrstuvÿwxyÿw
                                      229
      PETER J. VICARI                                           October 16, 2018
     PQRQÿWXY`SXÿaQbQS`cÿYdbRS`YRdSÿefÿdgXdÿY`hi`cRpÿXbhV
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            o      52

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056ÿ789
                Q.   We will9ÿ6explore
                                 96ÿthat,
                                           ÿdon't
                                                   ÿyou
                                                          !"ÿ7worry.
                                                                !4
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  2                  5ÿ$
                     What  Iÿ7 ÿto
                              want   ÿfocus
                                         %&"'ÿon,
                                                  ÿthough,
                                                       "(ÿ8is'
 03)0ÿ0you
       !"ÿ'8ÿÿ'!ÿ&  "9ÿ0be6ÿfrom
            said a story could        %1ÿaÿ%floor
                                                 9ÿtoÿa
 0420ÿ0ceiling,
       &6898(ÿ8ÿ66'
                 it depends.40ÿAnd
                                 3ÿ$I'm1ÿtrying
                                             !8(ÿtoÿ%find
                                                          8ÿout
                                                               "
 0540ÿ0what
       7ÿyou
             !"ÿ16ÿ8ÿ6 6'ÿon
                 mean it depends     ÿwhat?
                                         75
 0660ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0The
                     76ÿ8' '"6ÿatÿhand,
                          issue         ÿI$ÿ(guess.
                                                  "6''4
 0780ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0What
                     5ÿ 6'ÿthat
                           does     ÿ1mean?
                                          65
 0890ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0What
                     5ÿ! "ÿare
                           you    6ÿ&calling
                                        998(ÿaÿstory
                                                   '!ÿatÿthe
                                                                6
 09@0ÿ0time
       816ÿ!"ÿ6ÿ&  998(ÿ8itÿaÿ'story.
             you are calling            !4
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             340ÿ0Give
                     B8C6ÿ1me6ÿ'some
                                 16ÿexamples
                                      6196'ÿof%ÿ7when
                                                       6ÿ8itÿwould
                                                                7"9
 110ÿ0be
 11    06ÿ8 %%664
           different.
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             340ÿ0The
                     76ÿD" 616ÿ8is'ÿaÿ300-foot
                          Superdome           )AAE%ÿtall
                                                          99
 1)0ÿ0building.
 13    0"898(40ÿIt's
                   $ 'ÿ6
                         oneÿ' !ÿ0but
                              story,     "ÿit's
                                             8 'ÿ%four
                                                     "ÿ'stories
                                                           86'ÿin8
 14    68(ÿÿ164
 120ÿ0height   or more.
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             340ÿ0So
                     Dÿ96
                         let's'ÿtalk
                                  9Fÿabout
                                         0"ÿthe
                                                 6ÿSuperdome.
                                                     D"6164
 160ÿ0You
 16          8ÿ8
       G"ÿ'said    'ÿ)AAE%
                 it's       66ÿin
                      300-feet          68(40ÿ$
                                  8ÿheight,      'ÿthat
                                                  Is   ÿ7what
                                                              ÿ!you
                                                                    "
 180ÿ0said?
 17    '85
 190ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             340ÿ0Whatever
                     56C6ÿit 8ÿ8is.
                                      '40ÿ$Iÿ1  6ÿit's
                                               mean,  8 'ÿtall.
                                                              994
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             340ÿ0You
                     G"ÿ C6 ÿ1measured
                          haven't     6'"6ÿ8itÿorÿlooked
                                                        9F6ÿ"up
 #A0ÿ0the
 20    6ÿ1measurements,
             6'"616'ÿ0but
                            "ÿEE
 #10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21             340ÿ0It's
                     $ 'ÿtall.
                            994
 ##0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             340ÿ0Okay.
                     HF!40ÿ3  99ÿright.
                              All    8(40ÿBut
                                              I"ÿ!you
                                                     "ÿ&called
                                                          996ÿ8it
 #)0ÿ0one
 23    6ÿ'story.
             !40ÿWhy
                    5!ÿ8
                         didÿ! "ÿcall
                              you   &99ÿ8itÿone
                                                6ÿ'story?
                                                     !5
 #20ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             340ÿ0The
                     76ÿ&6 6ÿ8is'ÿone
                          center        6ÿ'story.
                                              !4
 #40ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             340ÿ0What
                     5ÿ! "ÿ1mean
                           you    6ÿthe
                                         6ÿcenter?
                                             &6650ÿ7   6ÿdome
                                                        The    16
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijdkeilmin
                                                            EsquireSolutions.com
                                                                               Gp61%
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            qr      53

 010ÿ0
  1    3456789
       itself?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ06ÿ6
                A.           46ÿof8ÿ4the
                      The center         6ÿdome.
                                             60ÿWhen
                                                      !6ÿyou
                                                             "#
 0$0ÿ0
  3    54%ÿ%4ÿ46ÿ646
       stand  at the centerÿat%4ÿ4the
                                   6ÿ&bottom,
                                         44 'ÿit's
                                                 34(5ÿ%aÿone6
 0)40ÿ054"
       story,'ÿ&#4ÿ00
               but
 0510ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                20ÿ0Meaning
                      36%34ÿwhat?
                               5%490ÿThere
                                         66ÿ3is5ÿnoÿ8floor
                                                           7ÿ%above
                                                                  &66
 0670ÿ0you?
       "#9
 0780ÿ0ÿ0ÿ0ÿ0ÿ0A.
                0ÿ0I9ÿ4#65 5'ÿ"yeah.
                        guess,    6%
 08@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                20ÿ0Well,
                      !677'ÿ"you
                              #ÿ#used
                                   56ÿ4the
                                          6ÿword
                                             5ÿone6ÿ5story.
                                                            4"
 09A0ÿ0What's
       !%4(5ÿ"#ÿ6833  43ÿof8ÿone
               your definition         6ÿstory
                                           54"ÿ5when
                                                    6ÿ"you#ÿ%are
                                                                 6
 1B0ÿ0talking
 10    4%7C34ÿ%&#4ÿ46ÿD   #353%%ÿESuperdome?
                about the Louisiana       #F6 69
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             0ÿ0Like
                      D3C6ÿ9Iÿsaid,
                              5%3'ÿ3it's
                                       4(5ÿone
                                             6ÿstory
                                                 54"ÿ3inÿ4the6
 10ÿ0center,
 12    646'ÿ&6%#56ÿ34(
                because it's 5ÿ8from
                                  ÿfloor
                                      87ÿto
                                             4ÿceiling.
                                                   63734
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             20ÿ0But
                      G#4ÿ"
                          you#ÿ5said
                                 %3ÿit's
                                      34(5ÿ4three
                                             66ÿ00ÿhowever
                                                         5666
 1)0ÿ0tall
 14    4%77ÿit
             34ÿ35
                is.0ÿ$BBÿ86  640ÿE
                     300 feet.      ÿit
                                   So  34ÿhas
                                            %5ÿmore
                                                 6ÿthan
                                                        4%ÿfour
                                                              8#
 110ÿ0stories
 15    54365ÿ3ÿ63449
                in height?
 170ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16             0ÿ094(5ÿ   6ÿ4than
                     It's more     %ÿ8four
                                          #ÿstories
                                               54365ÿ3inÿheight.
                                                                6344
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17             20ÿ0HC%"
                     Okay.0ÿWhat
                              !%4ÿis
                                    35ÿ4the
                                          6ÿheight
                                               6344ÿof 8ÿa%ÿ5story
                                                                4"
 1@0ÿ0in
 18    3ÿ4
          the6ÿ683343ÿ4  %4ÿ"you
               definition that     #ÿjust
                                       I#54ÿused?
                                             #569
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             0ÿ0It's
                      94(5ÿnot
                             4ÿdefined.
                                  6836
 B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20                   Eÿ5
                20ÿ0So  howÿ ÿ9Iÿknow
                              do    C5ÿ00ÿif 38ÿ9Iÿwas
                                                      5%5ÿ4going
                                                             34ÿ4to
 21    834#6ÿ#4ÿ5ÿ
 10ÿ0figure             %"ÿstories
               out how many   54365ÿ4tall
                                          %77ÿ4the
                                                6ÿESuperdome
                                                      #F6 6ÿ3is,5'
 0ÿ0what
 22    5%4ÿwould
             5#7ÿ&6ÿ
                   be my"ÿ54 %%ÿof8ÿmeasurement
                          standard         6%5#6 64ÿof8ÿone 6
 $0ÿ0story?
 23    54"9
 )0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             0ÿ0You
                      P#ÿ5 #7ÿhave
                          would    %66ÿto4ÿfigure
                                            834#6ÿ5what%4ÿ4the
                                                              6ÿ0-­0
 10ÿ0the
 25    46ÿ53Q6ÿ5345ÿ8ÿ%
            size wings of aÿ&  #3734ÿhave
                              building     %66ÿ3inÿdifferent
                                                    388664
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Ps618
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     GHIHPÿRSÿTUVWPU                                    ahipqrsÿtuvÿwxty
                                      229
      PETER J. VICARI                                           October 16, 2018
     GHIHÿTUVWPUÿXHYHPW`ÿVaYIPWVIaPÿbcÿadUaÿVWefW`IgÿUYeS
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            lm      54

 010ÿ0
  1    3456378ÿ9ÿ734ÿ99  80ÿ
       heights of the floors.     Iÿ  4ÿit's
                                      mean,  578ÿallÿdependent
                                                          4!4 47
 0"0ÿ0
  2    #37ÿ734ÿ$3574$7ÿ
       what  the architect 9 ÿ7the
                            or   34ÿ4engineers
                                       65448ÿspecifies
                                                   8!4$5548ÿ9on
 0%
  30ÿ0#37ÿ734ÿ345637ÿ9ÿ
       what the height of 7  34ÿfloor
                            the   99ÿis.
                                         580ÿ&  37ÿcould
                                               That    $9' ÿ(be4
 04)0ÿ0anything.
       07356
 0510ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                20ÿ0Iÿ739'637ÿ#we4ÿalready
                        thought      4 0ÿagreed
                                                 644 ÿ7there
                                                          344ÿ5is8
       90ÿ94ÿ99ÿ5ÿ7
 0630ÿ0only                 34ÿSuperdome.
             one floor in the  4'!4 94
 0750ÿ0ÿ0ÿ0ÿ0ÿ0A.
                60ÿ0Superdome
                      4'!4 94ÿaround
                                 9' ÿ7the34ÿ7--7ÿaround
                                                      9' ÿthe
                                                             734
 0880ÿ0perimeter
       !45474ÿ38ÿ   5447ÿ7--7ÿdifferent
                  has different         5447ÿareas
                                                    48ÿ7that
                                                             37ÿare
                                                                   4
 0990ÿ0different
        5447ÿ3456378ÿ9
                  heights of   5447ÿlevels.
                            ÿdifferent      4@48
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             20ÿ0B4ÿ
                      Well, 47ÿme4ÿask
                            let        8Cÿit
                                          57ÿ7this
                                               358ÿ#way.
                                                       00ÿIf
                                                             ÿI
 11    8C4 ÿ09'ÿ79ÿ69ÿ4
 110ÿ0asked                 8'4ÿ3how
              you to go measure     9#ÿmany
                                         0ÿstories
                                              879548ÿ7tall
                                                          ÿ7the
                                                                 34
 1"0ÿ0Superdome
 12    4'!4 94ÿ58ÿ74ÿ
                  is, tell  4ÿwhat
                            me #37ÿyou'd
                                       09' ÿdo.
                                               9
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             60ÿ0
                     I'dÿ69
                          goÿ5ÿ7the
                             in   34ÿcenter
                                       $474ÿand
                                                  ÿmeasure
                                                       48'4ÿfrom
                                                                 9
 1)0ÿ0the
 14    734ÿfloor
             99ÿÿ734ÿ# 0ÿto
                  all the way  79ÿthe
                                    734ÿroof.
                                          99
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             20ÿ06
                     Andÿ5
                          ifÿ09'ÿ3had
                             you     ÿaÿmeasuring
                                            48'56ÿ7tape
                                                         !4ÿ9or
 16    875$Cÿ737ÿ$9'
 130ÿ0stick   that couldÿ4 $3ÿ7that
                          reach   37ÿ7tall,
                                         ÿ0you
                                                 9'ÿ#would
                                                       9' ÿcome
                                                             $94ÿ'up!
 150ÿ0with
 17    #573ÿÿ'(4ÿ9ÿ4  47ÿ300-feet?
             a number of feet,   %AA7447D
 180ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             60ÿ0E5637
                     Right.0ÿE 5637
                              Right.
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             20ÿ049ÿ09'
                     So youÿ# 9' ÿ$call
                             would     ÿthat
                                            737ÿhow
                                                   39#ÿmany
                                                         0
 "A0ÿ0stories
 20    879548ÿ734D
                then?
 "10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21             60ÿ078ÿ
                     It's aÿ9 478790ÿ(building.
                             one-story      '5 56
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             20ÿ0F'7ÿ(4 94ÿ0you
                     But before     9'ÿ8said
                                         5 ÿit's
                                              578ÿmore
                                                       94ÿ7than
                                                             3
 "%0ÿ0four
 23    9'ÿstories
             879548ÿ5ÿ345 637D
                      in height?
 ")0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             60ÿ07ÿ58
                     It is.0ÿ 78ÿmore
                              It's     94ÿ7than
                                             3ÿfour
                                                    9'ÿstories
                                                         879548ÿ5in
 "10ÿ0height
 25    345637ÿ#573ÿÿ9478  790ÿbuilding.
               with a one-story   ('5 560ÿ     78ÿ7the
                                                 It's    34ÿ8same
                                                              4ÿ77
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghfijfk
                                                            EsquireSolutions.com
                                                                               no41
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            qq      55

 010ÿ0
  1    3456ÿ478ÿ698ÿ689
       it's the same scenario.3
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2              0ÿ0ÿ
                 Q.         8649 ÿthat.
                       I understand    4794
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  3                    "4ÿ#7
                       But    8ÿ$you
                           when    ÿ9are
                                        8ÿsaying
                                            69$3%ÿ3it's
                                                       456ÿmore
                                                              8ÿ4than
                                                                     79
 04&0ÿ0four
       'ÿstories
             64386ÿ3ÿ783   %74(ÿwhat
                       in height,   #794ÿdoÿ$you
                                                ÿmean
                                                     89ÿ)by$ÿa9
 0500ÿ0story?
       64$1
 0620ÿ0ÿ0ÿ0ÿ0ÿ0A.30ÿ0From
                       4ÿ'floor
                              5ÿ4toÿceiling
                                          8353%ÿof'ÿ9aÿparticular
                                                          694359
 0770ÿ0floor.
       '5
 0880ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0Well,
                       9855(ÿ4that
                               794ÿ%goes
                                     86ÿ)back
                                            9@ÿto
                                                 4ÿit
                                                     34ÿ)being
                                                           83%ÿone
                                                                   8
       64$(ÿ4ÿ8ÿ479
 09A0ÿ0story,  not more than  ÿ'four.
                                  
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10              30ÿ0You're
                       C58ÿconfusing
                                '63%ÿD--Dÿ$you
                                                 ÿare
                                                     98ÿ4taking
                                                            9@3%
 11    4736ÿ9
 110ÿ0this   andÿ43%ÿ47
                  turning this36ÿaround
                                  9 ÿ4ten
                                            8ÿdifferent
                                                 3''884ÿ#ways,
                                                               9$6(ÿI
 10ÿ0mean—
 12    89DD
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13              0ÿ0Actually,
                       34955$(ÿI'm
                                    5ÿonly
                                          5$ÿdoing
                                                3%ÿit34ÿ3inÿ4two.
                                                                 #
 1&0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14              30ÿ0No.
                       EÿC
                           Youÿ9are
                                  8ÿnot.
                                       4
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15              0ÿ0And
                       3 ÿ5
                           I'mÿusing
                                  63%ÿwhat
                                        #794ÿyou
                                               $ÿ%gave
                                                     9F8ÿme.
                                                            80ÿG  
                                                                  So
 120ÿ0let
 16    584ÿ 8ÿ4$ÿ9
            me  try andÿ649
                         start4ÿover.
                                  F8
 170ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿAll
 17                    355ÿ3 %740ÿG
                           right.    Soÿone
                                          8ÿ#way
                                                9$ÿ4toÿ5look
                                                          @ÿat
                                                               94ÿ7how
                                                                     #
 180ÿ0many
 18    9$ÿ64386ÿ478ÿH    36399ÿGSuperdome
             stories the Louisiana        68 8ÿ3is,6(ÿ9as6ÿyou
                                                               $
 1A0ÿ0described
 19     863)8 ÿ34(ÿ36ÿ4
                    it, is toÿcall
                               955ÿ3it4ÿone
                                           8ÿstory
                                               64$ÿ)because
                                                        8968ÿ3it4
 B0ÿ0has
 20    796ÿone
             8ÿ'5ÿ9
                 floor andÿ  8ÿceiling
                            one    8353%ÿ3inÿ4the  8480ÿI
                                                 78ÿcenter.        3 ÿI
                                                                  Did
 21     8649 ÿ4794ÿ3%
 10ÿ0understand              741
                     that right?
 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22              30ÿ0P3%74
                       Right.
 !0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23                    Okay.0ÿ"
                 0ÿ0Q@9$     4ÿ$you
                               But   ÿ9also
                                           56ÿ6said
                                                 93 ÿit34ÿ3is6ÿmore
                                                                 8
 &0ÿ0than
 24    479ÿ'ÿ64386ÿ3
             four stories in  ÿheight
                                783%74ÿat 94ÿ4the
                                               78ÿ6same
                                                    98ÿ4time.
                                                           380ÿI   3
                                                                   Did
 00ÿ0Iÿ
 25          8649 ÿ4794ÿ
         understand           3%741
                       that right?


                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Cr81'
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     IPQPRÿTUÿVWXYRW                                    cpqrstuÿvwxÿyv
                                      229
      PETER J. VICARI                                           October 16, 2018
     IPQPÿVWXYRWÿ̀PaPRYbÿXcaQRYXQcRÿdeÿcfWcÿXYghYbQiÿWagU
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            nw      56

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0567894
                A.    Right.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             40ÿ0Okay.
                Q.    40ÿ3  ÿyou
                               Are   ÿusing
                                            6!7ÿ9the
                                                  8ÿ9term
                                                        "ÿstory
                                                               9
 0#0ÿ0
  3    $698ÿÿ%6&&!9ÿ%
       with                  &6!696!ÿfor
             a different definition      &ÿeach
                                              '8ÿ$wayÿyou
                                                            ÿjust
                                                                 ( 9
 04)0ÿ0described
       % '60%ÿ691
                   it?
 02
  50ÿ0ÿ0ÿ0ÿ0ÿ0A.340ÿ039ÿ
                      Story '  4%ÿ0beÿan
                             could       !ÿ58-foot
                                              6&9ÿ8height
                                                        6789ÿorÿa
 07    186&99ÿÿ16&99
  60ÿ010-foot,    a 12-foot,ÿ aÿ15-foot
                                  126&9ÿhigh
                                            8678ÿ&floor,
                                                    440ÿI@ÿ"mean
                                                                  !
 0A0ÿ0
  7    $8!ÿyou
       when  ÿsay
                   ÿ&ÿ  96 ÿ6in!ÿ8height,
                       four stories         67899ÿyouÿcould
                                                          '4%ÿ9take
                                                                    
 050ÿ0
  8    !ÿ"measurement
       any    "!9ÿ!%
                          andÿ" ÿit
                               make  69ÿ"more
                                          ÿ9than
                                                 8!ÿ&four
                                                        ÿstories.
                                                               96 4
 0B0ÿ0ÿ0ÿ0ÿ
  9          0ÿ0Q.
                40ÿ0C89D
                      What'sÿ9  8ÿstandard
                               the   9!%%ÿheight
                                                86789ÿof&ÿaÿstory?
                                                                  91
 180ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10             340ÿ0E8ÿ
                      There 6isÿ!  !40ÿ@
                                  none.   Iÿ" !9ÿ9that's
                                             mean,     89D ÿ66
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             40ÿ0Tell
                      E44ÿ"meÿ$what
                                  89ÿ9the
                                        8ÿrange
                                            !7ÿof&ÿ8heights
                                                         6789 ÿ6is
 10ÿ0for
 12    &ÿaÿstory?
               91
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             340ÿ0That
                      E89ÿ !7ÿ6isÿsoÿ"much
                            range            '8ÿ6in!ÿcommercial
                                                       '""'64
 1)0ÿ0applications.
 14    FF46'96! 4
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             40ÿ0What's
                      C89D ÿ9the
                                8ÿrange
                                     !7ÿ6in!ÿresidential?
                                                 6%!9641
 170ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16             340ÿ0That
                      E89ÿ !7 ÿ9too,
                            ranges     9ÿ$when
                                             8!ÿyou
                                                  ÿ7got
                                                         9ÿ58-foot
                                                               6&9
 1A0ÿ0ceilings,
 17    '646!7 9ÿÿ79ÿ   86&9ÿceilings,
                   you got 20-foot     '646!7 40ÿI@ÿ"mean,
                                                         !9ÿ9there
                                                                  8
 150ÿ0is
 18    6 ÿ!
           noÿspecific
               F'6&6'ÿ!"0  ÿthat
                         number   989ÿsays
                                          ÿ9this
                                                86 ÿis
                                                     6 ÿaÿstory.
                                                              94
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             40ÿ0And
                      3!%ÿ$8 !ÿyou
                           when    ÿ9tell
                                        44ÿme
                                             "ÿ6in!ÿ9the
                                                       8
 80ÿ0residential
 20     6%!964ÿFF46'   96!ÿ9that
                     application     89ÿ6it9ÿ'could
                                                4%ÿbe0ÿan!ÿ58-foot
                                                                 6&9
 21    '446!7ÿÿ69ÿ'4%
 10ÿ0celling    or it couldÿbe0ÿaÿ112-foot
                                       6&9ÿ'celling,
                                                 446!79ÿthe98
 0ÿ0measurement
 22    " "!9ÿ7
                     goesÿ& "ÿ9the
                           from    8ÿ&floor
                                        4ÿto
                                              9ÿthe
                                                  98ÿ'celling
                                                         446!7ÿ9to
 #0ÿ0get
 23    79ÿ9 89ÿ"
            that      "!9Gÿ6isÿ9that
                  measurement;         89ÿright?
                                            67891
 )0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             340ÿ0Right.
                      567894
 20ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             40ÿ0So
                      3ÿ6&ÿ
                          if  ÿ8have
                              you   Hÿan!ÿ8-foot
                                             56&9ÿceiling,
                                                       '646!79ÿ9the8
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijdhklhm
                                                            EsquireSolutions.com
                                                                               op1&
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     cdedfÿhiÿpqrsfq                                    wÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     cdedÿpqrsfqÿtdudfsvÿrwuefsrewfÿxyÿwqwÿrssveÿqui
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           |}       57

 010ÿ0
  1   3456784349ÿ6ÿÿ4
      measurement          4ÿfrom
                   is 8 feet   83ÿthe
                                       4ÿfloor
                                            8ÿtoÿthe
                                                        4
 00ÿ0
  2   49 ÿ6ÿ5ÿ8
      ceiling;             !
                is that right?
 0"0ÿ0ÿ0ÿ0ÿ0ÿ0
  3            #$0ÿ0%$
               A.   Right.
 0&0ÿ0ÿ0ÿ0ÿ
  4         0ÿ0Q.
               '$0ÿ0#9(ÿ
                    And ifÿ )6ÿa5ÿ112-foot
                            it's       0ÿceiling,
                                                 491ÿthe
                                                           4
 020ÿ0
  5   3456784349ÿ6ÿ1ÿ
      measurement          44ÿfrom
                   is 12 feet    83ÿthe
                                       4ÿfloor
                                             8ÿtoÿthe
                                                         4
 030ÿ0
  6   49!
      ceiling?
 040ÿ0ÿ0ÿ0ÿ0ÿ0
  7            #$0ÿ0%$
               A.   Right.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  8            '$0ÿ05657$
               Q.   Okay.
 080ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  9                 9%$ÿ@#
                    MR.    AB5CD0ÿ@
                        LAWHON:      4)6ÿtake
                                   Let's     564ÿfive.
                                                    E4$
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
 10                 GBHÿIP QH5R%#SBH%D0ÿA
                         VIDEOGRAPHER:       4ÿ5are
                                            We   84ÿoff
                                                      ÿthe
                                                           4
 110ÿ0ÿ0ÿ0ÿ0ÿ0record.
 11            848($0ÿIt's
                        P)6ÿ111:07
                                1DF4ÿ5a.m.
                                        $3$
 10ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ(Thereupon,
 12                 TG4847U91ÿ5aÿ6short
                                       8ÿ8recess
                                              4466ÿwas
                                                      V56ÿtaken.)
                                                            5649$W
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
 13                 GBHÿIP QH5R%#SBH%D0ÿA
                         VIDEOGRAPHER:       4ÿ5are
                                            We   84ÿXback
                                                      56ÿon9ÿthe
                                                                 4
 1&0ÿ0ÿ0ÿ0ÿ0ÿ0record.
 14            848($0ÿG
                        The4ÿtime
                               34ÿis6ÿ11:22
                                        11Dÿ5a.m.
                                                 $3$
 120ÿ0BY
 15   Y`ÿ9%$ÿ@#AB5CD
          MR. LAWHON:
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16            '$0ÿ098$0ÿ I581ÿPIÿwant
                    Mr. Vicari,        V59ÿto
                                             ÿ6shift
                                                   ÿgears
                                                          4586ÿ5a
 140ÿ0little
 17   4ÿX1ÿ(ÿ5ÿ  4ÿXbit
              bit, do a little    ÿofÿcleanup
                                            4597Uÿ5and
                                                      9(ÿthen
                                                          49
 10ÿ0we'll
 18   V4)ÿ34ÿX56ÿÿ  778ÿFlorida
             come back to your   a8(5ÿlicense.
                                             4964$0ÿA   49ÿIP
                                                         When
 180ÿ0was
 19   V56ÿ5asking
            669ÿ77ÿX4 84ÿ5about
                  you before    X7ÿsome
                                       634ÿofÿthe
                                                   4ÿ(duties
                                                        746ÿthat
                                                               5
 F0ÿ0you
 20   77ÿUperform,
            48831ÿ94ÿ
                    one ofÿ 4ÿthings
                            the   96ÿthat
                                           5ÿyou
                                                 77ÿ6said
                                                        5(ÿVwas
                                                              56
 10ÿ0that
 21         77ÿX777ÿU8
      5ÿyou             b46$0ÿQ
                buyout projects.     Doÿ7you
                                           7ÿ8remember
                                                4343X48ÿthat
                                                           5
 0ÿ0testimony?
 22   46397!
 23            #$0ÿ0`46$
 "0ÿ0ÿ0ÿ0ÿ0ÿ0A.    Yes.
 &0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24            '$0ÿ0A41ÿ
                    Well, V 5ÿ(does
                           what   46ÿthat
                                         5ÿmean?
                                              3459!
 20ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25            #$0ÿ0G5ÿP
                    That Iÿ00ÿafter
                                548ÿthe
                                         4ÿbjob
                                              Xÿis6ÿawarded
                                                      5V58(4(ÿ5and9(
                                                            ddefghÿjkklmn
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    fopqrstuvwqxrvyozv{
                                                            EsquireSolutions.com
                                                                               `I481
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            q      58

  010ÿ0
   1   345678369ÿÿ4ÿ8
       contracted,           3ÿ8and,
                     I go back     5ÿyou
                                         4ÿknow,
                                                54ÿcontract
                                                      34567836ÿ6the  9
  020ÿ0subs
       !!ÿ"47ÿ69ÿ#4ÿ
            for the job, buy ÿmaterials
                                 $8697%8&!ÿ6that  86ÿwe9ÿ8are
                                                             79ÿgoing
                                                                  4%5
 0'30ÿ064ÿÿ34567836ÿ!   3456783647!ÿ"for
       to buy, contract subcontractors           47ÿ6their
                                                      9%7ÿ!scopes
                                                               34(9!ÿ4of"
 0)0ÿ0
   4   47ÿ
       work 64ÿ96ÿ90976
            to get everything%5ÿbought
                                    46ÿ6that
                                              86ÿ5needs
                                                     99!ÿ1--1ÿ6that's
                                                                  862!
 0530ÿ05999ÿ"47ÿ69ÿ(74#
       needed                9364
               for the project.
 0650ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                640ÿ0!ÿ%6ÿ
                      Is it  47ÿcommon
                             your   34$$45ÿ(practice
                                                7836%39ÿ6to4ÿdo4ÿ6that
                                                                     86
 070ÿ0
   7   8"697
       afterÿ8ÿ34567836ÿ8
             a contract has  !ÿbeen
                                 995ÿ!signed
                                        %59ÿbyÿ8PVGC
                                                      9@Aÿ6to4ÿwork
                                                                  47ÿ4on5
 0B80ÿ08ÿ!(93%"%3ÿ(74#936C
       a specific   project?
 0D90ÿ0ÿ0ÿ0ÿ0ÿ0E40ÿ0
                A.    F9!40ÿIÿ$mean,
                      Yes.       985ÿ%it6ÿdepends,
                                              9(95!ÿ6too,44ÿ4on5ÿ6the
                                                                      9
 1G
  100ÿ06(9ÿ
       type 4"ÿ(74#936ÿ68
            of project that  6ÿwe9ÿ8are
                                      79ÿworking
                                           47%5ÿ4on.540ÿHWe9ÿdo4ÿ8a
 11
  110ÿ0&46ÿ4"ÿ$5%3%(8&%6
       lot of  municipalityÿ  47ÿback
                              work     83ÿhome
                                              4$9ÿwhere
                                                     979ÿyou4ÿbid
                                                                   %
 1120ÿ069ÿ47ÿ!4ÿ695ÿ
       the work,             4ÿhave
                   so then you     809ÿ6to4ÿgo4ÿget
                                                   96ÿ6the
                                                        9ÿ!subs
                                                              !ÿ8after
                                                                     "697
 1'
  130ÿ064ÿ4
       to doÿ%6ÿ"47ÿ%""97   956ÿ(pricing
              it for different      7%3%5ÿbecause
                                                938!9ÿ6the9ÿ(prices
                                                                7%39!
 1)
  140ÿ08#!640ÿIt
       adjust.   6ÿ8&&ÿ9(  95!ÿ4on5ÿ6the
                     all depends         9ÿ6type
                                                (9ÿ4of"ÿ(project.
                                                           74#9364
 130ÿ0ÿ0ÿ0ÿ
  15        0ÿ0Q.
                640ÿ0Iÿ5  97!685%5ÿ4of"ÿ$municipality
                      My understanding             5%3%(8&%6ÿwork 47
 15
  160ÿ0%!ÿ69792!ÿ6(%38&&
       is there's   typicallyÿ8aÿbidding
                                    %%5ÿ(process.
                                                7439!!40ÿEAnd 5ÿ8as!
 17
  170ÿ0(876ÿ
       part 4"ÿ686ÿ%%5
            of that bidding  ÿ(process,
                                 7439!!ÿyou've
                                              4209ÿgot46ÿ6to4ÿgive
                                                                  %09
 1B
  180ÿ069ÿ$5%3%(8&%6ÿ!4
       the municipality      $9ÿ!supporting
                          some     ((476%5ÿdocumentation
                                                   43$95686%45ÿ%in5
 1D0ÿ0
  19   697$!
       termsÿ4"ÿ(7%3%5ÿ85
              of pricing and ÿ11ÿ8and5ÿ6trades
                                           789!ÿ8and5ÿsubs
                                                          !!ÿ8and
                                                                  5
 20G0ÿ08654640ÿ!ÿ686ÿ
       whatnot.   Is that how4ÿ%it6ÿworks,
                                       47!ÿ8as!ÿwell,
                                                     9&&ÿ%in5
   10ÿ0P4%!%858C
  21   Louisiana?
  220ÿ0ÿ0ÿ0ÿ0ÿ0E40ÿ0P4%!%
                A.           858ÿ%it's
                      Louisiana,      62!ÿ&lowest
                                            49!6ÿbid%ÿwins
                                                             %5!ÿ6type
                                                                   (9
   '0ÿ06%5
  23   thingÿ45ÿ8ÿ&46ÿ4"ÿ6
              on a lot of the9ÿ#jobs
                                   4!ÿ6that
                                         86ÿwe9ÿhave
                                                     809ÿdone
                                                             459ÿ%in5ÿ6the
                                                                        9
   )0ÿ0(8!6ÿ5946%86%5ÿ
  24   past, negotiating work47ÿ%is!ÿdone
                                        459ÿ8aÿ&little
                                                   %66&9ÿdifferent.
                                                             %""979564
   30ÿ0ÿ0ÿ0ÿ0ÿ0640ÿ0Q4ÿ#!
  25            Q.    So just6ÿ"forgetting
                                 47966%5ÿ6the  9ÿ$municipality
                                                      5%3%(8&%6
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               F9971"
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     TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                           October 16, 2018
     TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            st      59

 010ÿ0
  1   34567ÿ8498ÿ6ÿ4
      work, going back toÿprivate
                             59ÿ3work,
                                         4567ÿmore
                                                  45
 00ÿ0
  2    9!9""#$0ÿIn
      specifically.    %ÿ#your
                            4&5ÿexperience,
                                  '597ÿ(do4ÿ#you 4&ÿtypically
                                                          #9""#
 0)0ÿ0
  3   5&ÿ04ÿ64!!
      run  job takeoffsÿ45
                         orÿ1 54245 ÿor
                             ProFormas     45ÿestimates
                                               9 ÿbefore
                                                             !45
 030ÿ0
  4   #4&ÿbid
      you   9(ÿÿ59ÿ!45
               a price forÿa ÿproject?
                                 54040ÿ5   5ÿ(do4ÿ#you
                                             Or        4&ÿtypically
                                                            #9""#
 06
  50ÿ0do
      (4ÿ7 ÿ3456ÿ!5ÿ
          that work after   7ÿcontract
                            the  45ÿ9isÿawarded?
                                                   35((4
 08
  60ÿ0ÿ0ÿ0ÿ0ÿ0A.
               9$0ÿ0Depends
                     @( ÿ4onÿthe
                                    7ÿproject,
                                         5407ÿI%ÿ8guess,
                                                        & $ÿÿI%
 0A
  70ÿ0take
      6ÿ4!!ÿ59ÿ9    7ÿcertain
            off certain items,    59ÿ9items
                                               ÿ%Iÿget
                                                        8ÿpricing
                                                             5998
 0B
  80ÿ0from
      !54ÿthe
            7ÿsubs
                 & ÿ7ÿ  CCÿ(doing
                      that --    498ÿthat
                                         7ÿparticular
                                                59&"5ÿ3work,
                                                              4567ÿI%
 0D
  90ÿ0don't
      (4Eÿ6ÿ7ÿ4!!
             take that off. $0ÿ%Iÿ( 4Eÿ3worry
                                   don't    455#ÿabout
                                                   4&ÿusing
                                                          & 98
 1F0ÿ0their
 10   795ÿ59ÿ(ÿ6
             price and make ÿsure
                                &5ÿ9it's
                                       E ÿcomplete
                                             4"ÿor 45ÿnot.
                                                            4$
 11   G& ÿ4ÿ59ÿ9
 110ÿ0Just                   7ÿI%ÿ(do4ÿmy
            on certain items,           #ÿ4own
                                             3ÿtakeoff
                                                   64!!ÿ4onÿthe
                                                                 7
 10ÿ0material
 12   59"ÿ7ÿ%Eÿ   &#98$
                that I'm buying.
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13            H$0ÿ0So
                     I4ÿ9ÿ  45ÿ4of!ÿ(depends
                        it sort         ( ÿon 4ÿthe
                                                      7ÿ0job
                                                            4ÿand
                                                                 (
 130ÿ0it
 14   9ÿ( ( ÿ4ÿ7ÿ
          depends           59&"5ÿsub
                   on the particular       &ÿ4or5ÿproduct
                                                     54(&ÿ4or5
 160ÿ0trade?
 15   5(4
 180ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16            9$0ÿ0Right.
                     P987$0ÿQ  455$
                              Correct.
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17            H$0ÿ0Okay.
                     56#$0ÿ%Iÿ3  ÿasking
                                was   698ÿ#you4&ÿbefore
                                                      !45ÿto4
 1B0ÿ0identify
 18   9(9!#ÿ540
                projectsÿ  7ÿmost
                           that   4 ÿclosely
                                        "4 "#ÿ5resemble
                                                      "ÿthe
                                                                7
 1D0ÿ0Civic
 19   Q99ÿR435
             Towersÿ540  $0ÿ9
                     project.     (ÿ%Iÿused
                                 And     & (ÿthose
                                                  74 ÿ3words.
                                                         45( $0ÿLet
                                                                  S
 F0ÿ0me
 20   ÿ7 8ÿ7ÿ49
          change  the topicÿaÿ"little
                                 9"ÿbit.
                                           9$
 10ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿCan
 21                  Qÿ#4
                         you&ÿ9identify
                                (9!#ÿaÿprojects
                                              540 ÿthat      #4&
                                                         7ÿyou
 0ÿ0have
 22   7ÿ5  4""#ÿ
            personally  beenÿ9involved
                                4"(ÿin 9ÿthat
                                                7ÿ9involved
                                                       4"(
 )0ÿ0renovations
 23   5494 ÿ4!ÿ5    ÿ4or5ÿcondominiums
                    of apartments        4(499& ÿthat 7ÿare
                                                                  5
 30ÿ0occupied
 24   4&9(ÿ45ÿ4ÿÿ   49&(ÿto
                or to be continued      4ÿbe
                                            ÿ4occupied
                                                  &9(ÿ(during
                                                             &598
 60ÿ0construction,
 25   4 5&947ÿ   9( ÿQCivic
                      besides    99ÿRTowers?
                                         435 4
                                                            ÿde
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    fghijklmnhoimpfqmr
                                                            EsquireSolutions.com
                                                                               uv51!
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  60

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0567ÿ89
                A.           87ÿ8after
                      The apartments     7ÿKatrina
                                                 88ÿwe7ÿdone.
                                                              74
 0!0ÿ0
  2    567ÿ"#$8ÿ%&&'ÿ(7&
       The                   )8ÿ0Bay.
            Sugar Mill, Pelican      8140ÿ5 671ÿwas
                                           They   8ÿ8aÿfew
                                                        7
 0320ÿ0others.
        6740ÿI3ÿforget
                      $7ÿthe
                             67ÿnames
                                  87ÿofÿthem,
                                            67'ÿ4but
                                                    #ÿthose
                                                         6 7ÿwere
                                                                77
 0450ÿ0occupied
        ))#97ÿ#ÿ68
                 units thatÿ we7ÿworked
                                   67ÿ8around.
                                             #4
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  5             840ÿ0967ÿ1
                Q.    When you#ÿsay
                                  81ÿ8after
                                       7ÿKatrina,
                                             88'ÿsoÿthis
                                                             6
 0@0ÿ0
  6     #&ÿ68A7ÿ477'ÿ&
       would                 67'ÿ2006,
              have been, like,    !BB@'ÿ!2007
                                           BBCÿtime
                                                 7ÿ9period?
                                                       7 D
 07C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0Correct.
                      E 7)4
 08F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                840ÿ0Any
                      31ÿ )7ÿthen?
                           since   67D
 09G0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0I3ÿ78 'ÿ8aÿlot
                         mean,    & ÿofÿthe
                                            67ÿ9projects,
                                                  H7)'ÿ&like
                                                             67
 1B0ÿ0the
 10    67ÿ6hospital
              98&ÿ8ÿ   ))#974
                      was occupied.
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             840ÿ0By
                      01ÿ98 7'ÿnotÿresidents
                          patients,         77ÿ--IIÿwell,
                                                            7&&'
 1!0ÿ0some
 12     7ÿ77'ÿ3ÿ$   #74
             residents, I guess.
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             340ÿ0Yeah.
                      P7864
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             840ÿ0Okay.
                      Q68140ÿ3  &&ÿright.
                              All    $640ÿAny
                                             31ÿother
                                                   67ÿ9projects
                                                           H7)
 170ÿ0since
 15    )7ÿ67ÿ88ÿ
              the Katrina work6ÿthat
                                  68ÿwere
                                        77ÿ)continuing
                                                 #$ÿtoÿ4be7
 16     ))#97ÿÿ
 1@0ÿ0occupied         7ÿ
                 in some     ÿduring
                           form             #) D
                                 #$ÿ)construction?
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17             340ÿ0I3ÿwould
                           #&ÿhave
                                68A7ÿtoÿsee
                                           77ÿthe
                                                67ÿlist
                                                   &ÿofÿour
                                                              #
 1F0ÿ0jHobs.
 18      440ÿ3ÿ78'ÿ7RA
               I mean, we've 7ÿdone
                                  7ÿsoÿmany
                                         81ÿofÿthem
                                                    67ÿsince
                                                          )7
 1G0ÿ0Katrina,
 19    88'ÿ3ÿ   Rÿ7
                 I don't     747ÿoffhand
                           remember    68ÿ7exactly
                                                 S8)&1ÿwhich
                                                         6)6
 !B0ÿ0ones.
 20     74
 !10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             840ÿ0What's
                      968Rÿthe
                                67ÿ&largest
                                     8$7ÿ6hospital
                                                98&ÿ9project
                                                          H7)
 !!0ÿ0that
 22    68ÿyou've
             1 #RA7ÿ97   8&&1ÿ4been
                     personally    77ÿinvolved
                                         A &A7ÿinÿthat
                                                        68ÿ6had
                                                              8
 !20ÿ0occupancy
 23     ))#98)1ÿÿ7S7   )7ÿduring
                   in existence    #$ÿconstruction?
                                           ) #) D
 !50ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             340ÿ0Every
                      TA71ÿone
                              7ÿofÿthe
                                       67ÿ9West
                                            7ÿJeff
                                                 U7ÿ9projects
                                                         H7)
 !70ÿ0was
 25    8ÿdone
              7ÿ#$ÿ   978$ÿhours?
                 during operating     6 #D0ÿ3 Iÿ78'ÿthere
                                                  mean,   677ÿII
                                                            ÿddefg
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    hijklmnopjqkorhsot
                                                            EsquireSolutions.com
                                                                               Pu71
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                                      229
      PETER J. VICARI                                           October 16, 2018
     STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  61

 010ÿ0
   1   34ÿ565ÿ738ÿ89ÿ7944
       we did two or threeÿ8 ofÿ7them
                                   4ÿ3we4ÿ3were
                                              494ÿsimultaneously.
                                                    6748
 020ÿ0So
       !8ÿ74ÿ6ÿ84ÿ4"  #7$ÿ%Iÿ5don't
          the main one exactly,         8&7ÿhave
                                                '4ÿ8one
                                                      4ÿ4exactly
                                                            "#7
 0(30ÿ078ÿ74ÿ8ÿ37ÿ7
       to tell you what the 4ÿlist
                                67ÿ6is,
                                      $ÿ7that
                                            7ÿ3was
                                                   ÿ4exactly
                                                        "#7ÿ)West
                                                                  47
 000ÿ0
   4   14ÿ
       Jeff 283
             job.0ÿ44ÿ349 4ÿall
                    They were   ÿ5done
                                     84ÿ6inÿ7the
                                                4ÿhospital,
                                                     8567$
 060ÿ0
   5   36#
       whichÿ3ÿ8##5645ÿ
              was occupied  5ÿ8operating.
                            and    549767
 080ÿ0ÿ0ÿ0ÿ0ÿ0
   6            90ÿ0
                Q.    @8ÿ8
                      Do youÿA 83ÿ7the
                              know   4ÿlargest
                                           9747ÿ8one
                                                     4ÿ7that
                                                          7ÿ3would
                                                                 85
 0B0ÿ0
   7   '4ÿ
       have 6'8'45ÿ76  54ÿfloors?
             involved multiple     889C
 0D0ÿ0ÿ0ÿ0ÿ0ÿ0
   8            E0ÿ0
                A.    F87ÿ850ÿGLike
                      Not offhand.      6A4ÿ%Iÿsay,
                                                 $ÿ3we4ÿ5did
                                                            65ÿaÿlot
                                                                    87
 0H0ÿ0
   9   8ÿ389Aÿ6ÿ77ÿ8
       of work              567
                in that hospital.
 1I
  100ÿ0ÿ0ÿ0ÿ0ÿ090ÿ0
                Q-    %ÿ67ÿ
                      Is it ÿ8one
                            all    4ÿhospital
                                        8567ÿ#complex
                                                    854"ÿ8or9ÿare
                                                                  94
 11
  110ÿ034ÿ7A67ÿ387ÿÿ
       we talking   about a 564947ÿhospital
                            different      8567ÿ3buildings
                                                      6567ÿ6in
 1120ÿ0564947ÿ597ÿ8ÿ
       different   parts of 564947ÿ7towns?
                            different      83C
 1(
  130ÿ0ÿ0ÿ0ÿ0ÿ0E0ÿ0
                A.    F80ÿ
                      No. % 7ÿ3was
                           It   ÿall
                                     ÿ3within
                                           676ÿ7the
                                                    4ÿsame
                                                         4ÿ#couple
                                                               854
 10
  140ÿ0#67ÿ
       city 38#A$ÿ37ÿ7  4ÿhad
             blocks, but they    5ÿ5different
                                      64947ÿ3buildings,
                                                    6567$ÿ7the4
 16
  150ÿ06ÿ
       main 8567$ÿ74ÿ
             hospital, the  #69ÿ3buildings,
                            ancillary      6567$ÿ7the4ÿ8office
                                                              6#4
 18
  160ÿ0365670ÿ%7ÿ3ÿ
       buildings.    It was 6'4$ÿsix
                            five,    6"ÿ3buildings
                                           6567ÿ8ofÿ)West
                                                            47
 1B
  170ÿ014
       Jeff.
 1D
  180ÿ0ÿ0ÿ0ÿ0ÿ090ÿ0
                Q.    @8ÿPPÿ
                      Do -- 34$ÿstrike
                            well,    796A4ÿ7that.
                                               7
 1H
  190ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿG47&ÿ
                      Let's 897ÿ8ofÿ3back
                            sort        #Aÿup5ÿand
                                                   5ÿ7talk
                                                        Aÿabout
                                                              387
   I0ÿ089ÿ
  20   your 6#44ÿ89ÿÿ
             license for a  6774ÿ3while.
                            little    640ÿ)When
                                                 4ÿ5did
                                                        65ÿyou
                                                             8
 21    firstÿ76Aÿ387ÿ8
   10ÿ0697  think about or9ÿ5decide
                                4#654ÿ7to8ÿapply
                                              55ÿfor
                                                     89ÿaÿQFlorida
                                                             8965
 220ÿ0contractor's
       #879#789&ÿ6#4  4C
                      license?
 23(0ÿ0ÿ0ÿ0ÿ0ÿ0E0ÿ046ÿ3
                A.          ÿmiddle
                      This was   6554ÿ8ofÿ'16,
                                              &18$ÿ2016.
                                                     I18
 2400ÿ0ÿ0ÿ0ÿ0ÿ090ÿ0)ÿ56
                Q-          5ÿyou
                      Why did   8ÿP—P
 2560ÿ0ÿ0ÿ0ÿ0ÿ0E0ÿ0R476
                A.          67$ÿ3whenever
                      Beginning,    44'49ÿ3we4ÿ3was
                                                    ÿapproached
                                                         5598#45
    @ESQUIRE                                                800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                    DEPOSITION SOLUTIONS                     e fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 rs491
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     UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                   62

 010ÿ0
  1    34ÿ54ÿ3678ÿ943ÿ 5ÿ3the
       to do this project and     6ÿ9previous
                                       748ÿqualifier
                                                  7 7
 0!0ÿ0
  2    375ÿ5ÿ6ÿ575
       retired             "3ÿwant
                and he didn't  #3ÿ3to4ÿrenew
                                           #ÿ7it.
                                                   3$0ÿ%  4ÿjust
                                                         So  83
 03&0ÿ0felt
        3ÿ'83ÿ(ÿ)3ÿ01ÿ
            best I get my 4  #2ÿwhat
                           own,   #63ÿI(ÿ#wanted
                                            35ÿto 34ÿdo.
                                                         54$
 0430ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                4$0ÿ0When
                     56ÿ14ÿ8say
                          you    1ÿ3the
                                      6ÿprevious
                                          9748ÿqualifier
                                                        7 7
 06
  50ÿ0retired,
       3752ÿ#64ÿ#8ÿ36 37
                 who was that?
 08
  60ÿ0ÿ0ÿ0ÿ0ÿ0A.9$0ÿ0(ÿ367@ÿ7it3ÿwas
                     I think      #8ÿARaymond
                                        1045ÿ%Shane
                                                   6ÿheld
                                                          65ÿ3the
                                                                  6
 0B70ÿ0license.
       78$
 0C
  80ÿ0ÿ0ÿ0ÿ0ÿ04$Q.0ÿ095ÿ6
                     And heÿ# 8ÿthe
                             was  36ÿqualifier
                                        7 7ÿfor  4ÿDPVGC?
                                                            EFG7
 0H0ÿ0ÿ0ÿ0ÿ
  9         0ÿ09$
                A.0ÿ0I8$
                     Yes.
 1P0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             4$0ÿ0561ÿ575ÿ1you
                     Why did   4ÿapply
                                     991ÿfor
                                            4ÿthe
                                                36ÿlicense
                                                        78ÿas8
 11    499485ÿ34ÿ14ÿ55
 110ÿ0opposed              2ÿfor
                to your dad,   4ÿexample?
                                    Q097
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             9$0ÿ0(3ÿ#8
                     It wasÿ' 83ÿ3that
                             best    63ÿI(ÿ)get
                                              3ÿ7it3ÿso
                                                      84ÿ(Iÿcan
                                                             ÿ'be
 1&0ÿ0useful
 13    8 ÿfor
                4ÿ18ÿ54#ÿ3the
                   years down    6ÿroad.
                                     45$0ÿIf( ÿ6heÿ#was
                                                        8ÿgoing
                                                            )47)ÿto
                                                                   34
 130ÿ0retire
 14    37ÿ5ÿ(ÿ#3ÿ3 4ÿ5do4ÿ7it,
               and I want to        32ÿthen
                                       36ÿI(ÿ#would
                                                  45ÿhave
                                                         6ÿ0my1
 160ÿ0own.
 15    4#$
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             4$0ÿ0R75ÿ14ÿ3talk
                     Did you   @ÿ3to4ÿanybody
                                          1'451ÿabout
                                                   '43ÿwhat
                                                            #63ÿ7it3
 1B0ÿ0would
 17    #45ÿ3 @ÿ34ÿ)3ÿ
             take  to get aÿlicense
                             78ÿ4orÿapply
                                            991ÿfor 4ÿaÿlicense
                                                            78
 1C0ÿ0before
 18    ' 4ÿ14ÿ8335ÿ )47)ÿthrough
              you started going     364)6ÿ3the
                                               6ÿ9process?
                                                     4887
 1H0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             9$0ÿ0S1ÿ040
                     My momÿ6 55ÿthe
                             handled   36ÿvery
                                              1ÿ'beginning
                                                     )77)
 !P0ÿ0application
 20    997374ÿ9488 2ÿ3talked
                    process,   @5ÿ3to4ÿ3that
                                            63ÿlady
                                                   51ÿJackie
                                                         T@7ÿat3
 21          95ÿ86ÿ@75ÿ
       999$0ÿAnd
 !10ÿ0AAA.                 4 ÿgave
                  she kind of  )ÿus8ÿthe
                                          36ÿrundown
                                                54#ÿ4onÿ#what
                                                               63
 !!0ÿ0needs
 22    58ÿ34ÿ'ÿ54ÿ
             to be done and5ÿ3then
                               6ÿreferred
                                       5ÿus8ÿ3to4ÿan
 !&0ÿ03341ÿ34ÿ69ÿ8
 23    attorney to help us.$0ÿ%So4ÿthat
                                    363ÿ#way
                                           1ÿ#weÿmake
                                                   0@ÿ8sure
                                                            ÿ3that
                                                                  63
 !30ÿ0we
 24    #ÿ575ÿÿ7)63$
          did all right.
 !60ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             4$0ÿ056ÿ14ÿ8say
                     When you    1ÿJackie
                                     T@7ÿat3ÿ9AAA,
                                                   992ÿ#who
                                                          64ÿare
                                                               
                                                            ÿdef
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               IE1
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                                      229
      PETER J. VICARI                                           October 16, 2018
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      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            r      63

 010ÿ0
   1   345ÿ6787669ÿ4
       you referring to?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0
                A.        97ÿ!Farris.
                      Jackie   669"
 0#0
   3 ÿ0ÿ0ÿ0ÿ0ÿ0$
                Q- 0ÿ0%ÿ&'767ÿdid
                      And where  %9%ÿ3you
                                        45ÿget
                                              7ÿAAA
                                                   ÿ8from?
                                                         64(
 0)0ÿ0ÿ0ÿ0ÿ
   4        0ÿ00ÿ0
                A.    0ÿ%41
                      I     ÿknow
                        don't   4&ÿ4offhand.
                                       88'%0ÿ2  My3ÿ(mom
                                                         4(ÿ3—3ÿ(my3
 0540ÿ0(4(ÿ%9%ÿ'7ÿ896"ÿ9
       mom did              995ÿ5looking
                the first initial      44 9ÿ3—3ÿ3you45ÿknow,
                                                           4&6
 0670ÿ079ÿ'7ÿ9846(
       getting              94ÿand
                the information     %ÿ8finding
                                         9%9ÿ4out 5ÿ&what
                                                          'ÿneeds
                                                                 77%"
 080ÿ0
   7   4ÿ97
       to beÿ%476ÿ"4ÿ0ÿ%4  1ÿknow
              done, so I don't     4&ÿ&where
                                         '767ÿ"she'7ÿ33ÿ&where
                                                           '767ÿ&we7
 0@0ÿ0
   8   &455%
       wouldÿ'A7ÿ4ÿ9ÿ8  64(
              have got it from.
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
   9            $0ÿ0
                Q.    %ÿ0ÿ
                      And I  57""ÿ5let
                            guess     7ÿ(me7ÿask
                                                " ÿthat
                                                     'ÿCquestion.
                                                           57"94
 100ÿ0E4ÿ&7ÿ&955ÿF5"ÿ5"7
 1D    So we will just useÿ    97ÿ!Farris's
                              Jackie    669"1"ÿname.
                                                     (70ÿGDo4ÿ3you
                                                                   45
 11     4&ÿ'4&ÿ345ÿ53"ÿ8
 110ÿ0know                  45%ÿJackie
            how you guys found       97ÿ!Farris?
                                              669"
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    H40ÿ
                      No. I '1"ÿ&what
                           That's     'ÿ0Iÿ&was
                                                "ÿFjust
                                                     5"ÿ"saying.
                                                           39ÿÿ0I
 1#
 130ÿ0%41
       don'tÿknow
               4&ÿ'4&ÿ33ÿ'
                    how     4&ÿ&we7ÿ8found
                           how        45%ÿ'her.
                                              760ÿ0Iÿ%don't
                                                         41ÿknow.
                                                                 4&
 1)
 140ÿ0I'1 "ÿ&'ÿ(3ÿ(4(ÿ
       That's  what my mom %  9%
                             did.
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0
                Q.    P'4ÿ47%ÿJackie
                      Who contacted      97ÿ!Farris
                                                  669"ÿ4or6ÿ'her
                                                                76
 17
 160ÿ04(Q 3ÿ896"ÿ4ÿ
       company              5 ÿabout
                first to talk    945ÿgetting
                                         79ÿaÿ5license?
                                                       97"7
 18
 170ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    I'7ÿA763ÿ8first
                      The very   96"ÿQphone
                                         '47ÿcall
                                                  55ÿ&was
                                                         "ÿ(my3ÿ(mom,
                                                                   4(6
 1@
 180ÿ0F5"ÿ
       just 4ÿ"
            to askÿ'76ÿÿ8  7&ÿCquestions
                     her a few   57"94"ÿabout945ÿ&what
                                                       'ÿneed
                                                              77%ÿto4
 1B
 190ÿ097ÿ33
       be   ÿ'4&ÿ4ÿ"6ÿ
             how to start    '7ÿQprocess.
                             the   647""
 D
 200ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0
                Q.    R78467
                      Beforeÿ3 456ÿ(mom
                              your    4(ÿcontacted
                                           47%ÿJackie
                                                          97
 1
 210ÿ0!669"6ÿ'%ÿ345ÿ46ÿ
       Farris, had you or 3   456ÿ(mom
                            your    4(ÿ%done
                                         47ÿany3ÿ6research
                                                      7"76'ÿabout
                                                                   945
 
 220ÿ0&'ÿ
       what &455%ÿ97ÿ9A45  A7%ÿto4ÿget
            would be involved          7ÿaÿ!Florida
                                                5469%ÿ5license?
                                                          97"7
 #
 230ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    0ÿ'9
                      I thinkÿ& 7ÿFjust,
                               we   5"6ÿ3you45ÿknow,
                                                  4&6ÿ&went
                                                          7ÿ4onÿthe
                                                                     '7
 )
 240ÿ0&79"97ÿ%ÿQ697%
       website and printedÿ   '7ÿapplication
                              the   QQ5994ÿand  %ÿ&wanted
                                                          7%ÿto4
 40ÿ0
 25    76ÿ345ÿ   4&6ÿ'7ÿ
       get, you know,   the 6 9'ÿ9input
                            right     Q5ÿ8from
                                              64(ÿthe
                                                     '7ÿ6right
                                                          9'
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                    DEPOSITION SOLUTIONS                     e fghijklmgnhloepcom
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     UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           t       64

 010ÿ0
  1    345364ÿ75ÿ898ÿÿ
       people so that way it 8ÿwas
                                   7ÿdone
                                         54ÿright
                                              98ÿ8the94ÿfirst
                                                             78ÿ8time
                                                                     4
 020ÿ0and
       ÿ58ÿ454ÿ!68   364ÿtimes.
            not redone multiple     847"
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             $"0ÿ0Was
                Q.    %7ÿ8
                           itÿ 3588ÿ8to5ÿyou
                               important          5!ÿto85ÿdo
                                                          5ÿit8ÿright
                                                                    98
 04&0ÿ0the
       894ÿfirst
             78ÿ84'
                   time?
 05(0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                )"0ÿ0On
                      0ÿ414 89ÿit8ÿis.
                          everything          7"
 0620ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                $"0ÿ0What
                      %98ÿ 43784ÿare
                            website      4ÿyou
                                              5!ÿ8talking
                                                    64ÿabout?
                                                              35!8'
 0750ÿ0ÿ0ÿ0ÿ0ÿ0A.
                )"0ÿ0The
                      694ÿ76 5ÿ8DBPR.
                           Florida     9@A"
                $"0ÿ0Who
 08B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.     %95ÿC 8!66ÿwent
                           actually      48ÿ5onÿ8the
                                                    94ÿwebsite
                                                        43784ÿto85
 09D0ÿ0get
       48ÿ8 98ÿ336C85
            that             Eÿwas
                  application;     7ÿit8ÿyou
                                            5!ÿ5orÿyour
                                                       5!ÿmom?
                                                             5'
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10             )"0ÿ0IGÿ89 4ÿmyÿmom.
                         think      5"
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             $"0ÿ0Any
                      )ÿ58 94ÿresearch
                           other    474C9ÿ8that98ÿeither
                                                       4894ÿone
                                                               54ÿ5of
 1 0ÿ0you
 12    5!ÿdid
             ÿ85ÿ484
                 to determine4ÿwhat
                                98ÿneeded
                                       444ÿ8to5ÿ3be4ÿdone
                                                          54ÿto
                                                               85
 1#0ÿ0qualify
 13    H!6ÿ5ÿ85ÿ48ÿ
                 or to get aÿlicense?
                              6C474'
 1&0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             )"0ÿ0IGÿ5I 8ÿremember
                         don't  4434ÿ5offhand
                                              9ÿ4exactly
                                                         PC86ÿwhat
                                                                    98
 1(0ÿ0went
 15    48ÿdown
             5ÿ894ÿ78
                   the firstÿ  ÿwe
                               day  4ÿdid
                                          ÿ8this.
                                               97"0ÿIt's
                                                        G8I7ÿ7so5ÿ6long
                                                                    5
 120ÿ0ago.
 16           )ÿ644ÿGÿ7
       5"0ÿAnd             Qÿ4
                   like I said,    weÿC  58C84ÿpeople
                                        contacted    345364ÿ8that
                                                               98
 150ÿ0knew
 17    44ÿ894ÿ98ÿ7   47"
             the right answers.
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             $"0ÿ0Jackie
                      RC44ÿis7ÿ8the
                                    94ÿ5one
                                          4ÿSS
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             )"0ÿ0Jackie
                      RC44ÿwas
                                7ÿ5one
                                     4ÿ5ofÿthe
                                              894ÿfirst
                                                     78ÿ3people.
                                                             45364"
 20F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                $"0ÿ0So
                      T5ÿ5! ÿmom
                          your   5ÿCcalls
                                       667ÿJackie
                                              RC44ÿ8to5ÿSSÿso75ÿfar
                                                                     
 21          GI14ÿ94ÿ5
       98ÿI've
   10ÿ0what        heard fromÿyou
                                5!ÿis7ÿyou
                                            5!ÿdownloaded
                                               5654ÿSS
 220ÿ0somebody
       75435ÿ5654
                  downloaded,Qÿ7sounds
                                 5!7ÿlike
                                          644ÿyour
                                                  5!ÿmom,
                                                         5Q
 23#0ÿ0downloaded
       5654ÿ894ÿ89@A
                    the DBPRÿ  336C85ÿand
                               application       ÿthen
                                                     894ÿyour
                                                           5!ÿmom5
 24&0ÿ05!ÿRC44ÿ77
       found Jackie FarrisÿandÿCcalled
                                     664ÿher94ÿ8to5ÿask
                                                         74ÿ9her
                                                              4ÿ7some
                                                                    54
 25(0ÿ0questions.
       H!47857"0ÿAm)ÿGÿ 89ÿS--SÿamÿGIÿright
                        I with               98ÿ7so5ÿfar?
                                                          '
                                                            ÿdef
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               uv41
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            yp      65

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1            340ÿ0567789
                A.          4
                      Correct.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             40ÿ0ÿ6
                Q-          ÿparticipate
                      Did you   798ÿinÿthat !ÿphone
                                                            !6 8ÿcall
                                                                   9""
 0#0ÿ0
  3    67ÿ$878ÿ6ÿ!878ÿ$  !8 ÿ%she
       or were you there when      !8ÿ&made
                                         8ÿthat
                                                !ÿphone
                                                       !6 8ÿ9call?
                                                               ""'
 0(40ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    )64
                      No.
 000ÿ0ÿ0ÿ0ÿ0ÿ0
  5             40ÿ0
                Q-    ÿ%!8ÿtell
                      Did she   8""ÿyou
                                       6ÿ$what
                                             !ÿ!her
                                                    87ÿandÿ1Jackie
                                                               928
 030ÿ0
  6    "28ÿ46'
       talked  about?
 050ÿ0ÿ0ÿ0ÿ0ÿ0
   7            340ÿ0
                A.    6ÿ! 2ÿ%so.
                      I think   640ÿ6Iÿ&mean,
                                          8 7ÿ6Iÿdon't
                                                     6 8ÿ7remember
                                                             8&8&487
 090ÿ0
  8    8@9"ÿ!8ÿ96
       exactly          A87%6 40ÿ6Iÿ2know
                the conversation.            6$ÿitÿ$was
                                                       %ÿpretty
                                                            78
 0B0ÿ0
  9    &9!ÿ
       much !ÿ%!8ÿ78C87  78ÿus%ÿto6ÿanÿattorney.
            that she referred                   67 84
 1D
 100ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q.    ÿ%!8ÿE--Eÿyou
                      Did she        6ÿ%said
                                          ÿyour
                                                 67ÿ&mom
                                                        6&ÿasked
                                                             %28
 11    some F8%6
 110ÿ0%6&8ÿ questions.%40ÿ6
                          Doÿ 6ÿ2know
                              you     6$ÿ$what
                                            !ÿFquestions
                                                  8%6 %ÿ%she !8
 1
 120ÿ0%28 '
       asked?
 130ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 1#             A.    )64
                      No.
 1(
 140ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q.    ÿ6ÿGgive
                      Did you   A8ÿyour
                                       67ÿ&mom
                                              6&ÿaÿ"list
                                                       %ÿ6ofCÿany
 10
 150ÿ0F8% 6 %ÿ67ÿ
       questions        ! Gÿinÿparticular
                   or anything        79"7ÿyour67ÿE—Eÿyou
                                                                6
 13
 160ÿ0$  8ÿ67ÿ&6&ÿ6ÿ
       wanted  your mom to C  ÿ6out
                            find     ÿCfrom
                                          76&ÿ1Jackie?
                                                 928'
 15
 170ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    )64
                      No.
 19
 180ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q.    H6ÿEE
                      You --ÿ$ !8%ÿthe
                              what's     !8ÿnext
                                              8@ÿ%step
                                                     8ÿyou
                                                            6ÿdid
                                                                  
 1B
 190ÿ0!8
       thenÿC87ÿ67ÿ&6&
            after your momÿ   "28ÿto6ÿ1Jackie?
                              talked         928'
 D
 200ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    I8ÿ!
                      We hadÿG 6ÿE—Eÿ1Jackie
                             got         928ÿ!had
                                                  ÿGgiven
                                                        A8 ÿus%
 1    DavidÿP7
 210ÿ0A   Bryantÿ67 8ÿ9contact
                      attorney    6 9ÿinfo,
                                              C67ÿthat
                                                     !ÿ$was
                                                            %ÿGgoing
                                                                  6 G
 
 220ÿ06ÿ!8 "ÿ%ÿ!76G!ÿ
       to help  us through  !8ÿprocess.
                            the    7698%%4
 #
 230ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q.    Aÿ
                      David P7 ÿ$was
                            Bryant     %ÿanÿattorney?
                                                 67 8'
 (
 240ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    H8%4
                      Yes.
 0
 250ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q.    ÿ%6&846ÿ9contact
                      Did somebody     6 9ÿDavid
                                                  AÿPBryant
                                                          7 ÿat
                                                            800.211.DEPO
                                                                ÿ(3376)
                                                                            
                    DEPOSITION SOLUTIONS                     defghijkelfjmncom
                                                             EsquireSolutions.  jo
                                                                                Hq871C
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     Y`a`bÿdeÿfghibg                                    sÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     Y`a`ÿfghibgÿp`q`birÿhsqabihasbÿtuÿsvgsÿhiwxirayÿgqwe
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  66

 010ÿ0
  1    3456ÿ7489ÿ89ÿ856
       some  point in time?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ063
                A.    Yes.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  3             0ÿ04ÿ
                Q.          8 ÿthat?
                      Who did    !
 0"0ÿ0ÿ0ÿ0ÿ
  4         0ÿ00ÿ0#ÿ89
                A.    I think$ÿ5my%ÿdad
                                     ! ÿ5made
                                            ! 6ÿthe
                                                   6ÿ&first
                                                        8'3ÿ7phone
                                                                 496
 05(0ÿ0call.
       )!00
 0610ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                Q-    24ÿ%43
                      Do youÿ$ 944ÿ4when
                              know     69ÿthat
                                              !ÿ4was?
                                                     !3
 050ÿ0ÿ0ÿ0ÿ0ÿ0
   7            0ÿ0
                A.    64
                      No.
 0870ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                0ÿ0!3ÿ  !ÿ8--8ÿ!atÿ3some
                      Was that              456ÿ7point
                                                   489ÿ8in9ÿtime,
                                                               8569ÿ%you43
 09@0ÿ044$ÿ
       took !ÿ)43706ÿ4&ÿ6   33ÿ&for
             a couple of tests      4'ÿthe     49'!)4'A3
                                          6ÿ)contractor's
 1B
 100ÿ008)6936
       license.0ÿ24ÿ%43ÿ'6   565C6'ÿdoing
                   Do you remember       489Dÿthat?
                                                 !
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    E8D
                      Right.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0!3ÿF'
                      Was Mr.ÿGBryant
                                 '%!9ÿcontacted
                                          )49!)6 ÿCbefore
                                                         6&4'6ÿ4or'
 1
 130ÿ0!&6'
       afterÿ%43ÿ44$ÿ6ÿ
              you took the   633
                             tests?
 1"
 140ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    #ÿ89
                      I think$ÿCbefore.
                                 6&4'60ÿ#   Iÿ 89$ÿ3so.
                                                think    40ÿIt#ÿhad
                                                                    !
 1(
 150ÿ04ÿ! H6ÿC669
       to have  been.
 11
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ06009ÿ
                      Well, 0 6A3ÿ88
                             let's
 15
 170ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.FEÿI EP#6QPR6S0ÿWell,
                           PARTINGTON:        6009ÿCbefore
                                                       6&4'6ÿ%you43ÿDgo4
 170ÿ0ÿ0ÿ0ÿ
 18         0ÿ04ÿ!
                to that.0ÿI #ÿdid
                               8 ÿthe
                                     6ÿ0last
                                            !3ÿdeposition
                                                   67438849ÿ6exhibit
                                                                  T8C8
 1@
 190ÿ0ÿ0ÿ0ÿ0ÿ0!ÿ4!3ÿ5!    '$6 ÿIPete's
                that was marked      66A3ÿ4was !3ÿ2164,
                                                       "9ÿ3so4ÿ%you
                                                                 43ÿ4were
                                                                      6'6
 B
 200ÿ0ÿ0ÿ0ÿ0ÿ0'8Dÿ!C43
                right aboutÿ  !0ÿUSo4ÿ88ÿ3so4ÿ#Iÿdon't
                              that.                      49Aÿ$know
                                                                  944
 210ÿ0ÿ0ÿ0ÿ0ÿ04!ÿ46ÿ4!9
 1             what we want ÿto4ÿdo.
                                     40ÿ2Do4ÿ4we6ÿ$know
                                                     944ÿ4where
                                                            6'6ÿ88
 
 220ÿ0ÿ0ÿ0ÿ0ÿ04!ÿ4!3ÿ
                what was the 6ÿ&first
                                 8'3ÿ4one96ÿthat
                                                !ÿ4was
                                                       !3ÿ5marked
                                                            !'$6 ÿ8in9
 
 230ÿ0ÿ0ÿ0ÿ0ÿ0F433ÿ%636'
                Moss yesterday!%ÿ4or—
                                    '88
 "
 240ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿFEÿV    WR6S0ÿXCan
                      MR. LAWHON:        !9ÿDgo4ÿ4off
                                                   &&ÿthe
                                                        6ÿ'record
                                                              6)4' ÿ&for4'
 (
 250ÿ0ÿ0ÿ0ÿ0ÿ0!ÿ58936
                a minute?

                                                            800.211.DEPO
                                                              dÿf(3376)
                                                                             gghij
                    DEPOSITION SOLUTIONS                     k lmnopqrsmtnrukvcom
                                                             EsquireSolutions.   rw
                                                                                 x6'1&
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     bcdceÿghÿipqrep                                    vÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     bcdcÿipqrepÿsctceruÿqvtderqdveÿwxÿvypvÿqrrudÿpth
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           {       67

 010ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  1                   345ÿ6748980ÿ
                      MR. PARTINGTON:      5
                                         Yeah.
 00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
   2                  8
                      THEÿ!9" 476 40ÿ
                          VIDEOGRAPHER:      ##ÿ$the
                                            Off   ÿ%record.
                                                        &'%(5
 0)0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            9$01ÿ11)2ÿ
                It's 11:35  535
                            a.m.
 040ÿ0ÿ0ÿ0ÿ
   4        0ÿ0ÿ0ÿ0ÿ58%  67'89ÿaÿ(discussion
                      (Thereupon,      @1&611@'8ÿAwas1ÿheld
                                                          B(ÿ'off##
 0520ÿ0ÿ0ÿ0ÿ0ÿ0$ÿ%&'%(5
                the record.)C
 06D0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ8THEÿ!9" 476 40ÿ9
                          VIDEOGRAPHER:      $01ÿ111:36,
                                            It's    1)D9ÿAweÿare
                                                                  %
 0E0ÿ0ÿ0ÿ0ÿ
   7        0ÿ0back
                F&Gÿ'8ÿ$
                      on theÿ%&'%(5
                             record.
 0H0ÿ0
  8    Iÿ345ÿP7Q
       BY MR. LAWHON:
 0R
  90ÿ0ÿ0ÿ0ÿ0ÿ0S5Q- 0ÿ03%5
                      Mr.0ÿ!@&%@9ÿ#from
                           Vicari,    %'3ÿ$time
                                            @3ÿ$to'ÿ$time
                                                       @3ÿAweÿare
                                                                  %
 1T
 100ÿ0U'@8U
       goingÿ$'ÿU'ÿ$%'6U
              to go throughÿsome
                             1'3ÿexhibits
                                    V@F@$1ÿ$today,
                                               '(W9ÿand8(ÿAwe
 11    have $'ÿ3%Gÿ$3ÿA
 11 0ÿ0Xÿ                @$ÿ8numbers
            to mark them with     63F%1ÿ#for
                                            '%ÿ@identification.
                                                 (8$@#@&$@'85
 1
 120ÿ0Y'ÿF %ÿA@$ÿ61ÿ%
       So bear              50ÿ9I'm
                with us here.     03ÿ1showing
                                       'A@8UÿWyou
                                                 '6ÿExhibit
                                                       V@F@$
 1)
 130ÿ063F %ÿ)TT9ÿ8(ÿ9ÿA
       Number               @BBÿ8note
               300, and I will    '$ÿ#for
                                        '%ÿWyou
                                             '6ÿ$that
                                                  $ÿ@it's
                                                         $01
 14
 140ÿ0('6FB`1@((5
       double-sided.0ÿY'3
                        Someÿ'#ÿ$the
                             of   ÿexhibits
                                      V@F@$1ÿ9Iÿhave
                                                     Xÿare
                                                           %
 12
 150ÿ0('6FB `1@((ÿ8(ÿ1'
       double-sided         3ÿare
                      and some   %ÿ8not.
                                      '$5
 1D
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ58%   67'89ÿ"Defendant's
                      (Thereupon,   #8(8$01ÿExhibit
                                                    V@F@$ÿNo.'5
 1E
 170ÿ0ÿ0ÿ0ÿ0ÿ0)TTÿA1ÿ3%   G(ÿ#for
                300 was marked    '%ÿ@identification.)
                                       (8$@#@&$@'85C
 1H
 180ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ345ÿ67   48980ÿQWhat's
                      MR. PARTINGTON:      $01ÿ$the
                                                    ÿ#first
                                                         @%1$
 1R0ÿ0ÿ0ÿ0ÿ
 19         0ÿ07Ua
                page?
 T0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ345ÿP7
 20                         Q0ÿ8The
                      MR. LAWHON:     ÿ#first
                                           @%1$ÿ7page
                                                  Uÿ@is1ÿUgoing
                                                             '@8U
 10ÿ0ÿ0ÿ0ÿ0ÿ0$'ÿFÿ$ÿ'
 21                         8ÿ$that
                to be the one    $ÿhas
                                       1ÿ$the
                                            ÿ``
 0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ345ÿ67
 22                         48980ÿ8Test
                      MR. PARTINGTON:      1$ÿ1scores?
                                                 &'%1a
 )0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 23                   345ÿP7Q0ÿ``ÿ$test
                          LAWHON:        1$ÿ1scores
                                               &'%1ÿFbyWÿ@itself
                                                             $1B#
 40ÿ0ÿ0ÿ0ÿ0ÿ0on
 24             '8ÿ@$5
                    it.
 20ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 25                   345ÿ6748980ÿAll
                          PARTINGTON:    7BBÿ%right.
                                               @U$5
                                                            defgÿijjklm
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    enopqrstuvpwquxnyuz
                                                            EsquireSolutions.com
                                                                               !%1#
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                   68

 010ÿ0
   1    34ÿ567ÿ89
        BY MR. LAWHON:
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2              70ÿ0ÿ
                 Q-         !"ÿaÿ#moment
                       So take       #"$ÿtoÿ%look!ÿat
 0&0ÿ0
  3     '()010ÿ&22ÿ34$ÿ
        Exhibit              $5ÿ66ÿwhat
                 300 front and         7) ÿ8I've
                                                9@"ÿcalled
                                                      A %%"5ÿthe)"
 0B40ÿ034$
        front,Cÿ7)0A)ÿ)
                which hasDÿEF4ÿtest
                           your    "Dÿscores
                                          DA4"Dÿ3for 4ÿGpart
                                                             4ÿtwo
                                                                  7ÿand
                                                                       $5
 05H0ÿ0Gpart
          4ÿ)4""ÿ$ÿ07
              three on it.0ÿ9 $5ÿthen
                             And     )"$ÿ0in$ÿthe
                                                 )"ÿ1back,
                                                        A!Cÿ8Iÿ7will
                                                                  0%%
 0I
  60ÿ0A   %%ÿ)"ÿ1
        call         A!Cÿ7)0A
              the back,      )ÿ)hasDÿEyour
                         which          F4ÿtest
                                                "DÿDscore
                                                       A4"ÿ3from
                                                                4#ÿthe
                                                                      )"
 0P70ÿ01FD0$  "DDÿand
        business    $5ÿ30$ $A"70ÿ9And
                       finance.      $5ÿ%let"ÿ#me"ÿ!know
                                                      $7ÿ7when
                                                             )"$ÿEyou've
                                                                    F9@"
 0Q0ÿ0
  8    )had5ÿaÿA) $A"ÿÿ5ÿ
               chance  to do ) 7
                             that.
 0R0ÿ0ÿ0ÿ0ÿ0ÿ0
  9              970ÿ0S)0Dÿ0
                 A.          Dÿ#myEÿ66ÿ#myEÿtest
                       This is                         A4"D7
                                                "DÿDscores.
 12
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q. 70ÿ0!  E70ÿSoÿFupGÿ0in$ÿthe
                       Okay.                   )"ÿright-hand
                                                   40T)6) $5ÿAcorner
                                                                    4$"4
 11     thereÿ0Dÿ
 110ÿ0)"4"    is aÿA  $505 "ÿ$number
                     candidate    F#1"4ÿ212122.
                                             1170ÿUDoÿEyou FÿDsee
                                                                    ""
 1
 120ÿ0)    V
        that?
 1&
 130ÿ0ÿ0ÿ0ÿ0ÿ0970ÿ04"D7
                 A.    Yes.
 1B
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q. 70ÿ0!  E70ÿUDoÿEyou
                       Okay.         Fÿ!know
                                            $7ÿ)how
                                                   7ÿthat
                                                        ) ÿ$number
                                                                F#1"4ÿ66
 1H
 150ÿ0do
       5ÿ66ÿD40!"ÿ)    7
               strike that.
 1I
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿUÿEF
                       Do youÿ! $7ÿ7when
                               know     )"$ÿthat
                                                ) ÿ$number
                                                       F#1"4ÿTgot
 1P0ÿ0
 17    05"$030"5ÿ
        identified as Dÿ1"0$T
                        beingÿE F4ÿcandidate
                               your    A $505 "ÿ$number?
                                                       F#1"4V
 1Q0ÿ0ÿ0ÿ0ÿ0ÿ0
 18              97
                 A.0ÿ07
                       No.
 1R0ÿ0ÿ0ÿ0ÿ0ÿ0
 19              7
                 Q- 0ÿ0UÿEF
                       Do youÿsee
                              D""ÿthe )"ÿ5date"ÿthere
                                                    )"4"ÿof3
 20ÿ09FTFDÿ1P)ÿ3ÿ21I
 20     August 17th of 2016? V
 10ÿ0ÿ0ÿ0ÿ0ÿ0
 21              97
                 A.0ÿ04"D7
                       Yes.
 0ÿ0ÿ0ÿ0ÿ0ÿ0
 22              7
                 Q- 0ÿ0U"Dÿ) ÿDsound
                       Does that     F$5ÿ%like0!"ÿthe
                                                      )"ÿ5date
                                                             "ÿEyou
                                                                  F
 &0ÿ0
 23      AF %%Eÿ!ÿ)"ÿ"
        actually             ( #V
                  took the exam?
 B0ÿ0ÿ0ÿ0ÿ0ÿ0
 24              97
                 A.0ÿ0F$5D
                       Soundsÿabout
                                1Fÿ4right.
                                          0T)7
 H0ÿ0ÿ0ÿ0ÿ0ÿ0
 25              7
                 Q.0ÿ0U05ÿE FÿDsit
                       Did you    0ÿ3for
                                        4ÿone$"ÿ5dayEÿor4ÿtwo
                                                               7ÿ5days
                                                                     EDÿor4
                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                             eefgh
                    DEPOSITION SOLUTIONS                     i jklmnopqkrlpsitcom
                                                             EsquireSolutions.   pu
                                                                                 4v"413
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     HIPIQÿSTÿUVWXQV                                    bipqrstÿuvwÿxyu
                                      229
      PETER J. VICARI                                           October 16, 2018
     HIPIÿUVWXQVÿYI`IQXaÿWb`PQXWPbQÿcdÿbeVbÿWXfgXaPhÿV̀fT
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            vm      69

 010ÿ0
  1     34567
        more?
 080ÿ0ÿ0ÿ0ÿ0ÿ0
  2              90ÿ0656ÿ
                 A.    There  ÿtwo
                              was    4ÿparts.
                                            50ÿThere
                                                       656ÿwas
                                                              ÿ4one
                                                                    6
 00ÿ0
  3     5ÿ
        part Iÿ44!ÿ"ÿ##   66$ÿand
                took in Tallahassee,          %ÿthen
                                                   6ÿthe
                                                          6ÿcomputer
                                                             &43'65
 0(4 0ÿ05ÿ
        part Iÿ44!ÿ"ÿ)40"   #6$ÿ9Alabama,
                took in Mobile,      #030ÿ1So4ÿ"itÿwas
 020ÿ0
   5    656%
        separated.
 030ÿ0ÿ0ÿ0ÿ0ÿ0
  6              40ÿ06ÿ
                 Q.           ##66ÿpart,
                       The Tallahassee         5$ÿ%did
                                                       "%ÿthat
                                                            ÿ&come
                                                                  436
 050ÿ0
   7    6"57
        first?
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  8              90ÿ086
                 A.    Yes.
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  9              40ÿ09%ÿ0
                 Q.           4'ÿhow
                       And about     4ÿ3much
                                            '&ÿtime
                                                   "36ÿ0between
                                                          666ÿthe
                                                                    6
 1@
 100ÿ0##  66ÿ6"A
        Tallahassee   testingÿ %ÿthe
                               and     6ÿ)Mobile
                                              40"#6ÿtesting?
                                                       6"A7
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ090ÿ06ÿ6
                 A.           Bÿ%day.
                       The next     C0ÿIf6ÿCyou 4'ÿwere
                                                       656ÿable
                                                             0#6ÿto4
 18
 120ÿ0ÿ
        pass DDÿI'm
                  E3ÿ5C"Aÿ
                      trying  4ÿ5remember
                              to    6363065ÿnow. 40ÿIÿ5remember
                                                            6363065ÿ"it
 1
 130ÿ0ÿ  6ÿ6Bÿ%Cÿ45
        was the  next day orÿ"  ÿwas
                               it    ÿD--Dÿ"itÿwas
                                                     ÿ&close.
                                                          #460ÿIÿ!know
                                                                       4
 1(
 140ÿ0"6ÿC4  'ÿ6%ÿ6ÿ6
        if you                "5ÿpart,
                passed the first       5$ÿCyou 4'ÿwere
                                                      656ÿable
                                                            0#6ÿto4
 12
 150ÿ0register
        56A"65ÿ645ÿ6ÿ6   &4%ÿpart
                  for the second       5ÿright
                                              5"Aÿaway.
                                                       C0ÿ1So4ÿthat's
                                                                    E
 13     what IÿÿDDÿ3Cÿ#
 160ÿ0ÿ     was — my plan ÿwas,
                                    $ÿwasÿ"if6ÿIÿpass
                                                        ÿthe
                                                              6ÿ6first
                                                                    "5
 15
 170ÿ05ÿ
        part 4ÿ66ÿ"6ÿ
             to see if Iÿ&canÿAget
                                  6ÿthe6ÿnext
                                               6Bÿpart
                                                      5ÿ%done
                                                            46ÿ5right
                                                                  "A
 17
 180ÿ06ÿ
        then %ÿ656
              and there.0ÿIÿ%  4Eÿ5remember
                              don't      6363065ÿ6exactly,
                                                      B&#C$ÿ0but
                                                                 'ÿI
 19
 190ÿ0!4ÿ
        know Iÿ%54F6ÿ4ÿ#   #66ÿto4ÿtake
                drove to Tallahassee              !6ÿthe
                                                        6ÿpart,
                                                             5$ÿto4ÿ%do4
 8@
 200ÿ06ÿ6  "5ÿ5
        the first   part.0ÿ9 %ÿthen
                            And   6ÿIÿ&came 36ÿhome.
                                                     4360ÿ9And
                                                             %ÿthen
                                                                  6ÿI
 810ÿ0
 21     droveÿ4ÿ)40"#6ÿ6
        %54F6  to Mobile when ÿ3myCÿD--Dÿ3myCÿ%date
                                                 6ÿwas
                                                       ÿavailable
                                                            F"#0#6ÿto4
 880ÿ0
 22     %4ÿ6ÿ&43'65ÿ5
        do the  computer part.
 80ÿ0ÿ0ÿ0ÿ0ÿ0
 23              40ÿ0G"%ÿC4
                 Q.    Did you'ÿhave
                                  F6ÿto4ÿAgo4ÿto4ÿ)Mobile
                                                       40"#6ÿto4ÿ%do4ÿ"it
 8(0ÿ0
 24     45ÿ&4'#%ÿC4'ÿF6ÿ%
        or could you have done46ÿ"itÿ4online
                                          #"6ÿanywhere?
                                                     C6567
 820ÿ0ÿ0ÿ0ÿ0ÿ0
 25              90ÿ084'ÿ
                 A.           F6ÿto4ÿAgo4ÿto4ÿaÿtesting
                       You have                      6"AÿD—D
                                                            800.211.DEPO
                                                               ÿ(3376)
                                                                            com
                                                                               
                    DEPOSITION SOLUTIONS                     defghigjkgl
                                                             EsquireSolutions.  8n6516
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            q      70

 010ÿ0
  1     34567879ÿ647ÿ676
        whatever   the testing ÿfacility
                                   56ÿname
                                               57ÿ3was,
                                                     5ÿtheir
                                                          6479
 020ÿ0facility
        56ÿ6!ÿ65"7ÿ64
                   to take the 7ÿ6test.
                                   76#0ÿAnd
                                           $%ÿ6they
                                                 47ÿ5are
                                                        97ÿ5all
                                                             ÿ!over
                                                                  879
 03&0ÿ0the
        647ÿ!'69#
             country.0ÿIt(6ÿ%! 7)6ÿmatter
                            doesn't      56679ÿ3which
                                                 44ÿ!one
                                                         7ÿwas
                                                             35ÿfirst
                                                                   96
 0040ÿ0available.
        585517#
 02
  50ÿ0ÿ0ÿ0ÿ0ÿ0Q.  3#0ÿ04!ÿ(ÿ  77ÿ6three
                       So, I see      4977ÿ6tests       4797#0ÿ(
                                              76ÿ!onÿhere.    Iÿ 77
                                                                    see
 0650ÿ0a5ÿ1' 7ÿ5%ÿ5
          business             7ÿon
                     and finance    !ÿthe
                                         647ÿ1back
                                               5"ÿ5and
                                                     %ÿI(ÿsee
                                                           77ÿ5aÿ6part
                                                                     596
 0770ÿ0two
        63!ÿ !6956ÿ5%
            contract           6956!ÿ5and
                        administration      %ÿ5aÿpart
                                                   6596ÿthree
                                                         64977
 0880ÿ0project
        69!976ÿ55776#
                  management.0ÿDo@!ÿyou
                                       !'ÿsee
                                            77ÿ6those
                                                 4!7ÿthree?
                                                        64977A
 09B0ÿ0ÿ0ÿ0ÿ0ÿ0A.       C!9976#
                  $#0ÿ0Correct.
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10               3#0ÿ0Which
                        E44ÿ!one
                                7ÿ3was
                                      5ÿthe
                                          647ÿfirst
                                                96ÿ!one?
                                                        7A
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11               $#0ÿ0I(ÿ356
                          wantÿ6 !ÿsay
                                to  5ÿ6the
                                           47ÿfirst
                                                96ÿ!one
                                                        7ÿ3was
                                                             5ÿpart
                                                                 6596
 1 0ÿ0two
 12     63!ÿ5 %ÿ6596ÿ64977#
            and   part three.0ÿI (ÿ6think
                                      4"ÿ6that
                                              456ÿwas
                                                   35ÿFFÿI(ÿ6think
                                                                4"
 1&0ÿ0that
 13     6456ÿwas
              35ÿG55457
                   Tallahassee.7#0ÿ(Iÿ6  4"#
                                        think.
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14               3#0ÿ0And
                        $%ÿ64 7ÿ6part
                            then    596ÿFFÿyou!'ÿ6think
                                                    4"ÿ6the
                                                           47ÿHMobile
                                                                 !17
 120ÿ0one
 15     !7ÿisÿ647ÿ!7ÿ6456
                 the one that's)ÿ!onÿ6the
                                         47ÿ1backside?
                                              5"%7A
 150ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16               $#0ÿ0Yes.
                        I7#0ÿI(ÿ6think
                                   4"ÿ6the
                                           47ÿMobile
                                               H!17ÿisÿ1business
                                                             '7
 170ÿ0and
 17     5%ÿfinance,
              57ÿ1'6ÿ(ÿ
                        but I FFÿso!ÿ(Iÿremember
                                          977179ÿ6that's
                                                       456)ÿ4how
                                                                !3ÿit6
 180ÿ0was.
 18     35#
 1B0ÿ0ÿ0ÿ0ÿ0ÿ03#
 19               Q.0ÿ04!ÿÿ
                       So if   !'ÿlook
                               you    !!"ÿ5at6ÿthe
                                               647ÿ1backside,
                                                     5"%7ÿ5about
                                                                  1!'6
 20D0ÿ0in
        ÿ64
           the7ÿ%%7ÿ6ÿ4
                 middle, it has5ÿ5anÿ7exam
                                         P5ÿdate,
                                              %567ÿ3which
                                                       44ÿis
 2110ÿ0August
        $''6ÿ1B64ÿ!ÿ    D15#0ÿDo
                 19th of 2016.     @!ÿyou
                                         !'ÿsee
                                              77ÿ6that?
                                                   456A
 220ÿ0ÿ0ÿ0ÿ0ÿ0A.  $#0ÿ0Right.
                        Q46#
 23&0ÿ0ÿ0ÿ0ÿ0ÿ0Q. 3#0ÿ0And
                        $%ÿ!
                            soÿ6 456)ÿabout
                                that's    51!'6ÿthree
                                                 64977ÿ%days
                                                          5ÿ5after,
                                                                 679
 2400ÿ0two
        63!ÿ%5ÿ5679A
            days after?
 2520ÿ0ÿ0ÿ0ÿ0ÿ0A. $#0ÿ0Two
                        G3!ÿ%5 #0ÿG
                            days.      456ÿis
                                      That  ÿit.
                                                 6#
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Ir791
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            qy      71

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ056ÿ78ÿ
                 Q.    So is 9 9ÿringing
                              that   77ÿright
                                              79ÿfor6ÿyou?
                                                             6
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2               40ÿ0!"4
                 A.    Yeah.0ÿThen
                               #"ÿ$Iÿhad
                                       %ÿ9to6ÿhave
                                                  &"ÿ'left
                                                         "9
 0(0ÿ0
  3    #''88""ÿ%ÿ)"
       Tallahassee and went  9ÿ00ÿI$ÿ9think
                                       71ÿI$ÿ)went
                                                  "9ÿ9to6ÿMobile
                                                            2637'"
 040ÿ0
   4   %ÿ8spent
       and   5"9ÿ9"ÿ%ÿ7  ÿ2Mobile
                    the day in   637'"ÿ6onÿthe
                                             9"ÿ118th.
                                                    6940ÿAnd%ÿ6on
 0570ÿ0the
       9"ÿ119th
             89ÿ%ÿ9661ÿ9  9ÿpart.
                  and took that   5940ÿ$ Iÿ9 71ÿ9that's
                                              think     998ÿhow
                                                                6)ÿ7it9
 06@0ÿ0went.
       )"94
 07A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0So,
                       56Bÿ7
                           ifÿ$Iÿcan
                                 Cÿuse
                                       8"ÿAugust
                                             89ÿ117th
                                                       A9ÿto
                                                            96
 0860ÿ0August
        89ÿ189Bÿ968"ÿ
               19th, those    "ÿ9the
                              are   "ÿtest
                                       9"89ÿdates
                                              %9"8ÿ9that
                                                        9ÿ)we"ÿare
                                                                 "
 0980ÿ0looking
       '6617ÿ9ÿ""ÿ8ÿ
                 at here as 6  ÿkind
                              our 17%ÿ6ofÿ%date
                                              9"ÿ5point
                                                     679ÿof6
 1D0ÿ0reference.
 10    """C"40ÿHowE6)ÿFCÿ9towards
                          much   6)%8ÿgetting
                                          "997ÿaÿ'license
                                                         7C"8"ÿhad%
 110ÿ0you
 11          6"ÿ3"6"ÿ
       6ÿ%done           89ÿ17th?
                  before August   1A9
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0I$ÿG89
 12                      justÿ) "9Bÿtook
                               went,  9661ÿaÿ'little
                                                799'"ÿCclass
                                                          '88ÿdown
                                                                 %6)
 1(0ÿ0in
 13    7ÿH' 67%ÿG89ÿ96ÿ
           Florida   just to  ""8ÿ--
                              refresh  00ÿaÿrefresher
                                               ""8"ÿ9that9ÿ9they
                                                                    "
 140ÿ0say
 14    8ÿ"everybody
             &"36%ÿ86'  %ÿtake
                        should  91"ÿGjust
                                       89ÿ9to6ÿgo6ÿget
                                                       "9ÿ9the
                                                            "ÿbooks
                                                                36618
 170ÿ0in
 15    7ÿ9 "ÿ00ÿÿ9"Fÿ
           the               96ÿ9them,
                -- run them through      "FBÿ$Iÿguess,
                                                  "88Bÿand%ÿ8show
                                                                  6)
 1@0ÿ0me
 16    F"ÿ) 9ÿ9"ÿ"ÿ'6
           what              617ÿfor
                 they are looking    6ÿin
                                          7ÿHFlorida,
                                               '67%Bÿ$Iÿguess.
                                                             "884
 1A0ÿ0I$ÿF"
 17          Bÿ$ÿ%7%99ÿ
         mean,               &"ÿto
                 I didn't have   96ÿdo
                                     %6ÿ7it,
                                          9Bÿ3but
                                               9ÿ7it9ÿwas
                                                        )8ÿGjust
                                                              89
 160ÿ0something
 18    86F"97ÿ99ÿ)8ÿ
                    that was  "C6FF"%"%4
                              recommended.
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19              340ÿ0Where
                       I""ÿ%did
                               7%ÿyou
                                    6ÿdo
                                       %6ÿthat
                                           99ÿCclass
                                                    '88ÿat?
                                                            9
 D0ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0It
 20                    $9ÿ)8Bÿ$Iÿthink,
                          was,    971BÿSara
                                           5ÿ00ÿSarasota.
                                                       58694ÿÿI$
 21    971ÿ58694
 10ÿ0think   Sarasota.
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22              340ÿ0So
                       56ÿ79ÿ
                          it ) 8ÿ'like
                              was   71"ÿaÿ5prep
                                             "5ÿCclass?
                                                    '88
 (0ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0Yeah.
 23                    !"4
 40ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24              340ÿ0Did
                       P7%ÿ6ÿ00ÿdo
                           you      %6ÿyou
                                       6ÿremember
                                              "F"F3"ÿ)when
                                                          "ÿ00
 70ÿ0before
 25    3"6"ÿ6ÿ9661ÿ9"
               you took theÿ"   QFBÿyou
                               exam,  6ÿ)went
                                             "9ÿ9to6ÿ9that
                                                        9ÿCclass,
                                                              '88B
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               !r"1
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     IPQPRÿTUÿVWXYRW                                    cpqrstuÿvwxÿyv
                                      229
      PETER J. VICARI                                           October 16, 2018
     IPQPÿVWXYRWÿ̀PaPRYbÿXcaQRYXQcRÿdeÿcfWcÿXYghYbQiÿWagU
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            ny      72

 010ÿ0
  1     34ÿ35ÿ567ÿ894ÿ7
        is it two days before,ÿ9aÿmonth
                                        75ÿbefore?
                                              7
 020ÿ0ÿ0ÿ0ÿ0ÿ0A. !"0ÿ0#ÿ87$
                       I don't5ÿremember
                                ÿ7offhand.
                                              98"
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  3              &"0ÿ0So
                 Q.    '7ÿ34ÿ
                          is 5 ÿ((ÿlet
                              the       )5ÿme
                                            ÿ5try
                                                 ÿ5to7ÿ0keep
                                                           1ÿthings
                                                                5324
 0430ÿ0in
        3ÿ4 456ÿ"
           sequence   here.
 0570ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿYou've
                       875$9ÿmentioned
                                5378ÿ9anÿ9attorney
                                                 557ÿby ÿ5the
                                                                 
        9ÿ7ÿA9938ÿB9
 06@0ÿ0name   of David Bryant?50ÿC  94ÿADavid
                                    Has   9938ÿBBryant
                                                 95ÿbeen
                                                         
 07D0ÿ0contacted
        6759658ÿ7ÿ7
                    before you5ÿ2go7ÿto
                                     57ÿthe
                                         5ÿ6class
                                               )944ÿ7orÿis
                                                         34ÿhe
 08E0ÿ0contacted
        6759658ÿ95ÿ75
                    after youÿ2 7ÿ5to7ÿthe
                               go       5ÿ6class?
                                              )944
 09F0ÿ0ÿ0ÿ0ÿ0ÿ0A.!"0ÿ0I#ÿ87$
                         don't5ÿ((ÿI#ÿ8don't
                                         7$5ÿremember
                                               ÿ5   ÿ5time
                                                           the   3
 1G0ÿ0frames.
 10     94"0ÿI#ÿ9))ÿ8  7$5"
                     really don't.
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11              &"0ÿ0Do
                       A7ÿ75
                          youÿ0 76ÿ3ifÿyou
                               know       75ÿhad
                                                98ÿ4submitted
                                                     53558ÿan 9
 1 0ÿ0application
 12     911)369537ÿ57ÿ25ÿ
                      to get 9aÿ) 364ÿbefore
                                 license   7ÿ5the
                                                     ÿ5testing
                                                           4532ÿ7or
 1%0ÿ0can
 13     69ÿyou
              75ÿ7)ÿ87ÿ59
                  only do that5ÿafter
                                95ÿyou75ÿ1pass
                                               944ÿ5the
                                                     ÿ5test?
                                                           45
 130ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14              !"0ÿ0I#ÿ87$
                         don't5ÿremember.
                                "
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15              &"0ÿ0Are
                       !ÿ5 4ÿyour
                           these     75ÿ5test
                                           45ÿ4scores
                                                 674ÿthat
                                                         595ÿare
                                                                9
 16     )3458ÿ
 1@0ÿ0listed    here?0ÿAre    74ÿ5the
                        !ÿ5those    ÿright
                                           325ÿ5test
                                                  45ÿscores
                                                        4674ÿ5that
                                                                  95
 1D0ÿ0you
 17     75ÿ2got?
              75
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18              !"0ÿ089ÿ
                       Yeah, ) 7704ÿ)like
                              looks     30ÿ3it.
                                              5"
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19              &"0ÿ0!8ÿ#ÿ  7536ÿ7onÿ5the
                       And I notice         ÿback
                                                 960ÿ1page
                                                        92ÿthere
                                                             5ÿ3is4
 20G0ÿ0a9ÿ83 5ÿ698389
          different           5ÿ#IDAÿnumber
                      candidate       5ÿthan
                                               59ÿ5the
                                                      ÿ7one
                                                            ÿ5that's
                                                                 95$4
 21     7ÿ6
   10ÿ0on     95ÿ#$9ÿ69))8
           what  I've calledÿthe
                               5ÿfront
                                      75ÿ1page.
                                              92"0ÿDo
                                                     A7ÿyou
                                                           75ÿnotice
                                                                7536
 220ÿ0that
        595ÿas
              94ÿ6))
                  well?
 23%0ÿ0ÿ0ÿ0ÿ0ÿ0A.!"0ÿ0Right.
                       H325"
 2430ÿ0ÿ0ÿ0ÿ0ÿ0&"0ÿ0
                 Q.    A74ÿ5that
                       Does   95ÿ((ÿdo 87ÿyou
                                           75ÿ0know
                                                 76ÿ6why
                                                        ÿthat
                                                            595ÿis?
                                                                  34
 2570ÿ0Is
        #4ÿ595ÿ6954ÿ35$
           that because it's  4ÿtwo
                                567ÿdifferent
                                      835ÿfacilities?
                                                   963)3534
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijdhklhm
                                                            EsquireSolutions.com
                                                                               8o1
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     bcdceÿghÿipqrep                                    vÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     bcdcÿipqrepÿsctceruÿqvtderqdveÿwxÿvypvÿqrrudÿpth
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           {|       73

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1           340ÿ05ÿ6789
              A.    I haveÿ ÿidea.
                            no   974
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2           40ÿ06ÿ
              Q.          ÿExhibit
                    This is   6 !ÿ"Number
                                           #$ 9%ÿ&301,
                                                    '1(ÿit's
                                                           !)ÿonly
                                                                 01
 0&0ÿ0
  3   9ÿ94
      one sided.0ÿ29!ÿ$9ÿ
                   Let me 34ÿ4when
                          know     69ÿ1you've
                                           #)89ÿ6had
                                                    7ÿ7aÿ5chance
                                                            6759ÿ!to
 060ÿ0
  4   03ÿ
      look 7!ÿ!4
           at it.
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  5           340ÿ0
              A.    83714
                    Okay.
 090ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  6                 @69%9#A(ÿBDefendant's
                    (Thereupon,      9C97!)ÿExhibit
                                                     6 !ÿ"No.
                                                               4
 0D0ÿ0ÿ0ÿ0ÿ
  7        0ÿ0&'1ÿ47ÿ$7% 39ÿCfor
              301 was marked     %ÿidentification.)
                                        9!C57!4E
 0F0ÿ0
  8   GHÿIP4ÿ23QR8"S
      BY MR. LAWHON:
 0T0ÿ0ÿ0ÿ0ÿ0ÿ0
  9           4
              Q.0ÿ05!)ÿ3 ÿofCÿ7aÿdifferent
                    It's kind             CC9%9!ÿ8version
                                                       9%ÿofC
 1'
 100ÿ01#%ÿ
      your !9!ÿU%79ÿC% $ÿBDBPR.
           test grades from     GVP40ÿBDoes9ÿ!that
                                                  67!ÿ0look
                                                        3ÿ7about
                                                               #!
 11
 110ÿ0%U6!W
      right?
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
              A.    5)89ÿ989%ÿXXÿ5Iÿdon't
                    I've never             )!ÿ!think
                                                   63ÿ5I've
                                                           )89ÿ9ever
                                                                 89%
 1&
 130ÿ099ÿ
      seen !6ÿA7A9%4
           this paper.0ÿ5 !ÿdon't
                         It   )!ÿ%ring          90040ÿ5IÿYjust
                                        Uÿ7aÿbell.         #!
 16
 140ÿ0%9$9$ 9%ÿ99Uÿ!69
      remember  seeing theÿ 5%94
                           scores.
 17
 150ÿ0ÿ0ÿ0ÿ0ÿ040ÿ03ÿ!6
              Q.          9ÿX—Xÿ!the
                    And the        69ÿname
                                          7$9ÿ7and
                                                ÿ!the
                                                     69ÿ7address
                                                           %9ÿis
 19
 160ÿ0!69ÿ7$9ÿC%ÿ1#ÿ&'
      the same            1ÿ7asÿit!ÿisÿCfor
                for you 301                  %ÿ&300,
                                                  ''(ÿ%right?
                                                        U6!W
 1D
 170ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0PU6!4
              A.    Right.
 1F
 180ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0`ÿ5#
              Q.          A09ÿofCÿ!things
                    So couple         6Uÿ!that
                                                67!ÿ5caught
                                                       7#U6!ÿ$my1
 1T
 190ÿ07!!9!40ÿ89ÿÿ
      attention.   One is ÿ!the
                          on    69ÿ%right
                                      U6!ÿ!topAÿ%right-hand
                                                    U6!X67
 '
 200ÿ05%9%ÿ!ÿ67ÿ1#%ÿ
      corner it has your  7!9ÿofCÿbirth
                          date          %!6ÿ2/6         TF40ÿBDo
                                                a9ÿofCÿ11982.
 1
 210ÿ01#ÿ99ÿ!67!W
      you see  that?
 
 220ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0H974
              A.    Yea.
 &
 230ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0Bÿ1#
              Q.    Do youÿ3 4ÿ4why
                            know     61ÿ!that
                                           67!ÿis?
                                                  W
 6
 240ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ05ÿ6789
              A.    I haveÿ ÿidea.
                            no   974
 7
 250ÿ0ÿ0ÿ0ÿ0ÿ040ÿ03ÿ!
              Q.    And itÿ6 7ÿ7aÿdifferent
                            has       CC9%9!ÿ5candidate
                                                    77!9
                                                            800.211.DEPO
                                                              defgÿi(3376)
                                                                             jjklm
                    DEPOSITION SOLUTIONS                     en opqrstuvpwquxnycom
                                                             EsquireSolutions.   uz
                                                                                 H}9%1C
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     abcbdÿfgÿhipqdi                                    u ÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     abcbÿhipqdiÿrbsbdqtÿpuscdqpcudÿvwÿuxiuÿpqyqtcÿisyg
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            z{      74

 010ÿ0
  1    345678ÿ93ÿ97ÿ9
       number than the other78ÿ9two
                                  ÿ3numbers
                                       45678ÿ9that
                                                  9ÿwe've
                                                        77ÿseen.
                                                                773
 00ÿ0
  2    ÿyou
       Do  4ÿ77ÿ99ÿÿ  7!!"
               see that as well?
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             $0ÿ0Yeah.
                A.    %7
 0&40ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                '0ÿ0(9ÿ 9)!!ÿ!listing
                      It's still    )9)30ÿ9the7ÿ7examinations,
                                                    15)39)32
 03
  50ÿ097ÿ 57ÿ497ÿ34ÿ
       the same  dates and 9  7ÿsame
                             the   57ÿ9type
                                          57ÿof6ÿ7exams
                                                    15ÿasÿ9the
                                                                7
 07    572ÿ8)09"
  60ÿ0same,   right?
 0870ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ09)09
                A.    Right.
 0@
  80ÿ0ÿ0ÿ0ÿ0ÿ0Q.'0ÿ0AB  0ÿCSoÿyou
                      Okay.        4ÿ4don't
                                        39ÿBknow
                                                3ÿwhy
                                                        ÿyour
                                                            48ÿ4date
                                                                  97
 0D
  90ÿ06ÿ6) 89ÿ34ÿ
       of birth        48ÿE
                 and your   34)497ÿ(IDÿ3number
                           candidate         45678ÿ)isÿ4different?
                                                           )6678739"
 1F
 100ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0(ÿ7
                A.    I haveÿ3 ÿ)idea.
                              no   47
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.'0ÿ0AB  0ÿ(
                      Okay.   Iÿ4 )439ÿ7either.
                                 didn't   )978
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿG719ÿ7   1)6)9ÿ)isÿGNumber
                      Next exhibit        45678ÿ#302.
                                                    F0ÿHTake
                                                            B7ÿa
 1#
 130ÿ05573 9ÿ9ÿ!Bÿ9ÿ9
       moment               9ÿand
               to look at that     34ÿ!let
                                        79ÿ5me7ÿBknow
                                                  3ÿwhen
                                                        73ÿyou4ÿare
                                                                    87
 1&
 140ÿ0437
       done.0ÿ$34ÿ99ÿ4  46!7I)4742ÿI(ÿ6believe.
               And that's double-sided,           7!)77
 13
 150ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0AB
                A.        
                      Okay.
 17
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿPH787   4532ÿDefendant's
                      (Thereupon,    7673439ÿQExhibit
                                                      1)6)9ÿGNo.
                                                                
 180ÿ0ÿ0ÿ0ÿ
 17         0ÿ0#Fÿÿ58  B74ÿ6for
                302 was marked     8ÿ)identification.)
                                        4739)6)E9)3R
 1@0ÿ0
 18    S%ÿT9ÿU$VWAGX
       BY MR. LAWHON:
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0
 19             '
                Q- 0ÿ0W7ÿ 4ÿseen
                      Have you   773ÿ9this
                                        )ÿ6before?
                                               7687"
 F0ÿ0ÿ0ÿ0ÿ0ÿ0$
 20             A.0ÿ0UBÿ! )B7ÿ9the
                      Look like    7ÿapplication.
                                        55!)E9)3
 10ÿ0ÿ0ÿ0ÿ0ÿ0'
 21             Q- 0ÿ0$34ÿ(ÿ
                      And I  )!!ÿask
                            will    Bÿyou
                                         4ÿ9toÿ!look
                                                   Bÿat9ÿ9the
                                                              7
 0ÿ09)84
 22    thirdÿ9ÿ97ÿ!9ÿ5  07
              to the last page.
 #0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 23                   T9ÿY$9H(G`HAGX0ÿHThird
                          PARTINGTON:      )84ÿ9toÿ9the
                                                        7ÿ!last
                                                              9
 &0ÿ0ÿ0ÿ0ÿ0ÿ05070ÿ
 24             page. ÿ   4ÿ5mean
                        Do you    73ÿsheet
                                        779ÿor8ÿ4doÿyou
                                                        4ÿ5mean
                                                              73
 30ÿ0ÿ0ÿ0ÿ0ÿ058)3974ÿ50
 25                         7"
                printed page?

                                                            800.211.DEPO
                                                              defÿh(3376)
                                                                             iijkl
                    DEPOSITION SOLUTIONS                     dm nopqrstuovptwmxcom
                                                             EsquireSolutions.   ty
                                                                                 %|7816
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            vw      75

 010ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  1                  345ÿ67
                     MR.    890ÿ
                          LAWHON:      ÿtoÿlast
                                      Third         !"ÿ"sheet,
                                                           ##$
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  2            &'ÿ"ÿ
               which        #()#ÿas
                      is identified     !"ÿ1140ÿof)ÿ%240ÿon
                                                          (ÿthe
                                                              #
 010ÿ0ÿ0ÿ0ÿ0ÿ0
  3            2!'35
               back.
 000ÿ0ÿ0ÿ0ÿ
  4         0ÿ0ÿ0ÿ0ÿMR.
                     345ÿ47 4560ÿ
                          PARTINGTON:       3!75
                                           Okay.
 080ÿ0
  5   9@ÿ345ÿ6789
      BY  MR. LAWHON:
 0A0ÿ0ÿ0ÿ0ÿ0ÿ0
  6            B50ÿ0(ÿ#
               Q.    On theÿ2 !'35ÿThere's
                             back.     ##C"ÿ!aÿbox2Dÿin(ÿthe
                                                               #ÿtop
                                                                    E
 0F0ÿ0
  7   #( #$ÿG7))H!
      entitled,             (ÿ2by7ÿ8Written
                  "Affirmation         #(ÿIDeclaration."
                                                  #' !!(5G0ÿDo   I
 0P0ÿ0
  8   7Qÿ"see
      you   ##ÿ!R
               that?
 0S0ÿ0ÿ0ÿ0ÿ0ÿ0
  9            750ÿ0@#"5
               A.    Yes.
 1T0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10            B50ÿ07(ÿ  ##ÿis"ÿa!ÿ"signature
                     And there            U(!Q#ÿthere##ÿdoÿyou
                                                                   7Q
 110ÿ0see
 11         #ÿ"U(!Q#R
      "##ÿthe signature?
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12            750ÿ0@#"5
                     Yes.
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13            B50ÿ08"#ÿ
                     Whose " U(!Q#ÿis"ÿthat?
                            signature        !R
 100ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14            750ÿ03(#5
                     Mine.
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15            B50ÿ0##ÿ
                     There  "ÿ!aÿhandwritten
                            is    !(&#(ÿdate   !#ÿof)
 1A0ÿ0August
 16   7QUQ"ÿ%1$ÿ%T1A5
              23, 2016.0ÿDoIÿ7you
                                Qÿ"see
                                      ##ÿthat?
                                           !R
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17            750ÿ0@#"5
                     Yes.
 18            B50ÿ0Whose
 1P0ÿ0ÿ0ÿ0ÿ0ÿ0Q.     8"#ÿhandwriting
                             !(&(Uÿis"ÿthat?
                                                  !R
 1S0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19            750ÿ0My
                     37ÿHH C"5
                         mom's.
 %T0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20            B50ÿ0Your
                     @QÿHmom's?
                            HC"R
 21            750ÿ0Yes
 %10ÿ0ÿ0ÿ0ÿ0ÿ0A.     @#"5
                        .
 %%0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22            B50ÿ0Why
                     87ÿ ÿ7your
                          did   Qÿmom
                                      HHÿdate
                                            !#ÿitÿ&when
                                                         #(ÿyou
                                                              7Q
 %10ÿ0signed
 23   "U(#ÿR
              it?
 %00ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24            750ÿ0She
                     V#ÿ)   #ÿout
                          filled    Qÿthe
                                          #ÿ!application.
                                               EE '!(50ÿ7      (
                                                                  And
 %80ÿ0as
 25   !"ÿ"(ÿ!"ÿ5ÿ"U(#
          soon as I signedÿit,
                             $ÿshe
                                  "#ÿEputQÿitÿon(ÿher
                                                         #ÿdesk
                                                             #"3ÿ!and
                                                                    (
                                                            ÿdeefgh
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    ijklmnopqkrlpsitpu
                                                            EsquireSolutions.com
                                                                               @x#1)
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     HIPIQÿSTÿUVWXQV                                    bipqrstÿuvwÿxyu
                                      229
      PETER J. VICARI                                           October 16, 2018
     HIPIÿUVWXQVÿYI`IQXaÿWb`PQXWPbQÿcdÿbeVbÿWXfgXaPhÿV̀fT
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            mv      76

 010ÿ0
  1    345ÿ67856ÿ98ÿÿ5
       she  dated it for meÿ  5735ÿIÿdidn't
                              because      6968ÿdate
                                                   6785ÿ9it8ÿwhen
                                                               45ÿI
 0!0ÿ0
  2    39"56ÿ98#
       signed  it.
 0$0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             %#0ÿ0&455ÿ
                Q.    There 9 3ÿ7aÿ''ÿa7ÿ3statement
                             is            878558ÿ9inÿ8the
                                                           45ÿbox
                                                               (
 04)0ÿ0right
       9"48ÿ705ÿ1ÿ39   "785ÿ8that
              above your signature      478ÿincludes
                                             92653ÿ8the45
 0530ÿ0following
       22 9"ÿ3878558   3#0ÿ4
                   statements,     ÿunderstand
                                  "I   653876ÿ8that
                                                    478ÿmy1
 0650ÿ0signature
       39"785ÿÿ8493ÿ    9885ÿdeclaration
                   on this written   6527789ÿ4has 73ÿ8the
                                                           45ÿ3same
                                                                 75
 0760ÿ0legal
       25"72ÿ558ÿ73ÿ7ÿ
              effect as an   784ÿor
                             oath  ÿaffirmation."
                                       79789#40ÿDo  7ÿ1you
                                                               
 0880ÿ0see
       355ÿ8that
             478ÿ358559
                 sentence?
 09@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                A#0ÿ0Yes
                      B53#
                         .
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             %#0ÿ0Did
                      796ÿ1 ÿread
                           you   576ÿthat
                                     8478ÿbefore
                                            55ÿ1you
                                                      ÿ3signed
                                                           9"56
 110ÿ0it?
 11    989
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             A#0ÿ0Yes
                      B53#
                         .
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             %#0ÿ0The
                      &45ÿ5 (8ÿ3sentence
                           next   5855ÿ3says,
                                             713Dÿ"Under
                                                   4E65
 1)0ÿ0penalties
 14    F5728953ÿÿF5G   1DÿIÿdeclare
                   of perjury,     65275ÿ8that
                                              478ÿIÿhave
                                                      4705ÿread
                                                              576
 130ÿ0the
 15    845ÿforgoing
             "9"ÿ7FF29  789ÿ7and
                      application    6ÿ8the
                                           45ÿfacts
                                                783ÿstated
                                                      387856ÿ9inÿ9it8
 150ÿ0are
 16          5#40ÿDo
       75ÿ8true."   7ÿ1ÿ
                        you 3 55ÿ8that
                             see   478ÿsentence?
                                        358559
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17             A#0ÿ0Yes.
                      B53#
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             %#0ÿ0Did
                      796ÿ1 ÿread
                           you   576ÿthat
                                     8478ÿbefore
                                            55ÿ1you
                                                      ÿ3signed
                                                           9"56
 1@0ÿ0it?
 19    989
 !C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             A#0ÿ0Yes
                      B53#
                         .
 !10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             %#0ÿ0Did
                      796ÿ1 ÿunderstand
                           you   653876ÿboth
                                             84ÿofÿ8the
                                                         45ÿ8two
 !!0ÿ0sentences
 22    358553ÿ8478ÿÿG   38ÿread,
                   that I just   576Dÿwhen
                                         45ÿ1you
                                                ÿread
                                                   576ÿ8them
                                                           45ÿ7and
                                                                  6
 !$0ÿ0signed
 23    39"56ÿ845ÿ7FF2978   99
               the application?
 !)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             A#0ÿ0Yes.
                      B53#
 !30ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             %#0ÿ0The
                      &45ÿ27 38ÿ3sentence
                           last   5855ÿ3says,
                                             713Dÿ"I
                                                   4ÿunderstand
                                                         653876
                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghigjkgl
                                                            EsquireSolutions.com
                                                                               Bn51
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     IPQPRÿTUÿVWXYRW                                    cpqrstuÿvwxÿyv
                                      229
      PETER J. VICARI                                           October 16, 2018
     IPQPÿVWXYRWÿ̀PaPRYbÿXcaQRYXQcRÿdeÿcfWcÿXYghYbQiÿWagU
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            nn      77

 010ÿ0
  1    3453ÿ6578969539ÿ
       that falsification    6ÿ5any
                             of   ÿmaterial
                                        53957ÿinformation
                                                   96539ÿon
 00ÿ0
  2    3498ÿ579539ÿ5
       this  application may ÿresult
                                 873ÿin9ÿcriminal
                                               9957ÿpenalty
                                                           573ÿor
 030ÿ05!9983539"ÿ539
       administrative action,#ÿ9including
                                   7!9$ÿ5aÿ6fine,
                                                    9#ÿsuspension
                                                           8889
 04%0ÿ0ÿ "539ÿ6ÿ34
       or revocation   of theÿ7license."
                                 98&'0ÿDo  (ÿyou
                                                    ÿ8see
                                                         ÿ3that
                                                              453
 05)0ÿ0sentence?
       830
 0610ÿ0ÿ0ÿ0ÿ0ÿ0A.
                2&0ÿ0Yes.
                      38&
 0740ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                5&0ÿ0Did
                      (9!ÿ ÿread
                           you   5!ÿthat
                                      3453ÿbefore
                                             66ÿyouÿ8signed
                                                             9$!
 0870ÿ0it?
       930
 0980ÿ0ÿ0ÿ0ÿ0ÿ0A.
                2&0ÿ0Yes
                      38&
                         .
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             5&0ÿ0Did
                      (9!ÿ ÿunderstand
                           you   !835!ÿ3that453ÿbefore
                                                     66ÿyou
                                                               
 11    89$!ÿ930
 110ÿ0signed   it?
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             2&0ÿ0Yes
                      38&
                         .
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             5&0ÿ0I@ÿ349
                        thinkAÿyou
                                 ÿtold
                                     37!ÿmeÿ3that
                                                 453ÿyour
                                                        ÿmom
                                                             
 1%0ÿ0filled
 14    6977!ÿ3ÿ34ÿ57   9539&0ÿ(
               out the application.        9!ÿ@Iÿunderstand
                                          Did      !835!ÿyour
                                                                  
 1)0ÿ0testimony
 15    3839ÿ37
                  correctly? 0
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16             2&0ÿ0She
                      B4ÿ3 !ÿ9it3ÿ9in.
                           typed        &0ÿCWeÿ$gave
                                                   5"ÿ4her
                                                         ÿ5aÿ7 3ÿof
                                                               lot  6
 140ÿ0the
 17    34ÿ9information
             6539ÿ3ÿ
                         to  3ÿ9inÿ9it.
                             put        3&
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             5&0ÿ0Okay.
                      DA5&0ÿ2 !ÿ@Iÿwill
                              And     E977ÿ8start
                                               353ÿ5at3ÿ3the
                                                           4
 180ÿ0beginning
 19    6$99$ÿ9ÿ5ÿ8   !&0ÿBut
                  in a second.     F3ÿ@Iÿwanted
                                           E53!ÿ3toÿmake
                                                           5Aÿ8sure,
                                                                 #
 90ÿ0did
 20    !9!ÿyou
             ÿ5!ÿ34ÿ9  6539ÿ9inÿ3the
                read the information            4ÿ5application
                                                     79539ÿ-- GG
 10ÿ0ÿ0ÿ0ÿ0ÿ02&
 21             A.0ÿ038&
                     Yes.
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             5&0ÿ0GGÿ66  ÿG--Gÿ7let
                         before         3ÿmeÿfinish
                                                69984ÿmy
  0ÿ0question.
 23    H839&
 %0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿDid
 24                   (9!ÿ ÿread
                           you   5!ÿthe
                                      34ÿ9information
                                             6539ÿ9inÿ3the4
 )0ÿ0application
 25    579539ÿ66ÿ
                    before   ÿ8signed
                             you   9$!ÿit?
                                           930
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijdhklhm
                                                            EsquireSolutions.com
                                                                               3o16
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            v      78

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ05674
                A.    Yes.
 080ÿ0ÿ0ÿ0ÿ0ÿ0
  2             940ÿ0ÿ
                Q-    Did youÿmake
                               6ÿ7sure
                                       6ÿthat
                                             ! ÿitÿ"was
                                                        7ÿtruthful
                                                              !#$
 0%0ÿ0
   3   &6ÿ'6&$
       under penalty ÿ#ÿ'6 ()
                       of perjury?
 0040ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    5674
                      Yes.
 010ÿ0ÿ0ÿ0ÿ0ÿ0
   5            940ÿ0
                Q-    2ÿ!ÿ
                      I had ' & 6ÿout
                             pointed     ÿtoÿyou
                                                  ÿthat
                                                       ! ÿyour
                                                             
 030ÿ0
  6    74& 6ÿ"7ÿ
       signature          65ÿas7ÿyou
                   was dated,        ÿ7said,
                                          5ÿ6byÿyour
                                                      ÿmom
                                                            ÿon&
 070ÿ0
   7   347
       Augustÿ8%4
              23rd.0ÿ2#ÿ
                       If youÿremember,
                                 66665ÿyou
                                             ÿtook
                                                   ÿthe
                                                         !6ÿ$last
                                                               7
 0880ÿ0test
        67 ÿ&ÿ347
            on Augustÿ89   !5ÿ7soÿthat's
                        29th,        ! @7ÿabout
                                             6 ÿ#four
                                                      ÿdays?
                                                            7)
 0990ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿAB4ÿC3   BD2EFDGEH0ÿ2Itÿ"was
                      MR. PARTINGTON:           7ÿthe!6ÿ119th,
                                                           9 !5
 1I
 100ÿ0ÿ0ÿ0ÿ0ÿ0"7&@
                wasn'tÿ  )
                        it?
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿAB4ÿP3    QRGEH0ÿ2I'm
                      MR. LAWHON:      @ÿ7sorry.
                                            40ÿDidÿ2Iÿ7say
                                                               
 180ÿ0ÿ0ÿ0ÿ
 12         0ÿ089   !)
                29th?
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
 13                   AB4ÿC3 BD2EFDGEH0ÿ5Yes.
                      MR. PARTINGTON:       674
 100ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
 14                   AB4ÿP3 QRGEH0ÿDThank
                      MR. LAWHON:      !&ÿyou.
                                               40ÿAMyÿmistake.
                                                           7 64
 11
 150ÿ0S5ÿAB 4ÿP3QRGEH
       BY MR. LAWHON:
 160ÿ0ÿ0ÿ0ÿ0ÿ094
 13             Q- 0ÿ05ÿ ÿthe
                      You took    !6ÿtest
                                       67 ÿon&ÿ3August
                                                  47 ÿ119th,
                                                           9 !5ÿand
                                                                   &
 17
 170ÿ0ÿ7 4&6ÿthe
       you signed    !6ÿ''$ T &ÿon&ÿ3August
                        application         47 ÿ823rd.
                                                      %40ÿUSo
 18
 180ÿ0that's
        ! @7ÿ6
               aboutÿ#ÿ  740ÿDoes
                      four days.      67ÿthat
                                            ! ÿ7sound
                                                   &ÿright
                                                           4! ÿto
 19
 190ÿ0)
       you?
 8I
 200ÿ0ÿ0ÿ0ÿ0ÿ034A.0ÿ05674
                      Yes.
 81
 210ÿ0ÿ0ÿ0ÿ0ÿ094      Okay.0ÿQ
                Q.0ÿ0G4     ! ÿdid
                              What    ÿyou
                                           ÿ'personally
                                                67&$$ÿdo
 88
 220ÿ06$  6ÿtoÿÿ
       related            67 &45ÿyour
                    your testing,     ÿapplication
                                            ''$T &ÿor
 8%
 230ÿ046   &4ÿÿ$T6&76ÿ
       getting  a license in &ÿVFlorida
                                 $ÿ6between
                                           6 "66&ÿthose
                                                      !76ÿ#four
                                                             
 80
 240ÿ07)
       days?
 81
 250ÿ0ÿ0ÿ0ÿ0ÿ034A.0ÿ0Q!
                      Whatÿ ÿ2Iÿdo?
                            did      )
                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                             eefgh
                    DEPOSITION SOLUTIONS                     i jklmnopqkrlpsitcom
                                                             EsquireSolutions.   pu
                                                                                 5w61#
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            pq      79

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ056784
                 Q.   Yeah.
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  2              40ÿ06
                 A.          6ÿtheir
                      Completed     86ÿ7application
                                              7!ÿ"because,
                                                             6 7#$6%ÿ&I
 0'0ÿ0
  3    (#6$$ÿ)!(ÿ"7
       guess               )%ÿthe
               looking back,    86ÿ7application
                                       7!ÿcouldn't
                                                     #!0ÿ"be6
 0140ÿ0$6!ÿ !ÿÿ2#ÿ7
       sent in               $$6ÿthe
                 till you passed    86ÿtest,
                                           6$%ÿlooks
                                                   )$ÿlike.
                                                            )64
 0530ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Okay.
                       4)7240ÿ5 ÿduring
                               So  #!(ÿthat
                                              87ÿ6four-day
                                                    #772ÿperiod,
                                                                6%
       7$6ÿ6ÿ
 0680ÿ0aside         6!(ÿthe
               from completing     86ÿ7application,
                                         7!%ÿanything
                                                         7!28!(
 0790ÿ0else
       6$6ÿ2#ÿÿ676
              you did relatedÿtoÿthe
                                      86ÿlicense?
                                            6!$6@
 08A0ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0I&ÿ!0ÿremember.
                         don't  66"64
 09B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Did
                       Cÿ2#ÿtalk
                           you               !2"2ÿabout
                                  7)ÿtoÿ7anybody  7"#ÿthe86
 1D0ÿ0application,
 10    7 7!%ÿ86ÿ!   67!ÿthat
                       the information       87ÿ(goes
                                                   6$ÿin!ÿthe
                                                              86
 110ÿ0application
 11    7 7!ÿ"6$6$
                     besidesÿ  687$ÿ2your
                               perhaps     #ÿmom
                                                 ÿorÿ2your
                                                            #ÿdad?
                                                                  7@
 190ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12              40ÿ0David
                       C7EÿFBryant
                               27!ÿGwas
                                        7$ÿguiding
                                             (#!(ÿus#$ÿGwith
                                                             8ÿall
                                                                  7
 1'0ÿ0the
 13    86ÿ7--7ÿG8ÿG87ÿG6
                with what weÿ!  66ÿtoÿdoÿon
                               need           !ÿthis
                                                  8$ÿ7application
                                                           7!
 110ÿ0and
 14    7!ÿ8how
             Gÿÿ6ÿÿ
                 to fill it   #ÿproperly.
                             out    624
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15              340ÿ0Is
                       &$ÿÿ
                          it 2 #ÿtestimony
                              your    6$!2ÿthat
                                                  87ÿMr.
                                                         H4ÿFBryant
                                                               27!
 180ÿ0was
 16          $$$!(ÿG8ÿ
       G7$ÿ7assisting   with  8$ÿapplication
                              this  7 7!ÿ"by2ÿAugust
                                                          #(#$ÿ923rd
                                                                   '
 190ÿ0of
 17    6ÿ9D 18@
          2016?
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18              40ÿ0Yes.
                       56$4
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19              340ÿ0Did
                       Cÿ77
                           --ÿ ÿsomebody
                               did  $6"2ÿ8hire6ÿHMr.
                                                         4ÿFBryant?
                                                              27!@
 9D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20              40ÿ0We
                       I6ÿ4
                          did.
 910ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21              340ÿ0Who
                       I8ÿ$
                           isÿG 6@
                               we?
 990ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22              40ÿ0The
                       P86ÿcompany.
                            7!24
 9'0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23              340ÿ0Did
                       Cÿ2#ÿ8have
                           you    7E6ÿtoÿsign
                                           $(!ÿ7aÿrepresentation
                                                     66$6!7!
 910ÿ0agreement,
 24    7(666!%ÿ6!(7(66   !ÿletter
                    engagement     66ÿorÿ$some
                                                 6ÿtype
                                                     26ÿof 6
 930ÿ0contract
 25     !7 ÿG8ÿH4ÿF   27!@
                  with Mr. Bryant?


                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               5r616
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     IPQPRÿTUÿVWXYRW                                    cpqrstuÿvwxÿyv
                                      229
      PETER J. VICARI                                           October 16, 2018
     IPQPÿVWXYRWÿ̀PaPRYbÿXcaQRYXQcRÿdeÿcfWcÿXYghYbQiÿWagU
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  80

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ05ÿ6789
                 A.    I don'tÿremember.
                                  40ÿMyÿmom7ÿand
                                                          86ÿ6dad
                                                                6
 00ÿ0
   2    7 !6ÿ"87ÿ#ÿ$
        would  know that part ÿ7of%ÿ&getting
                                       '8&ÿ#him.
                                                 '4
 0(0ÿ0ÿ0ÿ0ÿ0ÿ0
   3             )40ÿ0
                 Q.    0'6ÿ#
                       Did heÿ1 #&ÿany
                               charge     8ÿmoney
                                                78ÿ%for
                                                        7ÿ#his
                                                             '2
 030ÿ0
   4    24'125
        services?
 0560ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 A.    724
                       Yes.
 0680ÿ0ÿ0ÿ0ÿ0ÿ0Q.)40ÿ097ÿ   1#5
                       How much?
 0@0ÿ0ÿ0ÿ0ÿ0ÿ0
   7             340ÿ0
                 A.    5ÿ#'8
                       I think"ÿmaybe
                                  ÿ%five
                                          '4ÿA—Aÿ65,000.
                                                     BCCC40ÿI5ÿthink.
                                                                  #'8"4
 08D0ÿ0I5ÿ17 !689ÿAAÿ5ÿ
          couldn't   — I mean,8Bÿ'it's
                                    92ÿbeen
                                          8ÿawhile.
                                                 #'!4
 09E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.)40ÿ0Fÿ  7 ÿresponsible
                       Were you   2$782'!ÿ%for  7ÿ$paying
                                                         '8&ÿ#his
                                                                  '2
 1C
 100ÿ0'!!ÿ
        bill 7ÿÿ7
              or were youÿ'8  47!46ÿ'in8ÿ$paying
                            involved         '8&ÿ#his
                                                      '2ÿbill?
                                                           '!!5
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 A.    G740ÿ
                       No. Myÿmom
                                  7ÿ#handles
                                        86!2ÿall!!ÿ$paying
                                                        '8&ÿbills.
                                                                 '!!24
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q. )40ÿ00'6ÿ#
                       Did theÿ1company
                                  7$8ÿreceive
                                            1'4ÿaÿbill,
                                                          '!!Bÿa
 1(
 130ÿ0statement
        28ÿ7ÿ8ÿ'84   7'1ÿ%from
                    or an invoice      7ÿMr.
                                             4ÿHBryant
                                                   8ÿ7orÿ#his
                                                                '2ÿ!law
                                                                     
 13
 140ÿ0%'5
        firm?
 16
 150ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 A.    59ÿ87
                       I'm notÿsure.
                                2 4
 18
 160ÿ0ÿ0ÿ0ÿ0ÿ0)40ÿ0
                 Q-    07ÿ7
                       Do youÿ" 87ÿ'if%ÿthe
                               know         #ÿ1company
                                                 7$8ÿreceived
                                                          1'46
 1@
 170ÿ07ÿ
        more #8ÿ78ÿ'847'
              than one invoice1ÿ7orÿbill
                                        '!!ÿ7orÿ2statement
                                                   8ÿ%from
                                                                7ÿMr.
                                                                      4
 1D
 180ÿ0H8  5
        Bryant?
 1E
 190ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 A.    5ÿ#4
                       I haveÿ8 7ÿ'idea.
                               no    64
 C
 200ÿ0ÿ0ÿ0ÿ0ÿ0)40ÿ0
                 Q.    0'6ÿ7
                       Did youÿ  4ÿ2speak
                                 ever    $"ÿto7ÿMr.
                                                     4ÿHBryant
                                                          8
 1
 210ÿ07   2!%5
        yourself?
 
 220ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 A.    5ÿ#'8
                       I think"ÿ5Iÿwas
                                     2ÿ'involved
                                          847!46ÿ'in8ÿthe
                                                          #ÿ%first
                                                                '2
 (
 230ÿ01784  2'78ÿ#ÿ
        conversation   that weÿ#had
                                  6ÿ'in8ÿthe
                                            #ÿ7office
                                                 %%'1ÿwith
                                                          '#ÿthem.
                                                                 #4
 3
 240ÿ0386ÿ7#ÿ#8ÿ#
        And other than that,  Bÿ5Iÿthink
                                     #'8"ÿthat
                                             #ÿwas
                                                    2ÿ'it.
                                                         40ÿMyÿ6dad
                                                                    6
 6
 250ÿ0#86!6ÿÿ!7ÿ7%ÿ#
        handled a lot of the  ÿ1conversing
                                  7842'8&ÿwith'#ÿ#him.
                                                        '4
     @ESQUIRE                                               800.211.DEPO
                                                              ÿ(3376)
                                                                             
                    DEPOSITION SOLUTIONS                      defghijdhklcom
                                                             EsquireSolutions.   hm
                                                                                 7n1%
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  81

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ0567ÿ89
                 Q.           ÿconversation
                       The first     79ÿyouÿ6had
                                                           ÿin
                                                              9ÿthe
                                                                   67
 0!0ÿ0
  2     8897"ÿ#79$ÿ9ÿ
       office,   meaning in   67ÿ%PVGC
                              the    &'(ÿoffice?
                                          8897)
 000ÿ0ÿ0ÿ0ÿ0ÿ0
  3              140ÿ0Yeah.
                 A.    2764
 0430ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0From
                       4#ÿ5Louisiana?
                              99)
 0560ÿ0ÿ0ÿ0ÿ0ÿ0A.140ÿ0Yes
                       274
                          .
 0670ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Was
                       8ÿ6 ÿaÿ9phone
                            that      67ÿcall?
                                            @@)
 07A0ÿ0ÿ0ÿ0ÿ0ÿ0A.140ÿ0IBÿ69
                         thinkCÿso?
                                 )0ÿBIÿ 69CÿDwe7ÿEEÿIBÿthink
                                          think              69Cÿ6had
                                                                    
 08F0ÿ0aÿ 8777ÿ@@4
          conference   call.0ÿBIÿ#  7"ÿIBÿdon't
                                   mean,      GÿCknow.
                                                     D40ÿIt's
                                                             BG
 0H0ÿ0
  9     I77ÿawhile.
       been   D69@74
 1P0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10              340ÿ086ÿ9  9997 ÿ9inÿthat
                       Who participated          6ÿcall?
                                                       @@)
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11              140ÿ0Bÿ69
                      I think Cÿ9itÿmay
                                     #ÿ6have
                                           7ÿQjust
                                                 ÿIbeen
                                                       77ÿ#me,
                                                              7"ÿmy
                                                                 #
 1!0ÿ0mom
 12     ##ÿand
               ÿdad.
                  4
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13              340ÿ01
                      Andÿ6  Gÿthe
                            that's    67ÿonly
                                           @ÿcommunication
                                                ##99ÿEE
 130ÿ0strike
 14     9C7ÿ64
                that.
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿIs
 15                    Bÿ6 Gÿthe
                          that'     67ÿonly
                                         @ÿconversation
                                              79ÿthat
                                                               6
 170ÿ0you
 16           9997 ÿ9
        ÿ9participated   inÿD 96ÿMr.
                                with  R4ÿSBryant?
                                            )
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17              140ÿ0Bÿ69
                      I think Cÿso.
                                 4
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18              340ÿ0T9
                      Didÿ  ÿdirectly
                            you   97@ÿcommunicate
                                            ##97ÿDwith96
 1H0ÿ0Mr.
 19     R4ÿSBryant
              ÿ9ÿÿ  67ÿway,
                    in any other     D"ÿ@like
                                            9C7ÿ7e-mail
                                                  E#9@ÿorÿtext
                                                               7U
 !P0ÿ0message
 20     #7$7ÿÿ69$
                 or anythingÿ@   9C7ÿthat?
                               like    6)
 !10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21              140ÿ0Bÿ  9 G4
                      I didn't.
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22              340ÿ086ÿE
                       What Eÿwhat
                                 D6ÿdid9 ÿyou,
                                              "ÿyour
                                                    ÿmom
                                                         ##ÿand
                                                               
 !00ÿ0your
 23     ÿdad
                ÿ@CÿI
                  talk aboutÿwith
                               D96ÿRMr.
                                       4ÿSBryant
                                            ÿduring
                                                     9$ÿthe
                                                             67
 !30ÿ0first
 24     89ÿ79)
               conversation?
 !60ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25              140ÿ059C7ÿB
                      Like Iÿsaid,
                               9 "ÿ9it's
                                         GÿIbeen
                                               77ÿawhile.
                                                     D69@74
                                                            ÿddefg
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    hijklmnopjqkorhsot
                                                            EsquireSolutions.com
                                                                               2&718
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     `abacÿefÿghipch                                    t ÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     `abaÿghipchÿqaracpsÿitrbcpibtcÿuvÿtwhtÿipxypsbÿhrxf
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  82

 010ÿ0ÿ0ÿ0ÿ
   1         345ÿ674898
             MR.            0ÿJust
                  PARTINGTON:   ÿÿjustÿfor!"ÿthe
                                                          #$
 0%0ÿ0
  2     "$&!"'(ÿ)$ÿ0"$ÿ1!ÿ
        record,  we are not 0 $"213
                            asserting
 040ÿ0
   3    0!"1$5&62$1ÿ7"2 826$3$ÿ0asÿto!ÿthese
        attorney-client privilege               #$$
 0940ÿ0&!@@ 12&02!150ÿA$
        communications.     66(ÿ9Iÿ@mean,
                          Well,       $01(ÿjust
                                               ÿBbecause
                                                     $&0$
 05C0ÿ0I9ÿ#21Dÿ5!ÿÿ)0 1ÿto!ÿ@make
          think you just want         0D$ÿthat
                                             #0ÿclear
                                                   &6$0"
 06E0ÿ0for
         !"ÿ#$ÿ"$&!"'5
            the record.0ÿF!
                          Soÿÿ0  1'ÿÿ0and
                                  and        1'ÿ9Iÿcan
                                                    &01
 0G0ÿ0
   7    $66ÿ5!ÿ#2ÿ!1ÿ#
        tell you this on the$ÿrecord
                               "$&!"'ÿ!or"ÿ!offÿthe#$
 0H0ÿ0
   8    "$&!"'(ÿBÿ)$ÿ3!(
        record, but we got,ÿfrom
                               "!@ÿIBryant's
                                      "501P
 09Q0ÿ0inventory
        218$1!"5ÿ
                   --
 1R0ÿ0ÿ0ÿ0ÿ8STÿU9VT476S
 10                         T40ÿV
             THE VIDEOGRAPHER:       2'ÿ5you
                                   Did    !ÿsay
                                                05ÿ3go!ÿ!off
 110ÿ0#$ÿ"$&!"'W
 11     the record?
 1%0ÿ0ÿ0ÿ0ÿMR.
 12          345ÿ674898 0ÿI9ÿsaid
                  PARTINGTON:        02'ÿ)we$ÿ&can
                                                01ÿBbe$ÿ!on1
 140ÿ0!"ÿ!
 13           5
        or off.
 190ÿ0ÿ0ÿ0ÿÿ0ÿ&!75ÿ!
 14             a copy ofÿ) #0$8$"ÿremained
                           whatever     "$@021$'ÿ!ofÿ#his 2
 1C
 150ÿ0file.
         26$50ÿ71'ÿ9ÿ#08$ÿ #050ÿ9
               And I have that.      Iÿ0 6!ÿ#have
                                        also    08$ÿÿ9I
 1E
 160ÿ0!165ÿ#08$ÿ!1$ÿ    60#ÿ'drive,
        only have one flash    "28$(ÿBbutÿI9ÿ#have
                                                  08$ÿ2itÿ!on1
 1G
 170ÿ0#$ÿ   60#ÿ'"28$(ÿ)#
        the flash           2&#ÿ0also
                   drive, which    6!ÿ#has
                                          0ÿcouple
                                               &!76$ÿ!of
 1H
 180ÿ0communications
        &!@@12&02!1ÿ0B! ÿÿ)with
                        about        2#ÿ#him
                                           2@ÿBbetween
                                                  $)$$1
 1Q
 190ÿ06UXÿ01'ÿ#2@ÿ#0ÿ)   $"$ÿ$electronic.
        PVGC and him that were     6$&"!12&50ÿ7And  1'ÿ@my5
 %R
 200ÿ03$ÿ2ÿ@!ÿ!
        guess is most ofÿ#2 ÿfile
                          his   26$ÿ)was0ÿ!on1ÿthe
                                                  #$
 %1
 210ÿ0&!@7$"ÿ#0ÿ218$1   !"5ÿ0attorney
        computer that inventory      !"1$5ÿ'didn't
                                                  2'1P
 %%
 220ÿ00D$ÿ7!$2!1ÿ!
        take possession of.50ÿFSo!ÿ9Iÿ#have
                                        08$ÿthat
                                               #0ÿ#here
                                                     $"$
 %4
 230ÿ0!'055
        today.
 %9
 240ÿ0ÿ0ÿ0ÿ345ÿY7AS
             MR. LAWHON:0ÿ D0550ÿSHow
                           Okay.      !)ÿ6long
                                           !13ÿ#have
                                                   08$ÿ5you
                                                          !
 %C0ÿ0
 25     #0'ÿ2W
        had it?

                                                            800.211.DEPO
                                                              deÿg(3376)
                                                                            hhcom
                                                                               ijk
                    DEPOSITION SOLUTIONS                     lmnopqrstnuosvlwsx
                                                             EsquireSolutions.  yU$"1
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     Y`a`bÿdeÿfghibg                                    sÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     Y`a`ÿfghibgÿp`q`birÿhsqabihasbÿtuÿsvgsÿhiwxirayÿgqwe
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           x       83

 010ÿ0ÿ0ÿ0ÿ
   1        345ÿ674898
            MR.           0ÿWeÿgot
                PARTINGTON:         ÿitÿpretty
                                              !"
 0#0ÿ0
  2    $!%"ÿ&ÿ$'!ÿ(ÿ'
       early              )&0ÿout
             on after we found     )ÿthat
                                        1$ÿ1heÿ1had
                                                    $0
 020ÿ0
   3   0050ÿ34$)5ÿ&
       died.              $%%"ÿ(when
              Because initially     1&ÿ6—6ÿ(when
                                                1&ÿthis
                                                      15
 070ÿ0
   4   55)
       issueÿ'!5ÿ4$8ÿ) 9ÿ(weÿtried
             first came up,        !0ÿtoÿ4call
                                                $%%ÿ1him
                                                      8
 05@0ÿ0$&0ÿ1&ÿ054A!0
       and then discoveredÿ1 ÿ(was
                            he   $5ÿ0deceased.
                                      4$5050ÿ7And  &0
 06B0ÿ0so
       5ÿ1&ÿ(ÿ1$0ÿÿ8C$!Dÿon&ÿthe
          then we had to embark         1ÿEjourney
                                              )!&"ÿof'
 0F0ÿ0
   7   '&0&ÿ1ÿ&A&!"ÿ$attorney,
       finding the inventory    !&"9ÿ(who 1ÿis5ÿ66
 08G0ÿ0H1ÿ$4)$%%"ÿ00ÿ
       Keith actually did  1$50ÿ9Iÿ4can't
                           that,        $&Iÿ!remember
                                                 88C!
 09P0ÿ0(1$ÿ1ÿ)"I5ÿ&$8
       what the guy's nameÿ( $550ÿ7And
                            was.     &0ÿ5soÿ(weÿgot
                                                    ÿit
 1Q
 100ÿ0'!8ÿ66ÿÿ($5ÿ3D
       from -- it was MikeÿR Sÿ8maybe,
                            Fox    $"C50ÿTSomething
                                              81&
 11
 110ÿ0%Dÿ1$5
       like that.0ÿI
                   9ÿ4$&I
                     can'tÿremember,
                            !88C!9ÿCbut )ÿ66
 1#
 120ÿ0ÿ0ÿ0ÿ345ÿU7V
            MR. LAWHON:0ÿ81$I5ÿokay.
                         That's     D$"50ÿI9ÿ8mean,
                                                 $&9ÿ9I
 12
 130ÿ0D&(ÿ1ÿC$!ÿD  5ÿtrack
       know the bar keeps   !$4Dÿof'ÿthat
                                        1$ÿ5stuff.
                                                )''5
 17
 140ÿ0ÿ0ÿ0ÿ345ÿ674898 0ÿYeah.
            MR. PARTINGTON:   W$15
 1@
 150ÿ0ÿ0ÿ0ÿ345ÿU7V
            MR. LAWHON:0ÿ9
                         Iÿ$ 8ÿEjust
                            am   )5ÿcurious
                                      4)!)5ÿ(why  1"ÿ(we
 1B
 160ÿ0()%0&Iÿ1$AÿÿC '!ÿtoday.
       wouldn't have it before     0$"5
 1F
 170ÿ0ÿ0ÿ0ÿ345ÿ674898 0ÿI9ÿ0don't
            MR. PARTINGTON:        &IÿCbelieve
                                           %Aÿit
 1G0ÿ0was
 18    ($5ÿ(1&ÿ1ÿ54 ÿof'ÿ(what
           within the scope        1$ÿ$any
                                         &"ÿof'ÿthe
                                                    1
 1P0ÿ0previous
 19     !A)5ÿ!X)55ÿ'!ÿproduction
                requests for    !0)4&ÿ(would)%0ÿCbe.
                                                        5
 #Q0ÿ03)ÿ9ÿC!)1ÿ9ÿ$
 20                       &4 $&ÿthat
       But I brought it, anticipating       1$ÿit
 #10ÿ0()%0ÿCÿ581&ÿ
 21    would be something  1$ÿpeople
                           that     %ÿ(would
                                            )%0ÿ(want
                                                     $&
 ##0ÿ0ÿ59ÿ$&4
 22                   $&ÿthat
       to see, anticipating   1$ÿitÿ(would
                                         )%0ÿCbe
 #20ÿ0something
 23    581&ÿ1$ÿ()%0ÿCbeÿ$asked
                 that would        5D0ÿ$about,
                                           C)50ÿ9It
 #70ÿ08$"ÿ1$AÿC&ÿ1$ÿ
 24    may have been that ( ÿ$actually
                           we   4)$%%"ÿ6--6ÿCbecause
                                                 4$)5
 #@0ÿ0(ÿ66ÿÿ8$"ÿCÿ66ÿ
 25    we -- it may be --  !"&ÿtoÿ6--6ÿitÿ1had
                           trying                  $0ÿ&not
                                                        
                                                            800.211.DEPO
                                                              dÿf(3376)
                                                                             gghij
                    DEPOSITION SOLUTIONS                     k lmnopqrsmtnrukvcom
                                                             EsquireSolutions.   rw
                                                                                 Wy!1'
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     VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           u       84

 010ÿ0
  1    3445ÿ678949ÿ44
       been produced either 7ÿbecause
                               344ÿitÿwasn't
                                               5
 00ÿ0
  2    5ÿ4ÿ864ÿ8
       within  the scope ofÿ aÿrequest
                                74!4ÿor 87ÿ3because
                                                 44ÿwe4
 0"0ÿ0
  3    9ÿ83#449ÿ85ÿ8$
       had  objected on some4ÿ8ofÿthe
                                     4ÿ%licensing
                                          455&
 0'40ÿ04 (0ÿBut
       issues.   )ÿ0ÿ14
                     I haveÿitÿtoday,
                                   8923ÿso8ÿ-­
                                               44
 0550ÿ0ÿ0ÿ0ÿMR.
             67(ÿ89@ABCD
                 LAWHON:0ÿ0Iÿ 5Eÿitÿwould
                              think       8%9ÿhave
                                                   14
 0F
  60ÿ0been
       3445ÿ814749ÿ32ÿ28
             covered by your7ÿinitial
                               5%ÿ7Rule
                                           %4ÿ26F
 0G70ÿ0disclosures.
       9%874(0ÿAnyways,
                      95223ÿifÿ2you8ÿare
                                            74ÿ&going
                                                  85&ÿto8
 0H
  80ÿ0rely
       74%2ÿ85ÿ(
             on it.0ÿBut
                     )ÿ0ÿ
                          I 44ÿwe
                                4ÿ9don't
                                      85ÿ5need
                                              449ÿto8ÿhave
                                                       14
 0I0ÿ0
  9    ÿ8514785ÿ7
       that                 &ÿ5now.
             conversation right      8(0ÿ) 4ÿthat
                                           Be    ÿasÿit
 1P0ÿ0$23ÿ28ÿ14ÿ8$4
 10                         5&ÿ--
       may, you have something     44ÿ8other
                                        47ÿcopies
                                                 864ÿfor87
 110ÿ0me
 11    $4ÿ8ÿ%88EÿQ
           to look at?
 10ÿ0ÿ0ÿ0ÿMR.
 12          67(ÿR97S0CTSBC
                 PARTINGTON:D0ÿC 8(0ÿ0
                                No.    Iÿ# ÿ4—4ÿwell,
                                          just      4%%3
 1"0ÿ0take
 13    E4ÿÿ8   (0ÿU8ÿ
             this off.      ÿisÿ44ÿand
                        So this            59ÿ0Iÿneed
                                                   5449ÿto8
 1'0ÿ0take
 14    E4ÿ44ÿE2ÿ5  84ÿoff
             these sticky notes    8 ÿof8 ÿit.
                                              (0ÿ) 
                                                   But
 150ÿ0this
 15    ÿÿ414725&ÿ  85ÿaÿflash
             is everything on        %ÿ9drive,
                                            7143ÿwhich
                                                    
 1F0ÿ0I0ÿ%%ÿ&14ÿ8ÿ283
 16      will give to you,ÿ8   7ÿitÿcan
                              or      5ÿ&get
                                            4ÿ6passed
                                                  49
 1G0ÿ0around
 17    7859ÿ59ÿ6486%4ÿ  5ÿcopy
               and people can    862ÿitÿifÿthey
                                               42ÿwant.
                                                      5(
 1H0ÿ0ÿ0ÿ0ÿThis
 18          Sÿÿÿ79 862ÿ8of,3ÿactually,
                  is a hardcopy           %%23ÿ8of
 1I0ÿ0just
 19    #ÿÿÿÿ4
             what was his --4ÿwhat
                                ÿwe4ÿ&got
                                           8ÿfrom
                                                 78$ÿthe
                                                      4
 P0ÿ0inventory
 20    5145872ÿ87542(
                  attorney.0ÿHappy
                               A662ÿto8ÿ&give
                                            14ÿthis
                                                   ÿto8
 10ÿ0you
 21         to look at whenÿI
       28ÿ8ÿ%88Eÿÿ45   0ÿtake
                                 E4ÿthe
                                        4ÿsticky
                                            E2ÿ5notes
                                                       84
 0ÿ0of
 22    8 f.(
 "0ÿ0ÿ0ÿ0ÿMR.
 23          67(ÿ89@ABCD
                 LAWHON:0ÿIf
                           0 ÿ2you
                                8ÿwant
                                      5ÿto8ÿ5note
                                                 84ÿwhere
                                                      474
 '0ÿ0your
 24    287ÿE2ÿ584ÿ  74ÿwith
             sticky notes are   ÿaÿ6pen
                                           45ÿ$mark
                                                 7Eÿor
                                                      87
 50ÿ0something,
 25    8$45&3ÿ0$ÿ   54ÿwith
                   I'm fine    ÿthat.
                                     (
                                                            ÿddefg
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    hijklmnopjqkorhsot
                                                            EsquireSolutions.com
                                                                               vw471
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            v      85

 010ÿ0ÿ0ÿ0ÿ
  1          345ÿ674898
             MR.            0ÿThat's
                  PARTINGTON:   8ÿokay.
                                            !5ÿÿI9
 0"0ÿ0
  2    #$%$%&$#ÿ'$#$ÿ$!
       remember   where theyÿ #$5
                              are.
 0(0ÿ0ÿ0ÿ0ÿ
  3          345ÿ)701
             MR.  LAWHON:0ÿI
                           9ÿ2don't.
                               35
 0440ÿ0ÿ0ÿ0ÿMR.
             345ÿ674898 0ÿAnd
                  PARTINGTON:   732ÿ'what
                                      ÿ9Iÿ55ÿI9ÿ6can3
 0570ÿ0tell
       $88ÿ!9ÿ'ÿ9ÿ@  3 ÿthis
             you what I think    @ÿ@is.
                                        50ÿSoAÿthis
                                                  @ÿ@is
 06B0ÿ0me  speculating.0ÿBecause
       %$ÿC$698@3D5    E$69$ÿthis
                                     @ÿ55ÿthis@ÿ'was
                                                       
 07F0ÿ0the
       $ÿ6G$#ÿ$$ÿ3ÿ  @5
            cover sheet on it.
 08H0ÿ0ÿ0ÿ0ÿMR.
             345ÿ)701
                  LAWHON:0ÿ0$88Iÿ8let
                           Well,    $ÿ%me$ÿ2doÿthis,
                                                 @Iÿ@ifP
 0Q
  90ÿ0I9ÿ%!5
          may.0ÿI9ÿ23ÿ'3ÿoÿget
                   don't want    D$ÿtoo
                                        ÿPfar
                                              #ÿahead
                                                   $2ÿofP
 1R0ÿ0ourselves.
 10    9#$8G$5
 110ÿ0ÿ0ÿ0ÿMR.
 11          345ÿ674898 0ÿOkay.
                  PARTINGTON:    !5
 1"0ÿ0ÿ0ÿ0ÿMR.
 12          345ÿ)701
                  LAWHON:0ÿ9Pÿ9Iÿcan
                           If    63ÿ2doÿ@itÿthis
                                                 @ÿway.
                                                     '!5
 1(0ÿ0Why
 13    0!ÿ23ÿ'$ÿ2ÿ@  50ÿI9ÿ'will
            don't we do this,        @88ÿcontinue
                                           63@39$ÿthe $
 140ÿ0line
 14    8@3$ÿPÿS9$@3@3D
             of questioning,50ÿT 3ÿ9Iÿlook
                                Can     8 ÿatÿthat
                                                    
 170ÿ0during
 15    29#@3Dÿ8936U
               lunch?
 1B0ÿ0ÿ0ÿ0ÿMR.
 16          345ÿ674898 0ÿA
                  PARTINGTON:    9#$5
                                Sure.
 17          345ÿ)701
 1F0ÿ0ÿ0ÿ0ÿMR.    LAWHON:0ÿAnd
                           732ÿthen
                                 $3ÿ%maybe
                                        !&$ÿ'we$ÿ6can
                                                    3ÿDget
                                                          $
 1H0ÿ0it
 18    @ÿ6C@$2ÿ29#@3Dÿ89  3650ÿAnd
           copied during lunch.     732ÿ55ÿand32ÿthen
                                                    $3ÿ'we$
 1Q0ÿ0will
 19    '@88ÿ#$G@@ÿ'ÿ'
             revisit what we$ÿwant
                               '3ÿto
                                     ÿtalk
                                           8 ÿabout
                                                  &9
 "R0ÿ0relative
 20    #$8@G$ÿÿÿC  #@698#ÿCpackage.
                  to that particular     6 D$5
 "10ÿ0ÿ0ÿ0ÿMR.
 21          345ÿ674898 0ÿ73
                  PARTINGTON:     2ÿ55ÿand
                                And      32ÿVjust
                                                 9ÿtoÿ&be$
 ""0ÿ0clear,
 22    68$#Iÿ$#$ÿ#$ÿÿ
               there are a P  $'ÿcommunications,
                             few 6%%93@6@3I
 "(0ÿ0e-mails,
 23    $5%@8Iÿ8$$#ÿ  ÿare
                  letters that   #$ÿon3ÿthe
                                         $ÿPflash
                                                 8
 "40ÿ0drive,
 24    2#@G$Iÿ'$#$G$#ÿ@ÿ
               wherever it '  $3Iÿthat
                             went,   ÿare
                                           #$ÿ3not
                                                  ÿ@in3
 "70ÿ0here.
 25    $#$50ÿE$69$ÿ@
               Because thisÿ@  ÿjust
                              is V9ÿwhat
                                        'ÿ'we$ÿDgot
                                                    
                                                            ÿdeefgh
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    ijklmnopqkrlpsitpu
                                                            EsquireSolutions.com
                                                                               wx$#1P
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     XY`Yaÿcdÿefghaf                                    ryÿÿ 
                                      229
      PETER J. VICARI                                           October 16, 2018
     XY`YÿefghafÿiYpYahqÿgrp`ahg`raÿstÿrufrÿghvwhq`xÿfpvd
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  86

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1           3456ÿ789ÿ 9754ÿattorney.
              from the inventory      77549
 00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  2                ÿLAWHON:
                   MR.    !"#$%0ÿ&  Iÿunderstand.
                                      '(94)7(
 000ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  3                ÿ1PARTINGTON:
                   MR.    2&$32#$%0ÿ4So5ÿ55
 060ÿ0ÿ0ÿ0ÿ
  4        0ÿ0ÿ0ÿ0ÿÿ  !"#$%0ÿ4So5ÿ6maybe
                   MR. LAWHON:          79ÿ55
 080ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  5                ÿ1  2&$32#$%0ÿ9But
                   MR. PARTINGTON:       '7ÿ7this
                                               8)ÿis)ÿ7the
                                                          89ÿ5only
                                                               @
 0A0ÿ0ÿ0ÿ0ÿ
  6        0ÿ0B5Cÿ787ÿ&
              copy that Iÿ7 45'D870ÿ4So5ÿ5--5
                           brought.
 0E0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  7                ÿ  !"#$%0ÿ&Iÿ(don't
                   MR. LAWHON:         5F7ÿGknow
                                               5Hÿif3ÿyou
                                                          5'ÿ8have
                                                               9
 0I0ÿ0ÿ0ÿ0ÿ
  8        0ÿ0ÿHÿ75ÿ@5 5Gÿat7ÿ7this,
              a way to look         8)Pÿ7but
                                           '7ÿHwe9ÿHwill
                                                     @@ÿBcome
                                                           569
 0Q0ÿ0ÿ0ÿ0ÿ
  9        0ÿ07BGÿ75ÿ78
              back to that7ÿ(during
                              '4Dÿ5--5
 1R
 100ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ"  &4#$%0ÿ2This
                   MR. HARRISON:       8)ÿis)ÿHweird.
                                                  94(
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ1  2&$32#$%0ÿ&IÿBcan
                   MR. PARTINGTON:          ÿ)show
                                                  85Hÿyou
                                                        5'ÿ8how
                                                              5Hÿit7
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0H54G)
              works.
 10
 130ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ"  &4#$%0ÿSDoes
                   MR. HARRISON:       59)ÿit7ÿCpop
                                                  5Cÿ5out
                                                       '7ÿ5or4
 16
 140ÿ0ÿ0ÿ0ÿ0ÿ0)56978DT
              something?
 18
 150ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ  !"#$%0ÿ&It7ÿ3flips
                   MR. LAWHON:          @C)ÿaround.
                                                45'(0ÿUYeah.
                                                            98
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ"
 1A                       &4#$%0ÿ!Why
                   MR. HARRISON:       8ÿ(don't
                                            5F7ÿHwe9ÿDget
                                                        97ÿit7
 170ÿ0ÿ0ÿ0ÿ0ÿ0V')7ÿC479
 1E           just printed(ÿ55
 1I
 180ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ  !"#$%0ÿ&IÿHwas
                   MR. LAWHON:         )ÿ7thinking
                                            8GDÿ7that
                                                        87ÿyou
                                                               5'
 1Q
 190ÿ0ÿ0ÿ0ÿ0ÿ0'C@5(ÿ7ÿ5
              upload it onÿyour
                              5'4ÿ@laptop.
                                     C75C
 R
 200ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ"  &4#$%0ÿ&If3ÿ&Iÿ8have
                   MR. HARRISON:             9ÿ4room.
                                                     5560ÿ"Hard
                                                              4(
 10ÿ0ÿ0ÿ0ÿ
 21        0ÿ0(49ÿ)ÿC4 977ÿ3full.
              drive is pretty     '@@
 0ÿ0
 22   9Uÿÿ !"#$%
      BY MR. LAWHON:
 00ÿ0ÿ0ÿ0ÿ0ÿ0
 23           W
              Q.0ÿ0All
                    @@ÿ4 D870ÿLet's
                        right.      97F)ÿBcontinue,
                                           57'9Pÿ7then,
                                                        89P
 60ÿ0
 24   )B9ÿH9ÿ49ÿ)7@@ÿ
      since we are still 5 ÿ7the
                          on   89ÿ4record.
                                     9B54(
 8
 250ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ97ÿ69
                   Let meÿ3 5@@5Hÿ'upCÿHwith
                           follow        78ÿaÿBcouple
                                                   5'C@9ÿ5of3ÿ6more
                                                                549
    @ESQUIRE                                                800.211.DEPO
                                                              ÿe(3376)
                                                                             ffghi
                    DEPOSITION SOLUTIONS                     j klmnopqrlsmqtjucom
                                                             EsquireSolutions.   qv
                                                                                 Uw9413
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            p      87

 010ÿ0
  1    34567896ÿ947ÿ
       questions about Mr.ÿ   7ÿand
                              Bryant    ÿmaybe
                                             5ÿwe5ÿwill8!!
 0"0ÿ0
   2   5#8687ÿ$8ÿ%78&4  !!ÿafter
       revisit him particularly       '75ÿ!lunch.
                                             4&$
 0(0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
   3                  )$9ÿ00
                      Who — ÿ6
                             so9ÿ1Iÿ7think
                                      $82ÿyou
                                             94ÿalready
                                                   !5ÿ7told
                                                              9!ÿme5
 030ÿ0
   4   94ÿ% 78&8%75ÿ8
       you participated   inÿ9 5ÿ%phone
                              one   $95ÿ&call,
                                            !!4ÿno9ÿ9other
                                                        7$5
 050ÿ0
   5   &948&7896ÿ7$7
       communications thatÿ   94ÿ$had
                             you    ÿdirectly
                                         85&7!ÿwith87$
 060ÿ0
   6   ÿ7
       Mr. Bryant.0ÿ7ÿ1ÿ
                      And I 5!85#5ÿyou
                            believe     94ÿwere
                                             55ÿ8going
                                                    988ÿ7to9ÿ6start
                                                                77
 0970ÿ079ÿ75 !!ÿ5ÿ7$5ÿ'86
       to tell              7ÿ&conversation
                 me the first   9#56789ÿ7that $7ÿyou
                                                        94ÿ$had
                                                              ÿwith
                                                                  87$
 0@80ÿ0ÿ 7ÿwas
       Mr. Bryant    6ÿ947
                        about.
 0A90ÿ0ÿ0ÿ0ÿ0ÿ07A.0ÿ01ÿ7$82ÿ8it7ÿwas
                      I think       6ÿBjust
                                         467ÿ8going
                                                988ÿ7through
                                                        $948$
 1C
 100ÿ07$86ÿ
       this 00ÿ1ÿ7$824ÿ'  9ÿwhat
                 I think, from    $7ÿ1Iÿremember,
                                           5554ÿ8going
                                                        988
 11
 110ÿ07$948$ÿ7$5ÿ%%!8&   789ÿ9of'ÿ$how
       through the application          9 ÿ7to9ÿ'fill
                                                  8!!ÿ8it7ÿ9out
                                                             47
 1"
 120ÿ0%9%5!ÿ5&465ÿ87
       properly because itÿwas 6ÿBjust
                                    467ÿ7the
                                           $5ÿ8initial
                                                878!ÿ%phone
                                                           $95
 1(
 130ÿ0&!!
       call.0ÿD5ÿ8E7ÿ$  #5ÿanything
                He didn't have    7$88ÿ'from
                                             9ÿ4us.
                                                    60ÿ1It7ÿwas
                                                               6
 13
 140ÿ0B467ÿ
       just 8794&7894ÿ
             introduction, 1Iÿ8 4566
                               guess.
 15
 150ÿ0ÿ0ÿ0ÿ0ÿ0F0ÿ01'ÿ00ÿ
                 Q.          6ÿGJackie
                      If -- was    &285ÿHFarris
                                            86ÿalso
                                                     !69ÿ$helping
                                                             5!%88
 16
 160ÿ094ÿ
       you at7ÿ7$5ÿ7854ÿ'8 !!ÿ9out
                the time, fill    47ÿ7the
                                       $5ÿapplication?
                                            %%!8&789I
 19
 170ÿ0ÿ0ÿ0ÿ0ÿ070ÿ01ÿ9E
                 A.         7ÿremember,
                      I don't   5554ÿ1Iÿreally       9E70ÿ1It7
                                                5!!ÿdon't,
 1@
 180ÿ0was
        6ÿ6so9ÿ5!ÿ9ÿ1ÿ9E7ÿremember
                early on I don't    555ÿwho $9ÿdid
                                                     8ÿwhat.
                                                           $7
 1A
 190ÿ0ÿ0ÿ0ÿ0ÿ0F0ÿ0P9ÿ$9
                 Q.   So howÿ! 98ÿwas
                              long    6ÿ7the
                                           $5ÿ'first
                                                867
 "C
 200ÿ0&9#567894ÿ7$5ÿ&   9'55&5ÿ&call?
       conversation, the conference        !!I
 "10ÿ0ÿ0ÿ0ÿ0ÿ070ÿ01ÿ9E
 21              A.         7ÿremember.
                      I don't   5550ÿ1It7ÿwas 6ÿ#very
                                                        5ÿ6short.
                                                               $97
 ""0ÿ0I1ÿ5
 22          4ÿB467ÿÿ87
         mean,              94&7894ÿ$he5ÿsaid
                 just an introduction,         68ÿ6send
                                                      5ÿme5ÿwhat
                                                                 $7
 "(0ÿ094ÿ8
 23          97ÿ69ÿ
       you got       5ÿ&ÿ
                 so we      5ÿ!look
                       can maybe    992ÿat,
                                           74ÿstart
                                               677ÿ7the
                                                        $5ÿ%process.
                                                              9&566
 "30ÿ0I1ÿ54ÿ87ÿ
 24      mean, it was6ÿ97$88ÿ8inÿ%particular.
                        nothing        78&4!
 "50ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25              F0ÿ0Dÿ9ÿsent
                      Had anybody   657ÿMr.
                                            ÿBryant
                                                  7ÿanything
                                                           7$88
    @ESQUIRE                                                800.211.DEPO
                                                                ÿ(3376)
                                                                            
                    DEPOSITION SOLUTIONS                     defghijkelfjmncom
                                                             EsquireSolutions.  jo
                                                                                qr51'
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     GHIHPÿRSÿTUVWPU                                    ahipqrsÿtuvÿwxty
                                      229
      PETER J. VICARI                                           October 16, 2018
     GHIHÿTUVWPUÿXHYHPW`ÿVaYIPWVIaPÿbcÿadUaÿVWefW`IgÿUYeS
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            yy      88

 010ÿ0
  1    345674ÿ894ÿ964ÿ
       before the phone callÿfor
                                567ÿhim
                                      9ÿ8to6ÿlook
                                                 66ÿat8ÿ6or7ÿdid
                                                               ÿyou
                                                                      6
 0!0ÿ0
  2    " #8ÿ8ÿ36
      just   talk about8ÿ$98ÿ#should
                         what   96 ÿgo %6ÿin
                                             ÿ8the
                                                   94ÿapplication?
                                                        86&
 0'
  30ÿ0ÿ0ÿ0ÿ0ÿ0A. ()0ÿ00ÿ618ÿ8think
                      I don't   9ÿnothing
                                        689%ÿwas$#ÿ#sent
                                                          48ÿ8to6ÿhim
                                                                   9
 02
  40ÿ0because
       34 #4ÿ8ÿ$#ÿ"   #8ÿ8the
                 it was just   94ÿfirst
                                   57#8ÿphone
                                            964ÿcall
                                                      ÿ6of5ÿseeing
                                                               #44%
 03
  50ÿ0who
       $96ÿ9
           he4ÿ$#ÿÿ$98
                was and whatÿhe
                              94ÿcan
                                   ÿeven
                                        444ÿdo6ÿ5for
                                                    67ÿus#ÿbecause
                                                            34 #4
 05
  60ÿ0it
       8ÿ$
          was#ÿ"just
                  #8ÿ66ÿ%44ÿ8to6ÿus#ÿ3byÿsomebody
                     -- given               #6436ÿ4else#4ÿ#so6ÿit
                                                                   8
 07
  70ÿ0was
       $#ÿcalling
             %ÿ9ÿ
                     him andÿhe
                              94ÿ9had
                                   ÿ8to6ÿmake
                                            4ÿ9himself
                                                    #45ÿan
 08
  80ÿ0appointment
       6848ÿ86ÿ%48ÿ
                     to get 9 ÿ6onÿ8the
                            him         94ÿphone
                                            964ÿ3because
                                                      4 #4ÿ9he4ÿ$was
                                                                    #
 09
  90ÿ0busy.
       3 #)0ÿAnd
               (ÿ$94ÿ94ÿ $#ÿable
                    when he was    34ÿ8to6ÿ%get
                                              48ÿ6onÿthe
                                                       894
 1@0ÿ0conference
 10    654744ÿAÿ$4
                    call, weÿall
                              ÿ"just
                                      #8ÿ%got
                                            68ÿ6onÿ8the
                                                      94ÿcall
                                                          ÿand
                                                                  
 110ÿ0just
 11          876 4ÿ4
       " #8ÿintroduced      9ÿ6other
                         each   8947ÿandÿtell
                                             84ÿhim
                                                    9ÿ$what
                                                           98ÿ$we4
 1!0ÿ0were
 12    $474ÿ87%ÿ86ÿ6ÿ  ÿhe
             trying to do and   94ÿ"just#8ÿkind
                                             ÿ6of5ÿ--
                                                       66ÿ5from
                                                            76ÿ$what
                                                                   98
 1'0ÿ0I0ÿ74
 13          4347Aÿ94ÿ#
         remember,   he saidÿsend
                              #4ÿme4ÿ$what
                                           98ÿyou
                                               6 ÿ%got68ÿand
                                                            ÿlet's
                                                                  481#
 120ÿ0see
 14    #44ÿ$what
             98ÿ$4ÿÿ6)
                  we can do.0ÿ0 8ÿwas
                               It  $#ÿnothing
                                           689%ÿinÿstone
                                                        #864ÿ6of5
 130ÿ0doing
 15    6%ÿ89%)
              anything.
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16              B)0ÿ0C6ÿ94ÿ
                      So he $ #18ÿ9hired
                            wasn't      74ÿyet
                                              48ÿ3 byÿ8the
                                                          94ÿcompany
                                                               6
 170ÿ0during
 17     7%ÿ67ÿ345674ÿ89
               or before the4ÿ5first
                                7#8ÿcall?
                                         &
 180ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18              ()0ÿ00ÿ618ÿ8think
                      I don't   9ÿso,#6Aÿ3because
                                              4 #4ÿit8ÿ$was#ÿjust
                                                                  " #8
 190ÿ0an
 19    ÿ 876 86)
          introduction.
 !@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20              B)0ÿ0(ÿ894ÿyou
                      And then    6 ÿ7remember
                                        44347ÿsomebody
                                                   #6436ÿ#sending
                                                                4%
 21    #64ÿ56786ÿ86
 !10ÿ0some   information toÿD  7)ÿBryant?
                              Mr.  E78&
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22              ()0ÿ00ÿ89ÿso.
                      I think  #6)0ÿ0 Iÿ8  9ÿ$we4ÿsent
                                          think       #48ÿover
                                                            6447ÿ66ÿI0
 !'0ÿ0guess
 23    % 4##ÿ$4ÿ#48ÿ894ÿ  86ÿand
              we sent the application        ÿ9he4ÿkind
                                                      ÿ6of5ÿ$walked
                                                                  4
 !20ÿ0us#ÿ8976
 24              %9Aÿ0ÿ%
          through,       4##Aÿ9how
                     I guess,   6$ÿto86ÿfill
                                         5ÿit8ÿ6out8ÿproperly.
                                                           7647)
 !30ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25              B)0ÿ0F96ÿ$6  ÿ9have
                      Who would    44ÿsent
                                         #48ÿthat
                                               898ÿinformation
                                                        56786
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghfijfk
                                                            EsquireSolutions.com
                                                                               lm4715
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     defegÿipÿqrstgr                                    x ÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            }      89

 010ÿ0
  1    34ÿ5678
       to him?
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0ÿ356
                A.         ÿ7myÿmom
                     I think      747ÿwas
                                        ÿ3the
                                              5ÿ4one
                                                   ÿthat
                                                       353
 030ÿ0e-mailed
       !76"#ÿ63ÿ34ÿ567
                 it to him.
 0$0ÿ0ÿ0ÿ0ÿ
   4         0ÿ0Q.   &ÿ'
                %0ÿ0We areÿ( 46(ÿ3to4ÿcome
                             going      )47ÿ0back
                                                 )ÿ3to4ÿ3that,
                                                            531ÿso
                                                                  4
 02
  50ÿ0you
       43ÿ)can
             ÿ6#ÿ44ÿ5ÿ3that
                kind of keep   53ÿ5handy.
                                      #0ÿ  Iÿ0"66ÿ3that's
                                                  believe     537
       #430"!6##
 0680ÿ0double-sided.
 0790ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
                     @AÿB&CDEF0ÿ
                         LAWHON:      #ÿ0byÿ3the
                                    And         5ÿway,
                                                   1ÿGBruce,
                                                            '3)1
 08H0ÿ0ÿ0ÿ0ÿ0ÿ0for
                44'ÿ35ÿ')4'#1ÿIjust
                    the record,    33ÿso4ÿyou
                                             43ÿknow,
                                                   41ÿ3the5ÿ302
                                                                 P9
 09Q0ÿ0ÿ0ÿ0ÿ0ÿ0is
                6ÿ35ÿ7
                   the sameÿthing
                            356(ÿasÿ3the
                                         5ÿRExhibit
                                                S56063ÿ$4ÿ3to4ÿthe
                                                               35
 1P0ÿ0ÿ0ÿ0ÿ0ÿ0BSI
 10             GTÿ#54
                    depo.
 11                  @AÿU
 110ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.     AVEWVDEF0ÿD
                         PARTINGTON:       
                                         Okay.
 190ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 12                  @AÿB&CDEF0ÿT
                         LAWHON:    So4ÿwe
                                        ÿ)can
                                              ÿsort
                                                  4'3ÿ4of4ÿ)clear
                                                              "'
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0that
 13             353ÿ35ÿ#4ÿ3the
                     up down   5ÿroad.
                                   '4#0ÿ   #ÿ303
                                             And   P ÿis
                                                       6ÿ3the
                                                             5ÿsame
                                                                  7
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0thing
 14             356(ÿÿRS56063ÿ92.0ÿSingle-sided.
                      as Exhibit        T6("!6##
 120ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ(Thereupon,
 15                  XV5'3541ÿYDefendant's
                                    4#37ÿRExhibit
                                                    S56063ÿENo.4
 180ÿ0ÿ0ÿ0ÿ0ÿ0303
 16              P ÿÿ7'#ÿfor
                    was marked   44'ÿidentification.)
                                      6#3646)364`
 190ÿ0BY
 17    Gaÿ@AÿB&CDEF
          MR. LAWHON:
 1H0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             %0ÿ0Y6#ÿ43ÿ5have
                     Did you   6ÿaÿchance
                                       )5)ÿ3to4ÿ"look
                                                      44ÿat3ÿ3that
                                                                 53
 1Q0ÿ0e-mail?
 19    !76"8
 9P0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             0ÿ0a
                     Yes.
 910ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             %0ÿ0C6ÿ43ÿseen
                     Have you    ÿ3that
                                       53ÿ0before?
                                              44'8
 990ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22             0ÿ0ÿ#473ÿremember.
                     I don't  '770'
 9 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23             %0ÿ0T4ÿ3'36(ÿat3ÿ3the
                     So starting        5ÿ0bottom
                                              43347ÿand
                                                       #ÿkind
                                                            6#ÿ4of4
 9$0ÿ0working
 24    4'6(ÿ43'ÿÿ351
                our way up,ÿthere
                            35'ÿappears
                                      55'ÿ3to4ÿ0beÿanÿe-mail
                                                            !76"
 920ÿ0from
 25    4'47ÿA40'3ÿb6)'6ÿ
             Robert Vicari 34ÿcJackie
                           to    )6ÿat3
                                                            deefghiÿkllmno
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    gpqrstuvwxryswzp{w|
                                                            EsquireSolutions.com
                                                                               ab'14
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     STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            r      90

 010ÿ0
  1    3456789697445  64670ÿDo
       bsicontractorsservices.com.      7ÿyou
                                             7ÿsee
                                                 4ÿ9that?
                                                        9
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0
   2            "0ÿ0#4
                A.   Yes.
 0$0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            %0ÿ0&4ÿ''ÿ
                Q.   Is     54ÿ9that
                            is   9ÿ9the
                                       ÿe-mail
                                            '5(ÿaddress
                                                     ))44ÿ0for
                                                               7
 010ÿ0
   4   7ÿ
       your 7
             mom?
 0520ÿ0ÿ0ÿ0ÿ0ÿ0"0ÿ0
                A.   #4
                     Yes.
 0630ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                %0ÿ0"8)ÿ9
                     And theÿe-mail
                                '5(ÿ4says,
                                        44ÿ5"These
                                                64ÿare
                                                         ÿ9the
                                                              
 070ÿ0
   7   8734ÿ
       jobs &9ÿ@758@ÿ97ÿ9  Aÿ7onto
             I'm going to type    897ÿ9their
                                        5ÿ0form.
                                                70ÿ& Iÿstarted
                                                          499)
 0B0ÿ0
   8   C59ÿ
       with 8734ÿ58ÿ63  ÿ!2002.
             jobs in December    DD!0ÿIs
                                        &4ÿ9this
                                             54ÿ7okay?
                                                    E 0ÿDoes
                                                            74
 0F0ÿ0
  9    6ÿÿÿ97ÿ
       each                 G(ÿ!2,000
             year have to equal    4DDDÿhours."
                                          7450ÿDo7ÿyou
                                                          7ÿsee
                                                              4
 1D
 100ÿ0((ÿ9  9
       all that?
 110ÿ0ÿ0ÿ0ÿ0ÿ0"0ÿ0H5@9
 11             A.   Right.
 1!
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.%0ÿ0&994ÿ) 9)ÿ"August
                     It's dated    @49ÿ!24th
                                            19ÿ7of0ÿ!2016.
                                                       D130ÿ# 7
                                                              You
 1$
 130ÿ0see
       4ÿ9that?
             9
 11
 140ÿ0ÿ0ÿ0ÿ0ÿ0"0ÿ0IE
                A.   Okay.
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             %0ÿ0P7ÿ 3ÿyour
                     So remember    7ÿapplication
                                          AA(569578ÿCwas 4
 13
 160ÿ0signed
       45@8)ÿ78ÿ"@49ÿ!$  )4ÿ9the
               on August 23rd,    ÿ)day
                                       ÿ3before?
                                            07
 170ÿ0ÿ0ÿ0ÿ0ÿ0"0ÿ0IE
 17             A.   Okay.
 1B
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.%0ÿ0P7ÿ)7ÿ
                     So do  7ÿ'—'ÿdo
                            you     )7ÿyou
                                         7ÿrecall
                                             6((ÿhaving
                                                        58@ÿany
                                                                8
 1F
 190ÿ0communications
       6785695784ÿC59
                        withÿJackie
                             Q6E5ÿRFarris
                                       54ÿabout
                                                379ÿyour
                                                        7
 !D0ÿ0AA(569578ÿ78)ÿ
 20    application around "  @49ÿ!23rd
                            August   $)ÿ7orÿ"August
                                                @49ÿ!24th?
                                                         19
 !10ÿ0ÿ0ÿ0ÿ0ÿ0"0ÿ0&ÿ)789
 21             A.          90ÿI&ÿ)7
                     I don't.        899ÿremember.
                                   don't    30ÿ&  Iÿ84ÿ&I
                                                           mean,
 !!0ÿ0)7899
 22    don't.
 !$0ÿ0ÿ0ÿ0ÿ0ÿ0%0ÿ05)ÿ7
 23             Q-   Did youÿever
                              ÿ9talk
                                     (Eÿ9to7ÿher
                                                ÿ)directly?
                                                     569(
 !10ÿ0ÿ0ÿ0ÿ0ÿ0"0ÿ0&ÿ
 24             A.          899
                     I haven't.
 !20ÿ0ÿ0ÿ0ÿ0ÿ0%0ÿ05)ÿ7
 25             Q-   Did youÿever
                              ÿ6communicate
                                     78569ÿCwith59ÿher
                                                           
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                    DEPOSITION SOLUTIONS                     e fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 #s10
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     TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                           October 16, 2018
     TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            s      91

 010ÿ0
  1    3456789ÿ6865ÿ
       directly, whether byÿ6e-mail,
                               49ÿ8text
                                          68ÿmessage
                                                 6 6ÿ!or5ÿany
                                                               "
 0#0ÿ0
   2   !865ÿ$
       other way?
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            &'0ÿ0(!'
                A.   No.
 0)0ÿ0ÿ0ÿ0ÿ
   4            0'0ÿ01!ÿ34
             0ÿ0Q.         3ÿmost
                     Who did   !8ÿ!of2ÿ8the
                                          6ÿcommunicating
                                              7!3"4784" ÿwith48
 0540ÿ0Jackie
       57646ÿ7554$
               Farris?
 0680ÿ0ÿ0ÿ0ÿ0ÿ0&'0ÿ0
                A.   9ÿ84"
                     I     6ÿmyÿmom
                       think        !ÿ3did
                                         43ÿ4initially,
                                              "48499ÿbecause
                                                             6736
 0@0ÿ0
   7   6ÿwasn't
       she   "A8ÿ5!3"3ÿ8!!ÿ9long,
                   around too    !" ÿI9ÿ8think.
                                           4"6'
 08B0ÿ0ÿ0ÿ0ÿ0ÿ00'0ÿ0
                Q-   1!ÿ696ÿwould
                     Who else    !393ÿ!of2ÿcommunicated
                                           7!3"47863
 09C0ÿ0D54549ÿ48ÿ576 46ÿ7Farris,
       primarily with Jackie     554ÿ4if2ÿ4it8ÿwasn't
                                                    "A8ÿyour
                                                             !35
 1E
 100ÿ0!$
       mom?
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0&'0ÿ0
                A.   (!ÿ!ÿÿJackie
                     No, mom      57646ÿwasn't
                                            "A8ÿaround
                                                      5!3"3ÿshe
                                                               6
 1#
 120ÿ0343"A
       didn't8ÿ3!ÿ37ÿ2865ÿ4initial
               do much after   "4849ÿcall.
                                         799'0ÿ9 Iÿ8 4"6ÿ8they
                                                     think    6
 1%
 130ÿ099ÿ  6"8ÿ8!ÿFG43ÿH
       all went            5"8'
                 to David Bryant.
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             0'0ÿ0&"3ÿ8656ÿ4isÿan"ÿe-mail
                     And there           649ÿ5response
                                                    6D!"6ÿ8to!
 140ÿ0
 15    !35ÿ!Aÿ649ÿ3
       your                Dÿabove
             mom's e-mail up   !G6ÿ2from
                                        5!ÿJackie     554'0ÿYou
                                            57646ÿ7Farris.      I!3
 18
 160ÿ0see    8ÿ48Aÿ6"8ÿ
       66ÿ8that it's sent !"ÿ&August
                           on    3 38ÿ24th
                                         #)8ÿ!of2ÿ2016
                                                    #E18ÿat8
 1@
 170ÿ011P%4ÿ''$
       11:35 a.m.?
 1B
 180ÿ0ÿ0ÿ0ÿ0ÿ0&'0ÿ0Q4
                A.      8'
                     Right.
 1C
 190ÿ0ÿ0ÿ0ÿ0ÿ00'0ÿ0I!3ÿ6
                Q-         6ÿactually
                     You see   78399ÿhasÿaÿ8tracking
                                                    5764" ÿwhere
                                                               656
 #E0ÿ048ÿ7!
 20          "245ÿ88ÿ!
       it confirms         35ÿmom
                    that your    !ÿ5read
                                      63ÿ8the
                                            6ÿ6e-mail
                                                  49ÿ!on"
 #10ÿ0
 21    &3 38ÿ#)ÿ8ÿ11P%C
       August              ÿa.m.?
               24, at 11:39,   ''$
 ##
 220ÿ0ÿ0ÿ0ÿ0ÿ0&'0ÿ0Q4
                A.      8'
                     Right.
 #%0ÿ0ÿ0ÿ0ÿ0ÿ0
 23             0'0ÿ0R6'
                Q.   Okay.0ÿS3ÿyou
                            Had     !3ÿseen
                                         66"ÿ8this
                                               4ÿ6e-mail
                                                      49
 #)
 240ÿ062!56$
       before?
 #4
 250ÿ0ÿ0ÿ0ÿ0ÿ0&'0ÿ09ÿ3!"A
                A.         8ÿ5remember.
                     I don't   6665'
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             de
                    DEPOSITION SOLUTIONS                     f ghijklmnhoimpfqcom
                                                             EsquireSolutions.   mr
                                                                                 It6512
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     QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                           October 16, 2018
     QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            p      92

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ0567ÿ89
                 Q.           ÿparagraph
                       The last     9996ÿsays
                                                9ÿ--
                                                     ÿtalking
                                                           98
 020ÿ0about
        9!"#ÿ67ÿ"$7%ÿ
              the projects    69ÿyour
                              that     "#ÿmom
                                            &"&ÿ6had
                                                  9'ÿtalked
                                                       987'
 0(0ÿ0
  3     9!"#ÿÿ)077ÿ988ÿ
        about     "were all "  1ÿthese
                              of    677ÿprojects
                                            "$7%ÿnew
                                                     70
 020ÿ0
   4    %"#%"30ÿIf
       construction?     41ÿ9any
                              ÿ"of1ÿthem
                                        67&ÿ0were
                                              77ÿrenovation
                                                   7"59"ÿ0work,
                                                                  "6
 0570ÿ067ÿ "%7"ÿ088ÿ
       the processor    will  "ÿgive
                              not    57ÿtime
                                          &7ÿ1for
                                                  "ÿrenovations,
                                                       7"59"6
        #87ÿÿ09ÿ9ÿ9'
 0680ÿ0unless                 '"40ÿOnly
               it was an addition.        98ÿnew
                                                  70ÿ%construction
                                                       "#%"
 0@0ÿ0
   7    0"ÿ088ÿ!7ÿ%"'
       work                   77'4)0ÿA
             will be considered."         "ÿyou
                                         Do   "#ÿsee
                                                   77ÿthat?
                                                        693
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
  8              C40ÿ0D74
                 A.    Yes.
 0E0ÿ0ÿ0ÿ0ÿ0ÿ0
  9              340ÿ0A'ÿ"
                 Q.           #ÿ&mom
                       Did your     "&ÿtalk
                                         98ÿto
                                              "ÿyou
                                                  "#ÿ9about
                                                        !"#ÿ6having
                                                                95
 1F0ÿ0to
 10     "ÿ&97ÿ9ÿ'1177%
           make  a difference 7ÿ!between
                                  7077ÿnew70ÿ%construction
                                                  "#%"ÿ9and'
 11     7"59"ÿ0"ÿ"ÿ
 110ÿ0renovation     work on  "#ÿ9application?
                              your     8%9"3
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12              C40ÿ04ÿ'"G
                       I don'tÿremember.
                                 7&7&!74
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13              340ÿ04ÿ"'  7ÿto"ÿ&make
                       In order         97ÿsure
                                             #7ÿthat
                                                    69ÿyour
                                                           "#
 120ÿ0application
 14     98%9"ÿ09ÿ#   61#8ÿ9and
                      was truthful      'ÿaccurate,
                                            9%%#976ÿsince
                                                         %7
 170ÿ0Ms.
 15     H4ÿI9ÿ&9'7ÿ9ÿ'   %"ÿnew
            Farris made a distinction         70ÿ%construction
                                                   "#%"ÿ9and'
 16     7"59"6ÿ9ÿ"&
 180ÿ0renovations,     at some7ÿpoint
                                  "ÿ!before
                                          71"7ÿyou
                                                  "#ÿsigned
                                                        7'ÿthe
                                                                 67
 1@0ÿ0application
 17     98%9"ÿ#'7ÿ"   966ÿ'did
                      under oath,      'ÿyou
                                          "#ÿ&make
                                                97ÿ9anÿ7effort
                                                           11"ÿto"
 1B0ÿ0distinguish
 18     '#6ÿ!7077
                      betweenÿ0  69ÿrenovation
                               what     7"59"ÿwork
                                                    0"ÿ0was
                                                            9ÿ9and
                                                                 '
 1E0ÿ0what
 19     069ÿnew
             70ÿ%"#%
                  construction"ÿ0work
                                    "ÿwas?
                                         093
 20F0ÿ0ÿ0ÿ0ÿ0ÿ0A.C40ÿ04ÿ&79
                       I mean,6ÿI'm
                                 4G&ÿsure
                                        #7ÿ0we've
                                              7G57ÿdone
                                                    '"7ÿsomething.
                                                            "&764
 2110ÿ0I4ÿ$#ÿ'"Gÿ7&7&!
          just                76ÿ4Iÿreally
                don't remember,                 "G4
                                       7988ÿ'don't.
 220ÿ0ÿ0ÿ0ÿ0ÿ0Q. 340ÿ0A'ÿ"
                       Did you#ÿ'do"ÿ9any
                                       ÿresearch
                                          779%6ÿ"orÿ9ask
                                                           ÿ9anybody
                                                                !"'
 23(0ÿ0what
        069ÿqualifies
             P#9817ÿ9ÿ   70ÿconstruction
                         as new   %"#%"ÿ9and 'ÿ0what
                                                         69
 2420ÿ0qualifies
        P#9817ÿ9ÿ7"59   "3
                    as renovations?
 2570ÿ0ÿ0ÿ0ÿ0ÿ0A.C40ÿ04ÿ#7
                       I guessÿI4ÿ'don't
                                     "Gÿremember,
                                            7&7&!76ÿ4Iÿreally
                                                           7988
                                                             ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               Dq711
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     defegÿipÿqrstgr                                    x ÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            }~      93

 010ÿ0
   1   345678
       don't.
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  2             80ÿ0ÿ
                Q-   Here isÿExhibit
                               7ÿNumber
                                           !"ÿ#304,
                                                     $%&ÿ'also
                                                           (4ÿ4one
                                                                 5
 0#0ÿ0
   3   )'08
       page.
 0%0ÿ0ÿ0ÿ0ÿ
   4        0ÿ0ÿ0ÿ0ÿ12  !)45&ÿ3Defendant's
                     (Thereupon,      453'576ÿExhibit
                                                      7ÿNo.48
 0550ÿ0ÿ0ÿ0ÿ0ÿ0#$%ÿ6'ÿ"'  73ÿ4for
                304 was marked     4ÿidentification.)
                                        35748'74589
 06@0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
                     AB8ÿCD B2E F2G H0ÿIWas
                          PARTINGTON:        'ÿ7this
                                                  ÿ'also
                                                         (4ÿ4one
                                                               5ÿin5
 0P0ÿ0ÿ0ÿ0ÿ
   7        0ÿ047ÿ3)4  745Q
                other depositions?
 08R0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
                     AB8ÿSD IG H0ÿE
                          LAWHON:      7ÿisÿExhibit
                                      It        7ÿ#3.8
 09T0ÿ0UVÿAB8ÿSDIG
       BY MR. LAWHON:H
 1$
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.80ÿ033ÿW4
                     Did you!ÿ0get
                                7ÿ'aÿ8chance
                                        '58ÿ7to4ÿreview
                                                      X6ÿ7that?
                                                               '7Q
 110ÿ0ÿ0ÿ0ÿ0ÿ0D80ÿ0
 11             A.   V8.
                     Yes
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             80ÿ0'XÿW 4!ÿseen
                     Have you     5ÿ7that
                                        '7ÿbefore?
                                                44Q
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             D80ÿ0Eÿ3456
                     I don't7ÿ7know.
                                54680ÿIEÿdon't
                                           34567ÿ7think.
                                                     578
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             80ÿ0Y4ÿ76
                     So it'sÿ7kind
                                53ÿ4of4ÿ'aÿcontinuation
                                             84575!'745ÿ4of4ÿ7the
                                                                  
 150ÿ0conversation
 15    845X'745ÿ44
                     beforeÿ' 4!7&ÿWyou
                             about,     4!ÿ7know,
                                              546&ÿ6what
                                                      '7ÿ`jobs
                                                            4ÿ7to4
       list '53ÿ7'(750ÿ'
 160ÿ0(7ÿ
 1@                         4!7ÿrenovation
             and talking about     54X'745ÿverses
                                                 Xÿ5new
                                                           6
 1P
 170ÿ0construction.
       8457!874580ÿD53ÿ
                       And  4ÿ4on5ÿ7the
                            so        ÿbottom
                                           4774"ÿisÿ'aÿ4follow-up
                                                           4((46a!)
 1R
 180ÿ0e-mail
       a"'(ÿ44"ÿW4!ÿ"4
               from your mom"ÿ7to4ÿJackie,
                                   b'87&ÿit7ÿsays
                                                  'Wÿaaÿ7that
                                                              '7ÿis
 1T
 190ÿ0W4!ÿ
       your "4"6ÿa"'(ÿ'  33&ÿright?
             mom's e-mail address,     07Q
 9$0ÿ0ÿ0ÿ0ÿ0ÿ0D80ÿ0
 20             A.   V8
                     Yes.
 910ÿ0ÿ0ÿ0ÿ0ÿ080ÿ0
 21             Q-   D53ÿ7 6ÿ7the
                     And it's     ÿsame
                                       '"ÿ3date
                                              '7ÿ'asÿ7the
                                                         ÿ(last
                                                              '7
 990ÿ0
 22         7&ÿD!0!7ÿ9%7
       exhibit,             &ÿright?
                 August 24th,     07Q
 230ÿ0ÿ0ÿ0ÿ0ÿ0D80ÿ0
 9#             A.   V8
                     Yes.
 9%
 240ÿ0ÿ0ÿ0ÿ0ÿ080ÿ0
                Q.   G7'W8
                     Okay.0ÿc Eÿ8can
                             "I    '5ÿ(list
                                        7ÿ"more
                                                4ÿ8current
                                                      !57ÿ`jobs
                                                                4
 95
 250ÿ0!53ÿ7ÿ44"'5ÿ   8745ÿif4ÿheÿisÿ'allowed
       under the foreman section                    ((463ÿ7to4
                                                            800.211.DEPO
                                                              deefghiÿk(3376)
                                                                             llmno
                    DEPOSITION SOLUTIONS                     gp qrstuvwxryswzp{com
                                                             EsquireSolutions.   w|
                                                                                 V14
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     Y`a`bÿdeÿfghibg                                    sÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     Y`a`ÿfghibgÿp`q`birÿhsqabihasbÿtuÿsvgsÿhiwxirayÿgqwe
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           xy       94

 010ÿ0
  1    3456755ÿ7545689ÿ3  7
       oversee several jobs."
 00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  2                   85ÿFarris
                     Jackie    8667ÿwrites
                                         6!57ÿback,
                                                 8"ÿ"He#5ÿ$has
                                                                 87
 0%0ÿ0
  3    &365ÿ!$8'ÿ(95'!)ÿ30
       more than plenty ofÿ!   &5ÿif
                              time   0ÿ8all
                                          99ÿ!the
                                                $5ÿ(projects
                                                      635!7ÿ)you31
 0240ÿ0$83ÿ97!53ÿwas
       had listed   87ÿ'5
                        newÿ3'7!61!3'ÿ3or6ÿ8addition
                            construction            33!3'ÿwork."
                                                                 36
 0540ÿ0Do
       53ÿ)31ÿ755ÿ!$8!6
          you  see that?
 0670ÿ0ÿ0ÿ0ÿ0ÿ0A.
                80ÿ0Yes.
                      957
 07@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                A0ÿ0Do
                      53ÿ)31
                         youÿ6 5&5&56ÿ8any
                              remember      ')ÿ!time,
                                                 &5"ÿbefore
                                                        50365ÿ3or6
 08B0ÿ0during
       316'Cÿ!$5ÿ!&5ÿ)31
               the time youÿwere
                               565ÿdoing
                                     33'Cÿyour
                                             )316ÿ8application,
                                                      ((98!3'"
 09D0ÿ0that
       !$8!ÿyou
            )31ÿ!8953ÿ!3ÿ
                 talked to ) 316ÿ&mom
                            your     3&ÿabout
                                         831!ÿthe
                                                 !$5ÿ3difference
                                                        00565'5
 1E0ÿ0between
 10    5! 55'ÿ65'348!3'ÿ   36ÿ8and
                renovation work      '3ÿnew
                                         '5 ÿconstruction?
                                                3'7!61!3'6
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             80ÿ0IFÿ33'G!ÿknow.
                        don't   '3 0ÿIFÿ&mean,
                                             58'"ÿwe5ÿ$had
                                                         83ÿ5David
                                                                843
 10ÿ0Bryant
 12    H6)8'!ÿ!$8!ÿ   87ÿ'4
               that was     39453ÿtoo.
                         involved    !330ÿI  3ÿa8ÿ9lot
                                             So       3!ÿ3of0ÿ!things
                                                                $'C7
 1%0ÿ0went
 13     5'!ÿthrough
            !$631C$ÿ$&
                      him.0ÿHe
                            #5ÿwas87ÿ$helping
                                        59('Cÿus17ÿ!through
                                                       $631C$
 120ÿ0ultimately
 14    19!&8!59)ÿ!3ÿ(1!ÿ!  $7ÿ!through
                   to put this     $631C$ÿthe!$5ÿFlorida
                                                    93638
 140ÿ0licensing
 15    95'7'Cÿ3863
                  board.0ÿSo
                           I3ÿIFÿ&mean,
                                   58'"ÿIFÿ3don't
                                              3'G!ÿknow.
                                                       '3 0ÿF  Iÿ33'G!
                                                                  don't
 16    65&5&560ÿIFÿ&58'"ÿ
 170ÿ0remember.             $5ÿwas
                      mean, he    87ÿPPÿhe$5ÿwas87ÿwho$3ÿwe5ÿwere
                                                                565
 1@0ÿ0going
 17    C3'Cÿ!3ÿ036ÿ8ÿ93!ÿ
              to for a lot 3 0ÿthis
                            of  !$7ÿ!too,
                                         33"ÿ7so3ÿit!ÿwasn't
                                                        87'G!ÿjust
                                                                 17!
 1B0ÿ0Jackie.
 18    85
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             A0ÿ0Did
                      53ÿ)31ÿP--Pÿ3do3ÿyou
                          you           )31ÿ6remember
                                              5&5&56ÿ8aÿ7specific
                                                              (50
 E0ÿ0conversation
 20    3'45678!3'ÿ!$8!ÿ)  31ÿ$had
                      that you    83ÿwith
                                        !$ÿ)your
                                              316ÿ&mom3&ÿin'ÿgetting
                                                              C5!!'C
 10ÿ0your
 21         8((98!3'ÿ!3
       )316ÿapplication     C5!$56"ÿ3or6ÿwhen
                          together,          $5'ÿ)you
                                                    31ÿsigned
                                                        7C'53ÿ!the$5
 0ÿ0application,
 22    8((98!3'"ÿ831!ÿ
                      about 8
                            aÿ3 7!'!3'ÿbetween
                               distinction       5! 55'ÿrenovation
                                                           65'348!3'
 %0ÿ0work
 23     36ÿ8'3ÿ'5
            and newÿ3'7!6  1!3'6
                     construction?
 20ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             80ÿ0IFÿ33'G!ÿremember.
                        don't  65&5&560ÿIFÿ6really
                                                  5899)ÿdon't.
                                                           33'G!
 40ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
 25                   Q#RÿSF5RTUV8W#RVX0ÿQ
                          VIDEOGRAPHER:         $655ÿ&minutes
                                              Three     '1!57ÿ1until
                                                                   '!9
                                                            dÿfgghij
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    klmnopqrsmtnrukvrw
                                                            EsquireSolutions.com
                                                                               9S5610
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     bcdceÿghÿipqrep                                    vÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     bcdcÿipqrepÿsctceruÿqvtderqdveÿwxÿvypvÿqrrudÿpth
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           {|       95

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1           343ÿ56789
              DVD change.
 00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  2                ÿ
                   MR.     !0ÿWhy
                       LAWHON:       6"ÿ#don't
                                           $8%&ÿ"you
                                                  $'ÿ9go$ÿ7ahead
                                                            67#
 0(0ÿ0ÿ0ÿ0ÿ0ÿ0
  3           78#ÿ56789
              and change.
 0)0ÿ0ÿ0ÿ0ÿ
  4        0ÿ0ÿ0ÿ0ÿ01ÿ42 31341!0ÿ
                   THE VIDEOGRAPHER:         57"0ÿWeÿ7are
                                            Okay.         6ÿ$off
                                                               77
 080ÿ0ÿ0ÿ0ÿ
  5        0ÿ0&6ÿ65$6#
              the record.0ÿ0  69@ÿ9is@ÿMedia
                             This        #97ÿ11.0ÿ2It's
                                                      &%@
 0A0ÿ0ÿ0ÿ0ÿ0ÿ0
  6           1!1BÿCD
              12:10 p.m.
 0E0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  7                F066 'C$8Gÿ7aÿ@short
                   (Thereupon,        6$6&ÿrecess
                                             65@@ÿHwas
                                                       7@ÿ&taken.)
                                                             758I
 0P0ÿ0ÿ0ÿ0ÿ
  8        0ÿ0ÿ0ÿ0ÿ01ÿ42 31341!0ÿWeÿ7are
                   THE VIDEOGRAPHER:            6ÿQback
                                                      755ÿ$on8ÿ&the
                                                                 6
 0R0ÿ0ÿ0ÿ0ÿ
  9        0ÿ0record.
              65$6#0ÿ06 9@ÿHwill
                       This     9SSÿQbeÿ3Disk
                                           9@5ÿNumber
                                                'DQ6ÿ2,G
 1B
 100ÿ0ÿ0ÿ0ÿ0ÿ01!1)ÿCD
              12:14 p.m.
 11
 110ÿ0TUÿÿ !
      BY MR. LAWHON:
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0V0ÿ0ÿ67W
              Q-   We haveÿ8now
                              $HÿDmarked
                                    765#ÿ1Exhibit
                                             X69Q9&ÿNumber
                                                       'DQ6ÿ(305,
                                                                 B8G
 1(
 130ÿ06ÿ4957690ÿ075ÿ7
      Mr. Vicari.  Take aÿS  $$5ÿ7at&ÿ&that.
                           look         67&0ÿAnd
                                                8#ÿ&the
                                                      6
 1)0ÿ0
 14   5$8W6@7&9$8ÿ75&'7S
      conversation        S"ÿstarts
                   actually   @&76&@ÿ$on8ÿ&the
                                             6ÿQback
                                                  755ÿCpage,
                                                         79Gÿ@so$
 180ÿ0
 15   9&%@ÿ
      it's &H$Y@9##
           two-sided.0ÿ
                       Let&ÿDmeÿ5know
                                   8$HÿHwhen
                                         68ÿ"you've
                                               $'%Wÿ6had7#ÿ7a
 1A0ÿ0
 16   56785ÿ&$ÿ67#ÿ&67&
      chance to read that.
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0
 17           0ÿ057"
              A.   Okay.
 1P0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
 18                F066 'C$8Gÿ3Defendant's
                   (Thereupon,      78#78&%@ÿ1Exhibit
                                                   X69Q9&ÿNo. $
 1R
 190ÿ0ÿ0ÿ0ÿ0ÿ0(B8ÿH7@ÿD76 5#ÿ7for
              305 was marked     $6ÿ9identification.)
                                      #8&97957&9$8I
 B0ÿ0TUÿÿ
 20                !
      BY MR. LAWHON:
 21           V0ÿ039#ÿ"$
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.   Did you'ÿ6read
                              7#ÿ&the
                                     6ÿQbackside,
                                           755@9#Gÿ&too?
                                                       $$`
 0ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
 22           A.   57"
                   Okay.
 (0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23           V0ÿ0a$ÿ@&7 6&989ÿ$on8ÿ&the
                   So starting          6ÿQback.
                                             7550ÿHave
                                                      7Wÿ"you
                                                             $'
 )0ÿ0seen
 24   @8ÿ&69@ÿQ7$6`
           this before?
 80ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
 25           A.    $0ÿI2ÿ#don't
                   No.       $8%&ÿ6remember.
                                     DDQ6
    @ESQUIRE                                                800.211.DEPO
                                                              defgÿi(3376)
                                                                            jjcom
                                                                               klm
                    DEPOSITION SOLUTIONS                     enopqrstuvpwquxnyuz
                                                             EsquireSolutions.  U4617
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     WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            v       96

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056ÿ789
                Q.    Is that7ÿyour
                                 ÿmom's
                                        6ÿe-mail
                                               9ÿaddress?
                                                       9 66!
 0"0ÿ0ÿ0ÿ0ÿ0ÿ0
  2             #40ÿ0$64
                A.    Yes.
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             340ÿ0&ÿ8
                Q.    So herÿ 9ÿis6ÿdated
                              e-mail         97 ÿ#August
                                                     '67ÿ"29th
                                                             (78ÿof)
 0400ÿ02016,
       "1123ÿ7ÿ4956ÿ79   640ÿ#
              to Jackie Farris.        8 ÿ7the
                                     And    8ÿ)first
                                                 67ÿ6sentence
                                                         8785
 0590ÿ0says,
       6963ÿ@Aÿ6ÿ9ÿ5
              "Here is a copyBÿof)ÿCwhat
                                       897ÿI'm
                                            5ÿ7FedEx'ing
                                                   DE8'ÿ7to
 0620ÿ0Mr.   9H ÿI9874@
       F4ÿGDavid  Bryant."0ÿP 8ÿis6ÿ8nothing
                              There         788'ÿ9attached,
                                                      77958 3ÿbut
                                                                 Q7
 07R0ÿ0I'm
       5ÿ9assuming
             668'ÿ7ÿC96
                      it wasÿyour
                              ÿapplication
                                     9BB5978ÿQbecause
                                                      596ÿit7
 08S0ÿ0says
       696ÿ76ÿ9ÿ5Bÿ)
             it's a copy ofÿ9  BB597840ÿ$
                              application.        ÿ6see
                                                 You   ÿ7that?
                                                            897!
 09(0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                #40ÿ0Right.
                      T'874
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             340ÿ0Do
                      Gÿ
                         youÿ6 ÿwhere
                              see   C8ÿ6says
                                             96ÿ5copy
                                                    Bÿof
                                                         )
 110ÿ0application?
 11    9BB5978!
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             #40ÿ0Yeah.
                      $984
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0#ÿ
 13             Q.           '8740ÿIs
                      All right.     56ÿit7ÿyour
                                               ÿunderstanding
                                                     8 6798 8'
 100ÿ0of
 14    )ÿ6 ÿB87ÿ8ÿ7
           some point in timeÿyour
                                  ÿmom
                                         ÿBprovided
                                               H  ÿJackie
                                                         4956
 190ÿ0Farris
 15    796ÿC78ÿ9ÿ5B   7 ÿ9application
               with a completed      BB5978ÿ)form?
                                                     !
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16             #40ÿ0That's
                      P8976ÿCwhat
                               897ÿit7ÿlooks
                                          66ÿlike.
                                                 64
 1R0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17             340ÿ0Were
                      Uÿyou
                             ÿinvolved
                                  8HH ÿin8ÿthat
                                                 7897ÿprocess
                                                       B566ÿ9at7
 1S0ÿ0all?
 18    9!
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             #40ÿ0I'm
                      5ÿ8
                          not7ÿ6sure.
                                 40ÿI'm
                                         5ÿon8ÿ7the
                                                    8ÿ9application.
                                                         BB59784
 "10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20             340ÿ0Okay.
                      V6940ÿV 78ÿthan
                              Other    7898ÿreading
                                               9 8'ÿ7the
                                                         8
 "10ÿ0application
 21    9BB5978ÿ7ÿ96
                     to makeÿ6 ÿthat
                              sure   7897ÿit     87986ÿ9accurate
                                            7ÿ5contains    5597
 ""0ÿ0and
 22    98 ÿ7truthful
             78)ÿ8)  978ÿ9and
                      information      8 ÿthen
                                          788ÿsigning
                                                 6'88'ÿit,
                                                            73ÿCwhat
                                                                 897
 "%0ÿ0else
 23    6ÿC96ÿÿ8H   H87ÿin
             was your involvement      8ÿBputting
                                            778'ÿ7together
                                                      '78ÿ7the
                                                                 8
 "00ÿ0information
 24    8)978ÿ78976ÿ
                     that's  8ÿ7the
                             in   8ÿ9application?
                                        BB5978!
 "90ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25             #40ÿ0At
                      #7ÿ78
                         theÿ7 3ÿ5Iÿmean,
                              time,      983ÿ5Iÿdon't
                                                     87ÿremember
                                                           Q
                                                            ÿdeefgh
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    ijklmnopqkrlpsitpu
                                                            EsquireSolutions.com
                                                                               $w1)
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     RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                           October 16, 2018
     RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            qr      97

 010ÿ0
  1   3456789ÿ57ÿÿ
      exactly  what I did.0ÿBut,
                               7ÿIÿmean,
                                        35 ÿwe3ÿ5all
                                                      88ÿhelped
                                                           38!3
 0"0ÿ0
  2   7#$373%ÿ&&ÿ!7ÿ7ÿ
      together  -- put it 7  #$373%ÿme,
                            together,      3ÿmom
                                               #ÿ5andÿdad.
                                                           5
 0'
  30ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               (0ÿ0)#ÿ73  %3ÿ5are
                     So there    %3ÿ5aÿnumber
                                         03%ÿ#of1ÿprojects
                                                      !%#23673
 04
  40ÿ0listed
      8373ÿinÿ73ÿ5!!8  657# 0ÿAnd
                  the application,      5 ÿ7there
                                               3%3ÿis3ÿsome
                                                          3#3
 060ÿ0
  5   37583ÿ50#7ÿ7#33
      details  about thoseÿ!   %#236730ÿ7
                              projects.       #ÿ%remember
                                            You    3303%ÿ7that?
                                                               578
 090ÿ0ÿ0ÿ0ÿ
  6         0ÿ0A.
               50ÿ0@A59
                     Okay.
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
  7            (0ÿ0C#ÿ9#
               Q.    Do youÿA   #ÿwho
                             know     #ÿfound
                                         1# ÿ7those
                                                   #33ÿ!projects,
                                                           %#23673
 0D0ÿ0
  8   6#883673ÿ73ÿ#
      collected   them, whoÿ$  #7ÿthe
                              got  73ÿinformation
                                           1#%57# ÿ5about
                                                          0#7ÿ7the
                                                                 3
 0E0ÿ0
  9   !%#23
      proj  6738
          ects?
 10            50ÿ0)%3ÿ5
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.            88ÿ#of1ÿus;
                     Sure all         3Gÿme,
                                           3ÿmom
                                               #ÿ5andÿdad.
                                                           5
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11            (0ÿ0Cÿ9#
                     Did youÿ7talk
                                58Aÿ7to#ÿ9your
                                           #%ÿmom
                                                 #ÿ5andÿdad
                                                             5ÿwhile
                                                                83
 1"0ÿ0you
 12   9#ÿwere
            3%3ÿ6#88367
                collecting $ÿ7those
                               #33ÿ!projects
                                       %#23673ÿabout
                                                  50#7ÿwhat
                                                          57
 1'0ÿ0projects
 13   !%#23673ÿ3#8ÿ#%ÿ   3#8ÿnot
                should or should       #7ÿ$go#ÿ#onÿ7the
                                                     3
 140ÿ05!!8657#
 14   application? 8
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15            50ÿ0Hÿ3  %3
                     I'm sure.
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16            (0ÿ0Cÿ9#
                     Did youÿ7talk
                                58Aÿ5about
                                       0#7ÿnew3ÿconstruction
                                                   6# 37%67#
 17   I3%333ÿ%3
 1B0ÿ0verses      #I57# ÿwork
              renovation    #%Aÿwith
                                 7ÿ9your
                                         #%ÿmom#ÿ5andÿdad
                                                          5ÿwhen
                                                                3
 1D0ÿ0you
 18   9#ÿwere
            3%3ÿ7%9
                trying$ÿ7#ÿ
                        to 1  ÿprojects
                            find   !%#23673ÿ7to#ÿ!put7ÿ#onÿ7the
                                                              3
 1E0ÿ0application?
 19   5!!8657# 8
 "F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20            50ÿ0ÿ35
                     I mean,ÿI'm
                               Hÿnot#7ÿ3sure.
                                           %30ÿ   Hÿ3sure.
                                                   I'm    %3
 "10ÿ0Yeah,
 21   735ÿ3%3ÿ757H3ÿ   57ÿwe
             sure that's what    3ÿ7talked
                                       58A3ÿ5about.
                                                 0#7
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22            (0ÿ0@A59
                     Okay.0ÿ)So#ÿthis
                                 73ÿis3ÿ--
                                            &&ÿ2just
                                                  37ÿ7trying
                                                         %9 $ÿ7to#
 "'0ÿ0keep
 23   A33!ÿ73ÿ738
            the timeline3ÿinÿ!place
                                8563ÿhere.
                                       3%30ÿIÿ3showed
                                                     #3ÿyou
                                                             9#ÿ&-­&
 "40ÿ0remember
 24   %3303%ÿ9#%ÿ5!!8   657# ÿwas
                your application       53ÿdated
                                           573ÿ5August
                                                     $37ÿ"23rd.
                                                              '%
 "60ÿ0These
 25   P333ÿ3&583ÿ757ÿ
             e-mails that   3ÿlooked
                            we  8##A3ÿ5at,7ÿQExhibits
                                                 4073ÿ'303F'ÿand
                                                                5
                                                            ÿ
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               7s3%11
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     STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                           October 16, 2018
     STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            r       98
 010ÿ0
  1    3456ÿ789ÿ97ÿÿ
       304,                  7ÿ24th.
             the next day August      578 0ÿ!  So"ÿnow
                                                    "#ÿ7this
                                                          8$ÿ$is
 00ÿ0
  2    7ÿ%6ÿ&$'9ÿ
       August  29, five days ÿafter
                                &79(ÿ7that,
                                          87 0ÿYou)"ÿ#with
                                                         $78ÿ0me9ÿon
                                                                   "
 0330ÿ0the
       789ÿ7$091$92
            timeline?
 0450ÿ0ÿ0ÿ0ÿ0ÿ0A.
                 0ÿ0Right.
                      3$87
 0540ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                5 0ÿ0Have
                      6'9ÿyou
                             "ÿ7--7ÿ8have
                                       '9ÿyou
                                             "ÿdone
                                                    "9ÿanything
                                                          78$
       997#99ÿ7ÿ578
 0680ÿ0between  August 24thÿ   ÿAugust
                              and   7ÿ29th%78ÿ(relative
                                                      917$'9ÿto  7"
 0@70ÿ0your
       "(ÿapplication?
             AA1$B7$"2
 0C
  80ÿ0ÿ0ÿ0ÿ0ÿ0A. 0ÿ0IDÿ"E
                        don't   (909099( 0ÿI'm
                             7ÿremember.        DE0ÿsure
                                                      (9ÿ&fill
                                                             $11ÿ77
 09%0ÿ0filled
       &$119ÿA"(7$"ÿ"&ÿ
               portions of $  7ÿ"out.
                             it    7 0ÿIDÿdon't
                                               "E7ÿremember
                                                     (909099(
 140ÿ0offhand
 10    "&&8ÿ#87ÿ#9ÿ$
                what we didÿ" onÿ7those
                                    8"9ÿdates.
                                             79
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             5 0ÿ0F$ÿ"
                     Did you ÿactually
                                 B711ÿsit  $7ÿdown
                                                   "#ÿwith
                                                         #$78ÿaÿ7-­7
 10ÿ0with
 12    #$78ÿ789ÿAA1$B7$"
             the application ÿand
                                 ÿ7type
                                       A9ÿor"(ÿprint
                                                  A($7ÿ"or(ÿ8handwrite
                                                               #($79
 130ÿ0in
 13    $ÿ ÿ"&ÿ789ÿ$&"(
           any               07$"ÿin
               of the information      $ÿ$it7ÿ7that
                                                  87ÿsort
                                                        "(7ÿ"of&ÿa
 150ÿ0draft?
 14    (&72
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15              0ÿ0Dÿ78$
                     I think GÿIDÿdid
                                    $ÿon
                                        "ÿaÿdraft
                                                  (&7ÿ"one
                                                         9ÿand
                                                               ÿmy
                                                                   0
 180ÿ0mom
 16          A9ÿ$7ÿ11ÿ$
       0"0ÿ7typed it all in.0ÿH    87EÿDIÿthink
                                 That's        78$Gÿ#what
                                                        87ÿ$it7ÿBcalled
                                                                   119
 1@0ÿ0for,
 17    &"(6ÿ8ÿ7"ÿ99ÿ7A9
             had to be typed           78$G 0ÿIDÿdon't
                             ÿ$inÿDIÿthink.         "E7ÿremember.
                                                             (909099(
 1C0ÿ0She
 18    !89ÿ#went
             97ÿÿ7A9ÿ
                 and typed it$7ÿall
                                   11ÿupAÿ"onÿ7the
                                                  89ÿapplication.
                                                     AA1$B7$"
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             5 0ÿ0But
                      I7ÿ"
                          youÿ8have
                                 '9ÿaÿmemory
                                          090"(ÿ"of&ÿactually
                                                         B711
 40ÿ0writing
 20    #($7$ÿ"7ÿ#87ÿ8   "1ÿgo
                out what should     "ÿit
                                        $7ÿ$in?2
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21              0ÿ0Dÿ78$
                     I think GÿIDÿ(remember
                                    909099(ÿwriting
                                                #($7$ÿout
                                                          "7ÿsome
                                                                  "09
 0ÿ0jobs,
 22    P"96ÿA77$ÿ$A7
              putting inputÿ7 to"ÿ$it.
                                    7 0ÿWeQ9ÿall
                                                11ÿdid.
                                                     $
 30ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23             5 0ÿ0F"ÿ"
                     Do youÿG   "#ÿ#where
                              know     89(9ÿyou"ÿgot
                                                     "7ÿyour
                                                          "(
 50ÿ0information
 24    $&"(07$"ÿ&("0ÿ
                    from asÿ&   (ÿasÿthe
                              far       789ÿPjobs
                                                "9ÿgo;
                                                      "RÿPjust
                                                            7ÿ0memory
                                                                   90"(
 40ÿ0or
 25    "(ÿ$ÿ"ÿ1""Gÿ7ÿ
           did you look at  aÿ1 $72
                                list?


                                                            ÿd
                                                            800.211.DEPO (3376)
                    DEPOSITION SOLUTIONS                    efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               )s9(1&
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                            October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.             qq      99
 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056ÿ789
                A.          6ÿ8aÿjob
                      We have      ÿlist
                                       ÿwe
                                             6ÿkeep,
                                                   66 ÿ8all
                                                           ÿjobs.
                                                                  4
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0
  2             "40ÿ0#ÿ7$
                Q.          ÿ%you
                      I think   &ÿwere
                                    6'6ÿ8atÿ%your
                                                &'ÿ(dad's
                                                       8()
 0300ÿ0deposition
       (6$ÿ76$ÿ#ÿ  ÿit.
                    when I took    40ÿAm
                                        31ÿ#Iÿright?
                                              '273
 040ÿ0ÿ0ÿ0ÿ
   4         0ÿ0A.
                340ÿ05''66 4
                      Correct.
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  5             "40ÿ03$(ÿ7
                Q.          6'6ÿwas
                      And there    8ÿa8ÿlist
                                           ÿof8ÿ8aÿbunch
                                                         &$67ÿof8
 090ÿ0
  6    '66ÿ78ÿ6816ÿ
       projects  that came 8 '1ÿthe
                            from   76ÿwebsite
                                         66ÿthat78ÿ#Iÿwent
                                                             6$
 0@0ÿ0
   7   96'ÿwith
       over  7ÿ714
                   him.0ÿAÿ
                         Do %&ÿ'remember
                            you    61616'ÿthat
                                              78ÿlist?
                                                      3
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
  8             340ÿ0#ÿ'616
                A.          16'ÿit,
                      I remember     ÿbut
                                        &ÿI#ÿ(don't
                                                  $)ÿthink
                                                         7$ÿit
 0C0ÿ0
  9    8ÿ6complete.
       was   1664
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             "40ÿ0#ÿ78 ÿsimilar
                      Is that   18'ÿtoÿthe
                                             76ÿlist
                                                     ÿthat
                                                           78
 110ÿ0you're
 11    %&)'6ÿ8$2ÿ8&   ÿ1maybe
               talking about,    8%6ÿ$not
                                         ÿ8asÿlong?
                                                  $23
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             340ÿ0E6874
                      Yeah.0ÿ#
                             Iÿ 7$ÿwe6ÿkeep
                                think       66ÿon$ÿF--Fÿin$ÿthe
                                                                  76
 100ÿ0server
 13    6'96'ÿÿ1'6ÿ61  66ÿof8ÿ6everything.
               is more complete         96'%7$240ÿ5     66ÿwas
                                                         Website     8
 140ÿ0just
 14    &ÿpick
             6ÿ8$(ÿ67 6 ÿI#ÿthink
                   and choose,      7$ÿthey
                                            76%ÿjust
                                                  &ÿput
                                                         &ÿ6certain
                                                                6'8$
 170ÿ0ones
 15    $6ÿ$ÿ76'6
             on there,ÿ&ÿ
                        but 6ÿkeep
                            we  66ÿ8aÿtab
                                           8ÿon$ÿthat
                                                     78ÿlist.
                                                          4
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             "40ÿ0#ÿFFÿ
                      Is -- ÿwas
                            so  8ÿitÿthe
                                           76ÿserver
                                                6'96'ÿlist
                                                         ÿthat
                                                                78
 1@0ÿ0you
 17    %&ÿ8are
             '6ÿ6$2ÿ16ÿ
                telling me  78ÿwas
                            that   8ÿlooked
                                         6(ÿ8atÿtoÿdetermine
                                                          (66'1$6
 1B0ÿ0what
 18    78ÿjobs
             ÿ2ÿ$ÿ76
                   go on theÿapplication?
                             868$3
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             340ÿ0G274
                      Right.0ÿ5 6ÿkeep
                               We   66ÿ8aÿ1master
                                             86'ÿjobÿlist.
                                                           4
 !D0ÿ0ÿ0ÿ0ÿ0ÿ0"4
 20             Q.0ÿ03$(ÿ$
                      And inÿ 76ÿe-mail
                              the  6F18ÿhere
                                            76'6ÿ%your
                                                     &'ÿ1mom
                                                           1ÿ8asked
                                                                  6(
 !10ÿ0a8ÿ6&
 21          6ÿ8ÿH&6
         couple             $ÿabout
                 of questions   8&ÿsome
                                        16ÿ6changes.
                                                78$2640ÿBut I&ÿ8at
 !!0ÿ0the
 22    76ÿbottom
             1ÿ76ÿ8%
                    she says,ÿP #ÿ2gave
                               "I   896ÿhim,"
                                         71 Pÿ1meaning
                                                   68$$2
 !00ÿ0Mr.
 23    Q'4ÿI'%8$
            Bryant,ÿP6%ÿ 8ÿmy
                     "copy of  1%ÿjob
                                    ÿlist,
                                          ÿ'references
                                                  686'6$66
 !40ÿ0'67&'6ÿ8ÿ&'ÿ61
 24                         8$%4P
       brochure of our company."
 !70ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿIs
 25                   #ÿ76
                         theÿ ÿlist
                              job   ÿthat
                                         78ÿshe
                                                76ÿ1mentions
                                                       6$$ÿthe 76
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Er6'18
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      UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 100
 010ÿ0
  1    345ÿ6786ÿ93ÿ5
       one that you described5ÿ6that's
                                    786ÿon
                                           34ÿthe
                                               675ÿserver?
                                                      55
 020ÿ0ÿ0ÿ0ÿ0ÿ0A.!"0ÿ0#ÿ$5  "0ÿ#
                      I guess.    Iÿ% 584&ÿI#ÿdon't
                                     mean,       346ÿ'know
                                                         43(ÿwhat
                                                                (786
 03)0ÿ0extent
       506546ÿ75ÿ$85ÿ6ÿ   585ÿ#Iÿdon't
               she gave it because        346ÿif1ÿit's
                                                        6ÿ1from
                                                                3%
 0420ÿ0when
       (754ÿmy
             %9ÿ8ÿ6865
                 dad startedÿ3  ÿ1from
                               or   3%ÿ8aÿcertain
                                           5684ÿdate,
                                                        865"ÿÿI#
 0530ÿ0don't
       346ÿ'43(&ÿ6ÿ678   6ÿ4probably
              know, but that's      3859ÿthe
                                              675ÿ5list.
                                                    6"0ÿThere
                                                              6755ÿis
       3459ÿ345ÿ%865ÿ5
 0670ÿ0only  one master list.6"
 0780ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                9"0ÿ0Did
                      @ÿ93 ÿsee
                           you   55ÿthe
                                     675ÿ4package
                                           8'8$5ÿ6that
                                                      786ÿ9your
                                                              3ÿ%mom
                                                                     3%
 08A0ÿ0sent
       546ÿto
             63ÿB"ÿC9846
                Mr. Bryant?0ÿDid@ÿ9you
                                      3ÿ8approve
                                           4435ÿit,6&ÿanything
                                                           849674$
 09D0ÿ0that
       6786ÿyou
             93ÿÿ(67ÿ
                  did with it6ÿ8all?
                                 55
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10             !"0ÿ0I#ÿ%584
                        mean,&ÿI#ÿremember
                                    5%5%5ÿit6ÿbeing
                                                  54$ÿput46
 110ÿ0together.
 11    63$5675"0ÿWhat
                    F786ÿ#ÿ &ÿ#Iÿ6touched
                         I did,       375ÿit,
                                               6&ÿ#Iÿdon't
                                                        346ÿknow.
                                                                 '43("
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             9"0ÿ0Don't
                      @346ÿ'know
                              43(ÿif1ÿ5looked
                                         33'5ÿat86ÿit6ÿ3orÿ4not
                                                                36ÿ6to3
 1)0ÿ0see
 13    55ÿ(what
             786ÿGG
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             !"0ÿ0I'm
                      #%ÿ 5ÿ#Iÿreviewed
                          sure      55(5ÿit.6"0ÿI#ÿ%mean,
                                                           584&ÿ6to3
 130ÿ0what
 15    (786ÿextent,
             506546&ÿ#ÿ34
                      I don't6ÿknow.
                                '43("
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             9"0ÿ0So,    5444$ÿ3over
                      H3&ÿ1flipping    5ÿ4now,
                                              3(&ÿ6the
                                                    75ÿe-mail
                                                         5G%85
 180ÿ0August
 17    !$6ÿ)E67&ÿ13%ÿI   8'5ÿFarris
               30th, from Jackie     P8ÿ6to3ÿCBarbara
                                                   888ÿQVicari.
                                                                8"
 1A0ÿ0That's
 18    6786ÿ93ÿ%3%&ÿ   $76
               your mom, right?
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             !"0ÿ0Right.
                      R$76"
 20E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                9"0ÿ0Okay.
                      S'89"0ÿ!  4ÿ6this
                              And    7ÿisÿon
                                              34ÿAugust
                                                  !$6ÿ)30th,
                                                              E67&ÿ6the75
 2110ÿ0next  89"0ÿAnd
       4506ÿday.    !4ÿ6ÿ7 8ÿa8ÿreceipt
                        it has       5546ÿindicating
                                               4864$ÿ6that  786
 220ÿ0your
       93ÿmom
             %3%ÿ58ÿ675ÿ5  G%85ÿ8at6ÿ111:45
                  read the e-mail         1T23ÿ8a.m.
                                                  "%"ÿon34
 23)0ÿ0August
       !$6ÿ)E67"
               30th.0ÿDo
                       @3ÿ93 ÿsee
                           you   55ÿ6that?
                                      786
 2420ÿ0ÿ0ÿ0ÿ0ÿ0A.
                !"0ÿ0R$76"
                      Right.
 2530ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                9"0ÿ0H3ÿ75  ÿ$got
                      So she's    36ÿsome
                                      3%5ÿbullet
                                              5556ÿ4points
                                                        346ÿ7here.
                                                                  55"
                                                            ÿdef
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               tQ511
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 101

 010ÿ0
  1    345ÿ6789ÿ5ÿ99
       The first one says,ÿ    35ÿout
                               "Take  ÿall
                                            ÿthe
                                                  45ÿ5experience
                                                         !5875"5
 0#0ÿ0
  2    !$59ÿ4ÿ85ÿ85
       pages                 %7ÿwork,
              that are renovation     &8'0ÿThe345ÿ(DBPR
                                                       )01ÿ&will
                                                             7ÿnot
                                                                   
 0320ÿ0give
       $7%5ÿÿ"8537ÿ68
             any credit forÿ8   5%7ÿwork,
                               renovation     &8'0ÿThe
                                                       345ÿtime
                                                             745ÿ6for
                                                                   8
 0450ÿ0these
       4595ÿ!865"9ÿ"
              projects cannotÿ7be5ÿincluded
                                     7"353ÿ7inÿthe45ÿtotal
                                                            ÿtime
                                                                   745
 0580ÿ0of
       6ÿ5  !5875"5ÿ684ÿ
          experience   from 5 4!45ÿ4history."
                             employment       798'0ÿ9   ÿ9see
                                                          You    55
 0@0ÿ0
  6    4A
       that?
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
   7            C'0ÿ0959'
                A.    Yes.
 0D0ÿ0ÿ0ÿ0ÿ0ÿ0
  8             E'0ÿ0F'
                Q.    Okay.0ÿ(  73ÿyou
                              Did    ÿ6follow
                                           &ÿthat
                                                    4ÿadvice?
                                                           3%7"5A
 0G0ÿ0ÿ0ÿ0ÿ
  9          0ÿ0A.
                C'0ÿ0Hÿ3I
                      I don'tÿknow.
                                 &'0ÿIHÿ8really     3I'0ÿC
                                              5ÿdon't.     Aÿ 
                                                                  lot
 1P0ÿ0of
 10    6ÿ7
          itÿHÿ85454758ÿ35   7$ÿ&with
              I remember dealing      74ÿ&was9ÿwhen
                                                 &45ÿDavid
                                                        (%73ÿ)Bryant
                                                                 8
 110ÿ0got
 11    $ÿ4 79ÿ439ÿÿ7
           his  hands on itÿ   3ÿthat's
                              and    4I9ÿ&when
                                               45ÿwe
                                                    &5ÿ4made
                                                         35
 1#0ÿ0revisions
 12    85%7979ÿ8ÿ&45%   58ÿ&we5ÿhad
                   or whatever       43ÿtoÿ3do,
                                                ÿwhich
                                                    &47"4ÿ7is9ÿ&what
                                                                 4
 120ÿ0she
 13    945ÿ9said
             73ÿ7ÿ45ÿ5Q4  7ÿ7is9ÿwhat
                 in the e-mail        &4ÿshe945ÿ9sent
                                                    5ÿtoÿDavid
                                                             (%73
 150ÿ0Bryant,
 14    )8ÿ&9ÿÿ6ÿ   479'
                was all of this.
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             E'0ÿ0C3ÿHÿ  955ÿRJackie
                      And I see     "75ÿSFarris
                                              8879ÿgiving
                                                      $7%7$ÿyour
                                                              8
 1@0ÿ0mom
 16          45ÿ3%7"5ÿ7
       44ÿ9some advice aboutÿ&what
                                  4ÿDBPR
                                       ()01ÿ&will
                                                7ÿtake
                                                       5ÿand
                                                             3ÿnot
                                                                 
 1B0ÿ0take.
 17    5'
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             C'0ÿ0Right.
                      17$4'
 1G0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             E'0ÿ0Tÿÿ
                      So at  59ÿthe
                             least    45ÿ6first
                                            789ÿthing
                                                    47$ÿthat
                                                            4ÿshe
                                                                 945
 #P0ÿ0says
 20    99ÿ79ÿ15%7
             is, "Renovation ÿ&work
                                 8ÿdoesn't
                                      359Iÿaccount"
                                                 ""ÿQ-­Q
 #10ÿ0doesn't
 21             "'0ÿDo
       359Iÿcount."     (ÿyou
                                ÿ9see
                                     55ÿthat?
                                           4A
 ##0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22             C'0ÿ017$4'
                      Right.
 #20ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23             E'0ÿ0F'
                      Okay.0ÿHIf6ÿyou
                                    ÿ$goÿ3down
                                              &ÿtoÿthe
                                                       45ÿ6fourth
                                                             84
 #50ÿ0bullet
 24    75ÿ!7ÿ7ÿ9
               point it says,9ÿ"For
                                  S8ÿthe
                                       45ÿUMidship
                                               73947!ÿUMarine
                                                         875
 #80ÿ0project
 25    !865"ÿ1#VIP5ÿÿD   V#P18ÿyou
                12/'04 to 8/2015      ÿneed
                                            553ÿto
                                                 ÿcheck
                                                      "45"ÿyes
                                                              59ÿor8
                                                            ÿdeefgh
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ijklmnopqkrlpsitpu
                                                            EsquireSolutions.com
                                                                               9v5816
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 102
 010ÿ0
  1    345ÿ67ÿ589ÿ495ÿ
       not if the project    ÿfour
                             was  74ÿstories
                                         5469ÿ4orÿ8higher."
                                                         689 0ÿDo !4
 0"0ÿ0
  2    #4ÿ99ÿ585$
       you  see that?
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  3              &0ÿ0'49
                 A.          5
                       Correct.
 0(0ÿ0ÿ0ÿ0ÿ
   4         0ÿ0Q.
                 )0ÿ0&30ÿ58 93ÿat5ÿ5the
                       And then        89ÿvery
                                          19#ÿ2bottom,
                                                 455434ÿ8her 9ÿ5-­5
 060ÿ0
  5    2677#ÿ89ÿ75ÿ
       basically    her last 84ÿ8Iÿdon't
                             paragraph,       04395ÿneed
                                                      3990ÿ5to4ÿread
                                                                  90
 06@0ÿ0it
       65ÿ7 7ÿ54ÿ#4
           all  to you.0ÿDid
                          !60ÿ#you
                                4ÿread
                                     90ÿthat?
                                          585$
 07A0ÿ0ÿ0ÿ0ÿ0ÿ0A.&0ÿ0Right.
                       B685
 08C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.)0ÿ0Basically
                       D677#ÿ5that
                                    85ÿsays
                                          #ÿ#you
                                                4ÿdon't
                                                     04395ÿqualify
                                                             E767#
 09F0ÿ0for
       74ÿaÿ9567690ÿ93  97ÿcontractor's
               certified general    435549ÿ7license,
                                                      69390ÿSheG89
 1H0ÿ0recommends
 10    9433930ÿ585ÿ#4
                     that youÿ 7#ÿ7for
                               apply    4ÿaÿcertified
                                              9567690ÿ2building
                                                             67063
 11    43554ÿ76939
 110ÿ0contractor     license.0ÿThat's
                                I859ÿ2basically
                                          677#ÿ5that's
                                                        859ÿwhat
                                                                 85
 1"0ÿ0that
 12    585ÿsays.
             #0ÿIs8ÿ585
                         thatÿaÿ76ÿstatement?
                                 fair   5593935$
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13              &0ÿ0That
                       I85ÿÿ8her
                            was   9ÿ4opinion.
                                        63643
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14              )0ÿ0Okay.
                       PQ#0ÿ8
                              Iÿ 309530ÿthat's
                                 understand    5859ÿ8her9
 160ÿ0opinion.
 15    4636430ÿ!60ÿ#4ÿ5   7Qÿ5to4ÿ#your
                   Did you talk         4ÿmom
                                             343ÿ4orÿ0dad
                                                        0ÿabout
                                                             245
 16    RQ69ÿS6ÿ6163
 1@0ÿ0Jackie    Farris givingÿ5the  463643ÿthat
                                 89ÿopinion    585ÿ#you4ÿ0didn't
                                                             60395
 1A0ÿ0qualify
 17    E767#ÿ74ÿÿ956   7690ÿgeneral
                 for a certified    9397ÿcontractor's
                                              435549
 1C0ÿ0license?
 18    76939$
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19              &0ÿ0T9ÿ43 7590ÿwith
                       We consulted     658ÿDavid
                                             !160ÿDBryant.
                                                      #35
 "H0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20              )0ÿ08ÿ309 530ÿthat,
                       I understand    5854ÿ2but
                                               5ÿ5that
                                                     85ÿwasn't
                                                           395ÿ3my#
 "10ÿ0question.
 21    E95643
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMy
 22                    U#ÿE95643ÿwas:
                          question     V0ÿ! 60ÿ#you
                                             Did   4ÿ5talk
                                                         7Qÿ5to4ÿ#your
                                                                    4
 "%0ÿ0mom
 23    343ÿ4orÿ00ÿ245ÿR Q69ÿSFarris
                dad about Jackie     6ÿspecifically
                                              967677#ÿsaying
                                                              #63
 "(0ÿ0that
 24    585ÿ#4ÿ04395ÿE7   67#ÿ7for
             you don't qualify      4ÿ5the
                                         89ÿcertified
                                             9567690ÿgeneral
                                                           9397
 "60ÿ0contractor's
 25    435549ÿ7693   9$
                       license?


                                                            ÿdeefgh
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ijklmnopqkrlpsitpu
                                                            EsquireSolutions.com
                                                                               vw917
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
       PETER J. VICARI                                           October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           yq     103

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ0567ÿ89
               A.         ÿwe
                    I'm sure  ÿ8spoke
                                    ÿabout
                                            9ÿitÿand!ÿthen
                                                              " ÿwe
 0#0ÿ0
  2   ÿ$!ÿ"ÿ
      were  referred that ÿcan
                          we  % ÿ&goÿtoÿ'David
                                              (!ÿ)Bryant
                                                     0 ÿabout
                                                               9
 01
  30ÿ04
      it.
 020ÿ0ÿ0ÿ0ÿ
  4        0ÿ0Q.
               340ÿ0Is
                    58ÿÿ
                       it 09ÿrecollection
                          your     %44% ÿthat"ÿ5Jackie
                                                           %
 060ÿ0
  5   7868ÿ%77
      Farris's          ! ÿabout
                recommendation     9ÿwhat
                                           "ÿ0you
                                                 9ÿ8qualify
                                                       94$0ÿ$for
                                                                 
 090ÿ0
  6   came $ÿÿ$
      %7ÿ               ÿ0you
            before or after   9ÿ&got
                                    ÿadvice
                                         !(%ÿ$from
                                                   7ÿ@Mr.
                                                         4ÿ)Bryant
                                                               0 
 0A0ÿ0
  7   8ÿ
      as toÿ"ÿ09ÿ894 $!ÿ$for?
             what you qualified     B
 0C0ÿ0ÿ0ÿ0ÿ0ÿ0
  8            340ÿ0
               A.   5ÿ" ÿ'David
                    I think   (!ÿ)Bryant
                                       0 ÿ%came
                                                7ÿinÿafter
                                                           $
 0D0ÿ0
  9   "8ÿ
      this "ÿ"ÿ$  4ÿapplications.
            with the final   4% 840ÿ)Because
                                                 %98ÿ"heÿis8
 1E
 100ÿ0"ÿ
      the oneÿ"ÿÿ4% ÿand!ÿ!did
               that took application            !ÿwhatever
                                                     "(ÿ"he
 11   did, "(ÿ"ÿ!
 110ÿ0!!Fÿ               84
            whatever he does.
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0
 12            340ÿ0G04
               Q.   Okay.0ÿH ÿby0ÿthe
                            So        "ÿtime
                                           7ÿ0you
                                                 9ÿ8send
                                                        !ÿthe
                                                              "
 11
 130ÿ04% ÿÿ'(
      application         !ÿ)Bryant
                   to David   0 ÿand!ÿ&getÿ8some
                                                   7ÿadvice
                                                         !(%
 12
 140ÿ0$7ÿ
      from "7Fÿ68ÿ$ ÿthat
            him, it's before   "ÿthat
                                       "ÿ0you,
                                              9Fÿ0your
                                                    9ÿ7mom
                                                           7ÿand!
 16
 150ÿ009ÿ
      your !!ÿ9  !8 !ÿthat
            dad understand   "ÿ5Jackie
                                    %ÿ7Farris
                                              8ÿ8says
                                                       08ÿ0you
                                                              9
 19
 160ÿ0! 6ÿ894$0ÿ$ÿ
      don't               "ÿ4license.
             qualify for the   % 840ÿ5Is8ÿthat
                                                 "ÿaÿ$fair
                                                           
 1A
 170ÿ087 B
      statement?
 1C
 180ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.   I"68
                    That'sÿ "ÿ8she
                            what    "ÿ8says.
                                         084
 1D
 190ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               Q-   58ÿ"ÿaÿreason
                    Is there       8 ÿthat
                                            "ÿ0you
                                                   9ÿ!didn't
                                                        ! 6
 #E
 200ÿ0$44ÿ"ÿ!(%ÿ
      follow               !ÿPjust
              her advice and   98ÿapply
                                       40ÿ$for
                                               ÿaÿ%certified
                                                       $!
 #1
 210ÿ094! &ÿ%
      building     %ÿ4license?
                contractor   % 8B
 ##
 220ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.   Qÿ ÿ9under
                    We went    !ÿwhat
                                       "ÿ'David
                                              (!ÿ)Bryant
                                                     0 ÿtold
                                                               4!
 #1
 230ÿ098ÿÿ!4
      us to do.
 #2
 240ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               Q.   '!ÿ09ÿtalk
                    Did you   4ÿtoÿ"him
                                         7ÿorÿ!did
                                                   !ÿ0you
                                                        9ÿtalk
                                                              4ÿto
 #6
 250ÿ009ÿ77ÿ
      your mom and!ÿ!!ÿ
                    dad orÿ  0!0ÿabout
                            anybody     9ÿwhy
                                                "0ÿ!don't
                                                      6ÿweÿPjust
                                                                 98
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               rs1$
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
       PETER J. VICARI                                           October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           s      104

 010ÿ0
  1   34456ÿ789ÿÿ9  7ÿgeneral
      apply for the certified      935ÿ--ÿcertified
                                                  97
 00ÿ0
  2    !5ÿ5"ÿ
      building            3!"ÿ#Jackie
                license because      3$ÿ"saying
                                              36ÿ%I'm&'ÿ'more
                                                             89
 0(0ÿ0
  3   3ÿ)!357ÿ789ÿ
      than qualified for   3ÿ8one?
                           that    0
 010ÿ0ÿ0ÿ0ÿ
  4        0ÿ0230ÿ043ÿ5
               A.          3"ÿ"spoke
                     That was   48$ÿ3about8!ÿ5with
                                                 ÿ6David
                                                        37
 080ÿ0
  5   99633
      Bryant.0ÿ@ÿ"ÿÿ
                He is the 8 ÿthat
                           one    3ÿtook
                                          88$ÿthe
                                                ÿ5lead
                                                     3ÿ8onÿit,
                                                                A
 0B0ÿ0
  6   8ÿ#3$3
      not Jackie.
 0C0ÿ0ÿ0ÿ0ÿ0ÿ0
  7            D30ÿ0
               Q-    E3ÿÿFMr.
                     What did   93ÿ9Bryant
                                       963ÿtell
                                                55ÿ6you
                                                      8!ÿ3about
                                                             8!
 0G0ÿ0
  8   34456ÿ789ÿ3ÿ9
      applying             7ÿbuilding
                for a certified      !5ÿcontractor's
                                                 89389&"
 0H0ÿ0
  9   5"0
      license?
 1I
 100ÿ0ÿ0ÿ0ÿ0ÿ0230ÿ0
               A.    F93ÿ9963ÿ5went
                     Mr. Bryant    ÿthrough
                                           98!ÿ3all
                                                     55ÿthe
                                                           ÿPjobs
                                                                8"
 11
 110ÿ03ÿ"948ÿ87ÿ
      and description   of 355ÿ8of7ÿthe
                           all         ÿ5work,
                                            89$Aÿheÿ7felt
                                                        5ÿ%Iÿ5was
                                                                 3"
 1
 120ÿ0'89ÿ
      more 3ÿ97
           than certifiedÿ7  89ÿ3aÿcertified
                            for        97ÿgeneral,
                                                   935Aÿ"so8
 1(
 130ÿ03&"ÿ53ÿ%ÿÿ
      that's               3!"ÿ5weÿcould
              what I did because           8!5ÿhave
                                                  37ÿdid
                                                         ÿthe
                                                              
 11
 140ÿ097ÿbuilding,
      certified    !5Aÿbut
                             !ÿheÿ3advised
                                        7"ÿto8ÿdo8ÿcertified
                                                           97
 18
 150ÿ0935Aÿ"8ÿ5ÿÿ
      general,  so we did 5 3ÿheÿ3advised.
                           what         7"3
 1B
 160ÿ0ÿ0ÿ0ÿ0ÿ0D30ÿ0
               Q.    6ÿF9
                     Did Mr.   963ÿtell
                           3ÿ9Bryant      55ÿ6you
                                                8!ÿ"specifically
                                                     473556
 1C
 170ÿ053ÿ
      what '3ÿ68!ÿ'89ÿ
           made you more   3ÿ)qualified
                           than    !357ÿ7for 89ÿ3aÿcertified
                                                         97
 1G
 180ÿ0935ÿ89389&
      general  contractor's"ÿ5license?
                               "0
 1H
 190ÿ0ÿ0ÿ0ÿ0ÿ0230ÿ0
               A.    Q98'ÿ''896Aÿ%Iÿ9remember
                     From memory,         '' 9ÿ5looking
                                                     88$ÿ3atÿ3and
                                                                   
 I
 200ÿ0'ÿ'36 ÿ"36ÿ
      him maybe            3ÿbecause
                  saying that   3!"ÿthe ÿ3application
                                                 44538ÿthe 
 1
 210ÿ0536ÿÿ93"Aÿ&"ÿ
      way it reads, it's 7  8!9ÿ"stories
                           four    89"ÿinÿheight.
                                                  3
 
 220ÿ0ÿ0ÿ0ÿ0ÿ0D30ÿ0
               Q-    6ÿF93ÿ9Bryant
                     Did Mr.   963ÿ—ÿif7ÿ%Iÿ!understood
                                                   9"88ÿ6your8!9
 (
 230ÿ03959ÿ"'86Aÿ
      earlier  testimony, 6 8!ÿdidn't
                           you    &ÿ3actually
                                            !3556ÿtalk
                                                        35$ÿto8
 1
 240ÿ0F93ÿ9963ÿ956
      Mr. Bryant directly, 30ÿRSo8ÿheÿdidn't
                                          &ÿgive
                                                  7ÿ6you
                                                         8!ÿthat
                                                              3
 8
 250ÿ0439!539ÿ37ÿ  956Sÿis"ÿthat
      particular advice directly;            3ÿ9right?
                                                   0
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             de
                     DEPOSITION SOLUTIONS                    f ghijklmnhoimpfqcom
                                                             EsquireSolutions.   mr
                                                                                 tu917
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      `abacÿefÿghipch                                    t ÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      `abaÿghipchÿqaracpsÿitrbcpibtcÿuvÿtwhtÿipxypsbÿhrxf
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           y     105

 010
   1 ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ05678ÿ9  ÿcame
                      That one   7ÿprobably
                                         97ÿbetween
                                                    8ÿmyÿdad7
 0!0ÿ0
  2    7
       andÿ"7#$  4
            David.
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            &40ÿ0'9(ÿ$)
                Q.    So, isÿ8 6$)ÿyour
                              this    90ÿdad
                                            7 ÿ8telling
                                                 $1ÿyou90ÿwhat
                                                                 678
 020ÿ0
   4   34ÿ4Bryant
       Mr.   78ÿ89
                    toldÿ6$
                         him?5
 0560ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    78ÿ)0 4
                      I'm sure.
 0690ÿ0ÿ0ÿ0ÿ0ÿ0&40ÿ0
                Q.    @90ÿ9 0 88ÿ6have
                      You wouldn't     7#ÿ1gotten
                                             988ÿ$it8ÿAfrom
                                                           9ÿ7any
                                                                 
 0B0ÿ0
   7   986
       otherÿ7(ÿ$1685
              place, right?
 0C0ÿ0ÿ0ÿ0ÿ0ÿ0
   8            340ÿ0
                A.    D94
                      No.
 0E0ÿ0ÿ0ÿ0ÿ0ÿ0
   9            &40ÿ0
                Q.    "$
                      Didÿ9 0ÿdad
                           your   7 ÿ8tell
                                       ÿyou
                                             90ÿwhat
                                                  678ÿ3Mr.
                                                         4ÿ4Bryant
                                                              78
 1F
 100ÿ0$  $78 ÿ7)ÿ86ÿ
       indicated             7)$)ÿ9orÿreason
                   was the basis         7)9ÿwhy
                                                 6ÿ6heÿ)said
                                                           7$ ÿAfour
                                                                 90
 11
 110ÿ0)89$  )ÿ$ÿ6$168ÿ$
       stories  in height is )ÿ7all
                                 ÿyou
                                      90ÿneed?
                                            5
 1!
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    7ÿ 988ÿremember
                      I don't    ÿ9offhand.
                                            AA67 40ÿGHad7 ÿ7a
 1%
 130ÿ09#)78$9(ÿ08ÿ7
       conversation, but IÿH   9ÿ8that
                              know    678ÿwas
                                            7)ÿwhat
                                                 678ÿwas
                                                        7)ÿ)said.
                                                             7$ 4
 12
 140ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ3I4ÿP3    QGRDS0ÿQWhy
                      MR. LAWHON:      6ÿdon't
                                            988ÿweÿbreak
                                                        7HÿAfor
                                                                9
 16
 150ÿ0ÿ0ÿ0ÿ0ÿ0064
                lunch.
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ5GTÿU7
 19                          "TRVI3WGTIS0ÿROff
                      THE VIDEOGRAPHER:        AAÿ8the
                                                    6ÿrecord.
                                                         9 4
 1B
 170ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿX56    09(ÿ7aÿlunch
                      (Thereupon,        06ÿrecess
                                                ))ÿwas
                                                         7)ÿ8taken.)
                                                              7H4Y
 1C
 180ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ5GTÿU7    "TRVI3WGTIS0ÿQWeÿ7are
                      THE VIDEOGRAPHER:           ÿback
                                                        7Hÿ9onÿ8the
                                                                   6
 1E
 190ÿ0ÿ0ÿ0ÿ0ÿ09
                record,(ÿ86
                          theÿ8$ÿ$is)ÿ11:41
                              time        S21ÿp.m.
                                                44
 !F
 200ÿ04@ÿ3I4ÿP3QGRDS
       BY MR. LAWHON:
 !1
 210ÿ0ÿ0ÿ0ÿ0ÿ0&4Q.0ÿ034ÿU$  7$(ÿweÿ7are
                      Mr. Vicari,         ÿback
                                               7HÿAfrom
                                                     9ÿlunch.
                                                            064
 !!0ÿ0ÿ0ÿ0ÿ
 22          0ÿ0ÿ0ÿ0ÿ"$
                      Didÿ9 0ÿdo9ÿ7any
                           you       ÿ6homework
                                          99Hÿ9orÿresearch
                                                         )76ÿ9or
 !%
 230ÿ0786  $1ÿ89ÿ7
       anything  to prepareÿA  9ÿ8this
                              for    6$)ÿ7afternoon
                                           A899ÿ)session?
                                                        ))$95
 !2
 240ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0D94
                A.    No.
 250ÿ0ÿ0ÿ0ÿ0ÿ0&40ÿ0
 !6             Q.    RH74
                      Okay.0ÿQ ÿwere
                              We   ÿ8talking
                                          7H$1ÿ7about
                                                    908
                                                            800.211.DEPO
                                                              deÿg(3376)
                                                                             hhijk
                     DEPOSITION SOLUTIONS                    l mnopqrstnuosvlwcom
                                                             EsquireSolutions.   sx
                                                                                 @U1A
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      XY`Yaÿcdÿefghaf                                    ryÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      XY`YÿefghafÿiYpYahqÿgrp`ahg`raÿstÿrufrÿghvwhq`xÿfpvd
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                  106
 010ÿ0
  1    345ÿ647895
       Mr. Bryant.0ÿAnd
                     9ÿÿ ÿwant
                          I just   89ÿtoÿsay
                                                87ÿon9ÿthe
                                                         ÿ4record,
                                                                !4"
 0#0ÿ0
  2    ÿ$9%ÿ8&
       I didn't haveÿ$'
                      timeÿtoÿ4read
                                   8ÿthrough
                                        4(ÿall 8))ÿthe
                                                         
 0300ÿ0materials
       '8 4$8)ÿ8ÿ7ÿ
                  that you (  8& ÿ'meÿand
                             gave      89ÿweÿdidn't
                                                   $9%ÿhave
                                                           8& ÿ8a
 0140ÿ0chance
       !89! ÿÿ2)8ÿ  8 & 4ÿyou
              to upload whatever      7ÿ(gave
                                            8& ÿus,"ÿso
                                                        ÿI'm
                                                             %'ÿ(going
                                                                  $9(
 03
  50ÿ0to
       ÿ44
 05
  60ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
                     365ÿ7 689@8A9B0ÿC
                          PARTINGTON:       ÿwant
                                           You     89ÿthe
                                                          ÿtake
                                                               8D
 0E0ÿ0ÿ0ÿ0ÿ
   7        0ÿ0that
               8ÿ$ÿ7  ÿtonight?
                     with you     9$(F
 0G0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  8                  365ÿH
                     MR.    IPA9B0ÿ3
                          LAWHON:      $(ÿdo
                                      Might   ÿthat.
                                                    850ÿ Iÿ 9%
                                                               don't
 0Q0ÿ0ÿ0ÿ0ÿ
  9         0ÿ0know
               D9ÿ$Rÿÿ!  89ÿ4--4ÿ'might
                     if I can                    8S) ÿtoÿ8access
                                      $(ÿSbeÿable          !! 
 1T0ÿ0ÿ0ÿ0ÿ0ÿ0what's
 10            8%ÿ9ÿ   4 "ÿSbut
                       on there,      ÿIÿcan
                                            !89ÿ(give
                                                    $& ÿthat
                                                           8ÿ8aÿshot
                                                                  
 110ÿ0ÿ0ÿ0ÿ0ÿ0and
 11            89ÿ'87S
                    maybeÿweÿcan
                               !89ÿtry
                                      47ÿ8and
                                           9ÿ8address
                                                 4 ÿit $
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0tomorrow.
 12            '4450ÿJust
                            Uÿ(going
                                    $9(ÿtoÿ4reserve
                                                    4& ÿthe
                                                             ÿright
                                                                4$(
 100ÿ0ÿ0ÿ0ÿ0ÿ0ÿÿ85
 13            to do that.0ÿV    44
                               So--
 110ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ365ÿ7
 14                         689@8A9B0ÿOne
                     MR. PARTINGTON:       A9 ÿthing.
                                                   $9(50ÿV  ÿI
                                                            So
 130ÿ0ÿ0ÿ0ÿ0ÿ084
 15            startedÿÿ
                         to  87ÿthis
                             say   $ÿearlier,
                                         84)$ 4"ÿSbut  ÿIÿthink
                                                             $9Dÿhe
 150ÿ0ÿ0ÿ0ÿ0ÿ0was
 16            8ÿ44ÿÿ7  ÿwill
                    -- so you     $))ÿ(getÿtoÿthis
                                                   $ÿsome
                                                        ' ÿ8at
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0point,
 17            2$9"ÿSÿ
                       but   4$($98))7ÿthere
                            originally       4 ÿwas8ÿgoing
                                                         ($9(ÿtoÿSbe
 1G0ÿ0ÿ0ÿ0ÿ0ÿ0a8ÿhearing
 18                 84$9(ÿon9ÿthe
                                  ÿ)licensing
                                      $! 9$9(ÿ8application,
                                                    22)$!8$9"ÿbut S
 1Q0ÿ0ÿ0ÿ0ÿ0ÿ0then
 19             9ÿ
                     theÿ)$ ! 9 ÿ(got
                          license     ÿ$issued
                                            ÿanyway.
                                                    897875ÿÿI
 #T0ÿ0ÿ0ÿ0ÿ0ÿ0think
 20            $9Dÿ$ÿ
                      this $  ÿhis,
                             is  $"ÿ)like,
                                        $D "ÿhearing
                                                   84$9(ÿSbinder
                                                            $9 4
 #10ÿ0ÿ0ÿ0ÿ0ÿ0because
 21            S !8 ÿ   4 ÿ$isÿ8all
                         there        ))ÿ $ÿ)legal
                                         this       (8)ÿstuff
                                                           RRÿ$in9
 ##0ÿ0ÿ0ÿ0ÿ0ÿ0the
 22             ÿS8!DÿR
                    back ofÿ$  50ÿThat's
                              it.   88%ÿjustÿ'my7ÿ(guess,
                                                            "
 #00ÿ0ÿ0ÿ0ÿ0ÿ0so
 23            ÿ44ÿ$Rÿ7
                      if youÿwant
                                 89ÿtake
                                       8D ÿthat
                                              8ÿ44ÿIÿdon't
                                                            9%
 #10ÿ0ÿ0ÿ0ÿ0ÿ0think
 24            $9Dÿheÿ )ÿknow
                          would   D9ÿthat.
                                         850ÿBut 6ÿ)like
                                                         $D ÿIÿsay,
                                                                 87"
 #30ÿ0ÿ0ÿ0ÿ0ÿ0that's
 25            8%ÿ'7ÿ  2 !)8$950ÿW
                       my speculation.          $ÿ7you
                                              Did    ÿ(get
                                                            ÿeffghi
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   jklmnopqrlsmqtjuqv
                                                            EsquireSolutions.com
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                                      229
      PETER J. VICARI                                            October 16, 2018
      cdedÿpqrsfqÿtdudfsvÿrwuefsrewfÿxyÿwqwÿrssveÿqui
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           |      107
 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            34567489ÿ
               lipstick  onÿ4 70ÿThe
                             it?    ÿ
 00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  2                   ÿ!"
                     MR.   #$%&'0ÿ(
                         LAWHON:     Iÿ5 3)0ÿ7the
                                       plead     ÿfifth.
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  3            037ÿ94
               don't  know.
 050ÿ0ÿ0ÿ0ÿ
  4         0ÿ0ÿ0ÿ0ÿMR.
                      ÿ6"(&7%&'0ÿ8
                         PARTINGTON:       9ÿ8can
                                          You    )ÿ7take
                                                      )9ÿ7that
                                                             )7
 0@0ÿ0ÿ0ÿ0ÿ
  5         0ÿ0with
               447ÿA9ÿ7 46ÿevening
                     you this    B4Cÿif41ÿAyou
                                                9ÿ4want.
                                                     )7 0ÿThat
                                                             )7ÿis46
 0D0ÿ0ÿ0ÿ0ÿ
  6         0ÿ0the
               7ÿ3Aÿ) E085Aÿ(Iÿbrought
                    only hardcopy      FE9C7ÿwith
                                                  447ÿGme,
                                                          Hÿso...
                                                              6
 0I0ÿ0ÿ0ÿ0ÿ
  7         0ÿ0ÿ0ÿ0ÿMR.
                      ÿ!"#$%&'0ÿ(
                         LAWHON:     Iÿ4 433ÿ7try
                                       will     EAÿnot
                                                    7ÿto
                                                         7ÿCget
                                                              7ÿhit
                                                                    47
 0P0ÿ0ÿ0ÿ0ÿ
  8         0ÿ0by
               FAÿ)ÿF96
                   a bus.
 0Q0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  9                  $RÿS(
                     THE   TR%7"6$R'0ÿ(
                         VIDEOGRAPHER:       Iÿ )E0ÿeverything
                                                heard  BEA74C
 1U0ÿ0ÿ0ÿ0ÿ0ÿ0A9ÿ6)40HÿF
 10                        97ÿAyou
               you said, but     9ÿmay
                                     G)Aÿ4want
                                           )7ÿ7toÿ5put
                                                      97ÿonÿAyour
                                                                9E
 110ÿ0ÿ0ÿ0ÿ0ÿ0G48ÿV7ÿ74
 11                        G
               mic next time.
 10ÿ0BY
 12   W8ÿ
          MR.ÿ!"#$%&'
              LAWHON:
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13            X 0ÿ0Yÿ(ÿ4 )7ÿto
                     So I want   7ÿcontinue,
                                     8749HÿMr. E ÿSVicari,
                                                         48)E4H
 150ÿ0through
 14   7E9Cÿ7ÿ6`98
               the sequenceÿof1ÿgetting
                                  C774Cÿthe7ÿ3license,
                                                    486 0ÿW   97
                                                                But
 1@0ÿ0before
 15   F1Eÿ(ÿ0ÿ7)7HÿA  9ÿhad
              I do that, you     )0ÿended
                                     00ÿAyour
                                              9Eÿ7testimony
                                                     674GA
 16   F1E)0ÿ4ÿ4048
 1D0ÿ0beforehand           )74Cÿ7that
                   in indicating     )7ÿMr.   WEA)7ÿhad
                                           E ÿBryant     )0ÿ7told
                                                                30
 1I0ÿ0you
 17   A9ÿ7that
            )7ÿ)ÿF94304C
                 a buildingÿ` 9)34140ÿif
                             qualified    41ÿ4it7ÿ4was
                                                    )6ÿ1four
                                                         9E
 1P0ÿ0stories
 18   67E46ÿ4ÿ4C7
                in height.0ÿDid
                             T40ÿ(Iÿunderstand
                                     90E67)0ÿ7that)7ÿ7testimony
                                                           674GA
 1Q0ÿ0correctly?
 19   8EE873A
 U0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20            " 0ÿ0aEE8 7
                     Correct.
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21            X 0ÿ0#33Hÿ
                     Well, 3 7ÿGmeÿsay
                            let                 77E 0ÿ8
                                     6)Aÿ4it7ÿFbetter,     9ÿ4were
                                                          You    E
 0ÿ0told
 22   730ÿ7)7ÿE
            that Mr.ÿWEA) 7ÿCgave
                      Bryant   )Bÿthat
                                     7)7ÿadvice;
                                           )0B48bÿhe ÿ0didn't
                                                           4037
 20ÿ0actually
 23   )879)33AÿC4Bÿ47ÿ7
                 give it toÿA 9ÿbecause
                             you  F8)96ÿAyou9ÿ6said
                                                    )40ÿFbefore
                                                          1Eÿyou
                                                                  A9
 50ÿ0hadn't
 24   )037ÿ7)39ÿ7ÿ4G
              talk to him?
 @0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25            " 0ÿ04C7
                     Right.0ÿThrough
                              E9CÿGmyAÿ0dad.
                                              )0
                                                            ddefghÿjkklmn
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fopqrstuvwqxrvyozv{
                                                            EsquireSolutions.com
                                                                               8SE11
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                                      229
      PETER J. VICARI                                            October 16, 2018
      cdedÿpqrsfqÿtdudfsvÿrwuefsrewfÿxyÿwqwÿrssveÿqui
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 108

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1             340ÿ056784
                 Q.    Okay.
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  2              40ÿ07
                 A.    That'sÿ 4
                               old.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  3              340ÿ0Yes.
                 Q.     !40ÿI"ÿwas
                                #7ÿ$just
                                        %ÿ%using
                                              &'(ÿ&itÿ)for
                                                          0ÿthe
                                                               !
 0410ÿ072! &'(40ÿI"ÿ#7'!
        labeling.      wantedÿ ÿ3make
                               to    76!ÿsure
                                           %0!ÿI"ÿdid
                                                    &ÿ&itÿthe
                                                              !ÿsame
                                                                   73!
 0540ÿ0#78ÿ 7ÿ!ÿ&ÿ&
        way that  she did it. 4
 0650ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ6#ÿ8    %ÿ#what
                       Show you    7ÿ"Iÿ3marked
                                             706!ÿ7asÿ7Exhibit
                                                          8&2&ÿ306.
                                                                    954
 0@0ÿ0
   7   A%7 8Bÿ7C!ÿ7'ÿ!
        Actually,             807ÿone
                    have an extra     '!ÿof)ÿthose
                                                !ÿ)for
                                                       0ÿ8you,
                                                            %B
 08D0ÿ0Jonathan.
       E'77'40ÿ'ÿ"ÿ#&    ÿ0represent
                     And I will    !F0!!'ÿtoÿ8you
                                                    %ÿthat
                                                          7ÿthis
                                                                &
 09G0ÿ0comes
       A3!ÿ%ÿ)ÿ!ÿH    0&7ÿ2building
               out of the Florida       %&&'(ÿAcode.
                                                   !40ÿ"In'ÿ)fact,
                                                                7AB
 19
 100ÿ0&)ÿ8  %ÿ6ÿ7ÿ!ÿ
        if you                Fÿhere,
                look at the stop      !0!Bÿ7above
                                              2C!ÿ#where
                                                      !0!ÿ&itÿsay
                                                                  78
 11
 110ÿ0!)&'  &&'Bÿ&ÿ78
        definitions,          BÿI"Florida
                       it says,    H0&7ÿ2building
                                                %&&'(ÿAcode
                                                           !
 19
 120ÿ02%&&'(ÿ5ÿ!&&
        building 6th edition  'ÿ2017."
                                991@4I0ÿPDoÿ8you%ÿsee
                                                      !!ÿthat?
                                                           7Q
 1
 130ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                 A.     !4
                       Yes.
 11
 140ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿR!0!     %F'BÿPDefendant's
                       (Thereupon,      !)!'7'ÿ7Exhibit
                                                       8&2&ÿSNo.4
 140ÿ0ÿ0ÿ0ÿ
 15          0ÿ095ÿ#7ÿ370   6!ÿ)for
                 306 was marked      0ÿ&identification.)
                                          !'&)&A7&'4T
 150ÿ0
 16    UBYÿVW4ÿXY`5Sa
           MR. LAWHON:
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0
 17              Q.    Okay.0ÿ`
                 340ÿ056784     7C!ÿ8you
                               Have     %ÿever
                                           !C!0ÿlooked
                                                   6!ÿ7atÿthe
                                                                !
 1D0ÿ0
 18    H0& 7ÿ2%&&'(ÿA
        Florida  building code!ÿtoÿdetermine
                                        !!03&'!ÿ#what
                                                    7ÿthe
                                                           !
 1G0ÿ0
 19    !)&'&&'ÿ)ÿ7ÿ
        definition of a story 08ÿ&is?
                                   Q
 990ÿ0ÿ0ÿ0ÿ0ÿ04
 20              A.0ÿ0V78ÿ7  C!ÿ&in'ÿthe
                       May have         !ÿFpast.
                                             74
 910ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21              340ÿ0Y%ÿ
                       Would 8 %ÿhave
                              you    7C!ÿdone
                                           '!ÿthat
                                                  7ÿ2before
                                                        !)0!ÿ8you%
 990ÿ0!!
 22          ÿ)0ÿF7&'(ÿ
        tested  for passing   !ÿtesting
                              the    !&'(ÿthat
                                                7ÿ8you
                                                      %ÿtook
                                                           6ÿtoÿ(get
                                                                      !
 9
 230ÿ08%0ÿ
        your bbÿ8%ÿ&A!'!
             -- you license?  Q
 91
 240ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0"ÿ'
                 A.    I don'tÿthink.
                                  &'640ÿ"Iÿdon't
                                                'ÿ0remember
                                                       !3!32!0ÿ#when
                                                                   !'
 94
 250ÿ0"ÿ&4
        I did.


                                                            800.211.DEPO
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                                                                            kkcom
                                                                               lmn
                     DEPOSITION SOLUTIONS                    fopqrstuvwqxrvyozv{
                                                             EsquireSolutions.  |!01)
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                            October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            yq     109

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ056789ÿ
                 Q.    Would  ÿhave
                              it   ÿbeen
                                          ÿbefore
                                               6ÿ6orÿafter
                                                             
 020ÿ0this
       !ÿ8"!7ÿ#$ÿ7
             lawsuit came up, %&ÿor
                                  6ÿat
                                      ÿ8least
                                           !ÿaÿfight
                                                      'ÿbetween
                                                             "
 0(
  30ÿ0ÿ%!ÿ#$ÿ7%
       the parties came upÿ    67ÿ)your
                               about    67ÿ8license?
                                               #!0
 0410ÿ0ÿ0ÿ0ÿ0ÿ0A.240ÿ0I3ÿ964
                         don'tÿremember.
                                $$40ÿI3ÿ$mean,
                                                   &ÿthe
                                                          
       6)!ÿ98ÿ"
 0550ÿ0attorneys    dealt withÿthat.
                                  4
 0660ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Okay.
                       78)40ÿ9 6ÿI'm
                               So  34$ÿ'going
                                          6'ÿto6ÿ9direct
                                                      #ÿyou
                                                             )67ÿto6
 07@0ÿ0the
       ÿ9definition
             6ÿ6ÿ!   6)&ÿin
                         of story,    ÿthe
                                           ÿbottom
                                                66$ÿ8left-hand
                                                         A9
 08B0ÿ0corner.
       #640ÿAnd
                  29ÿÿ!  $!ÿaÿ8little
                       it seems       8ÿ6odd.
                                               9940ÿBut
                                                      C7ÿbasically
                                                            !#88)
 09D0ÿ0the
       ÿ9definition
             6ÿ!%8   89ÿ6over
                         spilled    ÿto6ÿthe
                                              ÿtop
                                                    6%ÿ8left-hand
                                                         A9
 1E0ÿ0corner
 10    #6ÿ6ÿÿFÿ
               of the next %   '40ÿ9
                              page.     6ÿtake
                                       So  8ÿaÿ$moment
                                                      6$ÿto6ÿ8look
                                                                   668
 110ÿ0at
 11    ÿ ÿÿ)67ÿ"678
           that  if you would 9ÿand
                                9ÿ8let
                                       ÿ$meÿknow
                                               86"ÿ"when
                                                       ÿ)you
                                                             67ÿare
                                                                   
 1 0ÿ0done.
 12    964
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13              240ÿ0Okay.
                       78)4
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14              340ÿ0Did
                       G9ÿ)6 7ÿhave
                            you   ÿaÿchance
                                          ##ÿto6ÿread
                                                        9ÿthat?
                                                              0
 150ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15              240ÿ0Yes
                       H!4
                          .
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16              340ÿ0Do
                       G6ÿ)67
                          youÿ7 9!9ÿthat?
                               understand      0
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17              240ÿ0Yes.
                       H!4
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18              340ÿ0Basically,
                       C!#88)&ÿifÿ3Iÿcan
                                           #ÿ!say
                                                 )ÿitÿin
                                                         ÿaÿvery
                                                                 )
 1D0ÿ0simple
 19    !$%8ÿ")4
                way.0ÿIÿ9  6ÿ6ofÿ!story,
                       The definition          6)&ÿaccording
                                                       ##69'ÿto6
 20E0ÿ0the
       ÿPFlorida
             869ÿ789
                      building'ÿ#code
                                  69ÿis
                                       !ÿaÿfloor,
                                               866&
 2110ÿ0floor-to-ceiling
       866A6A#8'ÿ!%    #ÿ"with
                           space    ÿÿ  866ÿand
                                          a floor   9ÿaÿ#ceiling.
                                                             8'4
 220ÿ0Fair
       Pÿenough?
             67'0
 23(0ÿ0ÿ0ÿ0ÿ0ÿ0A.240ÿ0H!4
                       Yes.
 2410ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ078)4
                       Okay.0ÿI 4!ÿthe
                               That's     ÿ6only
                                               8)ÿ9definition
                                                      6ÿof 6
 2550ÿ0story
       !6)ÿÿ34ÿ!
              that I've seen. 40ÿHave
                                   Qÿ)you
                                           67ÿ!seen
                                                ÿaÿdifferent
                                                        9
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Hr1
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      defegÿipÿqrstgr                                    x ÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 110

 010ÿ0
  1    3456768697ÿ95ÿ84ÿ
       definition of the word93ÿstory
                                   89ÿ5from
                                            9ÿMr.
                                                   ÿBryant
                                                        78ÿ9or
 020ÿ0anybody
       7!93ÿ4"4ÿ88ÿ   9#"3ÿapply
                 else that would    $$"ÿ8to9ÿ%Florida
                                                  "963ÿ"licensing?
                                                             6&4767'(
 0)
  30ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.0ÿ12 0345637580ÿ7
                           PARTINGTON:       !94&8ÿto
                                            Object   89ÿ8the
                                                           4ÿ5form.
                                                                9
 04@0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
                      3ABÿC4 35BDD80ÿLike
                           WITNESS:     E6F4ÿ4Iÿsaid,
                                                  63Gÿwith
                                                           68ÿH—H
 05I0ÿ0ÿ0ÿ0ÿ0ÿ0with
                 68ÿPQ63ÿ
                      David  78ÿI4ÿwas
                             Bryant        ÿtold
                                              89"3ÿapplication
                                                      $$"6&8697
 06R0ÿ0ÿ0ÿ0ÿ0ÿ0reads
                 43ÿ59#ÿ
                       four  8964ÿin
                             stories    67ÿheight.
                                             46'8
 07S0ÿ0BY
       Tÿ0ÿE2CA758
           MR. LAWHON:
 08U0ÿ0ÿ0ÿ0ÿ0ÿ0Q.V0ÿ0Understood
                      W7348993ÿ8that's
                                      8Xÿwhat
                                              8ÿhe4ÿtold
                                                        89"3ÿyou.
                                                                9#
 09Y0ÿ0You
       T9#ÿhad
             3ÿ47869743ÿ8  8ÿbefore.
                 mentioned that    !4594
 1`0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMy
 10                   ÿa#4 8697Gÿ8though,
                          question,     9#'Gÿwasÿmore
                                                      94
 110ÿ0particular
 11    $86&#"ÿ!9#8ÿ   8ÿyou've
                    about what     9#XQ4ÿseen,
                                            4470ÿ2  73ÿ8to9ÿrepeat
                                                    And        4$48
 1 0ÿ0it
 12    68ÿ59 ÿ9#Gÿ4ÿ9#"3
           for you, I wouldÿ"  6F4ÿ8to9ÿFknow
                              like         79ÿif
                                                65ÿyou
                                                     9#ÿhave
                                                           Q4ÿseen
                                                                 447ÿa
 1)0ÿ0different
 13    36554478ÿ345676869
                   definition7ÿ9of5ÿ8the
                                      4ÿword
                                           93ÿstory
                                                89ÿ!before?
                                                          4594(
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14              20ÿ059
                      No.
 1I0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15              V0ÿ0Aÿ7 !93ÿ8told
                      Has anybody      9"3ÿyou,
                                             9#Gÿother
                                                   984ÿthan
                                                           87
 1R0ÿ0perhaps
 16    $4$ÿ"4Gÿ
                 lawyers, hasÿanybody
                                 7!93ÿtold
                                           89"3ÿyou
                                                   9#ÿ6in7ÿ8the
                                                             4
 1S0ÿ0construction
 17    &978#&8697ÿ673#8   ÿ9orÿ9otherwise
                      industry         8464ÿ8that
                                                    8ÿ8there
                                                           44ÿis
                                                                 6ÿa
 1U0ÿ0different
 18    36554478ÿ345676869
                   definition7ÿ9of5ÿstory
                                      89ÿ8that
                                             8ÿapplies
                                                   $$"64ÿ6in7
 1Y0ÿ0Florida
 19    %"963ÿ59ÿ"6&47#   4(
                for licensure?
 20`0ÿ0ÿ0ÿ0ÿ0ÿ0A.20ÿ059
                      No.
 21             Q.0ÿ0ÿb6
   10ÿ0ÿ0ÿ0ÿ0ÿ0V            &6Gÿwe4ÿare
                      Mr. Vicari,          4ÿgoing
                                              '967'ÿto89ÿmove
                                                             9Q4ÿ9on7ÿ8to9
 220ÿ0Exhibit
       Bc6!68ÿ5#!4ÿ)`Uÿ
                 Number 308 HHÿI'm
                                 4Xÿsorry,
                                        9Gÿ)307,
                                                  `SGÿ8thank
                                                        7Fÿyou
                                                               9#ÿHH
 23)0ÿ0307
       )`Sÿ8 8ÿ4ÿQ4ÿ
            that             F43ÿ5for
                  I have marked     9ÿ6identification.
                                         3478656&86970ÿTake  3F4ÿa
 24@0ÿ0moment
       9478ÿ89ÿ"99Fÿ8ÿ8   8Gÿand
               to look at that,     73ÿ"let
                                           48ÿme4ÿknow
                                                   F79ÿwhen
                                                           47ÿyou
                                                                 9#
 25I0ÿ0are
       4ÿ3974
            done.0ÿAnd,
                    273Gÿ# &4Gÿ8this
                          Bruce,    6ÿ6isÿalso
                                             "9ÿExhibit
                                                    Bc6!68
                                                            deefghiÿkllmno
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   gpqrstuvwxryswzp{w|
                                                            EsquireSolutions.com
                                                                               Tb415
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      cdedfÿhiÿpqrsfq                                    wÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      cdedÿpqrsfqÿtdudfsvÿrwuefsrewfÿxyÿwqwÿrssveÿqui
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 111

 010ÿ0
  1    345678ÿ9ÿ85ÿ
       Number 6 from BSI.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0
                A.       !0ÿThis
                      Okay.   "#$%ÿ$is%ÿan&ÿapplication.
                                              ''($) 0$&
 010ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  3                   2"#7874'&3ÿ4Defendant's
                      (Thereupon,     77&5 &06%ÿ7Exhibit
                                                      8#$6$0ÿ3No.
                                                                
 0490ÿ0ÿ0ÿ0ÿ0ÿ0307
                1@AÿBÿ1@CÿD
                     & 308 was%ÿ5marked
                                    875ÿfor
                                          8ÿidentification.)
                                               $57&0$$) 0$&E
 05F0ÿ0ÿ0ÿBY
          GÿHIÿPQR3S
              MR. LAWHON:
 090ÿ0ÿ0ÿ0ÿ0ÿ0
  6             T0ÿ0ÿ67($
                Q.           7U7ÿ0that
                      I believe     # 0ÿ$is%ÿyour
                                             !48ÿapplication.
                                                     ''($) 0$&
 0A0ÿ0
   7   47%ÿ0#
       Does     0ÿ(ÿ($7
             that  look likeÿyour
                              !48ÿapplication
                                      ''($) 0$&ÿand  &5ÿ%some
                                                           57
 0C0ÿ0
  8     55$0$& (ÿ5)457&0
       additional   documents%ÿDwith
                                 $0#ÿ$it.
                                       00ÿ  40ÿ$is%ÿ0that
                                             But        # 0ÿ!your
                                                              48
 0V0ÿ0
  9     ''($) 0$&ÿ8ÿ0#
       application   for that0ÿDwas%ÿWWÿwell,
                                        D7((3ÿDwhy#!ÿ5don't
                                                        &60ÿ!you
                                                               4
 1@0ÿ0tell
 10    07((ÿme
             57ÿD#
                what0ÿ0# 0ÿ$is.
                      that   %
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             0ÿ0P%ÿ
                      Looks ( $7ÿ0the
                             like    #7ÿapplication.
                                          ''($) 0$&
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             T0ÿ0  !0ÿ
                      Okay.    %ÿ0this
                              Is    #$%ÿone
                                          &7ÿthat
                                              0# 0ÿyou
                                                     !4ÿactually
                                                           )04 ((!
 110ÿ0had
 13    # 5ÿ%submitted
             465$0075ÿ0ÿ4  XIÿfor
                       to DBPR    8ÿaÿ)certified
                                          780$$75ÿgeneral
                                                      Y7&78 (
 190ÿ0contractor's
 14    )&08 )086%ÿ($)7&%   7`
                      license?
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             0ÿ0"#  06%ÿDwhat
                      That's   # 0ÿ$it0ÿ(looks
                                          %ÿlike,
                                                 ($73ÿ0the
                                                          #7
 190ÿ0received
 16    87)7$U75ÿ%0   5'ÿ&ÿ0
                 stamp       #7ÿtop,
                        on the   0'3ÿIÿguess,
                                          Y47%%0ÿ"   # 06%ÿall
                                                     That's    ((
 1A0ÿ0that
 17    0# 0ÿIÿ) &ÿ07((
               can  tell.
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 18                   HIÿX I"3a"3S0ÿMay
                          PARTINGTON:       H !ÿIÿask
                                                     %ÿaÿbquestion?
                                                            47%0$&`
 1V0ÿ0ÿ0ÿ0ÿ0ÿ0There
 19             "#787ÿ$%ÿ%  57ÿhandwritten,
                       is some   # &5D8$007&3ÿ(like,
                                                   $73ÿ)circles
                                                           $8)(7%ÿon&
 @0ÿ0ÿ0ÿ0ÿ0ÿ0some
 20             %57ÿÿ0#7
                      of theÿ0 #$&Y%ÿhere.
                              things   #7870ÿDo 4ÿ!you
                                                      4ÿknow
                                                           &D
 10ÿ0ÿ0ÿ0ÿ0ÿ0whether
 21             D#70#78ÿ0#   06%ÿfrom
                         that's     85ÿ0the
                                          #7ÿoriginal
                                               8$Y$& (ÿor8ÿwhether
                                                              D#70#78
 0ÿ0ÿ0ÿ0ÿ0ÿ0that
 22             0# 0ÿD  %ÿapplied
                      was   ''($75ÿ(later?
                                       078`
 10ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 23                   HIÿP QR3S0ÿBecause
                          LAWHON:     7) 4%7ÿ0that's
                                                  # 06%ÿfrom
                                                           85ÿBSI,
                                                                 3
 90ÿ0ÿ0ÿ0ÿ0ÿ0Iÿ0#$&ÿ0#$
 24                think this%ÿis
                               $%ÿ0the
                                     #7ÿone
                                          &7ÿ0that
                                               # 0ÿcame
                                                     ) 57ÿout
                                                            40ÿof
 F0ÿ0ÿ0ÿ0ÿ0ÿ0the
 25             0#7ÿ6%ÿ$  (7
                     Si's file.


                                                            ddefghÿjkklmn
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fopqrstuvwqxrvyozv{
                                                            EsquireSolutions.com
                                                                               G|781
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      bcdceÿghÿipqrep                                    vÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      bcdcÿipqrepÿsctceruÿqvtderqdveÿwxÿvypvÿqrrudÿpth
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 112

 010ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  1                   345ÿ67
                     MR.    48980ÿ
                          PARTINGTON:        ÿthe
                                            With    ÿcircles.
                                                            !"5
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  2                   345ÿ$7
                     MR.    %0ÿ9
                          LAWHON:      Iÿ&'ÿthat's
                                         think     ()"ÿper0 ÿthe
                                                                 
 0310ÿ0ÿ0ÿ0ÿ0ÿ0circle.
                 !50ÿI'm
                          9)2ÿ&not
                                3ÿ"sure.
                                       4 5
 0450ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
                      8%6ÿ986770ÿI9ÿ2mean,
                          WITNESS:          (&8ÿthis
                                                    "ÿisn't
                                                           "&)ÿthe
                                                                  
 0590ÿ0ÿ0ÿ0ÿ0ÿ0final
                @&(!ÿ(00! (3&8ÿ@from
                       application,       32ÿAwhat
                                                (ÿitÿ!looks
                                                            33'"ÿlike.
                                                                  !'5
 06B0ÿ0BY
       CDÿ345ÿ$7%
          MR.  LAWHON:
 07E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                F50ÿ0We
                      ÿA!!ÿcome
                         will   32ÿthat
                                        (ÿto
                                             3ÿthat.
                                                  (50ÿD   34ÿcan
                                                            You   (&
 08G0ÿ0help
       !0ÿ2ÿAÿ(ÿ(
            me with that as "ÿAweÿH--Hÿas
                                        ("ÿAweÿ2move
                                                  3Iÿalong
                                                       (!3&Pÿhere.
                                                                  5
 09Q0ÿ0So
       73ÿ ÿ"ÿ(ÿ"(20
          there  is a stampÿ3on&ÿitÿthat's
                                        ()"ÿdated
                                                R(R
 1S0ÿ0September
 10    702T ÿGÿ3@ÿ#S  1B50ÿ7
                  8th of 2016.       &Rÿif@ÿUyou
                                   And         34ÿ!look
                                                    33'ÿat,(8ÿ(again,
                                                                 P(&8
 110ÿ0that
 11         0(Pÿ15ÿ3@ÿ#55
       (ÿpage  14 of 24.
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             750ÿ0Okay.
                      '(U5
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             F50ÿ0That's
                      8()"ÿUyour
                               34 ÿ"signature,
                                       P&(4 8ÿright?
                                                      PV0ÿ8   ()"
                                                               That's
 150ÿ0still
 14    "!!ÿÿ"(2ÿR(
             the same dateÿ   (ÿUyour
                             that      34 ÿ2mom
                                             32ÿhad
                                                   (Rÿput
                                                       04ÿon3&ÿit,
                                                                  8
 190ÿ0right?
 15     PV
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16             750ÿ0Correct.
                      W3 5
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17             F50ÿ0Okay.
                      '(U50ÿ7
                             So3ÿif
                                  @ÿ9Iÿcan
                                         (&ÿPgo3ÿ@from
                                                      32
 1G0ÿ0September
 18    702T ÿBÿ3
                  6th orÿ7 02T ÿ8th,
                          September     G8ÿAwhatever
                                                (I ÿthat(ÿRdate
                                                                   (
 1Q0ÿ0is
 19    "ÿ(ÿ"(20Rÿ3&ÿ
          that               8ÿ(and
                stamped on there,       &Rÿ4use
                                             "ÿour
                                                  34 ÿlast
                                                       !("ÿ"sequence
                                                               X4&
 #S0ÿ0of
 20    3@ÿ"4@@8ÿAÿA("
          stuff,  which wasÿ(  &ÿe-mail
                              an   H2(!ÿ@from 32ÿJackie
                                                   Y('ÿ`Farris,
                                                              ( "8
 21    74P4"ÿ1S8ÿ(T34ÿ
 #10ÿ0August  30th, about ( aÿQ SHR(Uÿperiod.
                               90-day    0 3R50ÿWhat(ÿhappens
                                                             (00&"
 ##0ÿ0in
 22    &ÿ(ÿQSHR(Uÿ0
          that             3Rÿthat
                90-day period   (ÿled!RÿUyou
                                               34ÿto3ÿPgo3ÿahead
                                                            ((Rÿ(and
                                                                    &R
 #10ÿ0actually
 23    (4(!!Uÿ@!ÿ"ÿ
                 file this ( 00!(3&V
                            application?
 #50ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             750ÿ0I9ÿR3&)ÿremember.
                        don't   22T 5
 #90ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             F50ÿ0Do
                      a3ÿU34
                         youÿremember
                               22T ÿRdoing
                                            3&Pÿ(any
                                                    &Uÿresearch,
                                                           "( 8
                                                            defgÿijjklm
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   enopqrstuvpwquxnyuz
                                                            EsquireSolutions.com
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                                      229
      PETER J. VICARI                                            October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           t      113

 010ÿ0
  1    34567489ÿ6ÿ5
       homework, getting more486ÿinformation
                                    4854ÿ4or8ÿdoing
                                                       4
 00ÿ0
  2    3ÿ478
       anything  towardsÿ3  6ÿapplication
                           the   !!"#4ÿ!process?
                                                 84#6 $
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             &'0ÿ0No.
                A.    (4'0ÿI)ÿdon't
                                40ÿremember.
                                       86565168'
 0420ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                3'0ÿ0Was
                      4 ÿ3 6ÿapplication
                           the   !!"#4ÿthat3ÿyou45ÿdid
                                                            
 0560ÿ0submit
        515ÿ4ÿ789@ÿ85   35"ÿinÿevery
               to DBPR truthful         6A68ÿ7way?
                                                 $
 06B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                &'0ÿ0Yes
                      C6 .'0ÿTo
                             D4ÿthe
                                   36ÿ1best
                                        6 ÿ4ofÿ5myÿknowledge.
                                                      947"66'
 07E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                3'0ÿ0Did
                      7ÿ4 5ÿ#check
                           you   36#9ÿit,
                                        ÿ8read
                                               6ÿit,
                                                      ÿlook
                                                          "449ÿatÿit
 08F0ÿ0before
       16486ÿÿ7
               it wasÿsubmitted
                        5156ÿto4ÿ7DBPR?
                                          89@$
 09G0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                &'0ÿ0Yes
                      C6 .'
 1H0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             3'0ÿ0How
                      I47ÿ ÿitÿget
                           did      6ÿsubmitted
                                           5156ÿto4ÿ7DBPR?
                                                            89@$
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             &'0ÿ0I'm
                      )05ÿ4 ÿsure.
                           not   586'0ÿI)ÿdon't
                                             40ÿremember.
                                                     86565168'
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             3'0ÿ0Was
                      4 ÿ
                           itÿP Pÿ7well,
                               --   6""ÿwere
                                           7686ÿyou
                                                   45ÿinvolved
                                                         A4"A6ÿin
 1%0ÿ0the
 13    36ÿ!process
             84#6 ÿ4ÿ6   ÿitÿsubmitted
                     of getting         5156ÿto4ÿ7DBPR
                                                          89@ÿatÿall?
                                                                     ""$
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             &'0ÿ0I)ÿ3
                        think9ÿ5myÿmom
                                    545ÿ3handled
                                           "6ÿgetting
                                                      6ÿit
 160ÿ0through
 15    38453ÿ7Aÿ88
                David Bryant,ÿI)ÿthink
                                      39ÿ7who
                                             34ÿwas
                                                 7 ÿ4our58
 1B0ÿ0contact
 16    #4#ÿPPÿ734ÿ458ÿ
                -- who our # contact    7 '0ÿI)ÿdon't
                              4#ÿwas.            40ÿ9know
                                                            47ÿifÿ7we6
 1E0ÿ0submitted
 17     5156ÿ4ÿ789@ÿ4
                   to DBPR or8ÿhe
                                36ÿdid.
                                      '0ÿ)Iÿ 40ÿremember.
                                               don't   86565168'
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             3'0ÿ0Let
                      Q6ÿ56
                           meÿP Pÿdo4ÿme
                               --      56ÿaÿfavor,
                                               A48ÿifÿyou
                                                           45ÿ7would
                                                                  45"
 1G0ÿ0and
 19    ÿ)I'm
             05ÿ4ÿ
                going ask 9ÿ
                            aÿ1 84ÿRquestion
                              broad     56 4ÿand ÿwe'll
                                                         760""ÿ7wind
                                                                  
 H0ÿ0getting
 20    6ÿÿ36ÿ!84S   6# '0ÿ8
                in the projects.        5ÿidentify
                                       But   6ÿfor 48ÿ5me6ÿwhich
                                                                  73#3
 21    !84S6#ÿ48ÿ!84S6#
 10ÿ0project   or projectsÿ   45ÿ#consider
                               you    4 68ÿto4ÿbe16ÿfour
                                                          458ÿstories
                                                                 486
 0ÿ0in
 22    ÿ36 3ÿ48ÿ5486ÿ
          height             3ÿqualify
                   or more that    R5"ÿyou45ÿto4ÿ8receive
                                                         6#6A6ÿa
 %0ÿ0license
 23    "#6 6ÿasÿÿ#68  6ÿgeneral
                    a certified     668"ÿ#contractor
                                               48#48ÿinÿyour
                                                                 458
 20ÿ0application?
 24    !!"#4$
 60ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25             &'0ÿ0Midship
                      T 3!ÿMarine
                                T86ÿisÿfour
                                             458ÿstories
                                                      486 ÿin
                                                            ÿdef
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               Cu681
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            v     114

 010ÿ0
  1    3456378
       height.0ÿ96ÿ5
                  Sugar Millÿ5 ÿfour
                              is   ÿstories
                                       754ÿ5inÿ3height.
                                                        456378
 00ÿ0
  2    978ÿBernard
       St.   4!ÿ5ÿ
                     is fourÿstories
                             754ÿ5inÿ3height.
                                              4563780ÿ"  !
                                                        And
 0#0ÿ0
  3    $44ÿ%53ÿ"
       Jefferson            4&ÿBuilding
                   Parish Annex    5!56ÿwas'ÿfour
                                                    ÿstories
                                                          754ÿin 5
 0(0ÿ0
   4   34563780ÿ9345ÿ
       height.              5)4ÿ'was
                  Sheriff office    ÿfour
                                         ÿstories
                                               754ÿ5inÿ3height.
                                                              456378
 0500ÿ0West
       147ÿJeff
             $4ÿ2357ÿ
                   Hospital 456ÿ7the
                            jobs,    34ÿ3penthouse
                                           4734ÿwas'ÿfour
                                                             
       754ÿ5ÿ3456378
 0670ÿ0stories  in height.0ÿ8Iÿ! 97ÿ7think
                                don't    35@ÿthere
                                                7344ÿ5isÿany
                                                             AÿBmore
                                                                   4
 07C0ÿ0in
       5ÿ34 480ÿ8ÿ735@ÿ7
           here.            379ÿit
                   I think that's   57ÿ5inÿ7the
                                              34ÿapplication.
                                                   335)758
 08D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                E80ÿ0Okay.
                      F@A8
                "80ÿ0Sorry.
 09G0ÿ0ÿ0ÿ0ÿ0ÿ0A.     9A80ÿMy
                               Aÿ@kid
                                    5!ÿ5isÿat
                                            7ÿ7the
                                                 34ÿ!doctor
                                                       )7ÿ'with
                                                                573ÿa
 1H0ÿ0fever.
 10    4I48
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             E80ÿ0That's
                      P379ÿokay.
                               @A80ÿYou
                                      Qÿneed
                                              44!ÿ7the
                                                    34ÿ7take
                                                         @4ÿa
 10ÿ0break?
 12    54@R
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             "80ÿ0He
                      24ÿ3
                         hasÿ6 7ÿaÿfever.
                              got    4I480ÿP   379ÿokay.
                                                That's    @A8
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             E80ÿ0How
                      2'ÿ!5!ÿAyou
                          did   ÿmeasure
                                    B44ÿ7the34ÿ3height
                                                     45637ÿofÿ7the
                                                                   34
 100ÿ0projects
 15    344)7ÿ737ÿAÿ4  7ÿ6gave
                  that you just    I4ÿme?
                                       B4R
 170ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16             "80ÿ0Typically
                      PA35)Aÿ3height     37ÿ'we4ÿfigure,
                                   45637ÿ7that         5646ÿthe
                                                                734ÿD8
 1C0ÿ0to
 17    7ÿ1 S447ÿ75B4ÿ73
           12-feet          4ÿ7total
                    times the   7ÿheight
                                      345637ÿof ÿ7the
                                                     34ÿ5building,
                                                          5!566
 1D0ÿ0along
 18    6ÿ'573ÿ734ÿ7  548
              with the stories.
 1G0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             E80ÿ0Okay.
                      F@A80ÿ1 34ÿyou
                             When   Aÿsay
                                           Aÿ7typically,
                                                A35)A6ÿlet47ÿmeB4
 H0ÿ0be
 20    54ÿB 4ÿ34)548
           more  precise.0ÿT479ÿstart
                           Let's    77ÿ'with
                                            573ÿthe
                                                 734ÿMidship
                                                        5!353
 21    54ÿ55!568
 10ÿ0Marine   building.0ÿBefore
                            44ÿAyou
                                     ÿsubmitted
                                           5B5774!ÿAyour
                                                        
 0ÿ0application
 22    335)75ÿ7ÿU   %V6ÿ!did
                     to DBPR,   5!ÿyou
                                    Aÿactually
                                           )7Aÿ6goÿBmeasure
                                                          44
 #0ÿ0the
 23    734ÿ3height
             45637ÿÿ737ÿ
                    of that 55!56R
                            building?
 (0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             "80ÿ0I8ÿ!97ÿ7think
                        don't   35@ÿwe
                                      '4ÿ3had
                                            !ÿ7the
                                                 34ÿ3plans
                                                       ÿ5inÿ7the
                                                                   34
 00ÿ0office.
 25    5)48
                                                            ÿdeefgh
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ijklmnopqkrlpsitpu
                                                            EsquireSolutions.com
                                                                               Qw41
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            r     115

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0567ÿ89
                Q.           89ÿplans?
                      The construction         
 020ÿ0ÿ0ÿ0ÿ0ÿ0A.!40ÿ0"ÿ6  #4
                      I think.
 0$0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             340ÿ0%9ÿ&9
                Q.    Do youÿ  ÿ6have
                               still    '7ÿthem?
                                               67(
 04)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                !40ÿ0I"ÿ091
                        don'tÿremember
                                7(7(27ÿif3ÿ4we7ÿ0did.040ÿWe
                                                              57ÿ(may
                                                                   &
 0560ÿ0have
       6'7ÿ870ÿ67ÿ94   740ÿ7
             called the owner.      He7ÿisÿaÿgood
                                                8990ÿ3friend
                                                         70ÿ9of3ÿ9ours
                                                                      
 0690ÿ0that  94ÿ64
       6ÿowns   that.0ÿI
                          "ÿ0don't
                               91ÿremember
                                      7(7(27ÿ7exactly
                                                    @8&ÿ6how94ÿ4we7
 07A0ÿ0got
       89ÿ Bÿ2ÿÿ4ÿ
            it,              7&ÿsimply,
                but it was pretty       (&40ÿ"     1ÿ0down
                                                    It's    94ÿthe
                                                                   67
 08C0ÿ0street
       77ÿ39(ÿ9ÿ933   874
               from our office.
 09D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0You
                      E9ÿ8 '7ÿ(me7ÿaÿ8couple
                          gave            97ÿ9of3ÿ0different     4&
                                                         3377ÿways
 1F0ÿ0that
 10    6ÿyou
             &9ÿ(86ÿ93ÿ8  97ÿthe
                  might of gotten      67ÿheight.
                                            678640ÿDo  %9ÿ&you
                                                              9ÿ#know
                                                                   94
 110ÿ0for
 11    39ÿ 7ÿ694ÿ&9ÿ8
            sure             &ÿ0did
                  how you actually      0ÿ8get7ÿthe
                                                    67ÿheight?
                                                         6786
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             !40ÿ0I"ÿ091
                        don'tÿremember.
                                7(7(274
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             340ÿ0How
                      794ÿ49 0ÿG--Gÿdo
                          would        09ÿyou
                                            &9ÿ#know
                                                   94ÿ4who
                                                          69ÿdid
                                                              00ÿ8get
                                                                    7
 1)0ÿ0the
 14    67ÿ6height?
             786
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             !40ÿ0No.
                      H940ÿI"ÿ0don't
                                91ÿthink.
                                        6#4
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             340ÿ0The
                      567ÿI 8ÿPMill
                          Sugar     ÿapartment
                                            (7ÿ8complex,
                                                          9(7@Bÿhow
                                                                    694
 1A0ÿ0did
 17    00ÿ&you
             9ÿ87ÿ67ÿ67  86ÿfor
                 get the height    39ÿthe
                                          67ÿapplication?
                                                89
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             !40ÿ0Q9ÿ6  Bÿ"Iÿdon't
                      For that,       091ÿremember
                                               7(7(27ÿ9off33ÿthe
                                                                 67
 1D0ÿ0application.
 19    8940ÿBut
                       Rÿ4we7ÿ#knew
                                  74ÿitÿwas
                                            4ÿabout
                                                   29ÿC8ÿto
                                                            9ÿ10-feet
                                                                1FG377
 20F0ÿ0ceiling
       878ÿ6786ÿÿ   697ÿrooms
                height in those       99(ÿwith
                                             46ÿthe67ÿroof
                                                           993
 2110ÿ0structure
       87ÿ9ÿ94
                   on top.
 220ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0%0ÿ&9
                      Did youÿactually
                                  8&ÿ6have'7ÿaÿ8conversation
                                                         9'79
 23$0ÿ0with
       46ÿ767ÿ93ÿ&9
             either of yourÿ   7ÿabout
                               parents    29ÿhow694ÿto9ÿarrive
                                                              '7ÿat
 24)0ÿ0the
       67ÿ6786ÿ93ÿ697
            height of thoseÿ0   3377ÿ2buildings?
                               different       08
 2560ÿ0ÿ0ÿ0ÿ0ÿ0A.
                !40ÿ0"ÿ6
                      I think#ÿitÿwas
                                    4ÿallÿG--Gÿitÿwas
                                                         4ÿ2brought
                                                               986
                                                            ÿd
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               Es713
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
                                                                 October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
       PETER J. VICARI
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                116

 010ÿ0
  1    34ÿ5678ÿ9ÿ6
       up from David Bryant  ÿthat
                                 ÿweÿsaid
                                           !ÿtypically
                                                   4"##ÿto7ÿ3use   !
 0$0ÿ0
  2    1%&577ÿ7ÿ
       10-foot   to theÿ!76  !ÿin
                         stories   ÿheight.
                                         '(
 0)0ÿ0ÿ0ÿ0ÿ0ÿ0
  3              0(0ÿ017ÿ7
                 Q.    How doÿ 73ÿ2know
                               you    7ÿheÿ3brought
                                                673'ÿthatÿ3up?44
 050ÿ0ÿ0ÿ0ÿ
   4         0ÿ06(0ÿ0
                 A.    7ÿ
                       I     2ÿthat's
                         think   8!ÿwhat
                                           ÿheÿtold
                                                       7#ÿ8myÿdad.
                                                                   (
 0590ÿ0ÿ0ÿ0ÿ0ÿ0Q.0(0ÿ017ÿ7
                       How doÿ 73ÿ2know
                               you    7ÿthat;
                                            @ÿyour
                                                     736ÿdad
                                                            ÿtold
                                                                   7#
 0A
  60ÿ0734
       you?
 0B70ÿ0ÿ0ÿ0ÿ0ÿ06(0ÿ0
                 A.    C (
                       Yea.
 0D
  80ÿ0ÿ0ÿ0ÿ0ÿ0Q. 0(0ÿ09ÿ 37ÿ'go7ÿ8measure
                       Did anybody          !36 ÿthe  ÿESugar
                                                            3'6ÿFMill##
 0G
  90ÿ0646  8 !4
       Apartments?
 1%
 100ÿ0ÿ0ÿ0ÿ0ÿ06( A.0ÿ07ÿ78 ÿ6remember.
                       I don't     8 83 6(
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q. 0(0ÿ075ÿ73
                       If youÿ 6 ÿ3using
                               are    !'ÿ8Dÿto7ÿ112$ÿ5feetÿ7or6ÿ110%
 1$
 120ÿ05   ÿÿ
       feet        'ÿ!ÿ
             in height       736ÿ!story
                         as your    76ÿas!ÿyou
                                                73ÿHjust
                                                       3!ÿtestified,
                                                               !5 I
 1)
 130ÿ07ÿ  ÿ73ÿ27ÿ
       how did              P"#ÿwhat
                 you know exactly      ÿthe
                                              ÿtallest
                                                   ## !ÿ4point
                                                               7ÿ7or6
 15
 140ÿ0
       theÿ ' !ÿ47ÿ7
            highest          5ÿthe
                      point of    ÿ3building
                                       3#'ÿwas!ÿto7ÿ'go7ÿ3up4ÿto?
                                                                        74
 19
 150ÿ0ÿ0ÿ0ÿ0ÿ06( A.0ÿ0Qÿ 73ÿ8mean
                       What you     ÿheight?
                                           '40ÿQWeÿ2know.
                                                           7(
 1A
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q. 0(0ÿ017ÿ&&
                       How — ÿ  ##Iÿ#letÿ8meÿask
                              well,               !2ÿthis     R0ÿ1How
                                                        !ÿway:        7
 1B
 170ÿ0##ÿ
       tall !ÿ
             is theÿE3'6ÿF  ##ÿapartment
                      Sugar Mill    468 ÿcomplex
                                                "784# Pÿinÿheight?
                                                                    '4
 1D
 180ÿ0ÿ0ÿ0ÿ0ÿ06(0ÿ0
                 A.    S73'#ÿ&—&ÿI7ÿdon't
                       Roughly          78ÿ6remember.
                                                  8 83 6(0ÿI7ÿdon't78
 1G
 190ÿ027ÿ   P"#ÿ755
       know exactly          (0ÿ7
                       offhand.    Iÿ 78ÿ2know.
                                      don't   7(0ÿI7ÿ8mean, Iÿit's
                                                                      8!
 $%
 200ÿ0'7ÿ
       got to7ÿ3beÿ5%ÿ5   ÿeasily.
                    40 feet  !#(
 $1
 210ÿ0ÿ0ÿ0ÿ0ÿ00(0ÿ017ÿ7
                 Q.    How doÿ 73ÿ2know
                               you    7ÿthat?
                                            4
 $$
 220ÿ0ÿ0ÿ0ÿ0ÿ06(0ÿ0
                 A.      "3! ÿit's
                       Because   8!ÿ'got
                                        7ÿthree
                                             6 ÿ5floors
                                                       #776!ÿ4plus
                                                                 #3!ÿa
 $)
 230ÿ03'ÿ   ÿ6
       big added       ÿ33#
                    area     ÿ7onÿtop
                         built        74ÿwhere
                                            6 ÿthe
                                                    ÿair6
 $5
 240ÿ0"77'ÿ3!ÿ
       conditioning units    6 ÿhoused
                             are    73! ÿin.
                                             (
 $9
 250ÿ0ÿ0ÿ0ÿ0ÿ00( Q.0ÿ0E7ÿ73
                       So youÿ" 78 ÿ3up4ÿwith
                              come         ÿ540%ÿ5feet,Iÿyou
                                                               73ÿtake
                                                                      2
     @ESQUIRE                                               800.211.DEPO
                                                              ÿ(3376)
                                                                             de
                     DEPOSITION SOLUTIONS                    f ghijklmnhoimpfqcom
                                                             EsquireSolutions.   mr
                                                                                 Cs 615
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      VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.          u      117

  010ÿ0
   1    3456789ÿ1ÿÿ3
        roughly 10 feet perÿ  8443ÿthree
                              floor,     73ÿfloors,
                                                 8443ÿthat's
                                                            7ÿ30
  020ÿ0ÿ!"ÿ7!ÿ3  4#$%89ÿ110ÿfeet
        feet, and then approximately           ÿfor43ÿthe
                                                            7
 030ÿ0745$!6ÿ43ÿ7ÿ&'(
        housing for the HVAC)ÿequipment?
                                05$%!1
 020ÿ0ÿ0ÿ0ÿ
   4         0ÿ0(30ÿ0
                 A.   )43343
                      Correct.
 0550ÿ0ÿ0ÿ0ÿ0ÿ0Q.630ÿ077ÿ&'()ÿequipment
                      The HVAC    05$%!ÿthat
                                               7ÿ9you45
 0680ÿ0$"!$$"ÿ$ÿ$!
        identified, it's inÿan!ÿattic.
                                   $430ÿ9Isÿthat
                                                  7ÿaccessible
                                                         44$@8
 0A0ÿ0
   7    34%ÿ
        from $!$"ÿ7ÿ@5$ 8"$!6ÿ4or3ÿ4outside
              inside the building         5$"ÿthe7ÿ@building?
                                                           5$8"$!61
 0B0ÿ0ÿ0ÿ0ÿ
   8         0ÿ0(30ÿ09ÿ7$!
                 A.         Cÿ4on!ÿDSugar
                      I think        563ÿEMill,
                                             $88ÿ$it's
                                                     ÿ@both,
                                                            473ÿÿ9I
 0F0ÿ0
   9    7$!C
        thinkÿ945ÿ4!ÿ4ÿ$
               you can to itÿ 34%ÿ7
                             from      ÿ$inside
                                     the    !$"ÿand
                                                     !"ÿ4outside
                                                           5$"ÿ$if
 1
  100ÿ09%ÿ3 %%@3$!630ÿ9It's
        I'm remembering,    ÿaÿ7head
                                      "ÿ4ofÿflat
                                                 8ÿroofs
                                                       344ÿ$in!
 110ÿ0
  11    @G!ÿ7ÿ@5$8"$!
        between             6ÿthat
                 the buildings    7ÿ9you
                                         45ÿcan
                                             4!ÿ6get
                                                    ÿ4on!ÿthe
                                                              7ÿflat
                                                                   8
 1120ÿ0roof
        344ÿ!"ÿ44ÿ $43
              and access attics.
 10ÿ0ÿ0ÿ0ÿ0ÿ0
  13             630ÿ0H74ÿ@5
                 Q.         $8ÿthe
                      Who built    7ÿattic?
                                         $41
 120ÿ0ÿ0ÿ0ÿ0ÿ0
  14             (3
                 A.0ÿ0(3ÿ
                      After I3$!ÿaÿ8lot
                            Katrina,         4ÿ4ofÿthe
                                                       7ÿ@buildings
                                                            5$8"$!6
 150ÿ0
  15    G3ÿ
        were 7P$89ÿ"%6 "ÿand
              heavily damaged   !"ÿ"destroyed,
                                      349"ÿso4ÿGweÿ7had"ÿto4
 18     3@5$8"ÿ43$!ÿ@5$
  160ÿ0rebuild              8"$!63
                 certain buildings.
 1A
  170ÿ0ÿ0ÿ0ÿ0ÿ0Q.630ÿ0(!"ÿ%43ÿprecisely,
                      And more    34$89ÿ"did $"ÿQPVGC
                                                       'R)ÿactually
                                                              45889
 1B
  180ÿ0@5$8"
        buildÿ$4ÿSS
               attics
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0
  19             (3
                 A.0ÿ0T3
                      Yea.
 200ÿ0ÿ0ÿ0ÿ0ÿ0Q.630ÿ0SSÿ34%ÿSSÿfrom
                         from        34%ÿscratch
                                            4347ÿ4or3ÿ!new?
                                                           G10ÿUOr3
 2110ÿ0"$"ÿ9 45ÿ7Pÿ4ÿ3!
        did you             4Pÿ4or3ÿ3refurbish
                 have to renovate         53@$7ÿthe 7ÿexisting
                                                              #$$!6
 220ÿ04!1
        ones?
 230ÿ0ÿ0ÿ0ÿ0ÿ0(30ÿ0Hÿ3@
                 A.         5$8ÿthe
                      We rebuilt     7ÿ4ones
                                          !ÿthat
                                                 7ÿGwere
                                                        3ÿ"damaged.
                                                               %6"3
 2420ÿ0I9ÿ%!ÿ39ÿ%547
          mean, pretty muchÿ4  !ÿ@building
                              one    5$8"$!6ÿGwasÿ"destroyed
                                                       349"ÿ$in!
 2550ÿ07ÿP39ÿ@4Cÿ7ÿ
        the very back that 7 "ÿto4ÿ@beÿstarted
                            had             3"ÿ4over.
                                                       P33
     @ESQUIRE                                               800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                     DEPOSITION SOLUTIONS                    h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 T'31
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      QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                            October 16, 2018
      QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            xx     118

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ0567ÿ88
                 Q.    Did    ÿdo
                               79ÿthe
                                    ÿattics
                                          6ÿrun
                                                   ÿthe
                                                       ÿspan
                                                              ÿ9of
 0!0ÿ0
  2    ÿÿ9
       the  structure ofÿ   ÿbuilding?
                            each  "6#76$%0ÿIn  &ÿ9other
                                                      ÿ'words,
                                                              97(
 03)0ÿ0are
       ÿ0ÿ1ÿÿ#9
            they just as long $ÿand
                                  7ÿ1just
                                         ÿasÿwide
                                                  '67ÿasÿthe
                                                              
 0420ÿ0apartment
       3ÿ"6#76$
                    buildingsÿ  3#4ÿ9orÿare
                                themselves         ÿthey
                                                       0ÿmuch
                                                              3
 0550ÿ0smaller?
       3##%
 0660ÿ0ÿ0ÿ0ÿ0ÿ0A.740ÿ0They
                       80ÿare
                              ÿthe
                                    ÿ'whole
                                         9#ÿlength
                                               #$ÿ9ofÿthe
 0790ÿ0building.
       "6#76$40ÿThey're
                     80@ÿ8--8ÿ0you
                                    9ÿAknow,
                                         9'(ÿthe
                                                 ÿbuilding
                                                    "6#76$ÿis 6ÿall
                                                                     ##
 08B0ÿ0separated
       7ÿ6ÿÿ    3ÿcomplex
                    in the apartment     93#Cÿand
                                                    7ÿ9one
                                                         ÿ"building
                                                               6#76$
 09D0ÿ0was
       'ÿ7destroyed.
             9074
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10              340ÿ0The
                       8ÿ 6ÿconcrete
                            entire    9ÿstructure
                                                 ÿall##ÿthe
                                                                    
 110ÿ0way
 11          9'ÿ9ÿ""#(
       '0ÿ7down  to rubble,ÿdown
                               79'ÿto9ÿthe
                                           ÿ$ground?
                                                 97%
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0740ÿ0F940ÿ
 12              A.    No. It&ÿwas
                                 'ÿpretty
                                       0ÿ3much
                                                 ÿkind
                                                      A67ÿ9ofÿthe
                                                                 
 1)0ÿ0first
 13     6ÿfloor
                #99ÿ'ÿ7  907(ÿwhere
                      was destroyed,     'ÿ6itÿripped
                                                      67ÿ9offÿthe
                                                                  
 120ÿ0roof
 14    99 ÿ7ÿÿ67ÿ     #99ÿand
             and the third floor      7ÿthen
                                            ÿtore
                                                   9ÿupÿthe
                                                            ÿ'walls
                                                                  ##
 150ÿ0on
 15    9ÿ ÿ97ÿ7ÿ
           the                640ÿG
                second and first.      So9ÿit
                                           6ÿ'was
                                                 ÿpretty
                                                      0ÿmuch
                                                              3
 16    ÿ94ÿ9ÿÿ"
 160ÿ0start                   6#76$4
               over on the building.
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17              340ÿ0All
                       7##ÿ ÿfloors?
                            three    #99%
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18              740ÿ0On
                       Hÿ
                           theÿ 69ÿ9ofÿit,
                                section      6(ÿ0yeah.
                                                    4
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19              340ÿ0But
                       Iÿ9 ÿall
                            not   ##ÿthree
                                       ÿfloors?
                                               #99%0ÿP   9
                                                         You
 !E0ÿ0didn't
 20    767@ÿ88ÿ09ÿ767@
                   you didn't ÿ"build
                                  6#7ÿnew
                                          'ÿall
                                               ##ÿthree
                                                   ÿfloors?
                                                            #99%
 !10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21              740ÿ0Yeah.
                       P40ÿHOnÿthe
                                     ÿportion
                                          969ÿ9ofÿ6it,
                                                        (ÿwe
                                                            'ÿ7did.
                                                                 674
 !!0ÿ0And
 22    77ÿ'weÿ'ÿ"#ÿ9
                were able toÿ   4ÿsome
                                save  93ÿ9ofÿthe
                                                  ÿ9other
                                                       ÿparts
                                                               ÿof
                                                                     9
 !)0ÿ0it,
 23    6(ÿ9ofÿÿ"6#76
                that building.$4
 !20ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24              340ÿ0Okay.
                       HA04
 !50ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25              740ÿ0But
                       Iÿ9 ÿ3much.
                            not   4
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               Pp1
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            s     119

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0566ÿ78
                Q.           940ÿIÿwill
                      All right.         866ÿcome
                                              ÿback
                                                       ÿtoÿthat
                                                                 
 0!0ÿ0
  2    "4
       one.
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  3                   $ÿ
                      How    %ÿ&St.
                           about   4ÿ'Bernard's,
                                         7"7()01ÿhowÿtall
                                                           66ÿis80
 0420ÿ0that
       ÿbuilding?
             %86(8"93
 0540ÿ0ÿ0ÿ0ÿ0ÿ0A.
                540ÿ0Iÿ(")
                        don'tÿknow.
                                 "40ÿIÿ(don't
                                             ")ÿremember
                                                   77
 0650ÿ0offhand.
       66"(40ÿÿ(8(")ÿ
                  I didn't 9  ÿmeasure
                             go  0%7ÿall66ÿthese
                                                  0ÿbuilding
                                                         %86(8"9
 0770ÿ0before
       67ÿ8"9ÿ7ÿ
               coming here   ÿrefresh
                             to  7670ÿmy8ÿmemory.
                                                784
 0890ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0Did
                      @8(ÿ" 8(8ÿmeasure
                           anybody    0%7ÿthem
                                                ÿfor
                                                      67ÿPVGC
                                                           ABCD
 09E0ÿ0before
       67ÿ8%ÿFF68(ÿ
               you applied 6  7ÿ8your
                             for   %7ÿlicense?
                                         68"03
 1G0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10             540ÿ0We
                      Hÿ8
                          mayÿ I40ÿIÿ(don't
                              have.        ")ÿremember.
                                                  774
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             340ÿ0And
                      5"(ÿ86
                           ifÿ
                              Iÿasked
                                 0 (ÿ8you
                                          %ÿthe
                                               ÿ0same
                                                    ÿquestion
                                                         P%08"
 1!0ÿ0about
 12    %ÿQ6670"ÿA7   80ÿor7ÿthe
              Jefferson Parish          ÿsheriff's
                                           07866)0ÿoffice,
                                                         6681ÿhow
 1#0ÿ0you
 13    8%ÿarrived
             778I(ÿÿÿ  "8ÿ6feet
                     at how many     ÿtall
                                           66ÿthose
                                                  0ÿbuildings
                                                         %86(8"90
 120ÿ0are,
 14    71ÿÿ%6(ÿÿ   8%7ÿanswer?
             what would be your    "073
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             540ÿ0Iÿ(")
                        don'tÿknow
                                 "ÿthe
                                      ÿactual
                                             %6ÿRRÿnot
                                                        "ÿRRÿI
 16    (")ÿknow.
 150ÿ0don't    "40ÿÿ"
                      I mean,      "ÿthe
                             1ÿIÿknow    ÿsheriff
                                              07866ÿRRÿnot"ÿthe
                                                                  
 170ÿ0sheriff,
 17    078661ÿÿQ667   0"ÿAParish,
                 the Jefferson     7801ÿtheÿannex
                                                  ""Sÿbuilding
                                                           %86(8"9
 190ÿ0or
 18    7ÿ0 6ÿ7(ÿ%8
          school             6(8"91ÿwhichever
                   board building,    8I7ÿone"ÿ8itÿwas,
                                                              01ÿhas
                                                                    0
 1E0ÿ0three
 19    7ÿ66701ÿÿF"   %0ÿon"ÿtop,
              floors, a penthouse         F1ÿtoÿmake
                                                       ÿ8itÿ6four,
                                                                 %71
 !G0ÿ0the
 20    ÿ0stair
             87ÿ7ÿ6%  740ÿ&
                   tower four.     ÿIÿknow
                                  So      "ÿthat
                                               ÿbuilding
                                                      %86(8"9ÿ8is0
 21    7668ÿ66ÿRRÿ76
 !10ÿ0really   tall -- really68ÿtall.
                                 6640ÿ&  7784
                                          Sorry.
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             340ÿ0And
                      5"(ÿ86
                           ifÿ
                              Iÿunderstood
                                 %"(70(ÿ8your
                                                %7ÿtestimony
                                                       08"8
 !#0ÿ0about
 23    %ÿÿH0ÿQ66   70"ÿ$Hospital,
              the West Jefferson      0F861ÿ8you%ÿsaid
                                                       08(ÿthat
                                                               
 !20ÿ0was
 24    0ÿ6%7ÿ0780ÿ8"
            four stories inÿ   89ÿof6ÿconstruction,
                              height         "07%8"1ÿbut %
 !40ÿ0PVGC
 25    ABCDÿ"68ÿ%86ÿ%
             only built outÿ   ÿpenthouse
                              the  F"%0ÿfloor.
                                                66740ÿDo @ÿI
                                                            ÿde
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fghijklmnhoimpfqmr
                                                            EsquireSolutions.com
                                                                               tB716
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 120

 010ÿ0
  1     345678945ÿ99ÿ7
        understand that right? 9
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2               0ÿ068
                  A.    Yes.0ÿThere
                               676ÿwas8ÿaÿsection
                                               86!9"4ÿ"on4ÿ9the
                                                              6ÿ#back
                                                                   !$
 0%0ÿ0
  3     "&ÿ96ÿ"8'9(ÿ9
       of  the hospital that   9ÿwe6ÿbuilt
                                      #3(9ÿaÿ'penthouse
                                                  649"386ÿ"on4ÿ9top
                                                                  "'ÿ"of&
 0)40ÿ096ÿ#  3(540ÿwhere
       the building,      676ÿ9the
                                 6ÿ#building
                                       3(54ÿwould
                                                   "3(5ÿ8step
                                                           96'ÿ5down
                                                                 "4
 0510ÿ0to,
        9"0ÿ(like,
              $60ÿ&"37ÿ&(""   78ÿ"or7ÿwhatever,
                     four floors        962670ÿwe6ÿhad 5ÿto
                                                             9"ÿbuild
                                                                 #3(5
 0630ÿ0aÿ'64 9"386ÿ"4ÿ9"'ÿ
          penthouse    on top " &ÿit
                               of  9ÿ9to"ÿ&feed
                                             665ÿ9the
                                                   6ÿair
                                                        7
 0740ÿ0conditioning
        !"459"44ÿ858966
                        systemÿ& "7ÿ9the
                                for    6ÿ"operating
                                             '6794ÿrooms.
                                                        7""68
 0870ÿ0ÿ0ÿ0ÿ0ÿ0Q. 80ÿ0So
                        9"ÿ96
                           theÿ' 649"386ÿ9that
                                penthouse      9ÿ5you
                                                     "3ÿ#built
                                                           3(9ÿwas
                                                                  8
 09@0ÿ0for
        &"7ÿ6 (6!97!(ÿ6A3
            electrical         '6649
                          equipment?
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10               0ÿ0HVAC
                        CDEÿ6equipment
                               A3'6649ÿand 45ÿ6electrical
                                                  (6!97!(
 110ÿ0equipment.
 11     6A3'66490ÿIt F9ÿwas
                           8ÿaÿ#big
                                   ÿpenthouse
                                       '649"386ÿ-- GGÿit9ÿwas
                                                             8ÿto
                                                                 9"
 10ÿ0the
 12     96ÿG--Gÿ9ÿ  8ÿ&"7ÿ9
                 it was        6ÿwhole
                         for the    "(6ÿ"operating
                                             '6794ÿ7room
                                                          ""6ÿportion
                                                              '"79"4
 1%0ÿ0of
 13     "&ÿ9
           the6ÿwing
                  4ÿ"&ÿ96ÿ  "8'9(
                       of the hospital.
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14               80ÿ0If
                        F&ÿFÿ3 45678945ÿ!correctly,
                           I understand       "776!9(50ÿ5you"3ÿ5did
                                                                 5ÿnot
                                                                    4"9
 110ÿ0also
 15     (8"ÿconstruct
              !"48973!9ÿ96ÿ
                          the 9 766ÿ&floors
                               three    (""78ÿbelow
                                                #6(" ÿit9ÿ&from
                                                             7"6
 130ÿ0scratch?
 16     8!79!
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17               0ÿ0No.
                        H"0ÿNot
                             H"9ÿon"4ÿ9that
                                        9ÿ"one.
                                               46
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18               80ÿ0So
                        9"ÿ9
                           that9ÿ'particular
                                   79!3(7ÿ'project
                                                  7"I6!9ÿ9that
                                                            9ÿ5you
                                                                  "3
 1@0ÿ0are
 19     76ÿidentifying
              5649&54ÿwas8ÿ"only
                                 4(5ÿone
                                       "46ÿ&floor
                                              (""7ÿ"of&ÿ!construction
                                                          "48973!9"4
 B0ÿ0work;
 20      "7$Pÿ8ÿ99ÿ79
                is that right? 
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21               0ÿ0Right.
                        Q9
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22               80ÿ0It
                        F9ÿI38
                           just9ÿhappens
                                   ''648ÿ9to"ÿ#be6ÿon
                                                    "4ÿthe
                                                        96ÿ&fourth
                                                              "379
 %0ÿ0floor?
 23     &(""7
 )0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24               0ÿ0Correct.
                        E"776!9
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25               80ÿ0Do
                        R"ÿ5"3
                           youÿ$ 4" ÿif&ÿyou
                                know       5"3ÿ8still
                                                  9((ÿhave
                                                          26ÿ9the
                                                                6
                                                            ÿd
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               D671&
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                121

 010ÿ0
  1   34567ÿ86ÿ9ÿ8
      plans in the officeÿ    ÿ5any
                              for   6ÿofÿ9the
                                              ÿother
                                                   9ÿ3projects
                                                          97
 00ÿ0
  2   959ÿÿ79ÿ8   6988 !
      that you just identified?
 0"0ÿ0ÿ0ÿ0ÿ0ÿ0
  3            #$0ÿ0%&'ÿ6
               A.          9ÿsure.
                     I'm not   7$0ÿI%ÿhave
                                            5(ÿ6noÿ8idea.
                                                        5$
 0)0ÿ0ÿ0ÿ0ÿ
  4        0ÿ0Q.
               0$0ÿ018
                     Didÿ562 ÿ4look
                         anybody     3ÿfor
                                            ÿ9them?
                                                 '!
 040ÿ0ÿ0ÿ0ÿ0ÿ0
  5            #$0ÿ05ÿ66ÿ
               A.    No    6noÿ8idea.
                                   5$
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  6            0$0ÿ08ÿ9
               Q.    So theÿ8  95ÿ@Mill
                              Sugar    844ÿ#Apartments,
                                              359'697A
 0B0ÿ0
  7   89$ÿC65   &7Aÿ9ÿ
      St. Bernard's,   the D 76ÿEParish
                            Jefferson      587ÿ5annex,
                                                    66FAÿ9the
                                                             
 0G0ÿ0
  8   78&7ÿ8Aÿ
      sheriff's            ÿdon't
                  office, you     6&9ÿ8ifÿ9the
                                              ÿcompany
                                                   '356ÿ7still
                                                             9844
 0H0ÿ0
  9   57ÿ97ÿ34567ÿÿ
      has those  plans or 6  9!
                            not?
 1I            A.    Prettyÿ'
 100ÿ0ÿ0ÿ0ÿ0ÿ0#$0ÿ0E99      Aÿ%Iÿ9think,
                              much,      863Aÿevery
                                                   (ÿfive
                                                          8(ÿyears
                                                                57
 11
 110ÿ0Pÿ39ÿÿPÿ99ÿ
      we purge  or we get   8 ÿofÿ9the
                            rid        ÿ3projects
                                            97ÿ2because
                                                        57ÿPwe
 1
 120ÿ0don't
       6&9ÿ6
             needÿ9'$
                   them.
 1"
 130ÿ0ÿ0ÿ0ÿ0ÿ00$0ÿ0
               Q.    8ÿ'869ÿ2back
                     So coming     53ÿ9toÿyour
                                              ÿ5application,
                                                    33485986A
 1)
 140ÿ049&7
      let'sÿ43ÿ59ÿ66ÿ4
             look at — let 9ÿ'meÿ3know
                                    6PÿPwhen
                                           6ÿyou
                                                 ÿ5are
                                                       ÿready.
                                                            5 $
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ0#$0ÿ0D79ÿ
               A.          5 869ÿ9this
                     Just reading      87ÿ6—6ÿ8issue
                                                 77ÿ8is.
                                                         7$0ÿ5Nephew
                                                               3P
 17
 160ÿ086ÿ9ÿ738954$
      in the  hospital.0ÿ%     6&9ÿ3know
                          Iÿdon't      6PÿPwhat
                                              59ÿhe's
                                                    &7ÿ9got,
                                                          9Aÿ9they
                                                                
 1B
 170ÿ0586&9
      ain'tÿ7$
             sure.
 1G
 180ÿ0ÿ0ÿ0ÿ0ÿ00$0ÿ0%7ÿÿ
               Q.    Is he  35!
                            okay?
 1H
 190ÿ0ÿ0ÿ0ÿ0ÿ0#$0ÿ0Q&7ÿ
               A.          86$0ÿQHe's
                     He's fine.      &7ÿ9got
                                            9ÿ5aÿfever
                                                    (ÿPwith
                                                            89
 I
 200ÿ0268987Aÿ6Pÿ'ÿ
      bronchitis,   now my 6 3Pÿ8is7ÿ8in6ÿ9the
                            nephew             ÿhospital
                                                    738954ÿPwith
                                                               89
 1
 210ÿ073865
      spinal  meningitis, 2
           4ÿ'68698987Aÿ    59854ÿ7something,
                            bacterial      '9869$0ÿQHe's
                                                          &7ÿ2been
                                                                6
 0ÿ0
 22   458
      laidÿ3ÿÿ9PÿP  37ÿ8in6ÿ9the
            up for two weeks         ÿhospital
                                           738954ÿ5and6 ÿhe's
                                                            &7
 "0ÿ0
 23   ÿ57ÿ4
      2 years  old.$
 )0ÿ0ÿ0ÿ0ÿ0ÿ0
 24            0$
               Q.0ÿ0R59&7
                     That'sÿ3  99ÿ7serious.
                              pretty    87$
 4
 250ÿ0ÿ0ÿ0ÿ0ÿ0#$
               A.0ÿ0S5$
                     Yeah.


                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                            de
                     DEPOSITION SOLUTIONS                    fghijklmnhoimpfqcom
                                                             EsquireSolutions.  mr
                                                                                Ss1
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                122

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1           340ÿ056784
               Q.   Okay.0ÿ9 ÿifÿ8you
                           Well,         ÿneed
                                              ÿtoÿtake
                                                         76ÿbreak
                                                                !76
 0"0ÿ0
  2    ÿÿÿ8!ÿ#$%ÿ8you
       to tend to your nephew,     ÿ&just
                                        'ÿlet
                                              ÿ(meÿ6know.
                                                        %4
 0)30ÿ0ÿ0ÿ0ÿ0ÿ004
               A.0ÿ012'ÿ34
                    He's good.
 0440ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               340ÿ05ÿ
                    So letÿ(
                           meÿlook
                                 6ÿthrough
                                        $!3$ÿ8your
                                                  !
 06
  50ÿ07##77ÿ$!ÿ
       application here ifÿ% ÿcan.
                            we  7740ÿ5Start
                                         7!ÿonÿ#page
                                                     73ÿ3,
                                                          )ÿif
 0680ÿ08ÿ%4
       you would.
 090ÿ0ÿ0ÿ0ÿ0ÿ0
   7           040ÿ0
               A.   56784
                    Okay.
 08@0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               Q-   A$!ÿ
                    There 'ÿ7aÿ'section
                          is       7ÿthat
                                            $7ÿ'says
                                                   78'
 09B0ÿ0current/prior
       7!!C#!!ÿ7'ÿinformation,
                     license    !(740ÿDDoÿ8youÿsee
                                                          '
 1E
 100ÿ0that?
       $7F
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0040ÿ056784
               A.   Okay.
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ00ÿ
 1"            Q-   And itÿsays,
                           '78'ÿG"IfHÿ8you
                                          ÿ7currently
                                               !!8ÿ$hold
                                                            ÿor!
 1)
 130ÿ0$7Iÿ
       have #!I'8ÿ$ÿ7aÿbusiness
            previously held      '''ÿor!ÿ#professional
                                                 !''7
 14
 140ÿ07 'C!3'!7ÿinÿPFlorida
       license/registration        !7ÿor!ÿelsewhere,
                                                 '%$!
 16
 150ÿ0#7'ÿ'ÿ77$ÿ ÿbelow."
       please list each one   %4G0ÿDDoÿ8you
                                              ÿsee
                                                  'ÿthat?
                                                         $7F
 160ÿ0ÿ0ÿ0ÿ0ÿ0040ÿ0
 18            A.   Q!!74
                    Correct.
 19
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               340ÿ00ÿ$ÿonly
                    And the   8ÿlicense
                                     7'ÿthat's
                                               $72'ÿlisted
                                                         '
 1@
 180ÿ0$!
       thereÿ!ÿ8ÿ'ÿ7'ÿnumber
             for you is license     ( !ÿ11670,
                                            89Eÿcommercial
                                                   7((!77
 1B
 190ÿ03! 7ÿ7!77!ÿ
       general contractor ''ÿfrom
                          issued     !(ÿRNovember
                                           I( !ÿ115th6$ÿof
 "E0ÿ02012
 20    "E1"ÿÿ$ÿ#!'40ÿDDoÿ8you
            to the present.         ÿsee
                                        'ÿthat?
                                              $7F
 "10ÿ0ÿ0ÿ0ÿ0ÿ0040ÿ0Q!!7
 21            A.         4
                    Correct.
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22            340ÿ00ÿ!3$40ÿH
                    All right.      'ÿthat
                                   Is   $7ÿinformation
                                              !(7
 ")0ÿ0777!7F
 23    accurate?
 "40ÿ0ÿ0ÿ0ÿ0ÿ0040ÿ0H2'ÿ3
 24            A.         ÿthe
                    It's got    $ÿlicense
                                     7'ÿnumber
                                               ( !ÿofÿthe
                                                            $
 "60ÿ0company.
 25    7(#784
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                            com
                                                                               d
                     DEPOSITION SOLUTIONS                    efghijklmgnhloeplq
                                                             EsquireSolutions.  rs!1
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      XY`Yaÿcdÿefghaf                                    ryÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      XY`YÿefghafÿiYpYahqÿgrp`ahg`raÿstÿrufrÿghvwhq`xÿfpvd
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            w      123

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ056789ÿ
                 Q.    Whose  989ÿis8ÿthat?
                              license        6
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2              40ÿ06
                 A.         8ÿ!my"ÿ#dad's
                       That's        # 8ÿlicense
                                           989ÿnumber.
                                                      $!%9&4
 0'0ÿ0ÿ0ÿ0ÿ0ÿ0
  3              340ÿ0Well,
                 Q.    59(ÿitÿasks
                                    8)8ÿ"you
                                          7$ÿ0for
                                               7&ÿyour
                                                   "7$&ÿlicense
                                                         989
 0410ÿ0information,
       07&!7(ÿ7ÿ"7   $&ÿ#dad's.
                       not your     # 840ÿ2So7ÿwhy
                                                36"ÿis8ÿyour
                                                         "7$&ÿdad's
                                                                ## 8
 0540ÿ0license
       989ÿ07&!7
                 informationÿ7   ÿthe
                                on   69ÿapplication?
                                          557
 0660ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0I7ÿ#7 ÿ)know.
                         don't    734
 0780ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Well,
                       59(ÿthat
                               6ÿinformation
                                      07&!7ÿis8ÿnot
                                                        7ÿtruthful
                                                             &$60$
 0890ÿ0for
       07&ÿ" 7$(ÿ69(ÿ8ÿ
            you,             
                  then, is it?
 09@0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.AB4ÿCB7DEFDG0ÿF
                           PARTINGTON:        %H9ÿto
                                            Object   7ÿthe    7&!4
                                                          69ÿ0form.
 1I0ÿ0BY
 10    PQÿAB 4ÿR5SFDG
           MR.  LAWHON:
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11              340ÿ0Q7$ÿ ÿanswer.
                       You can    839&4
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12              40ÿ07ÿ!9 (ÿmust
                       I mean,   !$8ÿhave
                                       6T9ÿ%been
                                               99ÿaÿtypo.
                                                        "574ÿÿI7
 1'0ÿ0don't
 13    #7 ÿ)734
              know.0ÿI 7ÿ#7 ÿ)know.
                         don't    7340ÿ  68ÿis8ÿsomething
                                          This      87!96Uÿthat
                                                                  6
 110ÿ0obviously
 14    7%T7$8"ÿ38ÿ#79ÿ
                    was done  6&7$U6ÿDavid
                              through    VT#ÿPBryant
                                                 &"ÿthat
                                                          6
 140ÿ0checked
 15    69)9#ÿ#ÿ6959#ÿ   $8ÿthrough
                 and helped us      6&7$U6ÿthis.
                                              6840ÿ7 0ÿ3we9ÿ!missed
                                                     If        889#
 16    87!96Uÿ6ÿ39ÿ!
 160ÿ0something              889#(ÿaÿtypo,
                    that we missed,                 8ÿaÿtypo.
                                           "57(ÿit's     "574
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17              340ÿ027ÿ0&
                       So farÿ"  7$ T9ÿtestified
                                you've    9809#ÿthat
                                                      6ÿ"you've
                                                             7$ T9
 190ÿ0read
 18    &9#ÿ68ÿ55
             this application7ÿtwice;
                                    39Wÿ7once
                                             9ÿwhen
                                                 369ÿitÿ3was
                                                             8
 1@0ÿ0prepared
 19    5&95&9#ÿ#ÿ"7$ÿ8   U9#ÿitÿ7onÿAugust
                  and you signed              $U$8ÿ23rd
                                                     '&#ÿ7of0ÿ2016,
                                                                 I16(
 I0ÿ0and
 20    #ÿthen
             69ÿ&U6ÿ%907  &9ÿit
                  right before    ÿ3was
                                       8ÿ8submitted
                                             $%!9#ÿto7ÿDBPR.
                                                            VPCB4
 10ÿ0And
 21          7$ÿ7#ÿ!9ÿ9&
       #ÿ"you              9&ÿthat
                 told me earlier      6ÿ"you
                                             7$ÿread
                                                &9#ÿitÿthoroughly
                                                            67&7$U6"
 0ÿ0and
 22    #ÿcarefully.
             &90$"40ÿDid
                          V#ÿ"you
                                 7$ÿ!miss
                                      88ÿthat?
                                           6
 '0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23              40ÿ07ÿ!$8
                       I mustÿ6  T9ÿbecause
                                have  %9$89ÿ7I'm!ÿ$used
                                                      89#ÿto7ÿusing
                                                                $8U
 10ÿ0that
 24    6ÿ989ÿ$!%9&
             license numberÿ3    69ÿ3we9ÿdo
                                when      #7ÿpaperwork
                                              559&37&)ÿ9every
                                                            T9&"ÿ#day
                                                                   "
 40ÿ0in
 25    ÿ69ÿ7!5"4
           the company.0ÿAnd
                           #ÿ3when
                                  69ÿ7Iÿfill
                                          0ÿsomething
                                                87!96Uÿ7out,$(ÿ7I
                                                            ÿeffghi
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   jklmnopqrlsmqtjuqv
                                                            EsquireSolutions.com
                                                                               Qx9&10
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
       PETER J. VICARI                                           October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           yq     124

 010ÿ0
   1   345367ÿ89ÿÿ1
       always put the 1670ÿ4   7ÿnumber
                              license     9 !ÿ"onÿit.#0ÿBecause
                                                              $397
 0%0ÿ0
   2   3&7ÿÿ47ÿ
       that's the license    3ÿ5weÿ3always
                            that         45367ÿ9use
                                                  7ÿ3and'ÿ5weÿ'don't
                                                                   "&
 0(30ÿ097ÿÿ6#
       use mine yet.0ÿ)"ÿ0
                       So Iÿ  31ÿif2ÿitÿ5was
                              mean,             37ÿ3anÿ"oversight
                                                          3!74ÿ"or!
 050ÿ0
   4   3ÿ8!"  41ÿÿ5ÿ
       a problem,  then we  3'ÿ3aÿ4license,
                            had       71ÿtheÿcompany.
                                                       "836#
 0560ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                7#0ÿ0My
                     86ÿ9' !73'4ÿ"of2ÿthe
                         understanding           ÿ11670
                                                       ÿ4license
                                                              7
       that 6"9!ÿ'3'ÿ7ÿ
 060ÿ03ÿyour dad is that3ÿitÿ5was
                                      37ÿissued
                                            779'ÿ3aÿ4long,
                                                         "41ÿ4long
                                                                 "4
 00ÿ0
   7   ÿ
       time 34"1ÿ49ÿ   39ÿinÿthe
            ago, like back          ÿ@80's.
                                         &7#0ÿ0Is7ÿthat
                                                       3ÿ6your
                                                              "9!
 08@0ÿ09'!73'4A
       understanding?
 09B0ÿ0ÿ0ÿ0ÿ0ÿ0C#0ÿ0
                A.   86ÿ9'
                     My     !73'41ÿit's
                         understanding,        &7ÿmy6ÿ4grandpa's
                                                          !3'83&7
 1
 100ÿ04 7ÿ9
       license      !ÿ3
                number  thatÿ 6ÿ'dad
                              my    3'ÿ5was
                                         37ÿ3able
                                                4ÿto"ÿtake
                                                          39ÿ"over.
                                                                 3!#
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11             7#0ÿ0)"ÿ&
                     So it's7ÿ!really,
                                 34461ÿreally
                                          !3446ÿ"old?4'A
 1%
 120ÿ0ÿ0ÿ0ÿ0ÿ0C#0ÿ0
                A.   D7#
                     Yes.
 1(
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.7#0ÿ0Okay.
                     E936#
 15
 140ÿ0ÿ0ÿ0ÿ0ÿ0C#0ÿ0
                A.   1ÿF
                     1600 --Fÿif2ÿ0I'm
                                     &ÿ4getting
                                          4ÿitÿright,
                                                         !41ÿhe
 16
 150ÿ0537ÿ ÿ1ÿ8!7
       was the              "ÿ4getting
                1600th person     4ÿ3aÿ4license
                                                7ÿin
 1
 160ÿ0G"9733#
       Louisiana.
 170ÿ0ÿ0ÿ0ÿ0ÿ07#0ÿ0
 1             Q-   C'ÿ0ÿ
                     And I  9ÿ6you
                            think     "9ÿtold
                                            "4'ÿmeÿthat
                                                       3ÿ6you
                                                              "9ÿ4got
                                                                    "
 1@
 180ÿ06"9!ÿ
       your 47ÿÿG"9  733ÿissued
             license in Louisiana      779'ÿinÿ'06?
                                                    &A
 1B
 190ÿ0ÿ0ÿ0ÿ0ÿ0C#0ÿ0H"!!
                A.          #
                     Correct.
 %0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20             7#0ÿ0E936#
                     Okay.0ÿSo)"ÿ5where
                                    !ÿ5would
                                            "94'ÿthe
                                                    
 %10ÿ0I"3
 21           !ÿ16ÿ"2ÿ%
       November             1%ÿdate
                 15th of 2012            33ÿcome
                                 '3ÿhave    "ÿ2from?
                                                       !"A
 %%0ÿ0ÿ0ÿ0ÿ0ÿ0C#0ÿ0
 22             A.   D"9ÿ5"
                     You    94'ÿhave
                          would     33ÿto"ÿ3ask
                                               79ÿmy6ÿmom.
                                                         "#0ÿPThey
                                                                 6
 %(0ÿ097ÿ
 23    must 33ÿ34'ÿ  ÿname
             have changed the     3ÿ"of2ÿ3aÿcompany.
                                                "836#0ÿI0ÿhave33ÿno"
 %50ÿ0'3#
 24    idea.
 %60ÿ0ÿ0ÿ0ÿ0ÿ07#0ÿ0
 25             Q-   Q'ÿ6" 9!ÿmom
                     Did your     "ÿtype
                                       68ÿinÿthe
                                                  ÿ'date?
                                                         3A
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Dr!12
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
       PETER J. VICARI                                           October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           yq     125

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1            340ÿ05ÿ67ÿ8
                A.           9840ÿI5ÿdon't
                      I am guessing.         ÿÿI5ÿdon't
                                                              
 020ÿ0know.
        !4
 03"0ÿ0ÿ0ÿ0ÿ0ÿ0Q-
                #40ÿ0$7%  &ÿ!wrote
                      Somebody    'ÿin,
                                          (ÿ9under
                                                'ÿthe
                                                        )ÿtype
                                                              &0ÿof1
 0240ÿ034 (ÿ5477'46
       license,  "commercial3ÿ8general
                                '63ÿ4contractor."
                                           '64'450ÿYou   69ÿsee
                                                                    
 07
  50ÿ0)6ÿ
       that !'88
             writing?
  60ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 09             A.    @8)4
                      Right.
 0A70ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0
                Q-    5ÿ)6ÿ&your
                      Is that   9'ÿ)handwriting
                                        6!'8ÿor'ÿ&your
                                                            9'
 0B
  80ÿ0778
       mom's?
 0C
  90ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    5ÿ3
                      It looksÿ3like
                                   ÿ7my&ÿ7mom's.
                                             74
 1D
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.#40ÿ0E9ÿ& 9ÿdon't
                      But you   ÿknow!ÿ!why
                                                )&ÿitÿsays
                                                          6&ÿ11670
                                                                 9AD
 11
 110ÿ06ÿ&  9ÿÿ
       and you          !ÿ!why
                don't know    )&ÿ&you
                                   9ÿdidn't
                                         ÿ4catch
                                                   64)ÿit?
                                                           8
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    F40ÿ
                      No. G ÿHjust
                           We   9ÿ9useÿthat
                                             )6ÿnumber
                                                     97%'ÿ1for
                                                              '
 1"
 130ÿ0I'&)8ÿ!ÿÿ
       everything we do onÿ6  aÿ 63&ÿ%basis.
                                 daily    64
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             #40ÿ0If
                      51ÿ&9
                         youÿ 9'ÿthe
                              turn    )ÿ0page,
                                            68(ÿI5ÿ!want
                                                       6ÿtoÿtalk
                                                                  63
 170ÿ0you
 15    &9ÿ6about
             %9ÿ06'ÿEÿ1
                   part B ofÿyour
                              &9'ÿ6application,
                                      0034640ÿAnd  3ÿ5Iÿknow
                                                                  !
 19
 160ÿ0ÿ)  ÿÿÿ78)
       on this  one it mightÿ%beÿ6aÿ3little
                                        3ÿ)hard
                                                  6'ÿtoÿread,
                                                           '6(ÿsoÿI5
 1A
 170ÿ0)6Iÿ
       have 8Iÿ&9ÿPQ)  %ÿFNumber
             given you Exhibit     97%'ÿ"302,
                                             D(ÿ!which
                                                     )4)ÿisÿthe
                                                                 )
 1B
 180ÿ01'
       firstÿI'ÿ1ÿ)
              version of theÿ6application
                                00346ÿthat  )6ÿ&you
                                                        9ÿsaid
                                                            6ÿ&you
                                                                    9
 1C
 190ÿ0signed.
       840ÿ3ÿ5ÿ)
                 And I thinkÿ  ÿ6aÿ3little
                               it's       3ÿ7more'ÿ3legible
                                                           8%3
 D0ÿ0)'
 20    there.40ÿ3ÿ633ÿ5ÿ! 6ÿtoÿ6ask
                And all I want           ÿ&you
                                             9ÿis,
                                                   (ÿ9under
                                                        'ÿ0part
                                                                 6'ÿEB,(
 1    thereÿÿ6ÿÿ)6
 210ÿ0)'   is a note thatÿsays
                                6&ÿthe)ÿ4certified
                                             '1ÿ8general
                                                           '63
 
 220ÿ04'  64'ÿ34ÿ
       contractor   license 7 9ÿ)have
                             must    6Iÿexperience
                                           Q0'4ÿinÿ1four9'ÿor'
 "
 230ÿ07'ÿ
       more 1ÿ)ÿQ0'  ÿof1ÿits
             of the expertise         ÿ--ÿof1ÿthe
                                                     )ÿexperience
                                                          Q0'4
 2
 240ÿ06'6ÿ3ÿ%3!ÿ
       areas listed below 6   ÿ7must
                             and   9ÿ0provide
                                          'Iÿ6atÿ3least
                                                          6ÿone
                                                                  
 7
 250ÿ0&6'ÿ1ÿQ0'4ÿ
       year of experience    ÿthe
                             in   )ÿ4construction
                                        '94ÿof1
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               6r'11
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      VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                126

 010ÿ0
  1    3456746583ÿ94ÿ8934
       structures at leastÿ   65ÿ3stories
                              four    4583ÿinÿheight,
                                                      840ÿ    ÿI
                                                                 Did
 0!0ÿ0
   2   589ÿ494ÿ54"
       read that right?
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            $0ÿ0%5587
                A.          4
                      Correct.
 0&0ÿ0ÿ0ÿ0ÿ
   4        0ÿ0Q.
                '0ÿ0$ÿ5 40ÿ(
                      All right.      6ÿ3saw
                                    You     9)ÿ4that
                                                   94ÿ0before
                                                         858ÿ1you6
 0520ÿ0completed
       734848ÿ48ÿ944  794ÿ9and
                   the application     ÿ0before
                                              858ÿ1you
                                                       6ÿ3signed
                                                              8ÿit,
                                                                       45
       54"
 0660ÿ0right?
 070ÿ0ÿ0ÿ0ÿ0ÿ0
   7            $0ÿ0
                A.    84
                      Right.
 0890ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                '0ÿ0Okay.
                      @A910ÿ$And
                               ÿ9as3ÿ)we8ÿgoÿ4through
                                                   56ÿ4this
                                                              3
 09B0ÿ09447945ÿIÿ4
       application,         Aÿ1you
                        think   6ÿidentified
                                      848ÿ3some 38ÿofÿ4the
                                                                 8
 1C
 100ÿ045D8 743ÿ16ÿ088E
       projects  you believe8ÿ)were
                                858ÿfour
                                       65ÿ3stories
                                                4583ÿinÿheight.
                                                               84
 11    Let'sÿ49Aÿ9064ÿ4
 110ÿ0F84G3                 380ÿHWell,
              talk about those.       85ÿI'm  G3ÿ4probably
                                                     50901ÿgoing
                                                                 
 1!
 120ÿ04ÿ49 Aÿ16ÿ9064ÿ3
       to talk              34ÿofÿ4the
                you about most         8ÿ4projects
                                              5D8743ÿso 3ÿI
 130ÿ0685349ÿ)7ÿ
 1#    understand which ones83ÿ9apply
                                 441ÿ9and ÿ)which
                                                 7ÿdon't.
                                                         G4
 1&
 140ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿIÿ48
                      So theÿ 534ÿone
                              first    8ÿlisted
                                              348ÿ9as3ÿ$Archbishop
                                                            57034
 12
 150ÿ0I9)ÿ
       Shaw PÿI7
            High School.0ÿQ  64ÿifÿ1you
                            But        6ÿ4turn
                                              65ÿ4the
                                                     8ÿ4page
                                                           98ÿit4
 16    39135ÿR%345674ÿ8
 160ÿ0says,   "Construct new)ÿ4two-story
                                )S3451ÿschool          6R
                                              37ÿ0building."
 17
 170ÿ0ÿ1 6ÿ388ÿ494"
       Do you  see that?
 19
 180ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0
                A.    %55874
                      Correct.
 1B
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.'0ÿ0You're
                      (6G58ÿnot
                               4ÿgoing
                                    ÿ4toÿ4tell8ÿ3me8ÿ4that's
                                                              94G3ÿ9an
 !C0ÿ08555
 20    errorÿ9ÿ494ÿ589  1ÿis3ÿ9aÿfour-story
              and that really            65S3451ÿstructure,
                                                       3456746585
 !10ÿ0958ÿ1
 21         6"
       are you?
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0$0ÿ0
 22             A.    T0ÿ
                      No. Q 879638ÿit4ÿsays
                           Because         3913ÿ5right
                                                    4ÿhere,
                                                            8585
 !#0ÿ0construction
 23    7345674ÿ65ÿ3  4583ÿor5ÿhigher
                      four stories          85ÿ9andÿ)we8ÿsaid
                                                               39ÿno.
                                                                       
 !&0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24             '0ÿ0U94G3
                      That'sÿ4 8ÿ4previous
                              the   58E63ÿ4page  98ÿ&4ÿofÿ24,
                                                               !&5ÿit4
 !20ÿ0says
 25    3913ÿ5ÿA91
            no, okay.0ÿIÿ
                         So IÿD 634ÿ)want
                               just    94ÿ4toÿ3make
                                                    9A8ÿ3sure
                                                           658ÿ4that's
                                                                 94G3
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                     DEPOSITION SOLUTIONS                    h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 (u851
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      VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.          u      127

  010ÿ0
   1   345ÿ436ÿ5785ÿ94ÿ4  ÿconsider
       not one that you would    436ÿ5to4ÿqualify
                                                   89ÿ9you
                                                             4ÿfor
                                                                   4
  020ÿ094ÿ636!
       your license?
  0"0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            #$0ÿ0%4$
                A.   No.
  0&0ÿ0ÿ0ÿ0ÿ
   4        0ÿ0Q.
                '$0ÿ0(76ÿ36 )5ÿ4one
                     The next    36ÿisÿ5the
                                           76ÿ0Midship
                                                 71ÿ0Marine
                                                           836
 0520ÿ014365ÿ83ÿ65ÿ46ÿ
       project  and let me 4 856ÿsome
                            make     446ÿ3notes.
                                           456$
                     7589$0ÿ8So4ÿ5the
 0660ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿOkay.          76ÿinformation
                                         3448543ÿ5that's
                                                        7859ÿin3
 0@0ÿ0
   7   576ÿ071ÿ0836ÿ
       the Midship          6543Aÿdid
                    Marine section,       ÿ9you
                                               4ÿreview
                                                   6B6ÿ5this
                                                             7
 08C0ÿ0D646ÿ94ÿE36ÿ5
       before               76ÿ8application?
               you signed the    118543!
 09F0ÿ0ÿ0ÿ0ÿ0ÿ0#$0ÿ0
                A.   G6$
                     Yes.
 1H
  100ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                '$0ÿ0Okay.
                     7589$0ÿIIsÿit5ÿ5truthful?
                                        57!
  110ÿ0ÿ0ÿ0ÿ0ÿ0#$0ÿ0
 11             A.   G6$
                     Yes.
 1120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                '$0ÿ0You
                     G4ÿ 6359ÿ9yourself
                          identify      46ÿ8asÿ8aÿforeman
                                                          46483ÿ4on3
 1"
  130ÿ05785ÿ
       that 14365ÿ44ÿP  664D6ÿ4ofÿ9'04
            project from December           H&ÿ5to4ÿ#August
                                                      E5ÿ4ofÿ9'05.
                                                                   H2$
 1&
  140ÿ084ÿ4ÿ46Aÿ57859ÿ8
       So for               D45ÿ6eight
               me, that's about      E75ÿ4months,
                                            4357$0ÿ8Sound
                                                        43ÿ8about
                                                                D45
 12
  150ÿ0right?
       E75!
 16
  160ÿ0ÿ0ÿ0ÿ0ÿ0#$0ÿ0
                A.   G6$
                     Yes.
 1@
  170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                '$0ÿ0#ÿ E75$0ÿ(Tell
                     All right.       6ÿ4me6ÿwhat
                                                 785ÿ9you
                                                       4ÿdid
                                                            ÿ8as
 1C
  180ÿ0576ÿ46483ÿ4ÿ5785
       the foreman  of thatÿ1 4365$
                             project.
 1F
  190ÿ0ÿ0ÿ0ÿ0ÿ0#$0ÿ0
                A.   Iÿ45
                     I      6ÿ4out
                       worked    5ÿwith
                                        57ÿ5the
                                              76ÿsuperintendent
                                                   163563635
 20H0ÿ043E
       doingÿ6B69573Eÿ4
             everything out 5ÿ5there,
                                766AÿEgetting
                                          6553Eÿsite
                                                   56ÿwork,
                                                           45A
 2110ÿ04453EAÿ8DAÿ76  13Eÿwith
       footings, slabs, helping       57ÿ5the
                                            76ÿ6erection.
                                                  6543$ÿÿII
 220ÿ04683A
       mean,ÿ35ÿ761ÿ576
              just help theÿ 163563635ÿcoordinate
                             superintendent       443856
 23"0ÿ06B69573E$
       everything.
 24&0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                '$0ÿ0Q74ÿ8
                     Who are6ÿ5the
                                76ÿ6employees
                                      414966ÿfrom
                                                   44ÿRPVGC
                                                          STUÿ5that
                                                                785
 2520ÿ0456ÿ43ÿ5785ÿ143  65!
       worked on that project?


     @ESQUIRE                                               800.211.DEPO
                                                              ÿ(3376)
                                                                             ddefg
                     DEPOSITION SOLUTIONS                    h ijklmnopjqkorhscom
                                                             EsquireSolutions.   ot
                                                                                 GS61
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      QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                            October 16, 2018
      QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            x     128

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056ÿ788
                A.           940ÿ
                      My goodness.        ÿ8only
                                        The    6ÿ8one
                                                     ÿIÿremember,
                                                            
 0!0ÿ0
  2    ÿ"#$ÿ%&ÿ"ÿ'(
       I                     #"9"ÿ&at"ÿ"the
         think was the superintendent              ÿ"time
                                                        #ÿwas
                                                             %&ÿ&a
 0)
  30ÿ07'6ÿ&9ÿ5#$ÿ"&"
       guy named Mike thatÿworked
                              %8$9ÿ0for 8ÿ'us,
                                                ÿbut
                                                    '"ÿIÿ9don't
                                                            81"
 0420ÿ0remember
       ÿ&6896ÿ
                 anybody elseÿ"that
                                   &"ÿ%would
                                          8'9ÿwork
                                                %8$ÿ%with
                                                        #"ÿ'us
 0530ÿ0there,
       " ÿ4&'ÿÿ%
               because he was&ÿthe
                                 "ÿ8one
                                        ÿ#inÿ4charge.
                                                  &74
 0650ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                640ÿ0What
                      7&"ÿ% &ÿ5Mike's
                            was    #$1ÿlast
                                           &"ÿname?
                                                  &8
 0790ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0Iÿ"#
                        think$ÿ#it"ÿwas
                                    %&ÿ@Bilbo,
                                           #8 ÿ@B-I-L-B-O.
                                                    AABA@AC4
 08D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                640ÿ0Do
                      E8ÿ68'
                          youÿ ÿ&any
                               remember     6ÿ8of0ÿthe
                                                    "ÿ(primary
                                                          #&6
       "&9ÿ68'ÿ%8$9ÿ%
 09F0ÿ0trades                #"ÿ8out
               you worked with      '"ÿ"there?
                                          8
 1G0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10             340ÿ0It
                      "ÿ%&
                          wasÿ& ÿ8of0ÿ"them,
                               all         ÿyour
                                                68'ÿsite
                                                      #"ÿ%work
                                                              8$
 11    7'6 ÿ68'ÿ484"
 110ÿ0guys,   your concreteÿ7   '6 ÿmetal
                               guys,   "&ÿbuilding
                                               '#9#7ÿerectors.
                                                            4"84
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             640ÿ0Are
                      3ÿ" 8ÿ"the
                           those    ÿsame
                                          &ÿsubs
                                               'ÿ"that
                                                      &"ÿ6you
                                                             8'ÿ'use
                                                                  
 1)0ÿ0today?
 13    "89&68
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             340ÿ0No.
                      H840ÿIÿ9don't
                                81"ÿeven
                                        Iÿremember
                                             ÿ%who8ÿ"that
                                                                &"
 130ÿ0was
 15    %&ÿback
             &4$ÿ"4
                 then.
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             640ÿ0Do   you 
                      E8ÿ68'ÿ   ÿ"the
                               remember     ÿnames
                                                  &ÿof
                                                        80ÿany
                                                            &6ÿ8of0
 190ÿ0the
 17    "ÿ(primary
             #&6ÿ'ÿ8
                     subs onÿthat
                              "&"ÿjob?
                                     P88
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             340ÿ0H84
                      No.
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             640ÿ0"ÿ&6
                      It saysÿ"that
                                 &"ÿ#isÿa&ÿ970-foot
                                               GA088"ÿ"tall
                                                         &
 !G0ÿ0structural
 20    "'4"'&ÿ"ÿ'   #9#7ÿ%with
                    steel building      #"ÿstructural
                                             "'4"'&ÿ4concrete
                                                             84"
 21    &40ÿC"
 !10ÿ0slab.        ÿ"&ÿA
               Other  than Aÿwell,
                                % ÿstrike
                                          "#$ÿ"that.
                                                   &"4
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿIs
 22                   ÿ"
                          theÿ4 84"ÿslab
                               concrete    &ÿ"the
                                                   ÿ0first
                                                        #"ÿ0floor?
                                                                888
 !)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23             340ÿ0It's
                      "1ÿ"the
                             ÿ7ground
                                   8'9ÿAAÿground
                                               78'9ÿlevel.
                                                         I4
 !20ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24             640ÿ0Is
                      ÿ" ÿ&any
                          there    6ÿ8other
                                        "ÿconcrete
                                               484"ÿ"that
                                                            &"ÿ%was
                                                                  &
 !30ÿ0poured
 25    (8'9ÿ8ÿ"&"ÿP88
               on that job?


                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               pq10
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      cdedfÿhiÿpqrsfq                                    wÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      cdedÿpqrsfqÿtdudfsvÿrwuefsrewfÿxyÿwqwÿrssveÿqui
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           |      129

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ05678ÿ9
               A.           6ÿmain
                     Just your     ÿ7slab,
                                         ÿbuilding
                                                6 ÿslab.
                                                             74
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0
  2            "40ÿ0#$ÿ
               Q.           9ÿ%floors
                     How many     7ÿare
                                           &ÿin
                                               ÿ8that
                                                    '8ÿbuilding?
                                                           6 (
 03)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
               340ÿ0One.
                     0&4
 0410ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
                     234ÿ43 5#0670ÿ8
                         LAWHON:       &ÿ$with
                                      Bear    8'ÿme,
                                                    &ÿI9ÿgot8ÿaÿlot
                                                                   8
 05@0ÿ0of
       %ÿA ÿB874
          moving  parts.0ÿ) CD4
                          308.
 0E
  60ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMADAME
                     23F32GÿHCOURT
                               0I3Pÿ3REPORTER:
                                       GQ03PG370ÿR    &7ÿ7sir.
                                                    Yes,     4
 0S0ÿ0
   7   8Rÿ23
       BY   4ÿ435#067
          MR. LAWHON:
 0D0ÿ0ÿ0ÿ0ÿ0ÿ0
  8            "40ÿ09Tÿ
               Q.           ÿ8toÿ7show
                     I'm going         '$ÿyou
                                            96ÿ$what
                                                   '8ÿ$we&ÿmarked
                                                              U&
 0V0ÿ0
  9    7ÿGW
       as   '8ÿ66&ÿ)
          Exhibit           CDÿthis
                   Number 308,    8'7ÿis7ÿactually
                                              X869ÿaÿXcomposite
                                                             B78&
 1C0ÿ0of
 10    %ÿÿ
          a %&$ÿ8'  740ÿAnd
            few things.    3ÿ$we&ÿ$will
                                      ÿend
                                           &ÿ6upBÿXcoming
                                                       ÿback
                                                              XUÿ8to
 110ÿ0that
 11         %ÿ8&ÿ8ÿ8
       8'8ÿfrom            &4
                  time to time.
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿGet
 12                  Y&8ÿÿ
                         a X 'X&ÿ8toÿlook
                            chance         Uÿ``ÿjust
                                                    a678ÿthe
                                                           8'&ÿ%first
                                                                  78
 1)0ÿ0page.
 13    B &40ÿP'&ÿ8'&7ÿ
              The others are&ÿdifferent
                                  %%&&8ÿones,
                                               &7ÿso7ÿ$we&ÿ$will
                                                                
 110ÿ0take
 14    8U&ÿ8'&ÿ&ÿ8ÿÿ
            them one at a 8  &4
                            time.
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿDid
 15                  Fÿ9
                         you6ÿget
                                &8ÿaÿchance
                                       X'X&ÿ8toÿlook
                                                      Uÿat8ÿ8the
                                                                 '&
 16    %78ÿB
 1E0ÿ0first     &(
             page?
 1S0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17            340ÿ0Yes.
                     R&74
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18            "40ÿ0Do
                     Fÿ96
                        youÿ  &X b&ÿ8that?
                              recognize     '8(
 1V0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19            340ÿ0No.
                     640ÿI9ÿdidn't
                               T8ÿBprepare
                                        &B&ÿthis.
                                                 8'74
 !C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20                  Fÿ96
               "40ÿ0Do  youÿ  &X b&ÿ8the
                              recognize     '&ÿform
                                                %ÿas7ÿbeing
                                                             & ÿa
 21    89BXÿ6
 !10ÿ0typical  buildingÿB  BX8ÿbuilding
                         application,       6 ÿBpermit
                                                        &8
 !!0ÿ0application
 22    BBX8ÿ%ÿ8'  8ÿ9you
                    form that     6ÿ6use
                                       7&ÿout
                                            68ÿin
                                                ÿ5Jefferson
                                                      &%%&7
 !)0ÿ0Parish?
 23    Q7'(
 !10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24            340ÿ0Looks
                     4U7ÿ8toÿbe.
                                  &40ÿP '&9ÿmay
                                       They    9ÿ'have
                                                    A&ÿaltered
                                                           8&&
 !@0ÿ0since
 25    7X&ÿ8'&4
             then.0ÿI9ÿT
                       don't8ÿremember.
                               &&&4
                                                            ddefghÿjkklmn
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fopqrstuvwqxrvyozv{
                                                            EsquireSolutions.com
                                                                               R}&1%
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      defegÿipÿqrstgr                                    x ÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           }     130

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0567689
                Q.         ÿspeaking,
                     Generally    697ÿthat's
                                                9 ÿ8roughly
                                                          !"ÿ#--#
 0$0ÿ0ÿ0ÿ0ÿ0ÿ0
   2            %40ÿ0&!!ÿ
                A.   Looks 7'ÿ!of(ÿlike
                           kind         6ÿ)what
                                               9ÿitÿ)was
                                                          9ÿ0back
                                                               91
 0320ÿ0)67ÿ3ÿ"6'ÿ!ÿ"
       when I used to pullÿsome.
                            !464
 050ÿ0ÿ0ÿ0ÿ
   4        0ÿ0Q.
                340ÿ0%7'ÿ##
                     And   ÿ9and
                              7'ÿso!ÿthat
                                        9ÿ)was
                                               9ÿ4myÿ7next
                                                         66
       question.0ÿ9'ÿ!"ÿ
 0570ÿ08"6!74   Did you 9@6ÿ6experience
                           have     6686716ÿ9applying
                                                  7ÿ(for !8
 06A0ÿ091"9ÿ(7ÿ!"
       actually            ÿthe
                 filling out   6ÿ9applications
                                     19!7ÿ(for  !8ÿ0building
                                                            "'7
 0B0ÿ0
   7   684ÿ091ÿ7ÿ$CC
       permits             Aÿ9and
                back in 2006   7'ÿsome
                                    !46ÿyears
                                            698ÿ9after
                                                    (68ÿthat?
                                                            9D
 08E0ÿ0ÿ0ÿ0ÿ0ÿ0%40ÿ0
                A.   3ÿ9@6
                     I haveÿ' !76ÿsome.
                             done   !4640ÿI3ÿ'don't
                                                 !7 ÿknow
                                                          7!)ÿhow
                                                                !)
 09F0ÿ0497ÿ
       many 97'ÿ)67ÿ0"ÿ
             and when, but 3  @6ÿ'done
                           I've     !76ÿsome.
                                         !464
 1C
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0G!ÿÿlists
                     So, this    ÿthe
                                         6ÿHMidship
                                               'ÿHMarine
                                                          9876
 11
 110ÿ08!I6 1ÿ97'ÿ
       project         ÿ!
                and it's   ÿ9an7ÿ9address
                         got        ''86ÿ!of(ÿ11029
                                                  C$FÿI3
 1$
 120ÿ0P!097Q1RD
       Estoban[sic]?
 12
 130ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿSTPÿU3  SVPGGWÿ9Destrehan.
                     THE WITNESS:     686974
 15
 140ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿHX4ÿY%  XS3V5S`VW0ÿ9Destrehan.
                     MR. PARTINGTON:        686974
 17
 150ÿ0abÿHX4ÿ&%UT`VW
       BY MR. LAWHON:
 1A
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0968697ÿ#--#ÿthank
                     Destrehan        97ÿyou          @67"640ÿGSo!
                                               !"ÿ#--#ÿ%Avenue.
 1B
 170ÿ0ÿ 9ÿ6ÿ8ÿ9
       is that             ''86ÿ(for
                the right address     !8ÿthe
                                            6ÿHMidship
                                                 'ÿHMarine?
                                                            9876D
 1E
 180ÿ0ÿ0ÿ0ÿ0ÿ0%40ÿ03ÿ"6
                A.         4
                     I guess.
 1F
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0b!"ÿ9@67 ÿ0been
                     You haven't     667ÿ0byÿthere
                                                686ÿin7ÿ9awhile?
                                                            )6D
 $C0ÿ0ÿ0ÿ0ÿ0ÿ0%40ÿ03ÿ4697
 20             A.         ÿ)we6ÿpass
                     I mean,        9ÿitÿ9all
                                               ÿthe
                                                    6ÿtime,
                                                          46ÿ0but
                                                                 "ÿ3I
 $10ÿ0'!7
 21        ÿ!!ÿ9ÿ6ÿ9
       don't               ''864
              look at the address.
 $$0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             340ÿ0%ÿ840ÿSThe
                     All right.      6ÿ#--#ÿ9and
                                               7'ÿthe
                                                    6ÿ9architect,
                                                          8161
 $20ÿ0ÿ
 23         9ÿc9"'9ÿG6
       is that             497D
                Claudia Seligman?
 $50ÿ0ÿ0ÿ0ÿ0ÿ0%40ÿ0b69ÿ
 24             A.   Yeah, 3
                           Iÿ "64
                              guess.
 $70ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             340ÿ09!ÿ!"
                     Do youÿ8 619ÿ)working
                             recall     !87ÿ)with
                                                  ÿcClaudia
                                                          9"'9ÿ!on7
                                                            800.211.DEPO
                                                              deefghiÿk(3376)
                                                                             llmno
                     DEPOSITION SOLUTIONS                    gp qrstuvwxryswzp{com
                                                             EsquireSolutions.   w|
                                                                                 b~681(
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
       PETER J. VICARI                                           October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           s     131

 010ÿ0
  1    3456ÿ7893
       this project?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0ÿ9
                A.    I don't3ÿ8remember.
                                 !!"8
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             $0ÿ0%4ÿ9
                Q.           38&398ÿ5is6ÿ'listed
                      The contractor           563ÿ&as6ÿ(Pete
                                                             3
 0)0ÿ0
   4   05&85ÿ1ÿ2933ÿ24
       Vicari                5464%3ÿ&and
               Gen Cont, C-O-N-T,       ÿ5it's
                                              3 6ÿ7got
                                                    93ÿ3the
                                                          4ÿ11900
                                                               899
 05@0ÿ0A6384&ÿBCÿ&
       Destrehan             8660ÿ%That
                   Avenue address.       4&3ÿDwas&6ÿ3the
                                                      4ÿ&address
                                                            866ÿEfor
                                                                     98
 0F
  60ÿ034ÿ 9!7&Gÿ&3ÿ34ÿ
       the company   at the 3 5!3ÿright?
                             time,    85743
 0H70ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    I60ÿIt3ÿ6still
                      Yes.         35''ÿ5is.
                                           6
 0P
  80ÿ0ÿ0ÿ0ÿ0ÿ0Q.$0ÿ0%4ÿ'5 6ÿnumber
                      The license      C!"8ÿ3to9ÿ3the
                                                    4ÿright,
                                                         857433ÿ8right
                                                                   5743
 08
  90ÿ0C8
       underÿ34ÿ44ÿ98ÿ857
              the -- or right43ÿnext
                                   Q3ÿ3to9ÿ3the
                                              4ÿ&address
                                                   866ÿ9ofEÿ11670,
                                                                  FH93
 19
 100ÿ034&3  6ÿ34ÿ6&!ÿ&
       that's                866ÿ3that
               the same address       4&3ÿDweÿjust
                                                 C63ÿDwent
                                                       3ÿ9over,
                                                              B83
 11    85743
 110ÿ0right?
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.0ÿ0I6
                      Yes.
 1#
 130ÿ0ÿ0ÿ0ÿ0ÿ0$Q- 0ÿ0ÿD4
                      And who9ÿDwould
                                 9C'ÿ4have
                                         &Bÿ"been
                                                 ÿ8responsible
                                                       67965"'
 1)
 140ÿ0E98ÿ6 C"!53357ÿ3456
       for submitting   thisÿ&  77'5&359ÿ"back
                               application       &Rÿ5inÿ2006
                                                          99FÿEfor
                                                                  98
 1@
 150ÿ034&3ÿ
       that 7893
            project?
 1F             A.    I haveÿ
 160ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0ÿ4&B       9ÿ5idea.
                               no   &
 1H
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.$0ÿ0I9C8ÿ4
                      Your --4ÿ5is6ÿ3there
                                      48ÿ&any
                                              GÿSquestion
                                                   C6359ÿ5inÿGyour
                                                                   9C8
 1P
 180ÿ0!5ÿ
       mind D4348ÿ98ÿ93
            whether or notÿ(    012ÿsubmitted
                               PVGC   6C"!533ÿ3the4ÿ"building
                                                          C5'57
 18
 190ÿ0&77'5 &359ÿ78!53ÿ
       application   permit E 98ÿ3the
                             for    4ÿ"building
                                         C5'57ÿ&application
                                                      77'5&359ÿEfor98
 90ÿ034ÿ7
 20         8!53ÿE98ÿ34&3
       the permit   for thatÿ7  &835C'&8ÿ7project?
                               particular      893
 10ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0ÿ8&'
 21             A.          'Gÿdon't
                      I really     9 3ÿRknow
                                           9Dÿ"because
                                                  &C6ÿ3they
                                                             4Gÿ&are
                                                                   8
 0ÿ0799ÿ
 22    good E856ÿ9Eÿ9C8
            friends of ours 6ÿso69ÿIÿdon't
                                        9 3ÿRknow
                                                 9Dÿ5ifEÿ3they
                                                            4Gÿ3took
                                                                  99R
 #0ÿ0care
 23    &8ÿ9Eÿ53
            of it.0ÿ%4Gÿ!   &Gÿ4have
                      They may     &Bÿ"because
                                         &C6ÿ3they
                                                    4GÿDwere
                                                            8ÿjust
                                                                  C63
 24    '96ÿE856ÿ&ÿD
 )0ÿ0close   friends and weÿDworked
                                 98Rÿ3together
                                           97348ÿ9onÿ5it.3
 @0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             $0ÿ0%4ÿ44
                      The --ÿ3  48ÿ5is6ÿ&aÿ"box
                               there           9Qÿ3towards
                                                    9D&86ÿ3the4
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             de
                     DEPOSITION SOLUTIONS                    f ghijklmnhoimpfqcom
                                                             EsquireSolutions.   mr
                                                                                 I081E
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            v     132

 010ÿ0
   1   345546ÿ7898ÿ575ÿ
       bottom here that says, ÿ"square
                                    98ÿfeet
                                               885ÿper
                                                     89ÿfloor,"
                                                          449ÿand!
 0"0ÿ0
  2    #5ÿ4only
       it    ÿ#!8  5##8ÿ5the
                 identifies    78ÿfirst
                                    #95ÿfloor
                                            449ÿ#isÿat5ÿcost,
                                                           $45%0ÿ&Do4
 03'0ÿ04ÿ88ÿ575(
       you see that?
 0)0ÿ0ÿ0ÿ0ÿ
   4         0ÿ00%0ÿ0
                 A.   18%0ÿI2ÿsee
                      Yea.        88ÿ5that.
                                       75%
 0530ÿ0ÿ0ÿ0ÿ0ÿ0Q.4%0ÿ0&4ÿ55ÿ
                      Do     #isÿ5that
                                    75ÿ#information
                                           4965#4 ÿ$correct?
                                                          4998$5(
 0660ÿ0ÿ0ÿ0ÿ0ÿ00%0ÿ0
                 A.   2ÿ778
                      I  haveÿno 4ÿ#idea.
                                     !8%0ÿ2Iÿ! 4 85ÿ9know
                                               don't      4@ÿ@what
                                                               75
 0A0ÿ0
   7   575ÿ
       that 68   ÿ@748789
             means,  whoeverÿ!   #!ÿ5this.
                                did   7#%
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
   8             4%0ÿ00ÿ
                 Q.   As anÿ8  5#6549ÿ7how
                              estimator,     4@ÿ@would
                                                  4!ÿyou4
 0C0ÿ0
  9    5#$ÿ#!8   5#ÿ5the
       typically identify      78ÿ#information
                                      4965#4 ÿ5that
                                                   75ÿDgoes
                                                           48ÿ#in
 100ÿ0575ÿ
 1E    that 34F(
             box?
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ00%0ÿ0
                 A.   14ÿ
                      You    5ÿ5the
                           put    78ÿsquare
                                       98ÿfeet
                                                885ÿ5there.
                                                      7898%
 1"
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q. 4%0ÿ0G45ÿÿ
                      Not a   9#$8ÿper
                              price    89ÿsquare
                                           98ÿfeet
                                                     885ÿ4or9ÿeven
                                                               878 ÿa
 1'
 130ÿ09#$8
       price?(
 1)
 140ÿ0ÿ0ÿ0ÿ0ÿ00%0ÿ0
                 A.   G4%0ÿ
                      No. G  4%
                            No.
 13
 150ÿ0ÿ0ÿ0ÿ0ÿ04%0ÿ0
                 Q-   258ÿ! 8$9#38!ÿupÿ7here,
                      It's described           898ÿsays,
                                                     ÿ"1-STY
                                                               15HI1
 16    openÿ78!%
 160ÿ048    shed."0ÿ&4ÿ4
                      Do youÿsee
                               88ÿ5that?
                                      75(
 1A
 170ÿ0ÿ0ÿ0ÿ0ÿ00%0ÿ0P#D75%
                 A.   Right.
 1B
 180ÿ0ÿ0ÿ0ÿ0ÿ04%0ÿ0Q758
                 Q-   What'sÿ  anÿ4 8 ÿshed?
                                    open   78!(
 1C
 190ÿ0ÿ0ÿ0ÿ0ÿ00%0ÿ0258ÿ@
                 A.          748789ÿcalled
                      It's whoever     $8!ÿ#it5ÿ5that,
                                                     75ÿ2IÿDguess.
                                                                8%
 "E0ÿ0Just
 20    R5ÿ#58ÿÿ3#Dÿ6    $59# Dÿfacility.
             it's a big manufacturing        $##5%0ÿIThat's
                                                            758ÿ7how
                                                                     4@
 "10ÿ0I2ÿ544
 21          9ÿ#5ÿ%
          took  it as.
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22              4%0ÿ0H4ÿ@8
                      So, weÿ7   78ÿsome
                                have  468ÿpictures.
                                             #$598%0ÿSHere898ÿ#is
 "'0ÿ0TF7#3
 23    Exhibit   Number 309. ÿI
             #5ÿG6389ÿ'EC%0      7898ÿare
                                 There    98ÿfour
                                               49ÿpictures
                                                     #$598ÿ#in
 ")0ÿ0TF7#3#5ÿG6389ÿ'ECU
 24    Exhibit Number 309;ÿ#     ÿ5that
                                is   75ÿ$correct?
                                           4998$5(
 "30ÿ0ÿ0ÿ0ÿ0ÿ00%
 25              A.0ÿ0V4998$ 5%
                      Correct.


                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                             eefgh
                     DEPOSITION SOLUTIONS                    i jklmnopqkrlpsitcom
                                                             EsquireSolutions.   pu
                                                                                 1w891
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      abcbdÿfgÿhipqdi                                    u ÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      abcbÿhipqdiÿrbsbdqtÿpuscdqpcudÿvwÿuxiuÿpqyqtcÿisyg
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           zz     133

 010ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
   1                 345676 89ÿDefendant's
                     (Thereupon,      66ÿExhibit
                                                      !5"#"ÿ$No.
                                                                %
 0&0ÿ0ÿ0ÿ0ÿ0ÿ0
   2            '()ÿ0ÿ17
                309         26ÿfor
                    was marked     7ÿ"identification.)
                                         6""3"%4
 0'0ÿ0
   3   56ÿ78%ÿ9@ABC$D
       BY MR. LAWHON:
 0E0ÿ0ÿ0ÿ0ÿ
   4        0ÿ0Q.
                F%0ÿ0@GGÿ7" H5%0ÿDo
                     All right.      ÿIyou
                                          8ÿ7recognize
                                                63H"P6ÿ0what's
                                                            5
 0Q0ÿ0
   5   50ÿ"ÿ56ÿ95
       shown  in the photos?R
 0S0ÿ0ÿ0ÿ0ÿ0ÿ0
  6             @%0ÿ0
                A.   66%
                     Yes.
 0T0ÿ0ÿ0ÿ0ÿ0ÿ0
   7            F%0ÿ0Uÿ05
                Q.          ÿ"inÿthe
                     So what's          56ÿfirst
                                             "7ÿ9photo?
                                                     5R
 08V0ÿ0ÿ0ÿ0ÿ0ÿ0@%0ÿ0
                A.   W"387
                     Picture6ÿofÿaÿsign
                                        "Hÿofÿthe
                                                   56ÿ7road.
                                                        %
 09)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                F%0ÿ0X7ÿ05 R
                     For what?
 1(
 100ÿ0ÿ0ÿ0ÿ0ÿ0@%0ÿ0
                A.   7"5"
                     Midship9ÿ7Marine.
                                7"6%
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.F%0ÿ0Yÿ5
                     Is thatÿ0what
                                5ÿthe56ÿsign
                                           "HÿGlooks
                                                    2ÿGlike
                                                           "26
 1&
 120ÿ0IR
       today?
 1'
 130ÿ0ÿ0ÿ0ÿ0ÿ0@%0ÿ0
                A.   Yÿ5"
                     I      2ÿso.
                        think  %0ÿY Iÿ 5"2ÿ"itÿ"is.
                                         think        %0ÿIt
                                                           Yÿ5hasn't
                                                                
 1E
 140ÿ0changed
       35H6ÿ"ÿI67%
                in years.
 1Q
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.F%0ÿ0456ÿ``
                     The    ÿand
                               ÿthe
                                     56ÿnext
                                          6!ÿ9photograph,
                                                 5H795ÿ0what
                                                                5
 1S    does 5ÿ50R
 160ÿ06ÿ  that show?
 1T
 170ÿ0ÿ0ÿ0ÿ0ÿ0@%0ÿ0
                A.   W"387
                     Picture6ÿofÿthe
                                     56ÿside
                                          "6ÿofÿthe
                                                     56ÿ#building.
                                                          8"G"H%
 1V
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.F%0ÿ045
                     That'sÿ0  5ÿ"itÿGlooks
                              what        2ÿGlike
                                                   "26ÿtoday?
                                                         IR
 1)
 190ÿ0ÿ0ÿ0ÿ0ÿ0@%0ÿ0
                A.   66%
                     Yes.
 &(0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20             F%0ÿ0Is
                     Yÿ5 ÿ5how
                         that   0ÿIyou
                                      8ÿHguys
                                           8Iÿ3constructed
                                                   7836ÿ"it?
                                                                 R
 &10ÿ0ÿ0ÿ0ÿ0ÿ0@%0ÿ0
 21             A.   66%
                     Yes.
 &&0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             F%0ÿ0@ÿ5
                     And the6ÿthird
                                5"7ÿ9picture,
                                         "3876ÿ0what
                                                     5ÿdoes
                                                           6ÿthat
                                                                 5
 &'0ÿ0show?
 23    50R
 &E0ÿ0ÿ0ÿ0ÿ0ÿ0@%0ÿ0
 24             A.   W"387
                     Picture6ÿofÿthe
                                     56ÿ#backside
                                          32"6ÿofÿthe
                                                          56
 &Q0ÿ0#8"G"H%
 25    building.


     # ESQUIRE                                              800.211.DEPO
                                                              defÿh(3376)
                                                                            iicom
                                                                               jkl
                  ^ DEPOSITION SOLUTIONS                     dmnopqrstuovptwmxty
                                                             EsquireSolutions.  6{671
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           vw     134

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1            340ÿ056ÿ789
                Q.    Is that7ÿwhat
                                897ÿit7ÿlooks
                                            6ÿlike
                                                     ÿ7today?
                                                           9
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   2             40ÿ0!64
                A.    Yes.
 0"0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            340ÿ056ÿ789
                Q.    Is that7ÿ8how
                                 ÿ#PVGC
                                       $%&ÿconstructed
                                            '(67)0'7ÿit?  7
 010ÿ0ÿ0ÿ0ÿ
   4         0ÿ0A.40ÿ0As6ÿ29)
                          farÿ9 6ÿI5ÿknow,
                               as      (3ÿyes.
                                               64
 0540ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ053ÿ  0)ÿ9application
                      So, your     66'97(ÿidentifies
                                                   (726ÿit7ÿ9as6
 0670ÿ089ÿ2 7ÿ794
       70 feet  tall.0ÿ@ÿ
                         Did 5
                             Iÿread
                                )9ÿ7that
                                        897ÿ)right?
                                               A87
 080ÿ0ÿ0ÿ0ÿ0ÿ0
   7             40ÿ0I5ÿ78(
                A.           ÿ6so.
                         think   4
                340ÿ089C2
 08B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.     70-foot7ÿ7tall
                                 9ÿ6structure
                                        7)0'70)ÿ6steel
                                                      7ÿDbuilding.
                                                              0(A4
 09E0ÿ0My
       FÿG0 67(ÿ6H
           question  is:0ÿI8 )ÿwas
                           Where    96ÿ7the
                                          8ÿ8790-foot
                                                 C27ÿPmeasured
                                                          960)ÿ0up6
 100ÿ07
 19    to?
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0A. 40ÿ0Q8ÿ8  A867ÿ6point.
                      The highest      (74
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ05ÿ6ÿ
                      So is 7 897ÿ7the
                             that    8ÿ7tip
                                           6ÿof2ÿ7the
                                                     8ÿ)roof?
                                                          20ÿR  )ÿis6
                                                                  Or
 1"
 130ÿ07897ÿ
       that 6Pÿ2ÿ78ÿCC
             some of the     ÿlooks
                                6ÿlike
                                        ÿ7there
                                               8)ÿis6ÿ9an(ÿ9antenna
                                                                (7((9
 11
 140ÿ0)ÿ6  P78(Aÿ7897S6
       or something   that'sÿ6  7'(Aÿ9above
                               sticking     DTÿ7that.
                                                     8974
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ0A. 40ÿ0Qÿ78
                      To theÿ7  6ÿof2ÿ7the
                               tip        8ÿ)roof.
                                               24
 17
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Qÿ78
                      To theÿ7  6ÿof2ÿ7the
                               tip        8ÿ)roof?
                                               20ÿ5Soÿwhen
                                                             8(ÿyou
                                                                   0
 18
 170ÿ09)ÿP  960)(Aÿ78ÿ8
       are measuring         A87ÿof2ÿ7the
                        the height         8ÿDbuilding,
                                                 0(A3ÿit's
                                                              7S6ÿyour
                                                                    0)
 1B
 180ÿ0U6)  ('ÿ7897ÿ0
       experience   that youÿP  960)ÿit7ÿ2from
                               measure         )Pÿwhere
                                                      8)ÿ7toÿwhere?
                                                                  8)
 190ÿ0ÿ0ÿ0ÿ0ÿ0A.
 1E              40ÿ0Q8ÿA)  0(ÿ7toÿ7the
                      The ground          8ÿ7tallest
                                               967ÿ6point.
                                                          (74
 9
 200ÿ0ÿ0ÿ0ÿ0ÿ034Q.0ÿ0@2(
                      DefineÿA  )0(40ÿ5Is6ÿ7that
                               ground.           897ÿ7the
                                                       8ÿ'concrete
                                                             (')7
 1    slab?0ÿ56ÿ7897ÿ78ÿ
 210ÿ069D    Is that the 2  (68ÿ2floor?
                             finished      )
 
 220ÿ0ÿ0ÿ0ÿ0ÿ0A. 40ÿ057ÿ0  ÿDbeÿ7the
                      It would         8ÿ6slowest
                                            67ÿ6point
                                                       (7ÿof2ÿ7the
                                                                   8
 "
 230ÿ067)0'  70)4
       structure.
 1
 240ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q.    V67
                      Lowestÿ6  (7ÿof2ÿ7the
                               point        8ÿ6structure
                                                  7)0'70)ÿ7toÿ7the
                                                                   8
 4
 250ÿ076ÿ2ÿ78ÿ)2
       tip of the roof?


                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                            eecom
                                                                               fgh
                     DEPOSITION SOLUTIONS                    ijklmnopqkrlpsitpu
                                                             EsquireSolutions.  !$)12
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
                                                                 October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
       PETER J. VICARI
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           yqr     135

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1           340ÿ05674
               A.     Yes.
 080ÿ0ÿ0ÿ0ÿ0ÿ0
  2            940ÿ04
               Q.     Okay.0ÿÿyou
                             So    ÿbelieve
                                        66 6ÿit's
                                                   !"7ÿ#70$ÿ%feet
                                                              66!
 0&0ÿ0
   3   %'(ÿ!)6ÿ067!ÿ1
       from the lowest point2!ÿof%ÿ!the
                                      )6ÿ3Midship
                                           47)1ÿ3Marine
                                                      '26
 0540ÿ0426ÿ!)!ÿ06ÿ'
       building  that we are6ÿlooking
                                26ÿat!ÿin2ÿ!this
                                                   )7ÿ!third
                                                         )'4
 070ÿ0
  5    18!'6ÿ1ÿ!ÿ!)6ÿ9
       picture up to the —  9ÿ!the
                                )6ÿapex
                                      16@ÿor'ÿ!the
                                                 )6ÿ!tip
                                                      1ÿof%ÿ!the
                                                                )6ÿ9—9
 0A0ÿ0
  6    sort %ÿ!)6ÿ(446ÿ
       7'!ÿof the middle   %ÿ!the
                            of   )6ÿ'roof
                                       %ÿ!there?
                                              )6'6B
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
   7           340ÿ0
               A.     5674
                      Yes.
 0C0ÿ0ÿ0ÿ0ÿ0ÿ0
   8           940ÿ0
               Q.     4
                      Okay.0ÿ324ÿ!then
                             And    )62ÿ!turning
                                           '226ÿ!toÿ!the
                                                         )6ÿlast
                                                                7!
 0D0ÿ0
   9   166E
       page,ÿ0)!ÿ467ÿ!)
             what does that !ÿ7show?
                                )0B
 1$
 100ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    F2746
                      Insideÿ%ÿ!the
                             of    )6ÿbuilding.
                                        4264
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0940ÿ0
               Q.     F7ÿ!)!ÿ0what
                      Is that   )!ÿit!ÿlooks
                                           7ÿlike
                                                   6ÿ!today?
                                                         4B
 18
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    5614
                      Yep.
 1&
 130ÿ0ÿ0ÿ0ÿ0ÿ0940ÿ0
               Q-     F7ÿ!)!ÿ)how
                      Is that   0ÿyou
                                      ÿ6guys
                                           7ÿbuilt
                                                  !ÿit?
                                                         !B
 15
 140ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    5674
                      Yes.
 17
 150ÿ0ÿ0ÿ0ÿ0ÿ0940ÿ0
               Q.     324ÿÿbelieve
                      And you   66 6ÿ!this
                                           )7ÿbuilding
                                                  426
 1A
 160ÿ0G%67ÿ%'ÿÿH   '4ÿlicense
       qualifies for a Florida      86276ÿ%for'ÿyou
                                                    ÿbecause
                                                         6876ÿit!
 1#
 170ÿ07ÿ! 6'ÿ!)2ÿ%'
       is taller   than fourÿ7!'67ÿin2ÿ)height,
                             stories          66)!Eÿ6even
                                                         62ÿ!though
                                                                )6)
 1C
 180ÿ0!ÿ4 672"!ÿ)
       it doesn't      6ÿ%
                    have    'ÿ7separate
                         four   61'!6ÿ%floors
                                            '7ÿor'ÿ(more?
                                                         '6B0ÿIDoÿFI
 1D
 190ÿ0246' 7!24ÿ'ÿ!67
       understand           !(2ÿ8correctly?
                    your testimony     ''68!B
 8$
 200ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    P)!"7
                      That'sÿ)0ÿ0we6ÿ0was
                             how        7ÿadvised
                                              4 764ÿbyÿIDavid
                                                              4
 81
 210ÿ0Q'2 !4
       Bryant.
 88
 220ÿ0ÿ0ÿ0ÿ0ÿ0940ÿ0
               Q.     I4ÿI 4ÿQBryant
                      Did David    '2!ÿ7specifically
                                            168%8ÿ!tell 6
 8&
 230ÿ07(6 4ÿ!)!ÿ!)7ÿ
       somebody  that this 1 '!8'ÿbuilding
                            particular      426ÿGqualifies
                                                        %67
 85
 240ÿ0%'ÿÿ86'!%64ÿ662   6'ÿ8contractor's
       for a certified general      2!'8!'"7ÿlicense
                                                      86276
 87
 250ÿ06876ÿ!ÿ7ÿ('6ÿ
       because it is more !  )2ÿ%four
                            than    'ÿ7stories
                                           !'67ÿin2ÿits
                                                         !7ÿ)height?
                                                                66)!B
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               5s6'1%
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            v      136

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ05674
                A.   Yes.
 080ÿ0ÿ0ÿ0ÿ0ÿ0
  2             940ÿ0ÿ
                Q.         ÿhe6ÿtell
                     Who did        6ÿthat
                                         ÿto?
                                               
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  3             340ÿ0Pretty
                A.    !6"ÿ7sure
                              #!6ÿ$my"ÿdad.
                                       40ÿ%  &7ÿ'who
                                               That's     ÿhe6ÿwas
                                                                  '7
 04(0ÿ0in
       )ÿ0 )0ÿ'4
          contact  with.
 0510ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                940ÿ0Pretty
                      !6"ÿ7sure
                              #!6ÿor!ÿ"you
                                         #ÿare
                                            !6ÿ0certain
                                                   6!)ÿthat
                                                             
 0620ÿ0they  ÿÿ7360
       6"ÿhad            40ÿconversation
                 that specific   0)56!7)ÿabout
                                                   6#ÿthe
                                                           6
 0770ÿ0specific
       736040ÿ873ÿ8 !)6ÿ3project?
                 Midship Marine     !960
 0@
  80ÿ0ÿ0ÿ0ÿ0ÿ0A.340ÿ0I'm
                     A&$ÿ3!6"ÿ7sure
                         pretty     #!6ÿthey
                                          6"ÿhad
                                               ÿthe
                                                      6
 0B
  90ÿ0conversation.
       0)56!7)4
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             940ÿ06!6ÿ"#ÿthere?
                     Were you    6!6
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             340ÿ0Aÿ'7ÿ)ÿon
                     I was not   )ÿthe
                                      6ÿ3phone,
                                           )6Dÿ)no.
                                                    4
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             940ÿ0E'ÿ
                     How doÿ" #ÿFknow
                             you    )'ÿthey
                                         6"ÿhad
                                               ÿthat
                                                      
 10ÿ0conversation?
 13    0)56!7)
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14             340ÿ0G!$ÿ!6$6$66!)Hÿ$my"ÿdad
                     From remembering          ÿtold
                                                   ÿ$me.
                                                           64
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             940ÿ0A&$ÿ0#!#740ÿThe
                     I'm curious.     %6ÿIExhibit
                                            P6ÿ302C8ÿAIÿshowed
                                                             7'6
 16    "#Dÿ'
 120ÿ0you,     0ÿ'7ÿ6ÿ
             which was the  )ÿapplication
                           initial     330)ÿthatÿ"you
                                                             #
 170ÿ0signed,
 17    7H)6Dÿ)ÿ6ÿ87 3ÿMarine
                in the Midship   8!)6ÿ6box,
                                           PDÿitÿdoes
                                                      67ÿnot
                                                           )ÿhave
                                                                 56
 1@0ÿ0darkened
 18    !F6)6ÿÿ"67ÿ!ÿ) ÿresponse
                 a yes or no  !673)76ÿtoÿthe
                                               6ÿquestion
                                                   Q#67)ÿof4
 1B0ÿ0was
 19    '7ÿthis
             7ÿ6P36!6)06
                 experienceÿin
                             )ÿthe
                                  6ÿ0construction
                                       )7!#0)ÿof4
 8C0ÿ0structures
 20    7!#0#!67ÿ4#!ÿ7 !"ÿor!ÿhigher,
                   four story       H6!Dÿ6but
                                               #ÿin)ÿthe
                                                         6
 810ÿ0330)ÿAÿ9#7ÿ
 21                        7'6ÿ"you
       application I just showed      #ÿthat
                                           ÿ'was
                                                 7ÿsubmitted
                                                      7#6$6ÿto
 22    RS TDÿÿ7ÿ6P64
 880ÿ0DBPR,   it is boxed.0ÿDo
                             Rÿ"you
                                  #ÿFknow
                                       )'ÿU--Uÿdo
                                                ÿyou
                                                    "#ÿFknow
                                                           )'ÿ'why?
                                                                  "
 80ÿ0ÿ0ÿ0ÿ0ÿ034
 23             A.0ÿ0Aÿ)Fÿthat
                     I think   ÿwas
                                     '7ÿthe
                                           6ÿ4first
                                                !7ÿdraft.
                                                         !440ÿAnd
                                                                  3)
 8(0ÿ0then
 24    6)ÿAÿ)FÿR5ÿ
             I think David S !")ÿ'was
                            Bryant    7ÿ--
                                          UUÿHgot
                                               ÿinvolved
                                                    )556ÿand )
 810ÿ0that's
 25    &7ÿ'ÿ)H7ÿH ÿfinalized.
               how things got  4)V64
                                                            ÿdeefgh
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ijklmnopqkrlpsitpu
                                                            EsquireSolutions.com
                                                                               5w6!14
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            st     137
 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ056ÿ789
                 Q.    If youÿ 8ÿthe
                               compare    ÿdescription
                                                8!ÿ8of6ÿthe 
 0"0ÿ0
  2    8#ÿin!ÿ789ÿ
       project             !  $ÿdraft
                     your initial    6ÿ8of6ÿthe
                                               ÿapplication,
                                                       $  8!%
 0&
  30ÿ0'   ÿisÿ()
       which           0 ÿ19
                  Exhibit    0ÿ302,
                           Number   &2"%ÿto
                                          8ÿhow
                                              8'ÿit's3ÿidentified
                                                           ! 6 
 0440ÿ0in!ÿÿ5678ÿ$
           the              8!%ÿthere
                DBPR application,      ÿisÿmore
                                                   8ÿ'writing
                                                           !9
 05@0ÿ0there.
       40ÿ58ÿ789ÿÿ
                 Do you see   A
                              that?
 06B0ÿ0ÿ0ÿ0ÿ0ÿ0A.C40ÿ0Right.
                       8 94
 07D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Okay.
                       EF740ÿG 8ÿchoose
                               Who  88ÿthose
                                              8ÿ'words?
                                                       8A
 08H0ÿ0ÿ0ÿ0ÿ0ÿ0A.C40ÿ0I5ÿ8!3ÿremember.
                         don't  04
 09I0ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Did
                       5 ÿ789ÿdiscuss
                           you     9ÿwith
                                          ' ÿ7your
                                                   89ÿmom
                                                         8ÿ8or
 10    P4ÿ67!ÿ8ÿ!708
 120ÿ0Mr.   Bryant or anybody7ÿchanging
                                   !9 !9ÿwhat's
                                             '3ÿ'written
                                                         !
 110ÿ0there?
 11    A
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12              C40ÿ053ÿ9 ÿthere
                       I'm sure    ÿ'was
                                          ÿaÿdiscussion
                                                    9 8!
 1&0ÿ0between
 13    0'!ÿ7ÿÿ!ÿ
                 my dad and 5  Q ÿ6Bryant
                              David    7!ÿand
                                              !ÿmyself
                                                      7$6ÿmaybe.
                                                              704
 140ÿ0I5ÿ8!
 14          3ÿ04
          don't  remember.
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15                    G$$%ÿ6first
                 340ÿ0Well,     ÿ7you
                                       89ÿsaid
                                             ÿyou
                                                 789ÿare
                                                        ÿsure
                                                             9ÿand
                                                                    !
 1B0ÿ0then
 16          789ÿ
       !ÿyou   saidÿ789ÿ8!3ÿremember.
                        you don't   040ÿR    8ÿthose
                                                   So  8ÿto8ÿme
 1D0ÿ0don't
 17    8!3ÿ98ÿ894
              go together.0ÿ5   ÿitÿSS
                               Is
 1H0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18              C40ÿ0I'm
                       53ÿ9ÿthere
                           sure    ÿ'was
                                          ÿaÿconversation,
                                                   8!Q 8!%
 1I0ÿ0obviously,
 19    80Q 89$7%ÿif6ÿ'8
                        wordsÿ ÿto
                               added   8ÿthe
                                          ÿapplication.
                                                 $  8!40ÿSo  R8
 "20ÿ0there
 20    ÿ'ÿ8!Q
              was conversation 8!ÿthat
                                    ÿhappened
                                         !ÿisÿ'why7ÿthey
                                                              7
 "10ÿ0got
 21    98ÿadded   more '8
             ÿ8ÿ      ÿto
                         words  8ÿit.
                                     4
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22              340ÿ0Do
                       58ÿ789
                          youÿ $$ÿthe
                               recall    ÿdetails
                                              $ÿ8of6ÿthe
                                                             
 "&0ÿ0specific
 23     6 ÿ8!Q    8!ÿ8orÿ7you're
                  conversation         893ÿ#just
                                               9ÿassuming
                                                      9 !9ÿit
 "40ÿ0happened?
 24    !A
 "@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25              C40ÿ0I'm
                       53ÿ9 !9ÿitÿhad
                           assuming         ÿto8ÿhave
                                                    Qÿhappened
                                                           !
                                                            ÿde
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fghijklmnhoimpfqmr
                                                            EsquireSolutions.com
                                                                               uv16
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           r      138

 010ÿ0
   1   3456447ÿ89ÿÿ7ÿ ÿBryant.
       between my dad and David      975
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0You're
                Q-    !"#4ÿassuming
                              $$"87%ÿ9your
                                          !"ÿdad
                                                 ÿand
                                                       7
 0&0ÿ0
   3   'ÿ975ÿ5()4ÿ
       Mr.                 3!"5ÿadditional
            Bryant talked about     5!7(ÿ(language
                                                  7%"%4ÿ5to!ÿadd
 0040ÿ05!ÿ51
       to the4ÿ22(35!7ÿ
               application 5 15ÿ%got
                            that    !5ÿ2put
                                         "5ÿinto
                                              75!ÿ5the14ÿ!one
                                                           74ÿ5that
                                                                 15
 0540ÿ09!"ÿ$ "38554ÿ!ÿ6
       you submitted       $ÿsubmitted
                      or was  $"38554ÿ5for!ÿ9you?
                                                  !"6
 0670ÿ0ÿ0ÿ0ÿ0ÿ080ÿ0
                A.   9#8ÿ$$"87%0ÿ@That's
                     I'm assuming.       15#$ÿ5typically
                                                  923((9ÿ6what 15
 0A0ÿ0
   7   1224 7$
       happens.
 0B0ÿ0ÿ0ÿ0ÿ0ÿ0
  8             0ÿ0C!ÿ(45
                Q-         #$ÿlook
                     So let's  (!!)ÿ7next,
                                        4D5Eÿif5ÿ6we4ÿcould,
                                                       3!"(Eÿat5
 0F0ÿ0
  9    514ÿ7 4D5ÿ2%4ÿ!5ÿ9!
       the next            "ÿapplication,
                 page of your    22(35!70ÿ8And  7ÿit5ÿrefers
                                                             454$
 1G
 100ÿ05!ÿ51
       to the4ÿC"%ÿ'((ÿ8258475$0ÿ8And,
               Sugar Mill Apartments,       7Eÿ!oh,1EÿI9ÿHjust
                                                             "$5
 110ÿ0
 11    6754
       wantedÿ5!ÿ%45ÿ$!84517%ÿ3back
               to get something     3)ÿ1here
                                          44ÿ!on7ÿ5the
                                                      14ÿI--Iÿ7never
                                                                44
 10ÿ0
 12    87
       mind.
 1&0ÿ0ÿ0ÿ0ÿ
 13          0ÿ0ÿ0ÿ0ÿC"%ÿ
                     Sugar ' ((ÿ8Apartments.
                            Mill    258475$0ÿCSo!ÿ5the14
 100ÿ0
 14    75!85!7ÿ515#$ÿ
       information that's 3  !7574ÿin7ÿ5the
                            contained         14ÿsection
                                                  $435!7ÿ5for  !
 140ÿ0
 15    C"%
       Sugarÿ'((ÿ825847 5$Eÿis$ÿ5that
              Mill Apartments,        15ÿall
                                            ((ÿaccurate
                                                  33"54ÿand  7
 170ÿ0
 16    5"51 5"(6
       truthful?
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0
 17             A.   As farÿ
                80ÿ08$ÿ5   $ÿI9ÿ)know.
                             as      7!6
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0
 18             0ÿ095ÿ4
                Q.         7554$ÿ9you
                     It identifies     !"ÿas$ÿ5the
                                                 14ÿ5foreman
                                                       !487ÿ!on7
 1F0ÿ0
 19    515ÿ
       that 2!H435ÿ5!8ÿC 4254834ÿ!of5ÿ2005
             project from September         GG4ÿ5to!ÿ'March
                                                        31ÿ!of5
 G0ÿ02007.
 20    GGA0ÿ!ÿ9!"ÿ$44ÿ5 156
               Do you see that?
 10ÿ0ÿ0ÿ0ÿ0ÿ080ÿ0
 21             A.    4$
                     Yes.
 0ÿ0ÿ0ÿ0ÿ0ÿ00ÿ095ÿ9ÿ
 22             Q-         !ÿ8my9ÿ8math
                     If I do        51ÿright,
                                          %15Eÿ9you!"ÿ6were
                                                         44ÿabout
                                                                 3!"5
 &0ÿ023
 23    &ÿ5!
           toÿ4ÿ94$ÿ!(P
              25 years old;ÿ $ÿ5that
                             is   15ÿright?
                                         %156
 00ÿ0ÿ0ÿ0ÿ0ÿ080ÿ0Q%15
 24             A.   Right.
 40ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0R7ÿ9!
 25             Q-         "ÿ5tell
                     Can you   4((ÿ8me4ÿany
                                          79ÿ!of5ÿ5the
                                                    14ÿI—I
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                     DEPOSITION SOLUTIONS                    e fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 s415
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      UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           tu      139

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ05678ÿ9
                 A.          ÿto7ÿ9when
                      From when         ÿyou
                                              7ÿsaid?
                                                 
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0
  2              "40ÿ0#ÿ
                 Q.   What itÿsays
                                 ÿright
                                       6$ÿthere.
                                               64
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  3              340ÿ0The
                 A.   &ÿ ÿ7of'ÿthe
                           day        ÿproject?
                                         (67)0
 0410ÿ0ÿ0ÿ0ÿ0ÿ0Q."40ÿ0Yes.
                      24
 0530ÿ0ÿ0ÿ0ÿ0ÿ0A.340ÿ0From
                      5678ÿ4'05,
                             536ÿ7Iÿwould
                                      978ÿhave
                                              9ÿ7only
                                                    8ÿ@been
                                                          ÿAAÿI7
       9ÿ118Cÿÿ45%Dÿ!54
 06B0ÿ0was      in '03; 20.
 07E0ÿ0ÿ0ÿ0ÿ0ÿ0Q."40ÿ020
                      !5ÿ7ÿ
                          to !!
                             22?
 08C0ÿ0ÿ0ÿ0ÿ0ÿ0A.340ÿ0Yeah.
                      24
 09F0ÿ0ÿ0ÿ0ÿ0ÿ0Q."40ÿ0So
                      G7ÿ@ 9ÿ!205ÿand
                          between        ÿ22,
                                            !!6ÿyou
                                                  7ÿ9were
                                                       6ÿa
 150ÿ0foreman
 10    '768ÿ7ÿÿ(67   )0
                 on this project?
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11              340ÿ0Correct.
                      H76604
 1!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12              "40ÿ0And
                      3ÿ 88ÿ8meÿwhat
                           tell       9ÿtrades
                                           6ÿ9worked
                                                     76Iÿ7onÿthat
                                                                
 1%0ÿ0proj
 13    (67) 04
           ect.
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14              340ÿ0All
                      388ÿ7'
                           ofÿ 8Dÿ7Iÿmean,
                              them;      86ÿyou
                                                 7ÿhad
                                                      ÿ'framers,
                                                           6866
 130ÿ0you
 15    7ÿhad
             ÿ677'66ÿ7
                 roofers, youÿhad
                                 ÿ8mechanical,
                                       0086ÿyou
                                                     7ÿhad
                                                        
 1B0ÿ0electrical,
 16    806086ÿ7ÿ
                     you hadÿ(  88@66ÿyou
                               plumbers,   7ÿhad
                                                 ÿthe   78
                                                      ÿ9whole
 1E0ÿ0shebang
 17    @$ÿ'76ÿÿ(6   8ÿ0complex.
                 for an apartment      78(8P4
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18              "40ÿ0Masonry?
                      Q76
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19              340ÿ0Portion.
                      R76740ÿQ   $ÿhave
                                   Might  9ÿ@been
                                                 ÿsmall
                                                       888
 !50ÿ0masonry
 20    876ÿ7ÿ78ÿ(76   7ÿof
                 on some portion    7'ÿthe
                                        ÿ@building.
                                              8$40ÿI7ÿdon't
                                                             74
 21    688@6ÿP08ÿ7
 !10ÿ0remember    exactly onÿ that    4
                                ÿ7one.
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22              "40ÿ0Who
                      #7ÿ97 8ÿhave
                           would    9ÿ@been
                                          ÿthe
                                               ÿ8mason?
                                                     7
 !%0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23              340ÿ0Oh,
                      S6ÿ7ÿ 74ÿknow.
                           I don't    I794
 !10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24              "40ÿ0Do
                      T7ÿ7
                          youÿ6 88@6ÿthe
                              remember     ÿnames
                                                8ÿof
                                                      7'ÿany
                                                          ÿ7of'
 !30ÿ0the
 25    ÿ6
            trades?


                                                            ÿdef
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               2v61'
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      defegÿipÿqrstgr                                    x ÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            }     140

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ05ÿ6789
               A.          ÿ6the
                     I think   7ÿelectrical
                                    68ÿwas ÿDeubler
                                                         
 0!0ÿ0
   2   "6840ÿI5ÿ##
       Electric.           ÿ6them
                     remember   7#ÿbeing
                                      89$ÿ6there
                                               7ÿevery
                                                      %&ÿ'day.
                                                              &4
 03(0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               )40ÿ00102ÿ
                     D-L-U 00ÿ 0203010"045
                               D-U-B-L-E-R?
 060ÿ0ÿ0ÿ0ÿ
   4        0ÿ0340ÿ0
               A.    567ÿ8ÿD-E-U-B-L-E-R
                     It's like   0"0203010"04ÿ8orÿsomething
                                                      8#6789$
 0590ÿ08ÿ
       like 6764
            that.0ÿ@767ÿ
                    That's ÿ5Iÿreally
                           all    &ÿremember,
                                             ## 4ÿÿI5
 0A
  60ÿ0remember
       ## ÿ89$ÿ67 8ÿ6trucks
                seeing their    ÿ6there
                                         7ÿevery
                                                 %&ÿ'day,
                                                         &B
 0C70ÿ0$76ÿ#&ÿ&4
       caught my eye.
 0D0ÿ0ÿ0ÿ0ÿ0ÿ0
   8           )40ÿ039&
               Q.        8'&ÿelse?
                     Anybody   5
 09E0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    F840ÿ
                     No. G ÿ7hired
                          We   8'ÿaÿlot
                                         86ÿ8ofHÿ6the
                                                   7ÿHframers.
                                                        #4ÿÿI5
 1I
 100ÿ06789
       thinkÿÿ86ÿ8Hÿ67ÿ
             a lot of the $ &ÿworked
                           guys   8'ÿHfor8ÿus.
                                                 40ÿ3Aÿlot
                                                          86ÿ8ofH
 11
 110ÿ067ÿH #ÿ9'ÿH89
       the framers         874
                    and finishers.
 1!
 120ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿP33P"
                     MADAMEÿQ R24@ÿ4REPORTER:
                             COURT   "SR4@"4T0ÿUKeepVÿ&your
                                                          8
 1(
 130ÿ0ÿ0ÿ0ÿ0ÿ0%88ÿV4
               voice up.
 16
 140ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ@W"ÿG5  @F"XXT0ÿ5I'm
                     THE WITNESS:     7#ÿsorry.
                                            8&4
 190ÿ03YÿP44ÿ13GWRFT
 15    BY MR. LAWHON:
 1A
 160ÿ0ÿ0ÿ0ÿ0ÿ0)40ÿ0G78ÿ
               Q-          ÿ6the
                     Who were   7ÿsupers
                                     Vÿ8on9ÿ6that
                                                   76ÿ`job
                                                         8 ÿHfor
                                                              8
 1C0ÿ0
 17    SabQ5
       PVGC?0ÿRÿ78ÿ5
              Or who was?
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0
 18            340ÿ05ÿ6789
               A.          ÿPMike
                     I think   8ÿ3Bilbo
                                     8 8ÿwas
                                             ÿstill
                                                 68ÿ6there.
                                                          74ÿÿ5I
 1E
 190ÿ06789
       thinkÿX79ÿ38ÿ
             Shawn Barrow  ÿstill
                           was  68ÿaround,
                                         89'BÿI5ÿ6think
                                                      789ÿ7heÿwas
                                                                  
 !I0ÿ089ÿ67
 20         6ÿV8`64
       on that project.
 !10ÿ0ÿ0ÿ0ÿ0ÿ0)40ÿ0X9ÿ8
 21            Q-          ÿXS-E-A-N?
                     Sean is   0"030F5
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0X0W030
 22            A.          G0Fÿ5Iÿ6think
                     S-H-A-W-N      789ÿ8it6ÿwas.
                                                4
 !(0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿGÿ7'
 23                  We hadÿ
                            aÿ6 #ÿ8out
                               team   6ÿ6there.
                                            740ÿ5Iÿremember
                                                         ## 
 !60ÿ0ÿ7'ÿ9ÿ8HH8Bÿ
 24    we had an office, weÿ7had
                               'ÿHfour
                                    8ÿ8orÿHfive
                                               8%ÿVpeople,
                                                     8V4ÿÿ5I
 !90ÿ0'8976ÿ98ÿc6&ÿ
 25    don't know exactly  %& 8'&ÿ6that
                           everybody     76ÿwas
                                                ÿ6there.
                                                     740ÿ3But
                                                               6
                                                            800.211.DEPO
                                                              deefghiÿk(3376)
                                                                             llmno
                     DEPOSITION SOLUTIONS                    gp qrstuvwxryswzp{com
                                                             EsquireSolutions.   w|
                                                                                 Ya1H
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      QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                            October 16, 2018
      QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            xpx     141

 010ÿ0
  1    3453ÿ678ÿ459ÿ5ÿ ÿÿhad
       that job had a specific        459ÿ5anÿ7office
                                                 ÿset
                                                        3ÿup
 00ÿ0
  2     34ÿ7!"
       with people.
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
  3            $"0ÿ0%7&9
               Q.          'ÿ3to7ÿ3the
                    According         4ÿ8box
                                           7(ÿ3that
                                                 453ÿweÿ5are
                                                           &
 04)0ÿ0looking
       !770'ÿ531ÿ34&ÿ  &ÿno7ÿfoundations
               at, there were         79537ÿor 7&ÿslab
                                                        !58ÿ3that
                                                                453
 0520ÿ0were
        &ÿ'&53&ÿ345ÿ 31333ÿsquare
            greater than 20,000    45&ÿfeet.
                                              3"0ÿ5  ÿ3that?
                                                     See    4536
 0670ÿ0ÿ0ÿ0ÿ0ÿ0A.
               %"0ÿ0Right.
                     8'43"
 0790ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               $"0ÿ0Is
                     @ÿ3453ÿcorrect?
                        that   7&&36
               %"0ÿ0I@ÿ34
 08A0ÿ0ÿ0ÿ0ÿ0ÿ0A.          0ÿso,
                       think 71ÿByeah.
                                    54"
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               $"0ÿ0No
                     D7ÿE57&Bÿwalls,
                        masonry    5!!1ÿ&right?
                                            '436
 130ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10            %"0ÿ0Correct.
                     F7&&3"
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11                  D7ÿ3
               $"0ÿ0No     !ÿerection?
                        steel   &376
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12            %"0ÿ0Right.
                     8'43"
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13            $"0ÿ0No
                     D7ÿ&53ÿconcrete
                        precast    7&3ÿstructures?
                                               3&3&6
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 14            %"0ÿ0Correct.
                     F7&&3"
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15            $"0ÿ0No
                     D7ÿ7!Eÿwere
                        columns    &ÿerected?
                                        &396
 170ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16            %"0ÿ0Okay.
                     G05B"
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17                  @ÿ345
               $"0ÿ0Is     3ÿ&right?
                        that   '436
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18            %"0ÿ0Right.
                     8'43"
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19            $"0ÿ0No
                     D7ÿ7&Eÿwork
                        form   7&0ÿwas5ÿdone
                                         97ÿfor7&ÿstructural
                                                       3&3&5!
 30ÿ0reinforced
 20    &7&9ÿ7&3
                  concrete,1ÿ&right?
                               '436
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21            %"0ÿ0That
                     H453ÿ7ÿEmay
                          one   5Bÿ4have
                                      5Iÿbeen
                                           8ÿÿthey
                                                     34Bÿmay
                                                            E5B
 0ÿ0have
 22    45Iÿ8ÿ 7&09ÿ7
            been worked    3ÿthere
                         out               453"0ÿMaybe
                             34&ÿ7onÿ3that.     P5B8ÿsome
                                                            7E
 #0ÿ0small
 23    E5!!ÿ5&5ÿ3453ÿ I&ÿ'got
             areas that never    73ÿchecked
                                      409ÿ7off.
                                                  "
 )0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24            $"0ÿ0So
                     57ÿ
 20ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25            %"0ÿ0I@ÿE51ÿ3they
                       mean,   4Bÿhave
                                    45Iÿ8been
                                            ÿÿthere
                                                     34&ÿwas5
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               qr&1
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           r     142

 010ÿ0
  1   34563789ÿ3ÿ   3ÿ3out
      obviously concrete work       7ÿthere.
                                         0ÿIÿmean,
                                                     !"#ÿto3ÿwhat
                                                                  "
 0$0ÿ0
  2   %ÿIÿ&3'ÿ!
      extent                !4
                don't remember.
 0(0ÿ0ÿ0ÿ0ÿ0ÿ0
  3            )0ÿ0
               Q-    07ÿ
                     But theÿ4box
                                3%ÿ6isn't
                                     8'ÿcheck
                                            ÿ8so3ÿ11
 020ÿ0ÿ0ÿ0ÿ
  4        0ÿ03
               A.0ÿ0It's
                      '8ÿnot
                            3ÿchecked.
                                &
 040ÿ0ÿ0ÿ0ÿ0ÿ0
  5            )
               Q- 0ÿ053ÿ"
                     So areÿ 37ÿtelling
                             you    9966ÿ!meÿnow
                                                  3ÿthat
                                                        "ÿthe
                                                               
 070ÿ0
  6   "8896"63ÿ68ÿ3
      application           69
                    is wrong?
 0@0ÿ0ÿ0ÿ0ÿ0ÿ0
  7            3
               A.0ÿ0A30ÿ
                     No. Iÿ!  "#ÿ6ifBÿ6itÿwas
                             mean,             "8ÿsmall,
                                                  8!"99#ÿIÿ!mean,
                                                                "#
 0C0ÿ0
  8   6'8ÿ
      it's 3ÿ"ÿ466ÿ&"9
           not a big deal.  
 0D0ÿ0ÿ0ÿ0ÿ0ÿ0
  9            )0ÿ0E"
               Q.    Okay.0ÿA 3ÿelevated
                             No   95"&ÿ8slabs,
                                               9"48#ÿright?
                                                       669
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0
 10            3
               A.0ÿ0G66
                     Right.
 110ÿ0
 11   ÿ0ÿ0ÿ0ÿ0Q.
               )0ÿ0E"
                     Okay.0ÿ5 3ÿno3ÿBfloors
                             So        9338ÿwere
                                                ÿ8poured
                                                       37&ÿ3orÿtie
                                                                    6
 1$0ÿ0
 12   4"!8
      beamsÿ3ÿ"66ÿ9   6ÿthat;
             or anything like     "Hÿ6is8ÿthat
                                               "ÿright?
                                                     669
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0
 13            30ÿ0Itÿ"8
               A.       wasÿ"  99ÿwood
                             all    33&ÿBframed.
                                           "!&
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14            )0ÿ0Okay.
                     E"0ÿIWere
                               ÿthere
                                     ÿ"any
                                             ÿ1--1ÿ&did
                                                       6&ÿyou
                                                            37
 140ÿ0create
 15   "ÿ"ÿ11ÿ99#
              any -- well,ÿstrike
                             86ÿthat.
                                        "
 17
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿIf BÿIÿ7understand
                            &8"&ÿ6itÿcorrectly,
                                               39#ÿthese
                                                              8
 1@0ÿ0
 17   "8"!8ÿ%68&ÿ
      apartments   existed 4 B3ÿPKatrina
                            before     "6"ÿ"and
                                                 &ÿthey
                                                       ÿwere
                                                              
 1C0ÿ0
 18   &"!"6&ÿ4ÿP"6"H
      damaged  by Katrina;ÿ6  8ÿthat
                             is   "ÿright?
                                         669
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0
 19            30ÿ0Q3
               A.           
                     Correct.
 20            )0ÿ0E"
 $F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.     Okay.0ÿ5 3ÿtell
                             So   99ÿ!meÿhow
                                             3ÿ!many
                                                  "ÿ&different
                                                         6BB
 $10ÿ04769&
 21        668ÿ"ÿ
      buildings   are there.
 $$0ÿ0ÿ0ÿ0ÿ0ÿ030ÿ0E#ÿ63
 22            A.           3&880ÿRThat
                     Oh, goodness.       "ÿ8property
                                                38ÿwas"8ÿhuge.
                                                                 76
 $(0ÿ0Iÿ!"
 23        #ÿ"ÿ86&ÿ
        mean,  each side had"&ÿ6its
                                 8ÿ3onÿ!management
                                           ""6!ÿnumbers,
                                                         7!48#ÿ8so3
 $20ÿ0Iÿ!"#ÿ
 24     mean, Iÿ&3'ÿ3
                  don't knowÿexactly
                                %"9ÿ1—1ÿIÿ!mean,
                                                 "#ÿnumbers,
                                                         7!48#
 $40ÿ047ÿ6ÿ"8ÿ"ÿ47
 25   but it was a bunch.0ÿIÿ!    "#ÿ6ifBÿyou
                                 mean,         37ÿhad
                                                    "&ÿto3ÿBfigure,
                                                              667#
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                     DEPOSITION SOLUTIONS                    e fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 st1B
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      IPQPRÿTUÿVWXYRW                                    cpqrstuÿvwxÿyv
                                      229
      PETER J. VICARI                                            October 16, 2018
      IPQPÿVWXYRWÿ̀PaPRYbÿXcaQRYXQcRÿdeÿcfWcÿXYghYbQiÿWagU
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            vno     143

 010ÿ0
  1    34567689ÿ1ÿ5ÿ1ÿ6  8ÿ3per
       probably 10 to 15 buildings        4ÿside.
                                                
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0
  2            " 0ÿ0#$ÿ6
               Q.           8ÿ7are
                     The building       4ÿ7all
                                             88ÿ%freestanding,
                                                    47&
 0'0ÿ0
  3    $9ÿ74ÿ3747ÿ
       they are separated %  45(ÿeach
                            from    7)$ÿ5other?
                                           $40
 0140ÿ0ÿ0ÿ0ÿ0ÿ0A.
               2 0ÿ0Yes
                     3.
 050ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               " 0ÿ0How
                     455ÿ7 88ÿ7are
                          tall    4ÿthe
                                        $ÿ6buildings?
                                             80
 060ÿ0ÿ0ÿ0ÿ0ÿ0
  6            2 0ÿ0788ÿ5
               A.           84ÿ9--9ÿgot
                     Well over          5ÿto5ÿ6beÿ40
                                                     1ÿ%feet
                                                          
 0@0ÿ0
   7   34567689
       probably.
 0A0ÿ0ÿ0ÿ0ÿ0ÿ0
  8            " 0ÿ0288ÿ
               Q.    All tenÿ5of%ÿthem
                                     $(ÿ5or4ÿ$however
                                                5584ÿmany
                                                          (79ÿthere
                                                                   $4
 09B0ÿ0are,
       74&ÿCÿ5Dÿ)74ÿ7  65ÿthe
            I don't care about       $ÿnumber?
                                          (640
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10            2 0ÿ0They
                     #$9ÿ7are
                            4ÿthe
                                  $ÿsame.
                                        7( 0ÿThey
                                                #$9ÿ7all88ÿ(match
                                                               7)$
 11    7)$ÿ5$4
 110ÿ0each  other.0ÿ#$9ÿ$  7ÿsome
                     They had     5(ÿclubhouses
                                        )86$5ÿthat $7ÿ5were
                                                                4
 1!0ÿ0small.
 12    (788
 1'0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13            " 0ÿ02ÿ$  ÿ7are
                     And these      4ÿ7all
                                         88ÿ7apartments
                                               374(ÿor  54
 110ÿ0condominiums
 14    )55((ÿ54ÿ99
                     or
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15            2 0ÿ02374(  
                     Apartments.
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16            " 0ÿ0E5ÿ
                     So didÿ3 538ÿ8live
                             people      8ÿon5ÿthe
                                                    $ÿ%first
                                                          4ÿ%floor?
                                                                   85540
 1@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17            2 0ÿ0#$9ÿ8  8ÿ9--9ÿ5whatever
                     They lived          $784ÿones5ÿ5wasn't
                                                             7D
 1A0ÿ0damaged,
 18    7(7&ÿ$9ÿ54ÿ
                 they were 8 8ÿinÿthem.
                            living        $(
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19            " 0ÿ0F%54
                     Beforeÿ $ÿ$hurricane?
                             the     44)700ÿ2     4ÿthere
                                                     Are   $4ÿ99ÿis 
 !0ÿ0there
 20    $4ÿ7ÿ45ÿ%855
             a ground floor 4ÿ5or4ÿa7ÿ%first
                                        4ÿ%floor?
                                                85540
 !10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21            2 0ÿ03
                     Yes.
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22            " 0ÿ0Gÿ
                     Did itÿ ÿnumbers
                             use     (64ÿlike
                                               8Hÿ1102!ÿ5or4ÿ1105,
                                                                  &ÿ5or4
 !'0ÿ0something
 23    5($ÿ8Hÿ$7
                  like that?0
 !10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24            2 0ÿ0Cÿ5D
                     I don'tÿremember
                              4((64ÿ$how  55ÿthey
                                                    $9ÿ5were
                                                          4
 !0ÿ0numbered,
 25    (64&ÿ6&ÿ97&
                  but, yea,ÿ $9ÿ5were
                             they     4ÿnumbered.
                                           (64
                                                            ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijdhklhm
                                                            EsquireSolutions.com
                                                                               3p41%
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      UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           tt      144

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ0567ÿ89
               Q.          ÿ6aÿsecond
                    Was there      7ÿfloor
                                            ÿ8that
                                                   968ÿpeople
                                                         
 00ÿ0
  2     !ÿ"
       lived on?
 0#0ÿ0ÿ0ÿ0ÿ0ÿ0
  3            $40ÿ0%74
               A.   Yes.
 0&0ÿ0ÿ0ÿ0ÿ
   4           340ÿ0Was
            0ÿ0Q.   567ÿ89 ÿ6aÿ8third
                         there      9 ÿfloor
                                          ÿthat
                                                 8968ÿpeople
                                                        
 05'0ÿ0lived
        !ÿ"
             on?
 06(0ÿ0ÿ0ÿ0ÿ0ÿ0A.
               $40ÿ0Yes.
                    %74
 07)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               340ÿ0Was
                    567ÿ89 ÿ6aÿfourth
                         there      089ÿfloor
                                           ÿthat
                                                  8968ÿpeople
                                                         
 0810ÿ0lived
        !ÿ"
             on?
 0920ÿ0ÿ0ÿ0ÿ0ÿ0A.
               $40ÿ0Not
                    38ÿ  !ÿon.
                         lived    4
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10            340ÿ0Was
                    567ÿ89 ÿ6anything
                         there    589 6ÿ9higher
                                             69ÿ8than
                                                    96ÿthe
                                                         89
 11    089ÿ"
 110ÿ0fourth  floor?
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12            $40ÿ0No.
                    34
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13            340ÿ0So
                    7ÿifÿ8I'm
                             9@ÿpicturing
                                   80 6ÿAwhat
                                             968ÿI8ÿBjust
                                                      078ÿ0used
                                                            7
 1&0ÿ0as
 14    67ÿ7Cÿ8ÿ@Cÿ
          floors, to me, ifÿ8they
                               95ÿ6are
                                     ÿ6apartments,
                                          68@87Cÿ8they've
                                                        959!
 1'0ÿ0got
 15    68ÿ6
           aÿÿ6ÿ6ÿ   640ÿSo
             floor and a ceiling,     7ÿfar
                                          6ÿAwhat
                                                968ÿ5you
                                                      0
 1(0ÿ0described,
 16    7 DCÿ89ÿ  78ÿ8three
                  the first    9ÿfloors
                                      7ÿhave
                                             96!ÿ6aÿfloor
                                                       ÿ6and
                                                              
 1)0ÿ0a6ÿ
 17          6Cÿ7ÿ89
         ceiling, so thereÿis 7ÿ6apartments
                                  68@87ÿinÿ8them,
                                                  9@Cÿright?
                                                          698"
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18            $40ÿ0E  6984
                    Right.
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19            340ÿ0FG654
                    Okay.0ÿ5  968ÿdoes
                             What  7ÿ8the
                                          9ÿfourth
                                               089ÿfloor,
                                                      Cÿ6as7
 40ÿ0you've
 20    509!ÿ6ÿ  8Cÿ
              called it,   7 788ÿof?
                          consistent   "
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21            $40ÿ0H9ÿIP $Qÿ6areas.
                    The HVAC    674
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22            340ÿ05968ÿ 7"
                    What else?
 #0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23            $40ÿ0%0ÿ96
                    You hadÿRMEP's
                               ST97ÿup
                                     0ÿ8there.
                                          940ÿThat's
                                                  H96897ÿAwhere
                                                            9
 &0ÿ0everything
 24    !589 6ÿA67ÿ907 4
                  was housed.
 '0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25            340ÿ08897ÿI P$Qÿ6and
                    It's HVAC     ÿelectrical?
                                     8 6"
                                                            ÿdef
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               %P1
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      UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.          tu      145

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ0567894
               A.    Right.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2            40ÿ089ÿ
               Q-            ÿ9the
                     What does     8ÿfourth
                                          98ÿfloor
                                                 ! ÿ"consist
                                                          #69ÿof?
                                                                   $
 0%0ÿ0
   3   &ÿ69ÿ#"!$
       Is it enclosed?
 0'0ÿ0ÿ0ÿ0ÿ
   4        0ÿ0A.
               340ÿ0&9(ÿ7
                     It's got9ÿaÿroof
                                     ÿstructure
                                          9 "9 ÿover
                                                        ) ÿ6it.
                                                               94
 000ÿ0ÿ0ÿ0ÿ
  5         0ÿ0Q-
               40ÿ0&9(ÿ7
                     It's got9ÿaÿfloor?
                                     ! $
 010ÿ0ÿ0ÿ0ÿ0ÿ0
  6            340ÿ0Yes.
               A.    24
 030ÿ0ÿ0ÿ0ÿ0ÿ0
   7           40ÿ0
               Q-    89(
                     What'sÿ9   8ÿfloor
                              the    ! ÿ4made
                                             ÿof?
                                                   $
 0850ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    4
                     Wood.
 0960ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
               Q-    3#ÿ6
                     And isÿ9   8 ÿaÿceiling?
                              there      "6!6#7$
 17
 100ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    2ÿ8
                     You     )ÿ8your
                          have     ÿroof
                                         ÿ9trusses,
                                                9ÿroof
 11
 110ÿ0  44
       frame.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
               Q-    &9(ÿ!  6@ÿan#ÿattic?
                     It's like          996"$
 1%
 130ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    567894
                     Right.
 1'
 140ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               40ÿ0Aÿ98    (ÿ#noÿ"ceiling,
                     So there's          6!6#79ÿ6it9ÿBjust
                                                        9ÿ8has
                                                               ÿCC
 10
 150ÿ08ÿ DEÿ9trusses?
       you expose    $
 11
 160ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    567894
                     Right.
 13
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               40ÿ0
                     Wereÿ9there
                             8 ÿany
                                     #8ÿ6interior,
                                          #9 6 9ÿI&ÿ7guess
                                                          ÿFwhat
                                                                 89
 15
 180ÿ0I&ÿF!ÿ"!!ÿ9849ÿ
         would call them, 6   4E )4#9ÿdone
                             improvements      #ÿon#ÿ9the
                                                          8ÿfourth
                                                                98
 16
 190ÿ0!  9ÿ98
       floor, otherÿ98#ÿ   6D6#7ÿ9the
                     than affixing       8ÿGHVAC
                                              H3Iÿorÿ9the
                                                        8ÿMEP
                                                            PQR
 70ÿ0S6E4#9$
 20    equipment?
 10ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 21            A.    TÿF8
                     To what 9ÿextent
                                 D9#9ÿdoÿ8you
                                              ÿ4mean?
                                                   #$
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22            40ÿ03Areÿ98 6 ÿFwalls?
                          their    !!$
 %0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 23            A.    29ÿ9there
                     Yes,    8 ÿareÿFwalls.
                                          !!40ÿTThey
                                                    88ÿare
 '0ÿ0#"!4
 24    enclosed.
 00ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25            40ÿ03Areÿ98  ÿ6interior
                          there    #9 6 ÿFwalls?
                                               !!$
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                            com
                                                                               def
                     DEPOSITION SOLUTIONS                    ghijklmnoipjnqgrns
                                                             EsquireSolutions.  2H 1
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            s     146

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ05640ÿ
                A.          789ÿaÿbig
                      No. It's         ÿ6open
                                            ÿspace.
                                                 4
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2              40ÿ03!ÿ"#
                Q.           8ÿ$you
                      And what     6%ÿ&just
                                         %8ÿdescribed
                                             !'!ÿis
 0(0ÿ0
  3    688ÿ"8#ÿ))
       consistent   with allÿ8  #ÿbuildings,
                               the   %)!0ÿthat
                                                  8#8ÿthey
                                                         8#$ÿall
                                                                 ))
 0140ÿ0#2ÿ
       have 8#'ÿ3)66'ÿ6
             three floors of 3ÿpeople
                                  6)ÿ)living
                                           2ÿinÿ%units
                                                        8ÿand
                                                              !
       8#ÿthe
 0540ÿ0then  8#ÿ36%'8#ÿ3)6  6'0ÿasÿyou've
                  fourth floor,        $6%92ÿcalled
                                                 ))!ÿit,80ÿis
                                                              ÿ8the
                                                                   #
 05    )8')0ÿ8#ÿ673
  60ÿ0electrical,    the HVAC8ÿand
                                  !ÿ8the
                                       #ÿMEP?
                                           9@AB
 0C70ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.    86''84
                      Correct.
 08D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.40ÿ0How
                      66"ÿE $ÿ6of3ÿF--Fÿwere
                           many           "'ÿany
                                                 $ÿ6of3ÿ8the
                                                           #
 09G0ÿ0buildings
       %)!ÿ6E)8)
                   completely$ÿ!destroyed
                                  8'6$!ÿby     #ÿ#hurricane
                                             $ÿ8the    %''ÿ8to6
 1H0ÿ0the
 10    8#ÿpoint
             68ÿ"#'ÿ8#
                   where they$ÿ"were
                                  'ÿdestroyed
                                       !8'6$!ÿ!down
                                                     6"ÿ8to6ÿ'rubble,
                                                                %)0
 11    '6%!ÿ3)66'B
 110ÿ0ground   floor?
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             340ÿ0There
                      I#'ÿ"was
                               ÿFFÿall
                                       ))ÿ7Iÿremember
                                               'EE'ÿ"wasÿ6one
                                                                 
 1(0ÿ0big
 13    ÿbuilding
             %)!ÿÿ8#
                      in theÿ  Pÿthat
                               back  8#8ÿtook
                                            866Pÿ8the
                                                    #ÿbrunt
                                                         '%8ÿ6of3ÿall
                                                                     ))
 14    8#ÿ'6)E4
 110ÿ0the   problems.0ÿ3!ÿ
                        And   ))ÿ8the
                              all   #ÿbuildings
                                          %)!ÿhad
                                                     #!ÿ!damage,
                                                            E0ÿ6of3
 140ÿ0course,
 15    6%'0ÿ%8ÿ8#'ÿ"
                but there wasÿone
                                  6ÿ8that
                                         #8ÿ"was
                                               ÿ8the
                                                    #ÿworst
                                                        "6'8ÿthat
                                                                8#8
 150ÿ0was
 16          6'ÿ%ÿ!4
       "ÿ8tore  up bad.
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.40ÿ0How
 17                   66"ÿ !B
                           bad?
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             340ÿ0I7ÿ'E E'ÿseeing
                        remember    ÿ8the#ÿinside
                                                    !ÿ6of3ÿall
                                                                 ))
 1G0ÿ0three
 19    8#'ÿ3)66'ÿ63ÿ6   )9ÿapartments
              floors of people's       '8E8ÿfrom
                                                    3'6Eÿthe
                                                           8#
 H0ÿ0outside.
 20    6%8!4
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.40ÿ0Were
 21                   Q'ÿF--Fÿ"was
                                  ÿ8the
                                       #ÿground
                                           '6%!ÿ3floor
                                                     )66'ÿF--Fÿ"was
                                                                 
 0ÿ0the
 22    8#ÿground
             '6%!ÿ3)66'0ÿ3  '8ÿ3floor,
                    floor, first     )66'0ÿthe
                                             8#ÿground
                                                    '6%!ÿ3floor,
                                                             )66'0
 (0ÿ0was
 23    "ÿ8that
             #8ÿ6'8B
                  concrete?
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24             340ÿ0Yes
                      R4
                         .
 40ÿ0ÿ0ÿ0ÿ0ÿ0Q.40ÿ0Was
 25                   Qÿ #ÿsuccessive
                           each   %2ÿceiling/floor
                                                 )S3)66'
                                                            ÿde
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fghijklmnhoimpfqmr
                                                            EsquireSolutions.com
                                                                               R7'13
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      IPQPRÿTUÿVWXYRW                                    cpqrstuÿvwxÿyv
                                      229
      PETER J. VICARI                                            October 16, 2018
      IPQPÿVWXYRWÿ̀PaPRYbÿXcaQRYXQcRÿdeÿcfWcÿXYghYbQiÿWagU
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            vno     147

 010ÿ0
  1    34567ÿ89ÿ55
       above it wood?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2              0ÿ07
                 A.    Yes.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  3              0ÿ0Were
                 Q.     7!7ÿ5on"ÿ9the
                                   #7ÿ4building
                                        $8%8"&ÿ8in"ÿthe
                                                      9#7ÿ4back
                                                             3'(ÿ9that
                                                                    #39
 0)0ÿ0
   4   05$ÿsay
       you   30ÿ9#39ÿ3ÿ3   13&7ÿ9the
                 that was damaged       #7ÿworst,
                                             5!92ÿwere
                                                      7!7ÿall
                                                            3%%ÿ9three
                                                                  #!77
 0530ÿ0floors
       4%55!ÿ!71567ÿ5!ÿ    715%8#7ÿ5or!ÿdamaged
                removed or demolished            313&7ÿ3asÿa3ÿ!result
                                                                  7$%9
 0650ÿ0of
       54ÿ9# 7ÿ#$!!8'3"7
           the  hurricane?
 0760ÿ0ÿ0ÿ0ÿ0ÿ0A.0ÿ0Yes.
                       70ÿIf
                              74ÿ7Iÿremember.
                                     !717147!0ÿ    "ÿ7Iÿthink
                                                    And     9#8"(ÿso.5
 0880ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0The
                       9#7ÿ7" 98!7ÿ4building
                            entire    $8%8"&ÿ5or!ÿ@just
                                                      $9ÿportions
                                                            A5!985"
 09B0ÿ0of
       54ÿ89 
           it?
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10              0ÿ0There
                       9#7!7ÿwas
                                3ÿ3aÿgood
                                      &55ÿ4bit
                                              89ÿ5of4ÿ9the
                                                        #7ÿ4building.
                                                             $8%8"&
 110ÿ0That
 11          43'(ÿ4$8%8"&ÿ
       9#39ÿback    building   3ÿtore
                               was  95!7ÿ$upAÿ4bad
                                                3ÿ3and
                                                     "ÿhad
                                                         #3ÿ9to5ÿ4be7
 10ÿ0rebuilt.
 12    !74$8%9
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13              0ÿ0Was
                        3ÿ9# 7ÿ7exterior
                            the    D97!85!ÿstructure
                                             9!$'9$!7ÿ4built
                                                            $8%9ÿ4from
                                                                    !51
 1)0ÿ0concrete
 14    '5"'!797ÿ4%5'(
                  block?
 130ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15              0ÿ0I7ÿ5"E
                         don't9ÿremember.
                                 !717147!0ÿI7ÿdon't
                                                    5"E9ÿremember
                                                          !717147!
 150ÿ0how
 16          #7ÿ5$987ÿ9!
       #5ÿ9the               $'9$!7ÿwas
                 outside structure      3ÿ1made
                                              37ÿ5of,
                                                     42ÿ4because
                                                          7'3$7ÿthey
                                                                    9#70
 160ÿ0had
 17    #3ÿ3aÿ8447!7"9ÿ97D   9$!7ÿon
               different textures     5"ÿ--
                                          FFÿ5on"ÿ9those
                                                    #57ÿ4buildings,
                                                            $8%8"&2
 180ÿ0different
 18    8447!7"9ÿ1397!83%
                   materials. 
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19              0ÿ0You
                       5$ÿ8 "E9ÿ4build
                            didn't    $8%ÿ3aÿwhole
                                                #5%7ÿ"new
                                                         7ÿ4building
                                                              $8%8"&
 C0ÿ0for
 20    45!ÿ9 #39ÿ5"7ÿ4$8%8
            that              "&2ÿdid
                  one building,      8ÿyou?
                                         05$
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21              0ÿ0Aÿ&55
                         goodÿ4  89ÿof
                                bit  54ÿit.
                                         89
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22              0ÿ0But
                       G$9ÿ"5
                           not9ÿ3aÿwhole
                                     #5%7ÿ4brand
                                             !3"ÿnew
                                                    "7ÿ5one?
                                                          "7
 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23              0ÿ0No.
                       H5
 )0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24              0ÿ0When
                        #7"ÿ0 5$ÿsay
                             you    30ÿ3aÿgood
                                          &55ÿ4bit
                                                  89ÿ5of4ÿ8it,
                                                            92ÿ9tell
                                                                 7%%ÿme17
 30ÿ0what
 25    #39ÿ05$ÿ8
             you did.


                                                            ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijdhklhm
                                                            EsquireSolutions.com
                                                                               p7!14
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                            October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            yq     148

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ056778ÿ
               A.    Well, 9aÿgood
                              ÿportion
                                       ÿofÿthat
                                                   9ÿback
                                                           9!"
 0#0ÿ0
  2     $7ÿ9ÿÿ
       building          6ÿredone
                 had to be 66ÿfrom%ÿthe
                                             6ÿground
                                                  $ÿ$up.
                                                           4
 0&0ÿ0ÿ0ÿ0ÿ0ÿ0
  3            '40ÿ0(ÿ)90
               Q-    So wasÿ ÿ9all
                             it   77ÿ)wood
                                        ÿframed?
                                              9%61
 020ÿ0ÿ0ÿ0ÿ
   4        0ÿ0A.
               340ÿ03604
                     Yes.
 040ÿ0ÿ0ÿ0ÿ0ÿ0
   5           '40ÿ05ÿ
               Q.          6ÿinterior
                     Did the   6ÿ$units
                                           0ÿhave
                                                   966ÿtoÿbe6
       6 $78ÿ)9778ÿ0$
 0670ÿ0rebuilt,            01
                 wall, studs?
 080ÿ0ÿ0ÿ0ÿ0ÿ0
   7           340ÿ0
               A.    3604
                     Yes.
 0890ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               '40ÿ0@ÿ 6ÿ6entire
                     For the   6ÿbuilding?
                                         $71
 09A0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    B6C
                     Prettyÿ% $!4
                             much.
 1D
 100ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               '40ÿ0E6ÿ6 0ÿofÿthe
                     The rest        6ÿbuildings
                                          $70ÿ)were66ÿnot
                                                              
 11
 110ÿ0697 Cÿ9%96ÿ90ÿ%
       nearly              $!ÿ9as0ÿCyou've
              damaged as much         $F66ÿGjust
                                               $0ÿdescribed?
                                                      60! 61
 1#
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    E6Cÿ)66ÿinÿpretty
                     They were        6Cÿbad9ÿ0shape.
                                                     9640ÿ3Aÿ7lot
                                                                 
 1&
 130ÿ0ÿ 6ÿ0ÿ)90ÿ
       of the              6ÿoff.
              roofs was ripped     40ÿ5Water
                                           96ÿgot
                                                   ÿinÿ6every
                                                             66C
 12
 140ÿ0building
        $7ÿ6Cÿ%$! 4
                 pretty much.
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ0'40ÿ0
               Q-    3ÿ7ÿ
                     A lot 
                           ofÿinterior
                                 6ÿrenovations?
                                           66901
 17
 160ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    3ÿ
                     A goodÿbit
                              ÿofÿit.
                                        40ÿEThere
                                              66ÿ)was
                                                      90ÿ9also
                                                           70
 18
 170ÿ0some
       0%6ÿHHÿ9ÿ7ÿÿ6I 6ÿ)work,
               a lot of exterior      "8ÿtoo,
                                              8ÿsealing
                                                   0697ÿthem
                                                               6%
 19
 180ÿ0$4
       up.
 1A
 190ÿ0ÿ0ÿ0ÿ0ÿ0'40ÿ0
               Q-    (697ÿthem
                     Sealing   6%ÿ$up,
                                      8ÿbut
                                           $ÿnot
                                                ÿhaving
                                                      96ÿto
 #D0ÿ0rebuild
 20    6 $7ÿ6%1
                them?
 #10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21            340ÿ0P4
                     Right.
 ##0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22            '40ÿ0(ÿÿ QF%ÿ7looking
                     So if I'm    "ÿback9!"ÿ9atÿCyour
                                                        $
 #&0ÿ097!9ÿ66ÿ)
 23                        66ÿitÿsays
       application here where        09C0ÿproject
                                             G6!ÿtype,
                                                        C68ÿthere
                                                               66
 #20ÿ00ÿ9ÿ
 24          Iÿÿ6)ÿ!
       is a box            0$!ÿ9and
                 for new construction      ÿ9aÿbox
                                                   Iÿfor
                                                         
 #40ÿ0renovation
 25    669ÿ9ÿ6C
                   and theyÿ9 6ÿboth
                             are   ÿchecked.
                                         !6!"640ÿ5DoÿCyou
                                                           $ÿsee
                                                               066
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               3r61
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            st     149

 010ÿ0
  1    34536
       that?
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  2              890ÿ0439
                 A.    Right.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  3              90ÿ0ÿ
                 Q.            3!"ÿis:#0ÿ$
                       My question           Isÿ3 4ÿ"new
                                                 the   %
 0&0ÿ0
   4   '!" 3('3!"ÿ)5(3ÿ3
       construction           4ÿ(repairing
                       part the    )5("ÿ!of0ÿ3the4ÿbuilding
                                                         123"
 0540ÿ0that
       3453ÿyou
             !ÿ5
                  just3ÿ3 '(13ÿ0for
                        described     !(ÿme
                                          6ÿ!of0ÿ3that
                                                    453ÿ!one
                                                          "
 0670ÿ0building?
       123"6
 0780ÿ0ÿ0ÿ0ÿ0ÿ0A.890ÿ0There
                       94(ÿ%was
                               5 ÿ(replacement
                                     )25'6"3ÿof  !0ÿthe
                                                       34ÿ%wing
                                                              "ÿ!of0
 08@0ÿ0that
       3453ÿbuilding
             123"ÿ3453ÿ
                        that % 5 ÿ3destroyed.
                              was     3(!390ÿ8    "3ÿ$Iÿdidn't
                                                    And    33"A3ÿBB
       %5 ÿ3there
 09C0ÿ0was   4(ÿsome
                     !6ÿ!34
                         other(ÿBBÿI$ÿ6mean,
                                         5"DÿI$ÿ3don't
                                                    !"A3ÿEknow
                                                           "!%ÿto3!
 1F0ÿ0what
 10    %453ÿextent,
             G3"3Dÿ13ÿ34   (ÿ%was
                       but there     5 ÿa5ÿ2lot
                                             !3ÿ!of0ÿBBÿthe
                                                         34ÿ%whole
                                                               4!2
 11    5!1DÿI$ÿ65"Dÿ3ÿ%5
 110ÿ0job,     mean, it wasÿ5  aÿdisaster
                                  3 5 3(ÿthat
                                              3453ÿsite.
                                                      390ÿThere
                                                              94(
 170ÿ0was
 12    %5 ÿso!ÿ6'4ÿ%!(EDÿ
                much work, it 3ÿ%was
                                  5 ÿunbelievable.
                                      "12H51290ÿI     H(34"
                                                          Everything
 10ÿ0was
 13    %5 ÿ3damaged,
             5653Dÿ5   3ÿ2like
                       just   Eÿeverything
                                   H(34"ÿin  "ÿPNew
                                                       %ÿQOrleans.
                                                            (25" 9
 1&0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14              90ÿ0No,
                       P!Dÿ" 3( 3!!390ÿ8
                           understood.        "3ÿ$I'm
                                             And    A6ÿ5just
                                                         3
 140ÿ0trying
 15    3("ÿBBÿ%4"ÿ!ÿ
               -- when you B   Bÿwhen
                              --  %4"ÿyou
                                         !ÿ5are
                                               (ÿ'checking
                                                     4'E"ÿ3the4ÿbox
                                                                    1!G
 16    4(Dÿ!(ÿ53ÿ25
 170ÿ0here,   or at least 3ÿyou
                              !ÿ5are    ""ÿ3the
                                   (ÿsigning       4ÿ5application
                                                         ))2'53!"
 180ÿ0for
 17    0!(ÿ3 4ÿ1!Gÿ3453A
            the  box that'sÿchecked
                              '4'E3ÿ"new%ÿ'construction,
                                               !" 3('3!"Dÿhave 45H
 1@0ÿ0we
 18    %ÿ'! H(3ÿ522ÿ34ÿ
           covered            "%ÿ'construction
                     all the new     !" 3('3!"ÿ)part5(3ÿ!of0ÿ3the
                                                                 4
 1C0ÿ0proj
 19    )(!5 '36
            ect?
 7F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20              890ÿ09453A
                       That'sÿ%  453ÿ$Iÿcan
                               what      '5"ÿ(remember.
                                               661(9
 710ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21              90ÿ094ÿBB
                       The --ÿif0ÿyou
                                     !ÿgo
                                         !ÿback
                                             15'Eÿ3to!ÿ3the
                                                         4ÿ)permit
                                                              (63
 770ÿ0application's
 22    5))2'53!"A ÿG41    3Dÿ%which
                        exhibit,     4'4ÿis
                                            ÿ308,
                                                 F@Dÿ3turn
                                                       ("ÿto
                                                            3!ÿthe
                                                                 34
 70ÿ0second
 23     '!"3ÿ)59
                page.0ÿI$ÿE"!
                          know%ÿit's
                                 3A ÿ5aÿ2little
                                           332ÿ1blurry,
                                                     2((Dÿbear
                                                              15(
 7&0ÿ0with
 24    %34ÿ69
             me.0ÿDoR!ÿ!ÿ( '!"Sÿ3this
                       you recognize      4 ÿapplication?
                                               5))2'53!"6
 740ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25              890ÿ0$ÿ65"
                       I mean,DÿI$ÿ3didn't
                                     3"A3ÿ3do!ÿit.
                                                 39
                                                            ÿde
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fghijklmnhoimpfqmr
                                                            EsquireSolutions.com
                                                                               uv(10
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      UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.          t      150

  010ÿ0ÿ0ÿ0ÿ0ÿ0
   1              340ÿ056ÿ768
                   Q.  Do youÿrecognize
                              96ÿthe ÿform
                                                  69ÿ6ofÿthe
                                                             
  020ÿ0!""#!6$
         application?
  0%0ÿ0ÿ0ÿ0ÿ0ÿ0
    3             &40ÿ0'6ÿ9
                  A.         !##740ÿ(Because
                       Not really.     !8)ÿit's
                                                  0)ÿthe
                                                         ÿ1City
                                                              7ÿ6of
 020ÿ0
    4    39ÿ!4ÿ5ÿ!60
         Kenner              ÿ4done
                 and I haven't   6ÿmuch
                                       8ÿ77ÿhad!4ÿto6ÿ4deal
                                                            !#ÿ8with
                                                                  
 090ÿ0
   5     ÿ"9ÿ6ÿ
         the permit          ÿ3Kenner
                     office in   9ÿmuch.
                                          84
 0@0ÿ0ÿ0ÿ0ÿ0ÿ0
    6             340ÿ0A6ÿ8
                  Q.         ÿ7you
                       So when   68ÿ7—7ÿ8whatever
                                          !69ÿ8work
                                                     69Bÿ7you68ÿ4did
                                                                  4
 0C0ÿ0
    7    6ÿÿA8!9ÿD##ÿ&
         on the              "!9)ÿ4didn't
                Sugar Mill Apartments      40ÿinvolve
                                                    66#6
 0E0ÿ0
    8    "9$
         permitting?
 0F0ÿ0ÿ0ÿ0ÿ0ÿ0
   9              &40ÿ0(!Bÿ
                  A.         ÿthings
                       Back then   )ÿ8were
                                             9ÿso
                                                  )6ÿ#loose
                                                       66)ÿinÿ'New
                                                                   8
 1G
  100ÿ0Orleans
         H9#!)ÿ!9ÿÿ 899!Iÿthey
                  after the hurricane,     7ÿ8were
                                                  9ÿ7—7ÿ"people
                                                             6"#
 11      were P8)ÿ9!!#
  110ÿ089ÿ                 #7ÿtrying
              just frantically    97ÿto6ÿget
                                               ÿthings
                                                    )ÿfixed.
                                                              Q44
 1120ÿ0I5ÿ! Iÿ"9)ÿ89
           mean,             ÿreally
                  permits were  9!##7ÿ#loose
                                          66)ÿRback
                                                  !Bÿthen.
                                                         4
 1%
  130ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0(8ÿ6
                   Q.  But toÿ! )89ÿmy7ÿSquestion,
                               answer        8)6Iÿ7you68ÿ8were
                                                               9
 12
  140ÿ06ÿ  66#64ÿÿ
         not involved  in theÿ" 9ÿ"process
                              permitting      96))ÿ7--7
 19
  150ÿ0ÿ0ÿ0ÿ0ÿ0&40ÿ0
                  A.   '64
                       No.
 1@
  160ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ077ÿ69
                   Q.     forÿ ÿASugar
                              the    8!9ÿDMill
                                             ##ÿ&Apartments,
                                                   "!9)Iÿ8were9
 1C
  170ÿ0768$
         you?
 1E
  180ÿ0ÿ0ÿ0ÿ0ÿ0&40ÿ0'64
                  A.   No.
 1F
  190ÿ0ÿ0ÿ0ÿ0ÿ0Q. 340ÿ0HB!74
                       Okay.0ÿ( 8ÿ7you
                              But    68ÿhave
                                          !6ÿ)seen
                                                ÿ"permit
                                                       9
  2G0 0ÿ0!""#!6)ÿ96ÿ ÿ1City
         applications from the    7ÿ6ofÿ3Kenner
                                             9ÿRbefore,
                                                     69Iÿhave
                                                                !6
 21 10ÿ0768$
         you?
  2 2 0ÿ0ÿ0ÿ0ÿ0ÿ0&40ÿ05ÿ!7ÿ
                  A.   I may !6IÿRbut
                             have,    8ÿit's
                                           0)ÿRbeen
                                                  ÿ!awhile,
                                                         8#40ÿTWe
 23 %0ÿ0!6 0ÿ869B4ÿÿ
         haven't             ÿ1City
                  worked in the   7ÿ6ofÿ3Kenner
                                             9ÿ"probably
                                                     96R!R#7ÿsince
                                                                )
 24 20ÿ046ÿ!ÿ#6ÿ6ÿ)
         doing a lot of thisÿ8  69B4
                              work.
 25 90ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0A6ÿÿ
                   Q.  So in ÿtop
                             the   6"ÿ#left-hand
                                        7!4ÿcorner
                                                    699ÿthere,
                                                               9I
     @ESQUIRE                                               800.211.DEPO
                                                              ÿ(3376)
                                                                             def
                     DEPOSITION SOLUTIONS                    g hijklmnoipjnqgrcom
                                                             EsquireSolutions.   ns
                                                                                 uv91
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       bcdceÿghÿipqrep                                    vÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
       bcdcÿipqrepÿsctceruÿqvtderqdveÿwxÿvypvÿqrrudÿpth
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            {     151

 010ÿ0
   1     34ÿ567ÿ458ÿ69936
         it has the applicant  4ÿname
                                   68ÿPete
                                         848ÿVicari
                                             363ÿ6andÿ4the
                                                              58
 00ÿ0
    2    6877ÿ1
         address  1900ÿ!8748  56"0ÿDo
                        Destrehan.    !#ÿ$you
                                           #%ÿ7see
                                                88ÿ4that?
                                                     564&
 0'0ÿ0ÿ0ÿ0ÿ0ÿ0
    3             ("0ÿ0Right.
                  A.    )3054"
 0410ÿ0ÿ0ÿ0ÿ0ÿ02"0ÿ0That's
                   Q.   356447ÿ4the
                                 58ÿcompany
                                      #96$ÿname
                                                68ÿand
                                                     6ÿ6address?
                                                             877&
 0550ÿ0ÿ0ÿ0ÿ0ÿ0A. ("0ÿ0Correct.
                        6#84"
 070ÿ0ÿ0ÿ0ÿ0ÿ02"0ÿ08ÿ453
   6               Q.   I think9ÿ4the
                                   58ÿdate
                                      648ÿ4to#ÿ4the
                                                  58ÿright
                                                       3054ÿ3is7ÿ920
                                                                 
 0@0ÿ0
    7    7#84530ÿ#Aÿ4
         something        5"0ÿDoes
                     of '05.   !#87ÿ4that
                                      564ÿlook
                                            ##9ÿright
                                                   3054ÿto4#ÿyou?
                                                              $#%&
 0B8 0ÿ0ÿ0ÿ0ÿ0ÿ0A.("0ÿ0#C6C  $"0ÿ3
                        Probably.     56447ÿDwhen
                                     That's    58ÿ4the
                                                     58ÿ5hurricane
                                                           %368
 090ÿ0hit
         534ÿright
               3054ÿ3ÿ(%0%74
                     in Augustÿ# Aÿ'05.
                                of  4 5"
 1 0ÿ0ÿ0ÿ0ÿ0ÿ02"0ÿ0And
 10                Q.   (ÿ3 054ÿ%underneath
                             right   88645ÿit,34Eÿ3it4ÿ3identifies
                                                             843A387
 11      68ÿFFÿ#ÿ8G%78ÿ
 110ÿ0name        or excuse me,8Eÿ6address
                                    877ÿof
                                            #Aÿconstruction
                                                #74%43#ÿ7site,
                                                                  348E
 10ÿ04520
 12      15 ÿH3367ÿI#%8   P6EÿQKenner.
               Williams Boulevard,     88"0ÿ(   ÿ3it4ÿ7says
                                                  And        6$7ÿSugar
                                                                 R%06
 1'0ÿ0Mill
 13      S3ÿ(3ÿ#98G"
               APT complex.0ÿIs87ÿ4that
                                    564ÿFFÿdid
                                            3ÿ8Iÿread
                                                    86ÿ4that
                                                             564
 110ÿ0right?
 14      3054&
 150ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15               ("0ÿ06#8  4"
                        Correct.
 170ÿ0ÿ0ÿ0ÿ0ÿ02"0ÿ0T96$"
 16                Q.   Okay.0ÿU 6P#4ÿand
                                Favrot   6ÿRShane,
                                               568EÿUF-A-V-R-O-T,
                                                        F(FF)FTF3E
 1@0ÿ0and
 17      6ÿRShane,
               568EÿRFVF(FWF
                      S-H-A-N-EXÿ6are
                                   8ÿlisted
                                      3748ÿ6as7ÿ4the
                                                    58ÿ#owners.
                                                          D87"0ÿDid
                                                                   !3
 1B0ÿ0you
 18      $#%ÿDwork
               #9ÿD345ÿ458ÿ  C8A#8&
                    with them before?
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19               ("0ÿ0Y87"
                        Yes.
 2 0 0ÿ0ÿ0ÿ0ÿ0ÿ02"0ÿ0!#ÿ$#%
                   Q.   Do youÿ 86ÿ4them
                                recall    58ÿCbeing
                                                830ÿthe
                                                       458ÿ#owners
                                                              D87ÿ#ofA
 10ÿ0that
 21            9#`84&
         4564ÿproject?
 
  2 2 0ÿ0ÿ0ÿ0ÿ0ÿ0 ("0ÿ0Y87"
                  A.    Yes.
 '0ÿ0ÿ0ÿ0ÿ0ÿ02"0ÿ03588ÿ
 23                Q.   There 3 7ÿ6aÿdescription
                               is    873943#ÿ#ofAÿ4the58ÿDwork,
                                                               #9E
 10ÿ0"Hurricane
 24      aV%368ÿ89637E
                      repairs,ÿ ##AEÿdrywall,
                                roof,  $D6EÿAflooring,
                                                    ##30Eÿ6and
 50ÿ0elec,"
 25      88Eaÿ8843Eÿ8ÿ   0%877"0ÿY
                 electric, I guess.       #%ÿ7see
                                         You   88ÿ4that?
                                                    564&
                                                            defgÿijjklm
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   enopqrstuvpwquxnyuz
                                                            EsquireSolutions.com
                                                                               Y81A
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       Y`a`bÿdeÿfghibg                                    sÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
       Y`a`ÿfghibgÿp`q`birÿhsqabihasbÿtuÿsvgsÿhiwxirayÿgqwe
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           x     152

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ05674
                 A.   Yes.
 080ÿ0ÿ0ÿ0ÿ0ÿ0
   2             940ÿ07ÿ
                 Q.         ÿaccurate?
                      Is that   6
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   3             340ÿ0ÿ6
                 A.         !ÿ"it's
                      I mean,   #7ÿhurricane
                                       " 6ÿrepairs.
                                                      6$"740ÿIt's
                                                                   #7
 0%0ÿ0
   4    6&6'" (4
        everything.
 05)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.940ÿ0Okay.
                      01'40ÿ3Anything
                                '" (ÿ2onÿhere66ÿthat
                                                       ÿ'you
                                                              2ÿsee
                                                                  766
 030ÿ0#
   6         7ÿ"incorrect?
        that's    26
 040ÿ0ÿ0ÿ0ÿ0ÿ0
   7             340ÿ0
                 A.   ÿ&6
                      I haveÿno2ÿ"idea.
                                   5640ÿ Iÿcan't
                                               #ÿread
                                                        65ÿaÿ6lot
                                                                  2ÿ2of7
 080ÿ0
   8    "4
        it.
 0990ÿ0ÿ0ÿ0ÿ0ÿ0940ÿ0@2A"
                   Q-       (ÿ'you
                      Showing   2ÿBExhibit
                                     C"D"ÿENumber
                                                  D6ÿ310.
                                                           1F40ÿGTake
                                                                   16
 1F
 100ÿ0ÿ2  6 ÿ2ÿ6221ÿ
        a moment  to look atÿ ÿand5ÿ6let
                              that         6ÿme6ÿ1know
                                                       2AÿAwhen
                                                             6 ÿ'you
                                                                   2
 11
 110ÿ06ÿ5  2 64
        are done.
 18
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 A.   01'40ÿGTwo
                      Okay.    A2ÿ$pages.
                                    (674
 1
 130ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿHG66   $2 !ÿIDefendant's
                      (Thereupon,    676 5 #7ÿBExhibit
                                                       C"D"ÿENo.24
 1%
 140ÿ0ÿ0ÿ0ÿ0ÿ01FÿA7ÿ   165ÿ7for
                 310 was marked    2ÿ"identification.)
                                        56 "7""2 4P
 1)
 150ÿ0Q5ÿRS4ÿT3UV0EW
        BY MR. LAWHON:
 13
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q. 940ÿ0GA2ÿ$(6740ÿIDo2ÿ'you
                      Two pages.         2ÿrecognize
                                              62( "X6ÿthe  6ÿsign?
                                                                  7"( 
 170ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 14              A.   #7ÿ
                      It's aÿnew
                               6Aÿ7sign.
                                    "( 40ÿ   ÿAwasn't
                                             It    7 #ÿthere
                                                             66ÿAwhen
                                                                    6
 18
 180ÿ0A6ÿA6  6ÿ664
        we were  there.
 19
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q. 940ÿ0Okay.
                      01'40ÿ5 2ÿ5didn't
                             You    "5 #ÿDbuild
                                              "65ÿthe6ÿsign?
                                                           7"( 
 8F
 2 0 0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 A.   E24
                      No.
 810ÿ0ÿ0ÿ0ÿ0ÿ0940ÿ0V&6ÿ'
 21                Q-       2ÿseen
                      Have you  766 ÿthat
                                        ÿsign,
                                              7"( !ÿthe6ÿnew6Aÿ2one?
                                                                    6
 2 2 0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 88              A.   ÿ$77
                      I     65ÿthere
                        passed   66ÿrecently,
                                         66 6'40ÿIÿnoticed2"65
 80ÿ0
 23     ÿ
        that 6'ÿ$565ÿ 6ÿ$place.
             they updated the    664
 8%0ÿ0ÿ0ÿ0ÿ0ÿ0
 24              940ÿ0I"5ÿ'2
                   Q.       ÿ$pass
                      Did you   77ÿ"itÿto2ÿ(go2ÿ6look
                                                     221ÿatÿthe
                                                                6
 8)
 250ÿ0$6    7ÿ2ÿ72ÿ7
        apartments          26ÿ2other
                    or for some    6ÿ$purpose?
                                           $276
                                                            800.211.DEPO
                                                              dÿf(3376)
                                                                            gghij
                     DEPOSITION SOLUTIONS                    klmnopqrsmtnrukvcom
                                                             EsquireSolutions.  rw
                                                                                5y617
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       QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                            October 16, 2018
       QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.             xpq    153

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ05640ÿ
                 A.         7689ÿ6other
                       No. Some     9ÿpurpose.
                                             694
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   2             40ÿ0ÿ
                   Q.  But atÿleast
                                9ÿ!it's
                                         "ÿ#named
                                               89$ÿthe
                                                     9ÿ7Sugar
                                                            %ÿ&Mill
                                                                   !
 0'0ÿ0
   3    389#ÿ(689)ÿ!
        Apartment             "ÿthe
                    Homes, it's    9ÿsame
                                       89ÿplace,
                                                09)ÿsame
                                                        89ÿlocation
                                                              60!6#
 010ÿ0
   4    299ÿ36ÿ$!$ÿ9ÿ2
        where                 64ÿthat
               you did the work     ÿ2we've
                                           9"59ÿ6been
                                                   99#ÿtalking
                                                          4!#%
 0570ÿ0about?
        668
 090ÿ0ÿ0ÿ0ÿ0ÿ0A.
   6             340ÿ0Correct.
                       @6904
 07A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.40ÿ0All
                       3 ÿ!  %40ÿ3
                           right.      #$ÿthe
                                      And    9ÿsecond
                                                  906#$ÿpicture,
                                                         !09)
 0B0ÿ0
   8    0#ÿ3you
        can   6ÿ9
                 tellÿ89ÿ2
                       me whatÿthat
                                ÿis?
                                       !8
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0A.340ÿ0Looks
                       D664ÿlike
                               !49ÿ!it's
                                      "ÿ6one
                                             #9ÿof
                                                6Eÿthe
                                                    9ÿ6buildings.
                                                          ! $!#%4
 1F0ÿ0Didn't
 10     G!$#"ÿlook
                 664ÿlike
                       !49ÿ ÿ2when
                           that    9#ÿwe29ÿ2were
                                              99ÿthere.
                                                    994
 110ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0It
 11                Q.  Hÿ$!$ #"ÿlook
                          didn't    664ÿlike
                                           !49ÿthat
                                                  ÿwhen
                                                       29#ÿyou
                                                             36
 10ÿ0started?
 12     9$8
 1'0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13              340ÿ0No.
                       5640ÿHe
                            (9ÿsince
                                  !#09ÿIIÿhe 9ÿsince
                                                  !#09ÿrenovated
                                                         9#659$
 110ÿ0this
 14     !ÿplace.
                0940ÿ&4ÿ7  #9ÿ$does
                       Mr. Shane    69ÿrenovations
                                          9#65!6#ÿ0constantly.
                                                          6## 34
 170ÿ0He
 15     (9ÿ62 #ÿ659ÿC)FFFÿ
            owns              89#)ÿso6ÿhe9ÿalways
                 over 9,000 apartments,                 23
 190ÿ0updating
 16     $!#%ÿ!ÿ   09ÿand
                  his places    #$ÿchanging
                                    0#%!#%ÿthe 9ÿ2way
                                                       3ÿthey
                                                            93ÿlook.
                                                                  6644
 1A0ÿ0So
 17     76ÿHÿ 06 $#"ÿ9
           I couldn't   tellÿ3 6ÿ!ifEÿsomething
                              you        689!#%ÿis!ÿ$different
                                                         !EE99#
 1B0ÿ0than
 18     #ÿwhen
              29#ÿ29ÿ299ÿ  994
                    we were there.
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19              40ÿ0P434
                       Okay.0ÿH #ÿterms
                               In   98ÿ6ofEÿthe
                                                9ÿ6overall
                                                     59
 F
 2 0 0ÿ06! $!#%ÿE66!#)
        building  footprint,ÿ  ÿthat
                               has    ÿchanged?
                                           0#%9$8
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21              340ÿ0Hÿ59
                       I haveÿ#no  !$940ÿD
                                6ÿidea.       !49ÿHIÿsaid,
                                             Like    !$)ÿhe's
                                                              9"ÿII
 
 2 2 0ÿ09ÿ$
        he    $ÿ6#ÿ#$ÿ0#
            adds              %9ÿthings
                 on and changes     !#%ÿ0constantly.
                                              6## 34
 '0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23              40ÿ0Does
                       G69ÿthe
                              9ÿIIÿso6ÿ!itÿlooks
                                               664ÿlike
                                                       !49ÿthere
                                                            99ÿare
                                                                    9
 10ÿ0three
 24     99ÿEfloors
                 66ÿ2!ÿ  #!ÿand
                       with units     #$ÿthen
                                           9#ÿthere
                                                  99ÿis
                                                        !ÿaÿroof
                                                                66E
 70ÿ0over
 25     659ÿ9ÿ!$ÿE   6640ÿG
              the third floor.      69ÿthat
                                   Does    ÿlook
                                                  664ÿthe
                                                        9ÿsame?
                                                            898
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               rs91E
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           vw     154

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ0355678
                 A.          9ÿto.
                       Appears   40ÿ Iÿmean,
                                         67ÿIÿdon't
                                                     ÿ8remember.
                                                              66684
 00ÿ0
   2     !"#"$9ÿ786ÿ"%%6
        Buildings            86ÿ9shapes
                    are different     &7569ÿ7and
                                               ÿ9sizes
                                                    "'69ÿthrough
                                                            &8!$&
 03(0ÿ0&6ÿ)5#604
        the complex.0ÿI ÿ67ÿthey
                          mean,    &61ÿ2kind
                                         "ÿof%ÿ#look
                                                    2ÿthe
                                                           &6ÿsame,
                                                               976
 030ÿ0
   4    !ÿ&6186ÿ7ÿ#"#
        but they're          6ÿ4—4ÿevery
                      a little      65681ÿone
                                             6ÿ"is9ÿ7aÿ#little
                                                          "#6
 060ÿ0
  5     "%%6864
        different.
 070ÿ0ÿ0ÿ0ÿ0ÿ0
   6             840ÿ03ÿ!
                   Q-        6897"$ÿthat
                       And understanding       &7ÿthey
                                                     &61ÿ7are
                                                            86ÿ4--4ÿ7are
                                                                      86
 090ÿ0
   7    "%%686ÿ!ÿ@!9
        different,   but justÿsort
                              98ÿof%ÿ"inÿ7aÿ$general
                                                  6687#ÿAway,
                                                            71ÿ7are86
 0B0ÿ0
   8    &61ÿ
        they 44ÿÿ&61ÿ7##
             -- do they allÿ&   756ÿthe
                               have    &6ÿthird
                                            &"8ÿ4--4ÿthe
                                                        &6ÿthree
                                                             &866
 0C0ÿ0
  9     %#89ÿA"
        floors    &ÿ&7ÿ8
                with         %5ÿ7attic
                      that rooftop     ")ÿ7access
                                               ))699ÿthat
                                                        &7ÿ1you
                                                               !
 1D0ÿ0
 10     69)8"6E
        described?
 110ÿ0ÿ0ÿ0ÿ0ÿ0
 11              34
                 A.0ÿ0ÿ&" 2ÿ9so.
                       I think   4
 10ÿ0ÿ0ÿ0ÿ0ÿ0
 12              840ÿ039ÿ)
                   Q.        98!)6ÿby1ÿ4--4ÿ7as9ÿdone
                       As constructed                  6ÿby1ÿFPVGC?
                                                                  GHIE
 1(0ÿ0ÿ0ÿ0ÿ
 13          0ÿ034
                 A.0ÿ039ÿ%78
                       As farÿ7 9ÿIÿ2know.
                               as      A40ÿ Iÿ 67ÿthey
                                                  mean,    &61ÿcould
                                                                 )!#
 13
 140ÿ0&756ÿ
        have )&7$6ÿ"4
             changed it.
 16
 150ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0P2"
                   Q.        $ÿback
                       Looking   7)2ÿ7atÿ1your,
                                            !8ÿAwhat
                                                    &7ÿIÿAwill
                                                             "##ÿ)call
                                                                     7##
 17
 160ÿ0&6ÿ"  ""7#ÿ87%ÿ
        the initial          %ÿthe
                      draft of         55#")7"ÿ9soÿAwe6ÿ@just
                                 &6ÿ7application               !9
 19
 170ÿ0
        don'tÿ&756ÿÿ2665ÿ  )7##"$ÿ"itÿQExhibit
              have to keep calling           0&""ÿ(302.
                                                        D40ÿInitial
                                                                 ""7#
 1B
 180ÿ087%
        draftÿ%ÿ&6ÿ755#")  7"ÿ"inÿ)comparing
              of the application,           578"$ÿAwhat's
                                                          &79ÿ"in
 1C
 190ÿ0&6ÿ  0ÿ%8ÿR!$78ÿS
        the box              "##ÿ2,ÿAwhat
                 for Sugar Mill         &7ÿ1you're
                                               !86ÿ#looking
                                                        2"$ÿ7at
 D
 2 0 0ÿ0Aÿ"ÿ&6ÿ755#")7
        now in               "ÿthat
                the application     &7ÿAwas
                                          79ÿsubmitted
                                               9!"6ÿtoÿTDBPR FUÿ7a
 21     )!5#6ÿ&"$9ÿ)7!$&
 10ÿ0couple    things caughtÿmy1ÿ7attention,
                                      6"40ÿRSoÿone6ÿ"is9ÿ&how
                                                                    A
 0ÿ0
 22     )6ÿ"ÿ9719ÿ"ÿ&6
        come it says in theÿ"   ""7#ÿdraft
                               initial    87%ÿof%ÿthe
                                                       &6
 (0ÿ0755#")7"ÿ&7ÿ"
 23     application that it's9ÿ3400
                                   DDÿ9square
                                        V!786ÿ%feet
                                                  66ÿ7and
                                                        ÿthen
                                                             &6ÿ"in
 30ÿ0&"9ÿ6ÿ"ÿ9719ÿ3D
 24                          DDDÿ9square
        this one it says 40,000       V!786ÿ%feet?
                                               66E
 60ÿ0ÿ0ÿ0ÿ0ÿ034
 25              A.0ÿ0ÿ ÿsure.
                       I'm not  9!864
                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                             eefgh
                     DEPOSITION SOLUTIONS                    i jklmnopqkrlpsitcom
                                                             EsquireSolutions.   pu
                                                                                 xG681%
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       QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                            October 16, 2018
       QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.             xpp    155

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ056784
                 Q.   Okay.0ÿSo
                              9ÿisÿthat
                                        7ÿsomething
                                              ÿthat
                                                          7ÿyou
                                                                 8
 02 0ÿ0missed
        !ÿ"ÿ8ÿ"#
                when you wereÿreading
                               #7!ÿthe ÿ7application
                                                 $$%&7ÿ7as
 0'30ÿ0"%%(
        well?
 04)0ÿ0ÿ0ÿ0ÿ0ÿ0A.040ÿ0Well,
                      1%%2ÿthe
                              ÿ!draft
                                    #73ÿ7application
                                            $$%&7ÿ"was7ÿput
                                                                $
 0540ÿ0together
        #ÿ7!ÿ785ÿ
                  and maybe  ÿwas
                             it  "7ÿ6--6ÿinformation
                                            3#7ÿ"was7
 070ÿ0misconstrued
   6    &#!ÿÿ"7
                      on whatÿitÿreally
                                    #7%%8ÿ"was.
                                              740ÿI8ÿmean,
                                                         72ÿuntil
                                                                %
 0790ÿ0we
        "ÿ! @ÿ!$ÿÿ
           dive              2ÿ"weÿcaught
                 deep into it,       &7ÿsome
                                              ÿ%little
                                                      %ÿerrors
                                                                ###
 0A0ÿ0
   8    7ÿwe
        that  "ÿ!ÿÿ3B
                 need to fix.4
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0Well,
                   Q. 1%%2ÿ!doesn't
                              Dÿsound
                                         !ÿlike
                                               %6ÿ7anybody's
                                                       85!8D
 1E0ÿ0fixed
 10     3B!ÿ2ÿ7ÿ%7
               them, at leastÿ8yet.
                                 40ÿSo9ÿare
                                            7#ÿ8you
                                                  ÿ7aware
                                                       "7#ÿof3
 11     5!8ÿ3Bÿ
 110ÿ0somebody               ÿerrors
                  fixing these     ###ÿthat
                                          7ÿwe"ÿ$pointed
                                                      !ÿoutÿso
                                                                     
 1 0ÿ0far?
 12     37#(
 1'0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13              040ÿ0Through
                      F#ÿthe
                                 ÿ$process
                                      #&ÿof3ÿthe
                                                    ÿdifferent
                                                         !33#
 1)0ÿ0little
 14     %%ÿ#@4
                revisions.0ÿI8ÿmean,
                                 72ÿthings
                                         ÿwere
                                                 "#ÿ&corrected
                                                         ##&!
 140ÿ0that
 15     7ÿBruce
              G#&ÿ&7ÿ
                    caught or#ÿmy8ÿdad
                                    !7!ÿ&caught
                                          7ÿor#ÿmy8ÿmom
                                                          ÿ&caught
                                                                 7
 170ÿ0or
 16     #ÿ8ÿ &740ÿI8ÿ7
           I caught.         2ÿnobody
                          mean,    5!8ÿis
                                          ÿ$perfect.
                                               #3&4
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17              340ÿ0G#&ÿ
                      Bruce 5 ÿ"who?
                             being    (
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18              040ÿ08ÿ7
                      I mean,2ÿnot
                                 ÿBruce.
                                     G#&40ÿDavid
                                               H7@!ÿGBryant.
                                                         #874
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0Hÿ8
 19                Q. Do youÿ $&3&7%%8ÿ#recall
                              specifically       &7%%ÿcorrecting
                                                         &##&
 2E0 0ÿ08#ÿapplication
        your  7$$%&7ÿ
                           toÿ&7ÿthe
                              change     ÿsquare
                                             I7#ÿ3footage
                                                       7ÿtoÿ7a
 21     !33#ÿI7#ÿ3
   10ÿ0different             7ÿthan
                   square footage     7ÿ"what
                                             7ÿyou
                                                  8ÿsee
                                                         ÿonÿthe
                                                                   
 2 2 0ÿ0PB5ÿ'E9(
        Exhibit  307?
 23'0ÿ0ÿ0ÿ0ÿ0ÿ0A.040ÿ08ÿ!D
                      I don'tÿremember.
                               #5#4
 24)0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ08ÿ$
                   Q.        !ÿout
                      I pointed     ÿbefore
                                        53#ÿthat
                                                  7ÿthe
                                                         ÿ%license
                                                              &
 245 0ÿ0that
        7ÿ"7ÿ%!ÿ"7
             was listed wasÿ  ÿ8your
                              not    #ÿ%license,
                                            &2ÿ5but
                                                       ÿit
                                                           ÿ"was
                                                                 7
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               qr#13
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       STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
       STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.             r    156

 010ÿ0
  1     3456ÿ7879ÿ
        your dad's license.0ÿDo 4ÿ3you
                                     45ÿ6recall
                                           8ÿthat
                                                    8
 02 0ÿ0specifically
        !"83ÿ#$ÿ
                       being 8$7ÿ%with
                             changed      ÿDBPR
                                               &'(ÿ8atÿsome
                                                           4)ÿ!point?
                                                                  40
 010ÿ0ÿ0ÿ0ÿ0ÿ0
   3             20ÿ03ÿ749
                 A.   I don'tÿremember.
                                6))#6
 040ÿ0ÿ0ÿ0ÿ
   4          0ÿ050ÿ03ÿÿ
                   Q. Is it 4 67666ÿsquare
                             40,000    8586ÿ"feet
                                                 ÿ4or6ÿ%was
                                                             8ÿit
                                                                
 090ÿ0
   5    4667666ÿ8586ÿ"
        400,000  square feet?0
 0@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
   6             20ÿ0I3ÿ8A
                         haveÿ 4ÿidea.
                               no 78
 07B0ÿ0ÿ0ÿ0ÿ0ÿ050ÿ0The
                   Q.  Cÿ87748ÿtext
                           additional      Dÿthat's
                                                 89ÿtyped
                                                           3!7ÿin
 0E0ÿ0
   8    6ÿ4ÿ7"3ÿ
        there                ÿ!projects
               to identify the    64Fÿspecifics,
                                             !"7ÿ%who  4ÿcame
                                                                   8)
 0G
  90ÿ0up5!ÿ% ÿ8ÿD0
           with  that text?
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10              20ÿ0I3ÿ8A
                         haveÿ 4ÿidea.
                               no 78
 110ÿ0ÿ0ÿ0ÿ0ÿ050ÿ07ÿ34
 11                Q. Did you5ÿcontribute
                                 46#5ÿto4ÿthat
                                                  8ÿall,
                                                          87
 1 0ÿ0participate
 12     !86!8ÿÿÿ8
                     in it atÿ8all,
                                 7ÿadd
                                       877ÿ8any
                                             3ÿ4of"ÿthat
                                                       8ÿto4ÿit?
                                                                0
 110ÿ0ÿ0ÿ0ÿ0ÿ02
 13              A.0ÿ039)ÿ5 6ÿ3Iÿdid.
                      I'm sure      770ÿ3 Iÿ) 87ÿit
                                               mean,   ÿ%was
                                                             8ÿ8a
 140ÿ0family
 14     "8)3ÿ78ÿ8ÿ!5
                deal that putÿtogether,
                                 4$60ÿI3ÿ)mean,
                                                  87ÿwe %ÿ%work
                                                               46Hÿ8as
 190ÿ0a8ÿ"8)
 15           3
          family.
 1@0ÿ0ÿ0ÿ0ÿ0ÿ050ÿ0Can
 16                Q.  I8ÿ345ÿtell
                           you   ÿ%what
                                         8ÿ!part
                                               86ÿ3you
                                                     45ÿcontributed
                                                          46#57
 1B0ÿ0to?
 17     40
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18              20ÿ0I3ÿ749ÿremember.
                         don't  6))#60ÿI3ÿ)mean,
                                                  87ÿit's
                                                          9ÿ8all
                                                                  
 1G0ÿ0done
 19     74ÿ4$6
              together.
 260 0ÿ0ÿ0ÿ0ÿ0ÿ050ÿ0
                   Q.  P4ÿ%ÿ
                      So  we 749ÿ%waste
                             don't     8ÿany
                                             83ÿtime,
                                                    )7ÿif"ÿthe
                                                                
 21     8!!84ÿ83ÿ
   10ÿ0application           8ÿit's
                     says that    9ÿnot4ÿexperienced
                                             D!67ÿinÿthe 
 2 2 0ÿ04654ÿ4"ÿ6
        construction         556ÿ"four
                       of structures      456ÿstories
                                               46ÿ4or6ÿhigher,
                                                               $67
 2310ÿ0do
        74ÿQQÿÿ6ÿ83ÿ  8ÿthat's
               is there any chance       89ÿ$going
                                                 4$ÿto4ÿchange?
                                                             8$0
 2440ÿ0ÿ0ÿ0ÿ0ÿ0A.20ÿ0Not
                       R4ÿ83)460ÿI3ÿ)mean,
                           anymore.         87ÿthe
                                                    ÿlicense
                                                        ÿis
 2590ÿ0there
        6ÿÿ74
               is done.0ÿThere
                          C6ÿisÿno4ÿreason
                                          684ÿto4ÿ$go4ÿ#back.
                                                             8H
                                                            ÿd
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               st61"
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       XY`Yaÿcdÿefghaf                                    ryÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
       XY`YÿefghafÿiYpYahqÿgrp`ahg`raÿstÿrufrÿghvwhq`xÿfpvd
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.             wx     157

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ0567ÿ89
                   Q.  Are youÿgoing
                                  9ÿto9ÿtell
                                              7ÿme
                                                   7ÿthat
                                                        ÿany
                                                               8ÿ9of
 02 0ÿ0these
        7!7ÿ67ÿÿ!"7
               are a mistake? #
 0$0ÿ0ÿ0ÿ0ÿ0ÿ0
   3             540ÿ0%94
                 A.    No.
 0&0ÿ0ÿ0ÿ0ÿ
   4          0ÿ0340ÿ0'ÿ
                   Q.  That itÿ!says
                                  8!ÿit's
                                         (!ÿnot
                                              9ÿfour
                                                   96ÿ!stories
                                                          967!ÿ9or6
 0)0ÿ0
   5    760ÿ1ÿÿ67
        higher,  but it really8ÿwas?
                                  2!#
 030ÿ0ÿ0ÿ0ÿ0ÿ0A.
   6                   %9(!ÿgoing
                 540ÿ0Nothing's      9ÿto9ÿ4change.
                                                 740ÿ5Iÿ  70ÿI5
                                                              mean,
 060ÿ0
   7    79(ÿ"92ÿ2ÿ27ÿ
        don't                 297ÿ4change
               know what we would      7ÿ9or6ÿ2why
                                                    8ÿwe
                                                        27ÿ2would
                                                             97
 080ÿ0
   8    47ÿ4
        change  it.
 090ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
   9                   @A4ÿB5
                       MR.    A'5%C'D%E0ÿF
                            PARTINGTON:       !ÿ8y'all
                                            Just    (ÿare
                                                           67
 1G0ÿ0ÿ0ÿ0ÿ0ÿ0talking
 10              "ÿ19  ÿtwo
                           about  29ÿ7different
                                         767ÿthings.
                                                     !4ÿÿI5
 110ÿ0ÿ0ÿ0ÿ0ÿ0don't
 11              79(ÿ7ÿ
                        mean  9ÿinterject.
                              to   76H7440ÿHe'sI7(!ÿhearing
                                                         76ÿ8you 9
 1 0ÿ0ÿ0ÿ0ÿ0ÿ0say
 12              !8ÿ67ÿ89
                      are youÿ  9ÿto9ÿgo
                               going       9ÿchange
                                               47ÿanything
                                                         8ÿ9on
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0the
 13              7ÿ47!7
                      licenseÿ  PP4940ÿAnd
                               application.       57ÿ5Iÿthink
                                                         "ÿ8you 9
 1&0ÿ0ÿ0ÿ0ÿ0ÿ0are
 14              67ÿ!"0
                      asking,ÿis!ÿthere
                                     767ÿanything,
                                           80ÿin ÿlooking
                                                             99"
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0at
 15              ÿ!0ÿ
                    this, thatÿ8you
                                   9ÿmight
                                         ÿanswer
                                                 !276ÿdifferently
                                                        77678
 130ÿ0ÿ0ÿ0ÿ0ÿ0today?
 16              978#0ÿ5ÿ
                          In 9 76ÿ2words,
                              other    967!0ÿis!ÿanything
                                                   8ÿthat
                                                               ÿhe7
 160ÿ0ÿ0ÿ0ÿ0ÿ0sees
 17              !77!ÿ978ÿ
                       today  99"ÿatÿthis
                              looking         !ÿthat
                                                   ÿmight
                                                         ÿ1be7
 180ÿ0ÿ0ÿ0ÿ0ÿ0corrected.
 18              4966747740ÿ5 Iÿ "ÿ8you
                                  think    9ÿare
                                               67ÿhearing
                                                     76ÿQ-­Q
 190ÿ0ÿ0ÿ0ÿ0ÿ0talking
 19              "ÿ19  ÿtwo
                           about  29ÿ7different
                                         767ÿtings,
                                                     !0ÿatÿleast
                                                                    7!
 2G0 0ÿ0ÿ0ÿ0ÿ0ÿ0 !ÿ5(ÿ76
                 as           ÿit.
                    I'm hearing      4
 2110ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.@A4ÿR5 SID%E0ÿ5
                            LAWHON:    Iÿ2 ÿclarify.
                                          will   46840ÿ@   817ÿ5I
                                                             Maybe
 2 2 0ÿ0ÿ0ÿ0ÿ0ÿ0 2ÿH!ÿ
                 will         "7ÿitÿ7easy
                       just make         !8ÿfor
                                              96ÿmyself.
                                                   8!74
 23$0ÿ0BY
        TUÿ@A4ÿR5SID%E
           MR. LAWHON:
 24&0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0VPÿ
                   Q.         7ÿPpage,
                       Flip the    70ÿifÿ8you
                                               9ÿwould,
                                                   2970ÿto
                                                           9ÿthe7
 2 )0ÿ0
   5    '9!ÿF776!9ÿI
        Thomas  Jefferson HighÿWSchool
                                   499ÿproject.
                                           P69H7440ÿTo '9ÿme7ÿit
                                                            ÿeffghi
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   jklmnopqrlsmqtjuqv
                                                            EsquireSolutions.com
                                                                               Uy761
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       bcdceÿghÿipqrep                                    vÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
       bcdcÿipqrepÿsctceruÿqvtderqdveÿwxÿvypvÿqrrudÿpth
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            {     158

 010ÿ0
  1     3453ÿ678ÿ36893ÿ4
        says two stories and  ÿ6that's
                                  463ÿnot
                                           86ÿconstruction
                                                836968ÿof  8ÿa4
 00ÿ0
   2    36969ÿ89ÿ3689
        structure             3ÿ8or9ÿhigher.
                    four stories        9!0ÿ"   8ÿ5you
                                                   Do   8ÿ3see
                                                             ÿ6that?
                                                                   46#
 0$
  30ÿ0ÿ0ÿ0ÿ0ÿ0A. %!0ÿ0Right.
                       & 6!0ÿIt's
                                '63ÿchecked
                                         (ÿ)box
                                                   80ÿno.
                                                       8!
 0140ÿ0ÿ0ÿ0ÿ0ÿ0Q.2!0ÿ0Okay.
                       3(45!0ÿ' 6ÿalso
                               It  4438ÿ3says
                                           453ÿit's
                                                 63ÿa4ÿ9renovation.
                                                           85468!
 0560ÿ0ÿ0ÿ0ÿ0ÿ0A.%!0ÿ0Right.
                       & 6!
 070ÿ0ÿ0ÿ0ÿ0ÿ0Q.
   6             2!0ÿ0So
                       88ÿ78 4ÿ5you
                          would    8ÿever
                                         59ÿconsider
                                              839ÿ6that
                                                           46
 0790ÿ0project
        @98A6ÿ68ÿ)ÿ836   968ÿ8ofÿ4aÿnew
                 to be construction            7ÿ3structure
                                                      6969ÿfour
                                                                   89
 0B0ÿ0
   8    36893ÿ89ÿ
        stories         9#
                 or higher?
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0A.%!0ÿ0No.
                       D8!
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 10                    F&!ÿG% HI3DP0ÿG
                           LAWHON:       63ÿ6take
                                       Let's    4(ÿfive.
                                                       5!
 110ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
 11                    QIRÿS' "R3T&%UIR&P0ÿ3
                            VIDEOGRAPHER:       (45!0ÿWe
                                               Okay.    Hÿ4are
                                                             9ÿ8off
                                                                   
 10ÿ0ÿ0ÿ0ÿ0ÿ0the
 12              6ÿ989V
                      record,ÿit's
                               63ÿ2:51
                                       P61ÿ@p.m.
                                              !W!
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ(Thereupon,
 13                    XQ9@8Vÿ4aÿ3short
                                          896ÿ9recess
                                                 33ÿwas
                                                         743ÿ6taken.)
                                                                4(!Y
 110ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
 14                    QIRÿS' "R3T&%UIR&P0ÿ`
                            VIDEOGRAPHER:       4(ÿ8onÿ6the
                                               Back        ÿ9record,
                                                                89V
 160ÿ0ÿ0ÿ0ÿ0ÿ0the
 15              6ÿ6Wÿ3
                      time isÿ3:00
                               $PEEÿ@p.m.
                                       !W!
 170ÿ0BY
 16     `aÿF&!ÿG%HI3DP
           MR. LAWHON:
 17                Q.  Beforeÿ'
 190ÿ0ÿ0ÿ0ÿ0ÿ02!0ÿ0`89      Iÿmove
                                  W85ÿ8onÿfrom
                                              98Wÿ8Sugar
                                                     49ÿFMill,
                                                            44Vÿjust
                                                                   A36
 1B0ÿ0so
 18     38ÿ'Wÿ449Vÿ7ÿ
           I'm                58ÿindicate
                clear, when you     46ÿinÿ5your
                                                    89ÿ4application
                                                           @@4468
 1C0ÿ0that
 19     646ÿit's
             63ÿ89ÿ3689   3Vÿyou're
                    four stories,   589ÿcounting
                                               86 ÿ6theÿ3space
                                                                @4
 E
 2 0 0ÿ0)67ÿ6ÿ69ÿ
        between               4889ÿunits
                 the third floor      63ÿand
                                            4ÿ6the
                                                   ÿ9roof
                                                        88ÿ4as3ÿa4
 10ÿ0story?
 21     36895#
 0ÿ0ÿ0ÿ0ÿ0ÿ0
 22              %!0ÿ0'63ÿ
                 A.           89ÿ3stories
                       It's four    6893ÿin ÿheight.
                                                    6!
 $0ÿ0ÿ0ÿ0ÿ0ÿ02!0ÿ0%ÿ6
 23                Q.         463ÿ6the
                       And that's     ÿfourth
                                           896ÿstory
                                                   36895ÿ8ofÿheight?
                                                                 6#
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24              %!0ÿ0a3!
                       Yes.
 60ÿ0ÿ0ÿ0ÿ0ÿ02!0ÿ0F85
 25                Q.  Movingÿon
                               8ÿ6to8ÿ8St.
                                         6!ÿ`Bernard.
                                              949!0ÿLook
                                                         G88(ÿ4at6ÿ6the
                                                                     
                                                            defgÿijjklm
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   enopqrstuvpwquxnyuz
                                                            EsquireSolutions.com
                                                                               aS91
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                                      229
      PETER J. VICARI                                            October 16, 2018
       STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.             rs    159

 010ÿ0
  1     3456789364ÿ9ÿ
        information that's 3  4ÿyour
                             in    67ÿ9application
                                          39364ÿregarding
                                                       7 97!34
 0"0ÿ0
   2    ÿ#$ÿ%7497!ÿ
        the                6&7484ÿcomplex
             St. Bernard government     68'ÿ9and
                                                   4!ÿlet
                                                         ÿ8meÿknow
                                                                 (46)
 0030ÿ0)4ÿ6ÿ97ÿ79!$
        when you are ready.
 0410ÿ0ÿ0ÿ0ÿ0ÿ0A.2$0ÿ0Okay.
                       3(9$
 0540ÿ0ÿ0ÿ0ÿ0ÿ05$0ÿ0Is
                   Q.  6ÿ
                          theÿ3 456789364ÿthere
                               information      7ÿall
                                                      9ÿtruthful
                                                            75
 070ÿ0and
   6          798
        94!ÿ9accurate?
 0790ÿ0ÿ0ÿ0ÿ0ÿ0A.2$0ÿ0As
                       2ÿ597
                          farÿ9 ÿI6ÿcan
                               as      94ÿtell.
                                           $
 0@0ÿ0ÿ0ÿ0ÿ0ÿ0
   8             5$0ÿ0Okay.
                 Q.    3(9$0ÿA 67ÿ3identified
                              You're      !4353!ÿ9asÿthe
                                                          
 09B0ÿ0foreman
        567894ÿ64ÿ9ÿ76  Cÿ5for,
                 on that project     67Dÿlooks
                                            66(ÿlike,
                                                  3(Dÿ9about
                                                           E6ÿten
                                                                   4
 1F0ÿ0months.
 10     864$0ÿLook
                  G66(ÿ9E6
                        aboutÿ7 3 8
                              right?
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11              2$0ÿ0HI
                      Uh-huh.$
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12              5$0ÿ06ÿ9
                      Is thatÿ9aÿyes?
                                    8
 100ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13              2$0ÿ0A$
                      Yes.
 110ÿ0ÿ0ÿ0ÿ0ÿ05$0ÿ0P9ÿ!
 14                Q.        3!ÿyou
                       What did    6ÿ!do6ÿas
                                           9ÿthe
                                                ÿ5foreman?
                                                     678948
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15              2$0ÿ0The
                       Qÿ)9ÿthis
                           way   3ÿdefinition
                                       !5343364ÿread
                                                     79!ÿ3in4ÿthe
                                                                
 16     7ÿ3ÿ567894ÿ)
 170ÿ0rules                 9ÿ9anything
               is foreman was    434 ÿ9asÿ9aÿforeman
                                                  567894ÿon64ÿup.
                                                                  $
 190ÿ0So
 17     #6ÿ64
            onÿ3ÿ64ÿ6ÿ)9
               this one I wasÿmainly
                                8934ÿ8more
                                           67ÿlike
                                                 3(ÿproject
                                                       76C
 1@0ÿ0manager
 18     8949 7ÿ6&734
                 overseeing.$0ÿThere
                                Q7ÿ)wasn't
                                          94ÿ9aÿEbox
                                                     6'ÿfor
                                                         567ÿthat.
                                                              9$
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19              5$0ÿ0What
                       P9ÿII
 "F
 2 0 0ÿ0ÿ0ÿ0ÿ0ÿ0 2$0ÿ0On
                 A.    34ÿ9ÿ5)ÿ6of5ÿthem
                          a few      8ÿit's
                                            3ÿlike
                                                   3(ÿthat.
                                                          9$
 "10ÿ0ÿ0ÿ0ÿ0ÿ05$0ÿ0And
 21                Q.  24!ÿ)9ÿ!duties
                           what    3ÿdid
                                           !3!ÿyou
                                                 6ÿperform
                                                      75678ÿ9asÿthe
                                                                   
 ""
 2 2 0ÿ076Cÿ78
        project  super?
 "00ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23              2$0ÿ0I6ÿ)9ÿ8934ÿ6on4ÿthis
                         was mainly         3ÿ6one
                                                  4ÿ9asÿproject
                                                          76C
 "10ÿ0manager/help
 24     8949 7Rÿ!ÿ  389ÿ6on4ÿthis
                       duty estimate         3ÿone.
                                                  64$0ÿ6 Iÿ) 9ÿmore
                                                             was  867
 "4
 2 5 0ÿ0involved
        34&6&!ÿ)3ÿ3  4 ÿthe
                  with helping     ÿother
                                       67ÿproject
                                              76Cÿ8manager
                                                          949 7ÿ9and
                                                                    4!
                                                            ÿd
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               At715
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      abcbdÿfgÿhipqdi                                    u ÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      abcbÿhipqdiÿrbsbdqtÿpuscdqpcudÿvwÿuxiuÿpqyqtcÿisyg
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 160

 010ÿ0
  1    34567896969ÿÿ
       superintendent   day ÿday.
                            to    
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0ÿ4
                Q.   Do youÿ7  66 67ÿthe
                             remember     !6ÿ9names
                                               63ÿof
                                                     "ÿany
                                                        9ÿof"
 0#0ÿ0
  3    !6ÿ763$
       the  trades?
 0%0ÿ0ÿ0ÿ0ÿ
   4         0ÿ0A.
                &0ÿ0'ÿ" "!90ÿ(
                     Not offhand.      Iÿ69)ÿit
                                         mean,  8ÿ0was
                                                     3ÿall
                                                          11ÿof"
 020ÿ0
  5    !60ÿ3341ÿ76ÿ
       them.   Usual trade 4 563)ÿ7carpenters,
                            MEPs,    7569673)ÿframers,
                                                   "7673)
 0680ÿ0roofers.
       7"6730ÿ9!676ÿ83ÿ
                  There is 6 @67!89A
                            everything.
 07B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                0ÿ0Who
                      C!ÿ03ÿthe
                          was   !6ÿsuper?
                                    34567$
 08D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                &0ÿ0I(ÿ!89Eÿon9ÿthis
                        think      !83ÿone,
                                          96)ÿ!his
                                                83ÿ9name
                                                     6ÿwas
                                                          03
 09F0ÿ0Ricky
       G87Eÿ!ÿ07E6ÿ"  7ÿus.
              that worked for   43
 1H0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             0ÿ0R-I-C-K-Y?
                      GI(IPIQIR$
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             &0ÿ0Yes
                      R63
                         .
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             0ÿ0Last
                      S3ÿ96$
                           name?
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13             &0ÿ0I(ÿ!89Eÿ8itÿwas
                        think      03ÿTBowles,
                                         0163)ÿTB-O-W-L-E-S.
                                                   IUICISI5IVÿÿI(
 1%0ÿ0think
 14    !89Eÿ!ÿ03ÿ!83ÿ  96)ÿ!his
              that was his name,     83ÿ1last
                                          3ÿ9name.
                                                6
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 15             0ÿ0As
                      &3ÿ(W
                         I'mÿ1 E89Aÿatÿthe
                              looking      !6ÿ3section
                                                 6789ÿ"for
                                                           7
 16                areas.0ÿNone
       6X56786976ÿ763
 180ÿ0experience            '96ÿof"ÿthe
                                        !6ÿboxes
                                            X63ÿare
                                                    76ÿchecked.
                                                       7!67E6
 1B0ÿ0Do
 17    ÿ 4ÿ366ÿ!$
           you see that?
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             &0ÿ0R63
                     Yes.
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             0ÿ0(3ÿ!
                     Is thatÿIIÿis83ÿthat
                                        !ÿall
                                              11ÿ7correct?
                                                   7767$
 H0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             &0ÿ0R63
                     Yes.
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             0ÿ0&11ÿ78 A!0ÿ'
                     All right.      0)ÿyou
                                    Now,   4ÿ!have
                                                @6ÿthis
                                                      !83ÿlisted
                                                           1836
 0ÿ0as
 22    3ÿIIÿ8ÿ33)ÿYC3
              it says, "Wasÿthis
                             !83ÿ6experience
                                     X56786976ÿ8in9ÿthe
                                                      !6
 #0ÿ0construction
 23    79374789ÿ"ÿ37  474763ÿ"four
                      of structures     47ÿstories
                                            37863ÿor7ÿ!higher?"
                                                           8A!67$Y
 %0ÿ0You
 24    R4ÿ38ÿ63
            said yes.0ÿÿ 4ÿ3see
                        Do you    66ÿthat?
                                       !$
 20ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25             &0ÿ0`47ÿ3 7863ÿ8in9ÿheight,
                     Four stories        !68A!)ÿyes.
                                                    63
                                                            defÿhiijkl
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   dmnopqrstuovptwmxty
                                                            EsquireSolutions.com
                                                                               Rz671"
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      VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 161

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056784
                Q.    Okay.0ÿBut
                               9ÿdown
                                      ÿbelow
                                            ÿinÿthe
                                                       ÿ!project
                                                             "#$
 0%0ÿ0
  2    8!&ÿÿ'78'ÿ('ÿ
       type,  it says it's 7  aÿ" )74
                                 renovation.
 000ÿ0ÿ0ÿ0ÿ0ÿ0
  3             140ÿ0Correct.
                A.    2""$4
 0430ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0So
                      4ÿÿ
                         it   7'(ÿnew
                              wasn't    ÿ$construction.
                                             '"$40ÿ5   Itÿwas
                                                                   7'
 0560ÿ0just
       #'ÿrenovating
             ")77ÿtheÿ8four
                                "ÿ'stories?
                                       "'9
 06@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                140ÿ0Correct.
                      2""$4
 07A0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0Tell
                      BÿCmeÿwhat
                                   7ÿexactly
                                        D7$8ÿPVGC,
                                                EFG2&ÿdidÿto
 08H0ÿ0renovate
       ")7ÿtheÿ8"ÿ' "'4
                      four stories.
 09I0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                140ÿ0From
                      P"Cÿ"remembering,
                             CC"7&ÿthis 'ÿwas
                                                     7'ÿa7ÿtotal
                                                             7ÿQ-­Q
 1R0ÿ0I5ÿthink
 10         6ÿÿ7'ÿ7ÿ  7ÿ7gut
                 it was a total     ÿand
                                        7ÿ"rebuild
                                              ÿ8from
                                                         "Cÿ--
                                                              QQÿthis
                                                                    '
 110ÿ0was
 11          88ÿ8"C
       7'ÿdefinitely  fromÿ theÿhurricane.
                                      ""$740ÿB    7ÿbuilding
                                                   That   7
 1%0ÿ0flooded.
 12    840ÿ4ÿ   7ÿone
                   So that   ÿwas
                                   7'ÿ7aÿtotal
                                         7ÿgut
                                                7ÿ7and
                                                       ÿ"rebuild
                                                             
 100ÿ0of
 13    8ÿ) "8 74
           everything.
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             340ÿ0Sÿ8
                      Did youÿQ--Qÿ5Iÿmean,
                                       C7&ÿ'since
                                               $ÿthis'ÿdoesn't
                                                             '(
 160ÿ0appear
 15    7!!7"ÿÿ))ÿ7
               to involve any8ÿ!poured
                                   "ÿconcrete,
                                           $$"&ÿtieÿbeams
                                                              7C'ÿor"
 16    '7'&ÿ5(Cÿ7''C7
 1@0ÿ0slabs,   I'm assumingÿ8   ÿdidn't
                               you    (ÿdo
                                             ÿ78 7ÿtoÿthe
                                                anything
 1A0ÿ0super
 17    '!"ÿ'"$"9
              structure?
 1H0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             140ÿ0T40ÿ 5ÿwas
                      No. It    7'ÿCmainly
                                       78ÿinterior,
                                              ""&ÿnew 
 1I0ÿ0glass,
 19    77''&ÿÿQQÿC78
               new -- maybeÿsome
                               'Cÿnew
                                       ÿbrick
                                            "$6ÿhere
                                                   "ÿand
                                                         7ÿthere,
                                                                 "&
 %R0ÿ0fixed
 20    8Dÿtheÿ"84
                   roof.0ÿBut
                          9ÿitÿwas
                                      7'ÿbig.
                                           740ÿIt
                                                5ÿwas
                                                     7'ÿ7aÿlot
                                                              ÿof
                                                                  8
 %10ÿ0work.
 21    "64
 %%0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             340ÿ04ÿ  'ÿ!particular
                      So this     7"$7"ÿ!project,
                                               "#$&ÿEPVGC
                                                           FG2ÿdid
                                                                 
 %00ÿ0not
 23    ÿ ÿ7ÿÿ'"
            build            $"ÿthat
                   a new structure       7ÿwas
                                              7'ÿ8four
                                                   "ÿstories
                                                         '"'ÿor"
 %30ÿ0more
 24    C"ÿÿ   7 Uÿ'ÿ
             in height;       7ÿright?
                         is that    "7 9
 %60ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25             140ÿ0B  'ÿwas
                      This   7'ÿnot
                                   ÿ7aÿnew
                                         ÿ$construction.
                                               '"$4
                                                            ÿddefg
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   hijklmnopjqkorhsot
                                                            EsquireSolutions.com
                                                                               uF"18
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                                      229
       PETER J. VICARI                                           October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                162

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ056787ÿ
               Q.    There 9
                           isÿsome
                                 7ÿ--ÿ9ifÿyou
                                                 ÿcompare
                                                      87ÿthe
                                                               67
 0!0ÿ0
   2   "789 9#ÿ9#ÿ
       description      67ÿproject
                    in the   8$7 ÿspecifics
                                      799ÿfrom 8ÿthe
                                                           67
 0%30ÿ09#9 9&ÿ"8
       initial draftÿ&9  9#ÿtoÿ'what
                      application         6 ÿ'wasÿsubmitted
                                                      (9 7"ÿto
 0)0ÿ0
   4   01234
       DBPR,ÿÿ77ÿÿ&
             you see a lotÿ more           789 9#40ÿ0Doÿyou
                              87ÿofÿaÿ"description.           
 0550ÿ0see
       77ÿthat?
            6 6
 0670ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
               A.    9887
                     Correct.4
 0@0ÿ0ÿ0ÿ0ÿ0ÿ0
   7           340ÿ0A6ÿ
               Q.          7ÿupÿ'with
                     Who came        9 6ÿthat
                                            6 ÿ&language
                                                   #BB7ÿor8ÿ'who
                                                                  6
 08C0ÿ0
       putÿthat
            6 ÿthere?
                  67876
 09D0ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
               A.    569ÿ'ÿobviously
                     This was    (E9&ÿ(broadened
                                               8"7#7"ÿout,
                                                           4
 1F
 100ÿ08( (&ÿ(7"ÿÿ
       probably  based off 0 E9"ÿ1Bryant's
                            David    8# Gÿ8recommendation
                                                  77#" 9#
 11
 110ÿ0#"ÿ  &H9#Bÿ#B
       and talking  amongstÿ 87&E7ÿ9in#ÿthe
                             ourselves           67ÿoffice,
                                                      974
 1!
 120ÿ0(7  '77#ÿÿÿ#"ÿ
       between my mom and "  "4
                           dad.
 1%
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               340ÿ009"ÿ
                     Did --ÿ" ÿyou
                             do   ÿHknow
                                       #'ÿ9ifÿIMr.
                                                   84ÿ1Bryant
                                                        8#
 1)
 140ÿ0recommended
       877#"7"ÿthat
                     6 ÿ87#E 9#ÿ'work
                         renovation      8Hÿ'would
                                                 &"ÿPqualify
                                                        &9ÿfor
                                                                  8
 15
 150ÿ0ÿ78  997"ÿB7#78&
       a certified  generalÿ # 8 8Gÿ&license?
                             contractor's        97#76
 17
 160ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
               A.    Qÿ6E7
                     I haveÿ# ÿ9idea.
                             no   "74
 1@            340ÿ0A6ÿ
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.     Who — ÿ' 6ÿcame
                             who   7ÿupÿ'with
                                               9 6ÿ9itÿ(being
                                                         79#Bÿfour
                                                                8
 1C
 180ÿ0stories?
        8976
 1D
 190ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
               A.    Q ÿ'
                     It wasÿ 8ÿstories
                             four     897ÿ9in#ÿ6height
                                                    79B6 ÿ9is
 !F0ÿ0'6
 20    whatÿ
 !10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21            340ÿ0R'ÿ"9 "ÿyou
                     How did   ÿ"determine
                                     7 789#7ÿthat 6 ÿ9itÿ'was
                                                             ÿfour
                                                                  8
 !!
 220ÿ0  897ÿ9#ÿ679B6
       stories           6
                in height?
 230ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
 !%            A.    1ÿ 67ÿ6height
                     By the   79B6 ÿofÿthe67ÿ(building.
                                                  9&"9#B4
 !)
 240ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               Q.    09"ÿ7("ÿmeasure
                     Did somebody     787ÿ9it?6
 !5
 250ÿ0ÿ0ÿ0ÿ0ÿ0840ÿ0
               A.    Qÿ"#G
                     I don'tÿ8 77(784
                              remember.


                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                     DEPOSITION SOLUTIONS                    e fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 rs781
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
       PETER J. VICARI                                           October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           yq     163

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1              340ÿ0567ÿ86
                 Q-          9ÿknow
                       You don't    96ÿhow
                                           6ÿyou
                                                67ÿcame
                                                      ÿ7upÿwith
                                                                 !
 0"0ÿ0
  2    #67$ÿ%6$!%&
        four stories?
 0'0ÿ0ÿ0ÿ0ÿ0ÿ0
   3             (40ÿ0)001ÿ
                 A.    Well, !%ÿaÿtall
                             it's        00ÿ2building.
                                               7!08!934
 040ÿ0ÿ0ÿ0ÿ
   4         0ÿ0340ÿ0
                 Q-    5%
                       That'sÿ 6ÿ!itÿmade
                               how        8ÿ!itÿ!into
                                                     96ÿthe
                                                           
 0560ÿ0application
           0!!69ÿ%ÿ#67$
                      as fourÿ% 6$!%1ÿthat
                               stories,     ÿ%somebody
                                                   6268ÿsaid
                                                              %!8ÿ!it
       was aÿ00ÿ27!08!93
 0670ÿ0%ÿ  tall buildingÿ   98ÿ%so6ÿyou
                              and         67ÿ8just
                                               7%ÿsaid
                                                     %!8ÿ!itÿwas
                                                                 %
 090ÿ0
   7   #67$ÿ
        four %6$!%&
             stories?
 08@0ÿ0ÿ0ÿ0ÿ0ÿ0(40ÿ0
                 A.    Aÿ%
                       It wasÿaÿconversation
                                 69B$%!69ÿamongst,
                                                     693%1ÿAI'm
 09C0ÿ0sure,
       %7$1ÿÿ6ÿ98ÿ8
              my mom and dad 8ÿand
                                 98ÿD--Dÿand
                                           98ÿEDavid
                                                B!8ÿFBryant
                                                        $9
 1G
 100ÿ0066!93ÿÿ!ÿ     $68%ÿwould
       looking at which projects        6708ÿHqualify
                                                70!#ÿand98ÿweÿput
                                                                     7
 11
 110ÿ000ÿ  !%ÿ69ÿÿ2
        all this             0ÿto6ÿEDavid
                  on the table         B!8ÿFBryant,
                                               $940ÿIHe
 1"
 120ÿ0recommended
       $6988ÿÿ
                      what weÿshould
                              %6708ÿ8do. 64
 1'
 130ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 Q-    E6ÿ67
                       Do youÿ Bÿaÿspecific
                              have      % !#!ÿ$recollection
                                                      600!69ÿ6of#
 14
 140ÿ02!93
        beingÿ!9B60B8ÿ!9ÿ8  $!9!93ÿthat
              involved in determining        ÿthis
                                                     !%ÿshould
                                                          %6708
 16
 150ÿ0!89  !#ÿÿ
       identify          $68ÿas%ÿ2being
                  that project         !93ÿaÿ#four-story
                                                  67$D%6$
 17
 160ÿ0project?
         $68&
 170ÿ0ÿ0ÿ0ÿ0ÿ0(40ÿ0
 19              A.    Aÿ869ÿ$remember.
                       I don't   2$4
 1@
 180ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                 Q-    A#ÿAÿ
                       If    6708ÿask
                          I could    %ÿyou
                                           67ÿto6ÿ0look
                                                     66ÿatÿthe
                                                                
 1C
 190ÿ0permit
         $!ÿapplications
                    0!!69%ÿagain,
                                3!940ÿ(And98ÿ!if#ÿyou
                                                     67ÿwould
                                                          6708ÿ0look
                                                                  66
 "G0ÿ0ÿ
 20          ÿ!$8ÿ
        at the          34
               third page.
 "10ÿ0ÿ0ÿ0ÿ0ÿ0(40ÿ0P4
 21              A.    Okay.
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0E6ÿ67
 22              Q-    Do youÿrecognize
                              $639!Qÿthatÿapplication?
                                                       0!!69&
 "'
 230ÿ0ÿ0ÿ0ÿ0ÿ0(40ÿ05%4
                 A.    Yes.0ÿ)001ÿAIÿ$remember
                             Well,        2$ÿ%seeing
                                                      !93ÿ!it,1ÿ2but
                                                                     7
 "4
 240ÿ0Aÿ8!89ÿDDÿ8!89ÿ
        I didn't      didn't #!00ÿthis
                             fill    !%ÿ6out.
                                            74
 "6
 250ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0)6ÿ%!
                 Q.          397$ÿ!is%ÿthat
                       Who signature         ÿ6on9ÿthe
                                                        ÿ2bottom?
                                                              66&
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               5r$1#
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      UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.          t      164

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ05ÿ6789
                A.   I haveÿnoÿidea.
                                   974
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   2            40ÿ09ÿ
                Q.   Well,   !ÿ"--"ÿthere
                            it's         69#9ÿis!ÿ7aÿ!signature
                                                         $7%#9ÿ7at
 0&0ÿ0
   3   69ÿ89#'ÿ()ÿ0#
       the very bottom forÿ7 aÿcontractor's
                                1#71# !ÿ!signature
                                                    $7%#9ÿ7andÿit
 0240ÿ03!
       looksÿ39ÿÿ!7#
              like it startÿ4 6ÿ7aÿ5D,ÿdoÿ'you
                             with                %ÿ!see
                                                       99ÿthat?
                                                            676
 0570ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.   89!4
                     Yes.
 09
  60ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q-   3'ÿ 97ÿ4who
                     Any idea     6ÿthat
                                       67ÿcould
                                             1%ÿ6have
                                                       789ÿ(been?
                                                             996
 0@70ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.   Aÿ9 74
                     No idea.
 0B80ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                Q-   C69ÿ7 9ÿis!ÿJanuary
                     The date        D7%7#'ÿ25th
                                                 76ÿof0ÿ2008,
                                                            EEB
 09F0ÿ04616
       whichÿ1!9'ÿ7$
              closely aligns!ÿ4with
                                6ÿthe
                                       69ÿGMarch
                                             7#16ÿof0ÿ2008
                                                        EEBÿdate
                                                                79
 100ÿ067
 1E         !ÿH%ÿÿ69ÿ7
       that's               HH17ÿright?
               put in the application,       #$66
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                A.   89!4
                     Yes.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.40ÿ0Okay.
                     I37'40ÿ5Doÿ'you
                                   %ÿ3know
                                         4ÿ4who
                                                6ÿ4would
                                                     %ÿ6have
                                                             789ÿ(been
                                                                   99
 1&
 130ÿ0responsible
       #9!H!(9ÿ0#ÿ1)  H9$ÿ7and
                    for completing       ÿsubmitting
                                             !%()$ÿthis6!
 12
 140ÿ0H9#) ÿ7HH176
       permit  application?
 150ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 17             A.   A#)7 'ÿonÿ7aÿlot
                     Normally            ÿof0ÿthese
                                                   69!9ÿPjobs
                                                           (!ÿ4we've
                                                                 9 89
 19    done,ÿ69ÿ7#1691
 160ÿ09   the architectÿ4 7!ÿ7always
                             was     47'!ÿinÿ1charge
                                                   67#$9ÿof0ÿdoing
                                                                $
 170ÿ069ÿ71%7ÿ!%()!!
 1@    the actual submissionÿtoÿthe
                                      69ÿHpermit
                                           9#)ÿoffice.
                                                     001940ÿ3Andÿ4we9
 1B
 180ÿ04%
       wouldÿ747'!ÿP%!ÿ(  #$ÿour
              always just bring      %#ÿcontract
                                         1#71ÿ4with6ÿthe
                                                             69ÿowner
                                                                  49#
 1F
 190ÿ07ÿ7
       and aÿ16913ÿÿH13
              check to pickÿ 69)ÿ%up,
                             them     Hÿis!ÿ6how
                                                4ÿitÿ4works.
                                                          #3!40ÿOn
                                                                  Iÿ7a
 E0ÿ0ÿ
 20         0ÿ69!9ÿ64ÿ
       lot of               69'ÿ4work.
               these, how they     #34
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             40ÿ0C69ÿ1
                     The conÿ"--"ÿthis
                                     6!ÿis!ÿthe
                                                69ÿQSt.
                                                     4ÿRBernard
                                                           9#7#
 0ÿ0S7#!
 22         6ÿ!ÿ67
       Parish,          !ÿthe
                so that's   69ÿHproject
                                  #P91ÿ4we9ÿ7are
                                                 #9ÿtalking
                                                       73$ÿ7about,
                                                                 (%
 &0ÿ0right?
 23    #$66
 20ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 24             A.   T$64
                     Right.
 70ÿ0ÿ0ÿ0ÿ0ÿ0Q-
 25             40ÿ0And
                     3ÿ
                          itÿlists
                             !!ÿthe69ÿ1contractor
                                             #71#ÿ7as!ÿ(being
                                                                9$
                                                            ÿdef
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               8u9#10
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      VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           u      165

 010ÿ0
  1    3454ÿ67897
       Pete Vicari.0ÿIt's
                       5ÿgot
                               5ÿ9aÿBarataria
                                       995979ÿaddress.
                                                   940ÿ    !ÿ7is
                                                                Why
 0"0ÿ0
  2    5 95#
      that?
 0$0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             %0ÿ04ÿ
                A.        9ÿ5temporarily
                      We had    4&'97(!ÿrelocate
                                               4(8954ÿ9after
                                                            )54
 000ÿ0
  4    1278934ÿ495739ÿ5
       Hurricane             48924ÿour
                   Katrina because      2ÿ5building
                                             27(73ÿgot5ÿhit75ÿ5by!ÿ9a
 060ÿ0
  5    539ÿ93ÿ
      tornado         9ÿ5ÿ
                and had      54ÿ5torn
                         to be     3ÿdown
                                          73ÿ9and
                                                3ÿstarted
                                                    5954ÿover,
                                                                849
 0@0ÿ0
  6   so  weÿ&84ÿ5ÿ9ÿ54
       ÿ74                 &'9!ÿ(location
              moved to a temporary        89573ÿ5that95ÿ7we4ÿ--
                                                               AAÿ&my!
 0B0ÿ0
  7    9ÿhad
      dad    9ÿ7349ÿ!2ÿ
                owned, you C   379ÿ9aÿ5bunch
                             know,        238 ÿof)ÿreal
                                                    49(ÿ4estate
                                                            5954ÿ9and3
 0D0ÿ0
  8    74ÿhad
      we   9ÿ34ÿ'439ÿ
               one open, soÿ7   4ÿEjust
                               we   25ÿ&moved
                                           84ÿinto
                                                  735ÿit
                                                        75ÿ)for
                                                              
 0F0ÿ0
  9    54&'97(!
      temporarily.
 1G0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 10             H0ÿ0ÿ5  2 5ÿ!you
                      I thought     2ÿ5told
                                          (ÿme
                                               &4ÿ4Katrina
                                                    95739ÿ7was9ÿin
                                                                  73
 110ÿ0'05.
 11    G6
 1"0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12             %0ÿ0I7  5
                      Right.
 1$0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             H0ÿ0P  7ÿ7isÿ'08.
                      This      GD0ÿQ Soÿyou
                                            !2ÿ&moved
                                                   84ÿAAÿwhen
                                                              7 43ÿdid
                                                                    7
 100ÿ0you
 14    !2ÿ&move?
             84#
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             %0ÿ04ÿ74
                      We were4ÿ7in3ÿour
                                      2ÿtemporary
                                          54&'9!ÿlocation
                                                       (89573ÿ)for
 1@0ÿ0a9ÿ82
 16          '(4ÿ)ÿ!49
         couple   of years.
 1B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17             H0ÿ0ÿ5  73Cÿsome
                      I think   &4ÿof)ÿ5the4ÿ'permit
                                                  4&75
 1D0ÿ0applications
 18    9''(789573ÿ74ÿ(   C4ÿat
                      we looked    95ÿA-­A
 1F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19             %0ÿ04ÿ57  ((ÿCkept
                      We still     4'5ÿ11900
                                          FGGÿas
                                               9ÿ9aÿ&mailing
                                                       97(73
 "G0ÿ0address
 20    94ÿ548924ÿ75ÿ
                because it 7   9ÿour
                              was  2ÿwarehouse.       R84!5 73
                                        794 240ÿEverything
 "10ÿ0was
 21          57((ÿ5there.
       79ÿstill    440ÿIÿ&mean,
                                4939ÿwe74ÿdidn't,
                                            7359ÿ(like,
                                                       7C49ÿ9abandon
                                                               5933
 ""0ÿ0the
 22    5 4ÿ'place.
             (9840ÿIt
                     5ÿ79ÿ
                        was   57((ÿour
                              still   2ÿoffice.
                                           ))7840ÿQ   ÿwe
                                                       So 74ÿ2used
                                                                4
 "$0ÿ0both.
 23    55 0ÿP  4ÿ&97(5Sÿ
               The  mailbox 7  9ÿstill
                              was  57((ÿ5there,
                                             449ÿ5the4ÿ4equipment
                                                          T27'&435
 "00ÿ0was
 24    79ÿ57((ÿ5   440ÿJust
            still there.    U25ÿ5the4ÿ&main
                                          973ÿoffice
                                                ))784ÿwas
                                                        79ÿEjust
                                                               25
 "60ÿ0destroyed.
 25    45!40ÿAnd
                     %3ÿ75ÿ
                         it 7  9ÿaround
                              was  923ÿ5the4ÿ8corner.
                                                   34
                                                            ÿddefg
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   hijklmnopjqkorhsot
                                                            EsquireSolutions.com
                                                                               v641)
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                166

  010ÿ0ÿ0ÿ0ÿ0ÿ0
   1             340ÿ056ÿ789
                 Q-         ÿunderneath
                      So right  7ÿthe  ÿaddress,
                                                      7ÿyou 6
  020ÿ0see
        ÿ8ÿÿ89!
             it says height?
  0"0ÿ0ÿ0ÿ0ÿ0ÿ0
   3             #40ÿ0$894
                 A.   Right.
 0%0ÿ0ÿ0ÿ0ÿ
    4         0ÿ0340ÿ0
                 Q-   #ÿ8
                      And itÿ& 8ÿthe
                              list    ÿheight
                                           89ÿasÿ"34%ÿ'feet.
                                                             40ÿ(Do6
 0)50ÿ06ÿ  ÿ!
        you see  that?
 0060ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0
                 A.   124
                      Uh-huh.
 03 70ÿ0ÿ0ÿ0ÿ0ÿ0Q-
                 340ÿ0Is
                      4ÿÿaÿyes?
                         that      !
  0850ÿ0ÿ0ÿ0ÿ0ÿ0A.
                 #40ÿ0Yes.
                      64
  0970ÿ0ÿ0ÿ0ÿ0ÿ0Q-
                 340ÿ0Okay.
                      894
  1@0ÿ0ÿ0ÿ0ÿ0ÿ0A.
  10             #40ÿ056774
                      Sorry.
  110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
  11             340ÿ0AB
                      That'sÿ 6ÿ'four
                              not    67ÿstories
                                           678ÿ8inÿheight,
                                                          89ÿ8is
 1120ÿ08!
        it?
 1"
  130ÿ0ÿ0ÿ0ÿ0ÿ0#4A.0ÿ0C6&ÿ
                      Could D 4
                             be.
 1%
  140ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0"%ÿ'ÿEcould
                      34 feet   6&ÿDbeÿ8inÿaÿ9government
                                                    6F7G
 1)
  150ÿ0complex?
        E6GH&I!
 10
  160ÿ0ÿ0ÿ0ÿ0ÿ0#4A.0ÿ0C6&ÿ
                      Could D ÿanything.
                             be   8940ÿ58-foot       8&89
                                                 2'66ÿEceilings
 13
  170ÿ08G
        timesÿ'67ÿ8ÿ"  4
               four is 32.
 15
  180ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0(6ÿ6
                      Do youÿ 89ÿthose
                              think    6ÿare
                                               7ÿall
                                                     &&ÿ58-foot
                                                          2'66
 17
  190ÿ0ceiling
        E8&89ÿ8ÿÿ54ÿ
                 in the St. P 77ÿcomplex?
                             Bernard   E6GH&I!
 20 @0ÿ0ÿ0ÿ0ÿ0ÿ0#40ÿ0
                 A.   4BGÿQÿsaying
                      I'm just    89ÿ8inÿ9general,
                                               7&ÿ8itÿEcould
                                                                6&
 21 10ÿ0D4
        be.0ÿA8ÿ6ÿÿ
              This one had to        8ÿ6one
                            6ÿ2--2ÿthis   ÿQjust
                                                 ÿGmeans
                                                       ÿ2--2ÿ4I
 220ÿ06B
        don'tÿ96RÿD6ÿ ÿ"34,
               know about the   %ÿDbut
                                      ÿ8it's
                                           Bÿ6over
                                                  F7ÿ"34%ÿ8inÿaÿ&lot
                                                                     6
 23 "0ÿ0of
        6'ÿ ÿ74
            the areas.0ÿ4ÿ6Bÿ9know
                        I don't    6RÿRwho
                                         6ÿ'filled
                                               8&&ÿthis
                                                        8ÿ6outÿand
                                                                      
 24 %0ÿ0what
        Rÿ22ÿ6Rÿÿ ÿ8it.
              — how they used     40ÿI4ÿhave
                                           Fÿno6ÿ8idea.
                                                      40ÿ4  IÿE B
                                                                  can't
 25 )0ÿ0speak
        H9ÿ'67ÿG4
               for them.

                                                            ÿd
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   efghijklmgnhloeplq
                                                            EsquireSolutions.com
                                                                               6r71'
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            s     167

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056ÿ768
                Q.    So youÿ9  ÿ9the
                               think     ÿ34ÿ
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             40ÿ0Could
                A.     68!"ÿ#beÿ$wrong.
                                   %6&4
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  3             340ÿ0ÿ!'
                Q.          9"ÿinÿ9this
                      -- listed          'ÿapplication
                                              ())!0(96ÿis'
 040ÿ0wrong?
       $%6&1
 02
  50ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0Could
                       68!"ÿ#be.
                              4
 03
  60ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ049ÿ'(7
                      It sayÿ  95'ÿthree
                               it's   9%ÿ'stories     (!!40ÿ6
                                                96%'ÿ9tall,      68%
                                                                 Your
 0770ÿ0application
       ())!0(96ÿ'(7ÿ868  %ÿ'stories
                     say four    96%'ÿtall?
                                           9(!!1
 0890ÿ0ÿ0ÿ0ÿ0ÿ0A.
                40ÿ0Four
                      @68%ÿ'96%'ÿinÿheight,
                           stories         &9Aÿ4I'm5Bÿ'saying.
                                                            (7&4
 09C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0Well,
                      D!!Aÿit9ÿ"doesn't
                                   6'59ÿ'say(7ÿfour
                                                  868%ÿstories
                                                        '96%'ÿin
 1E0ÿ0height
 10    &9ÿÿ9ÿ())!  0(96Aÿ#but
               in the application,        89ÿwhat
                                              $(9ÿyou
                                                    768ÿ(are
                                                          %ÿ9telling
                                                                !!&
 110ÿ0me
 11       isÿ$(9ÿ768ÿB(
       Bÿ'  what you meant9ÿ$when
                                 ÿ9this
                                         'ÿ(application
                                                ))!0(96ÿto96ÿDBPR
                                                                 FGHI
 10ÿ0was
 12    $('ÿ8filed
             !"ÿ'ÿ$ÿ7 68ÿ--ÿ$when
                   is when you          ÿ7you
                                              68ÿagreed
                                                  (&%"ÿ9that
                                                            (9ÿit9
 10ÿ0should
 13    '68!"ÿ'(7ÿ868%ÿ'96  %'Aÿ7you
               say four stories,        68ÿBmeant
                                             (9ÿ8four
                                                    68%ÿ'stories
                                                          96%'ÿin
 10ÿ0height?
 14    &91
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             40ÿ0That's
                      P(95'ÿhow
                                6$ÿ$weÿwere
                                         $%ÿ(advised
                                                 "Q'"ÿ#by7ÿFDavid
                                                               (Q"
 130ÿ0Bryant.
 16    G%7(94
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17             340ÿ0Do
                      F6ÿ768
                         youÿ  ÿ"do6ÿ7you
                               --        68ÿknow
                                             6$ÿhow
                                                    6$ÿBmany
                                                         (7ÿfloors
                                                               8!66%'
 190ÿ0and
 18    ("ÿ0ceilings
             !&'ÿ(%ÿ(0 98(!!7ÿinÿ9the
                      are actually           ÿ5St.
                                                  94ÿGBernard
                                                       %(%"
 1C0ÿ0government
 19    &6Q%B9ÿ06B)!R1
                    complex?
 E0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             40ÿ0I4ÿ"659ÿknow
                        don't    6$ÿoffhand.
                                        688("4
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             340ÿ0Could
                       68!"ÿit9ÿ#beÿ9three?
                                        %1
 0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 22             40ÿ0Could
                       68!"ÿ#beÿ$with
                                   9ÿthe
                                         9ÿ)penthouse
                                                968'ÿ6or%ÿ(aÿ#big
                                                                   &
 0ÿ0attic
 23    (990ÿ')(0Aÿ#0(8'
              space, becauseÿI4ÿknow
                                     6$ÿ(aÿlot
                                             !69ÿof
                                                  68ÿequipment
                                                       S8)B9ÿ$was('
 0ÿ0on
 24    6ÿ9ÿ%668ÿÿ9ÿ
          the roof in the %   66B'4
                            rooms.
 20ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             340ÿ0If
                      48ÿ9'ÿinformation
                         this    86%B(96ÿ9that's
                                                  (95'ÿon
                                                         6ÿthis
                                                             9'
                                                            ÿde
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   fghijklmnhoimpfqmr
                                                            EsquireSolutions.com
                                                                               6t%18
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      abcbdÿfgÿhipqdi                                    u ÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      abcbÿhipqdiÿrbsbdqtÿpuscdqpcudÿvwÿuxiuÿpqyqtcÿisyg
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                168

 010ÿ0
  1    3445673869ÿ9ÿ4
       application for permit68ÿ8that
                                    38ÿweÿ3are
                                               ÿ8talking
                                                    356ÿ3about
                                                              9 8ÿ6is!
 0"0ÿ0
   2   7978ÿ3#ÿ68$!ÿ
       correct               355%ÿ8three
                and it's really       ÿ!stories
                                             896!ÿ3and#ÿ34
                                                            &'ÿfeet,
                                                                 8(
 0&30ÿ09 5#ÿ%9
       would  youÿ3ÿ68
                   agree withÿmeÿ8that
                                      38ÿ8that's
                                            38$!ÿnot
                                                     98ÿfour
                                                           9
 0'0ÿ0
   4   !896!ÿ9ÿ9ÿ6ÿ
       stories  or more in    68)
                             height?
 0500ÿ0ÿ0ÿ0ÿ0ÿ0120ÿ0
                A.    3ÿ68$
                      If it's!ÿ7correct.
                                 97820ÿ4But8ÿ3Iÿ#don't
                                                       9$8ÿ8think
                                                              6
       it's 79782
 0650ÿ068$!ÿ correct.
 060ÿ0ÿ0ÿ0ÿ0ÿ0
   7            720ÿ089ÿ%9
                Q.    Do youÿ8  6ÿ9just
                               think     !8ÿ8the
                                               ÿheight
                                                    68ÿ6is!
 08@0ÿ067978ÿ9ÿ#9ÿ%9
       incorrect or do youÿ8    6ÿ8the
                               think    ÿnumber
                                               ÿ9ofÿ!stories
                                                           896!ÿ6is!
 09A0ÿ067978ÿ3!ÿ55)
       incorrect   as well?
 1B
 100ÿ0ÿ0ÿ0ÿ0ÿ0120ÿ0
                A.    3ÿ86
                      I thinkÿ6it's
                                 8$!ÿmissing
                                        6!!6ÿ8that
                                                  38ÿCCÿ8theÿroof
                                                                  99
 11    area ÿ355ÿ8ÿ
 110ÿ033ÿ where all the     D 648ÿ6is.
                              equipment     !2
 1"
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.720ÿ0E96
                      Showingÿ%you
                                 9 ÿwhat
                                       38ÿwe've
                                             $Fÿmarked
                                                     3#ÿ3as!
 1&
 130ÿ0GH668ÿ&112
       Exhibit 311.0ÿI3ÿ
                       Take 3 aÿ98ÿ8to9ÿ5look
                                moment         99ÿ3at8ÿ8that
                                                          38ÿ3and
                                                                #ÿ5let
                                                                     8
 1'
 140ÿ0ÿ 9ÿÿ%9
       me know  when youÿ3
                          areÿ#done.
                                 92
 10
 150ÿ0ÿ0ÿ0ÿ0ÿ0120ÿ0P3%2
                A.    Okay.
 15
 160ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿQI      49(ÿ8Defendant's
                      (Thereupon,      #38$!ÿGExhibit
                                                       H668ÿRNo.
                                                                 92
 16
 170ÿ0ÿ0ÿ0ÿ0ÿ0&11ÿ3!ÿ3    #ÿfor
                311 was marked      9ÿ6identification.)
                                         #866738692S
 1@
 180ÿ04TÿUV2ÿW1XYPR`
       BY MR. LAWHON:
 1A
 190ÿ0ÿ0ÿ0ÿ0ÿ0720ÿ0T9
                Q-    Youÿ 3#ÿ8that
                           read    38ÿ5little
                                         6885ÿ#description
                                                  !764869ÿ9of
 "B0ÿ0March
 20    U37ÿ"68ÿ9ÿ"BBAÿ
              27th of 2009 8   )
                             there?
 "10ÿ0ÿ0ÿ0ÿ0ÿ0120ÿ0X38ÿ
 21             A.           9)0ÿU
                      What now?       37ÿ"27th.
                                    March    682
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0720ÿ0
 22             Q-    T3(ÿ6it8ÿsays
                      Yea,      !3%!ÿUMarch
                                        37ÿ27th,
                                               "68(ÿ"2009.
                                                        BBA2
 "&0ÿ0ÿ0ÿ0ÿ0ÿ0120ÿ0
 23             A.    P(ÿ%
                      Oh,    32
                           yea.
 "'0ÿ0ÿ0ÿ0ÿ0ÿ0720ÿ0
 24             Q-    1#ÿ8 $!ÿ3aÿ#description
                      And there's        !764869ÿ9ofÿhurricane
                                                              673
 "00ÿ0#332
 25    damage.0ÿIs
                 3!ÿ838ÿ3ÿ
                     that a   36ÿstatement?
                              fair  !8388)
                                                            800.211.DEPO
                                                              defÿh(3376)
                                                                             iijkl
                     DEPOSITION SOLUTIONS                    dm nopqrstuovptwmxcom
                                                             EsquireSolutions.   ty
                                                                                 Tz1
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                            October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            yq     169

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ0567894
               A.   Right.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2            40ÿ0ÿ
               Q.   Do youÿ  7ÿwith
                            agree     698ÿwhat's
                                            89 !ÿwritten
                                                      699"
 0#0ÿ0
  3   98$
      there?
 0%0ÿ0ÿ0ÿ0ÿ
  4         0ÿ0340ÿ0
               A.   &86!ÿ !ÿaÿ'quick
                    This was       6()ÿ0little
                                           6990ÿarticle.
                                                    96(04ÿÿI1
 02
  50ÿ03"
      don'9
          tÿ44ÿ1ÿ5"6ÿ1ÿ
                I mean, I 3 " 9ÿ)know.
                           don't     "40ÿ1It9ÿ3don't
                                                  " 9ÿ5match
                                                         9(8ÿ9the
                                                                8
 070ÿ0
  6   856
      permit9ÿ8806(96"4
              application.0ÿ9  @A3ÿBjust
                              Everybody     !9ÿ4--4ÿ9this
                                                       86!ÿcould
                                                           (03
 0C0ÿ0
  7   8@ÿ
      have A"ÿÿ'6()ÿ  96(0ÿ9that
            been a quick article      89ÿ!somebody
                                            5A3ÿ8put9
 0D0ÿ0
  8   9798ÿ0ÿ'6()
      together real quickÿ9   89ÿwas
                             that    !ÿ5missing
                                          6!!6"7ÿ6information.
                                                    "E596"4
 0F0ÿ0ÿ0ÿ0ÿ
  9         0ÿ0Q.
               40ÿ0ÿ
                    Do youÿ  7ÿwith
                            agree     698ÿ9the
                                            8ÿ3description
                                                  !(6896"ÿofE
 100ÿ098ÿ3
 1G         57ÿ989ÿ!
      the damage  that wasÿcaused
                            (!3ÿAbyÿ9the
                                           8ÿ8hurricane
                                                6("ÿ9that's
                                                             89 !
 11
 110ÿ006!9
      listed3ÿ98$
              there?
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.   1ÿ5"
                    I      6ÿI1ÿagree
                       mean,      7ÿ9that
                                          89ÿ9there
                                                8ÿwas
                                                        !ÿ3damage
                                                             57
 1#
 130ÿ09ÿ98
      to theÿA6036"74
              building.0ÿH 9ÿ9toÿwhat
                          Not        89ÿextent.
                                           I9"940ÿ1  Iÿ5"6ÿ1I
                                                        mean,
 1%
 140ÿ0don
      3" 91ÿ55A4
            1remember.
 120ÿ0ÿ0ÿ0ÿ0ÿ0
 15            40ÿ0&8ÿ
               Q-   There 6 !ÿaÿ!sentence
                           is       "9"(ÿ6in"ÿ9that
                                                   89ÿarticle
                                                         96(0
 17   threeÿ06"!ÿE5ÿ98
 160ÿ098  lines from theÿAbottom,
                               9956ÿ9there
                                          8ÿ6is!ÿsome
                                                    !5ÿ44ÿ9there
                                                               8
 1C
 170ÿ06!ÿ! 5ÿA0()ÿ5)6
      is some              "7ÿ"next
               black marking    I9ÿ9toÿ6it.
                                           940ÿDoÿyou
                                                      ÿsee
                                                         !ÿwhere
                                                               8
 1D
 180ÿ01 5ÿ9talking
      I'm   0)6"7ÿA9$
                   about?
 1F
 190ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.   567894
                    Right.
 G0ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
 20            Q-   19ÿ!
                    It     !6ÿP"This
                        says,   &86!ÿ9two-story
                                        4!9ÿ7government
                                                      @"5"9
 10ÿ0complex."
 21   (580I4P
 0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 22            A.   567894
                    Right.
 23            40ÿ0Q600ÿ
 #0ÿ0ÿ0ÿ0ÿ0ÿ0Q-           ÿread
                    Will you   3ÿ9that
                                       89ÿout
                                             9ÿ0loud,
                                                   36ÿ9that
                                                          89
 %0ÿ0sentence.
 24   !"9"(4
 20ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0P&86!ÿ
 25            A.   "This 9 4!9ÿ7government
                           two-story      @"5"9ÿ(complex
                                                        580I
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               rs1E
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      QRSRTÿVWÿXỲaTY                                    erstuvwÿxyÿx
                                      229
      PETER J. VICARI                                            October 16, 2018
      QRSRÿXỲaTYÿbRcRTadÿ̀ecSTa`SeTÿfgÿehYeÿ̀aipadSqÿYciW
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            xp     170
 010ÿ0
  1    3456768ÿ49ÿÿ8468
       consist              4ÿmain
                of a two-story      75ÿbuilding
                                          775 ÿand
                                                    5
 0!0ÿ0
  2    675 "684ÿ""875
       single-story   meetingÿ#  $%
                                hall."
 0&0ÿ0ÿ0ÿ0ÿ0ÿ0
  3             '$0ÿ0(4ÿ8#7
                Q.   So this6ÿarticle
                                 873"ÿ7is6ÿsaying
                                              675 ÿ8that
                                                        #8ÿ8the
                                                              #"
 04)0ÿ0St.
       (8$ÿ0"5ÿ341"2
           Bernard  complexÿis76ÿ5not
                                    48ÿ9four
                                         4ÿ6stories,
                                               847"63ÿbut
                                                         8ÿtwo
                                                              84
 0540ÿ0stories.
       6847"6$0ÿ54ÿ4ÿ   ""ÿwith
                  Do you agree      78#ÿthat?
                                         8#86
 0670ÿ0ÿ0ÿ0ÿ0ÿ0A.
                8$0ÿ0I9ÿ45@8ÿ8think
                        don't    #75Aÿso.
                                        64$
 07B0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                '$0ÿ0Why
                      C#ÿ5486
                          not?
 08D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                8$0ÿ0I9ÿ45@8ÿremember
                        don't   """ÿwhat
                                             #8ÿ"exactly
                                                   238ÿ8the
                                                             #"
 09E0ÿ0building
       775 ÿ76ÿ34146"
                 is composedÿof49ÿand
                                    5ÿwhat's
                                          #8@6ÿ4on5ÿthe
                                                      8#"ÿ8third
                                                            #7
 1F0ÿ0floor
 10    944ÿ49ÿ8#"ÿ18
             of the apartment       16876$0ÿ9
                            "58ÿupstairs.      Iÿ 45@8ÿremember
                                                   don't  """
 11    #8@6ÿ8#""$
 110ÿ0what's   there.0ÿG#76
                        Thisÿ4  5"ÿ7is6ÿan
                               one      5ÿ4older
                                             "ÿ1project
                                                    4H"38ÿafter
                                                              98"
 1!0ÿ0Katrina.
 12    I875$
 1&0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             '$0ÿ0So
                      (4ÿ4
                         youÿ  "ÿ6saying
                               are   75 ÿ8this
                                              #76ÿarticle
                                                   873"ÿ7is6
 1)0ÿ0false?
 14    96"6
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             8$0ÿ0I'm
                      9@ÿ548ÿ6saying
                          not    75 ÿ7it's   96"$0ÿ9
                                          8@6ÿfalse.     IÿH 68ÿ
                                                            just
 170ÿ0I9ÿ45
 16         @8ÿ8#75Aÿ78@6ÿ
         don't  think it's got48ÿ8the
                                    #"ÿ1100
                                         FFÿÿ100
                                                1FFÿ1percent
                                                       "3"58
 1B0ÿ0correct
 17    34"38ÿ75948745
                information.$
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 18             '$0ÿ0Well,
                      C"3ÿ8to4ÿme,
                                   "3ÿ8there
                                        #""ÿis
                                              76ÿaÿbig
                                                      7 ÿdifference
                                                         799""53"
 1E0ÿ0between
 19    "8""5ÿ84ÿ6847"6
                two storiesÿ   5ÿfour
                               and  94ÿstories;
                                          6847"6Pÿ7it's
                                                       8@6ÿdouble.
                                                             4"$
 !F0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 20             8$0ÿ0I'm
                      9@ÿ548ÿ6saying
                          not    75 ÿ7it's
                                          8@6ÿfour
                                               94ÿstories.
                                                      6847"6$0ÿI'm
                                                                 9@
 21    675 ÿ78@6ÿ94ÿ68
 !10ÿ0saying                47"6ÿin
               it's four stories     75ÿ#height.
                                          "7 #8$
 !!0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             '$0ÿ0I9ÿ5"685ÿthat.
                        understand     8#8$0ÿSo
                                               (4ÿÿso64ÿ8this
                                                            #76
 !&0ÿ0article
 23    873"ÿ675
                usingÿÿ79 9""58ÿdefinition
                       a different     "97578745ÿof49ÿ6stories
                                                         847"6
 !)0ÿ0than
 24    8#5ÿ4ÿ6"6
            you use?
 !40ÿ0ÿ0ÿ0ÿ0ÿ0A.
 25             8$0ÿ0I'm
                      9@ÿguessing
                           "6675 ÿ7it8ÿ7is.
                                           6$
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   defghijkelfjmnjo
                                                            EsquireSolutions.com
                                                                               qr"19
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      `abacÿefÿghipch                                    t ÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      `abaÿghipchÿqaracpsÿitrbcpibtcÿuvÿtwhtÿipxypsbÿhrxf
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           y     171

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1            340ÿ056789
               Q-         ÿyou
                    Showing   7ÿExhibit
                                  699ÿ312.
                                              14
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             40ÿ0!"#4
               A.   Okay.
 00ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ
  3                 $%6&'&(7)ÿ0Defendant's
                    (Thereupon,     &1&2#34ÿExhibit
                                                     699ÿ5No. 74
 060ÿ0ÿ0ÿ0ÿ
  4        0ÿ01ÿ8#4ÿ7#' "&2ÿ1for
               312 was marked    7'ÿ9identification.)
                                      2&9198#9749
 0@0ÿ0
  5   ABÿCD4ÿE  FG!5H
      BY MR. LAWHON:
 0I0ÿ0ÿ0ÿ0ÿ0ÿ0
  6            340ÿ0
               Q.   57ÿ1#')ÿyou've
                    So far,   73P&ÿ4said
                                        #92ÿ9inÿyour
                                                   7'ÿ0DBPR
                                                           AQD
 0R0ÿ0
  7   #((S98#97ÿ6#ÿ6
      application that the&ÿ5St.
                              4ÿABernard
                                    &'#'2ÿgovernment
                                              7P&'7&ÿ8complex
                                                               77(S&
 0T0ÿ0
  8   8#4ÿ17'ÿ47'9&4)ÿ
      was four            6&ÿ(permit
                stories, the   &'79ÿ#application
                                         ((S98#97ÿ4says  #4ÿthree
                                                                  6'&&
 0U0ÿ0
  9   47'9&4)ÿ6&ÿ#'98S
      stories,            &ÿVIÿ4showed
                the article      678&2ÿyou7ÿ4says
                                                #4ÿtwo87ÿ4stories.
                                                              7'9&44
 100ÿ0578ÿ8&ÿ#'&ÿS77"9ÿ
 1W   Now we are looking # ÿthe
                          at   6&ÿ(picture,
                                     98'&40ÿ%Tell&SSÿ7me&ÿ8who
                                                               67ÿ9is4
 11
 110ÿ0'964
      right.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0Vÿ#S8#4ÿ4said
                    I always   #92ÿ9itÿ8was
                                           #4ÿ1four
                                                7'ÿ4stories
                                                        7'9&4ÿ9in
 1
 130ÿ06&9640ÿVÿ&P&'ÿ4#
      height.             92ÿ9itÿ8was
                I never said        #4ÿ1four
                                         7'ÿ4stories.
                                                7'9&440ÿVIÿ8was  #4
 16
 140ÿ0#2P94&2ÿÿ0#P92ÿA'
      advised             #ÿ#as4ÿ6he&ÿ(put
               by David Bryant             ÿ9itÿ7onÿthe
                                                          6&
 1@
 150ÿ0#((S98#974
      application.
 1I
 160ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               Q-   57ÿ71ÿ
                    So of 6&ÿthree
                          the    6'&&ÿthat
                                         6#ÿVIÿXjust
                                                   4ÿgave
                                                           #P&ÿyou,
                                                                  7)
 1R
 170ÿ087ÿ71ÿ6&7ÿ87S2ÿ
      two of              &ÿ'right
              them could be   96ÿbecause
                                      &8#4&ÿ4somebody
                                                  77&72ÿ8could
                                                               7S2
 1T
 180ÿ0&ÿ49ÿ#ÿ2911&'&
      be using            ÿ2definition
                a different   &19997ÿ7of1ÿ4story
                                                  7'ÿthan
                                                           6#ÿyou
                                                                  7
 190ÿ08&'&ÿ49Y
 1U   were using?
 W
 200ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0Vÿ&444
                    I guess.
 1
 210ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               Q.   Aÿ7ÿ2don't
                    But you   73ÿ"know
                                      78ÿ8which
                                             6986ÿ7one &ÿ9is4ÿthe
                                                                 6&
 
 220ÿ0'96
      rightÿ2&19997Y
             definition?
 
 230ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0574
                    No.
 6
 240ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               Q-   G78ÿ#SSÿ9is4ÿthat
                    How tall        6#ÿbuilding?
                                           9S29Y
 @
 250ÿ0ÿ0ÿ0ÿ0ÿ0A.40ÿ0Vÿ273ÿ"know
                    I don't   78ÿ7offhand.
                                     116#24
                                                            800.211.DEPO
                                                              deÿg(3376)
                                                                             hhijk
                     DEPOSITION SOLUTIONS                    l mnopqrstnuosvlwcom
                                                             EsquireSolutions.   sx
                                                                                 Bz&'11
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      TUVUWÿYÿ̀abcdWb                                    huvwxyÿÿ 
                                      229
       PETER J. VICARI                                           October 16, 2018
      TUVUÿabcdWbÿeUfUWdgÿchfVWdcVhWÿipÿhqbhÿcdrsdgVtÿbfr`
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           s     172

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1            340ÿ056778ÿ
                Q-    Well, 9Iÿsee
                                66ÿtwo
                                       ÿ—
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             40ÿ06ÿ
                A.           !ÿfloor
                      The first     7!ÿisÿ"pretty
                                               !6#ÿtall,
                                                        $778ÿthe
                                                                6
 0%0ÿ0
   3   6&'(ÿ7!ÿ
       second  floor isÿ(6& 6'40ÿAnd
                          decent.      '(ÿthere's
                                            6!6)ÿ$also
                                                      7ÿsomething
                                                            06 '1
 020ÿ0
   4   676ÿin'ÿ$ÿ!ÿ
       else                  $ÿ#you
                that roof that      3ÿ$are
                                         !6ÿ0missing
                                                '1ÿ$aÿ"picture
                                                            &3!6
 0540ÿ04
       of.
 05
  60ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ056778ÿ
                      Well, 7 6)ÿwalk
                             let's     $76ÿthrough
                                             !31ÿthis
                                                        ÿhere.
                                                             6!64
 0770ÿ08ÿ6ÿfirst
       So the    !ÿ"picture,
                        &3!68ÿdo(ÿ#you
                                       3ÿrecognize
                                          !6&1' 96ÿthat
                                                        $ÿ$asÿthe
                                                                   6
 08@0ÿ084ÿA6!'$!(ÿ1B6!'0
       St. Bernard           6'ÿ&complex?
                     government     0"76CD
 09E0ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                A.    9)ÿF 66'ÿ$awhile
                      It's been      76ÿsince
                                              '&6ÿI9ÿFbeen
                                                       66'ÿthere.
                                                             6!64
 1G
 100ÿ0I9ÿ '6ÿ$ÿ$ÿ
         think  that was the 6ÿFbuilding.
                                 3 7( '14
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ06ÿ6  &'(ÿ"picture?
                      The second       &3!6D
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                A.    H6$4
                      Yeah.
 1%
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ0Just
                      I3ÿ$aÿ(different
                                 6!6'ÿ$angle?
                                             '176D
 12
 140ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
                A.    H6$4
                      Yeah.
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ06ÿ   !(ÿ"picture
                      The third       &3!6ÿ$actually
                                              &3$77#ÿhas
                                                         $ÿ$aÿsign
                                                                   1'
 15
 160ÿ0in'ÿ!'ÿÿ
          front  of itÿ$
                         thatÿsays
                              $#ÿ8St.4ÿABernard
                                            6!'$!(ÿPParish.
                                                      $! 40ÿQDoes
                                                                 6
 17
 170ÿ0$ÿ
       that 
 1@
 180ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0H3ÿ$!
                A.    You are6ÿ$asking
                                 6 '1ÿ0me6ÿthe   1'40ÿAÿ7lot
                                              6ÿsign.        ÿof
 1E
 190ÿ0$ÿ
       that $')ÿ6!6ÿ$   6!ÿRKatrina
            wasn't there after        $! '$ÿstill.
                                               774
 G0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 20             340ÿ0537(ÿ
                      Would # 3ÿ1guys
                             you    3#ÿhave
                                          $B6ÿinstalled
                                                 '$776(ÿthat
                                                             $
 21     1'ÿ!ÿ'D
 10ÿ0sign  or not?
 0ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0S4
 22             A.    No.
 %0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23             340ÿ09ÿÿ
                      Is      ÿthis
                             is     ÿÿ(doÿ#you
                                                 3ÿ6know
                                                      'ÿifÿthe
                                                                6
 20ÿ0F3
 24       7( '1ÿ$ÿF66'ÿ
       building              3F$' $77#ÿrenovated,
                 has been substantially       !6'B$6(8
 40ÿ0remodeled
 25    !60(676(ÿ!ÿ!6F3    7ÿor!ÿ$anything
                   or rebuilt         '# '1ÿsince
                                                '&6ÿ#you
                                                        3ÿ(did(ÿ#your
                                                                   3!
     # ESQUIRE                                              800.211.DEPO
                                                              ÿ(3376)
                                                                             de
                     DEPOSITION SOLUTIONS                    f ghijklmnhoimpfqcom
                                                             EsquireSolutions.   mr
                                                                                 Ht6!1
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      VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
                                                                 October 16, 2018
      VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
       PETER J. VICARI
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.          uv      173

 010ÿ0
  1   3456ÿ74ÿ879
      work to it?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2            0ÿ0ÿ
               A.    I haveÿ 4ÿidea.
                             no  80ÿWeÿhaven't
                                                !7ÿ"been
                                                           ÿdown
                                                                  43
 0#0ÿ0
  3   75ÿ$8%ÿ78$ÿ&5  4'%7
      there since this project.
 0(0ÿ0ÿ0ÿ0ÿ
  4        0ÿ0Q-
               )0ÿ0ÿ7 ÿ7the
                     And then    ÿ0last
                                      $7ÿ&page,
                                             12ÿ8is$ÿ7that
                                                          7ÿ'just
                                                                3$7
 040ÿ0
  5   475ÿ109
      another  angle?
 050ÿ0ÿ0ÿ0ÿ0ÿ0
  6            0ÿ06446$ÿ
               A.    Looks 086ÿit.
                           like    87
 070ÿ0ÿ0ÿ0ÿ0ÿ0
  7            )0ÿ0
               Q.    84ÿÿ4!7ÿ$see
                     So I don't     ÿanything
                                         9781ÿabove
                                                     "4ÿ7the
                                                             
 0@0ÿ0
  8   $%4ÿA0445
      second  floor.0ÿWhat
                        7ÿdo4ÿ9you
                                   43ÿ"believe
                                        08ÿ8is$ÿabove
                                                       "4ÿ7the
                                                               
 0B0ÿ0
  9   $%4ÿA04459
      second  floor?
 1C
 100ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
               A.    D5!$ÿanother
                     There's    475ÿ5roof
                                          44Aÿ$structure
                                                 753%735ÿ3up&
 11   thereÿ387ÿ7ÿE7
 110ÿ075 with the metal 0ÿ5roofing
                                44A81ÿ4onÿ8it,
                                               72ÿIÿamE
 1
 120ÿ05EE"581
      remembering.0ÿÿ5E  E"5ÿ$seeing
                      I remember     81ÿFFÿIÿ5remember
                                                     EE"5ÿ1going
                                                                  481
 1#
 130ÿ03&ÿ75
      up there.
 1(
 140ÿ0ÿ0ÿ0ÿ0ÿ0)0ÿ0ÿ87
               Q.          !$ÿ4onÿ7top
                     And it's        4&ÿ4ofAÿ7the
                                               ÿ$second
                                                    %4ÿAfloor?
                                                             04459
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0G$
               A.    Yes.
 15
 160ÿ0ÿ0ÿ0ÿ0ÿ0)0ÿ0ÿ3
               Q-          7ÿ8is$ÿ7this
                     And what               44Aÿ$structure?
                                     8$ÿ5roof    753%7359
 17
 170ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
               A.    ÿ4!7ÿ5remember.
                     I don't    EE"5
 1@
 180ÿ0ÿ0ÿ0ÿ0ÿ0)0ÿ0
               Q.    H8ÿIPQRÿ5repair
                     Did PVGC    &85ÿ8it,
                                          72ÿ5remodel
                                                E40ÿ8it,72ÿ"build
                                                                380
 1B
 190ÿ0879
      it?0ÿWhat
            7ÿ&&9
                  happened?
 C
 200ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
               A.    ÿ13$$ÿIÿdon't
                     I guess       4!7ÿ5remember
                                          EE"5ÿ3what7ÿ3weÿdid
                                                                  8
 1
 210ÿ074ÿ870ÿWeÿ3456ÿ4
      to it.               ÿ8it.
                   worked on    7
 
 220ÿ0ÿ0ÿ0ÿ0ÿ0)0ÿ0
               Q-    84ÿ87!$ÿ&possible
                     So it's    4$$8"0ÿ7that
                                            7ÿ8it7ÿ3was
                                                       $
 #
 230ÿ0059ÿFFÿ87ÿ3$ÿ$
      already              7800ÿ7there
                   it was still     5ÿafter
                                            A75ÿSKatrina,
                                                    7582ÿ9you43
 (
 240ÿ0139$ÿ'3$7ÿA8Tÿ879
      guys just fixed it?
 4
 250ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
               A.    I45784$ÿ4ofAÿ8it,
                     Portions        72ÿI'm
                                          !Eÿ$sure.
                                                350ÿUEverything
                                                          59781
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                            ddcom
                                                                               efg
                     DEPOSITION SOLUTIONS                    hijklmnopjqkorhsot
                                                             EsquireSolutions.  GP51A
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      UVWVXÿ̀aÿbcdeXc                                    ivwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      UVWVÿbcdeXcÿfVgVXehÿdigWXedWiXÿpqÿirciÿdestehWuÿcgsa
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           tu      174

 010ÿ0
  1    345ÿ6789ÿÿ9983   989
       was tore up everywhere.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ046ÿ3
                Q.   What was45ÿhoused
                                   759ÿin!ÿ6the
                                                9ÿ8roof
                                                      77"ÿstructure,
                                                           568#689$
 0%0
  3 ÿ0if"ÿ4!6  !&'
          anything?
 0(0ÿ0ÿ0ÿ0ÿ
   4         0ÿ0A.
                )0ÿ00ÿ7!1
                     I don't 6ÿremember.
                               892923980ÿ4     873435ÿ4all
                                               Probably     55ÿyour
                                                                 78
 060ÿ0
  5    29#4! #45ÿ97
       mechanical       29!60ÿ)
                   equipment.       !ÿ6this
                                   And    5ÿ3was
                                                45ÿprobably
                                                     873435ÿ4aÿ3big&
       # 5598ÿ8799#6$ÿ57
 0680ÿ0chiller  project, soÿ0  12ÿsure
                              I'm   589ÿit's
                                            615ÿ4all
                                                   55ÿyour
                                                        78ÿMEPs
                                                             @A45ÿ4and
                                                                    !
 07B0ÿ0whatever
       346998ÿ9559ÿ69ÿ
                 else they 3  75ÿhave
                             would    49ÿhad
                                              4ÿupÿthere.
                                                      6989
 08C0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                0ÿ0So
                     D7ÿif"ÿ6there
                              989ÿis5ÿa4ÿ8roof
                                              77"ÿ5structure
                                                     68#689ÿ4and
                                                                 !
 09E0ÿ0there
       6989ÿ489ÿ637ÿ"5778
              are two floors,5$ÿ6to7ÿ2me, 646ÿwould
                                       9$ÿthat   375ÿ3be9ÿ6the
                                                               9
 1F0ÿ0third
 10    6 8ÿ"5778
              floor.0ÿDoes
                      G795ÿ6that
                              46ÿ5sound
                                      7!ÿright?
                                            8 &6'
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             )0ÿ0H4615
                     That'sÿ#  7!5 989ÿ6that,
                              considered       46$ÿbut
                                                      36ÿI0ÿ3would
                                                               75
 10ÿ0consider
 12    #7!5 98ÿit6ÿ56  55ÿ"four
                    still    78ÿstories
                                   5678 95ÿin!ÿheight.
                                                   9 &6
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13             0ÿ0G7ÿ7
                     Do youÿI  !73ÿif"ÿanybody
                              know       4!37ÿ3went9!6ÿ4and
                                                            !
 1(0ÿ0actually
 14    4#6455ÿ294589ÿ6   46ÿ3building?
                 measured that       5 !&'
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             )0ÿ0P7
                     No.0ÿ0Iÿ 7!16ÿIknow.
                              don't     !73
 180ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             0ÿ0D7ÿ7
                     So youÿ  7!16ÿIknow
                              don't     !73ÿ"for
                                               78ÿsure
                                                   589ÿif"ÿ6that's
                                                               4615
 1B0ÿ0more
 17    2789ÿ64!$ÿ346$ÿ(F
             than, what, 40, $ÿ(44(ÿ"feet
                                      996ÿtall?
                                          6455'
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 18             )0ÿ00ÿ7!1
                     I don't 6ÿremember.
                               89292398
 1E0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 19             0ÿ046ÿ3  78Iÿdidÿ4PVGC
                     What work           QRSÿdo7ÿon
                                                   7!ÿ6the
                                                        9ÿ5second
                                                             9#7!
 F0ÿ0floor
 20    "5778ÿ7"ÿ646ÿ3   5 !&'
              of that building?
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 21                  I 7!1
                )0ÿ00ÿ don't6ÿremember.
                               892923980ÿWe   9ÿ3worked
                                                     78I9ÿ4all
                                                             55ÿ7over
                                                                  98
 0ÿ0the
 22    69ÿ3building,
              5 !&0ÿ0ÿI!
                       I know73ÿit6ÿ3was
                                       45ÿ4an!ÿTTÿI0ÿIknow
                                                       !73ÿ4aÿportion
                                                               786 7!
 %0ÿ0of
 23    7"ÿit6ÿ345ÿ !ÿ79846
              was in          7!450ÿI0ÿ9just
                     operational,           56ÿ8remember
                                                   9292398ÿhaving
                                                             4 !&
 (0ÿ0to
 24    67ÿ378Iÿ487!ÿ5729
          work around someÿstaff.
                              564""
 60ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             0ÿ0Turn
                     H8!ÿ6the
                             9ÿpage,
                                   4&9$ÿif"ÿyou
                                               7ÿwould,
                                                   375$ÿand
                                                            4!ÿ5look
                                                                  77I
                                                            ÿdef
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   ghijklmnoipjnqgrns
                                                            EsquireSolutions.com
                                                                               vQ981"
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      XY`Yaÿcdÿefghaf                                    ryÿÿ 
                                      229
      PETER J. VICARI                                            October 16, 2018
      XY`YÿefghafÿiYpYahqÿgrp`ahg`raÿstÿrufrÿghvwhq`xÿfpvd
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            wx      175

 010ÿ0
  1   34ÿ456ÿ7893478ÿ
      at the information    746ÿ9for
                            listed     ÿ4the
                                            56ÿLafitte
                                                397446ÿMulti
                                                            47
 00ÿ0
  2    !6ÿ"3#774$%
      Purpose  Facility.0ÿLet
                            64ÿme
                                 6ÿ&know
                                       8'ÿwhen
                                            '568ÿyou
                                                  $ÿ3are
                                                         6ÿdone.
                                                              86%
 0(
  30ÿ0ÿ0ÿ0ÿ0ÿ0A.
               )%0ÿ00&3$%
                     Okay.
 01
  40ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2%0ÿ03ÿ453
                     Is that4ÿ3all
                                ÿ3accurate
                                      ##346ÿ3and
                                                 8ÿtruthful
                                                     4459
 04
  50ÿ0information?
      78934785
 06            )%0ÿ0)ÿ93
  60ÿ0ÿ0ÿ0ÿ0ÿ0A.     As farÿ3 ÿI3ÿ#can
                             as       38ÿtell.
                                         46%
 07
  70ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               2%0ÿ034ÿ78  7#346ÿ4the
                     It indicates      56ÿdate
                                            346ÿof
                                                 9ÿthe
                                                     456ÿ!project
                                                            86#4
 09
  80ÿ0was
      '3ÿ9from
            ÿ@383$ÿA  A9ÿ4toÿBDecember
                 January 2008         6#6C6ÿof9ÿ2009;
                                                     AADEÿis7ÿ4that
                                                                 534
 0D
  90ÿ0correct?
      #6#45
 1A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 10            )%0ÿ039ÿ453  4Fÿ'what
                     If that's     534ÿ7it4ÿwas,
                                            '3Gÿ4then,
                                                   568Gÿ$yeah.
                                                            635%
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 11            2%0ÿ0H566ÿ
                     Where ' ÿ4that
                            would     534ÿ7information
                                            893478ÿhave53I6ÿ#come
                                                                  6
 10ÿ0from?
 12   95
 1(0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 13            )%0ÿ0P56ÿ8
                     The jobCÿlist.
                                74%
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14            2%0ÿ0P56ÿ8
                     The jobCÿlist
                                74ÿ4that
                                       534ÿ'we6ÿtalked
                                                43&6ÿ3about
                                                           C4
 140ÿ0that's
 15   4534Fÿ78ÿ456ÿ#!   465
              in the computer?
 160ÿ0ÿ0ÿ0ÿ0ÿ0A.
 16                  Yes.0ÿThe
               )%0ÿ0Q6%    P56ÿmaster
                                   346ÿRRÿa3ÿmaster
                                                  346ÿ8jobCÿlist.
                                                                 74%
 170ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17            2%0ÿ0Sÿ453
                     So that4ÿlist
                                74ÿ7identifies
                                       6847976ÿ4the56ÿ!project
                                                           86#4ÿby
                                                                   C$
 190ÿ0what?
 18   '53450ÿT$ÿ8365
              By name?0ÿBy
                         T$ÿ3address?
                              65
 1D0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 19            )%0ÿ034ÿ8
                     It just4ÿUgives
                                7I6ÿ3aÿCbrief
                                           769ÿdescription
                                                 6#7!478ÿof9
 A0ÿ0what
 20   '534ÿwe
            '6ÿ7%0ÿ
                did. I3ÿ63 8Gÿit
                        mean,   74ÿ'was
                                      3ÿ8just
                                           4ÿ4the
                                                 56ÿ8name
                                                      36ÿof9ÿthe
                                                               456
 21   !86#4Gÿ456ÿ36
 10ÿ0project,              Gÿ4the
                 the address,    56ÿ3architect's
                                       #5746#4Fÿname,
                                                     836Gÿ4the
                                                              56
 0ÿ0owner's
 22   '86Fÿ836ÿ38ÿ45
               name and the 6ÿvalue.
                              I36%0ÿP    534Fÿ7it.
                                         That's    4%
 (0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23            2%0ÿ0What
                     H534ÿ3 C4ÿRR
                           about
 10ÿ0ÿ0ÿ0ÿ0ÿ0A.
 24            )%0ÿ0It
                     34ÿ3$
                        mayÿ 5'Gÿlike,
                             show,     7&6Gÿwhen
                                             '568ÿwe
                                                   '6ÿstarted
                                                         4346ÿand
                                                                  38
 40ÿ0when
 25   '568ÿ'6ÿ4!!6%
            we stopped.0ÿ3Iÿ 8F4ÿ&know.
                             don't     8'%0ÿIt's
                                               34Fÿ3an8ÿVExcel
                                                           W#6
                                                            ÿeffghi
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   jklmnopqrlsmqtjuqv
                                                            EsquireSolutions.com
                                                                               Qy619
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      RSTSUÿWXÿYàbU`                                    fstuvwxÿyÿy
                                      229
      PETER J. VICARI                                            October 16, 2018
      RSTSÿYàbUÿ̀cSdSUbeÿafdTUbaTfUÿghÿfif̀ÿabpqbeTrÿ̀dpX
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.            yq     176
 010ÿ0
  1   34567839660ÿThey
      spreadsheet.    96ÿkind
                              8ÿofÿjust
                                          3ÿ!--!ÿthe
                                                   96ÿ4project
                                                         56"
 0#0ÿ0
  2   36"5675ÿ6643ÿ57
      secretary   keeps track"ÿofÿthat
                                     97ÿkind
                                           8ÿofÿthing.
                                                        9$
 0%0ÿ0ÿ0ÿ0ÿ0ÿ0
  3            &0ÿ096ÿ!!
               Q.    The     ÿthe
                              96ÿ'box
                                     (ÿ!!ÿor
                                            5ÿexcuse
                                                 6(" 36ÿ)me,
                                                           60ÿthe
                                                                96
 010ÿ0
  4   366"60ÿ2373ÿ93
      sentence,   "Was thisÿexperience
                              6(4656"6ÿinÿthe 96ÿ"construction
                                                        35 "
 04
  50ÿ0of
      ÿ3 5 " 563ÿ
          structures      5ÿ3stories
                       four   563ÿor 5ÿhigher,"
                                           9$96502ÿinÿthe96ÿ'box
                                                                  (
 05   9763ÿ"96"68ÿ3ÿ
  60ÿ0that's  checked is no. 0ÿIs
                                  73ÿthat
                                        97ÿ7anÿ7accurate
                                                   "" 576
 080ÿ0
  7   376)69
      statement?
 0@0ÿ0ÿ0ÿ0ÿ0ÿ0
  8            A0ÿ0B63
               A.    Yes.
 0C0ÿ0ÿ0ÿ0ÿ0ÿ0
  9            &0ÿ073ÿ97
               Q.    Is that ÿ'because
                                 6"7 36ÿitÿsays
                                              373ÿit's
                                                      63ÿ7aÿnew
                                                              6D
 1E0ÿ0construction
 10   "35 "ÿÿ7ÿ    D!35ÿ115,000-square
                     of a two-story       40EEE!3F 756ÿfoot
 110ÿ0facility?
 11   7"G9
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 12            A0ÿ0Yes
                     B63.
 1%0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 13            &0ÿ0All
                     AGGÿ5  $90ÿH
                           right.     ÿyou
                                     Do    ÿ5remember
                                                6)6)'65ÿDworking
                                                           5$ÿon
 110ÿ0this
 14   93ÿ456"9
            project?
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15            A0ÿ0B63
                     Yes.
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16            &0ÿ0397ÿ8   63ÿitÿGlook
                     What does          ÿlike?
                                            G69
 180ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17            A0ÿ0763ÿ'   56ÿup4ÿinto
                     It's broken          ÿfour
                                                 5ÿbuildings.
                                                      ' G8$3
 1@0ÿ0Got
 18   Iÿ7aÿ) 36 )0ÿ7ÿ96
             museum,         7650ÿa7ÿGlibrary,
                       a theater,        '5750ÿ7and8ÿa7ÿ8dance
                                                             7"6
 1C0ÿ0hall,
 19   97GG0ÿ7ÿ$   6330ÿÿ5
             I guess,        6ÿ!!ÿyou
                        to rent        ÿ"can
                                            7ÿ5rent
                                                   6ÿthis
                                                         93ÿlittle
                                                              GG6
 #E0ÿ0hall
 20   97GGÿ5ÿD688$3
            for weddings.
 #10ÿ0ÿ0ÿ0ÿ0ÿ0&0ÿ0P
 21            Q.       36 )0ÿGlibrary,
                     Museum,     '5750ÿ8dance
                                            7"6ÿ9hall
                                                     7GGÿ7and
                                                           8ÿwhat
                                                               D97
 ##0ÿ0else?
 22   6G369
 #%0ÿ0ÿ0ÿ0ÿ0ÿ0A.
 23            A0ÿ0Aÿ!!ÿ7
                     A      aÿ3)7GGÿtheater.
                              small     96765
 #10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24            &0ÿ0A8ÿ3
                     And isÿeverything
                              6Q659$ÿthat
                                            97ÿyou ÿjust
                                                           3
 #40ÿ0identified
 25   8668ÿÿD97ÿ
                   on what 7 Iÿwould
                               D G8ÿ"call
                                         7GGÿthe
                                                96ÿground
                                                    $5 8ÿfloor
                                                              G5
                                                             ÿ
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                    defghijklfmgkndokp
                                                            EsquireSolutions.com
                                                                               Br651
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           rr     177

 010ÿ0
  1    345ÿ67893ÿ68
       the first floor?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   2            0ÿ059
                A.    Yes.
 00ÿ0ÿ0ÿ0ÿ0ÿ0
   3            0ÿ09ÿ345
                Q.    Is there85ÿanything
                                   !"347!#ÿon!ÿaÿ9second
                                                       5$!%ÿ6floor?
                                                                 8
 0&0ÿ0ÿ0ÿ0ÿ
   4        0ÿ00ÿ0
                A.    ÿ3ÿ
                      A lot   6ÿ'mechanical
                              of   5$4 !7$ ÿ5equipment.
                                                  ()70'5!30ÿIt's 319
 0520ÿ0real
       85 ÿ3tall.
               0ÿ319ÿ#
                     It's got 3ÿaÿ'mezzanine
                                     533 !7!5ÿ7in!ÿone!5ÿor8ÿ3two
                                                                 4ÿof6
 0650ÿ0345ÿ6)7%7!#90ÿIÿ%don't
       the buildings.         !13ÿ8remember
                                      5'5'658ÿall ÿ3the
                                                        45ÿ%details
                                                              53 79
 070ÿ0
   7    6)3ÿ73
       about  it.0ÿ8)3ÿ99
                    But
 08@0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                0ÿ0A4
                      What3ÿ"you
                              )ÿ'mean
                                   5 !ÿ6by"ÿ'mezzanine?
                                               533 !7!5
 09B0ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    !ÿ0  83ÿof6ÿone
                      In part         !5ÿor8ÿ3two
                                                4ÿof6ÿ3the
                                                          45ÿlittle
                                                               7335
 1C
 100ÿ06)7% 7!#9ÿ7!ÿ3479ÿ
       buildings              7335ÿarea,
                   in this little       85 Dÿ"you
                                                )ÿcan
                                                    $ !ÿ#goÿ)upstairs
                                                               093 789
 11
 110ÿ0!ÿ34 5ÿ95$!%ÿ68
       on the  second floorÿ4   4585ÿ3they
                               where     45"ÿ0put
                                                )3ÿ9some
                                                     '5ÿ5equipment,
                                                            ()70'5!3D
 1
 120ÿ07E5ÿ
       like aÿ345   358
               theater.
 1
 130ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0F45ÿ34   5 358ÿ5equipment
                      The theater       ()70'5!3ÿ7itself,
                                                     3956Dÿlike7E5ÿ6for
                                                                        8
 1&
 140ÿ0345ÿ0 8%)$37!ÿ68ÿ
       the production    for 3 45ÿ3theater?
                              the    45 358
 150ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
 12             A.    5 0ÿYea.
                      Yea.    5 
 15
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0F4585ÿ
                      There 7  9ÿ!noÿ9seating
                              is        5 37!#ÿ)up0ÿ3there?
                                                       4585
 17
 170ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.    G0ÿ
                      No.    319ÿHjust
                            It's     )93ÿaÿlittle
                                               7335ÿ9—9ÿ7it's
                                                            319ÿaÿroom
                                                                    8'
 1@
 180ÿ068ÿ9 3 66
       for staff.
 1B
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.0ÿ0AWas9ÿ34
                           that3ÿ9--9ÿ4was9ÿ3that
                                              4 3ÿ0part
                                                     83ÿof6ÿ3the
                                                               45ÿ4work
                                                                    8E
 C0ÿ034
 20       3ÿIPQRÿ%7%
       that  PVGC did?
 10ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
 21             A.    A47$4ÿ
                      Which 0   83
                              part?
 0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 22             0ÿ08)73ÿ
                      Built   )3ÿ3the
                              out    45ÿ'mezzanine?
                                           533 !7!5
 0ÿ0ÿ0ÿ0ÿ0ÿ00ÿ059
 23             A.    Yes.
 &0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 24             0ÿ09ÿ0   83ÿof6ÿ3the
                      As part         45ÿ0project?
                                            8H5$3
 20ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
 25             A.    R885$
                      Correct.3
     @ESQUIRE                                               800.211.DEPO
                                                              ÿ(3376)
                                                                            com
                                                                               d
                     DEPOSITION SOLUTIONS                    efghijklmgnhloeplq
                                                             EsquireSolutions.  P5816
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      defegÿipÿqrstgr                                    x ÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      defeÿqrstgrÿuevegtwÿsxvfgtsfxgÿyÿxrxÿsttwfÿrvp
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           }     178

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1            340ÿ056ÿ789
                Q-   So PVGCÿbuilt
                                ÿthis
                                        ÿparticular
                                                !
 0"0ÿ0
  2    # 6$ÿ%!
       multipurpose         &ÿ%from
                     facility      6#ÿthe
                                        $ÿ'ground
                                               6()ÿup,
                                                       0ÿ(new
                                                            $1
 020ÿ0
   3   !6( !6(3
       construction?
 040ÿ0ÿ0ÿ0ÿ
   4        0ÿ0540ÿ0
                A.   6$4
                     Yes.
 0570ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                340ÿ0816ÿ 6 $ÿto6ÿ#me$ÿ#means
                     Two stories              $(ÿ9—9ÿ1well,
                                                          $0ÿ1what
                                                                 
 06@0ÿ0ÿ16ÿ6
       is two      $ÿ99ÿ1
               stories      ÿ)do6ÿ&you
                       -- what         6ÿ#mean
                                            $(ÿby&ÿtwo
                                                       16ÿstories
                                                           6 $
 0A0ÿ0
   7   1$(ÿ
       when Bÿ1  $(ÿhere?
            it's written    $ $3
 08C0ÿ0ÿ0ÿ0ÿ0ÿ0540ÿ0
                A.   8$  $Bÿaÿsection
                     There's       $!6(ÿ6of%ÿthe
                                                 $ÿbuilding
                                                       )('
 09D0ÿ0Bÿ'6ÿÿ$!6()
       that's  got a secondÿ 6 &40ÿEIt's
                             story,      Bÿ'got
                                                6ÿaÿ%floor,
                                                         66 0ÿit's
                                                                 B
 1F
 100ÿ0'6ÿ
       got aÿ!$('4
              ceiling.
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0Q.340ÿ05()ÿ
                     And the$ÿaddress
                                )) $ÿthat's
                                           Bÿlisted
                                                    $)ÿthere,
                                                              $ $0
 1"
 120ÿ0ÿ ÿ$ÿ
       is that       'ÿaddress?
                the right   )) $3
 12
 130ÿ0ÿ0ÿ0ÿ0ÿ0540ÿ0Eÿ)6(B
                A.   I don'tÿrecall.
                                $!40ÿE  Iÿ) 6(Bÿremember.
                                              don't    $#$#$ 40ÿGWe$
 14
 140ÿ0))ÿ9 9ÿ&ÿ7
       did --          Hÿ5I
               City Park    $($ÿhas
                          Avenue    ÿ%five,
                                         I$0ÿsix
                                                Pÿbuildings.
                                                       )('4
 17
 150ÿ05()ÿ1 $ÿ))ÿ16
       And we         Hÿ6(ÿ
               did work     $I$ &ÿsingle
                         on every    ('$ÿ6one($ÿ6of%ÿthem,
                                                         $#0
 1@
 160ÿ01$$
       whetherÿ1$ÿÿ  $#ÿ6orÿrenovated
                we built them        $(6I$)ÿthem.
                                                  $#4
 1A
 170ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0Q$
                Q-   Bearÿ1 ÿ#me$ÿ6one
                           with            $!6()40ÿEI'm
                                       ($ÿsecond.        B#ÿsupposed
                                                              6$)
 1C
 180ÿ06ÿ)6
       to doÿÿ$$
             a betterÿR6ÿ
                       job 6 %ÿ%filling
                            of   ('ÿthese
                                            $$ÿ6out.
                                                    4
 1D
 190ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ561(
                     Showing'ÿ&you
                                6ÿSExhibit
                                     Pÿ2313.
                                                1240ÿ6   6ÿ'get
                                                       You    $ÿa
 "F0ÿ0chance
 20    !(!$ÿ6ÿ66Hÿÿ  ÿthe
               to look at all    $ÿpictures?
                                       ! $3
 "10ÿ0ÿ0ÿ0ÿ0ÿ0540ÿ0
 21             A.   6$4
                     Yeah.
 ""0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿT8$
 22                        $6(0ÿUDefendant's
                     (Thereupon,     $%$()(BÿSExhibit
                                                      PÿVNo.
                                                                64
 "20ÿ0ÿ0ÿ0ÿ0ÿ0212ÿ1ÿ#
 23                         H$)ÿ%for
                313 was marked     6 ÿidentification.)
                                        )$(%!6(4W
 240ÿ0Q6ÿXY4ÿ`5GabVc
 "4    BY MR. LAWHON:
 "7
 250ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0(ÿ&6
                Q.   Can youÿtell
                                $ÿ#me$ÿ1what
                                           ÿEI'm
                                                 B#ÿlooking
                                                       66H('ÿat?
                                                                 3
     @ESQUIRE                                               800.211.DEPO
                                                              deefghiÿk(3376)
                                                                             llmno
                     DEPOSITION SOLUTIONS                    gp qrstuvwxryswzp{com
                                                             EsquireSolutions.   w|
                                                                                 68$ 1%
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      XY`Yaÿcdÿefghaf                                    ryÿÿ 
                                      229
       PETER J. VICARI                                           October 16, 2018
      XY`YÿefghafÿiYpYahqÿgrp`ahg`raÿstÿrufrÿghvwhq`xÿfpvd
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           wx      179

 010ÿ0ÿ0ÿ0ÿ0ÿ0
   1           340ÿ0567ÿ89
               A.           7ÿ3Auditorium.
                     The Lafitte     4
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2            40ÿ0Is!ÿ69
               Q-           ÿthe
                         that   67ÿfacility
                                     9"#$ÿthat69ÿ%we7ÿ%were
                                                             77ÿ&just
                                                                    !
 0'0ÿ0
   3   9#()0ÿ912
       talking about?
 030ÿ0ÿ0ÿ0ÿ
   4        0ÿ0340ÿ0
               A.    44
                     No.
 0550ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
               Q-     6!ÿ9aÿdifferent
                     It's      77)ÿ7place?
                                            #9"72
 0680ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.     6!ÿdifferent.
                     It's   77)4
 090ÿ0ÿ0ÿ0ÿ0ÿ0
   7           40ÿ0
               Q-     !ÿÿ
                     Is  it 67ÿ!same
                            the    97ÿ9address?
                                         7!!2
 08@0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.    Iÿ69A7
                       haveÿ)  ÿidea.
                              no   7940ÿ5They
                                            67$ÿmay
                                                   9$ÿuse
                                                        !7ÿthe67ÿsame
                                                                   !97
 09B0ÿ097!!40ÿIÿ%9)ÿ
       address.     want toÿsay
                             !9$ÿthey
                                    67$ÿ9are
                                           7ÿon)ÿthe
                                                     67ÿ!same
                                                          97ÿ%water
                                                                  97
 1C
 100ÿ077
       meterÿ17"9!7ÿ67ÿ  #77!7ÿis!ÿ)next
             because the multipurpose             7Dÿdoor
                                                        ÿon)ÿthe
                                                                    67
 11
 110ÿ019"(! 7ÿÿ6!ÿ1
       backside             #)04
                of this building.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ040ÿ0
               Q-    Iÿ!774
                       see.0ÿOkay.
                               E(9$40ÿFWell,
                                         7##Gÿ6hold
                                                  #ÿon)ÿtoÿthat.
                                                                  694
 1'
 130ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
               A.     6!ÿ9all
                     It's   ##ÿthe
                                 67ÿ!same
                                      97ÿ7parking
                                             9()0ÿ#lot.
                                                        40ÿ5They67$
 13
 140ÿ09##ÿ! 697ÿ67ÿ!97ÿ
       all share  the same  6)0Gÿso
                            thing,   !ÿ6hopefully
                                           77##$ÿthe67ÿ!same
                                                               97
 15
 150ÿ0)74
       one.
 18
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               40ÿ0Hÿ67
                     So theÿ8  97ÿ3Auditorium
                              Lafitte    ÿis!ÿdifferent
                                                             77)
 19
 170ÿ069)ÿ
       than 67ÿ897ÿI  #ÿPPurpose
            the Lafitte Multi      7!7ÿQFacility?
                                             9"#$2
 1@
 180ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0R7"
               A.           4
                     Correct.
 1B
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               40ÿ05)ÿ  67ÿ7page,
                     Turn the    907Gÿifÿ$you
                                             ÿ%would.
                                                   #4
 C0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0E(9$4
 20            A.    Okay.
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21            40ÿ0567ÿ)7  Dÿone
                     The next    )7ÿis!ÿthe
                                           67ÿSBlenk,
                                                #7)(GÿSB-L-E-N-K,
                                                          T8TUT4TVG
 0ÿ0school
 22    !"6#ÿ")A7!)ÿ
              conversion to ÿ5Thomas
                                69!ÿJefferson
                                        W77!)ÿHSchool.
                                                       "6#4
 '0ÿ05696!ÿ)ÿÿ!
 23                         7!ÿofÿ)new
       That's not four stories          7%ÿconstruction
                                            ")!")ÿor
 30ÿ06067Gÿ062
 24    higher, right?
 50ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0R7"
 25            A.           4
                     Correct.


                                                            800.211.DEPO
                                                              ÿe(3376)
                                                                             ffghi
                     DEPOSITION SOLUTIONS                    j klmnopqrlsmqtjucom
                                                             EsquireSolutions.   qv
                                                                                 yz71
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      fghgiÿqrÿstuvit                                    ÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      fghgÿstuvitÿwgxgivyÿuxhivuhiÿÿtÿuv vyhÿtxr
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                180

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0567ÿ87
                Q.            9ÿone
                       The next     87ÿisÿthe
                                              67ÿ5Terrytown
                                                   78ÿschool
                                                                6
 00ÿ0
   2    8!ÿauditorium.
       and  "!"#40ÿ56      $ÿ8not
                           That's      ÿ%four
                                            "ÿstories
                                                   7ÿorÿ6higher
                                                                 &67
 0'0ÿ0
   3   %ÿ87ÿ8"8
       of new construction,   (ÿisÿit?
                                       )
 000ÿ0ÿ0ÿ0ÿ
   4        0ÿ0140ÿ0
                A.    27  4
                       Correct.
 0530ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q-    567ÿ87  9ÿone
                       The next     87ÿisÿthe
                                              67ÿ4West
                                                   7ÿ5Jefferson
                                                          7%%78
 0660ÿ077! ÿ2787ÿ%"
       Medical  Center fourth 6ÿ%floor.
                                    40ÿ5That's
                                               6 $ÿ8notÿ8new
                                                              7
 080ÿ0
   7   8"8ÿ%ÿ%"
       construction    of fourÿstories
                                   7ÿorÿ6higher,
                                                 &67(ÿisÿit?
                                                                )
 0890ÿ0ÿ0ÿ0ÿ0ÿ0140ÿ0
                A.    27  4
                       Correct.
 09@0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ5ABÿCD    EBFGH1IABHP0ÿQFive
                       THE VIDEOGRAPHER:         R7ÿ#minutes
                                                         8"7ÿto
 100ÿ0ÿ0ÿ0ÿ0ÿ0change.
 1S             6 8&74
 11
 110ÿ0TUÿ7H4ÿV14AFWP
       BY MR. LAWHON:
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
                Q-    TBack
                         Xÿtoÿ5Terrytown
                                   78ÿreal
                                                7 ÿquick,
                                                      Y"X40ÿ`Soÿthe
                                                                     67
 1'
 130ÿ079ÿ
       text  ÿ$ÿ8
            says              "8ÿof%ÿaÿ8new
                   it's construction               7ÿthree-story
                                                         677a
 10
 140ÿ0b"! 8&ÿ%#ÿ67ÿ&
       building               "8!ÿ"up?
                 from the ground        c)
 13
 150ÿ0ÿ0ÿ0ÿ0ÿ0140ÿ0
                A.    27  4
                       Correct.
 16
 160ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0Aÿ#
                Q.            8ÿ%floors
                       How many     ÿare 7ÿin8ÿthat
                                                        6 ÿbbuilding?
                                                              "!8&)
 180ÿ0ÿ0ÿ0ÿ0ÿ0A.
 17             140ÿ056774
                       Three.
 190ÿ0ÿ0ÿ0ÿ0ÿ0Q-
 18             340ÿ018!ÿ6   78ÿthe
                       And then     67ÿ4West
                                         7ÿ5Jefferson
                                                7%%78ÿ7Medical
                                                              7! 
 1@
 190ÿ02787 ÿsays,
       Center    (ÿd2#c   77ÿtotal
                       "Complete      ÿ&gut"ÿand
                                                   8!ÿreplacement
                                                        7c 7#78ÿof%
 S0ÿ067ÿ%
 20         "6ÿ%ÿ%
       the fourth   floor ofÿan  8ÿ7eight-story
                                     &6aÿ6hospital."
                                                      c 4d
 10ÿ0ÿ0ÿ0ÿ0ÿ0140ÿ0
 21             A.    27  4
                       Correct.
 0ÿ0ÿ0ÿ0ÿ0ÿ0340ÿ0
 22             Q-    Aÿ#   8ÿ%floors
                       How many     ÿare 7ÿin8ÿthat
                                                        6 ÿ6hospital?
                                                              c )
 '0ÿ0ÿ0ÿ0ÿ0ÿ0140ÿ0
 23             A.    56  ÿbbuilding
                       That   "!8&ÿisÿ7eight.
                                               &640ÿ5There
                                                          677ÿis
 00ÿ0#"c7ÿb"!8&4
 24    multiple buildings.
 30ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 25             340ÿ05"8ÿ   67ÿcpage.
                       Turn the      &740ÿ5The67ÿ8next
                                                   79ÿcproject
                                                          e7
     @ESQUIRE                                               800.211.DEPO
                                                              ddefggehijkÿm(3376)
                                                                             nnopq
                     DEPOSITION SOLUTIONS                    ir stuvwxyzt{uy|re}com
                                                             EsquireSolutions.   y~
                                                                                 UC71%
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      WXYX`ÿbcÿdefg`e                                    qxyÿ ÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      WXYXÿdefg`eÿhXiX`gpÿfqiY`gfYq`ÿrsÿqteqÿfguvgpYwÿeiuc
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                181

 010ÿ0
  1    345678ÿ6977ÿ45ÿ697
       listed there is theÿ  775ÿParish
                             Jefferson     459
 00ÿ0
   2   8445664ÿ ÿorÿAdmin
       Administration          84ÿAnnex
                                       7!ÿ"building.
                                               #4384$%0ÿDo&ÿ'you
                                                                 #
 0(0ÿ0
   3   577ÿ696)
       see that?
 000ÿ0ÿ0ÿ0ÿ
   4        0ÿ0%0ÿ0
               A.    175%
                     Yes.
 0520ÿ0ÿ0ÿ0ÿ0ÿ03%0ÿ0
               Q-    45ÿ697
                     Is theÿ4 64ÿ6there
                             information     977ÿ6truthful
                                                     #69#3ÿand8
 0650ÿ066#67)
       accurate?
 070ÿ0ÿ0ÿ0ÿ0ÿ0
   7           %0ÿ0175%
               A.    Yes.
 080ÿ0ÿ0ÿ0ÿ0ÿ0
   8           3%0ÿ046ÿ5'
               Q-          59ÿ@"Was
                     It says,    A5ÿ6this
                                       945ÿ7experience
                                             !B74767ÿ4inÿ6the
                                                               97
 0C0ÿ0
  9    656#664ÿÿ56
       construction        #66#75ÿfour
                     of structures     #ÿstories
                                            56475ÿorÿ9higher?"
                                                           4$97)@
 1D
 100ÿ08ÿ' #ÿ9E7ÿ'75%
       And you have yes.0ÿ&Doÿ'you
                                 #ÿ5see
                                      77ÿ6that?
                                           96)
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ0%0ÿ0175%
               A.    Yes.
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.
               3%0ÿ0F#6ÿ69 7ÿ8description
                     But the   7564B64ÿ5says'5ÿ4it's
                                                     6G5ÿa
 1(
 130ÿ0renovation,
       7E649ÿ4$96)
                    right?
 10
 140ÿ0ÿ0ÿ0ÿ0ÿ0%0ÿ0H76
               A.          6%
                     Correct.
 150ÿ0ÿ0ÿ0ÿ0ÿ03%0ÿ0Iÿ7P
 12            Q-    No newÿconstruction,
                             656#6649ÿright?
                                                4$96)
 15
 160ÿ0ÿ0ÿ0ÿ0ÿ0%0ÿ0Q4$96%
               A.    Right.
 17
 170ÿ0ÿ0ÿ0ÿ0ÿ03%0ÿ08ÿ46
               Q-    And itÿsays,
                             5'59ÿ4inÿ6the
                                          97ÿ5specifics,
                                               B7644659ÿ"built
                                                            #436
 18
 180ÿ046 75ÿÿ697ÿ694
       offices on the third8ÿfloor
                               3ÿofÿfour-story
                                           # 56'ÿ"building
                                                        #4384$
 1C
 190ÿ0P469ÿ
       with 6B3767ÿ5'567 5%0ÿ&Did
            complete systems.      48ÿ4Iÿread
                                          78ÿ6that
                                                 96ÿright?
                                                      4$96)
 D
 200ÿ0ÿ0ÿ0ÿ0ÿ0%0ÿ0
               A.    175%
                     Yes.
 1
 210ÿ0ÿ0ÿ0ÿ0ÿ03%0ÿ0
               Q.    Rÿ4ÿ
                     So if 4Iÿ#87568ÿPVGC's
                              understand     STHG5ÿPwork
                                                      Uÿonÿ6this
                                                                 945
 
 220ÿ0BB3 4664ÿ ÿ564
       application         U7ÿ6that.
                       strike    96%
 (
 230ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ4ÿ4ÿ#  87568ÿPVGC's
                     If I understand      STHG5ÿPwork
                                                  Uÿ6that's
                                                        96G5
 0
 240ÿ087B46678ÿ977ÿÿ6  96ÿ"building,
       depicted here for that     #4384$9ÿPVGC
                                               STHÿonly
                                                     3'ÿPworked
                                                           U78
 2
 250ÿ0ÿ7ÿ56'9ÿ7ÿ  3Vÿ4is5ÿ6that
       on one story, one floor;         96ÿ6correct?
                                               766)
                                                            800.211.DEPO
                                                              ÿd(3376)
                                                                             eefgh
                     DEPOSITION SOLUTIONS                    i jklmnopqkrlpsitcom
                                                             EsquireSolutions.   pu
                                                                                 1S71
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      efgfhÿpqÿrstuhs                                    yÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      efgfÿrstuhsÿvfwfhuxÿtywghutgyhÿÿysyÿtuuxg ÿswq
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.                 182
 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ0356789
                A.           9ÿweÿdid
                      Actually,         ÿwork
                                            ÿonÿ6theÿ!penthouse
                                                              6 7"
 0#0ÿ0
  2   ÿ6ÿÿ$%&"4
      work  to do MEPs.0ÿThat
                            ' 86ÿwasn't
                                  8"(6ÿincluded
                                             597ÿonÿ6the
 0)
  30ÿ0description,
      "5!6ÿ076ÿ6     ÿis"ÿwork
                      but there       ÿ6that
                                               86ÿweÿdid
                                                         ÿdoÿon
                                                                 
 01
  40ÿ0that;
      6 862ÿ37"6ÿ8"(6ÿ8    ÿonÿ6theÿdescription,
              just wasn't added              "5!6ÿ0but  76ÿwe
 04
  50ÿ0did
      ÿdoÿ64
               it.
 05
  60ÿ0ÿ0ÿ0ÿ0ÿ0Q.640ÿ07ÿ7
                      So youÿ ÿwork
                              did    ÿonÿonly
                                              9ÿ6theÿ6third
                                                              
 08
  70ÿ0story,
      "6ÿ6theÿ6third
                      ÿ99 ÿ8and
                           floor   ÿonÿthe
                                            6 ÿ!penthouse
                                                  6 7"ÿ6too?@
 0A
  80ÿ0ÿ0ÿ0ÿ0ÿ0A.340ÿ0B5  64
                      Correct.
 0C
  90ÿ0ÿ0ÿ0ÿ0ÿ0Q.640ÿ0D7"6ÿ9  ÿ6theÿ"sake
                      Just for          8ÿof  "57""ÿ9let's
                                             9ÿdiscussion,       6("
 1E0ÿ0call
 10   5899ÿ6theÿ!6  7"ÿFFÿwhat
                 penthouse        86ÿfloor
                                        99ÿis"ÿ6that?
                                                      86@
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             340ÿ0G7ÿ
                      Four, 9 76 4
                             fourth.
 1#0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 12             640ÿ07ÿ&HI
                      So PVGCBÿdid
                                 ÿwork
                                      ÿonÿthe
                                               6 ÿ6third
                                                        ÿ9floor
                                                               9
 1)0ÿ0only
 13   9ÿ8ÿÿ6
            and on the ÿ97 6 ÿfloor
                          fourth  99ÿonly,
                                           9ÿas
                                                  8"ÿyou've
                                                        7(P
 110ÿ0described
 14   "50ÿ6@it?
 140ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             340ÿ0B5  64
                      Correct.
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 16             640ÿ03ÿ   ÿdoes
                      And how    "ÿthat
                                      6 86ÿqualify
                                             Q7899ÿ8as"ÿnew
 180ÿ0construction
 17   5"6756ÿ9ÿ8ÿ"    67567ÿ6that
                      of a structure        86ÿis
                                               "ÿ9four
                                                     7ÿ"stories
                                                            6"ÿor
 1A0ÿ0higher?
 18    R @
 1C0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿMR.
 19                   $S4ÿ&3 S'TUI'VUW0ÿForm.
                           PARTINGTON:      GX4
 #E0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿTHE
 20                   'Y%ÿ`T 'U%77W0ÿT
                           WITNESS:      6ÿdoesn't.
                                        It  "(640ÿIt T6ÿwas
                                                              8"ÿ8a
 #10ÿ0ÿ0ÿ0ÿ0ÿ0renovation.
 21             P864
 ##0ÿ0BY
 22   abÿ$S4ÿc3`YVUW
          MR. LAWHON:
 #)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 23                   Well, 6
                640ÿ0`99ÿ    ÿwhyÿdid
                             then          ÿyou
                                              7ÿ5check
                                                      5ÿ6theÿ0box
                                                                  d
 #10ÿ0that
 24   6 86ÿ"8"ÿ"ÿ9ÿ6
            says yes for the  ÿ5construction
                                  "6756ÿof9ÿ"structures
                                                        67567"
 #40ÿ0four
 25   97ÿ"6"ÿÿ     R @
            stories or higher?


                                                            deffdghijÿlmmnop
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   hqrstuvwxysztx{qd|x}
                                                            EsquireSolutions.com
                                                                               bH19
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      VWXWYÿabÿcdefYd                                    pwxyÿÿ
                                      229
      PETER J. VICARI                                            October 16, 2018
      VWXWÿcdefYdÿgWhWYfiÿephXYfeXpYÿqrÿpsdpÿeftufiXvÿdhtb
      PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           u      183

 010ÿ0ÿ0ÿ0ÿ0ÿ0
  1             340ÿ056789
                A.          6ÿitÿwas
                      Because        8ÿfour
                                          9ÿstories
                                               6ÿinÿheight.
                                                               64
 020ÿ0ÿ0ÿ0ÿ0ÿ0Q.!40ÿ059ÿ" 9ÿ#didn't
                      But you    #$ÿ#doÿ8all
                                              %%ÿfour
                                                   9ÿstories,
                                                         6&
 03'0ÿ0right?
        (
 04)0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0Right.
                      04
 0510ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                !40ÿ0You
                      29ÿ%"ÿ#did
                          only     #ÿpart
                                      38ÿof
                                            ÿsome
                                                  46ÿofÿthe
                                                             6
 0650ÿ0floors?
        %(
 0760ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0Correct.
                      7674
 0880ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                !40ÿ0And
                      3#ÿ$ÿ"your
                          it's     9ÿtestimony
                                         64"ÿthat
                                                     8ÿthat
                                                           8
 0990ÿ0qualifies
        @98%6ÿ8ÿ7 97ÿof
                   as construction    ÿstructures
                                          9796ÿfour9
 1A0ÿ0stories
 10     6ÿÿ6(
                or higher?
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 11             340ÿ0I'm
                      B$4ÿÿsaying
                          not    8"ÿitÿ#does
                                              6ÿor
                                                   ÿitÿ#doesn't.
                                                             6$4
 1 0ÿ0We
 12     C6ÿ48D6#ÿ6ÿEF6
           marked  the boxesÿand
                              8#ÿBIÿwas
                                      8ÿgiven
                                            G6ÿ8aÿ%license
                                                        766ÿbased
                                                                E86#
 1'0ÿ0on
 13     ÿ4"
           myÿ6F366764
              experience.
 1)0ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 14             !40ÿ0Based
                      586#ÿonÿwhat
                                   8ÿthe
                                         6ÿ8application
                                              33%78ÿsays?
                                                             8"(
 110ÿ0ÿ0ÿ0ÿ0ÿ0A.
 15             340ÿ0Based
                      586#ÿonÿwhat
                                   8ÿ8application
                                         33%78ÿsays8"ÿ8and
                                                               #
 150ÿ0based
 16           onÿ8ÿ6ÿ#
        E86#ÿ            64
                 what we done.
 160ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 17             !40ÿ0Well,
                      C6%%&ÿHDBPR
                              5I0ÿ#did
                                     #ÿnot
                                         ÿknow
                                              Dÿwhat
                                                       8ÿ"you
                                                             9ÿhad
                                                                  8#
 180ÿ0done.
 18     #640ÿP6"ÿQ9ÿ6 ÿEby"ÿ"your
               They just went         9ÿ8application;
                                            33%78Rÿisn't$
 190ÿ0that
 19     8ÿright?
             (
 20A0ÿ0ÿ0ÿ0ÿ0ÿ0A.
                340ÿ0Correct.
                      7674
 2110ÿ0ÿ0ÿ0ÿ0ÿ0Q.
                !40ÿ0All
                      3%%ÿ40ÿS
                          right.      ÿback
                                     So  E87Dÿtoÿ4my"ÿquestion,
                                                        @96&
 220ÿ0then.
        640ÿT6ÿ46ÿ8"ÿ
               Let me say itÿthis
                                 ÿway.
                                        8"40ÿYou
                                              29ÿrepresented
                                                     63666#ÿon
 23'0ÿ0your
        "9ÿapplication
             833%78ÿ 8ÿworking
                          that     Dÿonÿthe
                                                 6ÿthird
                                                       #ÿfloor
                                                             %ÿof
                                                                    
 24)0ÿ0the
        6ÿU66ÿI8
            Jefferson Parishÿ8admin
                                 #4ÿ8annex
                                         6Fÿbuilding
                                               E9%#ÿqualified
                                                           @98%6#
 215 0ÿ0as
        8ÿ6ÿ797
           the constructionÿ   ÿstructures
                               of  9796ÿfour
                                                  9ÿstories
                                                         6ÿor
                                                            ÿddefg
                                                            800.211.DEPO (3376)
                     DEPOSITION SOLUTIONS                   hijklmnopjqkorhsot
                                                            EsquireSolutions.com
                                                                               2v61
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      STUTVÿXYÿ̀abcVa                                    gtuvwxyÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      STUTÿ̀abcVaÿdTeTVcfÿbgeUVcbUgVÿhiÿgpagÿbcqrcfUsÿaeqY
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           r      184

 010ÿ0
   1   3453678ÿ49ÿ3ÿ
       higher; isn't that   76
                           true?
 00ÿ0ÿ0ÿ0ÿ0ÿ0
  2             0ÿ0
                A.   I'mÿ!ÿsaying
                         not  9"45ÿthat.
                                        30ÿI'm
                                                  ÿtelling
                                                      6##45ÿ"you
                                                                !
 0$0ÿ0
   3   6%&#"ÿ'3ÿÿ(!6
       exactly  what I doneÿ! ÿthis
                             on   349ÿ)project
                                        7!06&ÿand(ÿthey
                                                        36"ÿ3had
                                                              (
 0140ÿ0349ÿ
       this !ÿ#!!2ÿÿ(
            to look at andÿ7  6(3ÿthey
                             read,   36"ÿ4felt
                                            6#ÿIÿ3had
                                                     (ÿthe
                                                          36
 0550ÿ06%)6746&6ÿ!ÿ76&64 66ÿaÿcertified
       experience to receive      &674446(ÿ5general
                                                667#
 0670ÿ0contractor's
       &!7&!79ÿ#4&69 60ÿ
                     license.   Iÿ( 4(ÿnot
                                   did   !ÿ#lie.
                                               460ÿIÿsaid
                                                        94(ÿI
 080ÿ0
   7   94#
       builtÿ##ÿ!4ÿ349ÿ!
             all of this onÿthe
                               36ÿthird
                                    347(ÿ4floor.
                                            #!!70ÿ@There
                                                      3676ÿ'was
                                                              9ÿa
 08A0ÿ0renovation.
       76!64!0ÿÿ'9
                     It wasÿ4 !7ÿ9stories
                             four   !7469ÿ4inÿ3height.
                                                   6453
 0B
  90ÿ0ÿ0ÿ0ÿ0ÿ0Q.C0ÿ0Dÿ"!ÿ(did
                     But you   4(ÿnot
                                    !ÿ9build
                                         4#(ÿ4four
                                                 !7ÿconsecutive
                                                      &!96&466
 1E
 100ÿ0stories?
       9!7469
 11
 110ÿ0ÿ0ÿ0ÿ0ÿ00ÿ0
                A.   I'mÿ!ÿsaying
                         not  9"45ÿIÿ(did.
                                           4(
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.C0ÿ0F6ÿ 6ÿ4finish
                     Let me   4493ÿmy"ÿsentence.
                                         966&6
 1$
 130ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿYou
                     G!ÿ(4(ÿnot
                         did   !ÿ9build
                                    4#(ÿ4four
                                            !7ÿconsecutive
                                                 &!96&466
 110ÿ0
 14    9!7469ÿ!4ÿ6'ÿ&!9
       stories             7&4!ÿ4for
                of new construction     !7ÿthis
                                             349ÿ)particular
                                                    74&#7
 150ÿ0
 15    )7!06&ÿ3ÿ"!ÿ7
       project             6ÿ#listed
                that you are   496(ÿ3here,
                                        6763ÿ(did
                                                4(ÿ"you?
                                                     !
 170ÿ0ÿ0ÿ0ÿ0ÿ0
 16             A.0ÿ0H!0ÿ
                   No. Iÿ(didn't
                              4(ÿ9say
                                       "ÿIÿ(did.
                                               4(
 180ÿ0ÿ0ÿ0ÿ0ÿ0
 17             C0ÿ0I3ÿ"
                Q.         !ÿare
                     What you   76ÿsaying
                                    9"45ÿ"you!ÿ(did
                                                    4(ÿ'when
                                                         36ÿ"you
                                                               !
 1A0ÿ0
 18    76ÿ9"45ÿ"69ÿ4!7ÿ
       are saying  yes for '9ÿthis
                           was    349ÿ6experience
                                        %)6746&6ÿ4inÿthe
                                                          36
 1B0ÿ0
 19    &!97&4!ÿ!4ÿ97
       construction        &769ÿ4four
                     of structures     !7ÿstories
                                            9!7469ÿ!or7ÿ3higher?
                                                           45367
 E0ÿ0ÿ0ÿ0ÿ0ÿ00ÿ09ÿ(6
 20             A.         496(ÿ9by"ÿPDavid
                     As advised        64(ÿDBryant,
                                               7"3ÿ&considered
                                                         !94(676(
 21    four 9!7469ÿ4ÿ364
 10ÿ04!7ÿ                53ÿthat
            stories in height     3ÿ'work
                                        !72ÿ'we6ÿ(did
                                                   4(ÿafter
                                                        467
 0ÿ0renovations.
 22    76!64!9
 $0ÿ0ÿ0ÿ0ÿ0ÿ0C0ÿ0Q!ÿR7
 23             Q-   So Mr.ÿD 7"ÿtold
                             Bryant    !#(ÿ9somebody
                                             ! 69!("ÿ4inÿ"your
                                                            !7
 10ÿ04
 24       4#"ÿ3ÿ666ÿ44
       family  that even ifÿ" !ÿ!only
                             you   #"ÿ'work
                                         !72ÿ!onÿ!one
                                                    6ÿ4floor,
                                                         #!!73ÿas9
 50ÿ0#!5ÿ9ÿ49ÿ345367
 25    long as it's higherÿ  3ÿ4four
                             than   !7ÿstories
                                         9!7469ÿ4inÿ3height,
                                                         64533
                                                            800.211.DEPO
                                                              ÿ(3376)
                                                                             d
                     DEPOSITION SOLUTIONS                    e fghijklmgnhloepcom
                                                             EsquireSolutions.   lq
                                                                                 Gs6714
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      cdedfÿhiÿpqrsfq                                    wÿÿ
                                      229
       PETER J. VICARI                                           October 16, 2018
      cdedÿpqrsfqÿtdudfsvÿrwuefsrewfÿxyÿwqwÿrssveÿqui
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.          |      185

 010ÿ0
   1   3456ÿ77ÿ89336ÿ
       it's -- qualifies forÿaÿgeneral
                                     ÿcontractor's
                                               4456
 00ÿ0
   2   36
       license?
 0!0ÿ0ÿ0ÿ0ÿ0ÿ0
   3            "#0ÿ0$5%ÿ
                A.          4ÿ6saying
                      I'm not   &3ÿ3it4ÿ8qualify
                                               93&ÿorÿ'doesn't
                                                               654
 0(0ÿ0
   4   893&#0ÿ$ÿ)ÿ01
       qualify.             4ÿ4they
                  I gave what     1&ÿask
                                         62ÿfor.
                                               #0ÿ"And
                                                       'ÿ3it4ÿ0was
                                                                 6ÿ9up3
 0540ÿ04ÿ41ÿ363ÿ5
       to the               'ÿ4toÿ'determine
               licensing board         4%3ÿ3ifÿ$Iÿ0was 6
 0660ÿ0733'ÿÿ4#
       experienced or not.
 080ÿ0ÿ0ÿ0ÿ0ÿ0
   7            9#0ÿ0@94ÿ41
                Q.          456ÿnot
                      But that's     4ÿ0what
                                           14ÿ&you
                                                 9ÿsaid
                                                     63'ÿaÿ%minute
                                                                 394
 08A0ÿ0#
       ago.0ÿYou
             B9ÿ63'ÿC#ÿ
                   said Mr. @&4ÿ6said
                            Bryant     3'ÿ4this
                                               136ÿ0was
                                                     6ÿokay
                                                            2&ÿ4toÿ'do.
                                                                       #
 0D
  90ÿ0Eÿ77
       So
 1F
 100ÿ0ÿ0ÿ0ÿ0ÿ0"#0ÿ0
                A.    Gÿ')36'ÿ9us6ÿ4that
                      He advised         14ÿanything
                                                &413ÿfour9
 11
 110ÿ0stories
       6436ÿ3ÿ1314ÿ0  9'ÿ8qualify.
                in height would      93&#
 1
 120ÿ0ÿ0ÿ0ÿ0ÿ0Q.9#0ÿ0"'ÿ 4ÿ%meÿHjust
                      And let        964ÿclarify.
                                           3&#0ÿGHeÿ'didn't
                                                               3'54
 1!
 130ÿ0')36 ÿ&9Iÿ314
       advise you, right?
 1(
 140ÿ0ÿ0ÿ0ÿ0ÿ0"#0ÿ0C&ÿ''
                A.          #
                      My dad.
 14
 150ÿ0ÿ0ÿ0ÿ0ÿ0Q.9#0ÿ0P2&#
                      Okay.0ÿQ 4ÿ%meÿ5beÿ%more
                             Let              ÿ3precise.
                                                    36#0ÿRDid 3'
 16
 160ÿ06%5 '&ÿ4ÿ&9ÿ4
       somebody             14ÿCMr.
                 tell you that     #ÿ@Bryant
                                         &4ÿadvised
                                                  ')36'ÿ4that 14ÿ4this
                                                                      136
 18
 170ÿ0specific
       6333ÿ3H4ÿ0  9'ÿ8qualify
                 project would     93&ÿfor ÿaÿcertified
                                                       433'
 1A
 180ÿ0 ÿ445
       general  contractor's6ÿlicense?
                                36
 1D
 190ÿ0ÿ0ÿ0ÿ0ÿ0"#0ÿ0
                A.    B1#0ÿSThat's
                      Yeah.    1456ÿ0who1ÿreviewed
                                               )30'ÿ4this136
 F0ÿ033343ÿ5ÿ
 20    application before 3  4ÿ0went.
                            it    4#
 10ÿ0ÿ0ÿ0ÿ0ÿ0Q.
 21             9#0ÿ0"'ÿ01 ÿ77ÿ0who
                      And who        1ÿ'did
                                           3'ÿCMr.
                                                #ÿ@Bryant
                                                     &4ÿ4tell
 0ÿ0414ÿ
 22    that 4
            to?
 !0ÿ0ÿ0ÿ0ÿ0ÿ0"#0ÿ0
 23             A.    G'ÿ4
                      Had toÿ1 )ÿ5been
                              have    ÿ%my&ÿ'dad.
                                                 '#
 (0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿSGTÿU$
 24                         RTPVW"XGTWY0ÿ`Can
                      THE VIDEOGRAPHER:         ÿ0weÿgoÿoff?
                                                               
 40ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿ0ÿCW#ÿQ"
 25                         aGPbY0ÿB
                      MR. LAWHON:      6#
                                      Yes.


     @ESQUIRE                                               800.211.DEPO
                                                              ddefghÿj(3376)
                                                                             kklmn
                     DEPOSITION SOLUTIONS                    fo pqrstuvwqxrvyozcom
                                                             EsquireSolutions.   v{
                                                                                 BU1
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      PQRQSÿUVÿWXY`SX                                    dqrstuvÿwxyÿw
                                      229
       PETER J. VICARI                                           October 16, 2018
      PQRQÿWXY`SXÿaQbQS`cÿYdbRS`YRdSÿefÿdgXdÿY`hi`cRpÿXbhV
       PETE VICARI GENERAL CONTRACTOR vs OHIO CASUALTY INS.           wx     186

 010ÿ0ÿ0ÿ0ÿ
   1        345ÿ678594 50ÿSorry
            THE VIDEOGRAPHER:     ÿtoÿbother
                                              !"
 0#0ÿ0
  2    $%0ÿ&"ÿ'"ÿ((ÿ!
       you.                "ÿrecord.
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                                      OF PERJURY
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            I declare under penalty of perjury that
 0F0ÿ0$ÿE)4ÿ648ÿBE4ÿ47BG64ÿB6786GABÿ5ÿHCÿ54AI
  6   I have read the entire transcript of my Depo­
 0ÿ0ÿ0GBG7ÿBP47ÿG7ÿBE4ÿ8ABG748ÿHBB46ÿ6ÿBE4
       sition taken in the captioned matter or the
 0Q0ÿ0H4ÿEÿR447ÿ648ÿBÿH4Sÿ78ÿBE4ÿH4ÿG
   7  same has been read to me, and the same is
 0ÿ0ÿ0B6@4ÿ78ÿ88@6B4Sÿ)4ÿ78ÿ4T84ABÿ56
      true and accurate, save and except for
 0U0ÿ08E7V4ÿ78W6ÿ86648BG7SÿG5ÿ7CSÿÿG78GI
  8   changes and/or corrections, if any, as indi­
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      cated by me on the DEPOSITION   ERRATA SHEET
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  9    hereof, with the understanding that I offer
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      these changes as if still under oath.
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